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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re:                                                               Chapter 11

    BOY SCOUTS OF AMERICA AND                                            Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                                         (Jointly Administered)
                                 Debtors.


         AMENDED DISCLOSURE STATEMENT FOR THE FIFTH AMENDED
      CHAPTER 11 PLAN OF REORGANIZATION FOR BOY SCOUTS OF AMERICA
                          AND DELAWARE BSA, LLC


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Attorneys for the Debtors and Debtors in Possession

Dated: September 15, 2021
       Wilmington, Delaware



1     The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification number, are
      as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing address is 1325 West
      Walnut Hill Lane, Irving, Texas 75038.
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THIS DISCLOSURE STATEMENT HAS NOT BEEN APPROVED BY THE
BANKRUPTCY COURT. ACCEPTANCES OR REJECTIONS OF THE PLAN MAY NOT
BE SOLICITED UNTIL THE BANKRUPTCY COURT APPROVES THIS DISCLOSURE
STATEMENT. ACCORDINGLY, THIS IS NOT A SOLICITATION OF A VOTE TO
ACCEPT OR REJECT THE PLAN. THIS DISCLOSURE STATEMENT MAY BE
REVISED TO REFLECT DEVELOPMENTS THAT OCCUR AFTER THE DATE
HEREOF BUT PRIOR TO THE BANKRUPTCY COURT’S APPROVAL OF THIS
DISCLOSURE STATEMENT.



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  EXHIBIT D-2     Local Council Property Value Information

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                            Event4                                                            Date

    Disclosure Statement Hearing                                    September 21, 2021 at 10:00 a.m. (Eastern
                                                                    Time)5

    Voting Record Date                                              September 21, 2021

    Deadline to Mail Solicitation Packages and [October 4], 2021
    Related Notices

    Rule 3018(a) Motion Deadline                                    [October 19], 2021

    Deadline to File Plan Supplement                                [November 2], 2021

    Voting Resolution Event Deadline                                [November 16], 2021 or as otherwise ordered
                                                                    by the Bankruptcy Court

    Voting Deadline                                                 [November 16], 2021

    Preliminary Voting Report Deadline                              [November 19], 2021

    Plan Objection Deadline                                         [November 23], 2021

    Final Voting Report Deadline                                    [November 30], 2021

    Confirmation Brief/Reply Deadline                               [December 2], 2021

    Confirmation Hearing                                            [December 9], 2021 at 10:00 a.m. (Eastern
                                                                    Time)6




2     Certain of these proposed dates are subject to the Bankruptcy Court’s availability.
3     The Debtors filed a motion to establish a timeline and protocol for discovery related to confirmation of the Plan. The dates
      requested in such motion, as may be amended, shall thereafter be incorporated herein.
4     Capitalized terms used in this summary of “Important Dates” and not otherwise defined herein or in the Plan shall have the
      meaning ascribed to them in the Solicitation Procedures Motion (as defined below).
5     The Disclosure Statement hearing shall be continued to the extent necessary on September 22, September 23, and September
      24, 2021.
6     The Confirmation Hearing is being proposed to be held on [December 9], 2021 at 10:00 a.m. (Eastern Time) and shall be
      continued to the extent necessary on [December 10, December 13, December 14, and December 15], 2021 at 10:00 a.m.
      (Eastern Time).


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                              DISCLAIMER

     THE INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT IS
INCLUDED HEREIN FOR PURPOSES OF SOLICITING VOTES TO ACCEPT, AND
OBTAINING CONFIRMATION OF, THE PLAN AND MAY NOT BE RELIED UPON FOR
ANY OTHER PURPOSE.

      ALL CREDITORS ARE ENCOURAGED TO READ THIS DISCLOSURE
STATEMENT AND ITS ATTACHED EXHIBITS, INCLUDING THE PLAN, IN THEIR
ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE PLAN. PLAN SUMMARIES
AND STATEMENTS MADE IN THIS DISCLOSURE STATEMENT ARE QUALIFIED IN
THEIR ENTIRETY BY REFERENCE TO THE PLAN, THE EXHIBITS AND SCHEDULES
ATTACHED TO THE PLAN, AND DOCUMENTS INCLUDED IN THE PLAN
SUPPLEMENT, WHICH CONTROL OVER THE DISCLOSURE STATEMENT IN THE
EVENT OF ANY INCONSISTENCY OR INCOMPLETENESS. THE STATEMENTS
CONTAINED IN THIS DISCLOSURE STATEMENT ARE MADE ONLY AS OF THE DATE
OF THIS DISCLOSURE STATEMENT, AND THERE CAN BE NO ASSURANCE THAT THE
STATEMENTS CONTAINED HEREIN WILL BE CORRECT AT ANY TIME AFTER THIS
DATE.     ALTHOUGH THE DEBTORS MAY SUBSEQUENTLY UPDATE THE
INFORMATION IN THIS DISCLOSURE STATEMENT, THE DEBTORS HAVE NO
AFFIRMATIVE DUTY TO DO SO, EXCEPT AS OTHERWISE PROVIDED IN THE PLAN,
BY ORDER OF THE BANKRUPTCY COURT OR IN ACCORDANCE WITH APPLICABLE
LAW.

     ANY STATEMENTS IN THIS DISCLOSURE STATEMENT CONCERNING THE
PROVISIONS OF ANY DOCUMENT ARE NOT NECESSARILY COMPLETE, AND IN
EACH INSTANCE REFERENCE IS MADE TO SUCH DOCUMENT FOR THE FULL TEXT
THEREOF.

     THIS DISCLOSURE STATEMENT HAS BEEN PREPARED IN ACCORDANCE
WITH SECTION 1125 OF THE BANKRUPTCY CODE AND RULE 3016 OF THE
BANKRUPTCY RULES AND NOT NECESSARILY IN ACCORDANCE WITH FEDERAL
OR STATE SECURITIES LAWS OR OTHER NON-BANKRUPTCY LAW.

     PERSONS OR ENTITIES TRADING IN OR OTHERWISE PURCHASING, SELLING,
OR TRANSFERRING CLAIMS AGAINST THE DEBTORS SHOULD EVALUATE THIS
DISCLOSURE STATEMENT AND THE PLAN IN LIGHT OF THE PURPOSE FOR WHICH
THEY WERE PREPARED.

     THIS DISCLOSURE STATEMENT AND ANY DOCUMENTS APPROVED AS A
PART OF THE SOLICITATION PACKAGE ARE THE ONLY DOCUMENTS TO BE USED
IN CONNECTION WITH THE SOLICITATION OF VOTES ON THE PLAN. NO
SOLICITATION OF VOTES MAY BE MADE UNTIL THE BANKRUPTCY COURT HAS
APPROVED THIS DISCLOSURE STATEMENT AND THE DEBTORS HAVE
DISTRIBUTED THIS DISCLOSURE STATEMENT IN ACCORDANCE WITH THE
SOLICITATION PROCEDURES. NO PERSON HAS BEEN AUTHORIZED TO DISTRIBUTE
ANY INFORMATION CONCERNING THE PLAN OTHER THAN THE INFORMATION


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CONTAINED IN THIS DISCLOSURE STATEMENT AND ANY ACCOMPANYING
DOCUMENTS.

     THE DEBTORS’ MANAGEMENT, WITH THE ASSISTANCE OF THE DEBTORS’
FINANCIAL ADVISORS, PREPARED THE FINANCIAL PROJECTIONS APPENDED TO
THIS DISCLOSURE STATEMENT. ALTHOUGH THE DEBTORS HAVE PRESENTED
THESE PROJECTIONS WITH NUMERICAL SPECIFICITY, THEY HAVE NECESSARILY
BASED THE PROJECTIONS ON A VARIETY OF ESTIMATES AND ASSUMPTIONS
THAT, ALTHOUGH CONSIDERED REASONABLE BY SENIOR LEADERSHIP OF THE
DEBTORS AT THE TIME OF PREPARATION, MAY NOT BE REALIZED, AND ARE
INHERENTLY SUBJECT TO SIGNIFICANT OPERATIONAL, ECONOMIC, AND
FINANCIAL UNCERTAINTIES AND CONTINGENCIES, MANY OF WHICH WILL BE
BEYOND THE DEBTORS’ OR REORGANIZED BSA’S CONTROL. THE DEBTORS
CAUTION THAT THEY CANNOT MAKE ANY REPRESENTATIONS AS TO THE
ACCURACY OF THESE PROJECTIONS OR TO THE DEBTORS’ OR REORGANIZED
BSA’S ABILITY TO ACHIEVE THE PROJECTED RESULTS. SOME ASSUMPTIONS
INEVITABLY WILL NOT MATERIALIZE. FURTHER, EVENTS AND CIRCUMSTANCES
OCCURRING SUBSEQUENT TO THE DATE ON WHICH THESE PROJECTIONS WERE
PREPARED MAY DIFFER FROM ANY ASSUMED FACTS AND CIRCUMSTANCES.
ALTERNATIVELY, ANY EVENTS AND CIRCUMSTANCES THAT COME TO PASS MAY
WELL HAVE BEEN UNANTICIPATED, AND THUS MAY AFFECT FINANCIAL RESULTS
IN A MATERIALLY ADVERSE OR MATERIALLY BENEFICIAL MANNER. THE
PROJECTIONS, THEREFORE, MAY NOT BE RELIED UPON AS A GUARANTY OR
OTHER ASSURANCE OF THE ACTUAL RESULTS THAT WILL OCCUR.

     CERTAIN OF THE INFORMATION CONTAINED IN THIS DISCLOSURE
STATEMENT IS BY ITS NATURE FORWARD LOOKING AND CONTAINS ESTIMATES,
ASSUMPTIONS, AND PROJECTIONS THAT MAY BE MATERIALLY DIFFERENT FROM
ACTUAL FUTURE RESULTS. THE WORDS “BELIEVE,” “MAY,” “WILL,” “ESTIMATE,”
“CONTINUE,” “ANTICIPATE,” “INTEND,” “EXPECT,” AND SIMILAR EXPRESSIONS
IDENTIFY THESE FORWARD-LOOKING STATEMENTS. THESE FORWARD-LOOKING
STATEMENTS ARE SUBJECT TO A NUMBER OF RISKS, UNCERTAINTIES, AND
ASSUMPTIONS, INCLUDING THOSE DESCRIBED IN ARTICLE X, “RISK FACTORS.” IN
LIGHT OF THESE RISKS AND UNCERTAINTIES, THE FORWARD-LOOKING EVENTS
AND CIRCUMSTANCES DISCUSSED IN THIS DISCLOSURE STATEMENT MAY NOT
OCCUR, AND ACTUAL RESULTS COULD DIFFER MATERIALLY FROM THOSE
ANTICIPATED IN THE FORWARD-LOOKING STATEMENTS. THE DEBTORS AND THE
REORGANIZED BSA DO NOT UNDERTAKE ANY OBLIGATION TO PUBLICLY UPDATE
OR REVISE ANY FORWARD- LOOKING STATEMENTS, WHETHER AS A RESULT OF
NEW INFORMATION, FUTURE EVENTS, OR OTHERWISE.

     EXCEPT WHERE SPECIFICALLY NOTED, THE FINANCIAL INFORMATION
CONTAINED IN THIS DISCLOSURE STATEMENT HAS NOT BEEN AUDITED BY A
CERTIFIED PUBLIC ACCOUNTANT AND HAS NOT BEEN PREPARED IN
ACCORDANCE WITH GENERALLY ACCEPTED ACCOUNTING PRINCIPLES. THE
HISTORICAL INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT HAS



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BEEN OBTAINED FROM SUCH REPORTS AND OTHER SOURCES OF INFORMATION
AS ARE AVAILABLE TO THE DEBTORS.

     AS TO CONTESTED MATTERS, ADVERSARY PROCEEDINGS, AND OTHER
ACTIONS OR THREATENED ACTIONS, THIS DISCLOSURE STATEMENT SHALL NOT
CONSTITUTE OR BE CONSTRUED AS AN ADMISSION OF ANY FACT OR LIABILITY,
STIPULATION OR WAIVER, BUT RATHER AS A STATEMENT MADE IN
FURTHERANCE OF A SETTLEMENT OF SUCH CONTESTED MATTERS, ADVERSARY
PROCEEDINGS, AND OTHER ACTIONS OR THREATENED ACTIONS.            THIS
DISCLOSURE STATEMENT WILL NOT BE ADMISSIBLE IN ANY NON-BANKRUPTCY
PROCEEDING, NOR SHALL THIS DISCLOSURE STATEMENT BE CONSTRUED TO BE
CONCLUSIVE ADVICE ON THE TAX OR OTHER LEGAL EFFECTS OF THE PLAN AS TO
HOLDERS OF CLAIMS AGAINST, OR INTERESTS IN, THE DEBTORS OR
REORGANIZED BSA. THE DEBTORS DO NOT REPRESENT OR WARRANT THAT THE
INFORMATION CONTAINED HEREIN OR ATTACHED HERETO IS WITHOUT ANY
MATERIAL INACCURACY OR OMISSION.




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                                   ARTICLE II. INTRODUCTION

A.       Background

        This Disclosure Statement is being furnished by the Debtors in connection with the Fifth
Amended Chapter 11 Plan of Reorganization for Boy Scouts of America and Delaware BSA, LLC
(as such may be amended, altered, modified or supplemented from time to time, the “Plan”),7 dated
September 15, 2021, pursuant to section 1125 of the Bankruptcy Code, and in connection with the
solicitation of votes to accept or reject the Plan.

        The Plan described in this Disclosure Statement is proposed by the Debtors and supported
by the Future Claimants’ Representative, the Creditors’ Committee, the Coalition, and the Ad Hoc
Committee8 (collectively, the “Supporting Parties”). The Plan further incorporates settlements
with JPM, Hartford, and TCJC.

       Since the outset of these cases, the Debtors have advocated for a global resolution of
Scouting-related sexual abuse claims that would comprehensively address liabilities of the Debtors
and the many non-debtor Local Councils and Chartered Organizations that administer and carry
out Scouting programming nationwide. Negotiations increased in intensity during 2021 and have
occurred in the context of informal negotiations, countless hours of formal telephonic and video
mediation sessions, and formal in-person mediation with the support of three Mediators appointed
by the Bankruptcy Court.9 The Debtors entered into a settlement with the Creditors’ Committee
and JPM in March 2021. The Debtors also entered into a settlement with Hartford (the “Initial
Hartford Settlement Agreement”) in April 2021.10 Thereafter, negotiations continued with the
other mediation parties. In those sessions, the Debtors made substantial progress toward a
consensual plan of reorganization that would garner the support of the representatives of a majority
of holders of Abuse Claims.

       On July 1, 2021, the Debtors entered into a restructuring support agreement [D.I. 5466,
5813. 5868] (together with all exhibits, including the term sheet attached thereto and as may be
amended or modified from time to time in accordance with the terms thereof, the “Restructuring
Support Agreement”)11 with the Future Claimants’ Representative, the Tort Claimants’
Committee, the Coalition, and the State Court Counsel,12 as well as the Ad Hoc Committee

7    Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Plan.
8    The Ad Hoc Committee of Local Councils is comprised of eight representative Local Councils (as defined in the Plan, the
     “Ad Hoc Committee”).
9    In addition to numerous telephonic and video sessions, formal in-person mediation sessions were held on (i) March 30–April
     1, 2021 in Miami; (ii) June 2–3, 2021 in Chicago; (iii) June 29–30, 2021 in Los Angeles; and (iv) May 4–6, May 26–27, June
     7–10, August 3–5, August 18–24, September 1, and September 9–10, 2021 in New York City. See Article V.K herein for a
     further discussion on mediation throughout these Chapter 11 Cases, the Mediators, and the mediation parties.
10   The Initial Hartford Settlement Agreement was announced on April 16, 2021 [D.I. 2624] and incorporated into a prior version
     of the Plan filed on May 16, 2021 [D.I. 4107].
11   Capitalized terms in this Article II.A not otherwise defined herein shall have the meanings ascribed to them in the
     Restructuring Support Agreement.
12   The Coalition was formed in connection with certain law firms (“State Court Counsel”) representing holders of Abuse Claims.
     These firms are: (i) Slater Slater Schulman LLP, (ii) ASK LLP, (iii) Andrews & Thornton, (iv) Levin Papantonio Thomas
     Mitchell Rafferty & Procter P.A., (v) Eisenberg, Rothweiler, Winkler, Eisenberg & Jeck, P.C., (vi) Junell & Associates PLLC,
     (vii) Reich & Binstock LLP, (viii) Marc J. Bern & Partners LLP, (ix) Krause & Kinsman Law Firm, (x) Bailey Cowan
     Heckaman PLLC, (xi) Babin Law, LLC, (xii) Jason J. Joy & Associates, PLLC, (xiii) Motley Rice LLC, (xiv) Weller Green


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(together with the Debtors, the “RSA Supporting Parties”), and concurrently filed a motion to
approve the Restructuring Support Agreement (the “RSA Motion”). The Restructuring Support
Agreement provided for a plan of reorganization that would deliver global resolution in these
Chapter 11 Cases, and the representatives of approximately 70,000 holders of Abuse Claims
supported the plan as set forth in the term sheet attached to the Restructuring Support Agreement.

        Under the terms of the plan of reorganization contemplated by the Restructuring Support
Agreement, the incorporation of any settlement with Hartford was required to be on terms and
conditions acceptable to the Debtors and the RSA Supporting Parties. The terms and conditions
of the Initial Hartford Settlement Agreement were not acceptable to the RSA Supporting Parties
and were required to be removed from the plan of reorganization. To comply with the
Restructuring Support Agreement, the Debtors sought a determination from the Bankruptcy Court
that they had no obligations under the Initial Hartford Settlement Agreement.

        After holding a hearing on the RSA Motion on August 12, 13, and 16, the Bankruptcy
Court issued a bench ruling on August 19, 2021. The Bankruptcy Court ruled, among other things,
that the Debtors were authorized to enter into the Restructuring Support Agreement but refrained
from ruling with respect to whether the Debtors have any obligation to seek approval of the Initial
Hartford Settlement Agreement.

        Without a clear path for removing the terms and conditions of the Initial Hartford
Settlement Agreement from the plan of reorganization, the Debtors and RSA Supporting Parties
continued to engage in mediated negotiations regarding the terms of a settlement with Hartford
that would be acceptable to representatives of holders of Direct Abuse Claims. On August 27,
2021, during those negotiations, the Restructuring Support Agreement expired in accordance with
its terms. The Debtors and the RSA Supporting Parties continued to mediate with various parties
in interest, including Insurance Companies and certain Chartered Organizations. After further
mediation, negotiations yielded an improved settlement with Hartford, supported by the Debtors,
the Future Claimants’ Representative, the Coalition and certain State Court Counsel, and a
settlement with TCJC.13

        On September 14, 2021, the Debtors filed the Sixth Mediators’ Report, which stated that
the Debtors, Hartford, the Future Claimants’ Representative, the Coalition, and the Ad Hoc
Committee had agreed in principle on settlement terms that will result in an additional $1.037
billion of cash contributions to the Settlement Trust, in addition to the contributions of up to
approximately $820 million that will be made by the Debtors and the Local Councils [D.I. 6210].
Specifically, such parties have agreed on: (1) as a result of negotiations led on behalf of Abuse
Survivors by the Coalition, the Future Claimants’ Representative, and their respective
professionals, the terms of a modified settlement with Hartford, with State Court Counsel


     Toups & Terrell LLP, (xv) Colter Legal PLLC, (xvi) Christina Pendleton & Associates PLLC, (xvii) Forman Law Offices,
     P.A., (xviii) Danziger & De Llano LLP, (xix) Swenson & Shelley PLLC, (xx) Cohen Hirsch LP (formerly Brooke F. Cohen
     Law, Hirsch Law Firm), (xxi) Damon J. Baldone PLC, (xxii) Cutter Law PC, (xxiii) The Robert Pahlke Law Group, (xxiv)
     Napoli Shkolnik PLLC, (xxv) Porter & Malouf, P.A, (xxvi) The Moody Law Firm, and (xxvii) Linville Johnson & Pahlke
     Law Group [D.I. 1997].
13   While the Tort Claimants’ Committee supported the plan of reorganization as described in the expired Restructuring Support
     Agreement, the material terms of which are incorporated into the Plan, the Tort Claimants’ Committee does not support the
     settlements with Hartford and TCJC.


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supporting and agreeing to be bound by such terms; and (2) a settlement with TCJC.14 The
modified Hartford settlement, memorialized in the term sheet attached to the Plan as Exhibit I-1
(the “Hartford Insurance Settlement Agreement”), supersedes and, upon the Effective Date,
renders the Initial Hartford Settlement Agreement void.15 In exchange for Hartford’s $787 million
cash contribution to the Settlement Trust,16 Debtors will sell to Hartford, under the Plan, all liability
insurance policies issued by Hartford to the BSA as the first named insured, free and clear of all
interests in such policies. Hartford will be designated as a Settling Insurance Company and a
Protected Party under the Plan and, subject to Bankruptcy Court approval, will receive the Hartford
Administrative Expense Claim in the amount of $2 million, to be paid in accordance with the terms
of the Hartford Insurance Settlement Agreement. Notably, the Hartford Settlement Contribution
is not subject to reduction based on the terms of settlements with other insurers.17 Moreover, in
exchange for TCJC’s (1) $250 million cash contribution to the Settlement Trust, (2) rights under
applicable insurance policies owned by the Debtors and the Local Councils, and (3) subordinate
and/or waiver, release and expungement of TCJC’s claims against the Debtors, TCJC will be
designated as a Contributing Chartered Organization and Protected Party under the Plan. As
consideration for such contributions by Hartford and TCJC, both parties will be entitled to the
benefits of the Channeling Injunction and third-party releases under the Plan with respect to Abuse
Claims, subject to Bankruptcy Court approval.

         This Disclosure Statement describes the Plan, which incorporates the material terms set
forth in the expired Restructuring Support Agreement and additionally incorporates the new
settlements with Hartford and TCJC, as well as the JPM / Creditors’ Committee Settlement. The
Plan allows the Debtors to achieve the dual objectives that the Debtors set out to accomplish at the
outset of these cases: (a) to timely and equitably compensate survivors of Abuse in Scouting and
(b) to ensure that the BSA emerges from bankruptcy with the ability to continue its vital charitable
mission.

     THE DEBTORS AND THE SUPPORTING PARTIES (INCLUDING THE
CREDITORS’ COMMITTEE, THE FUTURE CLAIMANTS’ REPRESENTATIVE, THE
COALITION, AND THE AD HOC COMMITTEE) SUPPORT CONFIRMATION OF THE
PLAN AND URGE ALL HOLDERS OF CLAIMS ENTITLED TO VOTE ON THE PLAN
TO VOTE TO ACCEPT THE PLAN. THE DEBTORS AND THE SUPPORTING
PARTIES BELIEVE THAT THE PLAN PROVIDES THE HIGHEST AND BEST
RECOVERY FOR ALL CREDITORS AND IS IN THE BEST INTERESTS OF THE
DEBTORS’ ESTATES.

       The Plan provides the framework for global resolution of Abuse Claims against the
Debtors, Related Non-Debtor Entities, and Local Councils, as well as any Participating Chartered
Organizations and Contributing Chartered Organizations and Settling Insurance Companies that

14   The Hartford term sheet is attached as Exhibit A and TCJC term sheet is attached as Exhibit B to the Sixth Mediators’ Report
     [D.I. 6210].
15   Under the Plan, Hartford would be granted an Allowed Administrative Expense Claim in the amount of $2 million relating to
     the Initial Hartford Settlement Agreement.
16   The modified Hartford Insurance Settlement Agreement provides for an increased cash contribution to the Settlement Trust
     of $137 million as compared to the Initial Hartford Settlement Agreement.
17   The Initial Hartford Settlement Agreement included a reduction provision based upon any future contribution amount from
     Century to the Settlement Trust.


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may make contributions to the Settlement Trust for the benefit of survivors of Abuse (collectively,
“Abuse Survivors”). The Plan has been designed to maximize and expedite recoveries to Abuse
Survivors. The Debtors and the Supporting Parties strongly encourage all holders of Claims in the
Voting Classes, including Direct Abuse Claims, to vote in favor of the Plan.

       By order dated [●], 2021, the Bankruptcy Court approved this Disclosure Statement in
accordance with section 1125 of the Bankruptcy Code and found that it contained “adequate
information” sufficient to enable a hypothetical investor of the relevant Class to make an informed
judgment about the Plan, and authorized its use in connection with the solicitation of votes with
respect to the Plan. Approval of this Disclosure Statement does not, however, constitute a
determination by the Bankruptcy Court as to the accuracy or completeness of the
information contained herein nor an endorsement by the Bankruptcy Court as to the fairness
or merits of the Plan. No solicitation of votes may be made except pursuant to this Disclosure
Statement and section 1125 of the Bankruptcy Code.

        A copy of the Plan is attached hereto as Exhibit A. The rules of interpretation set forth in
Article I.B of the Plan govern the interpretation of this Disclosure Statement. Please note that if
any inconsistencies exist between this Disclosure Statement and the Plan, the Plan shall
govern in all respects.

B.       The BSA

        The BSA’s charitable mission is to prepare young men and women for life by instilling in
them the values of the Scout Oath and Law and encouraging them to be trustworthy, kind, friendly
and helpful. The BSA also trains young men and women in responsible citizenship, character
development, and self-reliance through participation in a wide range of outdoor activities,
educational programs, and, at older ages, career-oriented programs in partnership with community
organizations. Indeed, since its inception more than 110 years ago, more than 130 million young
men and women have participated in the BSA’s youth programs, and at least 35 million adult
volunteers have helped carry out the BSA’s mission.18 Today, the BSA remains one of the largest
youth organizations in the United States and one of the largest Scouting organizations in the world,
with approximately 762,000 registered youth participants and approximately 320,000 adult
volunteers. The BSA’s alumni are legion among our nation’s business, political, and cultural
leaders. Their legacy is the creation and support of Scouting units in virtually every corner of
America and at U.S. military bases worldwide.

       The BSA welcomes all young men and women, regardless of gender, race, ethnic
background, sexual orientation, disability, or gender identification, who are willing to accept
Scouting’s values and meet the other requirements of membership. A Scout subscribes to the
following oath: “On my honor I will do my best to do my duty to God and my country and to obey
the Scout Law; to help other people at all times; to keep myself physically strong, mentally awake,
and morally straight.”19 Scouts are expected to conduct themselves in accordance with the Scout



18   See BSA, About the BSA, https://www.scouting.org/about/.
19   Id.


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Law: to be “trustworthy, loyal, helpful, friendly, courteous, kind, obedient, cheerful, thrifty, brave,
clean, and reverent.”20

       The BSA cares deeply about all survivors of child abuse. The BSA understands that no
apology can repair the damage caused by abuse or take away the pain that survivors have endured.
The BSA is steadfast in its commitment to continually improve all of its policies to prevent abuse.

C.         Voting and Confirmation

        Article VIII of this Disclosure Statement specifies the deadlines, procedures, and
instructions for voting to accept or reject the Plan, as well as the applicable standards for
tabulating ballots and master ballots, used in voting on the Plan (each, generally referred to
herein as a “Ballot”). The following is an overview of certain information related to voting
that is contained in Article VIII of this Disclosure Statement and elsewhere in this Disclosure
Statement.

       This Disclosure Statement is being transmitted in order to provide adequate information to
enable holders of Claims in Class 3A (2010 Credit Facility Claims), Class 3B (2019 RCF Claims),
Class 4A (2010 Bond Claims), Class 4B (2012 Bond Claims), Class 5 (Convenience Claims),
Class 6 (General Unsecured Claims), Class 7 (Non-Abuse Litigation Claims), Class 8 (Direct
Abuse Claims), and Class 9 (Indirect Abuse Claims), which Claims in such Classes are Impaired
and entitled to vote on the Plan, to make an informed judgment in exercising their right to vote to
accept or reject the Plan.

        Each Class of Claims entitled to vote shall have accepted the Plan pursuant to the
requirements of section 1126(c) of the Bankruptcy Code if at least two-thirds (2/3) in amount and
more than one-half (1/2) in number of those voting in each such Class voted to accept the Plan.
Assuming the requisite acceptances are obtained, the Debtors intend to seek Confirmation of the
Plan at the Confirmation Hearing scheduled for [December 9], 2021, at 10:00 a.m. (Eastern Time)
before the Bankruptcy Court. The Confirmation Hearing may be continued from time to time
without further notice other than an adjournment announced in open court or a notice of
adjournment filed with the Bankruptcy Court and served on those parties who have requested
notice under Bankruptcy Rule 2002 and the Entities who have filed an objection to the Plan, if
any, without further notice to parties in interest. The Bankruptcy Court, in its discretion and prior
to the Confirmation Hearing, may put in place additional procedures governing the Confirmation
Hearing. Subject to section 1127 of the Bankruptcy Code, the Plan may be modified, if necessary,
prior to, during, or as a result of the Confirmation Hearing, without further notice to parties in
interest.

        Additionally, section 1128(b) of the Bankruptcy Code provides that any party in interest
may object to Confirmation. Any objection or response to Confirmation of the Plan must: (i) be
in writing; (ii) state the name and address of the objecting party and the nature and amount of the
Claim of such party; (iii) state with particularity the legal and factual basis and nature of any
objection to the Plan and include any evidentiary support therefor; and (iv) be filed with the
Bankruptcy Court, 824 North Market Street, Third Floor, Wilmington, Delaware 19801 together

20   Id.


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with proof of service on or before [November 23], 2021 at 4:00 p.m. (Eastern Time) (the “Plan
Objection Deadline”), and served on the Debtors and certain other parties in interest in accordance
with the Solicitation Procedures Order (defined below) so that they are received on or before the
Plan Objection Deadline.

       The Debtors have engaged Omni Agent Solutions (the “Solicitation Agent” or “Notice and
Claims Agent”) to assist in the voting process.

        The Solicitation Agent will provide additional copies of all materials and will process and
tabulate the Ballots, as defined in the Debtors’ Motion for Order (I) Approving the Disclosure
Statement and the Form and Manner of Notice, (II) Approving Plan Solicitation and Voting
Procedures, (III) Approving Forms of Ballots, (IV) Approving Form, Manner, and Scope of
Confirmation Notices, (V) Establishing Certain Deadlines in Connection with Approval of the
Disclosure Statement and Confirmation of the Plan, and (VI) Granting Related Relief [D.I. 2295]
(the “Solicitation Procedures Motion”), filed on March 2, 2021, for Classes 3A, 3B, 4A, 4B, 5, 6,
7, 8, and 9, as applicable. You may obtain these documents from the Solicitation Agent free of
charge by: (a) calling the Debtors’ toll-free restructuring hotline at (866) 907-2721, (b) visiting the
Debtors’ restructuring website at https://omniagentsolutions.com/bsa, (c) writing to Boy Scouts of
America, c/o Omni Agent Solutions, 5955 De Soto Avenue, Suite 100, Woodland Hills, CA 91367,
or (d) emailing BSAballots@omniagnt.com. You may also access from these materials for a fee
via PACER at http://www.deb.uscourts.gov/.

        As further described in the Solicitation Procedures (as defined in the Solicitation
Procedures Motion), to be counted, your Ballot indicating acceptance or rejection of the Plan
must be received by the Solicitation Agent no later than 4:00 p.m. (Eastern Time) on
[November 16], 2021 (the “Voting Deadline”), unless the Debtors, in their sole discretion, extend
the period during which votes will be accepted on the Plan, in which case the term “Voting
Deadline” shall mean the last date on, and time by which, such period is extended. Any executed
Ballot that does not indicate either an acceptance or rejection of the Plan or indicates both an
acceptance and rejection of the Plan will not be counted as an acceptance or rejection and will not
count toward the tabulations required pursuant to either section 1129 of the Bankruptcy Code.

        Prior to deciding whether and how to vote on the Plan, each holder of a Claim entitled to
vote should consider carefully all of the information in this Disclosure Statement, including Article
X entitled “Risk Factors.” Each holder of a Claim entitled to vote on the Plan should review
this Disclosure Statement and the Plan and all Exhibits hereto and thereto before submitting
a Ballot. This Disclosure Statement contains a summary of certain provisions of the Plan
and certain other documents and financial information. The Debtors believe that these
summaries are fair and accurate as of the date hereof and provide adequate information
with respect to the documents summarized; however, such summaries are qualified to the
extent that they do not set forth the entire text of those documents and as otherwise provided
herein.

D.     Settlements and Resolutions

       To both maximize distributions to holders of Direct Abuse Claims and continue the BSA’s
long tradition of Scouting, the Debtors and Supporting Parties seek approval of a plan of


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reorganization under chapter 11 of the Bankruptcy Code that provides a framework for global
resolution, which, if confirmed and consummated, will allow the Debtors, as Reorganized BSA,
to emerge from bankruptcy, having fulfilled their dual restructuring goals of (a) providing an
equitable, streamlined, and certain process by which Abuse Survivors may obtain compensation
for Abuse and (b) ensuring that the Reorganized BSA has the ability to continue its vital charitable
mission.

        The Plan incorporates the material terms and provisions of the expired Restructuring
Support Agreement. Additionally, as described above and in more detail below, the Plan
incorporates the JPM / Creditors’ Committee Settlement, which, subject to its terms and the
effectiveness of the Plan, resolves all issues and objections that could be asserted by the Creditors’
Committee with respect to confirmation of the Plan and prospective lien challenges, and all claims
or causes of action that might be brought by or on behalf of the Debtors’ Estates. As described
more fully below and set forth in the Plan, the JPM / Creditors’ Committee Settlement provides
for substantial benefits to the Debtors’ Estates, including distributions to holders of Allowed
Convenience Claims, Allowed General Unsecured Claims, and Allowed Non-Abuse Litigation
Claims, in addition to extensions of the maturity dates of the Prepetition Debt and Security
Documents, including a two year moratorium on principal, which allows the Debtors to increase
their contributions to the Settlement Trust. The JPM / Creditors’ Committee Settlement also
contemplates the Allowance of JPM’s Claims by amending and restating the Prepetition Debt and
Security Documents in the manner described in the Plan.

        The BSA’s charitable mission of Scouting is supported by certain Entities that are not
Debtors in these Chapter 11 Cases, including Local Councils and Chartered Organizations. As
described in this Disclosure Statement, the Local Councils serve geographic areas of varying size
across the United States and facilitate the delivery of the Scouting program at the local
level. Chartered Organizations are typically local organizations—such as faith-based institutions,
clubs, civic associations, educational institutions, businesses, and groups of citizens—that sponsor
local Scouting units. Under the Plan, substantial contributions to the Settlement Trust by the
Debtors, Local Councils, Contributing Chartered Organizations, and Settling Insurance
Companies will be made in exchange for the treatment of the foregoing Entities as Protected
Parties under the Channeling Injunction. Additionally, Participating Chartered Organizations will
agree to assignment and transfer to the Settlement Trust of their BSA insurance related rights and
actions in exchange for treatment as Limited Protected Parties under the Channeling Injunction.
The foregoing settlements are intended to provide for the fair and equitable resolution of Abuse
Claims.

       To continue the mission of Scouting through these non-Debtors, the Plan provides for the
settlement of Abuse Claims against the BSA, Local Councils, any Participating Chartered
Organizations, Contributing Chartered Organizations, and Settling Insurance Companies, by
“channeling” all such Claims to the Settlement Trust (with respect to Participating Charted
Organizations, Post-1975 Chartered Organization Abuse Claims), which shall have the exclusive
responsibility for processing, liquidating and paying Abuse Claims. To obtain the benefits of the
Channeling Injunction, Local Councils, Participating Chartered Organizations, Contributing
Chartered Organizations, and Settling Insurance Companies will make substantial financial and/or
insurance contributions to the Settlement Trust.



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        These contributions to the Settlement Trust, along with the BSA’s contributions, will be
used to fund significant recoveries for holders of compensable Direct Abuse Claims in accordance
with the terms of the Trust Distribution Procedures. The Trust Distribution Procedures will
establish the methodology for resolution of Abuse Claims, establish the process by which Abuse
Claims will be reviewed by the Settlement Trust, and will specify liquidated values for
compensable Claims based on the nature of the underlying Abuse.

        Within this framework, the Plan also incorporates the terms and provisions of the Hartford
Insurance Settlement Agreement and the TCJC Settlement Agreement. As described more fully
below, these settlements contemplate, among other things, cash contributions to the Settlement
Trust from Hartford and TCJC in exchange for the treatment of the foregoing Entities as Protected
Parties under the Plan.

       The assets contributed to the Settlement Trust will be administered by the Settlement
Trustee and used to resolve Abuse Claims in accordance with the Settlement Trust Documents,
including the Settlement Trust Agreement and the Trust Distribution Procedures. The Trust
Distribution Procedures will specify the methodology for processing, liquidating, and paying
Abuse Claims.

          Generally, the features of settlements as incorporated in the Plan are as follows:

         The BSA will contribute to the Settlement Trust, among other things, (a) Net Unrestricted
          Cash and Investments; (b) the BSA’s right, title, and interest in and to (i) the Artwork,
          (ii) the Oil and Gas Interests, and (iii) the Warehouse and Distribution Center (the value of
          which is subject to the Leaseback Requirement); (c) the net proceeds of the sale of Scouting
          University; (d) certain of the Debtors’ rights under applicable insurance; (e) the Settlement
          Trust Causes of Action; (f) the assignment of any and all Perpetrator Indemnification
          Claims held by the BSA; and (g) the BSA Settlement Trust Note;

         The BSA Settlement Trust Note to be issued on the Effective Date to the Settlement Trust
          by the Reorganized BSA in the principal amount of $80 million, which will bear interest
          from the Effective Date at a rate of 5.5% per annum and be payable semi-annually.
          Principal payments under the BSA Settlement Trust Note shall be payable in annual
          installments due on February 15 of each year during the term of the BSA Settlement Trust
          Note, commencing on February 15 with certain minimum payment requirements.21 The
          BSA Settlement Trust Note may be prepaid at any time without penalty;

         Local Councils will make a substantial contribution to the Settlement Trust to resolve the
          Abuse Claims that may be asserted against them in exchange for being included as a
          Protected Party under the Plan and receiving the benefits of the Channeling Injunction,

21   In accordance with the Plan, such annual principal payments shall be equal to the sum of the following calculation: (a) $4.5
     million; plus (b) $3.50 multiplied by the aggregate number of Youth Members as of December 31 of the preceding year up to
     the forecasted number of Youth Members for such year as set forth in the Debtors’ five-year business plan; plus (c) $50
     multiplied by the aggregate number of High Adventure Base Participants during the preceding calendar year; plus (d) $50
     multiplied by the aggregate number of Youth Members in excess of the forecast set forth in the Debtors’ five-year business
     plan; plus (e) $150 multiplied by the aggregate number of High Adventure Base Participants in excess of the forecasted number
     of High Adventure Base Participants for such year as set forth in the Debtors’ five-year business plan. The forecast for years
     after 2025 shall be deemed to be the forecast for calendar year 2025.


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    consisting of (a) $500 million, comprised of at least $300 million in Cash with the balance
    in property, exclusive of insurance rights, (b) the DST Note, a $100 million interest-bearing
    variable-payment obligation note issued by a Delaware statutory trust on or as soon as
    practicable after the Effective Date, and (c) the Local Council Insurance Rights. A list of
    each Local Council’s total expected contribution, including a specific break-down between
    the (i) cash contribution and (ii) property contribution, is attached hereto as Exhibit C.

   Each Local Council’s commitment to make its respective contribution to the Settlement
    Trust is dependent upon, among other things, an acceptable resolution of insurance and
    indemnity issues with respect to Chartered Organizations. Such commitments are
    memorialized in letters of intent, substantially conforming to the form attached hereto as
    Exhibit B.

   The assignment and transfer to the Settlement Trust of all of the insurance rights of all of
    the BSA, Local Councils and Contributing Chartered Organizations under insurance
    policies of the Debtors, Local Councils and such Contributing Chartered Organizations,
    thereby providing the potential for substantial insurance recoveries to holders of Direct
    Abuse Claims;

   TCJC will make a cash contribution of $250 million plus certain insurance rights to the
    Settlement Trust for payment of Abuse Claims related to TCJC that arose in connection
    with their sponsorship of one or more Scouting units which shall be channeled to the
    Settlement Trust; TCJC will be included as a Protected Party under the Plan, and receive
    the benefits of the Channeling Injunction;

   A mechanism by which other Chartered Organizations can become Participating Chartered
    Organizations (unless they elect not to or are chapter 11 debtors) through the assignment
    and transfer to the Settlement Trust of all of the post-1975 insurance rights of such
    Participating Chartered Organization in exchange for inclusion as a Limited Protected
    Party under the Plan, thereby providing the potential for substantial recoveries to holders
    of Abuse Claims. The mechanism also includes a pathway for other Chartered
    Organizations to make further substantial contributions to the Settlement Trust to resolve
    Abuse Claims that may be asserted against them related to Abuse that arose in connection
    with their sponsorship of one or more Scouting units, including those that arose prior to
    January 1, 1976, in exchange for being included as a Protected Party under the Plan and
    receiving the benefits of the Channeling Injunction, thereby becoming “Contributing
    Chartered Organizations” under the Plan. The Debtors shall continue to work in good faith
    with other parties involved in these Chapter 11 Cases to increase participation by Chartered
    Organizations;

   A proposed settlement by and among the BSA, JPM (the BSA’s senior Secured lender),
    and the Creditors’ Committee, under which JPM has agreed that, in full and final
    satisfaction of its Allowed Claims and in exchange for the Creditors’ Committee’s
    agreement not to pursue certain alleged estate causes of action, it shall enter into the
    Restated Debt and Security Documents as of the Effective Date. The Restated Debt and
    Security Documents will contain terms that are substantially similar to the Prepetition Debt
    and Security Documents except that, among certain other modifications, the maturity dates

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    under the Restated Debt and Security Documents shall be the date that is ten (10) years
    after the Effective Date and principal under the Restated Debt and Security Documents
    shall be payable in installments beginning on the date that is two (2) years after the
    Effective Date;

   The proposed JPM / Creditors’ Committee Settlement referenced above provides for the
    BSA’s assumption of its prepetition Pension Plan and satisfaction of Allowed Convenience
    Claims, Allowed General Unsecured Claims, and Allowed Non-Abuse Litigation Claims,
    which are held by creditors who are core to the Debtors’ charitable mission or whose
    Allowed Claims were incurred in furtherance of the Debtors’ charitable mission;

   The JPM / Creditors’ Committee Settlement also contemplates a term loan from the
    National Boy Scouts of America Foundation (as defined in the Plan, the “Foundation”), in
    the principal amount of $42.8 million, which will be used by Reorganized BSA for working
    capital and general corporate purposes. This Foundation Loan will permit the Debtors to
    contribute a substantial amount of consideration in Cash to the Settlement Trust on the
    Effective Date;

   Hartford will make a contribution of $787 million to the Settlement Trust for the payment
    of Abuse Claims in exchange for the sale of the Hartford Policies to Hartford free and clear
    of the interests of all third parties, including any additional insureds under the Hartford
    Policies, which interests will be channeled to the Settlement Trust; Hartford will be
    included as a Protected Party under the Plan, and receive the benefits of the Channeling
    Injunction; and

   A mechanism by which other Insurance Companies may enter into Insurance Settlement
    Agreements and provide sum-certain contributions to the Settlement Trust in exchange for
    being included as a Protected Party under the Plan and receiving the benefits of the
    Channeling Injunction, thereby becoming “Settling Insurance Companies” under the Plan.




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          The following chart illustrates the BSA Settlement Trust Contribution under the Plan:

     BSA Settlement Trust Contribution                                Source                   Estimated Amount

     Net Unrestricted Cash and                                          Cash                        $58.9 million
     Investments22 23
     Warehouse and Distribution Center24                          Real Property                     $11.6 million
     Scouting University (net sale proceeds)25                          Cash                         $1.9 million
     Artwork                                                           Asset                        $59.0 million
     Oil and Gas Interests                                             Asset                         $7.6 million
     BSA Settlement Trust Note                                    Note Payable                      $80.0 million

     Total Estimated BSA Settlement Trust Non-Insurance                                            $219 million26
     Contribution


        The Debtors and the Supporting Parties are committed to working with other Chartered
Organizations and Settling Insurance Companies (other than Hartford and TCJC, which are
described herein) to increase participation and contributions to the Settlement Trust, and will work
in good faith with other parties involved in these Chapter 11 Cases to further negotiate terms to
foster participation and further contributions to the Settlement Trust. When any new Chartered
Organization or other Settling Insurance Company agrees to a settlement, the Debtors will file a
notice on the case docket for these Chapter 11 Cases for distribution to any party that has requested
notice pursuant to Bankruptcy Rule 2002, stating the name of the Contributing Chartered
Organization or Settling Insurance Company and the amount of its contribution. The Debtors will
also notify any party that has requested notice pursuant to Bankruptcy Rule 2002 of any additional


22   Reflects Unrestricted Cash and Investments on the Effective Date, after giving effect to the Foundation Loan of $42.8 million,
     above $39 million as of December 31, 2021 less the JPM Exit Fee, Allowed Administrative Expense Claims, the Hartford
     Administrative Expense Claim, Professional Fee Reserve, Creditor Representative Fee Cap, and Allowed Priority, Secured,
     and Convenience Claims. The Debtors believe that pursuing potential avoidance actions under the Bankruptcy Code,
     including potential preference or fraudulent transfer actions, would not yield a net return.
23   Represents estimated Settlement Trust contributions assuming an Effective Date of December 31, 2021 per the financial
     projections in the Disclosure Statement. The actual Cash Settlement Trust contribution is uncertain and subject various risks,
     including timing of emergence, amount of professional fees incurred, and performance of the organization through the
     Effective Date.
24   Estimated value based on a third-party broker opinion of value from November 2020 which is further supported by current
     negotiations with a potential purchaser, both of which contemplate a leaseback to BSA at current market rates with 3% annual
     increases.
25   Represents net proceeds from the sale of the Scouting University building held in a segregated bank account for the benefit of
     the BSA Settlement Trust.
26   Assuming a December 31, 2021 Effective Date, as reflected in the chart above, the amount of Net Unrestricted Cash and
     Investments is estimated to be approximately $58.9 million and as a result the total BSA Settlement Trust Contribution is
     valued at approximately $219 million. The BSA Settlement Trust Contribution value could be higher or lower than $219
     million depending on (a) timing of emergence, (b) performance of BSA’s underlying business between now and emergence,
     (c) the level of professional fees incurred, and (d) the realizable value of the non-cash components of the BSA Settlement
     Trust Contribution.


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Settling Insurance Companies. The Debtors will also post a notice of any new Contributing
Chartered Organizations and Settling Insurance Companies at https://omniagentsolutions.com/bsa.

        The Debtors and Supporting Parties are affirmatively seeking to reach further mediated
settlements of disputed issues with Chartered Organizations and Insurance Companies, and other
related matters, which may result in the amendment or modification of the Plan to propose
additional settlements pursuant to section 1123(b)(3)(A) of the Bankruptcy Code and Bankruptcy
Rule 9019. The Debtors and Supporting Parties believe that resolution of these controversies in
advance of the Confirmation Hearing will facilitate the favorable resolution of these Chapter 11
Cases and maximize distributions to holders of Allowed Claims and Abuse Claims under the
Settlement Trust.

E.     Treatment of Chartered Organizations Under the Plan

        The Plan provides three alternate paths for Chartered Organizations. As explained below,
a Chartered Organization may: (1) become a Contributing Chartered Organization and thereby
become a Protected Party and receive the full benefits and protections of the Channeling Injunction
in exchange for its contribution of certain insurance-related rights to the Settlement Trust in
addition to a substantial monetary contribution to the Settlement Trust; (2) become a Participating
Chartered Organization and receive certain limited benefits and protections of the Channeling
Injunction as a Limited Protected Party in exchange for contribution of certain insurance-related
rights to the Settlement Trust, or (3) refrain from participating in the Plan. A Chartered
Organization that chooses not to participate in the Plan will receive no benefits and protections
under the Plan from future litigation related to Abuse Claims and will retain any rights it may have
under insurance policies issued to the BSA or Local Councils that provide coverage to Chartered
Organizations for Abuse Claims. One exception to the ability of non-participating Chartered
Organizations to retain their insurance rights under the Abuse Insurance Policies is that the
Hartford Insurance Settlement Agreement provides that the Hartford Policies sold to the Debtors
are being purchased by Hartford free and clear of all interests of the estate and any person or entity
other than the estate, pursuant to sections 363, 1123 and/or 1141 of the Bankruptcy Code.
       1. Chartered Organizations Included in the Plan

        The “Chartered Organizations” referenced in the Plan encompasses each and every
chartering partner of the BSA, including each civic, faith-based, educational or business
organization, governmental entity or organization, other entity or organization, or group of
individual citizens, that are presently or were formerly authorized by the BSA to operate, sponsor
or otherwise support one or more Scouting units. As discussed further herein, the Chartered
Organizations play an important role in the Debtors’ charitable mission by facilitating Scouting
units across the country.

       2. The Effect of the Channeling Injunction on Abuse Claims Against Chartered
          Organizations

        The Channeling Injunction to be issued as a part of the Plan will permanently and forever
stay, bar, and enjoin holders of Abuse Claims from pursuing such claims against the Debtors and
other non-Debtors that are Protected Parties, including Contributing Chartered Organizations.
Additionally, the Channeling Injunction will likewise permanently and forever stay, bar, and

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enjoin holders from pursuing certain, but not all, Abuse Claims against Limited Protected Parties,
including Participating Chartered Organizations. The Abuse Claims related to the Limited
Protected Parties that will be channeled to the Settlement Trust are called “Post-1975 Chartered
Organization Abuse Claims.” Such claims include any Abuse Claim against a Participating
Chartered Organization that relates to Abuse alleged to have first occurred on or after January 1,
1976, which is attributable to, arises from, is based upon, relates to, or results from Abuse that
occurred in connection with the Participating Chartered Organization’s sponsorship of one or more
Scouting units.

        On the Effective Date of the Plan, the Settlement Trust shall assume the liabilities,
obligations, and responsibilities, financial or otherwise, of (a) the Protected Parties for all Abuse
Claims and (b) the Limited Protected Parties for all Post-1975 Chartered Organization Abuse
Claims. Holders of Abuse Claims that are not Post-1975 Chartered Organization Abuse Claims
shall maintain the right to assert such Abuse Claims against any Limited Protected Party (unless
such Chartered Organization becomes a Contributing Chartered Organization). Likewise, any
Chartered Organization that decides not to become a Participating Chartered Organization or
Contributing Chartered Organization will not benefit from the Channeling Injunction in any
manner and will retain its respective insurance rights and liabilities with respect to Abuse Claims.

       3. Participating Chartered Organizations

        Most Chartered Organizations will be treated as “Participating Chartered Organizations”
under the Plan unless the Chartered Organization elects to opt out of this treatment or becomes a
Contributing Chartered Organization as explained below. This general treatment enables a
Chartered Organization to benefit from some of the protections under the proposed Channeling
Injunction (described in greater detail below) in exchange for contribution of certain insurance
related rights to the Settlement Trust. This assignment is called the “Participating Chartered
Organization Insurance Assignment” and involves the assignment and transfer to the Settlement
Trust of the Participating Chartering Organizations’ rights in and to (a) the Participating Chartered
Organization Insurance Actions, (b) the Insurance Action Recoveries, (c) the Insurance Settlement
Agreements, and (d) all other rights, claims, benefits, or Causes of Action under or with respect to
the Abuse Insurance Policies (but not the policies themselves).

      Generally, Chartered Organizations that are not Contributing Chartered Organizations will
be automatically deemed to be Participating Chartered Organizations unless a Chartered
Organization:

           objects to confirmation of the Plan, or

           informs Debtors’ counsel in writing that it does not wish to make the Participating
            Chartered Organization Insurance Assignment (discussed below) on or before the Plan
            Objection Deadline, or

           is a debtor in a pending bankruptcy.

       A Chartered Organization that is a debtor in bankruptcy as of the Confirmation Date will
not be a Participating Chartered Organization unless it elects to be treated as a Participating


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Chartered Organization by advising Debtors’ counsel in writing that it wishes to make the
Participating Chartered Organization Insurance Assignment.

       All Participating Chartered Organizations shall be treated as “Limited Protected Parties”
under the Plan, allowing them limited benefits of the Channeling Injunction.

       4. Contributing Chartered Organizations

        A Chartered Organization may receive the full benefits and protections of the Channeling
Injunction as a “Protected Party” if it becomes a “Contributing Chartered Organization” under the
Plan. In order to become a Contributing Chartered Organization and receive the full benefits of
the Channeling Injunction, a Chartered Organization should seek to become a party to the
mediation to further negotiate the contributions necessary to be granted these protections, and may
contact bankruptcy counsel for the Debtors with this request. Pursuant to the Mediation Order
[D.I. 812] (as defined herein), (i) all of the mediation parties must agree to include any additional
party or parties in the mediation and (ii) the Mediators must agree that the participation of such
additional party or parties is necessary or would be beneficial to the mediation.

        Through mediation, a Chartered Organization must enter into a settlement with the BSA
that includes a substantial contribution to the Settlement Trust that will resolve Abuse Claims that
may be asserted related to Abuse that arose in connection with the Chartered Organization’s
involvement in Scouting prior to the Petition Date regardless of time period (as opposed to
Participating Chartered Organizations, which only include claims that arose after January 1, 1976).
The BSA believes that a substantial contribution is necessary for the Bankruptcy Court to approve
treatment as a Protected Party under the Plan and receiving the benefits of the Channeling
Injunction, thereby becoming a “Contributing Chartered Organization.” As a part of such
substantial contribution, each Contributing Chartered Organization will agree to take part in the
Insurance Assignment, which includes (x) the assignment and transfer to the Settlement Trust of
(a) the Insurance Actions, (b) the Insurance Action Recoveries, (c) the Insurance Settlement
Agreements, and (d) all other rights, claims, benefits, or Causes of Action of the Debtors, Related
Non-Debtor Entities, Local Councils, or Contributing Chartered Organizations under or with
respect to the Abuse Insurance Policies (but not the policies themselves) and (y) the Participating
Chartered Organization Insurance Assignment. A Participating Chartered Organization cannot
become a Contributing Chartered Organization and receive the full protections of the Channeling
Injunction based solely on the Participating Chartered Organization Insurance Assignment.

        Each Contributing Chartered Organization/Protected Party will receive the benefit of the
channeling of Abuse Claims to the Settlement Trust under the Channeling Injunction, which means
that holders of such claims will be required to resolve their claims against such Contributing
Chartered Organization with the Settlement Trust. The claims that will be channeled are only with
respect to any Abuse Claim that is attributable to, arises from, is based upon, relates to, or results
from, Abuse that occurred prior to the Petition Date in connection with the Contributing Chartered
Organization’s sponsorship of one or more Scouting units.

       The BSA encourages Chartered Organizations to become parties to the Bankruptcy
Court-approved mediation process to discuss and negotiate such a settlement in order to become



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a Contributing Chartered Organization and receive the full benefits of the Channeling
Injunction.

F.       Timeline

        As the Debtors have stated throughout these Chapter 11 Cases, emergence from bankruptcy
as soon as possible is critical. There are several reasons for this. The Debtors’ membership
dropped significantly in 2020 as a result of the COVID-19 pandemic. In order to rebuild
membership, the Debtors must emerge from the cloud of these Chapter 11 Cases as soon as
possible. If the number of new members and returning members is substantially reduced from
current projections, the Debtors could lack the means to meet their operational needs or otherwise
emerge from bankruptcy. Timely emergence from Chapter 11 is essential to the Debtors’ ability
to improve their operations.

        Finally, substantial professional fees will continue to accrue until a plan is confirmed and
becomes effective. At this time, the Debtors’ bankruptcy estate bears the burden for the fees of
the professionals and advisors to the Debtors, the Tort Claimants’ Committee, the Future
Claimants’ Representative, the Creditors’ Committee, and JPM. Moreover, pursuant to the Plan,
to the extent approved by the Bankruptcy Court, the Debtors will also pay certain fees incurred by
the Coalition. Such fees are substantial and to date the Debtors have incurred more than $146
million27 in professional fees related to this restructuring. By the end of December 2021, the
Debtors estimate the professional fees in the Chapter 11 Cases will equal or exceed $205 million.28
Each successive month is expected to cost the estate approximately $10 million or more. The
Debtors believe this is wholly inappropriate for a non-profit chapter 11 proceeding and believe
emergence from bankruptcy as soon as possible is essential to stop the accrual of additional
professional fees.

         Until recently, there had not been sufficient support for a plan of reorganization from the
survivor constituencies to facilitate a global resolution that would accomplish the dual goals of
this restructuring. However, now the Debtors have incorporated the material terms and provisions
of the expired Restructuring Support Agreement, which the Debtors believe will result in the
holders of Direct Abuse Claims voting to accept the Plan. As discussed, above, the Plan also
incorporates the terms and provisions of the Hartford Insurance Settlement Agreement, which is
supported by the Debtors, the Ad Hoc Committee, the Coalition, the Future Claimants’
Representative, and the attorneys representing holders of Direct Abuse Claims listed on Schedule
1 to the Hartford Insurance Settlement Agreement term sheet. However, with the exception of
Hartford, the Debtors do not yet have support for the Plan from their other insurers. Without the
support of the Debtors’ other insurers, confirmation of this Plan may not occur until late 2021,
which will place a further financial burden on the Debtors. The potential for protracted litigation
with Insurance Companies other than those that settle with the Debtors under the Plan is great and
will cause increased costs and expenses to the Debtors, including with respect to professional fees.
In light of these circumstances and the delayed emergence from the Chapter 11 Cases, the Debtors
have worked with their advisors to take steps to mitigate the financial impact.


27   Amount through August 31, 2021, excluding bar noticing fees.
28   Amount excludes bar noticing fees.


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       If emergence were to occur in December 2021, the BSA estimates that the Net Unrestricted
Cash and Investments under the Plan would be approximately $58.9 million resulting in a value
of BSA Settlement Trust Contribution of approximately $219 million; however, assuming a March
31, 2022 emergence, as reflected in the chart below, the amount of Net Unrestricted Cash and
Investments drops to $26 million and, as a result, the total BSA Settlement Trust Contribution is
valued at approximately $186 million. The BSA Settlement Trust Contribution value could be
higher or lower than the amounts reflected in the chart depending on (a) timing of emergence, (b)
performance of BSA’s underlying business between now and emergence, (c) the level of
professional fees incurred, and (d) the realizable value of the non-cash components of the BSA
Settlement Trust Contribution.

          The following chart reflects the value of the BSA Settlement Trust Contribution over time:

                              ($ in millions)             12/31/21       1/31/22       2/28/22      3/31/22

                    Unrestricted Cash & Investments
                    after Foundation Loan Proceeds           $165.0        $181.9        $165.7        $180.1
                    Less:
                       Unrestricted Cash &
                       Investments Retained by BSA29          (39.0)        (56.0)        (40.0)        (54.0)
                       Professional Fees Paid from
                       12/1/21 Forward30                      (44.6)        (54.8)        (64.6)        (75.0)
                       Coalition Restructuring
                       Expenses31                             (15.3)        (16.2)        (17.2)        (18.1)

                       Other Deductions32
                                                                (7.3)        (7.2)         (7.3)         (7.3)
                    Net Unrestricted Cash &
                    Investments (to Settlement Trust)          $58.9        $47.6         $36.7         $25.7
                    Value of Other Cash and Non-
                    Cash Contributions to Settlement
                    Trust33                                    160.1        160.1         160.1         160.1
                    Total Estimated Contributions to
                    Settlement Trust                           $219        $207.7        $196.8        $185.8




29   Minimum retained Unrestricted Cash and Investments is $39 million if the Effective Date occurs in December 2021. Beginning
     on January 1, 2022, the minimum retained Unrestricted Cash and Investments increases based on cumulative estimated
     monthly net cash flows. For example, if the BSA has an Effective Date of January 31, 2022, the minimum retained cash
     increases from $39 million to $56 million based on an estimated monthly cash flow of $17 million during the month of January.
30   Includes all professional fees paid from December 1, 2021 onward, including the Professional Fee Reserve Amount and
     ordinary professional fee payments, if applicable.
31   Assumed to be $15.3 million for a December 31, 2021 Effective Date and an additional $950,000 per month thereafter.
32   Consists of amounts of cash (a) equal to the JPM Exit Fee, (b) sufficient to fund all unpaid Allowed Administrative Expense
     Claims, including the Allowed Hartford Administrative Expense Claim, (c) equal to the Creditor Representative Fee Cap, (d)
     estimated to be required to satisfy Allowed Priority Tax Claims, Allowed Other Priority Claims, Allowed Secured Claims,
     and Allowed Convenience Claims, and (e) sufficient to fund all accrued but unpaid interest and reasonable fees and expenses
     of JPM as of the Effective Date.
33   Consists of the net sale proceeds from the Scouting University building, the value of the Artwork, the Oil and Gas Interests,
     and the Warehouse and Distribution Center, subject to the Leaseback Requirement, and the $80 million BSA Settlement Trust
     Note.


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G.     The Channeling Injunction

        The Channeling Injunction to be issued as a part of the Plan will permanently and forever
stay, bar, and enjoin holders of Abuse Claims from taking any action for the purpose of directly or
indirectly or derivatively collecting, recovering, or receiving payment of, on, or with respect to
any Abuse Claim other than pursuant to the Settlement Trust Agreement and the Trust Distribution
Procedures. Each holder of an Abuse Claim will have no right whatsoever at any time to assert its
Abuse Claim against any Protected Party or any property or interest in property of any Protected
Party. For the avoidance of doubt, Abuse Claims include Indirect Abuse Claims.

        The Protected Parties include: (a) the Debtors; (b) Reorganized BSA; (c) the Related Non-
Debtor Entities; (d) the Local Councils; (e) the Contributing Chartered Organizations; (f) the
Settling Insurance Companies, including Hartford; and (g) all of such Persons’ Representatives;
provided, however, that no Perpetrator is or shall be a Protected Party. Notwithstanding the
foregoing, a Contributing Chartered Organization shall be a Protected Party with respect to Abuse
Claims only as set forth in the definition of “Abuse Claim.”

       Additionally, the Limited Protected Parties (i.e., Participating Chartered Organizations)
shall enjoy the benefit of the Channeling Injunction, with respect to Post-1975 Chartered
Organization Abuse Claims against the Limited Protected Parties as provided for in Article X.F of
the Plan.

        The Debtors have compiled a list of all potential Protected Parties and potential Limited
Protected Parties under the Plan, including the identities of all Local Councils, Chartered
Organizations, and Insurance Companies. To the extent any such parties participate, they will be
included in the definition of Protected Parties and will benefit from the Channeling
Injunction. This list of potential Protected Parties will be made available at
https://omniagentsolutions.com/bsa-SAballots and https://omniagentsolutions.com/bsa-ballots.
This list only includes potential Protected Parties and potential Limited Protected Parties for
disclosure purposes—it does not mean that any such party will in fact become a Protected
Party or potential Limited Protected Party, as applicable, under the Plan.

        The difference between the release in Article X.J.4 of the Plan and the Channeling
Injunction in Article X.F of the Plan is that the release in Article X.J.4 of the Plan is consensual
while the Channeling Injunction is non-consensual. Specifically, the parties that vote to accept or
reject the Plan may opt out of the release provisions in Article X.J.4 of the Plan. Additionally,
holders of Unimpaired Claims are deemed to grant the releases in Article X.J.4 of the Plan unless
they object to the releases. In contrast, the Channeling Injunction, which benefits not only the
BSA, but also Local Councils, Participating Chartered Organizations, Contributing Chartered
Organizations and Settling Insurance Companies, will apply regardless of consent to the Debtors
and Local Councils, Participating Chartered Organizations, Contributing Chartered Organizations
and Settling Insurance Companies, if the Bankruptcy Court finds, after evaluating certain factors,
that such non-debtor third parties made a substantial contribution of assets to the Reorganized BSA
and/or Settlement Trust. That determination will be made at Confirmation.

        Additionally, any Chartered Organization that is not a Contributing Chartered Organization
as of the Effective Date may become a Protected Party after the Effective Date if the Bankruptcy


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Court, after notice and an opportunity for parties in interest to be heard, approves a settlement
agreement between such Chartered Organization and the Settlement Trustee. Likewise, any
Chartered Organization that is not a Participating Chartered Organization as of the Effective Date
may become a Participating Chartered Organization after the Effective Date by agreement with
the Settlement Trustee and without further order of the Bankruptcy Court; provided, however, that
the Settlement Trustee shall file a notice with the Bankruptcy Court within thirty (30) days of
entering into any agreement with a Chartered Organization that deems such Chartered
Organization to be a Limited Protected Party, together with an amendment to Exhibit K of the Plan
removing such Chartered Organization from the list of Chartered Organizations that are not
Participating Chartered Organizations. Finally, within twelve months of the Effective Date,34 any
Insurance Company that is a Non-Settling Insurance Company as of the Effective Date may
become a Protected Party if it executes a settlement with the Settlement Trustee after notice filed
with the Bankruptcy Court and an opportunity for parties in interest to object. Such settlement
will be deemed binding absent objection by any party in interest within fifteen calendar days of
such notice.

        The Channeling Injunction only applies to Abuse Claims, while the release in Article X.J.4
of the Plan applies to Claims other than Abuse Claims. The Channeling Injunction does not mean
that an Abuse Claim is being extinguished. Rather, the Abuse Claims are being channeled to the
Settlement Trust, and will be reviewed and paid pursuant to the Trust Distribution Procedures.

        The Channeling Injunction is necessary to channel Abuse Claims to the Settlement Trust,
creating a swift and efficient means to liquidate valid Abuse Claims pursuant to the Trust
Distribution Procedures, while at the same time ensuring that the Reorganized BSA can continue
to carry out its charitable mission. The Channeling Injunction and related non-consensual third-
party releases as crafted are necessary to effect a meaningful and final resolution of Abuse Claims
that will benefit holders of such Claims.

H.        Summary and Description of Classes and Treatment

        Except for Administrative Expense Claims and Priority Tax Claims, which are not required
to be classified, all Claims and Interests are divided into Classes under the Plan. The following
chart summarizes the projected distributions to holders of Allowed Claims against and Interests in
each of the Debtors under the Plan and Abuse Claims that will be resolved by the Settlement Trust
in accordance with the Trust Distribution Procedures. This chart is only a summary of such
classification and treatment and reference should be made to the entire Disclosure Statement and
the Plan for a complete description of the classification and treatment of Claims and Interests. The
ability to receive distributions under the Plan depends upon the ability of the Debtors to obtain
Confirmation of the Plan and meet the conditions to Confirmation and effectiveness of the Plan,
as discussed in this Disclosure Statement, including, but not limited to, holders of Direct Abuse
Claims providing a sufficient number of votes to accept the Plan.

       Moreover, although every reasonable effort was made to be accurate, the projections of
estimated recoveries are only an estimate. Any estimates of Claims or Interests in this Disclosure
Statement may vary from the final amounts allowed by the Bankruptcy Court. As a result of the

34   This period can be extended in the sole discretion of the Settlement Trustee upon order of the Bankruptcy Court.


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foregoing and other uncertainties which are inherent in the estimates, the estimated recoveries in
this Disclosure Statement may vary from the actual recoveries received. The projected recoveries
set forth below may change based upon changes in the amount of Allowed Claims and Abuse
Claims resolved by the Settlement Trust in accordance with the Trust Distribution Procedures, as
well as other factors related to the Debtors’ operations and general economic conditions. The
Debtors reserve the right to modify the Plan consistent with section 1127 of the Bankruptcy Code
and Bankruptcy Rule 3019.

         The summary of classification and treatment of Claims against and Interests in the Debtors
is as follows:

     Class Designation35 Treatment under the Plan                  Impairment and Estimated Amount36
                                                                    Entitlement to   and Approximate
                                                                         Vote      Percentage Recovery
     1           Other               Each holder of an Allowed Unimpaired           Estimated Allowed
                 Priority            Other Priority Claim shall                     Amount: Less than
                 Claims              receive: (i) payment in       Not Entitled to  $0.1 million
                                     Cash in an amount equal to Vote (Presumed to
                                     such Allowed Other            Accept)          Estimated Percentage
                                     Priority Claim; or                             Recovery: 100%
                                     (ii) satisfaction of such
                                     Allowed Other Priority
                                     Claim in any other manner
                                     that renders the Allowed
                                     Other Priority Claim
                                     Unimpaired, including
                                     Reinstatement.
     2           Other               Each holder of an Allowed Unimpaired           Estimated Amount:
                 Secured             Other Secured Claim shall                      $0
                 Claims              receive: (i) payment in       Not Entitled to
                                     Cash in an amount equal to Vote (Presumed to Estimated Percentage
                                     the Allowed amount of         Accept)          Recovery: 100%
                                     such Claim; (ii) satisfaction
                                     of such Other Secured
                                     Claim in any other manner
                                     that renders the Allowed
                                     Other Secured Claim
                                     Unimpaired, including
                                     Reinstatement; or

35       The Debtors reserve the right to eliminate any Class of Claims in the event they determine that there are no Claims in such
         Class.
36       Figures with respect to the Allowed amounts of the Claims set forth in this chart are based upon the Debtors’ best estimates
         of such Claims as of the date of this Disclosure Statement. These estimates are based on various assumptions. The actual
         amounts of Allowed Claims may differ significantly from these estimates should one or more underlying assumptions prove
         to be incorrect. Such differences may adversely affect the percentage of recovery to holders of Allowed Claims under the
         Plan. Moreover, the estimated recoveries set forth herein are necessarily based on certain assumptions, the realization of
         which are beyond the Debtors’ control.


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Class Designation35 Treatment under the Plan        Impairment and Estimated Amount36
                                                     Entitlement to  and Approximate
                                                          Vote      Percentage Recovery
                   (iii) return of the applicable
                   collateral in satisfaction of
                   the Allowed amount of
                   such Other Secured Claim.
3A     2010 Credit Each holder of an Allowed        Impaired           Estimated Amount:
       Facility    2010 Credit Facility Claim                          $80,762,060
       Claims      shall receive a Claim under      Entitled to Vote
                   the Restated Credit Facility                        Estimated Percentage
                   Documents in an amount                              Recovery: 100%
                   equal to the amount of such
                   holder’s Allowed 2010
                   Credit Facility Claim.
3B     2019 RCF    Each holder of an Allowed        Impaired           Estimated Amount:
       Claims      2019 RCF Claim shall                                $61,542,720
                   receive a Claim under the        Entitled to Vote
                   Restated Credit Facility                            Estimated Percentage
                   Documents in an amount                              Recovery: 100%
                   equal to the amount of such
                   holder’s Allowed 2019
                   RCF Claim.
4A     2010 Bond   Each holder of an Allowed        Impaired           Estimated Amount:
       Claims      2010 Bond Claim shall                               $40,137,274
                   receive a Claim under the        Entitled to Vote
                   Restated 2010 Bond                                  Estimated Percentage
                   Documents in an amount                              Recovery: 100%
                   equal to the amount of such
                   holder’s Allowed 2010
                   Bond Claim.
4B     2012 Bond   Each holder of an Allowed        Impaired           Estimated Amount:
       Claims      2012 Bond Claim shall                               $145,662,101
                   receive a Claim under the        Entitled to Vote
                   Restated 2012 Bond                                  Estimated Percentage
                   Documents in an amount                              Recovery: 100%
                   equal to the amount of such
                   holder’s Allowed 2012
                   Bond Claim.
5      Convenience Each holder of an Allowed        Impaired           Estimated Amount:
       Claims      Convenience Claim shall                             $2.3 million – $2.9
                   receive Cash in an amount        Entitled to Vote   million
                   equal to 100% of such
                   holder’s Allowed                                    Estimated Percentage
                   Convenience Claim.                                  Recovery: 100%


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     Class Designation35 Treatment under the Plan                           Impairment and Estimated Amount36
                                                                             Entitlement to    and Approximate
                                                                                  Vote       Percentage Recovery
     6           General             Each holder of an Allowed              Impaired          Estimated Amount:
                 Unsecured           General Unsecured Claim                                  $26.5 million – $33.5
                 Claims              shall receive, subject to the          Entitled to Vote million
                                     holder’s ability to elect
                                     Convenience Claim                                                  Estimated Percentage
                                     treatment on account of the                                        Recovery: 75 – 95%
                                     Allowed General
                                     Unsecured Claim, its Pro
                                     Rata Share of the Core
                                     Value Cash Pool up to the
                                     full amount of such
                                     Allowed General
                                     Unsecured Claim in the
                                     manner described in Article
                                     VII of the Plan.
     7           Non-Abuse           Each holder of an Allowed Impaired                                 Estimated Amount:
                 Litigation          Non-Abuse Litigation                                               Undetermined37
                 Claims              Claim shall, subject to (i)   Entitled to Vote
                                     the holder’s ability to elect                                      Estimated Percentage
                                     Convenience Claim                                                  Recovery: 100%
                                     treatment as provided in the
                                     following sentence and (ii)
                                     the terms and conditions of
                                     Article IV.D.3 of the Plan
                                     (as applicable), retain the
                                     right to recover up to the
                                     amount of such holder’s
                                     Allowed Non-Abuse
                                     Litigation Claim from (x)
                                     available insurance
                                     coverage or the proceeds of
                                     any Insurance Policy,
                                     including any Abuse
                                     Insurance Policy or Non-
                                     Abuse Insurance Policy, (y)
                                     applicable proceeds of any
                                     Insurance Settlement
                                     Agreements, and (z) co-
                                     liable non-debtors (if any)
                                     or their insurance coverage.


37       This class is comprised of approximately fifty-five (55) wrongful death or personal injury claims as well as seven (7) other
         litigation claims. None of these claims have been liquidated.


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     Class Designation35 Treatment under the Plan                            Impairment and Estimated Amount36
                                                                              Entitlement to  and Approximate
                                                                                   Vote      Percentage Recovery
                              Solely to the extent that the
                              holder of an Allowed Non-
                              Abuse Litigation Claim
                              fails to recover in full from
                              the foregoing sources on
                              account of such Allowed
                              Claim after exhausting its
                              remedies in respect thereof,
                              such holder may elect to
                              have the unsatisfied portion
                              of its Allowed Claim
                              treated as an Allowed
                              Convenience Claim and
                              receive cash in an amount
                              equal to the lesser of (a) the
                              amount of the unsatisfied
                              portion of the Allowed
                              Non-Abuse Litigation
                              Claim and (b) $50,000.
     8           Direct Abuse Pursuant to the Channeling Impaired                                       Estimated Amount:
                 Claims38     Injunction set forth in                                                   $2.4 billion – $7.1
                              Article X.F of the Plan,       Entitled to Vote                           billion
                              each holder of a Direct
                              Abuse Claim shall have                                                     Estimated Percentage
                              such holder’s Direct Abuse                                                 Recovery at $7.1
                              Claim against the Protected                                                billion: 10 – 25%
                              Parties (and each of them)                                                 plus additional
                              permanently channeled to                                                   insurance rights,
                              the Settlement Trust, and                                                  expected to yield up
                              such Direct Abuse Claim                                                    to 100% recovery39
                              shall thereafter be asserted
                              exclusively against the                                                    Estimated Percentage
                              Settlement Trust and                                                       Recovery at $2.4
                              processed, liquidated, and                                                 billion: 31 – 73%

38       Under the Plan, “Direct Abuse Claim” means an Abuse Claim that is not an Indirect Abuse Claim.
39       The following calculation was used to determine the percentage recovery range under the Plan: ($219 million (BSA Settlement
         Contribution) plus $500 million (Local Counsel Contribution) plus $100 million (DST Note) plus Hartford Settlement
         Contribution minus the Hartford Administrative Expense Claim ($785 million) plus TCJC Settlement Contribution ($250
         million)) divided by $2.4 billion - $7.1 billion (Estimated Abuse Claims Range). The recovery percentages are net of assumed
         cost to operate the Settlement Trust. Costs are estimated between 6 and 10% of total assets with costs expected to be at the
         high end of the range in a smaller trust and at or below the lower end of the range in a larger trust under the Plan. The low
         end of the recovery range excludes both the Hartford and TCJC Settlement Contributions as some parties may object to the
         settlement amount and/or how the settlement amount is distributed to holders of Abuse Claims, thereby rendering these
         amounts unavailable to some or all creditors.


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     Class Designation35 Treatment under the Plan              Impairment and Estimated Amount36
                                                                Entitlement to   and Approximate
                                                                     Vote      Percentage Recovery
                                   paid in accordance with the                  plus additional
                                   terms, provisions, and                       insurance rights,
                                   procedures of the                            expected to yield up
                                   Settlement Trust                             to 100%
                                   Documents.                                   recovery3939 above

                                   Pursuant to the Channeling                                           Under the
                                   Injunction set forth in                                              Expedited
                                   Article X.F of the Plan,                                             Distribution:40
                                   each holder of a Post-1975                                           Estimated Amount:
                                   Chartered Organization                                               $3,500.00
                                   Abuse Claim shall have
                                   such holder’s Post-1975
                                   Chartered Organization
                                   Abuse Claim against the
                                   Limited Protected Parties
                                   (and each of them)
                                   permanently channeled to
                                   the Settlement Trust, and
                                   such Post-1975 Chartered
                                   Organization Abuse Claim
                                   shall thereafter be asserted
                                   exclusively against the
                                   Settlement Trust and
                                   processed, liquidated, and
                                   paid in accordance with the
                                   terms, provisions, and
                                   procedures of the
                                   Settlement Trust
                                   Documents.




40    Pursuant to Article III.B.10 of the Plan, under the Plan, each holder of a properly completed non-duplicative proof of claim
      asserting a Direct Abuse Claim who filed such Claim by the Bar Date or was permitted by a Final Order of the Bankruptcy
      Court to file a late claim may elect on his or her Ballot to receive an Expedited Distribution, in exchange for a full and final
      release in favor of the Debtors, the Related Non-Debtor Entities, the Local Councils, Contributing Chartered Organizations,
      and the Settling Insurance Companies. Under the Plan, “Expedited Distribution” means a one-time Cash payment from the
      Settlement Trust in the amount of $3,500.00, conditioned upon satisfaction of the criteria set forth in the Trust Distribution
      Procedures.


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     Class Designation35 Treatment under the Plan                 Impairment and Estimated Amount36
                                                                   Entitlement to    and Approximate
                                                                        Vote       Percentage Recovery
     9           Indirect             Pursuant to the Channeling Impaired           Estimated Amount:
                 Abuse                Injunction set forth in                       Unknown42
                 Claims41             Article X.F of the Plan,    Entitled to Vote
                                      each holder of an Indirect                    Estimated Percentage
                                      Abuse Claim shall have                        Recovery at $7.1
                                      such holder’s Indirect                        billion: 10 – 25%
                                      Abuse Claim against the                       plus additional
                                      Protected Parties (and each                   insurance rights,
                                      of them) permanently                          expected to yield up
                                      channeled to the Settlement                   to 100% recovery
                                      Trust, and such Indirect
                                      Abuse Claim shall                             Estimated Percentage
                                      thereafter be asserted                        Recovery at $2.4
                                      exclusively against the                       billion: 31 – 73%
                                      Settlement Trust and                          plus additional
                                      processed, liquidated, and                    insurance rights,
                                      paid in accordance with the                   expected to yield up
                                      terms, provisions, and                        to 100% recovery
                                      procedures of the
                                      Settlement Trust
                                      Documents.

                                      Pursuant to the Channeling
                                      Injunction set forth in
                                      Article X.F of the Plan,
                                      each holder of a Post-1975
                                      Chartered Organization
                                      Abuse Claim shall have
                                      such holder’s Post-1975
                                      Chartered Organization

41       Under the Plan, “Indirect Abuse Claim” means a liquidated or unliquidated Abuse Claim for contribution, indemnity,
         reimbursement, or subrogation, whether contractual or implied by law (as those terms are defined by the applicable non-
         bankruptcy law of the relevant jurisdiction), and any other derivative Abuse Claim of any kind whatsoever, whether in the
         nature of or sounding in contract, tort, warranty or any other theory of law or equity whatsoever, including any indemnification,
         reimbursement, hold-harmless or other payment obligation provided for under any prepetition settlement, insurance policy,
         program agreement or contract.
42       The Debtors are unable to estimate with certainty the recovery amount for Indirect Abuse Claims under the Plan since they
         are unliquidated and contingent and subject to objection under section 502(e) of the Bankruptcy Code. However, to the extent
         the Indirect Abuse Claims become liquidated in the future, Indirect Abuse Claimants have the ability, pursuant to the Plan, to
         bring a claim for reconsideration under section 502(j) of the Bankruptcy Code and may be able to recover, on account of such
         claim, against the Settlement Trust Assets. Pursuant to the Trust Distribution Procedures, recoveries on account of Indirect
         Abuse Claims that are liquidated, non-contingent, and meet the criteria set forth in the Trust Distribution Procedures shall be
         subject to the same liquidation and payment procedures as the Settlement Trust would have afforded the holders of the
         underlying valid Direct Abuse Claims as liquidated under the Trust Distribution Procedures. The Bates White estimated range
         of $2.4 billion to $7.1 billion estimates the value of Abuse Claims, which would include Indirect Abuse Claims, to the extent
         viable.


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     Class Designation35 Treatment under the Plan         Impairment and Estimated Amount36
                                                           Entitlement to  and Approximate
                                                                Vote      Percentage Recovery
                           Abuse Claim against the
                           Limited Protected Parties
                           (and each of them)
                           permanently channeled to
                           the Settlement Trust, and
                           such Post-1975 Chartered
                           Organization Abuse Claim
                           shall thereafter be asserted
                           exclusively against the
                           Settlement Trust and
                           processed, liquidated, and
                           paid in accordance with the
                           terms, provisions, and
                           procedures of the
                           Settlement Trust
                           Documents.
     10     Interests in   Interests in Delaware BSA      Impaired          Estimated Amount:
            Delaware       shall be deemed cancelled                        N/A
            BSA            without further action by or   Not Entitled to
                           order of the Bankruptcy        Vote              Estimated Percentage
                           Court and shall be of no       (Deemed to        Recovery: 0%
                           further force or effect,       Reject)
                           whether surrendered for
                           cancellation or otherwise.


I.        The Settlement Trust

       On the Effective Date of the Plan, the Settlement Trust will be established for the benefit
of holders of Abuse Claims. From and after the Effective Date, all Abuse Claims shall be
channeled to the Settlement Trust, which will be funded by the Settlement Trust Assets. As further
described in Article VII of this Disclosure Statement, the Settlement Trust will administer the
Settlement Trust Assets and process, liquidate, and pay Abuse Claims in accordance with the
applicable Trust Distribution Procedures.

        The purpose of the Settlement Trust is to assume liability for all Abuse Claims, to
administer the Settlement Trust Assets, and to direct the processing, liquidation, and payment of
all compensable Abuse Claims. The Settlement Trust will resolve Abuse Claims through the Trust
Distribution Procedures, which are summarized in Article VII.B of this Disclosure Statement and
attached to the Plan as Exhibit A. The Trust Distribution Procedures are designed to permit the
Settlement Trustee to provide substantially similar treatment to holders of legally valid and
factually supported, similar Abuse Claims and will be the sole and exclusive method by which the
holder of an Abuse Claim may seek allowance and resolution of his or her Abuse Claim. The
Debtors will demonstrate at the Confirmation Hearing that the Settlement Trust will resolve

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Abuse Claims in accordance with the Settlement Trust Documents in such a way that holders
of Abuse Claims are treated fairly, equitably, and reasonably in light of the finite assets
available to satisfy such Claims, and otherwise comply in all respects with the requirements
of the Bankruptcy Code.

       The Trust Distribution Procedures are discussed further in Article VII.B herein.
Additionally, the Settlement Trust Agreement is attached to the Plan as Exhibit B.

J.     Further Information Regarding Non-Abuse Litigation Claims

        The Debtors’ insurance coverage for years 2013 and later may provide coverage for both
Abuse Claims and Non-Abuse Litigation Claims, but there is a negligible risk that the Debtors will
exhaust all of their insurance coverage for such years on account of Non-Abuse Litigation
Claims. The Debtors have identified approximately sixty-two (62) active out of seventy-two (72)
total Non-Abuse Litigation Claims, all of which appear to have arisen in 2013 or later (to the extent
the date of the alleged incident is known). The Debtors believe that at least eleven (11) of the
active Claims will be disallowed through the Claims reconciliation process. In addition, one (1)
claim has been withdrawn, six (6) have been satisfied, and three (3) have been previously
disallowed. The Debtors have approximately $200 million of available insurance coverage in each
year after 2013, in addition to primary insurance policies issued by Old Republic Insurance
Company that have $1 million in per-occurrence limits, but no applicable aggregate limit. It is
likely that a material number of the Non-Abuse Litigation Claims will not exceed the $1 million
per-occurrence limit of the primary policies issued by Old Republic Insurance Company or
Evanston Insurance Company. As such, the Debtors expect that there will be ample insurance
coverage for Non-Abuse Litigation Claims.

       The Debtors will use their best efforts to obtain Bankruptcy Court approval of as many
settlements of Non-Abuse Litigation Claims as possible prior to the Effective Date. While the
Settlement Trust has the power to settle or release the Specified Insurance Policies, prior to the
exercise of that right, any Non-Abuse Litigation Claim may recover for its claim from any
available Specified Insurance Policy.

        Moreover, prior to the Effective Date the Creditors’ Committee will retain consent rights
with respect to any proposed settlement between the Debtors and its primary insurers Old Republic
(Specified Insurance Policies from 2013-19) and Evanston/Markel (Specified Insurance Policies
from 2019-20), unless that settlement does not release the applicable insurer for liability arising
from Non-Abuse Litigation Claims. With respect to any proposed pre-Effective Date settlement
of a Specified Insurance Policy that is an excess policy (above the Old Republic umbrella layer for
the period 2013-19, or above the Evanston/Markel umbrella layer for the period 2019-20), the
Creditors’ Committee will have consultation rights.

        Post Effective Date, if and when the Settlement Trust settles any Specified Insurance
Policies, the Settlement Trust shall have consent over any post-emergence settlement of Non-
Abuse Litigation Claims, such consent not to be unreasonably withheld. Each holder of a Non-
Abuse Litigation Claim shall remain entitled to recover up to $1 million of its claim under primary
Specified Insurance Policies. Any amounts exceeding $1 million shall be recoverable in the first
instance from any available, unsettled umbrella or excess Specified Insurance Policies. Subject to


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a review of the details concerning the Non-Abuse Litigation Claims by the Settlement Trustee, to
the extent that the holder of a Non-Abuse Litigation Claim cannot recover the full amount of any
judgment or settlement of their claim consented to by the Settlement Trust (such consent not to be
unreasonably withheld) from any Specified Insurance Policy as a result of the Settlement Trust’s
release of the Specified Insurance Policy, any unpaid amounts (up to applicable policy limits) shall
be submitted to the Settlement Trust, which shall pay such amounts out of the proceeds of
Specified Insurance Policies. Release of the Non-Abuse Litigation Claim against the Debtors,
Local Councils, and any other insureds under applicable Specific Insurance Policies shall be a
condition of such payment of a Non-Abuse Litigation Claim by the Settlement Trust.

        The Settlement Trustee will have a duty to treat Direct Abuse Claims and Non-Abuse
Litigation Claims that implicate the Specified Insurance Policies fairly and equally. In negotiating
any settlements involving Specified Insurance Policies, the Settlement Trust will agree to bear in
mind the interests of both abuse and non-abuse claimants in structuring any settlement and use
best efforts to maximize recoveries for both constituencies.

         With respect to any Non-Abuse Litigation Claim that has been asserted against any Local
Council, notice of which is provided to the Debtors, the Coalition, the Tort Claimants’ Committee,
and the Future Claimants’ Representative prior to the Effective Date, the rights of the Local
Council to recover for such Non-Abuse Litigation Claim under the Specified Insurance Policies
shall be preserved; provided, however, that if the holder of a Non-Abuse Litigation Claim provides
a full and complete written release of any claims that such holder of a Non-Abuse Litigation Claim
may have against the Local Council related to the Non-Abuse Litigation Claim, then the Local
Council will be deemed to have waived any rights it may have against the Specified Insurance
Policy with respect to such Non-Abuse Litigation Claim.

K.     Description of Certain Insurance Provisions of the Plan

        Article X.M of the Plan sets forth certain provisions related to the treatment of Insurance
Policies under the Plan and specifically, in relation to the Settlement Trust. On May 19, 2021, the
Bankruptcy Court held a hearing to consider, among other things, the Exclusivity Motion (defined
below) and the related objections. During the arguments related thereto, there was robust
discussion related to the insurance neutrality provisions of the prior version of the Plan and the
reach of such insurance neutrality provisions in general. Although the Bankruptcy Court indicated
that it would require guidance from all parties at the appropriate time with respect to insurance
neutrality, the Bankruptcy Court provided preliminary direction with respect to what it believed
were the bounds of the Bankruptcy Court’s authority to modify the rights and obligations of
Insurance Companies under their Insurance Policies through a plan of reorganization or related
documents. In particular, the Bankruptcy Court observed that (i) it does not view an insurance
policy any differently than any other contract, in the sense that a plan of reorganization should not
modify the terms and provisions of the policy except as allowed under the Bankruptcy Code, and
(ii) to the extent a plan of reorganization is not insurance-neutral, insurers have the right to
participate and object to such plan and are then bound by the Bankruptcy Court’s rulings with
respect thereto.
      As a result of the robust discussion at the May 19, 2021 hearing and this guidance from the
Bankruptcy Court as well as the objections that were filed, the Debtors modified the insurance


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provisions of the Plan. As set forth therein, or as otherwise provided in the Bankruptcy Code,
applicable law, the findings made by the Bankruptcy Court in the Confirmation Order or the
findings made by the District Court in the Affirmation Order, it shall not “modify, amend, or
supplement, or be interpreted as modifying, amending, or supplementing, the terms of any
Insurance Policy or rights and obligations under an Insurance Policy to the extent such rights and
obligations are otherwise available under applicable law. . . .”
        A more fulsome description of the modified insurance provisions of the Plan can be found
in Article VII.A.30 of this Disclosure Statement.

L.     Modification and Amendments

       Mediation and settlement negotiations with various parties are on-going and will
continue after the date of this Disclosure Statement. Subject to the limitations contained in
the Plan, the Debtors reserve the right to modify the Plan as to material terms and seek
Confirmation consistent with the Bankruptcy Code and, as appropriate, not resolicit votes
on such modified Plan. Subject to certain restrictions and requirements set forth in section
1127 of the Bankruptcy Code and Bankruptcy Rule 3019 and those restrictions on
modifications set forth in the Plan, the Debtors expressly reserve their rights to alter, amend,
or modify materially the Plan with respect to the Debtors one or more times including after
Confirmation, and, to the extent necessary, may initiate proceedings in the Bankruptcy
Court to so alter, amend, or modify the Plan, or remedy any defect or omission, or reconcile
any inconsistencies in the Plan, the Disclosure Statement, or the Confirmation Order, in such
matters as may be necessary to carry out the purposes and intent of the Plan.

        For the avoidance of doubt, such modification(s) may include a settlement pursuant
to Bankruptcy Rule 9019 to resolve any unresolved controversies, including but not limited
to those described in this Disclosure Statement. Any such modification or supplement shall
be considered a modification of the Plan and shall be made in accordance with Article XII.B
of the Plan.

       If the Bankruptcy Court finds, after a hearing on notice to the parties in interest in
the Chapter 11 Cases, that the proposed modification does not materially and adversely
change the treatment of the Claim or Interest of any holder thereof who has not accepted in
writing the proposed modification, the Bankruptcy Court may deem the Plan to be accepted
by all holders of Claims or Interests who have previously accepted the Plan. Entry of a
Confirmation Order shall mean that all modifications or amendments to the Plan occurring
after the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy
Code and do not require additional disclosure or resolicitation under Bankruptcy Rule 3019.

       For the avoidance of doubt, any and all rights of holders of Claims against the Debtors
or Interests in the Debtors are expressly reserved under Bankruptcy Rule 3019 and any other
applicable provisions under the Bankruptcy Rules, Local Rules of the Bankruptcy Court, or
Bankruptcy Code.




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     ARTICLE III. ORGANIZATION OVERVIEW AND CORPORATE HISTORY

A.        Organization Overview

          1.        The Boy Scouts of America

        The BSA was incorporated in the District of Columbia on February 8, 1910, and
subsequently chartered by Congress as a non-profit corporation under Title 36 of the United States
Code on June 15, 1916. 36 U.S.C. §§ 30901-08. The Congressional Report in Support of the Act
to Incorporate the Boy Scouts of America provides that the Scouting program “is intended to
supplement and enlarge established modern educational facilities in activities in the great and
healthful out of doors where may be the better developed physical strength and endurance, self-
reliance, and the powers of initiative and resourcefulness, all for the purpose of establishing
through the boys of today the very highest type of American citizenship.” H.R. Rep. No. 64-130
at 245 (1916). Consistent with this charitable intention, the BSA’s congressional charter states
that the purpose of the organization is to “promote, through organization, and cooperation with
other agencies, the ability of boys to do things for themselves and others, to train them in
Scoutcraft, and to teach them patriotism, courage, self-reliance, and kindred virtues, using the
methods which are now in common use by Boy Scouts.” BSA Charter, § 3; see also BSA Bylaws,
§ 2 (“In achieving this purpose, emphasis shall be placed upon its educational program and the
oaths, promises, and codes of the Scouting program for character development, citizenship
training, leadership, and mental and physical fitness.”). These mandates have been the guiding
light for the BSA’s work for over a century.

        As a non-profit corporation, the BSA is required to adopt and carry out a charitable,
religious, educational, or other philanthropic mission. It is the BSA’s mission “to prepare young
people to make ethical and moral choices over their lifetimes by instilling in them the values of
the Scout Oath and Law.”43 Unlike a profit-seeking corporation, the BSA’s senior leadership owes
fiduciary duties to the Scouting mission, not the generation of profits. The successful delivery of
this mission to youth in America is the BSA’s fiduciary obligation. To that end, all Scouting
policies, practices, and programming are specifically designed to train Scouts in responsible
citizenship, character development, and self-reliance, in a manner consistent with the BSA’s
mission. Thus, to be eligible for Scouting, individuals must subscribe to, and conduct themselves
in accordance with, the Scout Oath and the Scout Law:

         Scout Oath. “On my honor I will do my best to do my duty to God and my country and
          to obey the Scout Law; to help other people at all times; to keep myself physically strong,
          mentally awake, and morally straight.”44

         Scout Law. “A Scout is trustworthy, loyal, helpful, friendly, courteous, kind, obedient,
          cheerful, thrifty, brave, clean, and reverent.”45



43    BSA, Mission & Vision, https://www.scouting.org/legal/mission/.
44    BSA, What are the Scout Oath and Law?, https://www.scouting.org/discover/faq/question10/.
45    BSA, About the BSA, https://www.scouting.org/about/.


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At all levels of Scouting, these fundamental tenets of the BSA’s mission are taught to Scouts so
they can successfully develop into our nation’s next generation of great leaders.
        In support of its mission, the BSA has long facilitated the spread of Scouting in the United
States through units chartered by local partners and has also designed and implemented an array
of its own outdoor activities, educational and skill-building programs, and career training. Since
its inception, more than 130 million Scouts have participated in the BSA’s programming, and more
than 35 million adult leaders have helped carry out the BSA’s mission. The BSA has grown to be
one of the largest youth organizations in the country, as well as one of the largest Scouting
organizations in the world. In 2019, nearly three million Scouts and adult leaders were involved
in Scouting and helped deliver more than 13 million Scouting service hours to communities across
the country.

        Throughout its 110-year history, the BSA has continually looked for ways to offer Scouting
to more young men and women. In 1912, the BSA formed the Camp Fire Girls as a sister
organization. In the 1930s, the BSA introduced Cub Scouts as a program for younger participants.
Other past and current BSA programs include Air Scouts, Sea Scouts, Exploring, Venturing, and
STEM Scouts. In 2018, the BSA welcomed girls into Cub Scouts, and in 2019, the BSA began
chartering girl units to join Scouts BSA, the program previously known as Boy Scouts. Since
2017, over 200,000 girls have participated in Scouting, including approximately 130,000 in Cub
Scouts, 30,000 in Scouts BSA, and 65,000 in Venturing, Sea Scouts, and Exploring. The BSA has
also organized affiliated organizations and affinity groups—such as Learning for Life, Order of
the Arrow, and National Eagle Scout Association—to provide additional educational, civic, and
developmental programs for Scouts, as well as engagement opportunities for Scouting alumni and
supporters.

        The BSA also provides other services critical to continued Scouting opportunities for
America’s young men and women, including core program content, such as events and other
activities at high adventure facilities; the procurement and sale of uniforms and equipment;
information technology and digital resources; training of professional Scouters to serve in Local
Councils; communications and publications including magazines and online content for Scouts
and adult leaders; training development and delivery; national events; registration systems; and
other quality control services. In addition, every four years, the BSA hosts a National Jamboree,
where tens of thousands of Scouts from around the country gather to celebrate Scouting, learn
about teamwork and leadership, and develop lifelong friendships.

        The Headquarters of the BSA is in Irving, Texas. The BSA has approximately 1,155
employees, all of whom are located in the United States and its territories. The BSA’s employees
are located at its Headquarters; at the BSA’s national Warehouse and Distribution Center in
Charlotte, North Carolina; at approximately 145 official BSA Scout Shops located throughout the
country; and at the BSA’s four high adventure facilities located in Florida and the U.S. Virgin
Islands, New Mexico, West Virginia, and Minnesota and parts of Canada. The BSA’s sources of
funding include membership fees, high adventure facility fees, supply sales at Scout Shops, on its
website, and directly to Local Councils, donor contributions, legacies, bequests, corporate
sponsorships, and grants from foundations. In 2020, the BSA’s total gross revenues were
approximately $187 million. Of this total, approximately 28% was attributable to supply sales,
approximately 47% to membership fees, approximately 8% to high adventure facility operations,


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approximately 2% to investments, approximately 4% to contributions, approximately 1% to event
fees, and approximately 10% to other.

        The BSA is governed by an executive board and an executive committee, which are
responsible for managing the organization’s affairs and electing officers. The executive board is
comprised of 72 total members and is led by the National Chair. The board is made up of 64
regular members and the executive committee, which is a twelve-member delegation of the
executive board that is also led by the National Chair. The executive committee includes, among
others, the National “Key 3,” who are responsible for guiding the BSA organization as a whole:
the National Chair (Daniel G. Ownby), National Commissioner (W. Scott Sorrells), and Chief
Executive Officer and President (Roger C. Mosby). The National Chair and National
Commissioner are volunteer positions. The executive committee has formed a bankruptcy task
force to direct the Debtors’ restructuring strategy in connection with these Chapter 11 Cases.

       2.      The Scouting Experience

        Delivery of the Scouting mission is the fiduciary obligation of the BSA. Local Councils
and Chartered Organizations, and the Scouting units that they sponsor, operationalize this mission.
Through these organizations, Scouts learn the values embodied in the Scout Oath and Scout Law.
From the beginner-level Cub Scouts to the most advanced offerings at high adventure facilities,
all Scouting programming is intended to instill in the next generation of leaders the fundamental
tenets of the BSA’s mission.

                       a.      Cub Scouts

        The gateway to the Scouting program is Cub Scouts, where younger participants
(kindergarten through fifth grade) first build character, learn citizenship, and develop personal
skills and physical fitness. The den—a small group of six to eight children who are the same grade
and gender—is the cornerstone of Cub Scouting. In the den, Cub Scouts make friends, develop
new skills and interests, and learn respectfulness, sportsmanship, and citizenship. Several dens in
the same community form a pack. At pack meetings, Cub Scouts engage in a wide range of fun
and interactive activities, including games, arts and crafts, skits, and songs. Packs also hold special
events and activities, such as advancement banquets, field trips, community service projects, and,
most famously, the Pinewood Derby. Cub Scouts attend camp outings and participate in other
local outdoor activities, such as hiking, biking, swimming, sledding, and a variety of team sports,
all of which help instill in them a life-long respect for the environment, a core principle of the
Scouting mission. Many of these outdoor adventures are held at Local Council-owned properties
specifically developed and maintained for the purpose of delivering the Scouting program. Cub
Scout programming is family-oriented, and adult volunteers, many of whom are parents of
participating Cub Scouts, play an active role in den and pack leadership.

                       b.      Scouts BSA

        After Cub Scouts, youth participants progress to Scouts BSA. The Scouts BSA program
focuses on service to others, community engagement, leadership development, respect for the
environment, and personal and professional growth. In Scouts BSA, adult volunteers take a back
seat, and Scouts themselves assume important leadership roles at their own meetings and activities.


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Scouts BSA units, known as “troops,” are single-gender and composed of several smaller groups
called “patrols.” At patrol and troop meetings, Scouts engage in knowledge- and skill-based
challenges, team building exercises, and community service projects, such as cleaning parks and
other public spaces, enhancing nature preserves, building trails in wildlands, constructing
playgrounds, creating libraries, collecting meals for food banks, visiting with the sick or elderly,
or responding to national emergencies.

         In Scouts BSA, every Scout is able to take on a leadership role in his or her patrol, which
provides one of the unique experiences in Scouting that inspires young people from all
backgrounds, experiences, and capabilities to see themselves as a leader and hone skills that will
last a lifetime. In addition, Scouts are encouraged to participate in a wider suite of outdoor
activities, including weekend camping trips, summer camps, and themed-camporees where they
are exposed to more advanced Scouting programming and skill-building in diverse areas, such as
first aid, rock climbing, forestry, conservation, and environmental awareness. At these events,
Scouts from different troops work together and form life-long bonds. Local Council camps and
other facilities are the hub for many of these outdoor adventures.

        Central tenets of Scouts BSA programming are rank advancement and merit badges.
Young men and women begin their journey in Scouts BSA at the rank of Scout. As they master
skills and learn important life lessons, they progress to the ranks of Tenderfoot, Second Class, First
Class, Star, and then Life. Along the way, Scouts earn merit badges that recognize hard work and
achievement in sports, arts, sciences, trades, personal finance, and future careers. At this time,
there are more than 135 merit badges, and any Scout, or any qualified Venturer or Sea Scout may
earn any of them at any time. In 2019, young men and women earned more than 1.7 million merit
badges that represent skills that will help them succeed throughout their lives.

       Scouts who successfully complete this rigorous program, serve as a leader in their troop
for a designated period of time, and design and lead a significant service project, are awarded
Scouts BSA’s highest rank of Eagle. Less than 8% of Scouts achieve the Eagle Scout rank, and
past Scouts achieving this honor permeate our nation’s government, economy, and culture,
including President Gerald Ford, astronaut Neil Armstrong, civil rights leader Percy Sutton, and
entrepreneurs Sam Walton and Ross Perot, to name a few.

                       c.      Advanced Scouting

        In addition to Scouting’s core Cub Scouts and Scouts BSA offerings, older Scouts
participate in other advanced programs. In Venturing, co-ed groups form their own Scout-led
“crews” that design and carry out specialized programming and activities. The opportunities
available through Venturing are endless: A Scout interested in the outdoors can join a Venturing
crew that backpacks in state or national parks and kayaks in local or remote rivers; a Scout
interested in the sciences can join one that builds robots or volunteers at planetariums and
museums; and a Scout interested in community service can join one that volunteers at soup
kitchens or rebuilds homes in the wake of natural disasters. Venturing crews instill in their
members the importance of adventure, leadership, personal growth, and service, all of which are
fundamental to the Scouting mission.




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        Other advanced programs for older Scouts include Sea Scouts, where Scouts learn boating
skills and water safety, and also study maritime heritage. Sea Scouts participate in boating and
other water-based excursions, such as scuba diving off the Florida Keys and kayaking in the
Everglades. Another program, Exploring, is the BSA’s preeminent workforce development
program. Through Exploring, Scouts join career-specific clubs sponsored by local businesses,
government agencies, and community organizations. Scouts develop important personal and
professional skills through immersive, on-the-job training. And STEM Scouts offers the Scouting
experience with less emphasis on the outdoors. Participating young men and women learn about
and nurture a lifelong interest in science, technology, engineering, and math through creative,
hands-on activities, educational field trips, and interaction with STEM professionals.

                             d.       High Adventure Facilities

         The apex of the Scouting program is found at the four iconic high adventure facilities
operated by the BSA. At these facilities, Scouts experience the truest embodiment of what
Congress envisioned when it chartered the organization more than a century ago—unparalleled
facilities hosting outdoor activities, educational programs, and leadership training. As Scouts
progress through Scouting, these high adventure facilities provide them with opportunities to
implement the knowledge and training that they gained through Cub Scouts and Scouts BSA at
locations and in programs that are not available anywhere else in the country. Not surprisingly,
there is strong demand for these high adventure facilities—more than 50,000 Scouts and Scouters
participate in the programs and events held there every year, and more than two million have done
so since their openings. Since 2010, scout high adventure base attendance has increased from
approximately 40,000 to approximately 50,000 per year despite declines in overall membership.
As their storied histories portend, these facilities and the programming they allow play a critical
role in the BSA’s delivery of the Scouting program to young Americans.

                             (i)      Northern Tier

       The BSA opened the Northern Tier high adventure facility (“Northern Tier”)—located on
the boundary waters between Minnesota and Canada—as its first high adventure facility in 1923.
For nearly a century, the BSA has maintained several wilderness canoe bases at Northern Tier
from which generations of Scouts have explored millions of acres of lakes, rivers, forests, and
wetlands of northern Minnesota, northwestern Ontario, and southeastern Manitoba. Scouts at
Northern Tier embark on canoe treks covering up to 150 miles and lasting as long as two weeks.
Along the way, Scouts camp at remote, unstaffed campgrounds, where they must learn and
implement Scouting’s philosophy of self-sufficiency. In the winter, Northern Tier transforms into
a cold-weather camping outpost, where Scouts can engage in winter activities such as cross-
country skiing, dog sledding, snow shoeing, and ice fishing. Over the years, the BSA has hosted
almost 250,000 Scouts and Scouters at Northern Tier.46

                             (ii)     Philmont Scout Ranch

      The BSA’s largest high adventure facility, Philmont Scout Ranch (“Philmont”), was
opened in 1938 on nearly 150,000 acres of rugged mountain wilderness in the Sangre de Cristo

46   See generally BSA, About Northern Tier, https://www.ntier.org/about/.


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range of the Rocky Mountains in northeastern New Mexico. At Philmont, Scouts have access to
a labyrinth of backpacking trails, as well as 35 staffed camps and 55 trail camps, spread across
mountainous terrain ranging in elevation from 6,500 to 12,500 feet. In addition, the BSA’s
programming at Philmont features the best of the Old West—horseback riding, burro packing,
gold panning, chuckwagon dinners, and interpretive history—along with physical challenges such
as rock climbing, mountain biking, and sport shooting. These experiences teach Scouts about our
nation’s frontier history and instill in them a lifelong sense of adventure and confidence in
challenging situations. In addition, Philmont hosts a series of leadership training programs for
adult leaders. Well over a million Scouts and Scouters have experienced the unique and diverse
offerings of Philmont.47

                            (iii)    Florida Sea Base

         Florida Sea Base (“Sea Base”) was commissioned by the BSA as its third high adventure
facility in 1980. At several facilities in south Florida and the U.S. Virgin Islands, Scouts swim,
snorkel, scuba dive, and fish. Scouts also participate in boating and sailing adventures throughout
the Caribbean, as well as primitive camping on several island-based settlements. Through Sea
Base’s programming, Scouts learn to trust one another and work as a team, and also learn the
importance of conservation and the preservation of our environment. Since opening its doors, the
BSA has provided aquatic adventures to nearly 300,000 Scouts and Scouters at Sea Base.48

                            (iv)     Summit Bechtel Reserve

         Most recently, in 2013, the BSA opened the Summit Bechtel Reserve (“Summit”) in the
wilds of West Virginia. It is the preeminent summer camp, high adventure facility, and leadership
training center for the millions of Scouts and adult leaders involved in Scouting now and for
generations to come. At the Summit, Scouts explore the New River Gorge region through white-
water rafting, kayaking, canyoneering, and advanced orienteering. Scouts also participate in more
modern adventures, such as skateboarding, ATV riding, freestyle BMXing, and zip-lining. This
programming pushes Scouts past their comfort zones, where they can better develop and master
the leadership, character, citizenship, and fitness that are core to the BSA’s mission. In addition
to its regular programming, the BSA hosts a National Jamboree at the Summit every four years.
In 2019, the BSA hosted the largest World Jamboree ever, with over 45,000 attendees Scouts in
attendance from 167 countries. It was the first such event held in the United States in over 50
years. All told, approximately 200,000 Scouts and Scouters have experienced the wonders of the
Summit since it opened less than a decade ago.49

         3.        Delivery of the Scouting Programs

       Local Councils and Chartered Organizations work closely together to carry out the mission
of Scouting. Each of these entities plays a vital role in training Scouts in responsible citizenship,
character development, and self-reliance. Despite their common purpose, the BSA, Local
Councils, and Chartered Organizations are legally independent entities. Each Local Council is a

47   See generally BSA, About Philmont, https://www.philmontscoutranch.org/about/.
48   See generally BSA, About Sea Base, https://www.bsaseabase.org/about/.
49   See generally BSA, The Summit Story, https://www.summitbsa.org/about-us/summit-story/.


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non-profit corporation under the laws of its respective state and exempt from federal income tax
under section 501(c)(3) of the Internal Revenue Code. Each Local Council also maintains its own
senior management and independent volunteer board of directors. The BSA does not hold any
equity interest in any Local Council, Chartered Organization, or Scouting unit, and only the BSA
and its wholly owned subsidiary, Delaware BSA, LLC, are Debtors in these Chapter 11 Cases.50

                    a.        Local Councils

         In furtherance of its mission, the BSA charters independently incorporated Local Councils
to facilitate the delivery of the Scouting program. Local Councils are not agents of the BSA, and
they have no authority to bind the organization.

         There are currently 251 Local Councils covering geographic areas of varying size,
population, and demographics. Although they are legally independent of the BSA, Local Councils
are required to organize, operate, and promote Scouting in a manner that is consistent with the
BSA’s mission and with the BSA’s Charter, bylaws, rules and regulations, policies, and guidelines.
Local Councils generally do not receive financial support from the BSA; instead, they rely upon
their own fundraising through donations, product sales, special events, and corporate gifts. The
BSA does, however, provide certain corporate and administrative support to the Local Councils in
exchange for shared services and other fees and reimbursements, as well as for the assistance of
Local Councils in delivering the Scouting mission. This support includes human resources, access
to training facilities, marketing services, and general liability Insurance Coverage.

        The BSA is responsible for developing and disseminating the structure and content of the
Scouting program, owns and licenses intellectual property, and provides training and support
services, including corporate services such as human resources, marketing and legal functions, and
information technology. The BSA, in addition to holding the power to grant charters to Local
Councils, may also revoke a Local Council’s charter for failing to meet national standards. Local
Councils, for their part, play a key role in delivering the Scouting program. Local Councils also
serve the vital function of collecting member fees and remitting such funds to the BSA. Each of
these Local Councils is crucial to the BSA’s ability to carry out its mission.

       The most important functions served by Local Councils are their recruiting of Chartered
Organizations and their oversight of the operation of the Scouting units that those Chartered
Organizations create. Local Councils also provide other services essential to Scouting, including:
funding of local Scouting programs and initiatives; recruiting of Scouts and volunteer leaders;
providing Scout and volunteer training; offering opportunities for rank advancement; locally
enforcing the BSA’s policies, rules, and regulations; and registering members and leaders. In
addition, many Local Councils own and operate service centers, camps, and other facilities that
provide the local resources necessary for a successful Scouting program.

       Local Councils own and operate hundreds of unique camps and other properties that host
outdoor activities, educational programs, and leadership training for youth involved in BSA’s
Scouting programs. Certain Local Councils also own office buildings used for their program staff

50   In addition to Local Councils and Chartered Organizations, the BSA is also affiliated with several non-stock Entities, each of
     which is related to, but legally independent of, the BSA. Several of these affiliated, non-stock Entities are directly involved
     in delivering the Scouting program, while others, such as the Foundation, serve the BSA’s mission in other ways.


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and approximately 145 Scout Shops, which the BSA leases from these Local Councils to sell retail
merchandise and other products. Certain Local Councils also own various other properties
including vacant land and/or properties that are not in use.

        A corps of qualified and trained professional and volunteer Scouters is essential for Local
Councils to provide these services. To that end, each of the Local Councils hires a professional
Scout executive and other key staff from a pool of professionals—pre-commissioned by the
BSA—who have demonstrated the moral, educational, and emotional qualities necessary for
leadership. Those commissioned professionals and other staff members support the Local
Councils in connection with day-to-day operations, recruitment of new Chartered Organizations,
management of fundraising, maintenance of program facilities, and numerous other services.
Thousands of volunteers also donate their time and resources to support the Local Councils,
including through assistance with programming, such as unit leadership, unit activities, merit
badge colleges, youth and adult leader training and advancement opportunities, and fundraising
events.

               b.     Chartered Organizations

        There are currently more than 41,000 Chartered Organizations in the United States. They
are typically local organizations—such as faith-based institutions, clubs, civic associations,
educational institutions, businesses, and groups of citizens—that sponsor the more than 50,000
local Scouting units throughout the country. Some Chartered Organizations are actively involved
with the units that they sponsor and encourage Scouting as a means to further in their own mission
or serve their broader communities. In addition, Chartered Organizations support the selection of
adult leaders and other volunteers, and provide meeting space to the packs and troops that they
sponsor along with storage space, use of equipment, and other monetary and in-kind support.

        Unfortunately, relationships with some of these Chartered Organizations have deteriorated
or been terminated. For example, as of December 31, 2019, TCJC concluded its 105-year
relationship as a Chartered Organization with all Scouting programs around the world, including
the BSA—which is estimated to have resulted in approximately 525,000 fewer participants in the
BSA’s Scouting programs.

B.     Corporate Structure

       1.      Delaware BSA, LLC

         Debtor Delaware BSA, LLC (“Delaware BSA”), of which the BSA is the sole member, is
a non-profit limited liability company that was incorporated under the laws of Delaware on July
11, 2019. Delaware BSA is exempt from federal income tax under section 501(c)(3) of the Internal
Revenue Code. Delaware BSA has pledged substantially all of its assets to secure the obligations
of the BSA and Arrow under the 2019 RCF Agreement, the Prepetition Security Agreement
(2020), the 2010 Bond Agreement, and the 2012 Bond Agreement. Delaware BSA’s principal
asset is a depository account located in Delaware.




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         2.       BSA Asset Management, LLC and BSA Commingled Endowment Fund, LP

        The BSA receives services from certain specialized non-Debtor Affiliates, which are
wholly-owned by, or subject to the control of, the BSA (each, a “Related Non-Debtor Entity”).
While the Local Councils facilitate the Debtors’ mission and are vital in reaching participants at a
local level, the Related Non-Debtor Entities provide specialized services under shared services
arrangements that are necessary to facilitate the BSA’s national reach, including, among other
things, investment and foundation management, management of national programs, lease
transactions, and conference and training support functions. BSA Asset Management, LLC
(“BSAAM”) is a Delaware limited liability company of which the BSA is the sole member. The
BSA receives investment management and advisory services from BSAAM, which oversees
management of the funds making up the various benefits programs and trusts of the BSA, along
with providing management and investment services for the BSA’s unrestricted endowment and
donations to the BSA. BSAAM manages the BSA’s and certain Local Councils’ investments
through the BSA Commingled Endowment Fund, LP (the “Endowment Fund”), which is a
Delaware limited partnership and investment vehicle open only to the BSA, the Local Councils,
and their affiliates for investing long-term funds. BSAAM is the general partner of the Endowment
Fund. The BSA and certain Local Councils are limited partners of the Endowment Fund. Each
limited partner receives units of partnership interest in proportion to, and in exchange for, its
financial contributions to the Endowment Fund. In addition to its role as general partner of the
Endowment Fund, BSAAM is the settlor of the BSA Endowment Master Trust.

         3.       BSA Endowment Master Trust

        Related Non-Debtor Entity, BSA Endowment Master Trust (the “Master Trust”), is a non-
profit 501(c)(3) Delaware trust established under the laws of Delaware exclusively for the purpose
of investing funds contributed to the Endowment Fund by the BSA and participating Local
Councils. The Master Trust is a multiple pooled account trust arrangement established to provide
economies of scale and efficiency of administration to eligible Entities that elect to invest their
funds in the Master Trust. Global Trust Co. is the trustee of the Master Trust as of the Petition
Date. In addition, the Master Trust is also a limited partner of the Endowment Fund.

         4.       National Boy Scouts of America Foundation

        The Foundation, a Related Non-Debtor Entity, is a non-stock, non-profit corporation
organized under the laws of the District of Columbia and exempt from federal income taxes under
section 501(c)(3) of the Internal Revenue Code. The Foundation was formed in 1997 and exists
to help secure the future of Scouting, and partners with the Local Councils and donors by providing
support for major-gift fundraising efforts across the BSA organization.51 The balance of major
gifts net of associated liabilities at the end of 2020 totaled approximately $66 million. The
Foundation also manages the distribution of donor-advised funds such as scholarships, funds for
rebuilding camps and high adventure facilities including after the occurrence of natural disasters,
and funding for major Scouting events such as the National Jamboree.



51   See BSA National Foundation, About Us, www.bsafoundation.org/about-us/.


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       5.      Learning for Life

       Related Non-Debtor Entity Learning for Life is a non-stock, non-profit corporation
organized under the laws of the District of Columbia that is exempt from federal income taxes
under section 501(c)(3) of the Internal Revenue Code. The mission of Learning for Life is to
empower students to build exceptional character and leadership skills by guiding them through an
innovative, research-based curriculum that enhances the learning experience and teaches the skills
necessary to succeed both academically and throughout their lives. Learning for Life also
administers the Exploring club career education program for young men and women. The
Exploring program teaches important life and career skills to young people from all backgrounds
through immersive career experiences and mentorship provided by thousands of local, regional
and national businesses and organizations, which offer career-specific posts or clubs that help
youth pursue their special interests, grow, and develop.

       6.      Arrow WV, Inc.

        Arrow WV, Inc. (“Arrow”) is a non-stock, non-profit corporation organized under the laws
of West Virginia that is exempt from federal income tax under section 501(c)(3) of the Internal
Revenue Code. Arrow was formed in 2009 to facilitate the acquisition and development of the
Summit. Arrow owns the real property and improvements that comprise the Summit and leases
the Summit to BSA for nominal consideration. Construction of the Summit was accomplished
with the proceeds from the 2010 Bond and the 2012 Bond to the BSA from Fayette County, West
Virginia. The bonds were purchased by JPM. The BSA provided funding for the construction of
the facility, utilizing donations and pledges to the BSA and other BSA financial support, and the
BSA provides the necessary services required to operate Summit.

       7.      Atikaki Youth Ventures Inc. and Atikokan Youth Ventures Inc.

        Related Non-Debtor Entities Atikaki Youth Ventures Inc. (“Atikaki”) and Atikokan Youth
Ventures Inc. (“Atikokan”) are non-share capital corporations formed under the laws of Canada,
with registered addresses in Winnipeg, Manitoba. Atikaki and Atikokan provide certain services
to the BSA related to the operation of Northern Tier. Atikaki maintains the Bissett, Manitoba base
for the Northern Tier high adventure facility, which offers canoe trips into the Atikaki Provincial
Park and Woodland Caribou Provincial Park. Atikokan maintains the Don Rogert Canoe Base for
the Northern Tier high adventure facility in Atikokan, Ontario, Canada, which offers canoe trips
into the Quetico and Crown Lands.

       8.      Dissolution of Inactive Entities

        As of the Petition Date, two of the Debtors’ subsidiaries—NewWorld19, LLC (“New
World”) and Texas BSA, LLC (“Texas BSA”)—had no operations or material assets and remained
inactive after the filing. Because the BSA no longer had a need to maintain NewWorld or Texas
BSA as subsidiaries, on July 16, 2020, the Debtors filed a motion to dissolve NewWorld and Texas
BSA [D.I. 1022]. On August 3, 2020, the Bankruptcy Court entered an order authorizing the
dissolution of these entities [D.I. 1063].




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C.     Revenue Sources and Assets

       1.      Revenues

        As a non-profit organization, the focus of the BSA’s operations is to carry out its charitable
mission. The BSA has historically funded the work to carry out the mission, in part, through the
generation of revenue from sources such as member fees and donations. Specifically, the BSA
relies on revenue generated from membership registration fees, high adventure facility fees, supply
sales at Scout shops, on its website, and directly to Local Councils, donor contributions, legacies
and bequests, corporate sponsorships, and grants from foundations.

       In 2019, the BSA’s total gross revenues were approximately $394 million. Of this total,
approximately 30% was attributable to supply sales, approximately 16% to membership fees,
approximately 15% to high adventure facility operations, approximately 13% to investments,
approximately 8% to contributions, approximately 8% to event fees, and approximately 10% to
other. The BSA’s estimated total 2020 gross revenues were approximately $187 million.

        Although registration and renewal numbers are not yet finalized, the Debtors believe that
Cub Scouts and Scouts BSA, in aggregate, have already met the combined retention levels as set
forth in the financial projections of approximately 650,000 and will likely exceed those levels after
unit rechartering is complete. Cub Scouts, including the Scoutreach program, and Scouts BSA
represent approximately 93% of youth members, and therefore are an effective indicator of overall
membership levels.

       2.      Assets

      The BSA intends to contribute the following non-cash, non-insurance assets as part of the
BSA Settlement Trust Contribution:

           The BSA’s collection of Artwork listed on Schedule 1 to the Plan, which has an
            approximate appraised value of $59.0 million, and the rights to any insurance or
            proceeds thereof with respect to missing, damaged, or destroyed Artwork, if any. The
            BSA owns over 300 pieces of artwork that has been acquired or contributed from
            various sources.

           The Warehouse and Distribution Center, which is a parcel of real property owned by
            the BSA in Charlotte, North Carolina that is used as the BSA’s main hub for receiving
            and shipping all supplies, merchandise, and apparel for Scout Shops, online customers,
            wholesale distributors, and to Local Councils. The Warehouse and Distribution Center
            has an approximate value of $11.6 million.

           Oil and Gas Interests representing mineral or royalty interests owned by the BSA of
            approximately 1,027 properties located in Alabama, Arkansas, California, Florida,
            Georgia, Illinois, Louisiana, Michigan, Mississippi, Nebraska, New Mexico, North
            Dakota, Oklahoma, Oregon, Texas, South Dakota and Wyoming. The Oil and Gas
            Interests have an approximate value of $7.6 million.



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           Scouting University, which is a nearly 10,000 square foot building located on
            approximately 1.72 acres of real property in Westlake, Texas with a value of
            approximately $1.8 million. Historically, Scouting University served as a
            multipurpose facility with traditional offices located adjacent to large training
            spaces. The Debtors ceased operations at the facility prior to the Petition Date. On
            June 16, 2021, the Debtors received approval from the Bankruptcy Court to authorize
            the sale of Scouting University to a third-party purchaser for net proceeds of
            approximately $1.9 million [D.I. 5326].

       3.      Identified Property

        The Debtors believe that certain property listed on the BSA’s balance sheet (the “Identified
Property”) is legally protected under applicable laws governing charities and other non-profit
organizations and, therefore, not available to satisfy certain creditors’ Claims. The Debtors have
provided a schedule of the property the Debtors intend to retain after the Effective Date that
specifically delineates such property as Identified Property or property of the Estate (the “Retained
Property List”). The Retained Property List is appended to the Financial Projections attached as
Exhibit E-1 hereto and the Financial Projections are further described in Article IX.E of this
Disclosure Statement. The Debtors assert that the Identified Property is not available to satisfy
certain Claims against the Debtors for one or more of the following reasons: (i) it is subject to
donors’ restrictions on use and purpose; (ii) it is core to the BSA’s charitable mission and Scouting
program; (iii) it is held in an implied charitable trust; (iv) it is part of a charitable trust that can
only be used in fulfillment and furtherance of the BSA’s charitable mission; (v) selling or
liquidating the Identified Property would violate the D.C. Nonprofit Corporation Act; (vi) selling
or liquidating the Identified Property contradicts the Bankruptcy Code’s treatment of charitable
organizations; or (vii) it is otherwise not property of the estate under applicable law.

        Specifically, it is the Debtors’ position that certain of the Identified Property was donated
with a restriction as to use or purpose rather than for general charitable purposes and is therefore,
pursuant to section 541 of the Bankruptcy Code, not property of a debtor’s estate. Moreover, to
the extent that a donor made a restricted donation, the Debtors are contractually obligated to
effectuate the donor’s intent, and selling or liquidating the Identified Property to satisfy Abuse
Claims would likely violate such intent. Even if certain Identified Property was found to be
unrestricted, both unrestricted and restricted donations made to a charity are impressed with a
charitable trust that cannot be diverted and used in contravention of the nonprofit’s charitable
mission. The same is true under the D.C. Nonprofit Corporation Act, which states that if any of
the Identified Property was donated for the nonprofit’s charitable mission, it cannot be diverted
away from its original purpose by sales, leases, repayment of debt, or other transfers of the
property.

        Additionally, it is the Debtors’ position that certain of the Identified Property is core and
indispensable to carrying out the BSA’s mission. The Identified Property not only enables the
BSA to administer programming that trains today’s youth in the values of the Scout Oath and Law,
but some of the Identified Property, such as the BSA’s high adventure facilities, animates the
purpose for which Congress originally chartered the organization. As such, it is the Debtors’
position that it cannot be available to satisfy Abuse Claims.



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        Most of the Identified Property also generates revenues necessary for the BSA to carry out
its mission and it is the Debtors’ position that such property is essential to the Debtors’ ability to
meet its business plan. It is likewise the Debtors’ position that the sale or liquidation of the
Identified Property runs contrary to the Bankruptcy Code’s treatment of non-profits and contrary
to case law holding that a charity may retain assets notwithstanding the lack of full payment of its
creditors since the absolute priority rule does not apply in a restructuring of a charitable
organization. Finally, JPM holds valid and properly perfected liens on certain of the Identified
Property, and JPM has not agreed to release its liens on its prepetition collateral. See ¶¶ D(viii)
and D(xvii) of the Cash Collateral Order.

          The Tort Claimants’ Committee has argued that the Identified Property may be used to
satisfy Abuse Claims against the Debtors and, as described in more detail in Article V.Q.2 below,
has filed an adversary complaint seeking a determination that the Identified Property is not subject
to legal restrictions and should be used to satisfy Abuse Claims (the “Restricted Assets
Adversary”). The Debtors dispute the Tort Claimants’ Committee’s causes of action relating to
the Identified Property.52 On July 16, 2021, the Court approved a stipulation with the Tort
Claimants’ Committee staying the Restricted Assets Adversary pending the outcome of the
confirmation hearing [TCC Case, D.I. 42]. The stay contemplated by such stipulation is still in
effect and shall only terminate (a) by mutual agreement or (b) upon the occurrence of any of the
following: (i) the Bankruptcy Court’s entry of an order denying the approval of the Restructuring
Support Agreement; (ii) the Tort Claimants’ Committee or Debtors’ exercise of its or their
respective rights to terminate the Restructuring Support Agreement based on the “fiduciary out”
provision of section IV.C or section V.C of the Restructuring Support Agreement, as applicable;
or (iii) the Bankruptcy Court’s entry of an order denying confirmation of the Plan.

D.        Prepetition Capital Structure

          1.        The Prepetition Debt and Security Documents

        The following is an overview of the BSA’s capital structure and approximate outstanding
obligations (collectively, the “Prepetition Obligations”) arising under the Prepetition Debt and
Security Documents as of the Petition Date, which include the following:




52   See Article V.Q.2 herein for further detail on the adversary proceeding relating to Identified Property.


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              Description                                 Amount53                Interest Rate              Maturity
 2019 RCF Agreement
                                                                                                             March 21,
       -    2019 Revolver                                                 $0          L + 125
                                                                                                              2021
     - 2019 Letters of Credit                                $61,542,720                 N/A                   N/A
 2010 Credit Agreement
     - 2010 Revolver                                         $25,212,317              L + 125             March 2, 2020
     - 2010 Term Loan                                        $11,250,000              L + 100             March 2, 2022
     - 2010 Letters of Credit                                $44,299,743               N/A                    N/A
 2012 Bond Agreement                                        $145,662,101              2.94%               March 9, 2022
                                                                                                          November 5,
 2010 Bond Agreement                                         $40,137,274               3.22%
                                                                                                              2020
 Total Secured Debt                                      $328,104,15554

        Under each of the above-referenced agreements, the BSA is the borrower and JPM is the
sole secured lender or holder, as the case may be. Collectively, the Debtors’ Prepetition
Obligations totaled approximately $328,104,155 as of the Petition Date. The Prepetition
Obligations are secured by the same collateral (collectively, the “Prepetition Collateral”), which
consists of (i) a first-priority lien and security interest in the accounts (including certain property
arising out of or otherwise relating to such accounts, but excluding certain amounts payable the
source of which is certain donor-restricted funds), deposit accounts, securities accounts and
investment property (each as defined in Article 9 of the Uniform Commercial Code), and proceeds
and products of any or all of the foregoing, of the Debtors and Arrow, (ii) a security interest and
mortgage in and to (a) the BSA’s Headquarters in Texas and (b) certain of the BSA’s high
adventure facilities, including Sea Base in Florida, Philmont in New Mexico, and Northern Tier in
Minnesota, and (iii) a collateral assignment of the Arrow Intercompany Note and Arrow Deed of
Trust (which grants a security interest and mortgage in and to the Summit in West Virginia).

        In accordance with the Cash Collateral Order, the Debtors have been authorized to pay
prepetition and postpetition interest with respect to the Prepetition Obligations.

                   a.        2010 Credit Agreement

       On August 11, 2010, the BSA entered into the 2010 Credit Agreement with JPM, pursuant
to which JPM made loans and other extensions of credit to the BSA. Arrow is a guarantor under
the facility. The 2010 Credit Agreement has been amended seven times, most recently in
conjunction with the entry into the 2019 RCF Agreement on March 21, 2019.

      The 2010 Credit Agreement has two components, a $75,000,000 revolving credit
component (the “2010 Revolver”) and a $25,000,000 term loan component (the “2010 Term

53   Includes estimated amounts as of February 18, 2020. Since the Petition Date, $20,000,000 was drawn on the 2019 Letters of
     Credit (defined below), resulting in corresponding increases and decreases in the 2019 Revolver (defined below) and the 2019
     Letters of Credit, respectively.
54   These amounts include contingent, undrawn letters of credit under the 2019 RCF Agreement and the 2010 Credit Agreement
     totaling $105,842,463.


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Loan”). The 2010 Credit Agreement also allowed the BSA to request the issuance of letters of
credit by JPM (the “2010 Letters of Credit”). The 2010 Revolver matured on March 2, 2020, while
the 2010 Term Loan is scheduled to mature on March 2, 2022.

         As of the Petition Date, pursuant to the 2010 Credit Agreement, the Debtors were truly,
justly, and lawfully indebted and liable to JPM for $25,212,317 in respect of the 2010 Revolver,
$11,250,000 in respect of the 2010 Term Loan, and $44,299,743 in respect of undrawn 2010
Letters of Credit.

                      b.      2010 Bond Agreement

        On November 5, 2010, the BSA and Arrow entered into the 2010 Bond Agreement,
pursuant to which the Bond Issuer issued the Series 2010A Bonds in an aggregate principal amount
of $50,000,000 and the Series 2010B Bonds in an aggregate principal amount of $50,000,000
(collectively, the “Series 2010 Bonds”), the proceeds of which were loaned to the BSA. The loans
from the Bond Issuer to the BSA were evidenced by that certain Promissory Note – 2010A and
that certain Promissory Note – 2010B, each executed by the BSA and payable to the order of the
Bond Issuer, each in the original principal amount of $50,000,000, and each pledged by the Bond
Issuer to JPM to secure the repayment of the Series 2010 Bonds. On November 5, 2015, the BSA
repaid the Series 2010A Bonds in full.

        As of the Petition Date, pursuant to the 2010 Bond Agreement, the Debtors were truly,
justly, and lawfully indebted and liable to JPM for $40,137,274 in respect of the remaining
outstanding Series 2010 Bonds.

                      c.      2012 Bond Agreement

        On March 9, 2012, the BSA and Arrow entered into the 2012 Bond Agreement, pursuant
to which the Bond Issuer issued the Series 2012 Bonds (the “Series 2012 Bonds”) in an aggregate
principal amount not to exceed $175,000,000, the proceeds of which were loaned to the BSA. The
loans from the Bond Issuer to the BSA were evidenced by that certain Promissory Note – 2012,
executed by the BSA and payable to the order of the Bond Issuer in the principal amount of
$175,000,000 and pledged by the Bond Issuer to JPM to secure the repayment of the Series 2012
Bonds.

        As of the Petition Date, pursuant to the Series 2012 Bonds, the Debtors were truly, justly,
and lawfully indebted and liable to JPM for $145,662,101 in respect of the remaining outstanding
Series 2012 Bonds.

                      d.      2019 RCF Agreement

        On March 21, 2019, the BSA entered into the 2019 RCF Agreement, with Arrow as a
guarantor, pursuant to which JPM agreed to make revolving loans and other extensions of credit
to the BSA. The 2019 RCF Agreement, which matures on March 21, 2021, is a secured facility
with a revolving component (the “2019 Revolver”) and a component under which the BSA can
request the issuance of letters of credit by JPM, together in a maximum amount not to exceed
$71,500,000 (the “2019 Letters of Credit”).


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        As of the Petition Date, pursuant to the 2019 RCF Agreement, the Debtors were truly,
justly, and lawfully indebted and liable to JPM for $0 in respect of the 2019 Revolver and
$61,542,720 in respect of undrawn 2019 Letters of Credit.

                      e.      Prepetition Security Agreement (2019)

         The BSA’s outstanding obligations under the 2010 Credit Agreement, the 2010 Bond
Agreement, the 2012 Bond Agreement and the 2019 RCF Agreement are secured pari passu by
the “Collateral”, as defined under the Prepetition Security Agreement (2019), pursuant to which
the BSA and Arrow granted collateral to JPM, which collateral as of such date included a first-
priority lien and security interest in their accounts (including certain property arising out of or
otherwise relating to such accounts, but excluding certain amounts payable the source of which is
certain donor-restricted funds), deposit accounts, securities accounts and investment property
(each as defined in Article 9 of the Uniform Commercial Code), and proceeds and products of any
or all of the foregoing.

                      f.      Mortgages, Assignments, and Deeds of Trust

        In addition to the Prepetition Security Agreement (2019), the BSA’s outstanding
obligations under the 2010 Credit Agreement, the 2010 Bond Agreement, the 2012 Bond
Agreement and the 2019 RCF Agreement are secured pari passu by the Florida Sea Base
Mortgage, the Florida Sea Base Assignment, the Headquarters Deed of Trust, the Headquarters
Assignment, the Northern Tier Mortgage, the Northern Tier Assignment, the Philmont Mortgage,
and the Philmont Assignment.

                      g.      Collateral Assignment of Arrow Intercompany Note and Arrow
                              Deed of Trust

       Also on March 21, 2019, the BSA executed the Arrow Collateral Assignment, pursuant to
which the BSA assigned to JPM, as collateral securing the BSA’s outstanding obligations under
the 2010 Credit Agreement, the 2010 Bond Agreement, the 2012 Bond Agreement and the 2019
RCF Agreement, its right, title and interest in and to the Arrow Intercompany Note and Arrow
Deed of Trust.

                      h.      Prepetition Security Agreement (2020)

        On February 3, 2020, in connection with a capital contribution by the BSA to Delaware
BSA, the BSA, Delaware BSA, and JPM entered into the Prepetition Security Agreement (2020),
pursuant to which Delaware BSA pledged its accounts (including certain property arising out of
or otherwise relating to such accounts, but excluding certain amounts payable the source of which
is certain donor-restricted funds), deposit accounts, securities accounts and investment property
(each as defined in Article 9 of the Uniform Commercial Code), and all proceeds and products of
any or all of the foregoing, as security for the Prepetition Obligations.

       2.      Trade Payables, Retirement Benefits, and Other Liabilities

       The BSA incurs debt with numerous vendors in connection with its ordinary course
organizational operations. In addition, the BSA is obligated to pay employment related benefits

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to current and former employees, including, but not limited to, retirement benefits in connection
with (a) the Restoration Plan, a non-qualified defined benefit retirement plan under section 457(f)
of the Internal Revenue Code, which provides supplemental retirement benefits to certain current
and former employees of the Debtors or Local Councils and (b) the Pension Plan, a single-
employer, qualified, defined benefit Pension Plan that is subject to the Employee Retirement
Income Security Act of 1974, as amended, and the Internal Revenue Code, of which BSA is the
sponsor.

         3.        Pension Plans

        The BSA offers the same comprehensive health and welfare and retirement benefits
available to eligible employees of the BSA to eligible full-time employees of the Local Councils
and their dependents, as well as their eligible survivors and retirees. As further described in the
Wages Motion, the BSA has historically offered two retirement plans to full-time and seasonal
employees: (1) a defined benefit pension plan, which is a qualified retirement plan subject to
sections 401(a)(17) and 415 of the Internal Revenue Code (the “Pension Plan”) and (2) a 403(b)
defined contribution retirement plan, which is available to employees of exempt organizations and
similar to a 401(k) retirement plan (the “Match Savings Plan”).
        Prior to the Petition Date, the Debtors also offered a non-qualified defined benefit
retirement plan under section 457(f) of the Internal Revenue Code, which provides supplemental
retirement benefits to certain current and former employees of the Debtors or Local Councils (the
“Restoration Plan”). Pursuant to the Plan, the Restoration Plan will be terminated and therefore,
there is no ongoing expense associated with the Restoration Plan.
        The Pension Plan was originally established by the BSA in 1938 and certain of the full-
time employees with at least one year of service and retirees participate in the Pension Plan.55 On
December 31, 2018, entry into the Pension Plan was frozen and no employees have been permitted
to become active participants under the Pension Plan after such date. On and after January 1, 2019,
the Pension Plan was amended to become a two-tiered plan. Pursuant to the amendment,
“grandfathered employees” with fifteen years of service and age plus service equal to sixty years
were permitted to continue to participate in the Pension Plan, while “non-grandfathered
employees” were automatically enrolled into the Match Savings Program. These “grandfathered”
employees participating in the Pension Plan are required to contribute 4.25% of their salary to the
Pension Plan, while the BSA makes discretionary contributions. The Pension Plan is managed by
the BSA and is administered by Morneau Shepell. All eligible employees may also enroll in the
Match Savings Plan, which enables the employees to make pre-tax deductions up to limits set by
the Internal Revenue Code. The Match Savings Plan is managed by Fidelity Workplace Services.
       The Debtors have a limited matching program under the Match Savings Plan (the
“Employer Matching Obligation”). For “grandfathered” employees receiving benefits under the
Pension Plan, the BSA matches 50% of employee contributions up to 6% of pay. As of the Petition
Date, with respect to “non-grandfathered” employees under the Match Savings Plan, the BSA
made an automatic contribution of 1.75% of an employee’s pay regardless of whether an employee
made an employee contribution, and matched 100% of employee contributions up to 6% of pay.


55   Employees hired on or before May 31, 2004 working 21 or more hours per week are also eligible.


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The Debtors paid approximately $6.5 million in 2019 on account of the Employer Matching
Obligation.
        In August 2020, the Debtors implemented a series of changes to the two retirement
programs to bolster the strength of the Pension Plan. The Pension Plan was amended to freeze
accruals for “grandfathered” participants. The 4.25% required employee contribution ceased as a
result of this change. Simultaneously, the Match Savings Plan was amended to decrease the
Employer Matching Obligation for “non-grandfathered” participants; with respect to “non-
grandfathered” employees under the Match Savings Plan, the BSA no longer automatically
contributes 1.75% of an employee’s contributions, but rather matches 50% of employee
contributions up to 6% of pay, replacing the 100% match of up to 6% of pay previously in place.

E.     Local Councils and Chartered Organizations

        As discussed above, several organizations work together to deliver the Scouting program,
including Local Councils that are independently incorporated and chartered by the BSA and
Chartered Organizations which partner with the Local Councils to form the packs, troops, and
other units at which the program is delivered. Historically, Claims against the BSA, Local
Councils, and Chartered Organizations, including approximately 275 civil actions asserting
personal injury Claims against the BSA and certain Local Councils and Chartered Organizations
as of the Petition Date (collectively, the “Pending Abuse Actions”), generally were litigated and
administered solely by the BSA. The unique relationship between the BSA and these Entities, as
discussed above, had led the BSA to take a leading role in administering such litigation. In
practice, the BSA coordinated with Local Councils and Chartered Organizations to efficiently
respond to and manage such cases, while minimizing the risk of inconsistent treatment of actions
and survivors of Abuse.

        Although applicable Local Councils are named defendants in the Pending Abuse Actions
as well, the consistent resolution of the Pending Abuse Actions required the BSA to pay careful
attention to a wide variety of litigation matters, including, for example, responses to broad
discovery requests, the overwhelming majority of which were directed at the BSA as opposed to
Local Council or Chartered Organization defendants. Through this approach, the BSA had, among
other things, facilitated the retention of joint defense counsel, responded to the vast majority of
discovery requests, coordinated with insurance carriers, and authorized and funded the payment of
any settlement amounts related to the Pending Abuse Actions or similar, previously resolved,
Claims. Given the complexity of the issues involving the Pending Abuse Actions, and the BSA’s
central role in litigating them, prior to filing these Chapter 11 Cases, the organization had retained
national coordinating counsel to oversee the handling of Claims against it and the Local Councils
and Chartered Organizations.

F.     Insurance Coverage for Abuse Claims

        The BSA has historically procured commercial, general-liability insurance (“CGL”)
policies from multiple insurers to protect itself from a myriad of risks, including Claims of Abuse
or sexual misconduct. These Insurance Policies date back to the 1930s and over time came to
include both primary and excess Insurance Coverage that provides substantial limits of liability in
many years, including certain primary policies that are not subject to aggregate limits. While the


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amount of coverage remains substantial in many years, the insolvency of certain Insurance
Companies and the resolution of Abuse and other Claims have either eroded, or exhausted the
liability limits for certain Insurance Policies. In some instances, the availability of certain
Insurance Policies remains contingent upon the resolution of active pending litigation between the
BSA and some of the Insurance Companies. Nonetheless, with respect to most (if not all) policy
years, at least some level of Insurance Coverage under the CGL policies is available for bodily
injury Claims, including Claims arising out of Abuse.

        At this time, the BSA is not able to calculate the total amount of Insurance Coverage that
is available to fund Abuse Claims because of the structure of the BSA’s insurance program. As
discussed in more detail below, many of the BSA’s Insurance Policies are per-occurrence policies,
meaning that those Insurance Policies will pay up to their limits of liability for each Abuse Claim
(assuming that the Abuse Claim is valued at such an amount). Thus, the BSA needs several data
points in order to analyze the total Insurance Coverage available for Abuse Claims, including the
value of each individual Abuse Claim, the Insurance Policies that will respond to each Abuse
Claim, whether those Policies are not insolvent, exhausted or settled, and how the Abuse Claims
will be distributed among the BSA’s various Insurance Policies. As such, the Debtors cannot
calculate the total amount of insurance coverage under these Insurance Policies absent liquidation
of the Abuse Claims and allocation of those claims to the Insurance Policies.

        The Debtors’ insurance coverage for years 2013 and later may be applicable to Abuse
Claims and Non-Abuse Litigation Claims, but there is a negligible risk that the Debtors will
exhaust all of their insurance coverage for such years on account of Non-Abuse Litigation
Claims. The Debtors have identified approximately sixty-two (62) active out of seventy-two (72)
total Non-Abuse Litigation Claims, all of which appear to have arisen in 2013 or later (to the extent
the date of the alleged incident is known). The Debtors believe that at least eleven (11) of the
active Claims will be disallowed through the Claims reconciliation process. In addition, one (1)
claim has been withdrawn, six (6) have been satisfied, and three (3) have been disallowed as the
date hereof. The Debtors have approximately $200 million of available insurance coverage in
each such year. Moreover, it is possible that a material number of these claims will not exceed the
$1 million per-occurrence limit of the primary policies issued by Old Republic (as defined below)
for the years 2013-19 or Evanston Insurance Company for 2019-20. The Old Republic primary
policies have no aggregate limit; accordingly, it is the Debtors’ position that they cannot be
exhausted. As such, the Debtors do not believe that they will use all of the post-2013 insurance
coverage for Non-Abuse Litigation Claims.

        Moreover, while the BSA has substantial Insurance Coverage, especially post-1986, some
of the excess policies are implicated only where hundreds of millions of dollars of liability is
incurred in a single policy year, such that, many of the excess policies may not contribute to Abuse
Claims. Additionally, many of these high limits of coverage are in the late 1990s and 2000s, years
in which there are significantly fewer Abuse Claims. Lastly, the Insurance Policies may be further
limited given deductibles, exhaustion, insolvency and settled coverage. As such, the BSA is not
able to provide a specific amount of coverage available under its Insurance Policies; however, the
BSA has provided a detailed description of the Insurance Policies and the coverage afforded.

      To the extent that non-Debtor third parties have rights under the Insurance Policies, those
non-Debtors can assert their rights against the Settlement Trust as Indirect Abuse Claims.


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         1.        Overview of the BSA’s Insurance Program

       The type of coverage provided for by the BSA’s insurance program has varied over the last
six decades.56 Between at least 1935 and 1982, the BSA acquired Insurance Policies where each
Claim of bodily injury allowed the BSA to access the per-person or per-occurrence limit of liability
under the applicable Insurance Policies.57 These are more commonly referred to as “per-
occurrence” policies. The per-occurrence policies generally only had aggregate limits that
pertained to products-completed operations claims. The Insurance Policies between 1962 and
1982 had a per-occurrence limit of $500,000. Beginning in 1969, the BSA also began to procure
excess Insurance Policies that provided $2 million per-occurrence in coverage on top of the
$500,000 per-occurrence primary policies.

         Although the BSA does not have copies of the Insurance Policies between 1935 and 1962,
the BSA has strong secondary evidence that Insurance Policies were issued. The BSA believes
that, if forced to do so, the BSA could prove the existence of these Insurance Policies and the
insurers’ obligations. However, the insurers, mainly Century (as defined below)—the issuer of
these Insurance Policies, have disputed the existence of these Insurance Policies. Starting in 1962,
there is no dispute regarding the existence of coverage with the BSA’s insurers.

       Insurance Company of North America, now known as Century Indemnity Company
(“Century”),58 issued primary and umbrella policies to the BSA from approximately 1935 to 1971.
The Hartford Accident and Indemnity Company issued primary and some umbrella policies to the
BSA from 1971 to 1978. The Debtors believe that the Hartford Policies issued to BSA in 1976
and 1977 have some ambiguity as to whether Chartered Organizations are additional insureds. A
complete list of Chartered Organizations is available at https://omniagentsolutions.com/bsa-
SAballots and https://omniagentsolutions.com/bsa-ballots. Beginning in 1978, Century issued
primary policies to the BSA until 1983.

        The Insurance Policies between 1962 and 1982 had a per-occurrence limit of $500,000.
Beginning in 1969, the BSA also began to procure excess Insurance Policies that provided $2
million in per-occurrence coverage on top of the $500,000 per-occurrence primary policies.
Beginning in 1972, the BSA began to procure additional excess insurance policies from various
insurers, including Argonaut, AIG, Hartford Accident and Indemnity Company, and others.
Because Century and Hartford Accident and Indemnity Company provided the BSA with primary
coverage with Insurance Policies containing no aggregate limits for several decades, Century and
Hartford Accident and Indemnity Company have substantial insurance coverage exposure relating
to the Abuse Claims, and, as discussed above, Century has substantially more exposure for Abuse
Claims given the periods it issued Insurance Coverage to the BSA.



56   Policy by policy information and total coverage per year is too voluminous to include herein. Moreover, given that many of
     the policy years are per-occurrence, there is no way to provide the “total amount of coverage purchased” in those years.
57   For purposes of simplicity, this analysis is limited to the BSA’s primary Insurance Policies.
58   Century is acting in these Chapter 11 Cases as successor to CCI Insurance Company, Insurance Company of North America.
     Indemnity Insurance Company of North America, Ace Insurance Group Westchester Fire Insurance Company, Westchester
     Fire Insurance Company, and Westchester Surplus Lines Insurance Company. All of these Entities are generally referred to
     as “Century” herein.


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        Beginning in 1983, the BSA shifted its insurance program to Insurance Policies that
contained overall aggregate limits of liability. Unlike the per-occurrence policies, each payment
towards the settlement of a Claim erodes the Insurance Policy’s aggregate limit until it is exhausted
and no longer responds to Claims. The BSA purchased these types of Insurance Policies from
1983 to the end of 1985. As a counterbalance to the imposition of aggregate limits, the BSA’s
towers of insurance in 1983 through 1985 included significantly higher limits of liability and
excess layers of coverage. For example, in 1983, the BSA procured excess Insurance Policies with
$50 million in aggregate limits. The excess and umbrella policies were issued by various insurers.
However, even given the high aggregate limits, a majority of the Insurance Policies during this
time period have been exhausted by pre-Petition settlements and defense costs.

        The BSA again altered its insurance program beginning in 1986, and continuing through
2018, procuring a primary Insurance Policy and a first-layer excess Insurance Policy where the
deductible matches the Insurance Policy’s limit of liability. More specifically, between 1986 and
2002, the BSA has primary Insurance Policies with $1 million in limits of liability per year and
umbrella Insurance Policies with $1 million in limits of liability per year. Between 2002 and 2008,
the BSA has primary Insurance Policies with $1 million in limits of liability per year, but with
increased umbrella obligations. And between 2008 and 2018, the BSA maintained primary
Insurance Policies with $1 million in limits of liability per year, and umbrella Insurance Policies
with $9 million in limits of liability per year. Because of the high deductibles in the 1990 to 2018
Insurance Policies, the BSA has not accessed many of the excess Insurance Policies in those years.
There are, however, a few excess Insurance Policies that have been eroded or exhausted by pre-
Petition settlements and defense costs. Nevertheless, the BSA still has substantial excess Insurance
Coverage during this time period.

        The Debtors contend59 that their primary insurance policies at least between 1986 and 2008
have a $1 million per-occurrence deductible. The BSA’s obligation to pay the deductibles for the
Insurance Policies between 1986 and 2008 versus the Insurance Company’s obligation to pay such
deductibles is subject to the terms of such Insurance Policies. However, it is the BSA’s and other
parties’ position that when the BSA cannot or does not pay the deductible, the primary Insurance
Policies issued between 1986 and 2008 require the Insurance Company to pay. Certain insurers
believe that this is a different position than reflected by how the BSA and certain of its primary
insurers operated and performed for many years.

        A dispute exists as to whether the obligation on the primary insurer to pay the deductible
on behalf of the BSA is subject to an aggregate limit of liability. The primary insurers have
asserted that a $1 million aggregate applies to this obligation. Other insurers have asserted that
the primary insurers’ obligation to pay the deductible is not subject to any aggregate, and that the
aggregate limit of liability only applies to those damages in excess of the deductible. Several other
insurers have not taken this position. In the event that the aggregate limit of liability does apply
to the payment of the deductibles under the primary Insurance Policies, a related dispute exists as
to whether the BSA and other insured parties can directly access the excess insurance policies



59   The Coalition and the Future Claimants’ Representative do not necessarily agree with all of the Debtors’ coverage positions
     with respect to the Insurance Policies.


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issued between 1986 and 2008 or whether the BSA or other insured parties must continue to pay
that deductible on an ongoing basis for each claim.60

        For BSA’s insurance coverage towers in the years 1988 to 2008, the BSA’s first layer
excess policies include a “Retention Endorsement – Aggregate Exhaustion” endorsement, which
states that “in the event of the exhaustion of the aggregate underlying limit of liability [of the
underlying primary policy] the Insured will retain the amount indicated below [$1,000,000 Each
Occurrence] of any claim or loss on the same basis that coverage would have been provided under
[the underlying primary policy] but for the exhaustion of any applicable aggregate.” There is a
dispute among the BSA and certain carriers about whether the aggregate limits under certain
primary policies apply to Abuse claims. If the aggregate limits do apply (such that a deductible
no longer applies), there is a dispute among the BSA and certain carriers about how the amount in
the Retention Endorsement is to be satisfied for each coverage tower. Such retention could limit
the amount recoverable from excess carriers.

        In 2019, the BSA again changed its insurance program to avoid the deductibles noted
above, which it has kept current and expects to continue in 2021. Throughout the years of Scouting
operations, the BSA has eroded certain of the Insurance Policies referenced above. The BSA has
also entered into settlement agreements pertaining to certain policies that may limit the extent of
coverage available.

         2.        The BSA’s Insurance Coverage for the Local Councils

       As noted, the BSA operates Scouting through the Local Councils and the Chartered
Organizations. Prior to 1971, each Local Council was required to procure Insurance Policies that
would provide coverage, for among other things, the types of Abuse Claims alleged herein.

         Over the course of the Chapter 11 Cases, the Debtors and the Local Councils have gone
through extensive insurance archeology efforts and discovery to obtain evidence of policies issued
to the Local Councils prior to 1978. To date, the BSA and Local Councils have been able to locate
either copies of a number of the Insurance Policies it believes were issued to Local Councils or
secondary evidence of their existence; however, some of the secondary evidence does not provide
specific terms of the Insurance Policies, such as limits or the policy period. Discovery is ongoing
in that regard.

        From these insurance archeology efforts, the BSA and Local Councils have also learned
that several Insurance Companies issued specific Insurance Policies to the Local Councils. For
example, from 1965 to 1971, Century created an insurance program for the Local Councils.
Likewise, from 1975 to 1976, the Debtors believe that the New Hampshire Insurance Company
(“New Hampshire”) also created an insurance program through a broker, R.F. Lyons, that issued
a significant number of New Hampshire Insurance Policies to Local Councils. The Debtors believe
that New Hampshire also issued a substantial amount of Insurance Policies to Local Council as


60   Between 2008 and 2018, there is no dispute that the primary Insurance Policies between 2008 and 2018 are not subject to an
     aggregate limit of liability.




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early as the 1940s. Other insurers such as Travelers Insurance Company, Continental Insurance
Company, and Hartford also issued policies to Local Councils.

        Of the Insurance Policies that were issued specifically to Local Councils, the terms and
limits vary from Insurance Policy to Insurance Policy. For example, some Local Council
Insurance Policies only provide for $25,000 in coverage on a per-occurrence basis for Abuse
Claims while other Local Council Insurance Policies may provide up to $1 million in coverage
per-occurrence for Abuse Claims. Thus, the amount of coverage available based on the insurance
policies issued to Local Councils is uncertain.

         Starting in 1971, the BSA began adding certain Local Councils as additional insureds under
its CGL policies. Then, in 1978, the BSA formalized this practice through the implementation of
a General Liability Insurance Program (“GLIP”), whereby the BSA agreed to procure general
liability insurance for all Local Councils by including them in the definition of “Named Insured”
in all of the BSA CGL Insurance Policies. Similarly, starting in 1978, the BSA began to provide
Insurance Coverage under its CGL policies to certain Chartered Organizations.

       Schedule 3 to the Plan sets forth the various Insurance Policies that the BSA alleges afford
the Local Councils Insurance Coverage on account of Abuse Claims. Columbia Casualty
Company; The Continental Insurance Company as successor in interest to certain policies issued
by Harbor Insurance Company; The Continental Insurance Company successor by merger to
Niagara Fire Insurance Company; and The Continental Insurance Company (collectively,
“Continental Insurance Company”) disagree with Schedule 3’s allegation that certain policies
issued by Continental Insurance Company or related entities afford the Local Councils any
Insurance Coverage with respect to Abuse Claims, and Continental Insurance Company intends to
vigorously defend this position.

        National Union Fire Insurance Company of Pittsburgh, Pa. (“National Union”), Lexington
Insurance Company, Landmark Insurance Company, The Insurance Company of the State of
Pennsylvania and their affiliated entities (collectively with New Hampshire referred to herein, the
“AIG Companies”) also disagree with certain information contained in Schedule 3 to the Plan and
the Debtors’ representations that certain policies allegedly issued by an AIG Company or related
entity afford the Local Councils any Insurance Coverage with respect to Abuse Claims.
Specifically, while Schedule 3 to the Plan identifies approximately 300 Local Council Insurance
Policies that were allegedly issued by New Hampshire and 800 Local Council Insurance Policies
that were allegedly issued by National Union, the AIG Companies have not been able to locate
full and complete copies of the vast majority of these alleged policies (the “Alleged Lost AIG
Policies”). The AIG Companies dispute whether there is conclusive evidence of the existence,
terms, and coverage of the Alleged Lost AIG Policies. The AIG Companies dispute the existence
of the Alleged Lost AIG Policies and dispute that they are bound by the terms of any Alleged Lost
AIG Policy. The AIG Companies intend to vigorously defend this position, and the outcome of
this coverage dispute—including any finding that the Alleged Lost AIG Policies cannot be
enforced, in whole or in part—may potentially reduce coverage available under the Insurance
Policies below what is currently contemplated.

       Jefferson Insurance Company of New York (“Jefferson”) also disputes the references to
insurance policies it allegedly issued to certain Local Councils as stated on Schedule 3 to the


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Plan. To date, Jefferson has not located any of those alleged insurance policies. Jefferson reserves
its right to dispute issuance of each alleged insurance policy attributed to it on Schedule 3 to the
Plan, as well as each of those policies’ respective limits, periods, terms, conditions and
exclusions. In addition, if any of the scheduled Jefferson policies are later proven, Jefferson
reserves its right to dispute whether coverage exists for Abuse Claims under each such policy.

       3.      Chartered Organizations’ Rights Under the BSA Insurance Policies

       It is the BSA’s position that, starting in or around 1978, the BSA specifically included
Chartered Organizations as insureds on its Insurance Policies. While not specifically naming
Chartered Organizations, the 1976 and 1977 primary policies include “sponsors” as insureds under
the Insurance Policies. Additionally, Chartered Organizations may be insureds under the Local
Council Insurance Policies.

        It is the BSA’s position that the BSA’s Insurance Policies prior to 1976 do not name either
Chartered Organizations or “sponsors” as insureds under the Insurance Policies. For example, the
pre-1976 insurance policies generally include an endorsement that names the person insured under
the Insurance Policies as “any employee, executive officer, trustee, volunteer leader, boy scout
leader or committee member of the National Council of the Boy Scouts of America…” It is the
BSA’s position that the endorsement was added to provide coverage to employees, volunteers, and
leaders of the BSA, not Chartered Organizations. As such, the BSA believes that Chartered
Organizations do not qualify as either an employee, executive officer, trustee, or volunteer leader
under the pre-1976 Insurance Policies. Some Chartered Organizations, however, have argued that
they believe Chartered Organizations are insureds as “volunteers” under the pre-1976 Insurance
Policies. The BSA disputes this contention.

       To the extent that the Chartered Organizations have rights to the BSA’s post-1976
Insurance Policies, those rights are subject to the terms of the Insurance Policies that may have
deductible obligations (as noted above), aggregate limits, exhausted limits, settlements,
exclusions, etc.

       For example, it is the position of certain insurers that the BSA’s 1978 Insurance Policy
includes a deductible endorsement that requires a $250,000 deductible be met for each occurrence;
therefore, it is the position of certain insurers that Chartered Organizations access to the 1978 to
1980 Insurance Policies is limited by the required deductible obligation. The Chartered
Organizations’ access to the BSA’s 1980 to 1982 Insurance Policies may likewise be limited given
that many of these policies are either insolvent, exhausted or released through settlement. Further,
the BSA’s 1983 to 1985 Insurance Policies are also subject to aggregate limits, many of which
have been substantially eroded based on pre-petition settlements and payments.

       Additionally, in 1984, the Insurance Policies included an endorsement that expressly
provided that the Insurance Policies would be primary insurance for Chartered Organizations.
However, prior to 1984, there was no such endorsement or language in the BSA policies.
Therefore, the Debtors believe that for all pre-1984 claims, Chartered Organizations would not
have primary access to the BSA’s Insurance Policies. Certain of the Chartered Organizations
disagree with this position. It is the Debtors’ position that Chartered Organizations would similarly
be responsible for the high deductibles on all post-1986 Insurance Policies. Certain of the


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Chartered Organizations disagree with this position and believe that they would not be responsible
for the payment of deductibles as a condition of obtaining Insurance Coverage.

       4.      The First Encounter Agreement and Subsequent Endorsement in the BSA
               Policies

        As noted above, Century provided the BSA with primary Insurance Coverage for several
decades. In 1996, the BSA and Century engaged in an effort to minimize disputes regarding
Insurance Coverage, specifically in regard to Abuse Claims. As a result of those discussions, on
or about May 24, 1996, the BSA and certain Century Entities executed the “Settlement Agreement
Regarding Sexual Molestation Claims.” This settlement is often referred to as the “First Encounter
Agreement” (“FEA”). For the avoidance of doubt, the FEA only applies to Abuse Claims based
on the definitions set forth therein, and neither the BSA nor Century has contended otherwise.

        Pursuant to the FEA, the BSA and Century agreed that “the date of ‘occurrence’ pertaining
to any Sexual Molestation Claim shall be the date when the first act of Sexual Molestation took
place, even if additional acts of Sexual Molestation or additional Personal Injuries arising
therefrom also occurred in subsequent policy periods; and all damages arising out of such
additional acts of Sexual Molestation or additional Personal Injuries shall be deemed to have
incurred during the policy year when the first act of Sexual Molestation took place.” The BSA
and Century were the only parties to the FEA, and accordingly, certain of the Chartered
Organizations have argued that the agreement as the date of “occurrence” between the BSA and
Century in the FEA does not apply to insurance rights of Chartered Organizations. However,
several of the BSA’s other Insurance Companies ascribe to this agreement and provide coverage
according to the first alleged year the Abuse occurred.

        Beginning around 2008, the BSA’s primary and excess Insurance Policies include the
“Date of Exposure for Molestation Claims” endorsement. Similar to the FEA, the endorsement
provides that any alleged sexual molestation occurrence involving the same claimant would be
allocated to the policy year in which the first alleged act of Abuse occurred.

       5.      Prepetition Insurance Coverage Actions

         Prior to the Petition Date, the BSA’s Insurance Companies generally defended and
indemnified the BSA against Abuse Claims. In certain years in which the BSA’s Insurance
Policies were exhausted, insolvent or settled, the BSA would fund the settlement of Abuse Claims.
While the Insurance Companies reserved the right to do so with respect to many Abuse Claims, in
the last four years the BSA’s Insurance Companies have only denied coverage in connection with
a very limited number of underlying lawsuits.

         The denials related to these lawsuits prompted the following Insurance Coverage Actions:
(a) Boy Scouts of America, et al. v. Insurance Company of North America et al., Case No. DC-18-
11896, pending in the 192nd Judicial District Court of Dallas County, Texas; (b) Boy Scouts of
America, et al. v. Hartford Accident and Indemnity Co., et al., Case No. DC-18-07313, pending in
the 95th Judicial District Court of Dallas County, Texas; (c) National Surety Corp. v. Boy Scouts
of America, et al., Case No. 2017-CH-14975, pending in the Circuit Court of Cook County,
Illinois, Chancery Division. Hartford Accident and Indemnity Company also initiated an


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adversary proceeding in these Chapter 11 Cases styled Hartford Accident and Indemnity Co. and
First State Ins. Co. v. Boy Scouts of America, et al., Adv. Pro. No. 20-50601 (LSS). The majority
of the Insurance Coverage Actions are currently stayed by operation of the automatic stay;
however, the parties to the Hartford Accident and Indemnity Company actions have agreed to stay
the entirety of the adversary proceeding and the corollary state court action.

        The Insurance Coverage Actions involved several of the BSA’s Insurance Companies,
including Century, Hartford Accident and Indemnity Company, National Surety Corporation
(“National Surety”) and Allianz Insurance (“Allianz”). The Insurance Companies in the Insurance
Coverage Actions asserted that the BSA and Local Councils were not entitled to coverage for
specific sexual abuse claims based on various coverage defenses, including, but not limited to, the
number of “occurrences” that were triggered by the Abuse Claims, the expected and intended
language in the Insurance Policies precluded Insurance Coverage, and that the BSA had failed to
cooperate with its Insurance Companies. The Debtors believe that such defenses or limitations to
the scope of Insurance Coverage are without merit.

       National Surety and Allianz believe that their coverage defenses have merit and that
coverage for sexual abuse claims against BSA will be barred by various terms, conditions,
exclusions and attachment points found in the policies and at law. In addition, National Surety
and Allianz have contested the jurisdiction of the Texas court in the Coverage Action filed by the
BSA described in (a), above. Pre-petition, the Fifth District Dallas Court of Appeals granted
National Surety and Allianz’s emergency motion for a stay of trial court proceedings and ordered
merits briefing on National Surety and Allianz’s Petition for Writ of Mandamus. In re National
Surety Corp. et al., No. 05-19-01119-CV (Tex. App. – Dallas 2019). The Petition for Writ of
Mandamus was fully briefed but not decided prior to the BSA’s bankruptcy filing.

        In the spirit of reaching consensus with the Insurance Companies, the BSA is currently
participating in mediation with its Insurance Companies to resolve certain disputes regarding the
Debtors’ rights to Insurance Coverage under the Insurance Policies.61

        Under the Plan, the Insurance Coverage Actions (along with Insurance Actions) will be
contributed to the Settlement Trust. It is difficult to quantify the value of the Insurance Coverage
Actions and Insurance Actions as the resolution of these Actions is dependent on the interpretation
of certain terms, provisions, and exclusions in the Insurance Policies. However, if the BSA and
the Settlement Trust are successful in defeating the coverage defenses that have been, or may be
asserted in the Insurance Coverage Actions and Insurance Actions (which the BSA believes is
probable), the proceeds of these Actions could represent a substantial contribution to the
Settlement Trust.

          6.        Post-Petition Defenses Asserted by Insurance Companies

      The BSA tendered the Abuse Claims that were the subject of the Proofs of Claim to the
BSA’s Insurance Companies under the Insurance Policies. The BSA’s Insurance Companies have

61   Pursuant to the Bankruptcy Court’s Order (I) Appointing Mediators, (II) Referring Certain Matters to Mediation, and
     (III) Granting Related Relief [D.I. 812] entered on June 9, 2020 (the “Mediation Order”), the mediations are currently before
     the Bankruptcy Court-appointed Mediators, the Honorable Kevin Carey (Ret.), Paul Finn, and Timothy Gallagher for the
     purpose of mediating the comprehensive resolution of issues and Claims in the Chapter 11 Cases through a chapter 11 plan.


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challenged various aspects of the Plan and Trust Distribution Procedures and reserved rights to
deny or limit coverage relating to the Abuse Claims under the Insurance Policies on various
grounds, including but not limited to:

              The BSA may have failed to cooperate in the defense and investigation of the Abuse
               Claims;

              The BSA may not settle the Abuse Claims in violation of the Voluntary Payment
               provision under the Insurance Policies;

              The Plan seeks to bind the Insurance Companies to certain findings, including that
               the Trust Distribution Procedures are “fair and reasonable”;

              That the BSA has not exhausted underlying coverage and/or applicable self-insured
               retentions;

              Certain insurance policies have been exhausted or impaired;

              Any payment obligations under the Insurance Policies are limited to the amount
               that the Settlement Trust can afford to pay, and not to the amount allowed under
               the Trust Distribution Procedures;

              Many of the Abuse Claims are not compensable under the Insurance Policies
               because of statute of limitations issues and/or because they were untimely filed;

              The BSA, Local Councils, and Chartered Organizations expected and intended the
               injuries subject to the Abuse Claims;

              The anti-assignment provisions in the Insurance Policies preclude the BSA, Local
               Councils and Chartered Organizations from assigning Debtor and non-Debtor
               insurance rights to the Trust;

              Certain of the proposed terms of the Plan and Trust Distribution Procedures violate
               the terms and conditions of the Insurance Policies, including selection of the
               proposed Settlement Trustee; the Settlement Trustee has alleged insufficient
               discretion to authorize the Settlement Trust to reduce or deny certain Abuse Claims;
               and vesting sole authority in the Settlement Trustee to evaluate and settle Abuse
               Claims without the discovery procedures or insurer participation to which the
               insurers assert they are entitled; and

              The Expedited Distribution is impermissible.

The BSA strongly contests the characterization and the merits of these coverage defenses. Further,
the Debtors believe there is no merit to any contention by the BSA’s Insurance Companies that the
BSA cannot assign rights to the Insurance Policies to the Settlement Trust. As noted above, the
BSA is actively working with the Insurance Companies to resolve these disputes.



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       7.      Insurer Letters of Credit

         In connection with its insurance program, BSA posted certain letters of credit issued by
JPM to secure obligations arising under certain of BSA’s Insurance Policies (such letters of credit,
the “Insurer LCs”). Except as may be provided for in an Insurance Settlement Agreement, neither
any provision of the Plan nor the occurrence of the Effective Date shall alter, amend, or otherwise
impair the rights and obligations of the Debtors, Reorganized BSA, JPM, or any applicable
Insurance Company holding one or more letters of credit issued by JPM to secure obligations
arising under one or more BSA Insurance Policies. Without limiting the foregoing, nothing in the
Plan or the Confirmation Order shall preclude any such Insurance Company from exercising any
applicable rights on any such letter of credit issued, or other security provided, for the benefit of
the Insurance Company in accordance with the terms and conditions of the documents governing
such letter of credit or other security, or applying amounts therefrom to any Claim secured by such
letter of credit or other security, and the Debtors, Reorganized BSA, JPM reserve any and all rights
with respect to such Insurance Company’s exercise of any applicable rights.

       8.      Direct Actions Against BSA Insurance Companies

        Some Abuse Claimants have objected to the Plan on the basis that, in certain jurisdictions,
claimants have direct action rights against the BSA Insurance Companies, and the BSA cannot sell
or dispose of direct actions claimants’ rights to pursue the BSA Insurance Policies. The Debtors
believe that the Bankruptcy Court can approve an injunction barring derivative claims against third
party insurers.

        ARTICLE IV. EVENTS LEADING TO THE CHAPTER 11 CASES

         The safety of children in its programs is the most important priority of the BSA. The BSA
today enforces a robust set of multilayered policies and procedures to protect the young men and
women involved in Scouting. These measures are informed by respected experts in the fields of
child safety, law enforcement, and child psychology. The BSA is committed to the protection of
its Scouts, and that commitment is integral to the BSA’s identity and mission as it seeks to continue
instilling values of leadership, service, and patriotism in millions of children who participate in
Scouting programs across the country.

A.     The BSA’s Prepetition Global Resolution Efforts and Prepetition Claims Against the
       BSA

        As widely reported, as of the Petition Date, the BSA was a defendant in numerous lawsuits
related to historical Abuse in its programs. Indeed, many Abuse survivors had taken legal action
against the BSA and Local Councils in the civil tort system. As explained further below, recent
changes in state statutes of limitations led to a sharp increase in the number of Claims asserted
against the BSA and placed tremendous financial pressure on the organization. In addition to
Pending Abuse Actions in state and federal courts across the United States, attorneys for Abuse
survivors had provided information regarding approximately 1,400 additional Claims not yet filed,
for a total of approximately 1,700 known asserted Abuse Claims.

       In light of the increasing number of Claims asserted against the BSA, the BSA made the
decision that it could not continue to address Abuse litigation in the tort system on a case-by-case

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basis. The BSA spent more than $150 million on settlements and legal and related professional
costs from 2017 to 2019 alone. In addition to the unsustainable financial cost of continuing to
engage in piecemeal litigation across the country, continuing this process would have resulted in
the risk of inconsistent judicial outcomes and inequitable treatment of survivors. For these reasons,
beginning in late 2018, the BSA, with assistance of legal and financial advisors, began to explore
strategic options for achieving an equitable global resolution of Abuse Claims.

        In connection with these strategic efforts, the BSA recognized that it would ultimately need
to structure a settlement around a plan of reorganization that provides for a channeling injunction
with respect to both current and potential Future Abuse Claims.62 Accordingly, the BSA
determined, in consultation with its advisors, that it was necessary and appropriate to engage an
independent third-party Representative for holders of Future Abuse Claims. After considering
possible candidates for the role, the BSA selected James L. Patton, Jr. in early 2019 to serve as
future claimants’ representative (the “Future Claimants’ Representative”).63 Future Abuse Claims
include any Direct Abuse Claim against any Protected Party that is attributable to, arises from, is
based upon, relates to, or results from, in whole or in part, directly, indirectly, or derivatively,
alleged Abuse that occurred prior to the Petition Date but which, as of the date immediately
preceding the Petition Date, was held by a Person who, as of such date, (a) had not attained
eighteen (18) years of age, or (b) was not aware of such Direct Abuse Claim as a result of
“repressed memory,” to the extent the concept of repressed memory is recognized by the highest
appellate court of the state or territory where the claim arose; provided, however, that with respect
to any Contributing Chartered Organization, the term “Future Abuse Claim” shall be limited to
any Direct Abuse Claim that satisfies either (a) or (b) and is attributable to, arises from, is based
upon, relates to, or results from, Abuse that occurred prior to the Petition Date in connection with
the Contributing Chartered Organization’s sponsorship of one or more Scouting units. For the
avoidance of doubt, Direct Abuse Claims include Future Abuse Claims and their treatment under
the Plan is the same.

        In addition, the BSA engaged in discussions with several groups, including an ad hoc group
of attorneys representing numerous holders of Abuse Claims advised by James Stang of Pachulski
Stang Ziehl & Jones LLP, and certain of its insurers.

         One of the strategic options that the BSA explored throughout 2019 included efforts to
reach a settlement with a substantial number of Abuse survivors that could be implemented
through a prearranged chapter 11 proceeding. Those efforts involved several meetings with
attorneys representing many Abuse survivors, including a two-day mediation in early November
2019. The mediation was attended by a Future Claims Representative and some of the BSA’s
Insurance Companies. Unfortunately, the mediation was unsuccessful. It became apparent that
attorneys for Abuse survivors believed that certain Local Councils with significant Abuse
liabilities had significant assets that could be used to compensate survivors. Further, it became

62   Unlike a future Claim in other mass tort contexts, there is no latency period for Abuse. In the Abuse context, a future Claim
     is properly understood as a Claim related to Abuse that has already occurred but which is held by an individual who (a) has
     not attained 18 years of age, or (b) was not aware of such Abuse Claim as a result of “repressed memory,” such that he or she
     is not aware that he or she holds an Abuse Claim, to the extent the concept of repressed memory is recognized by the highest
     appellate court of the State or territory where the Claim arose.
63   As noted in Article V.F herein, the Bankruptcy Court appointed Mr. Patton as the Future Claimants’ Representative on April,
     24, 2020, nunc pro tunc to the Petition Date.


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clear that attorneys for Abuse survivors would only accept information about the nature and extent
of the BSA’s available assets if provided through a court-supervised process. Accordingly, the
BSA recognized in late 2019 that there were no meaningful prospects for a prearranged global
resolution. Under those conditions, the Debtors commenced these Chapter 11 Cases to achieve
dual objectives: (a) timely and equitably compensate survivors of Abuse in Scouting and (b)
ensuring that the BSA emerges from bankruptcy with the ability to continue its vital charitable
mission.

B.       The Impact of Statutes-of-Limitation Changes on Claims against the BSA and Non-
         Debtor Stakeholders

        The number of Abuse Claims against the BSA has increased dramatically over the past
twenty years due to changes to state statutes of limitations governing Causes of Action alleging
child Abuse. Since 2002, twenty-one (21) states have enacted legislation allowing individuals to
bring Claims that would otherwise have been barred by the applicable limitations period. Most of
these jurisdictions (including California, Delaware, Georgia, Hawaii, Minnesota, New Jersey, and
North Carolina) have implemented revival windows that temporarily eliminate the civil statutes of
limitations for survivors of Abuse whose Claims have already expired. These revival windows
have allowed older survivors of child Abuse to bring lawsuits decades after the Abuse occurred,
including against private organizations, such as the BSA and Local Councils. Other jurisdictions
(including Vermont) have fully eliminated limitations periods going forward and revived expired
Abuse Claims. Additionally, more states are considering opening statute of limitation windows,
extending statutes of limitations, or even removing statutes of limitations for survivors of child
sexual Abuse.

        The trend of retroactive revisions to limitations periods for Abuse Claims accelerated in
2019, when more than a dozen states (including Arizona, California, District of Columbia,
Montana, New Jersey, New York, and North Carolina) revised their limitations periods to allow
survivors of Abuse to bring Claims that would otherwise have been time-barred. Shortly before
the Petition Date, a group of plaintiffs filed suit in the U.S. District Court for the District of
Columbia alleging that the District’s recent revival-window legislation permits plaintiffs to bring
previously time-barred Claims, regardless of where the Abuse occurred or where the plaintiff
resides.64 In addition, prior to the Petition Date, plaintiffs began pursuing a theory that the recently
opened New Jersey statute of limitations allowed the filing of any Claim that arose prior to 1979,
regardless of where the Abuse occurred, since the BSA was headquartered in New Jersey prior to
that date, before its Headquarters moved to Irving, Texas.

         These changes in statutes of limitations have dramatically altered the legal landscape for
Abuse Claims. Specifically, the number of suits alleging Claims from earlier years that would
otherwise have been barred by the applicable limitations period has surged, which is reflected in
the filing of tens of thousands of Abuse Claims in these Chapter 11 Cases. These suits have forced
the BSA to look backward—past the decades of progress and leadership in youth protection—to
the mid- to late-twentieth century, when the vast majority of the Abuse in Scouting occurred.
Claims alleging Abuse within the last thirty years make up a small fraction of total known Abuse


64   See Does 1-8 v. Boy Scouts of America, Case No. 20–00017 (D.D.C.).


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Claims.65 The vast majority of the Claims the BSA is now facing alleged Abuse from the 1960s
to the 1980s. Fairly compensating survivors that were abused during this period placed
tremendous financial pressure on the BSA and its local partners.

                            ARTICLE V. THE CHAPTER 11 CASES

A.       Commencement of the Cases and First Day Relief

        On the Petition Date, the Debtors commenced the Chapter 11 Cases by filing voluntary
petitions for relief under chapter 11 of the Bankruptcy Code. As of the date hereof, the Debtors
have continued, and will continue until the Effective Date, to operate their organization as Debtors-
in-possession pursuant to sections 1107 and 1108 of the Bankruptcy Code.

         Also on the Petition Date, the Debtors filed a number of motions seeking typical “first day”
relief in chapter 11 cases authorizing the Debtors to maintain their operations in the ordinary course
(collectively, the “First Day Motions”). This relief was designed to ensure a seamless transition
into the chapter 11 process and allow the Debtors to maintain their operations in the ordinary
course so as to function smoothly while their cases progressed. The Bankruptcy Court granted
substantially all of the relief requested in the First Day Motions and entered various interim and
final orders authorizing the Debtors to, among other things:

        Continue paying employee wages and benefits [D.I. 295];66

        Continue the use of the Debtors’ cash management system, bank accounts, and business
         forms [D.I. 381];

        Continue the use of certain cash collateral and the granting of adequate protection with
         respect to the use of such cash collateral [D.I. 433];

        Continue customer, scout and donor programs, and honor related prepetition obligations
         [D.I. 279];

        Pay certain prepetition taxes and assessments [D.I. 366];

        Pay certain prepetition obligations for essential vendors, foreign vendors, shippers,
         warehousemen, and other Lien claimants [D.I. 275];

        Pay certain prepetition obligations under shared services arrangements with the Local
         Councils and Related Non-Debtor Entities and authorize the Debtors to continue
         performing or paying under shared services arrangements with the Local Councils and
         Related Non-Debtor Entities [D.I. 369]; and

65   Of the approximately 95,200 pending or asserted Abuse Claims against the BSA, approximately 65,000 claims have
     ascertainable dates. Of the approximately 65,000 dated Claims, approximately 80% involve Claims alleging Abuse that
     occurred before 1988.
66   The Bankruptcy Court’s order granted the Debtors’ motion for authorization to pay prepetition wages, salaries, employee
     benefits, and other compensation and maintain employee benefits programs and pay related administrative obligations (the
     “Wages Motion”).


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        Establish procedures for utility providers to request adequate assurance of payment and to
         prohibit utility companies from altering or discontinuing service [D.I. 273].

B.       Procedural Motions

       The Debtors filed various motions on the Petition Date regarding procedural issues
common to chapter 11 cases of similar size and complexity. The Bankruptcy Court granted
substantially all of the relief requested in such motions and entered various orders authorizing the
Debtors to, among other things:

        Establish procedures for interim compensation and reimbursement of expenses of chapter
         11 professionals [D.I. 341], as amended by the Order Amending the Order (I) Approving
         Procedures for (A) Interim Compensation and Reimbursement of Expenses of Retained
         Professionals and (B) Expense Reimbursement for Official Committee Members and (II)
         Granting Related Relief entered by the Bankruptcy Court on August 6, 2021 [D.I. 5899];
         and

        Retain and compensate certain professionals utilized by the Debtors in the ordinary course
         of their non-profit operations [D.I. 354].

C.       Critical Vendors and Shared Services

        As described above, the Debtors filed various First Day Motions, two of which were
motions to pay prepetition Claims of critical vendors [D.I. 7] (the “Critical Vendor Motion”) and
prepetition obligations under shared services arrangements [D.I. 15] (the “Shared Services
Motion”). Pursuant to the Critical Vendor Motion, the Debtors obtained authorization to pay, in
the ordinary course of the Debtors’ non-profit operations, prepetition Claims of essential vendors,
foreign vendors, 503(b)(9) vendors, and other Lien claimants. Pursuant to the Shared Services
Motion, the Debtors obtained authorization to pay prepetition obligations under shared
organizational services agreements related to the Local Councils and Related Non-Debtor Entities
and to continue performing under such arrangements. As explained in detail in the Shared Services
Motion, the BSA provides benefits programs, liability insurance, and administrative services to
Local Councils, such as accounting, human resources, information technology, member
recruitment, fundraising, marketing, leadership training, and other related support (the “Shared
Services Arrangements”). Without these Shared Services Arrangements, the Debtors would be
incapable of providing Scouting programs nationwide and Local Councils would be unable to
operate their organization.

D.       Retention of Chapter 11 Professionals

        On March 17, 2020, the Debtors filed applications to retain (i) Sidley Austin LLP (“Sidley
Austin”), as the Debtors’ bankruptcy counsel; (ii) Morris, Nichols, Arsht & Tunnell LLP, as the
Debtors’ bankruptcy co-counsel; (iii) Alvarez & Marsal North America, LLC, as financial advisor;
(iv) Bates White, LLC, as Abuse Claims consultant (“Bates White”); (v) KCIC, LLC, as insurance
and valuation consultant; (vi) Omni Agent Solutions, as administrative agent; (vii) Haynes and
Boone, LLP, as special insurance counsel; and (viii) Ogletree, Deakins, Nash, Smoak & Stewart,
P.C., as special litigation counsel [D.I. 204, 205, 206, 207, 208, 209, 210, and 220]. In April 2020,


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the Bankruptcy Court entered orders authorizing the retention of all the Debtors’ listed Estate
Professionals, except for Sidley Austin [D.I. 339, 340, 353, 355, 364, 372, and 463]. On May 29,
2020, the Bankruptcy Court issued a bench ruling overruling the objection to the Debtors’
application to retain Sidley Austin as bankruptcy counsel filed by Century [D.I. 755]. On June 2,
2020, the Bankruptcy Court entered an order granting Sidley Austin’s retention [D.I. 758].67

        Thereafter, the Debtors filed additional applications to retain (i) PricewaterhouseCoopers
LLP, as independent auditor and tax compliance services provider to the Debtors; (ii) Appraisers
of the Keys, Inc.; JFW Ranch Consulting, LLC; Hotel & Leisure Advisors; F.I. Salter, Inc.; Dawn
M. Powell Appraisals Inc.; and BW Ferguson & Associates Ltd., as appraisers with respect to the
Debtors’ four high adventure facilities, discussed in greater detail herein; (iii) Quinn Emanuel
Urquhart & Sullivan, LLP as special litigation counsel; and (iv) JLL Valuation & Advisory
Services, LLC (“JLL”) as appraiser with respect to certain Local Council real properties [D.I. 796,
868, 1125, and 1762]. The Bankruptcy Court entered orders approving the Debtors’ retention
applications on June 24, 2020, July 8, 2020, September 18, 2020, and December 14, 2020,
respectively [D.I. 889, 984, 1343, and 1841].

         On October 22, 2020, the Debtors filed an application requesting authorization to retain
White & Case LLP (“White & Case”) as bankruptcy counsel because core members of their
restructuring team had transitioned their practices to White & Case from Sidley Austin [D.I. 1571].
The Debtors’ restructuring team who transitioned have led the Debtors’ restructuring efforts for
the past two years and are familiar with the numerous stakeholders that are actively participating
in these Chapter 11 Cases. The Bankruptcy Court entered an order authorizing the retention of
White & Case on November 8, 2020 [D.I. 1698], over the objection of Century [D.I. 1637].68

E.        Appointment of Fee Examiner

      Given the size and complexity of the Chapter 11 Cases, on September 18, 2020, the
Bankruptcy Court entered an order appointing Justin H. Rucki of Rucki Fee Review, LLC as Fee
Examiner [D.I. 1342].




67   On June 11, 2020, Century filed a Notice of Appeal [D.I. 837] of the Bankruptcy Court’s order authorizing the Debtors’
     retention of Sidley Austin. On May 7, 2021, the U.S. District Court for the District of Delaware issued a final order affirming
     the Bankruptcy Court’s decision to authorize the retention of Sidley Austin [D.I. 3292] (Civil Action No. 20-cv-798, BAP No.
     20-14). On May 26, 2021 Century filed a notice of appeal to the U.S. Court of Appeals for the Third Circuit of the District
     Court’s order affirming the Bankruptcy Court’s approval of Sidley Austin’s retention [D.I. 36] (Appellate Case No. 21-2035).
     The appeal is pending.
68   On December 2, 2020, Century filed a Notice of Appeal [D.I. 1771] of the Bankruptcy Court’s order authorizing the Debtors’
     retention of White & Case. The appeal was before the U.S. District Court for the District of Delaware (Civil Action No. 20-
     cv-1643, BAP No. 20-58) (the “W&C Retention Appeal”). On February 26, 2021, Century filed its Stipulation of Dismissal
     of Bankruptcy Appeal stipulating to the dismissal of the W&C Retention Appeal.


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F.       Appointment of Statutory Committees, Ad Hoc Committee, and Future Claimants’
         Representative

         1.       Ad Hoc Committee of Local Councils

        Prior to the Petition Date, the BSA assisted in the formation of the Ad Hoc Committee
comprised of eight Local Councils69 of various sizes from regions across the country. The primary
purpose of the Ad Hoc Committee is to allow Local Councils to participate in negotiations
regarding a global resolution of Abuse Claims and other issues important to them, including the
treatment of their shared insurance with the BSA. The Ad Hoc Committee has also been
instrumental in coordinating the BSA’s ongoing efforts to collect and organize Local Council asset
information. The individual members of the Ad Hoc Committee are all volunteers. The volunteer
chair is Richard G. Mason of the Wachtell, Lipton, Rosen & Katz law firm. Mr. Mason is the
volunteer president of the Greater New York Council.

         2.       Unsecured Creditors Committee

        On March 5, 2020, the United States Trustee appointed the Committee of Unsecured Trade
Creditors (the “Creditors’ Committee”), which consists of five members [D.I. 141]. The Creditors’
Committee represents the interests of all non-Abuse-related unsecured creditors, including former
employees, litigation claimants, and other non-Abuse unsecured creditors. The members of the
Creditors’ Committee are (1) Pension Benefit Guaranty Corporation, represented by Tom Taylor;
(2) Girl Scouts of the United States of America, represented by Jennifer Rochon; (3) Roger A.
Ohmstede; (4) Pearson Education, Inc., represented by Karen Abraham; and (5) Lion Brothers
Inc., represented by Susan Ganz.

         3.       Tort Claimants’ Committee

       On March 5, 2020, the United States Trustee also appointed the Tort Claimants’ Committee
(together with the Creditors’ Committee, the “Committees”), which consists of nine individual
members who hold Abuse Claims against the Debtors [D.I. 142].

       To date, the Debtors have cooperated with the Committees, creditors, and other
stakeholders on complex diligence and informal discovery issues, including participation in meet-
and-confer calls, question-and-answer sessions, and the review and production of a significant
volume of responsive documents and other information.

         4.       Future Claimants’ Representative

        On March 18, 2020, the Debtors filed the Debtors’ Motion for Entry of an Order
Appointing James L. Patton, Jr., as Legal Representative for Future Claimants, Nunc Pro Tunc to
the Petition Date [D.I. 223]. On April, 24, 2020, the Bankruptcy Court appointed Mr. Patton as



69   The members are: (1) Andrew Jackson Council; (2) Atlanta Area Council; (3) Crossroads of America Council; (4) Denver
     Area Council; (5) Grand Canyon Council; (6) Greater New York Councils; (7) Mid-America Council; and (8) Minsi Trails
     Council.


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the legal representative of Future Claimants [D.I. 486] (the “Future Claimants’ Representative”),
nunc pro tunc to the Petition Date.

       On May 5, 2021, the Future Claimants’ Representative filed his Fourth Supplemental
Declaration of James L. Patton, Jr. [D.I. 3146]. The declaration provided that as the Future
Claimants’ Representative, Patton has continued to monitor any potential conflicts and remains
independent, disinterested, and without interests materially adverse to the Future Claimants.
Likewise, on May 5, 2021, Young Conaway Stargatt & Taylor, LLP filed its Third Supplemental
Declaration of Edwin J. Harron [D.I. 3147]. This declaration provides that as the legal
representative to the Future Claimants’ Representative, Edwin J. Harron has continued to monitor
any potential conflicts and remains independent, disinterested, and without interests materially
adverse to the Future Claimants.

       5.      Coalition of Abused Scouts for Justice

        On July 24, 2020, the Coalition of Abused Scouts for Justice (the “Coalition”), an ad hoc
group representing the interests of Abuse survivors, filed its Notice of Appearance and Request
for Service of Notices and Documents [D.I. 1040]. The Coalition was formed in connection with
State Court Counsel representing holders of Abuse Claims. The Coalition is made up of
approximately 18,000 Abuse survivors having signed an “Affirmative Consent” which consents
to becoming a member of the Coalition and authorizes their respective State Court Counsel to
instruct the Coalition’s professionals in connection with these Chapter 11 Cases. Additionally, the
Coalition has asserted that the State Court Counsels represent approximately 65,000 Abuse
survivors collectively and many of such additional Persons are expected to sign “Affirmative
Consents.”

        On January 29, 2021, the Coalition filed a Third Amended Verified Statement of Coalition
of Abused Scouts of Justice Pursuant to Bankruptcy Rule 2019 [D.I. 1996 and 1997], and provides
information regarding its members (with certain personal information redacted), and supplemented
this third amended verified statement on May 18, 2021 [D.I. 4657, 4658]. The Coalition is
represented by Monzack Mersky and Browder, P.A., and Brown Rudnick LLP.

       6.      United Methodist Ad Hoc Committee

       In late 2020, 49 United Methodist Annual Conferences supported the formation of an ad
hoc group (the “United Methodist Ad Hoc Committee”) to advance the interests generally of
United Methodist local churches and other United Methodist organizations that serve or have
served as Chartered Organizations to the BSA. The United Methodist Ad Hoc Committee,
comprising of twelve members, has retained Bradley and Potter Anderson & Corroon LLP to
represent it in these Chapter 11 Cases. The United Methodist Ad Hoc Committee also participates
in the mediation regarding issues in connection with a global resolution of Abuse Claims. On
January 6, 2021, the United Methodist Ad Hoc Committee filed a verified statement pursuant to
Bankruptcy Rule 2019, detailing certain information relating to its members [D.I. 1901].

       7.      Roman Catholic Ad Hoc Committee

       The Catholic Mutual Relief Society of America (“Catholic Mutual”) filed a notice of
appearance in these Chapter 11 Cases on February 25, 2021 [D.I. 2269]. Catholic Mutual is a non-

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profit corporation that operates as a self-protection fund of the Roman Catholic Church in the
United States and Canada, with 112 of the 195 United States Catholic archdioceses and dioceses
being members. On June 25, 2021, representatives of Catholic Mutual and certain of its member
dioceses and archdioceses filed the Verified Statement of the Roman Catholic Ad Hoc Committee
Pursuant to Bankruptcy Rule 2019 [D.I. 5421], disclosing that they had formed the Roman
Catholic Ad Hoc Committee to protect and advance their common interests in these Chapter 11
Cases. The Roman Catholic Ad Hoc Committee has retained Schiff Hardin and Potter Anderson
to represent it.

G.     Filing of Schedules of Assets and Liabilities and Statements of Financial Affairs

        On February 19, 2020, the Bankruptcy Court entered an order extending the deadline by
which the Debtors must file their Schedules and Statements of Financial Affairs with the
Bankruptcy Court [D.I. 67]. In accordance with that order and pursuant to Bankruptcy Rule 1007
and Local Rule 1007-19(b), the Debtors filed their Schedules and Statements on April 8, 2020
[D.I. 375, 376, 377, and 378]. The Schedules provide summaries of the assets held by each of the
Debtors as of the Petition Date, as well as a listing of the Debtors’ liabilities, including Secured,
unsecured priority, and unsecured non-priority Claims pending against each of the Debtors during
the period prior to the Petition Date.

H.     Exclusivity

        On June 16, 2020, the Debtors sought an extension of the periods during which they may
exclusively propose and solicit acceptances of a chapter 11 plan beyond the initial 120-day and
180-day periods (together, the “Exclusive Periods”) for plan proposal and solicitation set forth in
section 1121 of the Bankruptcy Code. The Tort Claimants’ Committee and the Creditors’
Committee each filed statements in response [D.I. 915, 947]. On July 9, 2020, the Bankruptcy
Court entered an order granting the relief requested in the Debtors’ motion [D.I. 996], extending
the exclusive period for the Debtors to file and solicit votes on a chapter 11 plan by 120 days and
180 days, respectively. On October 14, 2020, the Debtors sought and obtained an unopposed
second extension of the periods during which they may exclusively propose and solicit acceptances
of a chapter 11 plan [D.I. 1519, 1606].

        On March 18, 2021, the Debtors filed a third motion to extend the period during which
they may exclusively propose a plan of reorganization and the solicitation period for acceptances
of such plan [D.I. 2411] (the “Third Exclusivity Motion”). This motion sought to extend the
Debtors’ exclusive periods to (a) file a chapter 11 plan to August 18, 2021 and (b) solicit votes
thereon to October 18, 2021. On April 1, 2021, the Tort Claimants’ Committee filed an objection
to the Third Exclusivity Motion, arguing that the exclusivity should be terminated to permit the
Tort Claimants’ Committee to propose its own plan that permits reorganization and relies on
insurance to compensate survivors, among other things [D.I. 2506]. The Tort Claimants’
Committee also asserted that the Plan is patently unconfirmable, the Local Council and Chartered
Organization contributions are inadequate, and there is insufficient support from survivors of
Abuse.

        On April 22, 2021, the Coalition and the Future Claimants’ Representative filed a joint
objection to the Third Exclusivity Motion, asserting that they should be permitted to propose a


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plan with the Tort Claimants’ Committee [D.I. 2672]. The Coalition and Future Claimants’
Representative also argued that the Plan does not equitably compensate survivors and objected to
the Hartford Settlement Contribution. The Bankruptcy Court heard argument on the Third
Exclusivity Motion at the hearing held on May 19, 2021, after which it was taken under advisement
and remains pending.

        On August 18, 2021, the Bankruptcy Court entered an order granting the relief requested
in the Debtors’ Third Exclusivity Motion, extending the exclusive period for the Debtors to file
and solicit votes on a chapter 11 plan by 152 days and 153 days, respectively [D.I. 6076].

I.     Removal

       Concurrently with the commencement of the Chapter 11 Cases, the Debtors began taking
measures to consolidate and stay all pending Abuse litigation against the BSA, Local Councils,
and Chartered Organizations. In particular, the BSA removed to federal district court (or
bankruptcy court, depending upon the applicable local rules) all Abuse Claims pending in state
courts throughout the country against the BSA and/or the Local Councils and Chartered
Organizations.

        Because there are a number of actions that name the BSA as a defendant and that allege
Claims substantially similar to those asserted in the Pending Abuse Actions (collectively, the
“Further Abuse Actions”) and dozens of additional non-Abuse actions that remain pending against
the BSA in various state courts, on May 15, 2020, the Debtors filed the Debtors’ Motion for Entry
of an Order Under 28 U.S.C. § 1452 and Fed. R. Bankr. P. 9006(b) and 9027, Extending the
Period Within which the Debtors May Remove Civil Actions and Granting Related Relief [D.I.
653] requesting that the deadline to remove such actions be extended to the later of: (a) September
15, 2020; and (b) the date that is forty-five (45) days after the occurrence of the Termination Date
(as defined below). The Bankruptcy Court granted the motion on June 3, 2020 [D.I. 769].

         Subsequently, there have been multiple extensions of the removal period without objection
[D.I. 1316, 1393, 1876, 2720]. On September 9, 2021, the Debtors filed the fifth motion to extend
the removal period from September 10, 2021 to the later of: (a) January 10, 2022; and (b) the date
that is forty-five (45) days after the occurrence of the Termination Date (as defined below) [D.I.
6187].

J.     Preliminary Injunction

        On the Petition Date, the Debtors initiated an adversary proceeding by filing the Verified
Complaint for Injunctive Relief, Adv. Pro. No. 20-50527 (LSS) [A.D.I. 1 (sealed); A.D.I. 5
(redacted)] (the “Complaint”). In connection with the Complaint, the Debtors filed The BSA’s
Motion for a Preliminary Injunction Pursuant to Sections 105(a) and 362 of the Bankruptcy Code
[A.D.I. 6] (the “Preliminary Injunction Motion”).

        In the Preliminary Injunction Motion and related pleadings, the Debtors sought to extend
the automatic stay to enjoin the prosecution of the Pending Abuse Actions. The Pending Abuse
Actions comprise Claims filed in state and federal courts against the BSA, Non-Debtor Related
Entity Learning for Life, Local Councils that are separate non-profit Entities independently
incorporated under the applicable laws of their respective states, and non-Debtor Chartered

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Organizations, consisting of community and religious organizations, businesses and groups of
individuals that organize Scouting units. Each of the Pending Abuse Actions alleges Abuse arising
out of the survivor’s involvement or connection with the BSA.

       As the result of an agreement reached between and among the Debtors and the Committees,
on March 30, 2020, the Bankruptcy Court entered the Consent Order Pursuant To 11 U.S.C.
§§ 105(a) and 362 Granting the BSA’s Motion for a Preliminary Injunction [A.D.I. 54] (the
“Consent Order”).

        The Consent Order, among other things, stayed certain Pending Abuse Actions and Further
Abuse Actions with respect to the Debtors and other BSA Related Parties (as defined in the
Consent Order) up to and including May 19, 2020 (the “Termination Date”). The time period from
the Petition Date to and including the Termination Date, as extended from time to time, is referred
to as the “Standstill Period.” As part of the agreement with the Committees, the Debtors agreed
to provide financial and other information that the Committees had identified as being relevant.
To that end, the Debtors provided the Committees’ advisors with access to a secure data room
containing organizational documents, financial statements, shared services agreements, documents
reflecting asset and liability information, Insurance Policies, and other relevant documents.

        In accordance with the Consent Order, the Debtors have filed amended version of Schedule
1 to the Consent Order that include additional Further Abuse Actions subject to the Consent Order
(each, an “Amended Schedule”). The Debtors have filed Amended Schedules on each of April
30, 2020, July 2, 2020, August 7, 2020, September 11, 2020, October 13, 2020, November 23,
2020, December 23, 2020, February 8, 2021, April 14, 2021, and June 7, 2021.

        Likewise, the Debtors filed amended versions of Schedule 2 to the Consent Order
identifying the then-current BSA Related Parties on August 7, 2020, September 25, 2020,
December 31, 2020, February 8, 2021, and April 19, 2021.

       On May 18, 2020, the Bankruptcy Court entered the Stipulation and Agreed Order By and
Among the Boy Scouts of America, the Official Committee of Survivors of Abuse, and the Official
Committee of Unsecured Creditors Extending the Termination Date of the Standstill Period Under
the Consent Order Granting the BSA’s Motion for a Preliminary Injunction Pursuant to U.S.C.
§§ 105(a) and 362 [A.D.I. 72], which extended the Termination Date and Standstill Period up to
and including June 8, 2020.

        On June 9, 2020, the Bankruptcy Court entered the Second Stipulation and Agreed Order
By and Among the Boy Scouts of America, the Official Committee of Survivors of Abuse, and the
Official Committee of Unsecured Creditors Modifying the Consent Order Granting the BSA’s
Motion for a Preliminary Injunction Pursuant to 11 U.S.C. §§ 105(A) and 362 and Further
Extending the Termination Date of the Standstill Period [A.D.I. 77], which, among other things,
further extended the Termination Date through and including November 16, 2020.

       On November 18, 2020, the Termination Date and Standstill Period were once again
extended with entry of the Order Approving Third Stipulation by and Among the Boy Scouts of
America, the Official Committee of Survivors of Abuse, and the Official Committee of Unsecured
Creditors Modifying the Consent Order Granting the BSA’s Motion for a Preliminary Injunction


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Pursuant to 11 U.S.C. §§ 105(a) and 362 and Further Extending the Termination Date of the
Standstill Period [A.D.I. 116] (the “Order Approving Third Stipulation”). As a result, the
Termination Date was extended through and including March 19, 2021.

        On November 4, 2020, three plaintiffs (“Movants”) in certain state court actions regarding
Abuse Claims filed a motion to modify the preliminary injunction to permit the Movants to proceed
against certain non-debtor defendants [A.D.I. 109] (the “Motion to Modify”). Despite not
objecting initially to the entry of the Consent Order, which stayed the Movants’ respective state
court actions, the Movants argued that their Claims as against select non-Debtor defendants could
be litigated separately without affecting the BSA. On January 11, 2021, the Movants withdrew
the Motion to Modify without prejudice [A.D.I. 138].

        On February 22 and 23, 2021, the Debtors filed their Motion to Extend Preliminary
Injunction Pursuant to 11 U.S.C. §§ 105(a) and 362 [A.D.I. 144] (the “Injunction Extension
Motion”) and opening brief in support of the Injunction Extension Motion [A.D.I. 145], requesting
an extension of the Termination Date to July 19, 2021.

        On March 17, 2021, the Bankruptcy Court entered the Order Approving Fourth Stipulation
by and among the Boy Scouts of America, the Official Committee of Survivors of Abuse, and The
Official Committee Of Unsecured Creditors Modifying The Consent Order Granting The BSA’s
Motion For A Preliminary Injunction Pursuant To 11 U.S.C. §§ 105(A) And 362 And Further
Extending The Termination Date Of The Standstill Period [A.D.I. 162] (the “Order Approving
Fourth Stipulation”). As a result, the Termination Date has now been consensually extended to
July 19, 2021.

        The Fourth Stipulation incorporates a disclosure and reporting protocol by which the Local
Councils will send to the BSA rosters located through a reasonable good faith search of all rosters
in the Local Councils’ possession, custody, or control that identify Abuse Survivors on a Local
Council’s claims list. Under the roster protocol, the BSA has also conducted a reasonable good
faith search of electronic registration information in its possession, custody, or control with respect
to Abuse Survivors who filed Sexual Abuse Survivor Proofs of Claim alleging Abuse that occurred
after 1999.

       On June 24, 2021, the Debtors, the Tort Claimants’ Committee, and the Creditors’
Committee entered into a fifth stipulation seeking to further extend the Termination Date up to and
including the earlier of (a) October 28, 2021, and (b) the date of the first omnibus hearing after the
Bankruptcy Court issues its decision confirming or denying confirmation of the Plan, approval of
which is pending before the Bankruptcy Court [A.D.I. 179].

K.     Mediation

        On the Petition Date, the Debtors filed the Debtors’ Motion for Entry of an Order
(I) Appointing a Judicial Mediator, (II) Referring Certain Matters to Mandatory Mediation, and
(III) Granting Related Relief [D.I. 17] (the “Mediation Motion”) requesting that the Bankruptcy
Court appoint a sitting bankruptcy judge to mediate any and all issues related to the comprehensive
resolution of Claims relating to historical acts of Abuse in the BSA’s Scouting programs through
a chapter 11 plan of reorganization, and referring such matters to mandatory mediation. In


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response to a number of limited objections to the Mediation Motion filed by various parties [D.I.
161, 164, 166, 316, 388, 617, 646, 647, 648, 650, 652, 658, 664, 710, 711, 712, 713, 756, 757,
759, 761, 762, 771, 772 and 773], the Debtors filed the Debtors’ Reply in Support of Their Motion
for Entry of an Order (I) Appointing Mediators, (II) Referring Certain Matters to Mediation, and
(III) Granting Related Relief [D.I. 782].

       On June 9, 2020, the Bankruptcy Court entered the Mediation Order described above,
appointing Judge Kevin Carey (Ret.), Mr. Paul Finn, and Mr. Timothy V.P. Gallagher as
Mediators. The Debtors subsequently successfully defended the Mediation Order against a motion
for reconsideration filed by Century, which the Bankruptcy Court denied on July 14, 2020—
thereby enabling the Mediators to move forward with the substantial task of mediating these large
and complex cases. The original mediation parties consisted of (a) the Debtors; (b) the Ad Hoc
Committee; (c) the Future Claimants’ Representative; (d) the Tort Claimants’ Committee,
including its members, Professionals, and the individual members’ professionals; (e) the Creditors’
Committee, including each parties’ members, professionals, and the individual members’
professionals; and (f) the following insurers: The Chubb Group of Insurance Companies, The
Hartford Companies, Allianz Global Risks US Insurance Company, National Surety Corporation,
Liberty Mutual Insurance Company, and American International Group, Inc. Entities.

       On August 26, 2020, the Coalition moved to participate in the mediation [D.I. 1161],
arguing that the Coalition was a necessary and beneficial party to the Mediation Order and should
be permitted to participate in, and would add value to, efforts to reach a global resolution. On
September 2, 2020, various parties filed objections to the Coalition’s motion, including Hartford
Accident and Indemnity Company and certain other insurers [D.I. 1222], Allianz Global Risks
U.S. Insurance Company and National Surety Corporation [D.I. 1224], the Tort Claimants’
Committee [D.I. 1229], and Century [D.I. 1230]. On October 23, 2020, the Bankruptcy Court
overruled these objections and entered an order allowing the Coalition to participate in the
mediation and designating the Coalition as a mediation party [D.I. 1573].

        The Debtors have subsequently engaged in extensive discussions and negotiations with the
mediation parties regarding complex legal and factual issues that must be addressed in connection
with a global resolution of Abuse Claims. Numerous additional parties have joined the mediation
subsequent to the Coalition’s designation as a mediation party. Such parties include JPM, the
Corporation of the President of TCJC, the United Methodist Ad Hoc Committee, Agricultural
Insurance Company, Aspen Insurance Holdings, Limited, AXA XL Insurance, CNA Insurance
Companies, General Star Indemnity Company, Markel Insurance Company, Arrowood Indemnity
Company, Old Republic Insurance Company, Travelers Indemnity Company, Colony Insurance
Company, Argonaut Insurance Company, Clarendon America Insurance Company, American
Zurich Insurance Company, Maryland Casualty Company, Maryland American General Group,
and American General Fire & Casualty Company, Munich Re, Traders and Pacific Insurance
Company, Endurance American Specialty Insurance Company, and Endurance American
Insurance Company, the Roman Catholic Ad Hoc Committee, Catholic Mutual Relief Society of
America, The Episcopal Church, the Domestic and Foreign Missionary Society of the Protestant
Episcopal Church in the United States of America, Roman Catholic Diocese of Brooklyn, New
York, Roman Catholic Archbishop of Los Angeles, a corporation sole, Roman Catholic Diocese
of Dallas, a Texas non-profit corporation, Archdiocese of Galveston-Houston, and Diocese of
Austin, and Zalkin Law Firm, P.C. and Pfau Cochran Vertetis Amala PLLC. As of the filing of


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this Disclosure Statement, intensive formal mediation is continuing in an effort to resolve
outstanding controversies, including issues relating to the terms of the Plan.

        On March 1, 2021, the Debtors filed the First Mediators’ Report [D.I. 2292], which
detailed that mediation had resulted in the Debtors, JPM, and the Official Committee of Unsecured
Creditors agreeing to a settlement term sheet. The JPM / Creditors’ Committee Term Sheet is
attached to the First Mediators’ Report as Exhibit A. The Tort Claimants’ Committee filed a
response on March 2, 2021 [D.I. 2297] noting that it did not consent to or agree with the JPM /
Creditors’ Committee Term Sheet attached to the First Mediators’ Report, to which the Future
Claimants’ Representative and Coalition joined [D.I. 2305, 2319].

        On April 16, 2021, the Debtors filed the Second Mediators’ Report [D.I. 2624], which
included a proposed settlement between the Debtors and Hartford. The Initial Hartford Settlement
Agreement is attached to the Second Mediators’ Report as Exhibit A. As stated in the report, the
Mediators remained confident that the Mediation would continue to foster constructive discussion
between and among the Debtors and other mediation parties.

       On June 3, 2021, the Debtors filed the Third Mediators’ Report [D.I. 5219], in which the
Mediators noted that while the continued mediation sessions had not yet resulted in a formal
settlement and key issues remained open, progress towards a settlement was being made. On June
9 and June 11, 2021, the Debtors filed the Fourth Mediators’ Report and the Fifth Mediators’
Report, respectively, pursuant to which the Mediators provided certain updates to the Bankruptcy
Court regarding upcoming hearings in light of ongoing settlement discussions [D.I. 5284, 5287].

        On September 14, 2021, the Debtors filed the Sixth Mediators’ Report, explaining, among
other things, that the Debtors, Hartford, the Future Claimants’ Representative, the Coalition, and
the Ad Hoc Committee, had agreed in principle on settlement terms that will result in an additional
$1.037 billion of cash contributions to the Settlement Trust, in addition to the contributions of up
to approximately $820 million that will be made by the Debtors and the Local Councils [D.I. 6210].

L.     Evaluation of Estate Assets

       On June 18, 2020, the Debtors filed the Debtors’ Omnibus Application for Entry of an
Order Authorizing the Retention and Employment of Appraisers for the Debtors and Debtors in
Possession, Nunc Pro Tunc to June 18, 2020 [D.I. 868], seeking to retain five different
appraisers—Appraisers of the Keys, Inc.; Hotel & Leisure Advisors; F.I. Salter, Inc.; Dawn M.
Powell Appraisals Inc.; and BW Ferguson & Associates Ltd. (collectively, the “Appraisers”)—to
provide appraisal services for the high adventure facilities located in Florida, Minnesota, and parts
of Canada, New Mexico, and West Virginia. Due to the differences in geographic location,
property type, acreage, and land use of each high adventure facility, the Debtors retained
Appraisers for each of the following: Sea Base; Philmont and Summit; the portion of Northern
Tier located in Minnesota; the portion of Northern Tier located in Ontario, Canada; and the
remainder of Northern Tier located in Manitoba, Canada (collectively, the “Subject Properties”).
The Bankruptcy Court entered an order authorizing the retention and employment of the
Appraisers on July 8, 2020 [D.I. 984].




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         Pursuant to their engagement letters, the Appraisers provided the following during their
appraisal process: (a) a highest and best use analysis, consideration, and determination of which is
a standard and requisite component of property valuation; (b) physical viewing, inspection, and
measurement of structures on the Subject Properties, observation of the condition of
improvements, characterization of land use, and consideration of other conditions of the properties
that may impact market values; (c) consideration of the number, type, sizes, uses, and conditions
of structures on the Subject Properties; (d) research and consideration of rights restrictions and
zoning restrictions on the Subject Properties; and (e) consideration of other requirements and
restrictions specific to certain of the Subject Properties, including growth ordinance requirements,
marinas draft depth and access channels, property composition, comparable sales data, water
rights, property damage, and mineral rights.

        As noted above, on November 30, 2020, in connection with the Debtors’ ongoing efforts
to evaluate Estate and non-Estate assets to fund the Settlement Trust and the Plan, the Debtors
filed an application to retain JLL [D.I. 1762], which the Bankruptcy Court approved on December
14, 2020 [D.I. 1841]. The Debtors have retained JLL to provide broker opinions of market value,
in consultation with certain of their stakeholders, of certain Local Council properties, which are
ongoing as of the date hereof. Because many Local Councils lack significant unrestricted liquid
assets, any contribution from Local Councils in the aggregate may need to include real property
and improvements as a component, and any Local Councils that desire to participate in any
potential negotiated resolution may wish to value potential real property that they seek to
contribute. The Debtors are continuing to work with JLL to appraise approximately 300 of the
approximately 1,000 Local Council real properties.

       Concurrently with the filing of the Debtors’ application to retain JLL, the Tort Claimants’
Committee filed an application to retain CBRE, Inc. to provide desktop appraisals of additional of
the Local Council real properties described above [D.I. 1785]. The Bankruptcy Court approved
the application on December 15, 2020 [D.I. 1846]. The Debtors and the Tort Claimants’
Committee have agreed to coordinate with respect to the appraisal of the Local Council properties
to avoid unnecessary duplication of services.

M.     Bar Dates and Body of Claims

       On the Petition Date, the Debtors filed the Debtors’ Motion, Pursuant to 11 U.S.C.
§ 502(b)(9), Bankruptcy Rules 2002 and 3003(c)(3), and Local Rules 2002-1(e), 3001-1, and
3003-1, for Authority to (I) Establish Deadlines for Filing Proofs of Claim, (II) Establish the Form
and Manner of Notice Thereof, (III) Approve Procedures for Providing Notice of Bar Date and
Other Important Information to Abuse Victims, and (IV) Approve Confidentiality Procedures for
Abuse Victims [D.I. 18]. On May 4, 2020, the Debtors filed the declaration of Shannon R.
Wheatman, Ph.D, in support of the Bar Date Order [D.I. 556] and the Supplement to Debtors’ Bar
Date Motion [D.I. 557], which described the Supplemental Notice Plan, to provide extensive
supplemental noticing to known and unknown survivors of Abuse.

        After extensive negotiations regarding the Bar Date Order and the noticing program with
parties in interest, on May 26, 2020, the Bankruptcy Court entered an order approving the Bar Date
Motion over the remaining objections of certain parties in interest [D.I. 695] (the “Bar Date
Order”). The Supplemental Notice Plan approved by the Bankruptcy Court was a carefully tailored


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and highly negotiated multi-million dollar Bar Date noticing program, comprised of an advertising
campaign that utilized television, radio, magazines, newspapers, and online media. As described
in detail in the declarations of Dr. Wheatman, the Debtors’ primary target audience for the
Supplemental Notice Plan was men 50 years of age or older. As described in the declaration from
Dr. Wheatman regarding the implementation of the Supplemental Notice Plan [D.I. 1758], the
Debtors delivered notice of the Bar Dates to the Debtors’ primary target audience of men 50 years
of age or older with a reach (the estimated percentage of a target audience reached through a
combination of media vehicles) of 95.8%, and an average estimated frequency (the estimated
average number of opportunities an audience member has to see a notice) of 6.5 times.70

         1.        Establishment of Bar Dates

        By the Bar Date Order, the Debtors established (a) November 16, 2020 as the last date by
which claimants could assert any prepetition Claims against the Debtors (the “Bar Date”), other
than holders of Abuse Claims, (b) November 16, 2020 as the last date by which any holder of an
Abuse Claim could assert any Claim arising from Abuse occurring prior to the Petition Date, and
(c) August 17, 2020 as the deadline for Governmental Units to assert any prepetition Claims
against the Debtors.

         2.        Non-Abuse Liabilities of the Debtors

       The Non-Abuse Claims and Non-Abuse Litigation Claims filed against the Debtors
include, but are not limited to, various employee and benefits related Claims; indemnification
Claims; non-Abuse personal injury and litigation Claims; and contract claims. In addition,
numerous Non-Abuse Claims and Non-Abuse Litigation Claims were included in the Debtors’
Schedules. The scheduled Claims fall into categories including, but not limited to, employment,
personal injury, environmental Claims, service and utility claims, trade payments, unclaimed
property, surety bonds, deferred compensation, Restoration Plan, and workers’ compensation.

        Further, the Debtors believe that they were generally current on their known prepetition
trade payables as of the Petition Date.

        Particular parties may attempt to file additional Claims notwithstanding the passage of the
Bar Dates and seek allowance of such Claims by the Bankruptcy Court to be treated as timely
filed. Additionally, claimants may amend certain existing Claims to seek increased amounts.

         3.        Supplemental Bar Date Order

       On August 25, 2020, the Debtors filed the Debtors’ Motion Pursuant to Section 105(a) of
the Bankruptcy Code and ¶ 27 of the Bar Date Order for Entry of an Order (I) Supplementing the
Bar Date Order and (II) Granting Related Relief [D.I. 1145] (the “Supplemental Bar Date
Motion”), requesting that the Bankruptcy Court supplement the Bar Date Order to prevent
potential Abuse survivors from being misled or confused regarding the Bar Date and Claims
process. In the Supplemental Bar Date Motion and in supplemental briefing [D.I. 1260], the
Debtors alleged that certain law firms had engaged in their own false and misleading advertising

70   As discussed further below, Century filed a Notice of Appeal [D.I. 803] of the Bar Date Order on June 9, 2020. The appeal
     was dismissed on March 29, 2021.


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to solicit Claims from Abuse survivors, and that certain advertising contained false and misleading
statements and was inconsistent with the content approved by the Bankruptcy Court in the Bar
Date Order.

         The Coalition objected to the Supplemental Bar Date Motion [D.I. 1190, 1264], arguing
that the Debtors’ proposed supplement sought an overly-broad, content-based prior restraint of
speech. After negotiations between the Debtors and the Coalition following a hearing on the
Supplemental Bar Date Motion, on September 16, 2020, the Bankruptcy Court entered an order:
(i) ruling that certain specific statements in plaintiffs’ law firm advertising regarding the Debtors’
Chapter 11 Cases was false and misleading; (ii) directing that the false and misleading statements
be removed; (iii) directing that certain clarifying information be added to such law firms’
advertising to prevent confusion and prejudice of sexual abuse survivors; and (iv) approving
procedures for the Debtors to seek expedited relief with respect to additional false and misleading
law firm advertising [D.I. 1331].

       4.      Claims Reconciliation and Objections

       At the time of the Bar Date, approximately 15,000 Claims (other than Direct Abuse Claims)
were timely filed on the general Claims Register.

        The Debtors continue to review and analyze the proofs of Claim filed to date, and reconcile
these Proofs of Claim with the Debtors’ scheduled Claims. On February 3, 2021, the Debtors filed
their First Omnibus (Non-Substantive) Objection to Certain (I) Exact Duplicate Claims, (II)
Amended and Superseded Claims, and (III) Incorrect Debtor Claims (Non-Abuse Claims) [D.I.
2019], which was sustained on March 5, 2021 [D.I. 2323]; Second Omnibus (Substantive)
Objection to Certain (I) Cross-Debtor Duplicate Claims, (II) Substantive Duplicate Claims, (III)
No Liability Claims, (IV) Misclassified Claims, and (V) Reduce and Allow Claims (Non-Abuse
Claims) [D.I. 2020]; and First Notice of Satisfaction of Claims and/or Scheduled Amounts (Non-
Abuse Claims) [D.I. 2021]. The Debtors will continue to file objections and may seek stipulations
with respect to certain of these Claims.

       On March 5, 2021, the Bankruptcy Court entered the Order Sustaining Debtors’ First
Omnibus (Non-Substantive) Objection to Certain (I) Exact Duplicate Claims and (II) Amended
and Superseded Claims and (III) Incorrect Debtor Claims (Non-Abuse Claims) [D.I. 2323],
disallowing and expunging certain exact duplicate claims, and amended and superseded Proofs of
Claim. This order also reassigned certain Claims incorrectly filed against one Debtor to the correct
Debtor against whom the claims should have been asserted.

        On April 26, 2021, the Bankruptcy Court entered the Order Sustaining the Debtors’ Second
Omnibus (Substantive) Objection to Certain (I) No Liability Claims, (II) Misclassified Claims, and
(III) Reduce and Allow Claims (Non-Abuse Claims) [D.I. 2686], disallowing and expunging certain
no liability claims. The order also reclassified certain misclassified claims, which remain subject
to the Debtors’ further objections on any substantive or non-substantive grounds and further order
of the court, and it reduced certain allowed claims.




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       5.       Estimation of Claims

        On March 16, 2021, the Future Claimants’ Representative, the Tort Claimants’ Committee,
and the Coalition filed a motion requesting binding estimation proceedings [D.I. 2391] (the
“Estimation Motion”). These parties requested an estimation of aggregate liability for Abuse
Claims, using a valuation scale for different types of Abuse, on a year-by-year basis, and
identifying applicable Local Councils and Chartered Organizations. These moving parties argued
that this estimation would resolve the disputes with respect to the amount that should be
contributed to the Settlement Trust in order to fairly compensate Abuse Survivors. Id. at 6.

        On March 17, 2021, the Future Claimants’ Representative, the Tort Claimants’ Committee,
and the Coalition filed a motion requesting that the District Court for the District of Delaware
withdraw the reference to the Bankruptcy Court [D.I. 2399] to hear the Estimation Motion (Civil
Action No. 21-cv-00392) (“Withdrawal of Reference Proceedings”), which motion was
subsequently docketed with the District Court. The Future Claimants’ Representative, Tort
Claimants’ Committee, and the Coalition requested that the reference be withdrawn so that the
District Court could conduct estimation proceedings, instead of the Bankruptcy Court.

       On April 15, 2021, certain parties filed objections to the Estimation Motion, which include:

               Objection of The Church of Jesus Christ of Latter-Day Saints [D.I. 2610], claiming
                that estimation of non-debtor claims is not permitted under the Bankruptcy Code
                and asserting that estimation would lead to a lengthy and unworkable discovery
                process as it relates to the non-debtors. The United Methodist Ad Hoc Committee
                joined this objection [D.I. 2681].

               Opposition of Certain Insurers [D.I. 2611], arguing that there is no basis under the
                Bankruptcy Code to conduct an estimation proceeding to determine a debtor’s
                aggregate liability for all mass-tort claims; the Estimation Motion was filed with
                the intent to prejudice insurers in state-court coverage litigation; and the proposed
                estimation procedures are improper. The following insurance companies were
                parties to this objection: First State Insurance Company; Hartford Accident and
                Indemnity Company; Twin City Fire Insurance Company; Liberty Mutual
                Insurance Company; Travelers Casualty and Surety Company; St. Paul Surplus
                Lines Insurance Company; Gulf Insurance Company; General Star Indemnity
                Company; American Zurich Insurance Company; American Guarantee and
                Liability Insurance Company; Steadfast Insurance Company; AIG Companies;
                Arrowood Indemnity Company; Allianz Global Risks US Insurance Company;
                National Surety Corporation; Interstate Fire & Casualty Company; Agricultural
                Insurance Company; Agricultural Excess and Surplus Insurance Company; Great
                American E&S Insurance Company; Clarendon America Insurance Company; The
                Continental Insurance Company; and Columbia Casualty Company.

               Debtors’ Objection [D.I. 2612], objecting to the moving parties’ proposed
                procedures. Specifically, the Debtors contend that the procedures provided in the
                Estimation Motion are unduly burdensome and neither necessary nor appropriate.
                The Debtors’ have proposed a non-binding estimation under the Plan, see Plan


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                    Article V.T, and that certain additional discovery and related procedures be set
                    though the Debtors’ Motion For Entry of Order (I) Scheduling Certain Dates and
                    Deadlines In Connection With Confirmation of the Debtors’ Plan of
                    Reorganization, (II) Establishing Certain Protocols, and (III) Granting Related
                    Relief [D.I. 2618]. Such motion was filed the same day as the Debtors’ Objection.

                   Old Republic Insurance Company’s Objection [D.I. 2613], joining the legal
                    arguments raised in the Opposition of Certain Insurers [D.I. 2611].

                   Century’s Opposition [D.I. 2614], objecting to the Estimation Motion because
                    estimation of the aggregate liability of the debtor and non-debtors is devoid of any
                    precedent; there is no basis for estimation of the Abuse Claims under the
                    Bankruptcy Code; the Estimation Motion is an improper attempt to prejudice
                    insurers in state-court coverage litigation; and the procedures proposed in the
                    Estimation Motion are improper.

        On April 15, 2021, certain insurers71 also filed an Opposition to Motion of the Coalition,
TCC and FCR for Withdrawal of the Reference of Proceedings Involving the Estimation of
Personal Injury Claims [Withdrawal of Reference Proceedings, D.I. 14]. The insurers argue that
if estimation were to take place it should remain with the Bankruptcy Court because it is a core
proceeding, the estimation does not involve the trial of any personal injury claims such that the
Bankruptcy Court cannot estimate, and the Bankruptcy Court is the best forum suited to decide the
Estimation Motion. On April 15, 2021, the Debtors also filed an answering brief in opposition to
the motion to withdraw the reference [Withdrawal of Reference Proceedings, D.I. 15]. The
Debtors argued that the estimation contemplated in the Estimation Motion is a core proceeding
that should remain with the Bankruptcy Court. In addition, the Debtors maintain that the
Bankruptcy Court is the proper forum for estimation because it will promote uniformity,
discourage forum shopping, avoid undue delay, conserve the parties’ resources, and expedite the
bankruptcy process. The Debtors argued that withdrawal of the reference is not mandatory and
that all of the factors weigh in favor of keeping proceedings centralized before the Bankruptcy
Court.
        On April 16, 2021, Century filed an Opposition to Motion of the Coalition, TCC and FCR
to Withdraw the Reference of Proceedings Involving the Estimation of Personal Injury Claims
[Withdrawal of Reference Proceedings, D.I. 17], arguing that Estimation Motion would cause
undue delay, there is no basis for estimation especially regarding claims against non-debtors, and
the Estimation Motion was not for the liquidation or estimation of particular injury claims for the
purpose of distribution.


71   The insurers that filed the opposition are (1) First State Insurance Company, Hartford Accident and Indemnity Company and
     Twin City Fire Insurance Company, (2) Liberty Mutual Insurance Company, (3) Travelers Casualty and Surety Company,
     Inc. (f/k/a Aetna Casualty & Surety Company), St. Paul Surplus Lines Insurance Company and Gulf Insurance Company, (4)
     General Star Indemnity Company, (5) American Zurich Insurance Company, American Guarantee and Liability Insurance
     Company, and Steadfast Insurance Company, (6) AIG Companies, (7) Arrowood Indemnity Company, formerly known as
     Royal Indemnity Company, (8) Allianz Global Risks US Insurance Company, (9) National Surety Corporation and Interstate
     Fire & Casualty Company, (10) Agricultural Insurance Company, Agricultural Excess and Surplus Insurance Company, and
     Great American E&S Insurance Company, (11) Clarendon America Insurance Company, and (12) The Continental Insurance
     Company and Columbia Casualty Company.


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       On April 22, 2021, the Future Claimants’ Representative, the Tort Claimants’ Committee,
and the Coalition filed a reply brief in support of their motion to withdraw the reference
[Withdrawal of Reference Proceedings, D.I. 29]. The movants maintain that the District Court
should conduct proceedings because they are non-core, other relevant factors weigh in favor of
withdrawal, and withdrawal of reference is required by the Bankruptcy Code under the
circumstances.
       On April 27, 2021, the Future Claimants’ Representative, the Tort Claimants’ Committee,
and the Coalition filed a Request for Oral Argument [Withdrawal of Reference Proceedings, D.I.
30]. To date, no District Court hearing has been scheduled.

        On May 14, 2021, the Tort Claimants’ Committee, the Coalition, and the Future Claimants’
Representative filed an omnibus reply to Estimation Motion objections filed by the (i) Debtors,
(ii) Century Indemnity Company, (iii) certain insurers, (iv) TCJC, joined by (v) the United
Methodist Ad Hoc Committee, and (vi) Old Republic Insurance Company [D.I. 4089]. They
argued the Bankruptcy Court should grant the Estimation Motion with leave for the parties to
advise the District Court of the disposition of the Estimation Motion in connection with the District
Court’s determination of the pending motion to withdraw reference. The Estimation Motion was
taken under advisement by the Bankruptcy Court at the May 19, 2021 hearing.

N.        Description of Abuse Claims and the Valuation of Abuse Claims

       During its claim reconciliation process, Bates White established that there are
approximately 82,200 unique, timely Proofs of Claims seeking personal injury damages on
account of Abuse. Bates White estimates the value of the Abuse Claims is between $2.4 billion
and $7.1 billion.72 To establish this value range, Bates White analyzed BSA’s historically resolved
Abuse Claims, with a focus on four factors that have affected the Claims’ settlement value: (i) the
possible monetary damages the Abuse Survivor could obtain in the tort system, (ii) the connection
to Scouting during the alleged acts, (iii) certain legal considerations regarding the viability of the
Claim, and (iv) the credibility of the Claim.

        The actual valuation of the Abuse Claims could fall outside the estimated valuation range
of $2.4 to $7.1 billion if the actual facts regarding the Claims materially differ from the information
submitted in connection with the Proofs of Claim or the historical data used to derive potential
values related to Abuse Claims proves unreliable. For example, if more than half of the Abuse
Claims that have been identified as presumptively time-barred are, in fact, not time barred, or if a
significantly greater number of the Survivors asserting Abuse Claims identifies their abusers as
serial abusers within Scouting, the valuation could exceed $7.1 billion. In contrast, if more than
half of the Abuse Claims that currently identify an abuser by name are deemed insufficient or
otherwise subject to disallowance, or if the BSA’s responsibility for the abuse is found to be less
significant than was assumed in the valuation model, the valuation of Abuse Claims could be less
than $2.4 billion.73 The Coalition, Tort Claimants’ Committee and Future Claimants’
72   The number of unique, timely Proofs of Claim that Bates White evaluated is less than the total number of timely Proofs of
     Claim submitted in the Chapter 11 Cases because some Survivors filed multiple Proofs of Claim. The count of unique, timely
     Proofs of Claim has fallen since prior disclosures primarily because some Proofs of Claim have since been withdrawn or
     voided.
73   The valuation range reported here is based the data available as of the prior July 2, 2021. Since that time, due to amendments
     and other changes, the number of claims that are not presumptively barred and identify, by name an alleged abuser has risen


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Representative disagree with the methodology employed by Bates White and its estimated
valuation range, and believe that the potential value of the Abuse Claims is materially higher than
$7.1 billion.

       The Debtors’ estimated valuation range of $2.4 billion to $7.1 billion is based upon current
information included in the Proofs of Claim submitted to date, BSA’s historically resolved Abuse
Claims, and publicly available information related to potentially comparable settlements. The
estimated valuation range is broad due to a number of factors.

        To arrive at the valuation range, Bates White considered multiple scenarios arising from
four categories of attributes that would affect the value of the Abuse Claims: (i) those that affect
the amount of damages, (ii) those that affect the degree of accountability of the BSA based on any
alleged connection with Scouting, (iii) those that affect legal considerations regarding the viability
of the claim, and (iv) those that affect the allowance and credibility of the Abuse Claim. While
there is some variation in how Bates White tested various scenarios, all of the scenarios are based
on a frequency and severity valuation model where the number of current Abuse Claims
(frequency) alleging a particular Abuse (severity) is measured against the attributes described
above, which, when combined with historical data regarding resolution of Abuse Claims, allows
Bates White to project the value of the Claims.

        To evaluate the possible value of damages related to an Abuse Claim, Bates White assigned
a score based on the most severe Abuse alleged across all of the relevant submissions for each
Survivor using the categories specified on the Proof of Claim form. For example, in certain
scenarios, Claims were divided pursuant to the following categories, in descending order of
severity: (i) those alleging sex acts involving penetration, oral sex, or masturbation; (ii) those
alleging physical acts of groping and touching with clothing on or off; and (iii) those with unknown
or missing allegations. According to historical settlement amounts and other publicly available
data, tort claimants generally obtain higher damage recoveries based on the severity of Abuse
alleged. Additional damages were considered, and corresponding scores were assigned, in at least
some scenarios based upon a Survivor’s age at the time of the first alleged act of Abuse and, where
applicable, the number of instances of Abuse alleged in the Proof of Claim.

       To evaluate the BSA’s possible degree of liability, Bates White considered the alleged
connection to Scouting, and corresponding scores were assigned based on whether (i) the Survivor
had an affiliation with Scouting; (ii) the Survivor indicated having had another relationship with
the abuser outside of Scouting (e.g., through church or school contact); (iii) the alleged abuser was
an adult or minor; and (iv) the abuser is alleged to have abused others involved in Scouting.

       To evaluate the degree of legal liability, Bates White focused on whether the claim would
be presumptively time-barred based on applicable law in the jurisdiction or jurisdictions in which
each Survivor alleges abuse.

        To evaluate the level of credible support for the Abuse Claims, Bates White examined
factors such as (i) the amount of information the Survivor provided relating to the nature of the
Abuse, (ii) whether the Survivor indicated that anyone else knew of the Abuse; (iii) whether the

   from 14,000 to 16,600. The valuation range has not been adjusted because this increase is within the range contemplated in
   Bates White’s evaluation of the earlier data.


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Survivor named at least one abuser; and (iv) whether the Survivor indicated that the Abuse was
reported to Scouting, law enforcement, or any other party. While trying to be as comprehensive
as possible, the foregoing list of attributes is not perfect and certain Survivors may not be able to
identify their abusers. Moreover, a lack of prior reporting does not necessarily correspond to a
lack of Abuse. Accordingly, Bates White also considered simplified scenarios where such
attributes were modeled through a rejection rate (i.e., an assumption that a portion of the Claims
would be disallowed, withdrawn, or found not to meet the criteria set out to receive compensation
under the Trust Distribution Procedures related to the Settlement Trust or in the tort system).

        All of Bates White’s valuation scenarios are based on the data currently provided in the
Proofs of Claim. To eliminate duplicative or defective Proofs of Claims, Bates White first
considered Abuse Claims that were submitted prior to the Bar Date (or properly amended
thereafter) and claimant personal identification. Specifically, for individuals who made at least
one timely submission, Bates White incorporated information from post-bar date amendments and
supplemental submissions into one Claim. Duplicate submissions from individuals identified on
the basis of certain key personal identifying information on the Proof of Claim, including name,
last four digits of Social Security Number, and birthday, were also consolidated into one,
comprehensive Claim. Withdrawn and voided Proof of Claim submissions were removed.

       While there are approximately 82,200 unique, timely Abuse Claims, Bates White viewed
the majority of these claims as presumptively barred and many more as failing to provide key
information that Bates White concluded would be necessary to establish payment within the tort
system or potentially under the Trust Distribution Procedures and Settlement Trust Agreement.
Within this set, Bates White focused its valuation on the approximately 16,600 claims that are not
presumptively barred and identify, by name, either in full or in part, an alleged abuser. These
claims are the most similar to those that were resolved by the BSA, often in conjunction with its
Insurance Companies, prior to these Chapter 11 Cases. There are multiple reasons, however, why
the eventual number of compensable Abuse Claims could differ from this current core Claim
count.

         To determine which Claims might be presumptively time barred, Bates White analyzed the
location where the Claimant alleges the Abuse occurred and the relevant law in the applicable state
or territory. Bates White also considered the age of majority for which a Claim is allowed in each
state as compared to the Claimant’s age as of the Bar Date and whether the last date of Abuse
alleged is within the time window in which a Claim is allowed in each state. For purposes of
determining the applicable criteria under each state or territory, Bates White relied upon
information provided by Debtors’ defense counsel. For example, under the Bates White
evaluation, a Claim alleging Abuse that took place in New Jersey, which is currently subject to a
reviver statute under which claims are not time barred, would be considered not presumptively
barred. In contrast, a Claim alleging Abuse that took place in Pennsylvania would not be
presumptively barred for a Survivor who is 55 years old or younger, but would be presumptively
barred for a Survivor who is older than 55 years.

        The number of Abuse Claims that might not be considered presumptively barred could
grow for multiple reasons. The recorded abuse location or locations currently available in the
analytical data and used for purposes of the presumptively barred evaluation are not complete and
may be supplemented—which could lead to further Abuse Claims being removed from the


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presumptively barred category. In addition, virtually all states recognize that abuse claims can be
filed after the statutory limitations period has run under select circumstances, which vary from
state to state. Over the last several years, multiple states have implemented revival windows under
which previously barred Claims were allowed to be pursued. Bates White’s prior analysis
identified the potential for more states to implement revival windows or otherwise allow older
claims as a risk factor. This risk has manifested during the pendency of these Chapter 11 Cases in
several states—Arizona, Colorado, Kentucky, Louisiana, and Maine—which have passed
legislation that would either eliminate their statute of limitations or lengthen the window in which
a Claim is allowed. Those changes, along with amendments providing supplemental information
filed by individuals who had previously already filed a timely Proof of Claim in this matter, have
resulted in an increase in the number of claims that are not presumptively barred and identify, by
name, either in full or in part, an alleged abuser as compared to prior disclosures.

        The valuation range could change based on which Abuse Claims are allowed and
compensated in accordance with the trust distribution procedures. Bates White expects that some
portion of submitted Abuse Claims will (i) be disallowed for containing insufficient or deficient
information, (ii) not meet the criteria set out to receive compensation pursuant to the Trust
Distribution Procedures, or (iii) be withdrawn. Further, the BSA’s insurers have questioned the
validity of certain of the Abuse Claims based on the manner in which large groups of the Abuse
Claims were recruited. While Bates White attempted to account for these issues via the
implementation of various assumed claim rejection rates, the actual rejection rate is not certain.

        The Bates White analysis of the value of the claims asserted against the BSA draws on the
BSA’s historical data related to resolutions of Abuse liability. With the shift in Survivor behavior
in the past two years—for example, the scale of the post-petition claims relative to those BSA
received pre-petition—there is significant uncertainty regarding how historical settlements align
with the currently filed Abuse Claims. In a context such as this, where Survivor behavior has
shifted, the Claims that were historically resolved may not be representative of the Abuse Claims
comprising the current population.

        Across mass torts, there is significant selection bias regarding which cases are filed
relatively early in the lifespan of the tort, when costs to plaintiffs are generally higher, and which
cases are pursued as the tort is more developed, when costs to plaintiffs are lower. The significant
increase in claims filed against the BSA represents a structural break in this process. Relative to
the current pool of Abuse Claims, the BSA’s historical data related to Abuse liability resolutions
was stronger on observable, and likely also unobservable, characteristics. With this being the case,
there is substantial uncertainty regarding how Claim values for the current pool of Abuse Claims,
even those with similar characteristics, such as the particular type of abuse allegation, may differ
from historical data. For example, an ongoing analysis has shown that the majority of the BSA’s
roughly 260 historical sexual abuse case resolutions over the last four years relate to Claims that
named abusers who appear multiple times in that data set. Further, the data shows—as one would
expect given that it relates to the BSA’s potential accountability—that on average, Claims alleging
Abuse against individuals who abused multiple people in connection with Scouting were paid more
than similarly situated claims for which the alleged abuser is only identified by one individual.
Within the Proof of Claim data, however, a supermajority of the Claims name abusers who appear
unique. While we have some ability to control for this valuation factor, there are other factors that



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may also impact the value of the Abuse Claims—particularly with regards to issues of credibility
and accountability—which may differ across the pools.

       The chart below provides a breakdown of the Abuse Claims. Of the approximately 82,200
unique and timely Abuse Claims, approximately 77,400 are not missing key fields. Of these
claims, approximately 27,200 are not presumptively barred by statute of limitations and
approximately 50,200 are presumptively barred by statute of limitations. Of those not
presumptively barred, approximately 16,600 named an abuser, either in full or in part.

                 Abuser Name Category                                  Count

          Name Provided                                             10,498

          Partial Name Provided                                        6,107

          Physical Description Only                                    3,741

          Unknown                                                      6,856



        Additionally, attached hereto as Exhibit F are charts listing the Abuse Claims (i) by
allegation type, (ii) counts by Local Council, (iii) counts by Local Council and allegation type, and
(iv) counts by Chartered Organizations. Some parties have asserted that Bates White’s estimated
valuation range should include valuations of Abuse Claims with respect to each individual Local
Council and Chartered Organization. However, performing such an exercise would not likely
establish reliable estimates due to the data currently available. The aggregate range of $2.4 billion
to $7.1 billion is based upon current information included in the Abuse Claim Proofs of Claim
submitted to date, BSA’s historically resolved Abuse Claims, and publicly available information
related to potentially comparable settlements. Critically, those historical BSA resolutions involved
payments for releases covering all BSA-related parties. So while that data provides an empirical
foundation for an aggregate projection of a value of the current Abuse Claims against all BSA-
related parties, it does not, on its own, provide an empirical basis upon which to partition that
aggregate value among different related parties, such as Local Councils. While it is possible to
separately identify, at least in some instances, which Local Council(s) and Chartered
Organization(s) may be involved with a given claim, the ability to provide a reasonable aggregate
valuation range for all 82,200 Abuse Claims combined does not translate into a reasonable
valuation for each distinct claim or with respect to each individual Local Council or Chartered
Organization. Given the number of entities involved, oftentimes with a combination of Local
Councils and Chartered Organizations, many of the potential valuation groupings involve only a
single claim or a handful of claims. Moreover, even in the case of Local Council and Chartered
Organization combinations involving sufficient numbers of claims, additional information would
be needed to separately identify which portion of the aggregate estimate should be attributed to
the BSA and which to the other related organizations.

      In addition to Direct Abuse Claims, approximately 16,600 contingent and unliquidated
indemnification and contribution Claims have been filed against the Debtors, most of which would


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be included in the Class of Indirect Abuse Claims. The majority were filed by Chartered
Organizations. Among others, TCJC has asserted claims for indemnification and contribution
from the BSA relating to the defense and resolution of Abuse Claims that have been and may be
asserted against TCJC in the tort system. Pursuant to the terms of the TCJC Settlement, TCJC
agreed to waive all claims against, among others, the Debtors and Reorganized BSA.

O.     Assumption and Rejection of Unexpired Leases and Executory Contracts

        Since the commencement of these Chapter 11 Cases, the Debtors have strategically
reviewed their contractual obligations and sought to weed out contractual agreements that do not
provide a significant value to the Debtors’ Estates going forward. Consistent with this goal, on
March 31, 2020, the Debtors filed a motion seeking entry of an order authorizing the Debtors to
reject that certain Personal Services Agreement by and between Pearson Education, Inc.
(“Pearson”) and the BSA whereby Pearson agreed to provide various services to the BSA,
including providing publishing and communications channels, marking communications, program
materials, and saleable literature [D.I. 318]. That same day, the Debtors filed an omnibus motion
seeking authority to reject three additional Executory Contracts, including a sublease for office
space in New York, New York and a letter agreement for hotel accommodations in connection
with a regional conference the BSA had planned but was ultimately canceled [D.I. 319]. The
Bankruptcy Court entered orders approving both motions on April 15 and 17, 2020, respectively
[D.I. 440, 449].

        On June 16, 2020, the Debtors filed a motion seeking an order extending the 120-day period
for the Debtors to assume or reject Unexpired Leases of nonresidential real property by ninety (90)
days, to September 15, 2020 [D.I. 857]. On July 6, 2020, the Bankruptcy Court entered an order
granting the motion [D.I. 954].

        In June of 2020, the Debtors filed motions seeking entry of orders (a) rejecting the lease of
nonresidential real property with Dheera Limited Company, LLC effective as of June 30, 2020
[D.I. 865], and (b) rejecting an Executory Contract with Oracle America, Inc. effective as of June
30, 2020 [D.I. 906]. The Bankruptcy Court entered orders approving both of these motions [D.I.
981, 982].

        On August 26, 2020, the Debtors filed their first omnibus motion seeking entry of an order
approving assumption of various Unexpired Leases of nonresidential real property and fixing the
cure amount with respect thereto [D.I. 1168]. Several days later, the Debtors entered into
stipulations with lease counterparties extending the deadline to assume or reject until June 30,
2021 and filed those stipulations with the Bankruptcy Court [D.I. 1298]. On September 11, 2020,
the Bankruptcy Court entered two orders approving the Debtors’ omnibus motion to assume
Unexpired Leases and extending the deadline to assume or reject to June 30, 2021 [D.I. 1310,
1311].

       On July 1, 2021, the Bankruptcy Court entered an order approving stipulations the Debtors
entered into with lease counterparties to further extend the deadline to assume or reject Unexpired
Leases to and including the earlier of: (a) the Confirmation Date; and (b) December 31, 2021 [D.I.
5464].



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P.     Stay Relief Matters

       1.      Old Republic

        On May 21, 2020, Old Republic Insurance Company filed Old Republic Insurance
Company’s Motion Pursuant to Sections 105(a) and 363 of the Bankruptcy Code and Bankruptcy
Rule 4001 for an Order Modifying the Automatic Stay to Permit Payments of Claims Against Non-
Debtor Insureds and Related Defense Costs Under Insurance Policies [D.I. 678] requesting entry
of an order modifying the automatic stay, to the extent it applies, to allow Old Republic and ESIS
to pay losses and expenses which are incurred in conjunction with the investigation, defense,
adjustment or settlement of certain non-stayed Claims or suits on behalf Non-Debtor Insureds
under certain Old Republic Insurance Policies.

        On July 7, 2020, the Bankruptcy Court entered the Order Granting Old Republic Insurance
Company’s Motion Pursuant to Section 362 of the Bankruptcy Code and Bankruptcy Rule 4001
for an Order Modifying the Automatic Stay to Permit Payments of Claims Against Non-Debtor
Insured Parties and Related Defense Costs Under Insurance Policies [D.I. 985], which modified
the automatic stay, to the extent it applies, to allow Old Republic Insurance Company and its
Affiliates (collectively, “Old Republic”) and ESIS, Inc. (“ESIS”) to administer, handle, provide
for the payment of defense costs and to pay any judgments or settlements in connection with
Claims or Causes of Action, not subject to the automatic stay against non-Debtor Entities that are
covered by an Old Republic Primary Policy and by an Old Republic Excess Policy. With respect
to settlements or judgments against non-Debtor Entities covered by an Old Republic Excess
Policy, the automatic stay was modified to allow Old Republic and ESIS to pay any judgments or
settlements on behalf of the insured non-Debtor Entities in connection with any Claims and Causes
of Action against non-Debtor Entities pursuant to a notice protocol set forth therein.
       2.      Evanston

        On May 22, 2020, Evanston Insurance Company filed the Evanston Insurance Company’s
Motion for Entry of an Order Pursuant to Section 362 of the Bankruptcy Code and Bankruptcy
Rule 4001, Modifying the Automatic Stay to Permit Payments of Claims Against Non-Debtor
Insured Parties and Related Defense Costs Under Insurance Policies [D.I. 686] requesting entry
of an order modifying the automatic stay, to the extent it applies, to allow Evanston to pay losses
and expenses which are incurred in conjunction with the investigation, defense, adjustment, or
settlement of certain non-stayed Claims or suits on behalf Non-Debtor Insureds under certain
Evanston Insurance Policies.

        On July 8, 2020, the Bankruptcy Court entered the Order Granting Evanston Insurance
Company’s Motion Pursuant to Section 362 of the Bankruptcy Code and Bankruptcy Rule 4001
for an Order Modifying the Automatic Stay to Permit Payments of Claims Against Non-Debtor
Insured Parties and Related Defense Costs under Insurance Policies [D.I. 987], which modified
the automatic stay to allow Evanston to pay any judgments or settlements in connection with any
Non-Stayed Claims against Non-Debtor Insureds pursuant to a notice protocol set forth therein.




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Q.     Other Litigation

       1.      Trademark Action

         On November 6, 2018, Girl Scouts of the United States of America (“GSUSA”) filed a
complaint in the United States District Court for the Southern District of New York, Case No. 18-
cv-10287, against the BSA, alleging trademark infringement, dilution and tortious interference in
connection with the BSA welcoming female members in into its youth programs (the “Trademark
Action”). On February 18, 2020, the Debtors filed these Chapter 11 Cases, thereby staying the
Trademark Action. On March 10, 2020, GSUSA filed a motion for relief from stay to resume
prosecution of the Trademark Action [D.I. 155], and on April 24, 2020, the Bankruptcy Court
entered an order granting limited relief from the stay [D.I. 485]. Pursuant to the order, the stay
relief period ended on July 22, 2020 with respect to the Trademark Action. The BSA and GSUSA
were unable to reach a resolution, and on July 23, 2020, the automatic stay was lifted to permit the
Trademark Action to proceed. On September 18, 2020 the Bankruptcy Court entered an order
authorizing the retention and employment of Quinn Emanuel Urquhart & Sullivan, LLP as special
litigation counsel to the Debtors pursuant to section 327(e) of the Bankruptcy Code, nunc pro tunc
to August 1, 2020, to represent the Debtors in the Trademark Action [D.I. 1343].

        The Trademark Action remains ongoing, and the Debtors believe that they have sufficient
insurance to cover any and all remaining defense costs and liability that may arise in connection
therewith. Specifically, the Debtors have three policies that remain available: (1) a primary
Directors and Officers Liability insurance policy issued by RSUI; (2) an umbrella Directors and
Officer Liability policy issued by Markel; and (3) a cyber-insurance policy issued by Beazley. The
RSUI policy has aggregate limits of liability of $10 million, of which approximately $5 million in
limits are remaining. The Markel policy has aggregate limits of liability of $10 million, which is
fully available. And the Beazley policy has aggregate limits of liability of $15 million, of which
approximately $10 million in limits are remaining. RSUI and Beazley are presently providing the
BSA coverage for its defense counsel.

       2.      Adversary Proceedings and Appeals

       On May 15, 2020, Hartford Accident and Indemnity Company and First State Insurance
Company (“Hartford and State”) filed an adversary complaint against the Debtors, certain Local
Councils, and other insurers seeking declaratory judgment and contribution relating to Claims for
Insurance Coverage for all underlying Abuse Claims against BSA and certain of its Local Councils
(Adv. Pro. No. 20-50601). On August 14, 2020, the Debtors and the named Local Councils filed
a motion to dismiss Hartford and State’s adversary proceeding [D.I. 22]. The Debtors
subsequently successfully negotiated a stay of the entirety of the Hartford and State adversary
proceeding.

       On June 9, 2020, Century filed an appeal (Civil Action No. 20-cv-00774) (the “Century
Bar Date Appeal”) of the Bar Date Order, alleging that the Proof of Claim form for Abuse
claimants approved in the Bar Date Order was not properly before the Bankruptcy Court and was
not designed to elicit sufficient information to establish the prima facie validity of Claims. On
June 22, 2020, the Debtors filed a motion to dismiss the Century Bar Date Appeal [Century Bar
Date Appeal, D.I. 4], and additionally prepared and filed extensive briefing in support of the


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motion to dismiss. On March 29, 2021, the District Court entered an order dismissing Century’s
appeal and closing the case [D.I. 2466]. The District Court concurrently issued a Memorandum
Opinion [D.I. 2466-1], finding that the Bar Date Order is interlocutory and does not otherwise
warrant immediate review under 28 U.S.C. § 1292(b).

        On January 8, 2021, the Tort Claimants’ Committee filed the Restricted Assets Adversary
(the “TCC Case”) (Adv. Pro. No. 21-50032), seeking a determination that approximately $667
million of the Debtors’ total approximately $1 billion in assets are not restricted and, as such, that
they should be available to satisfy creditors’ Claims [D.I. 1913].74 The Tort Claimants’ Committee
alleged that the Debtors failed to show that there are any specific donation-related restrictions or
others on the assets that would make the assets unavailable to satisfy creditor Claims. Further, the
Tort Claimants’ Committee asserted that the Debtors failed to trace the restricted assets that were
commingled with unrestricted assets and to demonstrate that those assets were not used, spent, or
transferred.

        On April 14, 2021, the Bankruptcy Court issued an Order Approving Stipulation for
Further Extension of Time [TCC Case, D.I. 13], extending the day in which the Debtors must
answer, or otherwise respond to the complaint.75 On April 23, 2021, JPM filed a Motion to
Intervene [TCC Case, D.I. 15], arguing that its rights may be affected by the adversary proceeding
because some, if not all, of the disputed property is its prepetition collateral. On April 26, 2021,
the Debtors filed its Answer to the Tort Claimants’ Committee’s Complaint for Declaratory
Judgment [TCC Case, D.I. 16], explaining that the complaint fails to state a cause of action on
which relief can be granted. The answer also explains that the identified property is not property
of the estate, and is not available for distribution to general unsecured creditors. On April 27,
2021, JPM filed a Corporate Ownership Statement Pursuant to Federal Rule of Bankruptcy
Procedure 7007.1 [TCC Case, D.I. 17]. On May 14, 2021, JPM filed a certification of counsel
regarding the motion to intervene, stating that JPM has prepared a revised proposed order in
response to informal comments received from the Tort Claimants’ Committee; JPM also requested
the Bankruptcy Court enter the revised proposed order granting the motion to intervene without
further notice or hearing [TCC Case, D.I. 22].

        On July 16, 2021, the Bankruptcy Court approved a stipulation with the Tort Claimants’
Committee staying the Restricted Assets Adversary pending the outcome of the confirmation
hearing [TCC Case, D.I. 42]. The stay contemplated by such stipulation is still effect and shall
only terminate (a) by mutual agreement or (b) upon the occurrence of any of the following: (i) the
Bankruptcy Court’s entry of an order denying the approval of the Restructuring Support
Agreement; (ii) the Tort Claimants’ Committee or Debtors’ exercise of its or their respective rights
to terminate the Restructuring Support Agreement based on the “fiduciary out” provision of section
IV.C or section V.C of the Restructuring Support Agreement, as applicable; or (iii); the Bankruptcy
Court’s entry of an order denying confirmation of the Plan.




74   The Debtors are contributing substantial assets to the BSA Settlement Trust Contribution, above those which were previously
     proposed at the time this action was filed, in order to resolve any and all disputes regarding the Debtors’ designation of assets
     as “restricted” or “core,” including the claims asserted in this action.
75   The Bankruptcy Court retained jurisdiction over this adversary proceeding (Adv. Pro. No. 21-50032).


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         3.        Rule 2004 Exam Motions

       On September 29, 2020, the Tort Claimants’ Committee filed the Motion of the Official
Tort Claimants’ Committee Pursuant to Bankruptcy Rule 2004 and Local Rule 2004-1 for an
Order Authorizing the Issuance of Subpoenas for Discovery from Debtors and Certain Local
Councils [D.I. 1379] (the “TCC 2004 Motion”), requesting entry of an order authorizing the Tort
Claimants’ Committee to issue subpoenas to and directing discovery from the Debtors, Ad Hoc
Committee Members, and the Local Council listed on Exhibit B thereto. The Debtors, the Ad Hoc
Committee, and various Local Councils objected to the TCC 2004 Motion, and the Tort Claimants’
Committee ultimately withdrew the TCC 2004 Motion on November 25, 2020 [D.I. 1735].

         On January 22, 2021, Hartford Accident and Indemnity Company, First State Insurance
Company and Twin City Fire Insurance Company (collectively, “Hartford et al.”), and Century
filed Hartford and Century’s Motion for an Order (I) Authorizing Certain Rule 2004 Discovery
and (II) Granting Leave from Local Rule 3007-1(f) to Permit the Filing of Substantive Omnibus
Objections [D.I. 1972] (the “Hartford and Century’s Rule 2004 Motion”), which requested entry
of an order (i) authorizing Hartford et al. and Century to serve subpoenas, written discovery,
including interrogatories and document requests, and deposition notices pursuant to Rule 2004 on
a sampling of Persons who have filed Abuse Claims in these Chapter 11 Cases and (ii) providing
relief from the requirements of Local Rule 3007-1(f) to permit (but not require) parties in interest
in these Chapter 11 Cases to file omnibus Claim objections raising common legal issues to multiple
Claims and that may, most efficiently, be subject to resolution if heard together.

        On January 22, 2021, Hartford et al. and Century also filed Hartford and Century’s Motion
for Entry of an Order Authorizing Filing Under Seal of Certain Documents Relating to Hartford
and Century’s Motion for an Order (I) Authorizing Certain Rule 2004 Discovery and (II) Granting
Leave from Local Rule 3007-1(f) to Permit the Filing of Substantive Omnibus Objections [D.I.
1973] (“Motion to Seal”), which requested entry of an order (i) authorizing Hartford et al. and
Century to file under seal certain portions of Hartford and Century’s Rule 2004 Motion and certain
supporting documents (the “Supporting Documents”); (ii) directing that information contained in
the redacted portions of Hartford and Century’s Rule 2004 Motion and the Supporting Documents
(collectively, the “Confidential Information”) shall remain under seal and confidential pursuant
the Bar Date Order [D.I. 695] (entered by the Bankruptcy Court on May 26, 2020) and shall not
be made available to anyone, except to the Bankruptcy Court, the Office of the United States
Trustee for the District of Delaware, and the Permitted Parties (as defined in the Bar Date Order);
and (iii) granting related relief.

        On January 25, 2021, Agricultural Insurance Company filed a joiner in support of Hartford
and Century’s Rule 2004 Motion [D.I. 1979]. On February 2, 2021, Hartford et al. and Century
filed a revised proposed redacted version of their Rule 2004 Motion, which resolved the U.S.
Trustee’s informal comments to Hartford and Century’s Motion to Seal [D.I. 2007]. On February
2, 2021, Travelers Casualty and Surety Company, Inc., St. Paul Surplus Lines Insurance Company,
and Gulf Insurance Company filed a joinder in support of Hartford and Century’s Rule 2004
Motion [D.I. 2008] with several other parties subsequently filing joinders.76

76   The following parties also filed joinders in support of Hartford and Century’s Rule 2004 Motion: (a) Allianz Global Risks
     U.S. Insurance Company, National Surety Corporation, and Interstate Fire & Casualty Company [D.I. 2026]; (b) Columbia


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        On February 5, 2021, the Coalition filed an objection to Hartford and Century’s Rule 2004
Motion, asserting: (I) there is no evidence that the law firms violated Rule 9011 or committed
fraud, (II) claim discovery is premature, (III) the insurers lack standing to seek Rule 2004
discovery, (IV) the insurers failed to establish good cause for the proposed discovery, (V) signing
a Proof of Claim does not constitute a privilege waiver or make an attorney a fact witness, and
(VI) the insurers’ request for discovery is designed to prevent a reorganization [D.I. 2043].77 That
same day, Claimant 40573 similarly filed an objection to Hartford and Century’s Rule 2004
Motion, stating that Claimant 40573 has a legitimate, timely submitted Claim and that the proposed
discovery instruments are redundant of the Claim form [D.I. 2066]. Claimants known by Claim
numbers 18867, 43995, and 50263, also filed an objection to Hartford and Century’s Rule 2004
Motion stating, among other things, that while Rule 2004 discovery may be justified in instances
where claimants provided inadequate information, these three claimants already provided, under
penalty of perjury, the same information sought in the insurers’ proposed discovery [D.I. 2085].

        On February 5, 2021, claimants 3675, 18787, 28206, 32230, 38281, 48081, 48446, 60443,
and 63751, by and through their undersigned counsel (the “PCVA Claimants”), filed an objection
to Hartford and Century’s Rule 2004 Motion on the ground that (1) the insurers failed to meet and
confer before filing their motion, (2) they fail to establish good cause for their requested Rule 2004
examinations, and (3) during a meet and confer that took place after they filed their motion, the
insurers agreed to narrow the scope of their requested Rule 2004 examinations [D.I. 2088].
Subsequently, claimant 5502 [D.I. 2099] and claimant 54540 [D.I. 2107] filed joinders to the
PCVA Claimants’ objection. On February 16, 2021, the PCVA Claimants withdrew their
objection to Hartford and Century’s Rule 2004 Motion after the movants agreed to withdraw their
motion as to the PCVA Claimants [D.I. 2212].

         On February 5, 2021, claimants represented by the law firm of Crew Janci LLP objected
to Hartford and Century’s Rule 2004 Motion on the grounds that (1) the movants failed to meet
and confer before filing the motion; (2) the requested discovery is overly broad by design; (3) the
requested discovery is unduly burdensome and seeks information that is largely duplicative of that
already provided; and (4) the requested discovery is inappropriate because of underlying pending
litigation [D.I. 2092]. On February 16, 2021, the claimants represented by Crew Janci LLP
withdrew their objection [D.I. 2205].

        Also on February 5, 2021, Andrews & Thornton, Attorneys at Law (“A&T”) and ASK LLP
(“ASK”) filed a motion seeking entry of an order (i) authorizing A&T and ASK to file under seal
certain portions of their objection to Hartford and Century’s Rule 2004 Motion; (ii) directing that
information contained in the redacted portions of the objection remain under seal and confidential
pursuant to the terms of the Bar Date Order; and (iii) granting related relief [D.I. 2083].


     Casualty Company, The Continental Insurance Company as successor in interest to certain policies issued by Harbor Insurance
     Company, The Continental Insurance Company successor by merger to Niagara Fire Insurance Company, and The Continental
     Insurance Company [D.I. 2065]; (c) National Union Fire Insurance Company of Pittsburgh, Pa., Lexington Insurance
     Company, Landmark Insurance Company, The Insurance Company of the State of Pennsylvania, and their affiliated entities
     (collectively, “AIG”) [D.I. 2070]; (d) General Star Indemnity Company [D.I. 2136]; and (e) Liberty Mutual Insurance
     Company, together with its affiliates and subsidiaries [D.I. 2168].
77   On February 5, 2021, there were numerous joinders to the Coalition’s objection filed by various law firms and claimants [D.I.
     2054, D.I. 2060, D.I. 2062, D.I. 2069, D.I. 2074, D.I. 2077, D.I. 2078, D.I. 2079, D.I. 2080, D.I. 2081, D.I. 2082, D.I. 2084,
     D.I. 2087, D.I. 2089, D.I. 2090, D.I. 2091, D.I. 2093, D.I. 2094, D.I. 2098, D.I. 2101, D.I. 2102, D.I. 2108, and D.I. 2117].


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        On February 11, 2021, Century filed a sealed declaration of Erich J. Speckin, who was
retained by Century to examine the handwriting and signatures on the Proofs of Claim submitted
by claimants in these Chapter 11 Cases [D.I. 2175]. Mr. Speckin indicated, among other things,
that for some claimants, the claimant signature in the Proof of Claims does not match the
claimant’s signature found in public records. Id. at 5. On February 11, 2021, Hartford et al. and
Century also filed Insurers’ Reply Brief in Support of Motion for an Order Authorizing Rule 2004
Discovery of Certain Proofs of Claim [D.I. 2180]. Among other things, the reply stated that
insurers have standing to seek discovery under Rule 2004, and discovery is necessary for
Confirmation. That same day, the Coalition filed a supplement to its objection to Hartford and
Century’s Rule 2004 Motion, asserting that the insurers refuse to disclose the Claims information
they already possess and the insurers do not have a statistical model that would permit them to
draw inferences on the entire pool of Abuse Claims [D.I. 2184].

        On February 15, 2021, the Coalition filed a motion to authorize the Coalition to file a Sur
Reply for the limited purpose of addressing the new legal argument and factual representations
and omissions raised in the Insurers’ Reply Brief in Support of Motion for an Order Authorizing
Rule 2004 Discovery of Certain Proofs of Claim [D.I. 2196]. The D. Miller & Associates PLLC
[D.I. 2197], Eisenberg, Rothweiler, Winkler, Eisenberg & Jeck, P.C. [D.I. 2201], and Timothy D.
Kosnoff, Esquire [D.I. 2207], filed joinders to the Coalition’s motion to file a Sur Reply to the
insurers’ reply brief.

        On February 16, 2021, Timothy D. Kosnoff, Esquire filed a motion to strike Insurers’
Reply Brief in Support of Motion for an Order Authorizing Rule 2004 Discovery of Certain Proofs
of Claim, stating the reply brief contains arguments and factual material that should have been
included in their original motion [D.I. 2204]. On the same day, Century et al. and Hartford filed
an opposition to Timothy Kosnoff’s (i) motion to strike insurer’s reply brief and (ii) Sur-Reply in
support of objection to insurers’ motion to authorize Rule 2004 discovery of certain Proofs of
Claim [D.I. 2230]. Century et al. and Hartford’s opposition asserts that Mr. Kosnoff’s brief does
not offer facts to challenge Mr. Erich J. Speckin’s conclusions regarding Proofs of Claim and Mr.
Speckin is a competent and skilled forensics practitioner, who is a qualified witness [D.I. 2230].

        On February 16, 2021, Century et al. filed a declaration of Larry F. Stewart, an expert
retained by Century et al., in support of the motion for discovery under Rule 2004, which stated
that Mr. Stewart has observed numerous irregularities in thousands of Proofs of Claim regarding
their creation and has found thousands of examples of incorrect forms that require additional
scrutiny, before deeming them authentic [D.I. 2232].

         On February 19, 2021, the Bankruptcy Court entered an order authorizing Century et al.
and Hartford’s motion to file under seal certain documents relating to the motion for an order (I)
authorizing certain Rule 2004 discovery and (II) granting leave from local Rule 3007-1(f) to permit
the filing of substantive omnibus objections [D.I. 2247].

        On March 4, 2021, Century et al. and Hartford filed a statement regarding the Amended
Plan and pending Rule 2004 motions [D.I. 2316], stating that the discovery the insurers seek will
shed light on the increase in pending Abuse Claims and, by allowing all parties to uncover the
facts, pave the way toward building consensus. On March 8, 2021, Allianz Global Risks U.S.
Insurance Company, National Surety Corporation, and Interstate Fire & Casualty Company filed


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a joinder to Century and Hartford’s Statement Regarding the Recently-Filed Plan of
Reorganization and Pending Rule 2004 Motions [D.I. 2331].

        On March 17, 2021, the Bankruptcy Court took under advisement the insurers’ sealed
motion for an order authorizing Rule 2004 discovery of certain Proofs of Claims [D.I. 1974, 1975],
and Century et al. and Hartford’s sealed motion for an order (I) authorizing certain Rule 2004
discovery and (II) granting leave from local Rule 3007-1(f) to permit the filing of substantive
omnibus objections [D.I. 1971, 1972]. See Mar. 17, 2021 Hr’g Tr. 51:9–52:13. On August 30,
2021, the Bankruptcy Court denied the certain insurers’ motion seeking discovery of individual
claimants. See Aug. 30, 2021 Hr’g Tr. 43:2–46:9. The Bankruptcy Court permitted depositions
of the claims aggregators listed in the later-filed sealed Rule 2004 motion. Id. at 46:10–46:21. On
September 9, 2021, the Bankruptcy Court entered an order incorporating the August 30, 2021
ruling and granting the later-filed discovery motion in part. See Order Granting In Part Insurers’
Motion for an Order Authorizing Certain Rule 2004 Discovery [D.I. 6184].

         4. Rule 2019 Motions

        On August 24, 2020, the Coalition filed a motion requesting authorization to redact and
file under seal certain information in connection with its Rule 2019 statement (the “2019 Motion”)
[D.I. 1144]. Two days later, Century and Hartford filed a joint motion to compel the Coalition to
submit disclosures required by Bankruptcy Rule 2019 (the “Joint Motion to Compel”) [D.I.
1164].78 On September 4, 2020, the Coalition filed an omnibus reply to the various objections in
support of its 2019 Motion, arguing that it had disclosed its authorizing documents as required by
Rule 2019(c)(4) and was not required to produce 12,000 engagement letters in order to comply
with Rule 2019(c)(4) [D.I. 1257]. At the September 9, 2020 hearing, the Bankruptcy Court granted
in part and denied in part the Coalition’s 2019 Motion, and required that all relevant Rule 2019
information in the Coalition’s statement be filed in an unredacted form, except for the personally
identifiable information of the Abuse victims.79

        On October 7, 2020, the Coalition filed an amended Rule 2019 statement and supplemental
brief in support of its 2019 Motion [D.I. 1429, 1432]. Additionally, on the same day, the Court
entered an Order Granting in Part and Continuing in Part Motion of the Coalition of Abused Boy
Scouts for Justice for (I) an Order Authorizing the Coalition to File Under Seal Exhibit A to the
Amended 2019 Statement and (II) Approving the Sufficiency of the Amended 2019 Statement [D.I.
1435]. The order authorized the Coalition to file Exhibit A of its amended 2019 statement with
the personally identifiable information filed under seal; however, the Coalition shall provide copies
of the personally identifiable information to certain parties, such as the U.S. Trustee, Century,
Hartford, and others, upon request.

       On October 13, 2020, the Coalition filed a supplement to its amended Rule 2019 statement
and, on October 23, 2020, the Court entered an Order Approving the Adequacy and Sufficiency of
the Amended Verified Rule 2019 Statement Filed by the Coalition for Abused Scouts for Justice

78   Numerous parties filed joinders to the Joint Motion to Compel and objections to the Coalition’s 2019 Motion, including
     Allianz, the Tort Claimants’ Committee, and the U.S. Trustee [D.I. 1177, 1218, 1219, 1220, 1223, 1224, 1227, 1228, 1248,
     1261, 1499].
79   Transcript of Hearing at 122:12-25, 123:1-22, In re Boy Scouts of America and Delaware BSA, LLC, Case No. 20-10343
     (LSS) (Bankr. D. Del. Sept. 9, 2020) [D.I. 1307].


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[D.I. 1510, 1572]. On October 29, 2020, the Coalition filed its Final Redacted Version of Revised
Exhibit A to the Second Amended Rule 2019 Statement [D.I. 1600]. Thereafter, on January 29,
2021, the Coalition filed its Third Amended Verified Statement pursuant to Rule 2019 [D.I. 1996].

       On February 3, 2021, Century filed a motion to compel both the Coalition and Abused in
Scouting to submit supplemental Rule 2019 disclosures (the “Century Motion”) [D.I. 2030]. On
the same day, Hartford also filed a motion to compel Abused in Scouting to submit the disclosures
required by Rule 2019 (the “Hartford Motion”) [D.I. 2028]. On February 10, 2021, Abused in
Scouting filed an omnibus response to the Century Motion and Hartford Motion, arguing that
Abused in Scouting is a “collaboration of law firms promoting a message” and is not required to
submit disclosure pursuant to Rule 2019 [D.I. 2143]. On May 18, 2021, the Coalition filed a
supplement to its third amended Rule 2019 statement and its Final Redacted Version of
Supplement to Third Amended Verified Statement [D.I. 4657, 4658].

        At the July 29, 2021 hearing, the Court ordered Abused in Scouting to file a Rule 2019
statement to disclose whom they represent, and on August 9, 2021 the Court issued its Order
Granting (I) Hartford Accident and Indemnity Company, First State Insurance Company and
Twin City Fire Insurance Company’s Motion to Compel Abused in Scouting and Kosnoff Law
PLLC to Submit Rule 2019 Disclosures; and (II) Century’s Motion to Compel Abused in Scouting,
Kosnoff Law PLLC and the Coalition to Submit the Disclosures Required by Federal Rule of
Bankruptcy Procedure 2019 [D.I. 5902]. On August 9, 2021, Abused in Scouting filed its Verified
Statement of Abused in Scouting Pursuant to Rule of Bankruptcy Procedure 2019, explaining that
Abused in Scouting is a cooperative effort by three law firms (i.e., Kosnoff Law, PLLC; AVA
Law Group, Inc. and Eisenberg, Rothweiler, Winkler, Eisenberg & Jeck, P.C.) to act as co-counsel
for the claimants who have engaged them in the Chapter 11 Cases [D.I. 5917, 5923]. Abused in
Scouting’s Rule 2019 verified statement disclosed that the three law firms represent 15,103 Abuse
Survivors, of which 3,054 are also members of the Coalition. That same day, Kosnoff Law, PLLC
(“Kosnoff Law”) filed its Verified Statement of Kosnoff Law, PLLC Pursuant to Rule of
Bankruptcy Procedure 2019 [D.I. 5919, 5924]. In its Rule 2019 verified statement, Kosnoff Law
disclosed that it represents 15,103 Abuse Survivors, of which 3,054 are also members of the
Coalition.

         5. Personal Injury Settlement Motions

       The Debtors filed motions for entry of orders approving various settlements in connection
with personal injury and wrongful death actions (the “Personal Injury Settlements”)80 and lifting
the automatic stay, to the extent necessary, to permit payments of the settlement amount by
applicable insurance. The Bankruptcy Court entered orders approving the settlement agreements,
and modifying the automatic stay of 11 U.S.C. § 362(a) for the parties to consummate the
settlement agreements.



80   These include, but are not limited to, approving Qian Settlement Agreement [D.I. 1123], Wilson Settlement Agreement [D.I.
     1596], Worley Settlement Agreement [D.I. 1598], Gordon Settlement Agreement [D.I. 1880], Henderson Settlement
     Agreement [D.I. 1881], and Neyrey Settlement Agreement [D.I. 1986]. On September 2, 2021, the Debtors filed motions to
     approve the Romero Settlement Agreement [D.I. 6155] and the Knight Settlement Agreement [D.I. 6154], and to lift the
     automatic stay, to the extent necessary, to permit payments of the settlement amount by applicable insurance.


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R.       Material Settlements and Resolutions

       In addition to the agreement by the Debtors to make the BSA Settlement Trust Contribution
to the Settlement Trust and the agreement of the Local Councils to make the Local Council
Settlement Contribution to the Settlement Trust, each as described fully above, the following
settlements are incorporated into the Plan.

         1.     JPM / Creditors’ Committee Settlement

        As of the filing of this Disclosure Statement, the Plan (as further described in Article VI of
this Disclosure Statement and Article V.S of the Plan), effectuates a settlement among (i) the
Debtors, (ii) the Creditors’ Committee, and (iii) JPM (the “JPM / Creditors’ Committee
Settlement”). The JPM / Creditors’ Committee Settlement represents a good-faith agreement
negotiated at arm’s length that provides significant value to the holders of Convenience Claims,
General Unsecured Claims, and Non-Abuse Litigation Claims and provides the Debtors with more
favorable terms under the amended and restated debt facilities provided by JPM on and after the
Effective Date under the Restated Debt and Security Documents.

       Specifically, the JPM / Creditors’ Committee Settlement provides, among other things, the
following terms with respect to general unsecured creditors (other than Abuse Claims):

        General Unsecured Claims (other than Abuse Claims), which are held by creditors who are
         core to the Debtors’ mission or creditors whose Claims, if Allowed, were incurred in
         furtherance of the Debtors’ mission, shall be classified into three Classes: (i) General
         Unsecured Claims; (ii) Convenience Claims; and (iii) Non-Abuse Litigation Claims; Cash
         under the Plan to satisfy Allowed General Unsecured Claims and Convenience Claims will
         be made from Cash relating to the BSA’s core assets.

        Holders of Allowed General Unsecured Claims (including holders of Claims under the
         Restoration Plan, the Deferred Compensation Plan, holders of trade Claims, and holders of
         Rejection Damages Claims) will receive, on account of such Claims, their Pro Rata Share
         of the Core Value Cash Pool, which shall be funded by reorganized BSA in four semi-
         annual installments of $6,250,000, beginning 180 days after the Effective Date and
         concluding two years after the Effective Date. Any Cash remaining in the Core Value Cash
         Pool after all Allowed General Unsecured Claims have been satisfied in full, shall be first
         used to fund any shortfall in payments from the BSA’s available insurance and co-liable
         non-Debtors on account of any Non-Abuse Litigation Claims, and then be transferred to
         and vest in Reorganized BSA.

        Holders of General Unsecured Claims or Non-Abuse Litigation Claims (subject to Article
         IV.B.4 of the Plan, as applicable, including first seeking to recover from insurance, and
         having exhausted all remedies with respect to such applicable insurance policy) that have
         an Allowed Claim of $50,000 or less and shall become Convenience Class Claims, which
         are paid by Reorganized BSA in full, using Cash on hand, on the Effective Date of the
         Amended Plan or, if such Claim becomes allowed after the Effective Date, as soon as
         reasonably practicable after Allowance. Any holder of a General Unsecured Claim or Non-
         Abuse Litigation Claim that is Allowed in an amount greater than $50,000 may elect to


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       have its claim treated as a Convenience Claim and receive payment of $50,000 in Cash in
       full and final satisfaction of such Claim.

      Holders Non-Abuse Litigation Claims will, upon the liquidation of such Non-Abuse
       Litigation Claim following the Effective Date, be satisfied from the BSA’s available
       insurance and from any non-Debtor party or parties that may be determined to be co-liable
       with the Debtors on account of such Non-Abuse Litigation Claim and as provided for in
       Article IV.D.3 of the Plan, as applicable. No holder of an allowed Non-Abuse Litigation
       Claim shall be entitled to recover from the Core Value Cash Pool on account of such Claim,
       unless and until all allowed General Unsecured Claims have been paid in full. Solely, in
       the event any Non-Abuse Litigation Claim is not covered by applicable BSA Insurance
       Policies or there is a shortfall in BSA’s applicable insurance for such Non-Abuse Litigation
       Claim, following the exhaustion of remedies with respect to applicable insurance and any
       co-liable non-Debtor, in the case of the holder of an Allowed Non-Abuse Claim that is a
       Claim for personal injury or wrongful death, the terms and conditions of Article IV.D.3 of
       the Plan (as applicable), the holder of an Allowed Non-Abuse Litigation Claim may elect
       to have such Claim treated as a Convenience Claim and receive Cash in an amount equal
       to the lesser of (a) the amount of its Allowed Non-Abuse Litigation Claim and (b) $50,000.

      A Creditor Representative, to be selected by the UCC with the consent of the Debtors shall
       be appointed to assist with the reconciliation of General Unsecured Claims.

      The Pension Plan shall continue to be maintained, sponsored, and assumed.

       The JPM / Creditors’ Committee Settlement also provides, among other things, the
following terms with respect to JPM:

      JPM will enter into amended and Restated Debt and Security Documents on the Effective
       Date in principal amounts equal to the amounts of unpaid principal and accrued interest
       and fees as of the Effective Date and containing substantially the same terms as the
       Prepetition Debt and Security Documents, except that:

          o The maturity date on the principal under the amended and restated 2010 Bond
            Documents and the 2012 Bond Documents was extended to ten (10) years after the
            Effective Date and the Debtors were given a two (2) year payment holiday such
            that monthly principal installments for the first two (2) years are deferred until
            maturity;

          o The maturity date on the principal under the amended and restated 2010 Credit
            Facility Documents and the 2019 RCF Documents (with the revolving credit
            facilities under each being frozen and termed out under the amended and Restated
            Debt and Security Documents) was extended to ten (10) years after the Effective
            Date and the Debtors were given a two (2) year payment holiday such that monthly
            principal installments for the first two (2) years are deferred until maturity;

          o Pursuant to the amended and Restated Debt and Security Documents, the principal
            amounts payable will be reduced, on a pro rata basis amongst the facilities, by an


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                   amount equal to the Unrestricted Cash and Investments, if any, that have been
                   remitted to JPM under the Excess Cash Sweep (as described below); and

              o Beginning on December 31 two (2) years after the Effective Date and continuing
                each successive calendar year the calendar year that is immediately prior to the
                calendar year of the Maturity Date, Reorganized BSA shall remit to JPM twenty-
                five percent (25%) of its Unrestricted Cash and Investments in excess of
                $75,000,000, if any, as of such date with the payment due within 45 days (the
                “Excess Cash Sweep”), and JPM shall apply any such amounts on a Pro Rata basis
                to the unpaid principal balances under the amended and Restated Debt and Security
                Documents. However, no payments shall be made on account of the Excess Cash
                Sweep until the last Distribution is made on account of General Unsecured Claims
                two years after the Effective Date.81

        JPM was also granted Allowed Claims in the following amounts, plus any accrued but
         unpaid interest and reasonable fees and expenses as of the Effective Date to the extent not
         paid pursuant to the Cash Collateral Order:

              o on account of the 2010 Credit Facility Claims, an aggregate principal amount not
                less than $80,762,060 (including $44,299,743 of undrawn amounts under letters of
                credit issued under the 2010 Credit Facility Documents);

              o on account of the 2019 RCF Claims, an aggregate principal amount not less than
                $61,542,720 (including $41,542,720 of undrawn amounts under letters of credit
                issued under the 2019 RCF Documents);

              o on account of the 2010 Bond Claims, an aggregate principal amount not less than
                $40,137,274; and

              o on account of the 2012 Bond Clams, an aggregate principal amount not less than
                $145,662,101.

       In exchange for the agreements in the JPM / Creditors’ Committee Settlement, the
following term are also provided:

        Certain releases, including with respect to JPM as well as Debtor releases of all preference
         and other avoidance action Claims against holders of General Unsecured Claims and
         Convenience Claims.

        The Creditors’ Committee’s agreement to not seek standing, or otherwise pursue any
         prepetition avoidance-related Claim that could be asserted on behalf of the Debtors’ Estates
         against JPM or others, or to challenge the allowance of certain of the Claims of JPM.




81   Pursuant to the Debtors’ Financial Projections, no payments are expected through 2025.


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       2.       Restructuring Support Agreement

       The Debtors and RSA Supporting Parties entered into the Restructuring Support
Agreement pursuant to which the parties thereto agreed to take certain actions to support the
prosecution and consummation of the Plan on the material terms and conditions set forth in the
Restructuring Support Agreement. As described above, the Restructuring Support Agreement
expired by its own terms on August 27, 2021. However, the material terms and provisions of the
term sheet attached to the Restructuring Support Agreement have been incorporated into the Plan.

        In summary, the following are incorporated in the Plan pursuant to the term sheet attached
to the now expired Restructuring Support Agreement:

       (a)      the BSA agreed to contribute all Unrestricted Cash and Investments, which are
                forecast to total approximately $60 million subject to variance based on the
                Effective Date and the BSA’s cash flow performance up to and including the
                Effective Date, to the Settlement Trust;
       (b)      the BSA agreed to contribute the BSA Settlement Trust Note to the Settlement
                Trust, which will provide a second-lien security interest in the principal amount of
                $80 million;
       (c)      the BSA agreed to contribute the Artwork, with a mutually agreed value of $59
                million, to the Settlement Trust;
       (d)      the BSA agreed to contribute an estimated $11.6 million from sale-leaseback of the
                Warehouse and Distribution Center to the Settlement Trust;
       (e)      the BSA agreed to contribute the Oil and Gas Interests, at a mutually agreed value
                of $7.6 million, to the Settlement Trust;
       (f)      the BSA agreed to contribute the $1.902 million of net proceeds from the sale of
                Scouting University to the Settlement Trust;
       (g)      the Local Councils agreed to contribute at least $600 million to the Settlement
                Trust, comprised of $300 million of cash, $200 million of property, and a $100
                million interest-bearing variable-payment obligation note formed through a special
                purpose vehicle; and
       (h)      the BSA agreed to make certain other non-monetary commitments related to its
                Youth Protection programs and discovery support.
        The Property Contribution shall be structured as follows. The relevant Local Councils
shall agree to (a) retain title to the property (and pay insurance, property taxes, other associated
ownership costs and any yet unremoved debt), subject to, at the election, cost, and expense of the
Settlement Trust, a mortgage in favor of the Settlement Trust, (b) post the property for sale within
thirty days following the Effective Date, (c) present any written sale offer to the Settlement Trust
for approval, (d) present to the Settlement Trust for its review and approval all final proposed terms
of any sale and purchase offers (including price, timing and other terms) (“Proposed Final Terms”);
provided that if any Proposed Final Terms would impose additional costs on the Local Council
and the Settlement Trust accepts such Proposed Final Terms, at the Local Council’s option any

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such additional costs shall be deducted from the proceeds or paid by the Settlement Trust, and not
by the Local Council,82 (e) remit the proceeds of the sale to the Settlement Trust at closing net of
posting/listing/marketing fees, escrow fees, sales commissions, and other typical costs of sale.83

         The Settlement Trust may review the marketing and sales efforts undertaken by the Local
Council and request that the Local Council make changes to such marketing and sales efforts as
are appropriate and lawful; provided that any costs associated with such changes will be paid, at
the option of the Local Council, by the Settlement Trust or out of the proceeds of any sale. If the
Settlement Trust is unsatisfied with the sales and marketing effort, the Settlement Trust shall have
the right to require the Local Council to promptly transfer the property to the Settlement Trust by
quitclaim deed. If there is a shortfall or surplus of net proceeds as compared to Appraised Value,
the Settlement Trust shall bear the risk of the shortfall and keep the surplus. If the property is not
sold on or before the third anniversary of the Effective Date, the Local Council and the Settlement
Trust each shall have the right to require the prompt transfer of the property to the Settlement Trust
by quitclaim deed. If the Local Council receives a cash offer for the property the value of which
is at least equal to its Appraised Value, the Settlement Trust shall accept the offer if no superior
offer is made within thirty days (or, if a lesser time is specified in an offer received, then such
lesser time) or accept a quitclaim deed for the property. The Debtors have also included
appropriate provisions in the Plan to eliminate any transfer tax liabilities of the Settlement Trust
per section 1146(a) of the Bankruptcy Code.

        On the Effective Date, at the request of the Ad Hoc Committee, solely to facilitate
payments from the LC Reserve Account, the DST shall be established as of the Effective Date
pursuant to the terms of the Amended Plan, and the DST shall issue the DST Note in favor of the
Settlement Trust in the principal amount of $100 million. Local Councils shall make monthly
contributions into an account (and any replacement thereof) owned by the DST (the “LC Reserve
Account”) in an amount equal to the Required Percentage of the Local Councils’ respective
payrolls. Until the DST Note is extinguished, the LC Reserve Account shall be used only to fund
contributions to the Pension Plan in accordance with the next sentence and, to the extent of any
excess, to pay any Payment Amounts due under the DST Note. If at any time (including the end
of any Plan Year) (a) the present value of the accumulated benefits for the Pension Plan, as
determined in accordance with the requirements set forth in the definition of “Excess Balance”
below for the most recently ended Plan Year, exceeds (b) the market value of the assets of the
Pension Plan (clause (a) minus clause (b) being the “Shortfall Amount”), funds in the LC Reserve
Account will be deposited into the Pension Plan up to the lesser of the Local Councils’ collective
pro rata share of the Shortfall Amount or the balance in the LC Reserve Account.

       The DST Note shall be: (i) interest bearing at a rate of 1.5% per annum from the Effective
Date and without recourse except as to the LC Reserve Account; (ii) secured by a lien on the LC
Reserve Account; (iii) payable on each Payment Date in an amount equal to the applicable
Payment Amount; and (iv) prepayable in whole or in part at any time without premium or penalty.

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     By way of non-exclusive example, if the Proposed Final Terms requires the Local Council to retrofit a water system and the
     Settlement Trust accepts the Proposed Final Terms, the costs of the retrofit will, at the Local Council’s option be paid (or
     reimbursed) out of the sale proceeds or paid by the Settlement Trust.
83   For the avoidance of doubt, the proceeds of the sale shall be first applied to any debt or liens remaining on the property, which
     debt shall have already been reflected in the Appraised Value of the property as described below.



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The unpaid balance of the DST Note (if any) remaining on the Payment Date that is the fifteenth
anniversary of the First Payment Date (the “DST Note Maturity Date”) shall be automatically
extinguished and shall be considered forgiven and satisfied after giving effect to any required
payment on such date. Other than the lien on the LC Reserve Account, the Settlement Trust shall
have no other recourse for payment under the DST Note.

        3.      Hartford Insurance Settlement Agreement

       On September 14, 2021, the Debtors, the Ad Hoc Committee, the Future Claimants’
Representative, and Coalition, with the support of certain State Court Counsel, entered into the
Hartford Insurance Settlement Agreement, the approval of which is incorporated into the Plan.
The approval of the Hartford Insurance Settlement Agreement supersedes the Initial Hartford
Settlement Agreement.

         On April 15, 2021, the Debtors entered into the Initial Hartford Settlement Agreement,
which was opposed by the Coalition, Tort Claimants’ Committee, Future Claimants’
Representative, and certain holders of Direct Abuse Claims and their respective representatives.
Among other things, the Initial Hartford Settlement Agreement provided that Hartford would make
a contribution of up to $650 million to the Settlement Trust for the payment of Abuse Claims. In
return, the Initial Hartford Settlement Agreement provided, in pertinent part, for (i) the Debtors’
sale of the Hartford Policies to Hartford free and clear of the interests of all third parties, including
any additional or other named insureds under the Hartford Policies, with such interests to be
channeled to the Settlement Trust; (ii) the release of claims against Hartford by the Debtors and
Local Councils; and (iii) the channeling of all present and future claims against Hartford relating
to its provision of insurance coverage for Abuse Claims to the Settlement Trust.

         The Debtors believed that the Initial Hartford Settlement Agreement was fair and
reasonable and was in the best interests of their estates at the time they entered into the agreement.
After the announcement of the Initial Hartford Settlement Agreement on April 16, 2021, the Tort
Claimants’ Committee, Coalition, and Future Claimants’ Representative expressed vehement
opposition to the settlement in numerous filings, statements and appearances before the
Bankruptcy Court. Although the Debtors were hopeful that continued mediation sessions would
result in a resolution of the issues between Hartford, on the one hand, and the Tort Claimants’
Committee, Coalition, and Future Claimants’ Representative, on the other, after six weeks of
additional mediation, the parties had not wavered in their opposition to the Initial Hartford
Settlement Agreement. On June 9, 2021, the Debtors and Ad Hoc Committee received a letter
from the Coalition, Tort Claimants’ Representative, and Future Claimants’ Representative
informing the Debtors that the holders of Abuse Claims whom they represent would not support—
and would affirmatively vote to reject—any plan of reorganization that includes the terms of the
Initial Hartford Settlement Agreement, under any circumstances.

        In light of the opposition to the Initial Hartford Settlement Agreement, it appeared to the
Debtors that a plan of reorganization would not be confirmed to the extent it included the Initial
Hartford Settlement Agreement unless modifications were made to the Initial Hartford Settlement
Agreement that were agreeable to the representatives of the majority of holders of Direct Abuse
Claims. Accordingly, the Debtors filed the RSA Motion seeking entry of an order authorizing
entry into the Restructuring Support Agreement, and also determining that the Debtors had no


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obligation to seek approval of, and had no obligations under, the Initial Hartford Settlement
Agreement. As discussed above, while granting the RSA Motion in part, the Bankruptcy Court
declined to make the Debtors’ requested determination with respect to the Initial Hartford
Settlement Agreement.

       Without a clear path for removing the Initial Hartford Settlement Agreement from the Plan,
the Debtors, the Ad Hoc Committee, Hartford, the Coalition, the Future Claimants’ Representative
and the Tort Claimants’ Committee continued to engage in mediated negotiations regarding the
terms of a settlement with Hartford that would be acceptable to the parties. On August 27, 2021,
during those negotiations, the Restructuring Support Agreement expired in accordance with its
terms.

        These further mediation sessions produced a new settlement agreement (the Hartford
Insurance Settlement Agreement) with Hartford that is supported by the Debtors, the Ad Hoc
Committee, the Coalition, the Future Claimants’ Representative, and State Court Counsel. Those
terms and conditions are set forth in the Hartford Insurance Settlement Agreement, which is
incorporated into the Plan. The terms of the Hartford Insurance Settlement Agreement are
summarized in the term sheet appended to the Sixth Mediators’ Report [D.I. 6210] filed on
September 14, 2021 and below. In the event of any inconsistency, the terms set forth in the
Hartford Insurance Settlement Agreement shall control over the summary of those terms set forth
herein.

                      a.      BSA/Hartford Background

         Hartford issued primary and certain umbrella policies to the BSA for the period from
September 21, 1971 to January 1, 1978. Prior to the Petition Date, the BSA and Hartford were
engaged in litigation over the scope of coverage provided under the Hartford Policies. In that
litigation, Hartford raised a number of defenses that, if successful, would substantially reduce or
even eliminate coverage for the Abuse Claims, including that the BSA has breached conditions to
coverage; that the Abuse Claims arise out of a single occurrence under applicable law, which
Hartford believes is New Jersey law under its primary policies; and that the BSA and the Local
Councils expected or intended the injuries for which they seek coverage.

        Hartford has also contended, outside of litigation, that the BSA’s access to certain of its
policies is significantly limited, including that the BSA released and extinguished its primary
policies for January 1, 1976 to January 1, 1978 through a prepetition settlement; that it has no
coverage obligations for Abuse Claims that are barred by the applicable statute of limitations; and
that at least one of the Hartford primary policies has an applicable aggregate limit for Abuse
Claims.

       While the Debtors dispute many, if not all, of those contentions, continuing to litigate
against Hartford would not only drain the Debtors’ limited resources but could also create a
substantial risk that Hartford would ultimately pay significantly less toward Abuse Claims than it
would under the Hartford Insurance Settlement Agreement—and some risk that Hartford would
pay nothing.




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       The resolution of the coverage dispute reflected in the Hartford Insurance Settlement
Agreement was the product of extensive, arm’s-length negotiations between the Debtors, the Ad
Hoc Committee, the Coalition, the Future Claimants’ Representative, State Court Counsel, and
Hartford, with the active assistance of the Mediators. It represents a good-faith settlement and
compromise of complex disputes and will avoid the costs, risks, uncertainty, and delay associated
with protracted litigation, while providing payment on account of Abuse Claims.

      A summary of the key terms and conditions of the Hartford Insurance Settlement
Agreement, which has been incorporated into the Plan, is set forth below:

                              b.        The Hartford Settlement Contribution and Release Date84

        The Hartford Insurance Settlement Agreement provides for a total contribution of $787
million to the Settlement Trust (the “Hartford Settlement Contribution”) in exchange for treatment
as a Settling Insurance Company under the Plan, including all benefits afforded Protected Parties
with respect to the Channeling Injunction. On (or as soon as reasonably practicable after) the
Effective Date of the Plan, Hartford shall make the Hartford Settlement Contribution in the
following manner: (i) pay $137 million to the Settlement Trust (the “Initial Payment”) and (ii)
transfer $650 million into an interest-bearing escrow account (the “Additional Payment”), which
shall be released to the Settlement Trust on the Release Date (defined below).

        Hartford shall pay the Initial Payment to the Settlement Trust on, or as soon as reasonably
practicable after, the date all conditions to the effectiveness of the Plan have been satisfied
(including the entry of the Confirmation Order and Affirmation Order, which Confirmation Order
shall not be subject to any stay and shall be in full force and effect) and the Effective Date of the
Plan has occurred.

        Additionally, on (or as soon as reasonably practicable after) the Effective Date, Hartford
shall also pay the Additional Payment into an escrow account (the “Escrow Account”), to be
administered by an independent escrow agent. The Additional Payment (and all income earned
thereon minus (a) the fees of the escrow agent, and (b) any taxes that are payable and other costs
of the Escrow Account, which amounts in (a) and (b) shall be paid from the corpus of the Escrow
Account (such income (or loss) minus such amounts, the “Net Income”)) shall remain in the
Escrow Account until the Confirmation Order shall become final and no longer subject to any
further appeal or petition for rehearing or certiorari (“Final and Non-Appealable”), on which date
the Additional Payment, plus any Net Income, shall be released from the Escrow Account to the
Trust (the “Release Date”); provided, however, that, at its election, Hartford may authorize the
payment of the Additional Payment directly to the Settlement Trust on the Effective Date or may
authorize the release of the Additional Payment (and any Net Income) from the Escrow Account
to the Trust at any time thereafter before the Confirmation Order becomes Final and Non-
Appealable, in which event the date on which Hartford authorizes the payment or release of the
Additional Payment to the Settlement Trust shall be the Release Date. The Settlement Trust will
have investment discretion with respect to the Additional Payment while it is in the Escrow
Account, subject to Hartford’s reasonable approval of the investment protocol under which the
84   In the event of a conflict between the summary herein, on the one hand, and the terms and conditions of the Hartford Insurance
     Settlement Agreement Term Sheet or the Plan, on the other hand, the terms of the Hartford Insurance Settlement Agreement
     Term Sheet or the Plan shall control.


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Additional Payment may be invested by the Settlement Trust; provided, however, that the
Settlement Trust will bear all risks associated with any such investment of the Additional Payment
and that no loss or failure to achieve desired investment returns on the Additional Payment while
it is in the Escrow Account shall require Hartford to increase the Settlement Amount it is paying
(or increase the amount of BSA’s contribution to the Settlement Trust); provided further, however,
that the Debtors, Reorganized BSA, the Local Councils and Chartered Organizations shall have
no liability or obligations to Hartford or the Settlement Trust, the Settlement Trust shall have no
liability or obligations to Hartford, and Hartford shall have no liability or obligations to the
Settlement Trust (or any other party to the Hartford Insurance Settlement Agreement), whatsoever
for any loss or failure to achieve desired investment returns on the Additional Payment while it is
in the Escrow Account.

         Certain parties may contend that the Hartford Insurance Settlement Agreement impairs
other of the BSA’s Insurance Companies’ contribution rights; the BSA disagrees. Most of the
Abuse Claims that involve alleged Abuse during the years Hartford provided insurance coverage
to the BSA do not involve alleged Abuse during the years other insurers provided insurance
coverage to the BSA. Some of the other insurers assert that only policies in effect at the time of
the first instance of Abuse are implicated by the Abuse Claims. And, for the vast majority of the
years Hartford provided the BSA Insurance Coverage, the Insurance Companies will not have
contribution claims against Hartford as Hartford provided both the primary and excess Insurance
Policies that would be implicated by the Abuse Claims.

                      c.      Hartford Administrative Expense Claim

         The Hartford Insurance Settlement Agreement provides that, in accordance with the Plan,
and in compromise of its claims and in consideration of the releases and other consideration it is
providing, Hartford shall be granted an allowed administrative expense claim in the amount of $2
million (the “Hartford Administrative Expense Claim”) on account of Hartford’s alleged damages
under or relating to the Initial Hartford Settlement Agreement. The Debtors shall pay the Hartford
Expense Administrative Claim in full in cash to Hartford on, or as soon as reasonably practicable
after, the Effective Date. Fifty percent ($1 million) of the Hartford Administrative Expense Claim
shall be treated as an administrative expense claim in the calculation of the Net Unrestricted Cash
and Investments under the Plan; the other fifty percent shall reduce the Unrestricted Cash and
Investments otherwise reserved for Reorganized BSA upon emergence from bankruptcy on the
Effective Date.

                      d.      Termination of Initial Hartford Settlement Agreement

       Upon the Effective Date, and upon payment by the Debtors of the Hartford Administrative
Expense Claim, the Initial Hartford Settlement Agreement shall be deemed terminated, null, void
and of no further force and effect; provided, however, that in the event that BSA exercises its
Fiduciary Out (defined below) or takes another Specified Action (as defined below), the Initial
Hartford Settlement Agreement shall remain in effect solely to the extent necessary to permit
Hartford to assert its Additional Administrative Claim, as further described below.




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                       e.      Sale of Hartford Policies

        On the Release Date, in exchange for and upon receipt of the Additional Payment by the
Settlement Trust, the Hartford Policies shall be sold by the Debtors and their Estates to Hartford,
free and clear of all interests of the Estates and any person or entity other than the Estates, pursuant
to sections 363, 1123 and/or 1141 of the Bankruptcy Code, under the Plan, provided that the rights,
if any, of Chartered Organizations under the Hartford Policies shall be treated under the Plan in
accordance with sections 363 and 1141 of the Bankruptcy Code and other applicable law. Without
limiting the foregoing, although the parties to the Hartford Insurance Settlement Agreement do not
believe that such sale would constitute a violation of the automatic stay of any Chartered
Organization that is a debtor in bankruptcy and that asserts an interest in one or more Hartford
Policies, to the extent the Bankruptcy Court (or other court with jurisdiction) determines that the
sale would constitute such a violation, then the parties to the Hartford Insurance Settlement
Agreement shall seek a determination from the Bankruptcy Court that they may proceed with the
sale or relief from such stay to effectuate the sale of the Hartford Policies.

                       f.      Release by Hartford

        Upon the Release Date, and following its receipt of payment in full of the Hartford
Administrative Expense Claim, Hartford shall release the Debtors, Reorganized BSA, Related
Non-Debtor Entities, Local Councils, other Protected Parties, Limited Protected Parties, Settling
Insurance Companies, the Future Claimants’ Representative, the Coalition and the Settlement
Trust from all Causes of Action and Claims relating to (1) Abuse Insurance Policies, (2) the
Debtors’ bankruptcy proceedings, (3) the Plan, (4) the Initial Hartford Settlement Agreement, (5)
the 2010 BSA-Hartford settlement agreement, (6) the 2011 BSA-Hartford settlement agreement,
(7) (a) Abuse Claims against the Protected Parties and (b) Post-1975 Chartered Organization
Abuse Claims against the Limited Protected Parties, and/or (8) any Claims asserted by Hartford
against the Debtors or any of the Releasing Parties (as defined below), or by the Debtors or any of
the Releasing Parties against Hartford, in the Debtors’ Chapter 11 Cases; provided, however, that
the foregoing release by Hartford of the Limited Protected Parties in clause (1) of the foregoing
shall apply only with respect to Abuse Insurance Policies that are the subject of the Participating
Chartered Organization Insurance Assignment. Nothing with respect to the foregoing releases
precludes Hartford from enforcing the terms of the Hartford Insurance Settlement Agreement and
the Plan.

                       g.      Release of Hartford

        Upon the Release Date, the Debtors, Reorganized BSA, Related Non-Debtor Entities,
Local Councils, other Protected Parties, Limited Protected Parties, Settling Insurance Companies,
the Future Claimants’ Representative, the Coalition and the Settlement Trust (the “Releasing
Parties”) shall release Hartford from all Causes of Action and Claims relating to (1) Abuse
Insurance Policies, (2) the Debtors’ bankruptcy proceeding, (3) the Debtors’ Amended Plan, (4)
the Initial Hartford Settlement Agreement, (5) the 2010 BSA-Hartford settlement agreement, (6)
the 2011 BSA-Hartford settlement agreement, (7) (a) Abuse Claims against the Protected Parties
and (b) Post-1975 Chartered Organization Abuse Claims against the Limited Protected Parties,
and/or (8) any Claims asserted by Hartford against the Debtors or any of the Releasing Parties, or
by the Debtors or any of the Releasing Parties against Hartford, in the Debtors’ Chapter 11 Cases;


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provided, however, that the foregoing release by the Limited Protected Parties of Hartford in clause
(1) of the foregoing shall apply only with respect to Abuse Insurance Policies that are the subject
of the Participating Chartered Organization Insurance Assignment. In addition, the Trust
Distribution Procedures will require, as a condition to receive payment from the Settlement Trust,
that the Abuse Claim holder be deemed to have given a release in favor of Hartford. If another
Settling Insurance Company receives broader releases of Causes of Action and Claims under its
Abuse Insurance Policies than those provided to Hartford in the Hartford Insurance Settlement
Agreement or Plan, then Hartford shall receive the benefit of those broader releases with respect
to Causes of Action and Claims under Abuse Insurance Policies issued by Hartford.

                       h.      Chartered Organizations

        Under the Plan, the Debtors, the Coalition, the Future Claimants’ Representative and the
Settlement Trust shall secure an assignment to the Settlement Trust of, or otherwise resolve to the
satisfaction of the parties to the Hartford Insurance Settlement Agreement, Chartered
Organizations’ rights or claims to coverage under Abuse Insurance Policies issued by Hartford.
The Debtors, the Coalition and the Future Claimants’ Representative shall use their best efforts to
settle with the Chartered Organizations.

                       i.      Judgment Reduction

        In the event that any other insurer obtains a judicial determination or binding arbitration
award that it is entitled to obtain a sum certain from Hartford as a result of a Cause of Action for
contribution, subrogation, indemnification or other similar Cause of Action against Hartford for
Hartford’s alleged share or equitable share, or to enforce subrogation rights, if any, of the defense
and/or indemnity obligation for any Abuse Claim or for any Cause of Action released in the
Hartford Insurance Settlement Agreement, the Settlement Trust shall voluntarily reduce its
judgment or Cause of Action against, or settlement with, such other insurer(s) to the extent
necessary to eliminate such contribution, subrogation, indemnification or other similar Cause of
Action against Hartford. To ensure that such a reduction is accomplished, Hartford shall be
entitled to assert such paragraph in the Hartford Insurance Settlement Agreement as a defense to
any action against it for any such portion of the judgment or Cause of Action and shall be entitled
to have the court or appropriate tribunal issue such orders as are necessary to effectuate the
reduction to protect Hartford from any liability for the judgment or Cause of Action.

                       j.      Fiduciary Obligations of the Debtors and the Future Claimants’
                               Representative

        Notwithstanding anything in the Hartford Insurance Settlement Agreement to the contrary,
no term or condition of the Hartford Insurance Settlement Agreement shall require the Debtors or
the Future Claimants’ Representative to take or refrain from taking any action that it determines
in good faith would be inconsistent with its fiduciary duties under applicable law (the right to take
or refrain from taking such any action, a “Fiduciary Out”); provided, however, that the Debtors
and the Future Claimants’ Representative each understands that the Tort Claimants’ Committee is
not a party to the Hartford Insurance Settlement Agreement and that the Tort Claimants’
Committee may object to the Hartford Insurance Settlement Agreement and to the Plan and that
the Debtors and the Future Claimants’ Representative nevertheless believe that entering into the


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Hartford Insurance Settlement Agreement is an appropriate exercise of their respective fiduciary
duty.

        If the Debtors (1) exercise a Fiduciary Out, (2) do not seek confirmation of the Plan or to
have the Plan become effective, or (3) do not take all reasonable actions to defend Confirmation
of the Plan against any appeals or other challenges (whether the Debtors take any such action
before or after the Effective Date) (each of the actions or inactions referenced in clauses (1)–(3), a
“Specified Action”), Hartford may assert, and other parties to the Hartford Insurance Settlement
Agreement and State Court Counsel agree not to object to the assertion by Hartford of, an
administrative expense claim, which shall be reserved for prior distributions to unsecured
creditors, in addition to the Hartford Administrative Expense Claim, of $23.61 million (the
“Agreed Amount” with such claim being the “Hartford Additional Administrative Expense
Claim”); provided, however, that if the occurrence of a Specified Action is due to the enactment
of congressional legislation prohibiting non-debtor releases, the parties to the Hartford Insurance
Settlement Agreement and State Court Counsel agree that Hartford may not assert the Additional
Hartford Administrative Claim. If BSA takes a Specified Action, Hartford shall not seek any claim
other than the Hartford Administrative Expense Claim (and the Hartford Administrative Claim),
and shall not seek the Hartford Additional Administrative Expense Claim in an amount greater
than the Agreed Amount, and other parties to the Hartford Insurance Settlement Agreement and
State Court Counsel shall not object to the Hartford Additional Administrative Expense Claim or
argue that it should be allowed in an amount less than the Agreed Amount unless they reasonably
contend that no Specified Action has occurred. Upon the Effective Date, Hartford shall release
the Debtors from any administrative expense claim arising out of the Debtors’ failure to seek
approval of the Initial Hartford Settlement Agreement other than (1) the Hartford Administrative
Claim and (2) in the event that BSA exercises a Fiduciary Out or takes another Specified Action,
the Hartford Additional Administrative Expense Claim. Said release shall survive any Reversal
(as defined below) and any termination of the Hartford Insurance Settlement Agreement. BSA
shall, prior to exercising a Fiduciary Out, timely consult with the Coalition and Future Claimants’
Representative.

                       k.      Effect of Reversal of Confirmation Order Following the
                               Effective Date

         In the event that the Confirmation Order is reversed or vacated on appeal following the
Effective Date, such that the Release Date does not occur (a “Reversal”), the parties to the Hartford
Insurance Settlement Agreement and State Court Counsel agree that Hartford shall (a) nevertheless
be entitled to retain the $2 million to be paid to it in respect of the Hartford Administrative Expense
Claim and (b) be entitled to a credit against any liability Hartford may have under any Abuse
Insurance Policies issued to the Debtors or any Local Council, which credit shall be equal to the
amount of the Initial Payment plus, if Hartford has authorized the payment or release of the
Additional Payment to the Settlement Trust, the amount of the Additional Payment (the “Credit”);
provided, however, that if Hartford has not authorized the payment or release of the Additional
Payment, then the Additional Payment and all Net Income accrued thereon in the Escrow Account
(or, if there is a loss as a result of investment of the Additional Payment, then the funds remaining
in the Escrow Account) shall be released from the Escrow Account to Hartford promptly following
the Reversal (or any exercise of a Fiduciary Out by the Debtors or the occurrence of a Specified
Action). The parties to the Hartford Insurance Settlement Agreement and State Court Counsel


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have agreed to cooperate in good faith to ensure that Hartford may obtain the benefit of the
Hartford Administrative Expense Claim and the Credit. The foregoing provisions of Hartford
Insurance Settlement Agreement shall survive any Reversal, any exercise of any Fiduciary Out,
and any termination of the Hartford Insurance Settlement Agreement.

                             l.        Other Provisions of the Hartford Insurance Settlement
                                       Agreement

        Pursuant to the Hartford Insurance Settlement Agreement, Hartford agreed to refrain from
objecting to the Plan, the Disclosure Statement, the Solicitation Procedures, the Settlement Trust
Agreement, or the Trust Distribution Procedures (and to withdraw any pending objections) as well
as the findings and orders included in the expired Restructuring Support Agreement so long as it
is included as a Settling Insurance Company and Protected Party under the Plan and this Disclosure
Statement and the Plan are otherwise consistent with the terms of the Hartford Insurance
Settlement Agreement. Hartford’s agreement not to object to such findings and orders does not
indicate Hartford’s support for such findings and orders; rather, Hartford will be treated as a
Settling Insurance Company and Protected Party under the Plan, and as a result, it takes no position
on such findings and orders or on the Trust Distribution Procedures.

                             m.        Channeling Injunction and Releases in Favor of Hartford as a
                                       Settling Insurance Company and Protected Party under the
                                       Plan

       Hartford will be a Settling Insurance Company and a Protected Party under the Plan and
will be provided all benefits and protections afforded to Settling Insurance Companies and
Protected Parties, including (a) the Channeling Injunction set forth in Article X.F of the Plan,
which will permanently enjoin any person or entity from asserting any Abuse Claim against
Hartford and will channel all such present and future Abuse Claims against Hartford to the
Settlement Trust, and (b) the Releases and related Injunction set forth in Articles X.J and Article
X.L of the Plan, which will (i) provide releases of certain claims against Hartford by the Debtors
and their Estates and by holders of Abuse Claims, and (ii) permanently enjoin all holders of claims
released under Article X.J of the Plan from asserting such released claims against Hartford. The
Channeling Injunction and the Releases and related Injunction set forth in Articles X.F, X.J, and
X.L of the Plan are further described in Article VI.Q of this Disclosure Statement.

         4.        TCJC Settlement Agreement85

                             a.        BSA/TCJC Background

        Historically, the TCJC and the BSA shared a close and long-standing relationship in
Scouting. TCJC had been an important Chartered Organization and partner of the BSA until
December 31, 2019, when TCJC concluded its 105-year relationship as a Chartered Organization
with all Scouting programs around the world, including the BSA. Since 1959, TCJC’s
participation in Scouting steadily increased until the termination of its affiliation with the BSA.
For at least a part of the time during which TCJC was a Chartered Organization, it shared certain
85   Capitalized terms used but not defined in this summary shall have the meanings ascribed to such terms in the TCJC Settlement
     Agreement or the Plan, as applicable.


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co-insurance rights with the BSA under the BSA’s Insurance Policies, as described in greater detail
above. TCJC has asserted indemnification claims against the Debtors for liabilities incurred prior
to the Petition Date in a liquidated amount of over $62 million and has asserted unliquidated
indemnification claims against the Debtors for Abuse Claims that may be asserted against TCJC.

         Of the more than 82,200 unique timely Direct Abuse Claims filed in these Chapter 11
Cases, the Debtors have identified approximately 7,700 such claims that could potentially be
attributable to TCJC’s involvement with Scouting. The 7,700 claims initially identified by the
Debtors included (i) approximately 2,850 such claims that directly identify TCJC, (ii)
approximately 650 such claims that contain information tied to other Abuse Claims attributable to
TCJC, and (iii) approximately 4,200 such claims relating to Local Councils with more than fifty
percent (50%) of their membership historically comprised of TCJC members. The Debtors’
process for identifying these 7,700 claims involved identifying information included on the face
of the timely filed Direct Abuse Claims that could potentially relate to or implicate TCJC.

         TCJC fundamentally disagrees with the number of potentially TCJC-related claims
asserted by the Debtors. Upon receiving the 7,700 claims and related data, TCJC asserts that it
performed an extensive and thorough statistical sampling analysis. This analysis involved a
methodical review of the claims and underlying facts instead of focusing solely on facially-present
criteria or key terms. As a result of this analysis, TCJC reached the conclusion that the vast
majority of the 7,700 claims identified by the Debtors were invalid as to TCJC based on a variety
of factors. Namely, TCJC reviewed the 7,700 claims for duplicates, whether any of the claims
were previously settled, whether there was a legitimate connection to TCJC, whether the claims
were barred by statutes of limitations, whether the claims should be covered by insurance, and
whether the alleged perpetrator is or was affiliated with TCJC, among other factors. Out of the
7,700 claims identified by the Debtors, TCJC’s analysis found that only 324 claims have value in
the tort system.

        Based on this analysis, TCJC engaged in significant negotiation and routinely exchanged
information with the Debtors, the Coalition, the Tort Claimants’ Committee, the Future Claimants’
Representative, the Ad Hoc Committee, and other mediation parties, with the assistance of the
Court-approved Mediators. In addition to sharing the results and underlying data of the
aforementioned analysis conducted by TCJC, TCJC also provided the relevant mediation parties
with an overview of its historical settlements and an analysis relating to potential tort system values
for certain Direct Abuse Claims. As a result of these negotiations within the context of mediation,
and based upon the extensive work performed by TCJC, the parties arrived at the TCJC Settlement,
the terms of which are described herein.

        The Coalition and TCC believe that holders of Abuse Claims have valuable Claims against
the TCJC; however, as noted above, TCJC has significant and potentially meritorious defenses to
Abuse Claims that pose impediments to obtaining recoveries on behalf of holders of Abuse Claims.
As previously stated, TCJC maintains that the vast majority of the claims identified by the Debtors
have no connection to TCJC or are invalid for other reasons. Additionally, TCJC predominantly
participated in Scouting in states that currently have “closed” statutes of limitation, such as Utah.
The Settlement Trust would necessarily expend significant time and Settlement Trust assets
pursuing such Claims against TCJC. Moreover, as a Chartered Organization, TCJC was a
beneficiary under the BSA Insurance Policies since 1976, and TCJC asserts that it is a beneficiary


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of BSA Insurance Policies issued prior to 1976 and of Local Council Insurance Policies. TCJC
has also filed various objections86 to the Disclosure Statement, further highlighting the fact that
TCJC holds valuable claims against the insurance companies arising under the BSA Insurance
Policies and the Local Council Insurance Policies, as well as contractual indemnity rights against
BSA and certain Local Councils arising from Scouting-related Claims. Additionally, TCJC’s
alleged indemnification claims could, if allowed, potentially reduce any recoveries on account of
such Abuse Claims. Further, the cooperation of TCJC is critical to accessing important and
valuable insurance rights. Pursuant to the TCJC Settlement, the Settlement Trust’s access to
recoveries from TCJC will be immediate and will provide $250 million of additional Cash to the
Settlement Trust as set forth in the TCJC Settlement, as opposed to lengthy litigation that would
otherwise be necessary to obtain recoveries. There is also a substantial risk that TCJC would
ultimately pay significantly less toward Abuse Claims than it would under the TCJC Settlement
Agreement. As such, by virtue of TCJC’s thorough analyses shared with all relevant parties in
Mediation, TCJC maintains that not only is the TCJC Settlement fully supported by the facts
underlying the claims, in addition to historical settlement values, the TCJC Settlement also
represents a significant premium above what the facts support.

       The resolution of the liability dispute reflected in the TCJC Settlement Agreement was the
product of extensive, good faith and arm’s-length negotiations among the Debtors, the Coalition,
the Future Claimants’ Representative, State Court Counsel, TCJC, and other mediation parties
with the active assistance of the Court-appointed Mediators. The TCJC Settlement represents a
good-faith settlement and compromise of complex disputes and will avoid the costs, risks,
uncertainty, and delay associated with protracted litigation, while providing payment on account
of Abuse Claims. The Debtors, Coalition and Future Claimants Representative fully support the
TCJC Settlement and recommend that holders of Abuse Claims vote in favor of this Plan which
incorporates the TCJC Settlement, among other resolutions. The terms of the TCJC Settlement
are summarized in the term sheet appended to the Sixth Mediators’ Report [D.I. 6210] filed on
September 14, 2021 and below. In the event of any inconsistency, the terms set forth in the TCJC
Settlement shall control over the summary of those terms set forth herein.

                             b.        TCJC Settlement Terms

         The TCJC Settlement constitutes a compromise and settlement of all TCJC Abuse Claims,
the TCJC Claims, and disputes relating to the Plan, including, among other things, the TCJC
Insurance Rights. Pursuant to the TCJC Settlement Agreement, “TCJC Abuse Claims” refers to
any Abuse Claim in connection, in whole or in part, with TCJC’s involvement in, or sponsorship
of, one or more Scouting units (including any Claim that has been asserted or may be amended to
assert in a proof of claim alleging abuse, whether or not timely filed, in the Chapter 11 Cases)

86   See Objection of The Church of Jesus Christ of Latter-day Saints, a Utah Corporation Sole, to Debtors’ Motion for Entry of
     an Order (I) Approving the Disclosure Statement and the Form and Manner of Notice, (II) Approving Plan Solicitation and
     Voting Procedures, (III) Approving Forms of Ballots, (IV) Approving Form, Manner, and Scope of Confirmation Notices, (V)
     Establishing Certain Deadlines in Connection with Approval of the Disclosure Statement and Confirmation of the Plan, and
     (VI) Granting Related Relief filed on May 6, 2021 [D.I. 3263]; Supplemental Objection of The Church of Jesus Christ of
     Latter-day Saints, a Utah Corporation Sole, to Debtors’ Motion for Entry of an Order (I) Approving the Disclosure Statement
     and the Form and Manner of Notice, (II) Approving Plan Solicitation and Voting Procedures, (III) Approving Forms of
     Ballots, (IV) Approving Form, Manner, and Scope of Confirmation Notices, (V) Establishing Certain Deadlines in Connection
     with Approval of the Disclosure Statement and Confirmation of the Plan, and (VI) Granting Related Relief filed on August
     16, 2021 [D.I. 6009].


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while “TCJC Claims” all Causes of Action and Claims relating to (1) Abuse Claims, (2) the
Chapter 11 Cases, (3) the Plan, and/or (4) any Claims that were or could have been asserted by
TCJC against the Debtors or the other Releasing Parties, including any Indirect Abuse Claims.
“TCJC Insurance Rights” refers to all of TCJC’s its rights, titles, privileges, interests, claims,
demands or entitlements, as of the Effective Date, to any proceeds, payments, benefits, Causes of
Action, choses in action, defense, or indemnity, now existing or hereafter arising, accrued or
unaccrued, liquidated or unliquidated, matured or unmatured, disputed or undisputed, fixed or
contingent, arising under or attributable to: (i) the Abuse Insurance Policies, the Abuse Insurance
Coverage, the Insurance Settlement Agreements, and claims thereunder and proceeds thereof; (ii)
the Insurance Actions; and (iii) the Insurance Action Recoveries.

         On the date that the Confirmation Order and Affirmation Order become Final Orders,
TCJC will (i) contribute $250 million in Cash to the Settlement Trust, and (ii) consent to the
waiver, release, and expungement of the TCJC Claims and agree not to assert any claim against,
among others, the Debtors, Reorganized BSA or the Settlement Trust. Additionally, on the
Effective Date of the Plan, TCJC will deposit $250 million in Cash into escrow and consent,
pursuant to the Plan, to the assignment and transfer by the Debtors, the Local Councils, and any
other co-insureds of any and all rights, titles, privileges, interests, claims, demands or entitlements,
as of the Effective Date, to any proceeds, payments, benefits, Causes of Action, choses in action,
defense, or indemnity, now existing or hereafter arising, accrued or unaccrued, liquidated or
unliquidated, matured or unmatured, disputed or undisputed, fixed or contingent, arising under or
attributable to: (i) the Abuse Insurance Policies, the Abuse Insurance Coverage, the Insurance
Settlement Agreements, and claims thereunder and proceeds thereof; (ii) the Insurance Actions;
and (iii) the Insurance Action Recoveries. TCJC will further agree to transfer and assign the TCJC
Insurance Rights to the Settlement Trust.

        In exchange for TCJC’s contributions to the Settlement Trust described above, TCJC will
(i) become a Protected Party under the Plan, with all the benefits and protections of the Channeling
Injunction. Pursuant to the Channeling Injunction, any claim that is attributable to, arises from, is
based upon, relates to, or results from, an Abuse Claim in connection, in whole or in part, with
TCJC’s involvement in, or sponsorship of, one or more Scouting units, including any Claim that
has been asserted or may be amended to assert in a proof of claim. TCJC Abuse Claims shall be
permanently channeled to the Settlement Trust under the Plan and such TCJC Abuse Claim shall
thereafter be asserted exclusively against the Settlement Trust, and may not proceed in any manner
against TCJC in any forum whatsoever, including any state, federal, or non-U.S. court or any
administrative or arbitral forum, and are required to pursue such TCJC Abuse Claim solely against
the Settlement Trust, and shall be processed, liquidated, and paid in accordance with the terms,
provisions, and procedures of the Settlement Trust Documents.

       TCJC will receive, at minimum, equivalent legal protections (including releases, findings,
indemnities, and injunctions, and any other relevant terms of orders in connection with the Plan or
any settlement related to the Plan) and treatment of the TCJC Abuse Claims as provided to any
other non-Debtor Protected Party (other than the limited indemnity provided to Local Councils).




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                       c.      Settlement Trust Enforcement of Channeling Injunction

        In the event that any litigation asserting a TCJC Abuse Claim is filed naming TCJC as a
defendant in violation of the terms of the Confirmation Order, the Settlement Trust shall, at the
request of TCJC, promptly appear (1) before the Bankruptcy Court to obtain entry of an order
enforcing the Channeling Injunction and (2) in such litigation and seek the dismissal of the case.
Under no circumstances shall the Settlement Trust be required to reimburse or indemnify TCJC
for any claims, liabilities, losses, actions, suits, proceedings, third-party subpoenas, damages,
costs, and expenses, including any liabilities related to, arising out of, or in connection with any
TCJC Abuse Claim.

                       d.      Waiver and Release of TCJC Claims

        Future Claimants’ Representative On the date that the Confirmation Order and Affirmation
Order become Final Orders, TCJC shall waive and release the Debtors, Reorganized BSA, Related
Non-Debtor Entities, Local Councils, other Protected Parties, Limited Protected Parties, Settling
Insurance Companies, the Future Claimants’ Representative, the Coalition, and the Settlement Trust
(the “Releasing Parties”) from all Causes of Action and Claims relating to TCJC Claims; provided,
however, that the Indirect Abuse Claims (Claim Nos. 1248 and 12530) filed by TCJC relating to the
payment of costs to defend and resolve Abuse Claims shall be subordinated and not otherwise receive
distributions until the date that the Confirmation Order and Affirmation Order become Final Orders.
TCJC agrees to not file or assert any claim against the Settlement Trust, the Debtors or Reorganized
BSA arising from any act or omission of the Debtors on or prior to the date that the Confirmation Order
and Affirmation Order become Final Orders except in accordance with the Plan.
         On the date that the Confirmation Order and Affirmation Order become Final Orders, the
Debtors, Reorganized BSA, Related Non-Debtor Entities, Local Councils, other Protected Parties,
Limited Protected Parties, Settling Insurance Companies, the Future Claimants’ Representative, the
Coalition, the Settlement Trust, and all parties that accept the Plan, or do not accept the Plan and do
not opt-out of releases, shall waive and release TCJC from all TCJC Claims. The Debtors, Reorganized
BSA, Related Non-Debtor Entities, Local Councils, other Protected Parties, Limited Protected Parties,
Settling Insurance Companies, the Future Claimants’ Representative, the Coalition, and the Settlement
Trust agree to not file or assert any claim against TCJC arising from any act or omission of TCJC on
or prior to the date that the Confirmation Order and Affirmation Order become Final Orders except in
accordance with the Plan.
                       e.      Release of Claims Against Settling Insurance Companies

        TCJC will release all Settling Insurance Companies from all Causes of Action relating to
Abuse Insurance Policies issued by such Settling Insurance Companies. All Settling Insurance
Companies will also release TCJC from all claims against TCJC relating to Abuse Insurance Policies
issued by such Settling Insurance Companies.
                       f.      Consent Rights

       TCJC will have consent rights with respect to any modifications to the Plan, the Settlement
Trust Documents, and the Confirmation Order relating to the Channeling Injunction, releases by
holders of Abuse Claims, and related definitional terms including, for the avoidance of doubt,



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“Abuse,” “Abuse Claim,” and “Protected Parties,” but only to the extent that such modifications
would affect TCJC.
                       g.      Other Provisions of the TCJC Settlement Agreement

       So long as TCJC is included as a Protected Party and the Disclosure Statement and the Plan
are otherwise consistent with the terms of the TCJC Settlement Agreement, TCJC shall support,
and shall not object to, the approval of the Disclosure Statement, the confirmation of the Plan, and
the approval of the Plan Documents, including the Settlement Trust Agreement and the Trust
Distribution Procedures.

                       h.      Fiduciary Obligations of the Debtors, the TCC, and the Future
                               Claimants’ Representative

       Notwithstanding anything in the TCJC Settlement Agreement to the contrary, no term or
condition of the TCJC Settlement Agreement shall require the Debtors or the Future Claimants’
Representative to take or refrain from taking any action that either party determines in good faith
would be inconsistent with their fiduciary duties under applicable law.


S.       TCC / FCR Joint Standing Motion

        On March 12, 2021, the Tort Claimants’ Committee and Future Claimants Representative
filed a joint motion (the “TCC / FCR Joint Standing Motion”), which requested standing for the
Tort Claimants’ Committee and Future Claimants’ Representative to prosecute the following
claims on behalf of the Debtors’ bankruptcy estate: (1) declaratory judgment that the Intercompany
Note be characterized as an equity or capital contribution made by BSA to Arrow or, in the
alternative, an order avoiding certain transfers made under the Intercompany Note by BSA to
Arrow; (2) declaratory judgment that certain property of the Debtors is not subject to the liens or
security interests granted to the prepetition lender, JPM; (3) avoidance of certain unperfected liens
and security interests asserted by JPM against certain property of the Debtors; and (4) an order
reversing certain components of the Debtors’ Final Cash Collateral Order [D.I. 2364].

      On April 29, 2021, JPM and the Debtors filed an objection to the TCC / FCR Joint Standing
Motion [D.I. 2732, 2733], which the Creditors’ Committee joined on a limited basis [D.I. 2737].
On May 27, 2021, the Bankruptcy Court entered an order adjourning the TCC / FRC Joint Standing
Motion to consideration after the conclusion of the Confirmation Hearing [D.I. 5073].

T.       Other Relevant Filings & Hearings

        On March 4, 2021, Century and Hartford filed Century and Hartford’s Statement
         Regarding the Recently-Filed Plan of Reorganization and Pending Rule 2004 Motions
         [D.I. 2316], stating that the Amended Plan has not garnered sufficient support.

        On March 8, 2021, Allianz Insurers’ filed a joinder in support of Century and Hartford’s
         statement regarding the Amended Plan and pending Rule 2004 Motions [D.I. 2331].



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        On March 16, 2021, the Tort Claimants’ Committee filed the Official Tort Claimants’
         Committee’s Case Status Report [D.I. 2388], outlining issues that it informally objected to
         with respect to the Debtors’ proposed Amended Plan. Through the status report, the Tort
         Claimants’ Committee also asserted that various issues should be further addressed
         including, among other things, claims of the estate; restricted assets; Local Councils; and
         Chartered Organizations.

        On April 9, 2021, the Tort Claimants’ Committee filed its second case status report,
         detailing, among other things, pending contested matters and unresolved issues [D.I. 2566].
         The Tort Claimants’ Committee stated that judicial resolution of issues might be necessary
         to reach a consensual plan and reiterated its assertion that the Tort Claimants’ Committee
         should be permitted the opportunity to propose its own plan of reorganization in addition
         to the Debtors’ Plan. Id. at 7.

        On April 9, 2021, Century filed a motion to adjourn the Disclosure Statement hearing
         scheduled for April 29, 2021, to a later date after the Debtors file the Settlement Trust
         Agreement and Trust Distribution Procedures [D.I. 2568] (the “Century Motion to
         Adjourn”).87

        On April 12, 2021, the Bankruptcy Court held a status conference regarding, among other
         things, the status of Mediation, the Plan and Disclosure Statement, and the Century Motion
         to Adjourn. At that time, the Bankruptcy Court continued the hearing to approve the
         Disclosure Statement to May 19, 2021.

        On April 23, 2021, the Coalition, the Future Claimants’ Representative, and the Tort
         Claimants’ Committee filed two notices of discovery on Century and Hartford [D.I. 2682,
         2683] (the “Century Discovery Request” and “Hartford Discovery Request,” respectively).

        On April 28, 2021, the Debtors filed the Motion for Entry of an Order (I) Approving Lehr
         Settlement Agreement and (II) Modifying the Automatic Stay, to the Extent Necessary, to
         Permit Payment of Settlement Amount by Applicable Insurance [D.I. 2719], to which the
         Tort Claimants’ Committee [D.I. 3781] filed an objection.

        On May 5, 2021, Century filed a Motion to Amend the Court’s Order (I) Approving
         Procedures for (A) Interim Compensation and Reimbursement of Retained Professionals
         and (B) Expense Reimbursement for Official Committee Members and (II) Granting
         Related Relief [D.I. 3161], to which the Debtors and the Tort Claimants’ Committee have
         filed responses proposing certain modifications to the relief requested by Century.




87   Clarendon American Insurance Company (“Clarendon”) and Travelers Casualty and Surety Company joined Century’s motion
     to adjourn. Id. at 1 n.2. Clarendon formally filed a joinder to Century’s motion on April 12, 2021 [D.I. 2572].


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                         ARTICLE VI. OVERVIEW OF THE PLAN

A.       General

        This Article of the Disclosure Statement summarizes certain relevant provisions of the
Plan. The confirmation of a plan of reorganization is the principal objective of a chapter 11 case.
A plan of reorganization sets forth the means for treating claims against, and equity interests in, a
debtor. Confirmation of a plan of reorganization by a bankruptcy court makes it binding on the
debtor, any person or Entity acquiring property under the plan, and any creditor of, or equity
interest holder in, the debtor, whether or not such creditor or equity interest holder has accepted
the plan or received or retains any property under the plan. Subject to certain limited exceptions
and other than as provided in a plan itself or in a confirmation order, a confirmation order
discharges the debtor from any debt that arose prior to the date of confirmation of the plan of
reorganization.

       Pursuant to Article V of the Plan, on or after the Confirmation Date, the Debtors shall be
empowered and authorized to take or cause to be taken, prior to the Effective Date, all actions
consistent with the Plan as may be necessary or appropriate to enable them to implement the
provisions of the Plan before, on, or after the Effective Date, including the creation of the
Settlement Trust and the preparations for the transfer of the Settlement Trust Assets to the
Settlement Trust.

    YOU SHOULD READ THE PLAN IN ITS ENTIRETY BEFORE VOTING TO
ACCEPT OR REJECT THE PLAN.

B.       Distributions

         One of the key concepts under the Bankruptcy Code is that only Claims and interests that
are “allowed” may receive distributions under a chapter 11 plan. This term is used throughout the
Plan and the descriptions below. In general, an Allowed Claim means that the Debtors agree, or
if there is a dispute, the Bankruptcy Court determines, that the Claim (other than an Abuse Claim),
and the amount thereof, is in fact a valid obligation of the Debtors. Similarly, with respect to
Abuse Claims, such Claims will be channeled to, as well as allowed and resolved by, the
Settlement Trust in accordance with the Trust Distribution Procedures. A detailed discussion of
the treatment and anticipated means of satisfaction for each Class of Allowed Claims and the Class
of Abuse Claims that are channeled to the Settlement Trust and allowed pursuant to terms of the
Trust Distribution Procedures is set forth in Article VII of this Disclosure Statement.

C.       Treatment of Unclassified Claims

         The treatment of unclassified Claims are as follows:

     Class     Designation         Treatment under the Plan                 Impairment and
                                                                           Entitlement to Vote
 N/A         Administrative Each holder of an Allowed                   Unimpaired
             Expense Claims Administrative Expense Claim shall
                            receive payment of Cash in an amount        Not Entitled to Vote


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  Class       Designation           Treatment under the Plan                 Impairment and
                                                                           Entitlement to Vote
                             equal to the unpaid portion of such        (Presumed to Accept)
                             Allowed Administrative Expense Claim.
 N/A        Professional Fee Each holder of an Allowed Professional     Unimpaired
            Claims           Fee Claim shall receive payment in Cash
                             from funds held in the Professional Fee    Not Entitled to Vote
                             Reserve.                                   (Presumed to Accept)
 N/A        Priority Tax     Each holder of an Allowed Priority Tax     Unimpaired
            Claims           Claim shall receive Cash in an amount
                             equal to such Allowed Priority Tax         Not Entitled to Vote
                             Claim.                                     (Presumed to Accept)

       1.        Administrative Expense Claims Generally

        Except to the extent that a holder of an Allowed Administrative Expense Claim agrees to
less favorable treatment with respect to such Allowed Administrative Expense Claim, each holder
of an Allowed Administrative Expense Claim (other than Professional Fee Claims, which are
governed by Article II.A.2 of the Plan) shall receive, on account of and in full and complete
settlement, release and discharge of, and in exchange for, such Claim, payment of Cash in an
amount equal to the unpaid portion of such Allowed Administrative Expense Claim, or such
amounts and on other such terms as may be agreed to by the holders of such Claims, on or as soon
as reasonably practicable after the later of: (a) the Effective Date; (b) the first Business Day after
the date that is thirty (30) calendar days after the date such Administrative Expense Claim becomes
an Allowed Administrative Expense Claim; (c) such other date(s) as such holder and the Debtors
or Reorganized BSA shall have agreed; or (d) such other date ordered by the Bankruptcy Court;
provided, however, that Allowed Administrative Expense Claims that arise in the ordinary course
of the Debtors’ non-profit operations during the Chapter 11 Cases may be paid by the Debtors or
Reorganized BSA in the ordinary course of operations and in accordance with the terms and
conditions of the particular agreements governing such obligations, course of dealing, course of
operations, or customary practice. Notwithstanding anything to the contrary in the Plan or in the
Cash Collateral Order, no Claim on account of any diminution in the value of the Prepetition
Secured Parties’ interests in the Prepetition Collateral (including Cash Collateral) (as each such
capitalized term is defined in the Cash Collateral Order) from and after the Petition Date shall be
Allowed unless such Claim is Allowed by a Final Order of the Bankruptcy Court. The Hartford
Administrative Claim shall be an Allowed Administrative Expense Claim and shall be paid in full
in cash to Hartford on, or as soon as reasonably practicable after, the Effective Date.

     HOLDERS OF ADMINISTRATIVE EXPENSE CLAIMS THAT ARE REQUIRED
TO, BUT DO NOT, FILE AND SERVE A REQUEST FOR PAYMENT OF SUCH
ADMINISTRATIVE EXPENSE CLAIMS BY THE ADMINISTRATIVE CLAIMS BAR
DATE SHALL BE FOREVER BARRED, ESTOPPED, AND ENJOINED FROM
ASSERTING SUCH ADMINISTRATIVE EXPENSE CLAIMS AGAINST THE DEBTORS
OR THEIR PROPERTY, AND SUCH ADMINISTRATIVE EXPENSE CLAIMS SHALL
BE DEEMED DISCHARGED AS OF THE EFFECTIVE DATE.


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   2.      Professional Fee Claims

(a) Final Fee Applications. All Professionals or other Persons requesting the final Allowance
    and payment of compensation and/or reimbursement of expenses pursuant to sections 328,
    330, 331 and/or 503(b) or under Article V.T of the Plan, for services rendered during the
    period from the Petition Date to and including the Effective Date shall file and serve final
    applications for Allowance and payment of Professional Fee Claims on counsel to the
    Debtors and the United States Trustee no later than the first Business Day that is forty-five
    (45) days after the Effective Date. Objections to any Professional Fee Claim must be filed
    and served on Reorganized BSA and the applicable Professional within twenty-one (21)
    calendar days after the filing of the final fee application that relates to the Professional Fee
    Claim (unless otherwise agreed by the Debtors or Reorganized BSA, as applicable, and the
    Professional requesting Allowance and payment of a Professional Fee Claim). The Fee
    Examiner shall continue to act in its appointed capacity unless and until all Professional
    Fee Claims have been approved by order of the Bankruptcy Court, and Reorganized BSA
    shall be responsible to pay the fees and expenses incurred by the Fee Examiner in rendering
    services after the Effective Date.

(b) Professional Fee Reserve. On the Effective Date, the Debtors shall establish and fund the
    Professional Fee Reserve with Cash in an amount equal to the Professional Fee Reserve
    Amount plus a reasonable cushion amount determined by the Debtors. Funds held in the
    Professional Fee Reserve shall not be considered property of the Debtors’ Estates,
    Reorganized BSA, the Settlement Trust, or the Core Value Cash Pool. Professional Fees
    owing on account of Allowed Professional Fee Claims shall be paid in Cash from funds
    held in the Professional Fee Reserve as soon as reasonably practicable after such
    Professional Fee Claims are Allowed by a Final Order of the Bankruptcy Court or
    authorized to be paid under the Compensation Procedures Order; provided, however, that
    Reorganized BSA’s obligations with respect to Allowed Professional Fee Claims shall not
    be limited by or deemed limited to the balance of funds held in the Professional Fee
    Reserve. To the extent the funds held in the Professional Fee Reserve are insufficient to
    satisfy the Allowed Professional Fee Claims in full, each holder of an Allowed Professional
    Fee Claim shall have an Allowed Administrative Expense Claim for any deficiency, which
    shall be satisfied in accordance with Article II.A.2 of the Plan. No Liens, Claims, interests,
    charges, or other Encumbrances or liabilities of any kind shall encumber the Professional
    Fee Reserve in any way. When all Allowed Professional Fee Claims have been paid in
    full, amounts remaining in the Professional Fee Reserve, if any, shall be transferred to the
    Settlement Trust.

(c) Professional Fee Reserve Amount. To be eligible for payment for Accrued Professional
    Fees incurred up to and including the Effective Date, Professionals shall estimate their
    Accrued Professional Fees as of the Effective Date and deliver such estimate to the Debtors
    at least five (5) Business Days prior to the anticipated Effective Date, and Coalition
    Professionals shall provide the Debtors a reasonable estimate of total Coalition
    Restructuring Expenses in accordance with Article V.T of the Plan. If a Professional or
    Coalition Professional does not provide such estimate, the Debtors may estimate the
    unbilled fees and expenses of such Professional or Coalition Professional. The total
    amount so estimated will constitute the Professional Fee Reserve Amount, provided that


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        such estimate will not be considered an admission or limitation with respect to the fees and
        expenses of such Professional or Coalition Professional.

     (d) Post-Effective Date Fees and Expenses. From and after the Effective Date, any
         requirement that Professionals comply with sections 327 through 331 or 1103 of the
         Bankruptcy Code in seeking retention or compensation for services rendered after such
         date shall terminate, and Professionals may be employed and paid in the ordinary course
         of operations without any further notice to or action, order, or approval of the Bankruptcy
         Court. The reasonable and documented fees and expenses incurred by the Professionals to
         the Creditors’ Committee after the Effective Date until the complete dissolution of the
         Creditors’ Committee for all purposes in accordance with Article X.R of the Plan will be
         paid by Reorganized BSA in the ordinary course of business (and not later than thirty (30)
         days after submission of invoices).

        3.      Priority Tax Claims

         Except to the extent that a holder of an Allowed Priority Tax Claim agrees to less favorable
treatment, each holder of an Allowed Priority Tax Claim shall receive on account of and in full
and complete settlement, release and discharge of, and in exchange for, such Allowed Priority Tax
Claim, at the sole option of the Debtors or Reorganized BSA, as applicable: (1) Cash in an amount
equal to such Allowed Priority Tax Claim on or as soon as reasonably practicable after the later of
(a) the Effective Date, to the extent such Claim is an Allowed Priority Tax Claim on the Effective
Date; (b) the first Business Day after the date that is thirty (30) calendar days after the date such
Priority Tax Claim becomes an Allowed Priority Tax Claim; and (c) the date such Allowed Priority
Tax Claim is due and payable in the ordinary course as such obligation becomes due; provided,
however, that the Debtors reserve the right to prepay all or a portion of any such amounts at any
time under this option without penalty or premium; or (2) regular installment payments in Cash of
a total value, as of the Effective Date of the Plan, equal to the Allowed amount of such Claim over
a period ending not later than five years after the Petition Date.

D.      Classification of Claims and Interests Summary

        The Plan is being proposed as a joint plan of reorganization of the Debtors for
administrative purposes only and constitutes a separate chapter 11 plan of reorganization for each
Debtor. The Plan is not premised upon the substantive consolidation of the Debtors with respect
to the Classes of Claims or Interests set forth in the Plan.

       The Plan establishes a comprehensive classification of Claims and Interests. The table
below summarizes the classification, treatment, voting rights, and Claims and Interests, by Class,
under the Plan.




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     Class Designation88                          Treatment under the Plan                              Impairment and
                                                                                                       Entitlement to Vote
     1            Other       Each holder of an Allowed Other Priority                                 Unimpaired
                  Priority    Claim shall receive: (i) payment in Cash in an
                  Claims      amount equal to such Allowed Other Priority                              Not Entitled to Vote
                              Claim; or (ii) satisfaction of such Allowed                              (Presumed to
                              Other Priority Claim in any other manner that                            Accept)
                              renders the Allowed Other Priority Claim
                              Unimpaired, including Reinstatement.
     2            Other       Each holder of an Allowed Other Secured                                  Unimpaired
                  Secured     Claim shall receive: (i) payment in Cash in an
                  Claims      amount equal to the Allowed amount of such                               Not Entitled to Vote
                              Claim; (ii) satisfaction of such Other Secured                           (Presumed to
                              Claim in any other manner that renders the                               Accept)
                              Allowed Other Secured Claim Unimpaired,
                              including Reinstatement; or (iii) return of the
                              applicable collateral in satisfaction of the
                              Allowed amount of such Other Secured Claim.
     3A           2010 Credit Each holder of an Allowed 2010 Credit Facility                           Impaired
                  Facility    Claim shall receive a Claim under the Restated
                  Claims      Credit Facility Documents in an amount equal                             Entitled to Vote
                              to the amount of such holder’s Allowed 2010
                              Credit Facility Claim.
     3B           2019 RCF    Each holder of an Allowed 2019 RCF Claim                                 Impaired
                  Claims      shall receive a Claim under the Restated Credit
                              Facility Documents in an amount equal to the                             Entitled to Vote
                              amount of such holder’s Allowed 2019 RCF
                              Claim.
     4A           2010 Bond   Each holder of an Allowed 2010 Bond Claim                                Impaired
                  Claims      shall receive a Claim under the Restated 2010
                              Bond Documents in an amount equal to the                                 Entitled to Vote
                              amount of such holder’s Allowed 2010 Bond
                              Claim.
     4B           2012 Bond   Each holder of an Allowed 2012 Bond Claim                                Impaired
                  Claims      shall receive a Claim under the Restated 2012
                              Bond Documents in an amount equal to the                                 Entitled to Vote
                              amount of such holder’s Allowed 2012 Bond
                              Claim.
     5            Convenience Each holder of an Allowed Convenience Claim                              Impaired
                  Claims      shall receive Cash in an amount equal to 100%
                              of such holder’s Allowed Convenience Claim.                              Entitled to Vote


88       The Debtors reserve the right to eliminate any Class of Claims in the event they determine that there are no Claims in such
         Class.


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     Class Designation88                         Treatment under the Plan         Impairment and
                                                                                 Entitlement to Vote
     6            General      Each holder of an Allowed General Unsecured Impaired
                  Unsecured    Claim shall receive, subject to the holder’s
                  Claims       ability to elect Convenience Claim treatment      Entitled to Vote
                               on account of the Allowed General Unsecured
                               Claim, its Pro Rata Share of the Core Value
                               Cash Pool up to the full amount of such
                               Allowed General Unsecured Claim in the
                               manner described in Article VII of the Plan.
     7            Non-Abuse Each holder of an Allowed Non-Abuse                  Impaired
                  Litigation   Litigation Claim shall, subject to (i) the
                  Claims       holder’s ability to elect Convenience Claim       Entitled to Vote
                               treatment as provided in the following sentence
                               and (ii) the terms and conditions of Article
                               IV.D.3 of the Plan (as applicable), retain the
                               right to recover up to the amount of such
                               holder’s Allowed Non-Abuse Litigation Claim
                               from (x) available insurance coverage or the
                               proceeds of any Insurance Policy, including
                               any Abuse Insurance Policy or Non-Abuse
                               Insurance Policy, (y) applicable proceeds of
                               any Insurance Settlement Agreements, and (z)
                               co-liable non-debtors (if any) or their insurance
                               coverage. Solely to the extent that the holder
                               of an Allowed Non-Abuse Litigation Claim
                               fails to recover in full from the foregoing
                               sources on account of such Allowed Claim
                               after exhausting its remedies in respect thereof,
                               such holder may elect to have the unsatisfied
                               portion of its Allowed Claim treated as an
                               Allowed Convenience Claim and receive cash
                               in an amount equal to the lesser of (a) the
                               amount of the unsatisfied portion of the
                               Allowed Non-Abuse Litigation Claim and (b)
                               $50,000.
     8            Direct Abuse Pursuant to the Channeling Injunction set forth Impaired
                  Claims89     in Article X.F of the Plan, each holder of a
                               Direct Abuse Claim shall have such holder’s       Entitled to Vote
                               Direct Abuse Claim against the Protected
                               Parties (and each of them) permanently
                               channeled to the Settlement Trust, and such
                               Direct Abuse Claim shall thereafter be asserted
                               exclusively against the Settlement Trust and

89       Under the Plan, “Direct Abuse Claim” means an Abuse Claim that is not an Indirect Abuse Claim.


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     Class Designation88                            Treatment under the Plan                                Impairment and
                                                                                                           Entitlement to Vote
                                        processed, liquidated, and paid in accordance
                                        with the terms, provisions, and procedures of
                                        the Settlement Trust Documents.

                                        Pursuant to the Channeling Injunction set forth
                                        in Article X.F of the Plan, each holder of a
                                        Post-1975 Chartered Organization Abuse
                                        Claim shall have such holder’s Post-1975
                                        Chartered Organization Abuse Claim against
                                        the Limited Protected Parties (and each of
                                        them) permanently channeled to the Settlement
                                        Trust, and such Post-1975 Chartered
                                        Organization Abuse Claim shall thereafter be
                                        asserted exclusively against the Settlement
                                        Trust and processed, liquidated, and paid in
                                        accordance with the terms, provisions, and
                                        procedures of the Settlement Trust Documents.
     9             Indirect             Pursuant to the Channeling Injunction set forth Impaired
                   Abuse                in Article X.F of the Plan, each holder of an
                   Claims90             Indirect Abuse Claim shall have such holder’s Entitled to Vote
                                        Indirect Abuse Claim against the Protected
                                        Parties (and each of them) permanently
                                        channeled to the Settlement Trust, and such
                                        Indirect Abuse Claim shall thereafter be
                                        asserted exclusively against the Settlement
                                        Trust and processed, liquidated, and paid in
                                        accordance with the terms, provisions, and
                                        procedures of the Settlement Trust Documents.

                                        Pursuant to the Channeling Injunction set forth
                                        in Article X.F of the Plan, each holder of a
                                        Post-1975 Chartered Organization Abuse
                                        Claim shall have such holder’s Post-1975
                                        Chartered Organization Abuse Claim against
                                        the Limited Protected Parties (and each of
                                        them) permanently channeled to the Settlement
                                        Trust, and such Post-1975 Chartered
                                        Organization Abuse Claim shall thereafter be

90       Under the Plan, “Indirect Abuse Claim” means a liquidated or unliquidated Abuse Claim for contribution, indemnity,
         reimbursement, or subrogation, whether contractual or implied by law (as those terms are defined by the applicable non-
         bankruptcy law of the relevant jurisdiction), and any other derivative Abuse Claim of any kind whatsoever, whether in the
         nature of or sounding in contract, tort, warranty or any other theory of law or equity whatsoever, including any indemnification,
         reimbursement, hold-harmless or other payment obligation provided for under any prepetition settlement, insurance policy,
         program agreement or contract.


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 Class Designation88                       Treatment under the Plan                   Impairment and
                                                                                     Entitlement to Vote
                                 asserted exclusively against the Settlement
                                 Trust and processed, liquidated, and paid in
                                 accordance with the terms, provisions, and
                                 procedures of the Settlement Trust Documents.
     10        Interests in      Interests in Delaware BSA shall be deemed       Impaired
               Delaware          cancelled without further action by or order of
               BSA               the Bankruptcy Court and shall be of no further Not Entitled to Vote
                                 force or effect, whether surrendered for        (Deemed to Reject)
                                 cancellation or otherwise.

E.        Treatment of Claims and Interests

          Holders of Claims and Interests shall receive the treatment as set forth below:

          1.       Class 1—Other Priority Claims

                   (i)        Classification: Class 1 consists of all Other Priority Claims.

                   (ii)       Treatment: Except to the extent that a holder of an Allowed Other Priority
                              Claim agrees to less favorable treatment of such Claim, in full and final
                              satisfaction of such Allowed Other Priority Claim, at the sole option of
                              Reorganized BSA: (i) each such holder shall receive payment in Cash in an
                              amount equal to such Allowed Other Priority Claim, payable on or as soon
                              as reasonably practicable after the last to occur of (x) the Effective Date,
                              (y) the date on which such Other Priority Claim becomes an Allowed Other
                              Priority Claim, and (z) the date on which the holder of such Allowed Other
                              Priority Claim and the Debtors or Reorganized BSA, as applicable, shall
                              otherwise agree in writing; or (ii) satisfaction of such Allowed Other
                              Priority Claim in any other manner that renders the Allowed Other Priority
                              Claim Unimpaired, including Reinstatement.

                   (iii)      Voting: Class 1 is Unimpaired, and each holder of an Other Priority Claim
                              is conclusively presumed to have accepted the Plan pursuant to section
                              1126(f) of the Bankruptcy Code. Therefore, holders of Other Priority
                              Claims are not entitled to vote to accept or reject the Plan, and the votes of
                              such holders will not be solicited with respect to Other Priority Claims.

          2.       Class 2—Other Secured Claims

                   (i)        Classification: Class 2 consists of all Other Secured Claims. To the extent
                              that Other Secured Claims are Secured by different collateral or different
                              interests in the same collateral, such Claims shall be treated as separate
                              subclasses of Class 2 for purposes of voting to accept or reject the Plan and
                              receiving Plan Distributions under the Plan.


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        (ii)    Treatment: Except to the extent that a holder of an Allowed Other Secured
                Claim agrees to less favorable treatment of such Claim, in full and final
                satisfaction of such Allowed Other Secured Claim, each holder of an
                Allowed Other Secured Claim will receive, at the sole option of
                Reorganized BSA: (i) Cash in an amount equal to the Allowed amount of
                such Claim, including the payment of any interest required to be paid under
                section 506(b) of the Bankruptcy Code, payable on or as soon as reasonably
                practicable after the last to occur of (x) the Effective Date, (y) the date on
                which such Other Secured Claim becomes an Allowed Other Secured
                Claim, and (z) the date on which the holder of such Allowed Other Secured
                Claim and the Debtors or Reorganized BSA, as applicable, shall otherwise
                agree in writing; (ii) satisfaction of such Other Secured Claim in any other
                manner that renders the Allowed Other Secured Claim Unimpaired,
                including Reinstatement; or (iii) return of the applicable collateral on the
                Effective Date or as soon as reasonably practicable thereafter in satisfaction
                of the Allowed amount of such Other Secured Claim.

        (iii)   Voting: Class 2 is Unimpaired, and each holder of an Other Secured Claim
                is conclusively presumed to have accepted the Plan pursuant to
                section 1126(f) of the Bankruptcy Code. Therefore, holders of Other
                Secured Claims are not entitled to vote to accept or reject the Plan, and the
                votes of such holders will not be solicited with respect to Other Secured
                Claims.

3.      Class 3A—2010 Credit Facility Claims

        (i)     Classification: Class 3A consists of all 2010 Credit Facility Claims.

        (ii)    Allowance: On the Effective Date, all 2010 Credit Facility Claims shall be
                deemed fully Secured and Allowed pursuant to section 506(a) of the
                Bankruptcy Code, and not subject to any counterclaim, defense, offset, or
                reduction of any kind, in an aggregate amount not less than $80,762,060
                (including $44,299,743 of undrawn amounts under letters of credit issued
                under the 2010 Credit Facility Documents provided such letters of credit are
                drawn on or before the Effective Date) plus any accrued but unpaid interest
                and reasonable fees and expenses as of the Effective Date to the extent not
                paid pursuant to the Cash Collateral Order. Because all 2010 Credit Facility
                Claims are deemed fully Secured, there are no unsecured 2010 Credit
                Facility Claims, and the holders of such Claims do not have or hold any
                Class 6 Claims against the Debtors on account of any 2010 Credit Facility
                Claims.

        (iii)   Treatment: Except to the extent that a holder of an Allowed 2010 Credit
                Facility Claim agrees to less favorable treatment of such Claim, in full and
                final satisfaction, settlement, release, and discharge of, and in exchange for
                an Allowed 2010 Credit Facility Claim, each holder of an Allowed 2010
                Credit Facility Claim shall receive a Claim under the Restated Credit


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                Facility Documents in an amount equal to the amount of such holder’s
                Allowed 2010 Credit Facility Claim.

        (iv)    Voting: Class 3A is Impaired, and each holder of an Allowed 2010 Credit
                Facility Claim is entitled to vote to accept or reject the Plan.

4.      Class 3B—2019 RCF Claims

        (i)     Classification: Class 3B consists of all 2019 RCF Claims.

        (ii)    Allowance: On the Effective Date, all 2019 RCF Claims shall be deemed
                fully Secured and Allowed pursuant to section 506(a) of the Bankruptcy
                Code, and not subject to any counterclaim, defense, offset, or reduction of
                any kind, in an aggregate amount not less than $61,542,720 (including
                $41,542,720 of undrawn amounts under letters of credit issued under the
                2019 RCF Documents provided such letters of credit are drawn on or before
                the Effective Date) plus any accrued but unpaid interest and reasonable fees
                and expenses as of the Effective Date to the extent not paid pursuant to the
                Cash Collateral Order. Because all 2019 RCF Claims are deemed fully
                Secured, there are no unsecured 2019 RCF Claims, and the holders of such
                Claims do not have or hold any Class 6 Claims against the Debtors on
                account of any 2019 RCF Claims.

        (iii)   Treatment: Except to the extent that a holder of an Allowed 2019 RCF
                Claim agrees to less favorable treatment of such Claim, in full and final
                satisfaction, settlement, release, and discharge of, and in exchange for an
                Allowed 2019 RCF Claim, each holder of an Allowed 2019 RCF Claim
                shall receive a Claim under the Restated Credit Facility Documents in an
                amount equal to the amount of such holder’s Allowed 2019 RCF Claim.

        (iv)    Voting: Class 3B is Impaired, and each holder of an Allowed 2019 RCF
                Claim is entitled to vote to accept or reject the Plan.

5.      Class 4A—2010 Bond Claims

        (i)     Classification: Class 4A consists of all 2010 Bond Claims.

        (ii)    Allowance: On the Effective Date, all 2010 Bond Claims shall be deemed
                fully Secured and Allowed pursuant to section 506(a) of the Bankruptcy
                Code, and not subject to any counterclaim, defense, offset, or reduction of
                any kind, in an aggregate amount of not less than $40,137,274 plus any
                accrued but unpaid interest and reasonable fees and expenses as of the
                Effective Date to the extent not paid pursuant to the Cash Collateral Order.
                Because all 2010 Bond Claims are deemed fully Secured, there are no
                unsecured 2010 Bond Claims, and the holders of such Claims do not have
                or hold any Class 6 Claims against the Debtors on account of any 2010 Bond
                Claims.


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        (iii)   Treatment: Except to the extent that a holder of an Allowed 2010 Bond
                Claim agrees to less favorable treatment of such Claim, in full and final
                satisfaction, settlement, release, and discharge of, and in exchange for an
                Allowed 2010 Bond Claim, each holder of an Allowed 2010 Bond Claim
                shall receive a Claim under the Restated 2010 Bond Documents in an
                amount equal to the amount of such holder’s Allowed 2010 Bond Claim.

        (iv)    Voting: Class 4A is Impaired, and each holder of an Allowed 2010 Bond
                Claim is entitled to vote to accept or reject the Plan.

6.      Class 4B—2012 Bond Claims

        (i)     Classification: Class 4B consists of all 2012 Bond Claims.

        (ii)    Allowance: On the Effective Date, all 2012 Bond Claims shall be deemed
                fully Secured and Allowed pursuant to section 506(a) of the Bankruptcy
                Code, and not subject to any counterclaim, defense, offset, or reduction of
                any kind, in an aggregate amount of not less than $145,662,101 plus any
                accrued but unpaid interest and reasonable fees and expenses as of the
                Effective Date to the extent not paid pursuant to the Cash Collateral Order.
                Because all 2012 Bond Claims are deemed fully Secured, there are no
                unsecured 2012 Bond Claims, and the holders of such Claims do not have
                or hold any Class 6 Claims against the Debtors on account of any 2012 Bond
                Claims.

        (iii)   Treatment: Except to the extent that a holder of an Allowed 2012 Bond
                Claim agrees to less favorable treatment of such Claim, in full and final
                satisfaction, settlement, release, and discharge of, and in exchange for an
                Allowed 2012 Bond Claim, each holder of an Allowed 2012 Bond Claim
                shall receive a Claim under the Restated 2012 Bond Documents in an
                amount equal to the amount of such holder’s Allowed 2012 Bond Claim.

        (iv)    Voting: Class 4B is Impaired, and each holder of an Allowed 2012 Bond
                Claim is entitled to vote to accept or reject the Plan.

7.      Class 5—Convenience Claims

        (i)     Classification: Class 5 consists of all Convenience Claims.

        (ii)    Treatment: In full and final satisfaction, settlement, release, and discharge
                of, and in exchange for, an Allowed Convenience Claim, each holder of an
                Allowed Convenience Claim shall receive, on the Effective Date or within
                thirty (30) days following the date that such Convenience Claim becomes
                Allowed (if such Claim becomes Allowed after the Effective Date), each
                holder of an Allowed Convenience Claim shall receive Cash in an amount
                equal to 100% of such holder’s Allowed Convenience Claim.




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        (iii)   Voting: Class 5 is Impaired, and each holder of a Convenience Claim is
                entitled to vote to accept or reject the Plan.

8.      Class 6—General Unsecured Claims

        (i)     Classification: Class 6 consists of all General Unsecured Claims.

        (ii)    Treatment: Except to the extent that a holder of an Allowed General
                Unsecured Claim agrees to less favorable treatment of such Claim, in
                exchange for full and final satisfaction, settlement, release, and discharge
                of, and in exchange for, such Allowed General Unsecured Claim, each
                holder of an Allowed General Unsecured Claim shall receive, subject to the
                holder’s ability to elect Convenience Claim treatment on account of the
                Allowed General Unsecured Claim, its Pro Rata Share of the Core Value
                Cash Pool up to the full amount of such Allowed General Unsecured Claim
                in the manner described in Article VII of the Plan.

        (iii)   Voting: Class 6 is Impaired, and each holder of a General Unsecured Claim
                is entitled to vote to accept or reject the Plan.

9.      Class 7—Non-Abuse Litigation Claims

        (iv)    Classification: Class 7 consists of all Non-Abuse Litigation Claims.

        (v)     Treatment: Except to the extent that a holder of an Allowed Non-Abuse
                Litigation Claim agrees to less favorable treatment of such Claim, in full
                and final satisfaction, settlement, release, and discharge of, and in exchange
                for, each Allowed Non-Abuse Litigation Claim, each holder thereof shall,
                subject to (i) the holder’s ability to elect Convenience Claim treatment as
                provided in the following sentence and (ii) the terms and conditions of
                Article IV.D.3 of the Plan (as applicable), retain the right to recover up to
                the amount of such holder’s Allowed Non-Abuse Litigation Claim from (x)
                available insurance coverage or the proceeds of any Insurance Policy,
                including any Abuse Insurance Policy or Non-Abuse Insurance Policy, (y)
                applicable proceeds of any Insurance Settlement Agreements, and (z) co-
                liable non-debtors (if any) or their insurance coverage. Solely to the extent
                that the holder of an Allowed Non-Abuse Litigation Claim fails to recover
                in full from the foregoing sources on account of such Allowed Claim after
                exhausting its remedies in respect thereof, such holder may elect to have the
                unsatisfied portion of its Allowed Claim treated as an Allowed Convenience
                Claim and receive cash in an amount equal to the lesser of (a) the amount
                of the unsatisfied portion of the Allowed Non-Abuse Litigation Claim and
                (b) $50,000.

        (vi)    Voting: Class 7 is Impaired, and each holder of a Non-Abuse Litigation
                Claim is entitled to vote to accept or reject the Plan.



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10.      Class 8—Direct Abuse Claims

         (i)    Classification: Class 8 consists of all Direct Abuse Claims.

         (ii)   Treatment:

                a. The Settlement Trust shall receive, for the benefit of holders of Abuse
                   Claims, the BSA Settlement Trust Contribution, the Local Council
                   Settlement Contribution, the Contributing Chartered Organization
                   Settlement Contribution, the Participating Chartered Organization
                   Settlement Contribution, the Hartford Settlement Contribution (subject
                   to the terms and conditions set forth in the Hartford Insurance
                   Settlement Agreement), and the proceeds of any other applicable
                   Insurance Settlement Agreements. In addition, each holder of a
                   properly completed non-duplicative proof of claim asserting a Direct
                   Abuse Claim who filed such Claim by the Bar Date or was permitted by
                   a Final Order of the Bankruptcy Court to file a late claim may elect on
                   his or her Ballot to receive an Expedited Distribution, subject to criteria
                   set forth in the Trust Distribution Procedures, in exchange for providing
                   a full and final release in favor of the Settlement Trust, the Protected
                   Parties, and the Chartered Organizations. The Settlement Trust shall
                   make the Expedited Distributions on one or more dates occurring on or
                   as soon as reasonably practicable after the latest to occur of (a) the
                   Effective Date, (b) the date the applicable holders of Direct Abuse
                   Claims who have elected to receive an Expedited Distribution have
                   satisfied the criteria set forth in the Trust Distribution Procedures, and
                   (c) the date upon which the Settlement Trust has sufficient Cash to fund
                   the full amount of the Expedited Distributions while retaining sufficient
                   Cash reserves to fund applicable Settlement Trust Expenses, as
                   determined by the Settlement Trustee.

                b. As of the Effective Date, the Protected Parties’ liability for all Direct
                   Abuse Claims shall be assumed in full by the Settlement Trust without
                   further act, deed, or court order and shall be satisfied solely from the
                   Settlement Trust as set forth in the Settlement Trust
                   Documents. Pursuant to the Channeling Injunction set forth in Article
                   X.F of the Plan, each holder of a Direct Abuse Claim shall have such
                   holder’s Direct Abuse Claim against the Protected Parties (and each of
                   them) permanently channeled to the Settlement Trust, and such Direct
                   Abuse Claim shall thereafter be asserted exclusively against the
                   Settlement Trust and processed, liquidated, and paid in accordance with
                   the terms, provisions, and procedures of the Settlement Trust
                   Documents. Holders of Direct Abuse Claims shall be enjoined from
                   prosecuting any outstanding, or filing any future, litigation, Claims, or
                   Causes of Action arising out of or related to such Direct Abuse Claims
                   against any of the Protected Parties and may not proceed in any manner
                   against any of the Protected Parties in any forum whatsoever, including


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                    any state, federal, or non-U.S. court or any administrative or arbitral
                    forum, and are required to pursue such Direct Abuse Claims solely
                    against the Settlement Trust as provided in the Settlement Trust
                    Documents.

                 c. As of the Effective Date, the Limited Protected Parties’ liability for all
                    Post-1975 Chartered Organization Abuse Claims shall be assumed in
                    full by the Settlement Trust without further act, deed, or court order and
                    shall be satisfied solely from the Settlement Trust as set forth in the
                    Settlement Trust Documents. Pursuant to the Channeling Injunction set
                    forth in Article X.F of the Plan, each holder of a Post-1975 Chartered
                    Organization Abuse Claim shall have such holder’s Post-1975
                    Chartered Organization Abuse Claim against the Limited Protected
                    Parties (and each of them) permanently channeled to the Settlement
                    Trust, and such Post-1975 Chartered Organization Abuse Claim shall
                    thereafter be asserted exclusively against the Settlement Trust and
                    processed, liquidated, and paid in accordance with the terms, provisions,
                    and procedures of the Settlement Trust Documents. Holders of Post-
                    1975 Chartered Organization Abuse Claims shall be enjoined from
                    prosecuting any outstanding, or filing any future, litigation, Claims, or
                    Causes of Action arising out of or related to such Post-1975 Chartered
                    Organization Abuse Claim against any of the Limited Protected Parties
                    and may not proceed in any manner against any of the Limited Protected
                    Parties in any forum whatsoever, including any state, federal, or non-
                    U.S. court or any administrative or arbitral forum, and are required to
                    pursue such Post-1975 Chartered Organization Abuse Claims solely
                    against the Settlement Trust as provided in the Settlement Trust
                    Documents.

                 d. For the avoidance of doubt, the Protected Parties shall include: (a) the
                    Debtors; (b) Reorganized BSA; (c) the Related Non-Debtor Entities;
                    (d) the Local Councils; (e) the Contributing Chartered Organizations,
                    including TCJC; (f) the Settling Insurance Companies, including
                    Hartford; and (g) all of such Persons’ Representatives. The Limited
                    Protected Parties shall include the Participating Chartered
                    Organizations.

         (iii)   Voting: Class 8 is Impaired, and each holder of a Direct Abuse Claim is
                 entitled to vote to accept or reject the Plan.

11.      Class 9—Indirect Abuse Claims

         (i)     Classification: Class 9 consists of all Indirect Abuse Claims.

         (ii)    Treatment:




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        a. As of the Effective Date, the Protected Parties’ liability for all Indirect
           Abuse Claims shall be assumed in full by the Settlement Trust without
           further act, deed, or court order and shall be satisfied solely from the
           Settlement Trust as set forth in the Settlement Trust Documents solely
           to the extent that an Indirect Abuse Claim has not been deemed
           withdrawn with prejudice, irrevocably waived, released and expunged
           in connection with the Local Council Settlement Contribution, the
           Contributing Chartered Organization Trust Contribution, the
           Participating Chartered Organization Trust Contribution, or the
           Hartford Insurance Settlement Agreement. Pursuant to the Channeling
           Injunction set forth in Article X.F of the Plan, each holder of an Indirect
           Abuse Claim shall have such holder’s Indirect Abuse Claim against the
           Protected Parties (and each of them) permanently channeled to the
           Settlement Trust, and such Indirect Abuse Claim shall thereafter be
           asserted exclusively against the Settlement Trust and processed,
           liquidated, and paid in accordance with the terms, provisions, and
           procedures of the Settlement Trust Documents. Holders of Indirect
           Abuse Claims shall be enjoined from prosecuting any outstanding, or
           filing any future, litigation, Claims, or Causes of Action arising out of
           or related to such Abuse Claims against any of the Protected Parties and
           may not proceed in any manner against any the Protected Parties in any
           forum whatsoever, including any state, federal, or non-U.S. court or any
           administrative or arbitral forum, and are required to pursue such Indirect
           Abuse Claims solely against the Settlement Trust as provided in the
           Settlement Trust Documents.

        b. As of the Effective Date, the Limited Protected Parties’ liability for all
           Post-1975 Chartered Organization Abuse Claims shall be assumed in
           full by the Settlement Trust without further act, deed, or court order and
           shall be satisfied solely from the Settlement Trust as set forth in the
           Settlement Trust Documents. Pursuant to the Channeling Injunction set
           forth in Article X.F of the Plan, each holder of a Post-1975 Chartered
           Organization Abuse Claim shall have such holder’s Post-1975
           Chartered Organization Abuse Claim against the Limited Protected
           Parties (and each of them) permanently channeled to the Settlement
           Trust, and such Post-1975 Chartered Organization Abuse Claim shall
           thereafter be asserted exclusively against the Settlement Trust and
           processed, liquidated, and paid in accordance with the terms, provisions,
           and procedures of the Settlement Trust Documents. Holders of Post-
           1975 Chartered Organization Abuse Claims shall be enjoined from
           prosecuting any outstanding, or filing any future, litigation, Claims, or
           Causes of Action arising out of or related to such Post-1975 Chartered
           Organization Abuse Claims against any of the Limited Protected Parties
           and may not proceed in any manner against any the Limited Protected
           Parties in any forum whatsoever, including any state, federal, or non-
           U.S. court or any administrative or arbitral forum, and are required to
           pursue such Post-1975 Chartered Organization Abuse Claims solely

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                           against the Settlement Trust as provided in the Settlement Trust
                           Documents.

                        c. For the avoidance of doubt, the Protected Parties shall include: (a) the
                           Debtors; (b) Reorganized BSA; (c) the Related Non-Debtor Entities;
                           (d) the Local Councils; (e) the Contributing Chartered Organizations,
                           including TCJC; (f) the Settling Insurance Companies, including
                           Hartford; and (g) all of such Persons’ Representatives. The Limited
                           Protected Parties shall include the Participating Chartered
                           Organizations.

                (iii)   Voting: Class 9 is Impaired, and each holder of an Indirect Abuse Claim is
                        entitled to vote to accept or reject the Plan.

HOLDERS OF ABUSE CLAIMS (OTHER THAN FUTURE ABUSE CLAIMS) WERE
REQUIRED TO SUBMIT A PROOF OF CLAIM ON OR BEFORE THE ABUSE CLAIMS
BAR DATE IN ACCORDANCE WITH THE BAR DATE ORDER. HOLDERS OF ABUSE
CLAIMS MAY ALSO BE REQUIRED TO SUBMIT ADDITIONAL DOCUMENTATION
REGARDING SUCH CLAIMS IN ACCORDANCE WITH THE TRUST DOCUMENTS.
       12.      Class 10—Interests in Delaware BSA

                (i)     Classification: Class 10 consists of all Interests in Delaware BSA.

                (ii)    Treatment: On the Effective Date, Interests in Delaware BSA shall be
                        deemed cancelled without further action by or order of the Bankruptcy
                        Court and shall be of no further force or effect, whether surrendered for
                        cancellation or otherwise.

                (iii)   Voting: Class 10 is Impaired, and each holder of an Interest in Delaware
                        BSA shall be conclusively deemed to have rejected the Plan pursuant to
                        section 1126(g) of the Bankruptcy Code. Therefore, holders of Interests in
                        Delaware BSA are not entitled to vote to accept or reject the Plan, and the
                        votes of such holders will not be solicited with respect to Interests in
                        Delaware BSA.

F.     Elimination of Vacant Classes

        Any Class of Claims against or Interests in the Debtors that, as of the commencement of
the Confirmation Hearing, does not have at least one holder of a Claim or Interest that is Allowed
in an amount greater than zero for voting purposes shall be considered vacant, deemed eliminated
from the Plan for purposes of voting to accept or reject the Plan, and disregarded for purposes of
determining whether the Plan satisfies section 1129(a)(8) of the Bankruptcy Code with respect to
that Class.




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G.     Cramdown

       If any Class is deemed to reject the Plan or is entitled to vote on the Plan and does not vote
to accept the Plan, the Debtors may (a) seek Confirmation of the Plan under section 1129(b) of the
Bankruptcy Code or (b) amend or modify the Plan in accordance with the terms hereof and the
Bankruptcy Code. If a controversy arises as to whether any Claims are, or any class of Claims is,
impaired, the Bankruptcy Court shall, after notice and a hearing, determine such controversy on
or before the Confirmation Date.

H.     Means for Implementation of the Plan

       1.      Operations of the Debtors between Confirmation and the Effective Date

        The Debtors shall continue to operate as debtors and debtors in possession during the
period from the Confirmation Date to the Effective Date.

       2.      BSA Governance Documents

        From and after the Effective Date, Reorganized BSA shall be governed pursuant to the
BSA Charter and the Amended BSA Bylaws. The Amended BSA Bylaws shall contain such
provisions as are necessary to satisfy the provisions of the Plan, subject to further amendment
thereof after the Effective Date, as permitted by applicable law. Under the BSA Charter, the BSA
has no power to issue certificates of stock, its object and purpose being solely of a charitable
character and not for pecuniary profit; accordingly, the requirement of section 1123(a)(6) does not
apply to the BSA.

       3.      Continued Legal Existence of BSA

        The BSA shall continue to exist on and after the Effective Date, with all of the powers it is
entitled to exercise under applicable law and pursuant to the BSA Charter and the Amended BSA
Bylaws, subject to further amendment of the Amended BSA Bylaws after the Effective Date, as
permitted by applicable law.

       4.      Reorganized BSA’s Directors and Senior Management

        Pursuant to section 1129(a)(5) of the Bankruptcy Code, to the extent that there are
anticipated changes in Reorganized BSA’s directors and officers, the Debtors will identify any
such changes in the Plan Supplement. On and after the Effective Date, the Amended BSA Bylaws,
as such may be amended thereafter from time to time, shall govern the designation and election of
directors of Reorganized BSA.

       5.      Dissolution of Delaware BSA

        On the Effective Date, Delaware BSA’s members, directors, officers and employees shall
be deemed to have resigned, and Delaware BSA shall be deemed to have dissolved for all purposes
and be of no further legal existence under any applicable state or federal law, without the need for
any further action or the filing of any plan of dissolution, notice, or application with the Secretary
of State of the State of Delaware or any other state or government authority, and without the need


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to pay any franchise or similar taxes to effectuate such dissolution. Any Allowed Claims against
Delaware BSA will be treated as set forth in Article III.B of the Plan.

       6.      Due Authorization

       As of the Effective Date, all actions contemplated by the Plan that require corporate action
of the Debtors, or either of them, including actions requiring a vote of the National Executive
Board or the National Executive Committee of the BSA or the sole member of Delaware BSA,
and execution of all documentation incident to the Plan, shall be deemed to have been authorized,
approved, and, to the extent taken prior to the Effective Date, ratified in all respects without any
requirement of further action by the Bankruptcy Court, members, officers, or directors of the
Debtors, Reorganized BSA, or any other Person.

       7.      Cancellation of Interests

       As of the Effective Date, in accordance with Article III.B.12 of the Plan, Interests in
Delaware BSA shall be deemed cancelled without further action by or order of the Bankruptcy
Court and shall be of no further force or effect.

       8.      Restatement of Indebtedness

        Except as otherwise provided in the Plan, or in any contract, instrument, release or other
agreement or document entered into or delivered in connection with the Plan, and subject to the
treatment afforded to holders of Allowed Claims in Class 3A, 3B, 4A, or 4B under Article III of
the Plan, on the Effective Date, all Prepetition Debt and Security Documents, including all
agreements, instruments, and other documents evidencing or issued pursuant to the 2010 Credit
Facility Documents, the 2019 RCF Documents, the 2010 Bond Documents, the 2012 Bond
Documents, or any indebtedness or other obligations thereunder, and any rights of any holder in
respect thereof, shall be deemed amended and restated in the form of the Restated Debt and
Security Documents on the terms set forth herein.

        Any provision in any document, instrument, lease, or other agreement that causes or
effectuates, or purports to cause or effectuate, a default, termination, waiver, or other forfeiture of,
or by, the Debtors as a result of the satisfactions, Injunctions, Releases, Discharges and other
transactions provided for in the Plan shall be deemed null and void and shall be of no force or
effect. Nothing contained herein shall be deemed to cancel, terminate, release, or discharge the
obligation of the Debtors or any of their counterparties under any Executory Contract or Unexpired
Lease to the extent such Executory Contract or Unexpired Lease has been assumed by the Debtors
pursuant to a Final Order of the Bankruptcy Court, including the Confirmation Order.

       9.      Cancellation of Liens

        Except as otherwise provided in the Plan, on the Effective Date, any Lien securing any
Allowed Secured Claim (other than a Lien securing any Allowed Secured Claim that is Reinstated
pursuant to the Plan, including, for avoidance of doubt, the liens securing the Restated Debt and
Security Documents) shall be deemed released and the holder of such Allowed Secured Claim
shall be authorized and directed to release any collateral or other property of any Debtor (including
any cash collateral) held by such holder and to take such actions as may be requested by the

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Debtors (or Reorganized BSA, as the case may be) to evidence the release of such Lien, including
the execution, delivery, and filing or recording of such releases as may be requested by the Debtors
(or Reorganized BSA, as the case may be).

       10.      Effectuating Documents and Further Transactions

        The Chief Executive Officer and President, the Chief Financial Officer, and the General
Counsel of the BSA are authorized to execute, deliver, file or record such contracts, instruments,
releases, indentures, and other agreements or documents and take or direct such actions as may be
necessary or appropriate to effectuate and further evidence the terms and conditions of the Plan in
the name of and on behalf of Reorganized BSA, without the need for any approvals, authorizations,
actions, or consents except for those expressly required pursuant to the Plan.

       11.      Sources of Consideration for Plan Distributions

       Distributions under the Plan shall be funded from the following sources:

                1.     the Debtors shall fund Distributions on account of and satisfy Allowed
                       General Unsecured Claims exclusively from the Core Value Cash Pool;

                2.     the Settlement Trust shall fund distributions on account of and satisfy
                       compensable Abuse Claims in accordance with the Trust Distribution
                       Procedures from (a) the BSA Settlement Trust Contribution, (b) the Local
                       Council Settlement Contribution, (c) the Contributing Chartered
                       Organization Settlement Contribution, (d) the Participating Chartered
                       Organization Settlement Contribution, (e) the Hartford Settlement
                       Contribution, and (f) any and all funds, proceeds or other consideration
                       contributed to the Settlement Trust under the terms of any Insurance
                       Settlement Agreement;

                3.     the Debtors shall satisfy 2010 Credit Facility Claims, 2019 RCF Claims,
                       2010 Bond Claims, and 2012 Bond Claims in accordance with the terms of
                       the Restated 2010 Bond Documents, the Restated 2012 Bond Documents
                       and the Restated Credit Facility Documents, as applicable; and

                4.     the Debtors shall fund Distributions on account of and satisfy all other
                       Allowed Claims with Unrestricted Cash and Investments on hand on or after
                       the Effective Date in accordance with the terms of the Plan and the
                       Confirmation Order.

       12.      Calculation of Minimum Unrestricted Cash and Investments

      The minimum amount of Unrestricted Cash and Investments to be retained by Reorganized
BSA on the Effective Date shall be:

                1.     $25,000,000 if the Effective Date occurs on or before September 30, 2021;




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                2.     $37,000,000 if the Effective Date occurs on or after October 1, 2021 but
                       before November 1, 2021;

                3.     $36,000,000 if the Effective Date occurs on or after November 1, 2021 but
                       before December 1, 2021;

                4.     $40,000,000 if the Effective Date occurs on or after December 1, 2021 but
                       before January 1, 2022;

                5.     $57,000,000 if the Effective Date occurs on or after January 1, 2022 but
                       before February 1, 2022;

                6.     $41,000,000 if the Effective Date occurs on or after February 1, 2022 but
                       before March 1, 2022;

                7.     $55,000,000 if the if the Effective Date occurs on or after March 1, 2022
                       but before April 1, 2022; and

                8.     $54,000,000 if the Effective Date occurs on or after April 1, 2022.

Without limiting the foregoing, in accordance with the Hartford Insurance Settlement Agreement
and the Allowance of the Hartford Administrative Expense Claim under the Plan, the Net
Unrestricted Cash and Investments shall be reduced on a dollar-for-dollar basis equal to fifty
percent (50%) of the Allowed Hartford Administrative Expense Claim, or $1,000,000.

       13.      Resolution of Abuse Claims

        All Abuse Claims shall be channeled to and resolved by the Settlement Trust in accordance
with the Trust Distribution Procedures; provided, that any Non-Settling Insurance Company may,
subject to Article X.M of the Plan, raise any valid Insurance Coverage Defense in response to a
demand by the Settlement Trust, including any right of such Non-Settling Insurance Company to
assert any defense that could, but for the Settlement Trust’s assumption of the liabilities,
obligations, and responsibilities of the Protected Parties for Abuse Claims, have been raised by the
Debtors or other applicable Protected Party with respect to such Claim.

      If the Plan is confirmed, the Plan shall provide for the global resolution of Abuse
Claims against the Debtors, Related Non-Debtor Entities, Local Councils, Contributing
Chartered Organizations, Settling Insurance Companies, and their respective
Representatives.

       14.      Funding by the Settlement Trust

        The Settlement Trust shall have no obligation to fund costs or expenses other than those
set forth in the Plan or the Settlement Trust Documents, as applicable.




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       15.      Core Value Cash Pool

        Reorganized BSA shall deposit Cash into the Core Value Cash Pool by making four semi-
annual installment payments equal to $6,250,000. Reorganized BSA shall make the first deposit
six (6) months after the Effective Date; the second installment on the first anniversary after the
Effective Date; the third installment eighteen (18) months after the Effective Date; and the fourth
installment on the second anniversary of the Effective Date.

       16.      Creditor Representative; Disbursing Agent

        The Creditor Representative shall be appointed as of the Effective Date. The Creditor
Representative shall be responsible for assisting Reorganized BSA and its professionals in their
efforts to efficiently reconcile Convenience Claims, General Unsecured Claims, and Non-Abuse
Litigation Claims. The identity of the Creditor Representative shall be determined by the
Creditors’ Committee, with the consent of the Debtors (such consent not to be unreasonably
withheld). The Debtors or Reorganized BSA, as applicable, will use commercially reasonable
efforts to assist the Creditor Representative in reconciling Convenience Claims, General
Unsecured Claims, and Non-Abuse Litigation Claims on or before the applicable Claims Objection
Deadline. The reasonable fees and actual and necessary costs and expenses of the Creditor
Representative shall be paid by Reorganized BSA up to the Creditor Representative Fee Cap, and
Reorganized BSA shall have no obligation to compensate or reimburse the costs or expenses of
the Creditor Representative beyond the amount of the Creditor Representative Fee Cap. The
Disbursing Agent shall have the rights, powers and responsibilities provided in Article VII of the
Plan. The reasonable fees and actual and necessary costs and expenses of the Disbursing Agent,
if any, shall be paid by Reorganized BSA.

       17.      Residual Cash in Core Value Cash Pool

        To the extent any Cash remains in the Core Value Cash Pool after all Allowed General
Unsecured Claims have been satisfied in full, such remaining Cash shall: (1) first, on account of
any Allowed Non-Abuse Litigation Claims that shall not have elected to be treated as an Allowed
Convenience Claim under Article III.B.9 of the Plan to satisfy any deficiency in payments of such
Allowed Claims (a) from available insurance coverage, including Abuse Insurance Policies and
Non-Abuse Insurance Policies, (b) from applicable proceeds of any Insurance Settlement
Agreements, and (c) from co-liable non-debtors (if any) or their insurance coverage; (2) second,
to pay interest to holders of Allowed General Unsecured Claims in accordance with Article VII.L
of the Plan; and (3) third irrevocably re-vest in Reorganized BSA.

       18.      Compromise and Settlement of Claims, Interests, and Controversies

        Pursuant to section 1123(b)(3)(A) of the Bankruptcy Code and Bankruptcy Rule 9019 and
in consideration for the distributions and other benefits provided under the Plan and the Plan
Documents, as of the Effective Date, the provisions of the Plan, including the Abuse Claims
Settlement, the Hartford Insurance Settlement, the JPM / Creditors’ Committee Settlement, the
TCJC Settlement, and the Settlement of Restricted and Core Asset Disputes set forth in Article
V.S of the Plan, shall constitute good-faith compromises and settlements of Claims, Interests, and
controversies among the parties thereto relating to the contractual, legal, equitable and


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subordination rights that holders of Claims or Interests may have with respect to any Claim or
Interest under the Plan or any Distribution to be made on account of an Allowed Claim. The Plan
shall be deemed a motion, proposed by the Debtors and joined by the parties to the Abuse Claims
Settlement, the Hartford Insurance Settlement Agreement, the JPM / Creditors’ Committee
Settlement, the TCJC Settlement, and the Settlement of Restricted and Core Asset Disputes,
respectively, and the entry of the Confirmation Order shall constitute the Bankruptcy Court’s
approval of the compromise and settlement of all such Claims, Interests, and controversies among
the parties thereto, as well as a finding by the Bankruptcy Court that such compromise or
settlement is in the best interests of the Debtors, their Estates, and holders of such Claims and
Interests, and is fair, equitable and reasonable.

              1.      Abuse Claims Settlement. The treatment provided for Abuse Claims,
              including Post-1975 Chartered Organization Abuse Claims, under the Plan
              incorporates and reflects a proposed compromise and settlement of all Scouting
              Released Claims, including all Abuse Claims against the Protected Parties and all
              Post-1975 Chartered Organization Abuse Claims against the Limited Protected
              Parties (the “Abuse Claims Settlement”), and the Plan constitutes a request for the
              Bankruptcy Court to authorize and approve the Abuse Claims Settlement. The
              following constitute the provisions and conditions of the Abuse Claims Settlement:
                      a.     Local Council Settlement Contribution. The Local Councils shall
              make, cause to be made, or be deemed to have made, as applicable, the Local
              Council Settlement Contribution, as set forth in Exhibit F of the Plan and as defined
              in the Plan, meaning:
                            (i)      the contributions to the Settlement Trust by the Local
                      Councils, as set forth in Exhibit F to the Plan;

                              (ii)   to the maximum extent under applicable law, any and all of
                      the Local Councils’ rights, titles privileges, interests, claims, demands or
                      entitlements, as of the Effective Date, to any proceeds, interest, claims,
                      demands or entitlements, as of the Effective Date, to any proceeds,
                      payments, benefits, Causes of Action, choses in action, defense, or
                      indemnity, now existing or hereafter arising, accrued or unaccrued,
                      liquidated or unliquidated, matured or unmatured, disputed or undisputed,
                      fixed or contingent, arising under or attributable to: (i) the BSA Insurance
                      Policies, the Insurance Coverage, the Insurance Settlement Agreements,
                      and claims thereunder and proceeds thereof (but not the policies
                      themselves); (ii) the Insurance Actions; and (iii) the Insurance Action
                      Recoveries; provided, however, that the transfer set forth in the Plan will
                      not include the Local Council Reserved Rights;

                              (iii) to the maximum extent permitted under applicable law, any
                      and all of the Local Councils’ rights, titles, privileges, interests, claims,
                      demands or entitlements, as of the Effective Date, to any proceeds,
                      payments, benefits, Causes of Action, choses in action, defense, or
                      indemnity, now existing or hereafter arising, accrued or unaccrued,
                      liquidated or unliquidated, matured or unmatured, disputed or undisputed,

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           fixed or contingent, arising under or attributable to: (i) the Local Council
           Insurance Policies, the Insurance Coverage, the Insurance Settlement
           Agreements, and claims thereunder and proceeds thereof; (ii) the Insurance
           Actions; and (iii) the Insurance Action Recoveries; provided, however, that
           the transfer set forth in the Plan will not include the Local Council Reserved
           Rights;

                   (iv)   the waiver, release, and expungement from the Claims
           Register of any and all Claims that have been asserted in the Chapter 11
           Cases by or on behalf of any Local Council, including any Indirect Abuse
           Claims, without any further notice to or action, order or approval of the
           Bankruptcy Court, and the agreement of each Local Council not to file or
           assert any Claim or Claims against the Debtors or Reorganized BSA arising
           from any act or omission of the Debtors on or prior to the Confirmation
           Date;

                   (v)     the Local Councils’ Settlement Trust Causes of Action; and

                  (vi)   the assignment of any and all Perpetrator Indemnification
           Claims held by the Local Councils.

                    (vii) Further, if a Local Council is unable to transfer its rights,
           titles, privileges, interests, claims, demands or entitlements, as of the
           Effective Date, to any proceeds, payments, benefits, Causes of Action,
           choses in action, defense, or indemnity, now existing or hereafter arising,
           accrued or unaccrued, liquidated or unliquidated, matured or unmatured,
           disputed or undisputed, fixed or contingent, arising under or attributable to
           (i) the Abuse Insurance Policies, the Insurance Settlement Agreements, and
           claims thereunder and proceeds thereof; (ii) Insurance Actions, and (iii) the
           Insurance Action Recoveries (the “Local Council Insurance Rights”), then
           the Local Council shall, at the sole cost and expense of the Settlement Trust:
           (a) take such actions reasonably requested by the Settlement Trustee to
           pursue any of the Local Council Insurance Rights for the benefit of the
           Settlement Trust; and (b) promptly transfer to the Settlement Trust any
           amounts recovered under or on account of any of the Local Council
           Insurance Rights; provided, however, that while any such amounts are held
           by or under the control of any Local Council, such amounts shall be held
           for the benefit of the Settlement Trust.

            b.       Contributing Chartered Organization Settlement Contribution. The
   Contributing Chartered Organizations, including TCJC, shall make, cause to be
   made, or be deemed to have made, as applicable, the Contributing Chartered
   Organization Settlement Contribution, including the TCJC Settlement
   Contribution. If a Contributing Chartered Organization is unable to transfer its
   rights, titles, privileges, interests, claims, demands or entitlements, if any, as of the
   Effective Date, to any proceeds, payments, benefits, Causes of Action, choses in
   action, defense, or indemnity, now existing or hereafter arising, accrued or


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   unaccrued, liquidated or unliquidated, matured or unmatured, disputed or
   undisputed, fixed or contingent, arising under or attributable to (i) the Abuse
   Insurance Policies, the Insurance Settlement Agreements, and claims thereunder
   and proceeds thereof, (ii) the Insurance Actions, and (iii) the Insurance Action
   Recoveries (the “Contributing Chartered Organization Insurance Rights”), then the
   Contributing Chartered Organization shall, at the sole cost and expense of the
   Settlement Trust: (a) take such actions reasonably requested by the Settlement
   Trustee to pursue any of the Contributing Chartered Organization Insurance Rights
   for the benefit of the Settlement Trust; and (b) promptly transfer to the Settlement
   Trust any amounts recovered under or on account of any of the Contributing
   Chartered Organization Insurance Rights; provided, however, that while any such
   amounts are held by or under the control of any Contributing Chartered
   Organization, such amounts shall be held for the benefit of the Settlement Trust.

           c.      Participating Chartered Organization Settlement Contribution. The
   Participating Chartered Organizations shall make, cause to be made, or be deemed
   to have made, as applicable, the Participating Chartered Organization Settlement
   Contribution. In addition, to the extent that the Settlement Trust’s allowance of a
   particular Abuse Claim results in an Allowed Claim Amount (as defined in the
   Trust Distribution Procedures) for such Claim that exceeds the available limits of
   the Abuse Insurance Policies potentially applicable to such Claim, then, with
   respect to Post-1975 Chartered Organization Abuse Claims, the Settlement Trust
   shall have the right to assert a claim against applicable Participating Chartered
   Organizations solely to the extent and availability of such Participating Chartered
   Organizations’ own liability insurance (or, if permitted by applicable law, directly
   against such liability insurance), in all cases without recourse to any non-insurance
   assets of such Participating Chartered Organizations. If a Participating Chartered
   Organization is unable to transfer its rights, titles, privileges, interests, claims,
   demands or entitlements, if any, as of the Effective Date, to any proceeds,
   payments, benefits, Causes of Action, choses in action, defense, or indemnity, now
   existing or hereafter arising, accrued or unaccrued, liquidated or unliquidated,
   matured or unmatured, disputed or undisputed, fixed or contingent, arising under
   or attributable to (i) the Abuse Insurance Policies, (excluding the Chartered
   Organization Reserved Policies), the Insurance Settlement Agreements, and claims
   thereunder and proceeds thereof, (ii) the Insurance Actions, and (iii) the Insurance
   Action Recoveries (the “Participating Chartered Organization Insurance Rights”),
   then the Participating Chartered Organization shall, at the sole cost and expense of
   the Settlement Trust: (a) take such actions reasonably requested by the Settlement
   Trustee to pursue any of the Participating Chartered Organization Insurance Rights
   for the benefit of the Settlement Trust; and (b) promptly transfer to the Settlement
   Trust any amounts recovered under or on account of any of the Participating
   Chartered Organization Insurance Rights; provided, however, that while any such
   amounts are held by or under the control of any Participating Chartered
   Organization, such amounts shall be held for the benefit of the Settlement Trust.

          d.      Claims Deemed Withdrawn with Prejudice. On the Effective Date,
   any and all Claims that have been asserted in the Chapter 11 Cases by or on behalf

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   of any Local Council, Participating Chartered Organization, Contributing
   Chartered Organization, or Settling Insurance Company shall be deemed
   withdrawn with prejudice and irrevocably waived, released and expunged from the
   Claims Register without any further notice to or action, order, or approval of the
   Bankruptcy Court, except that any withdrawal, waiver, release or expungement of
   any Claims asserted by Hartford or TCJC shall be governed by the terms and
   conditions of the Hartford Insurance Settlement Agreement and the TCJC
   Settlement Agreement, respectively. Further, no Local Council, Participating
   Chartered Organization, Contributing Chartered Organization, or Settling
   Insurance Company shall file or assert any Claim or Claims against the Debtors or
   Reorganized BSA arising from any act or omission of the Debtors prior to the
   Confirmation Date, except as provided otherwise in the Hartford Insurance
   Settlement Agreement (including with respect to the Hartford Additional
   Administrative Expense Claim, if applicable).

           e.      Entitlement to Become a Protected Party. Notwithstanding anything
   to the contrary set forth in the Plan or any other document filed with the Bankruptcy
   Court: (i) no Local Council shall be treated as a Protected Party under the Plan if
   any part of the Cash or Property Contribution (as defined on Exhibit F of the Plan)
   components of the Local Council Settlement Contribution is not contributed to the
   Settlement Trust on the Effective Date as described on Exhibit F of the Plan, it
   being understood that the Property contribution shall be deemed to have been
   contributed on the Effective Date for Purposes of this provision when all individual
   Local Councils that are to make a Property Contribution have provided a notice of
   intent to contribute property to the Settlement Trust in accordance with the terms
   of the Property Contribution set forth on Exhibit F of the Plan; (ii) no Contributing
   Chartered Organization shall be treated as a Protected Party under the Plan until its
   Contributing Chartered Organization Settlement Contribution shall have been
   made; (iii) no Settling Insurance Company shall be treated as a Protected Party
   under the Plan until such Settling Insurance Company shall have made its
   contribution to the Settlement Trust pursuant to an Insurance Settlement
   Agreement, except that Hartford shall be treated as a Settling Insurance Company
   and Protected Party upon the payment of the Initial Payment to the Settlement Trust
   and the payment of the Additional Payment into the Escrow Account (as such
   capitalized terms are defined in the Hartford Insurance Settlement Agreement); and
   (iv) no Participating Chartered Organization shall be treated as a Protected Party
   solely based on the Participating Chartered Organization Insurance Assignment.

          f.      Entitlement to Become a Limited Protected Party. Notwithstanding
   anything to the contrary set forth in the Plan or any other document filed with the
   Bankruptcy Court, no Chartered Organization shall be treated as a Limited
   Protected Party under the Plan if it objects to Confirmation of the Plan or informs
   Debtors’ counsel in writing on or before the deadline to object to Confirmation of
   the Plan that it does not wish to make the Chartered Organization Insurance
   Assignment. Notwithstanding the foregoing, no Chartered Organization that is a
   debtor in bankruptcy as of the Confirmation Date (including the Archbishop of
   Agaña, a Corporation Sole), shall be treated as a Participating Chartered

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                    Organization unless it advises Debtors’ counsel in writing that it wishes to make
                    the Chartered Organization Insurance Assignment.

                 2.      The JPM / Creditors’ Committee Settlement. The treatment provided for
          under the Plan for Allowed 2010 Credit Facility Claims, Allowed 2019 RCF Claims,
          Allowed 2010 Bond Claims, Allowed 2012 Bond Claims, Allowed Convenience Claims,
          Allowed General Unsecured Claims, and Allowed Non-Abuse Litigation Claims, together
          with the terms and conditions of the JPM / Creditors’ Committee Term Sheet, reflects a
          proposed compromise and settlement by and among the Debtors, the Creditors’ Committee
          and JPM (the “JPM / Creditors’ Committee Settlement”).91 The following constitutes the
          provisions and conditions of the JPM / Creditors’ Committee Settlement:
                            a.      Allowance and Treatment of 2010 Credit Facility Claims, 2019 RCF
                    Claims, 2010 Bond Claims and 2012 Bond Claims. The 2010 Credit Facility
                    Claims, the 2019 RCF Claims, the 2010 Bond Claims and the 2012 Bond Claims
                    shall be Allowed in the amounts set forth in Article III.B of the Plan and receive
                    the treatment afforded to such Claims thereunder. The Debtors acknowledge and
                    agree that the Claims held by JPM (the 2010 Credit Facility Claims, the 2019 RCF
                    Claims, the 2010 Bond Claims and the 2012 Bond Claims), are core to the Debtors’
                    charitable mission and were incurred in furtherance of the Debtors’ charitable
                    mission.

                            b.     Treatment of Convenience Claims, General Unsecured Claims, and
                    Non- Abuse Litigation Claims. Convenience Claims, General Unsecured Claims,
                    and Non-Abuse Litigation Claims shall receive the treatment afforded to such
                    Claims under Article III.B of the Plan. The Debtors acknowledge and agree that
                    General Unsecured Claims, Convenience Claims, and Non-Abuse Litigation
                    Claims are held by creditors who are core to the Debtors’ charitable mission or
                    creditors whose Claims in such Classes, if Allowed, were incurred in furtherance
                    of the Debtors’ charitable mission; accordingly, payments by Reorganized BSA
                    under the Plan on account of such Allowed Claims, if applicable, will be made from
                    Cash relating to Reorganized BSA’s core assets.

                            c.      Challenge Period. As of the Effective Date, (i) the Challenge Period
                    (as defined in the Cash Collateral Order) shall be deemed to have expired with
                    respect to the Creditors’ Committee; (ii) the Stipulations (as defined in the Cash
                    Collateral Order) and other admissions, agreements and releases set forth in the
                    Cash Collateral Order shall be final and binding on the Creditors’ Committee. The
                    ability of any other party to bring a Challenge Proceeding (as defined in the Cash
                    Collateral Order) shall be governed by the terms and conditions of the Cash
                    Collateral Order.

                 3.     Settlement of Restricted and Core Asset Disputes.       As a proposed
          compromise and settlement of any and all disputes concerning the Debtors’ restricted
          and/or core assets, including the claims asserted in the complaint filed by the Tort
91   In the event of a conflict between the terms and conditions of the Plan, on the one hand, and the terms and conditions of the
     JPM / Creditors’ Committee Term Sheet, on the other hand, the terms of the Plan shall control.


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Claimants’ Committee in the adversary proceeding entitled Official Tort Claimants’
Committee of Boy Scouts of America and Delaware BSA, LLC v. Boy Scouts of America
and Delaware BSA, LLC, Adv. Pro. No. 21-50032 (LSS) (the “Settlement of Restricted
and Core Asset Disputes”), the Debtors shall: (a) reduce the minimum amount of
Unrestricted Cash and Investments to be retained by Reorganized BSA on the Effective
Date from $75,000,000 to $25,000,000 (subject to potential variance as set forth in Article
V.M of the Plan); and (b) issue the BSA Settlement Trust Note to the Settlement Trust as
of the Effective Date in accordance with Article V.X of the Plan. As further consideration
in connection with the Settlement of Restricted and Core Asset Disputes, the Debtors have
agreed under the Plan to: (i) fund the Core Value Cash Pool, in the amount of $25,000,000;
and (ii) make the BSA Settlement Trust Contribution, including all of the Net Unrestricted
Cash and Investments. The proceeds of the Foundation Loan, in the amount of
$42,800,000 (which Reorganized BSA will use exclusively for working capital and general
corporate purposes), will permit the Debtors to contribute to the Settlement Trust a
substantial amount of core value consideration in Cash on the Effective Date.

         4.     Hartford Insurance Settlement Agreement. The Plan incorporates the
Hartford Insurance Settlement Agreement, which is attached to the Plan as Exhibit I-1, and
the Plan shall constitute a motion by the Debtors for the Bankruptcy Court to approve the
proposed compromises and settlements and sale of the Hartford Policies set forth in the
Hartford Insurance Settlement Agreement (the “Hartford Insurance Settlement”), pursuant
to sections 363, 503(b), 507(a)(2), 1123 and 1141 of the Bankruptcy Code and Bankruptcy
Rule 9019, including approval of (i) the Hartford Insurance Settlement Agreement, (ii) the
sale by the Debtors, their Estates, and the purchase by Hartford, of the Hartford Policies,
free and clear of all Interests of any Person or Entity (as such terms are defined in the
Hartford Insurance Settlement Agreement; for the avoidance of doubt, the term “Interests”
as used in Article V.S.4 of the Plan shall have the meaning given to the term “Interests” in
the Hartford Insurance Settlement Agreement, rather than as such term is defined in Article
I of the Plan), provided that the Interests, if any, of Chartered Organizations under the
Hartford Policies shall, to the extent such Chartered Organizations are not beneficiaries of
the Channeling Injunction, attach to the proceeds of the sale of the Hartford Policies, (iii)
the settlement, compromise and release of the Hartford Released Claims (as defined in the
Hartford Insurance Settlement Agreement) as provided in the Hartford Insurance
Settlement Agreement, and (iv) the Allowance of the Hartford Administrative Expense
Claim. The Confirmation Order shall constitute the Bankruptcy Court’s approval of such
motion pursuant to sections 363, 503(b), 507(a)(2), 1123 and 1141 of the Bankruptcy Code
and Bankruptcy Rule 9019 and Allowance of the Hartford Administrative Expense Claim
and shall include findings of fact and conclusions of law pertaining to such approval, in
form and substance acceptable to Hartford, including findings and conclusions designating
Hartford as a good-faith purchaser of the Hartford Policies.

        5.      TCJC Settlement. The Plan incorporates the TCJC Settlement Agreement,
which is attached to the Plan as Exhibit J-1, and the Plan shall constitute a motion by the
Debtors for the Bankruptcy Court to approve the proposed compromises and settlements
set forth in the TCJC Settlement Agreement (the “TCJC Settlement”) pursuant to section
1123 of the Bankruptcy Code and Bankruptcy Rule 9019, including, as provided in the
TCJC Settlement Agreement, payment of the TCJC Settlement Contribution to the

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       Settlement Trust as a compromise and settlement of all TCJC Abuse Claims, TCJC Claims,
       and disputes relating to the Plan, including the TCJC Insurance Rights (as such terms are
       defined in the TCJC Settlement Agreement). The Confirmation Order shall constitute the
       Bankruptcy Court’s approval of such motion pursuant to section 1123 of the Bankruptcy
       Code and Bankruptcy Rule 9019 and shall include findings of fact and conclusions of law
       pertaining to such approval, in form and substance acceptable to TCJC.

       19.      Payment of Coalition Restructuring Expenses

        On or as soon as reasonably practicable after the Effective Date, Reorganized BSA shall
reimburse state court counsel for amounts they have paid to the Coalition Professionals for,
and/or pay the Coalition Professionals for amounts payable by state court counsel but not yet
paid to Coalition Professionals for, reasonable, documented, and contractual professional
advisory fees and expenses incurred by the Coalition Professionals (the “Coalition Restructuring
Expenses”) from the Coalition’s inception up to and including the Effective Date, up to a
maximum amount equal to (a) $950,000 per month for the period from August 16, 2021 up to
and including the Effective Date (pro-rated for any partial month), plus (b) $10,500,000;
provided, however, that, without limiting the foregoing, under no circumstance shall the Debtors
or Reorganized BSA have any obligation to (i) pay or reimburse the Coalition, any of its
members, or any Persons affiliated with the Coalition for any costs, fees or expenses other than
the Coalition Restructuring Expenses or (ii) pay or reimburse any Coalition Restructuring
Expenses that constitute transaction, success or similar contingent fees. The Coalition shall
provide the Debtors a reasonable estimate of the total Coalition Restructuring Expenses as of the
Effective Date no later than the date that is five (5) Business Days before the anticipated
Effective Date. Notwithstanding anything to the contrary in the Plan, Coalition Restructuring
Expenses shall be subject to the terms of Article II.A.2 of the Plan, with the following
modifications: (x) Coalition Professionals shall comply with the procedures and processes set
forth in Article II.A.2 of the Plan by filing final fee application(s), which, for attorneys or law
firms who are Coalition Professionals, shall include time entry detail, which may be redacted for
privilege; and (y) payment or reimbursement of Coalition Restructuring Expenses shall be
subject to the review and procedure of the Fee Examiner. For the avoidance of doubt, the
Coalition Professionals shall not be considered retained professionals of the Debtors, the
Creditors’ Committee, the Tort Claimants’ Committee, or the Future Claimants’ Representative,
and the retention of the Coalition Professionals shall not have been required to satisfy the
standards for retention set forth in sections 327, 328 or 1103 of the Bankruptcy Code.

       20.      Good-Faith Compromise and Settlement

       The Plan (including its incorporation of the Abuse Claims Settlement, the Hartford
Insurance Settlement, the JPM / Creditors’ Committee Settlement, the TCJC Settlement, and the
Settlement of Restricted and Core Asset Disputes), the Plan Documents, and the Confirmation
Order constitute a good-faith compromise and settlement of Claims, Interests and controversies
based upon the unique circumstances of these Chapter 11 Cases, and none of the foregoing
documents, the Disclosure Statement, or any other papers filed in furtherance of Confirmation, nor
any drafts of such documents, may be offered into evidence or deemed as an admission in any
context whatsoever beyond the purposes of the Plan, in any other litigation or proceeding, except
as necessary, and as admissible in such context, to enforce their terms before the Bankruptcy Court


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or any other court of competent jurisdiction. The Plan, the Abuse Claims Settlement, the Hartford
Insurance Settlement, the JPM / Creditors’ Committee Settlement, the TCJC Settlement, the
Settlement of Restricted and Core Asset Disputes, the Plan Documents, and the Confirmation
Order will be binding as to the matters and issues described therein, but will not be binding with
respect to similar matters or issues that might arise in any other litigation or proceeding in which
none of the Debtors, Reorganized BSA, the Protected Parties, or the Settlement Trust is a party.

       21.      Restated Debt and Security Documents

        On the Effective Date, the Prepetition Debt and Security Documents shall be amended and
restated in the form of the Restated Debt and Security Documents, and Reorganized BSA, JPM
and Arrow shall, and shall be authorized, to execute, deliver and enter into the Restated Debt and
Security Documents as of such date, in principal amounts equal to the Allowed amounts set forth
in Article III.B.3, Article III.B.4, Article III.B.5, and Article III.B.6 of the Plan without the need
for any further corporate action or any further notice to or order of the Bankruptcy Court. The
Debtors or Reorganized BSA, as applicable, JPM, and Arrow shall take all actions necessary to
continue the Debtors’ obligations under the Prepetition Debt and Security Documents, as amended
and restated by the Restated Debt and Security Documents and to give effect to the Restated Debt
and Security Documents, including surrendering any debt instruments or securities that are no
longer applicable under the Restated Debt and Security Documents to the Debtors or Reorganized
BSA. Entry of the Confirmation Order shall be deemed approval of the JPM Exit Fee, and
Reorganized BSA is authorized and directed to pay the JPM Exit Fee to JPM on the Effective Date

        Except as otherwise modified by the Restated Debt and Security Documents, all Liens,
mortgages and security interests securing the obligations arising under the Restated Debt and
Security Documents that were collateral securing the Debtors’ obligations under the Prepetition
Debt and Security Documents as of the Petition Date are unaltered by the Plan, and all such Liens,
mortgages and security interests are reaffirmed and perfected with respect to the Restated Debt
and Security Documents to the same extent, in the same manner and on the same terms and
priorities as they were under the Prepetition Debt and Security Documents, except as the foregoing
may be modified pursuant to the Restated Debt and Security Documents. All Liens and security
interests granted and continuing pursuant to the Restated Debt and Security Documents shall be
(a) valid, binding, perfected, and enforceable Liens and security interests in the personal and real
property described in and subject to such documents, with the priorities established in respect
thereof under applicable non-bankruptcy law; (b) granted in good faith and deemed not to
constitute a fraudulent conveyance or fraudulent transfer; and (c) not otherwise subject to
avoidance, recharacterization, or subordination (whether equitable, contractual or otherwise) under
any applicable law. The Debtors, Reorganized BSA, Arrow, and JPM are authorized to make, and
to the extent required by the Restated Debt and Security Documents, the Debtors, Reorganized
BSA, Arrow will make, all filings and recordings, and obtain all governmental approvals and
consents necessary (but otherwise consistent with the consents and approvals obtained in
connection with the Prepetition Debt and Security Documents) to establish, attach and perfect such
Liens and security interests under any applicable law (it being understood that perfection shall
occur automatically by virtue of the entry of the Confirmation Order and any such filings,
recordings, approvals, and consents shall not be required), and will thereafter cooperate to make
all other filings and recordings that otherwise would be necessary under applicable law to give
notice of such Liens and security interests to third parties. For purposes of all mortgages and


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deposit account control agreements that secured the obligations arising under the Prepetition Debt
and Security Documents, the Restated Debt and Security Documents are deemed an amendment
and restatement of the Prepetition Debt and Security Documents, and such mortgages and control
agreements shall survive the Effective Date, shall not be cancelled, and shall continue to secure
Reorganized BSA’s obligations under the Restated Debt and Security Documents, except as
expressly set forth therein.

               1.      The definitive terms of the Restated Debt and Security Documents shall be
       (x) acceptable to JPM and the BSA, (y) reasonably acceptable to the Creditors’ Committee,
       and (z) substantially the same as the Prepetition Debt and Security Documents, except that,
       as to be specified in the Restated Debt and Security Documents:
               a.     the maturity dates under the Restated 2010 Bond Documents, the Restated
                      2012 Bond Documents, and the Restated Credit Facility Documents will be
                      the Restated Maturity Date;

                      b.      principal under the Restated 2010 Bond Documents and the
                              Restated 2012 Bond Documents shall be payable in monthly
                              installments, in the same monthly amounts as the prepetition
                              periodic amortization amounts, beginning on the date that is two (2)
                              years after the Effective Date and ending on the Restated Maturity
                              Date; provided, that the scheduled principal amounts payable under
                              the Restated 2010 Bond Documents and the Restated 2012 Bond
                              Documents shall be reduced, on a pro rata basis, by an amount equal
                              to the Excess Cash and Investments, if any, that are remitted to JPM
                              under the Excess Cash Sweep;

               c.     interest under the Restated 2010 Bond Documents and the Restated 2012
                      Bond Documents shall be payable in monthly installments, at the currently
                      applicable existing rates in the 2010 Bond Documents and the 2012 Bond
                      Documents, beginning on the date that is one month after the Effective Date
                      and ending on the Restated Maturity Date;
               d.     principal under the Restated Credit Facility Documents shall be payable in
                      quarterly installments, set at 1/40th of the outstanding balance on the
                      Effective Date, beginning on the date that is two (2) years after the Effective
                      Date and ending on the Restated Maturity Date; provided, that the principal
                      amounts payable under the Restated Credit Facility Documents shall be
                      reduced, on a pro rata basis, by an amount equal to the Excess Cash and
                      Investments, if any, that are remitted to JPM under the Excess Cash Sweep;
               e.     interest under the Restated Credit Facility Documents shall be payable in
                      quarterly installments at the applicable existing rates in the Prepetition Debt
                      and Security Documents, beginning on the date that is three (3) months after
                      the Effective Date and ending on the Restated Maturity Date;




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                f.     all of the obligations of Reorganized BSA under the Restated Debt and
                       Security Documents shall be secured by first-priority liens on and security
                       interests in all of the assets of Reorganized BSA;
                g.     all of the obligations of Reorganized BSA under the Restated Debt and
                       Security Documents shall be guaranteed by Arrow; and
                h.     beginning on December 31 of the calendar year that is two (2) years after
                       the Effective Date and continuing on December 31 of each successive
                       calendar year until December 31 of the calendar year that is immediately
                       prior to the calendar year of the Restated Maturity Date, Reorganized BSA
                       shall remit to JPM, as soon as reasonably practicable but in no case later
                       than thirty (30) days of such date, twenty-five percent (25%) of the Excess
                       Cash and Investments in excess of $75,000,000, if any, as of such date,
                       measured on a pro forma basis after having given effect to the principal
                       payment, if any, due on February 15 of the following year under the BSA
                       Settlement Trust Note, if applicable (the “Excess Cash Sweep”), and JPM
                       shall apply any such amounts on a pro rata basis to the unpaid principal
                       balances under the Restated Debt and Security Documents. For the
                       avoidance of doubt, no payments shall be made on account of the Excess
                       Cash Sweep until the last Distribution is made on account of Allowed
                       General Unsecured Claims.
                        2.      Except as may be provided for in an Insurance Settlement
                Agreement, neither any provision of the Plan nor the occurrence of the Effective
                Date shall alter, amend, or otherwise impair the rights and obligations of the
                Debtors, Reorganized BSA, JPM, or any applicable Insurance Company holding
                one or more letters of credit issued by JPM to secure obligations arising under one
                or more BSA Insurance Policies. Without limiting the foregoing, nothing in the
                Plan or the Confirmation Order shall preclude any such Insurance Company from
                exercising any applicable rights on any such letter of credit issued, or other security
                provided, for the benefit of the Insurance Company in accordance with the terms
                and conditions of the documents governing such letter of credit or other security,
                or applying amounts therefrom to any Claim secured by such letter of credit or other
                security, and the Debtors, Reorganized BSA, JPM reserve any and all rights with
                respect to such Insurance Company’s exercise of any applicable rights.
       22.      Foundation Loan

        On the Effective Date, the Foundation Loan Agreement and any applicable collateral and
other loan documents governing the Foundation Loan shall be executed and delivered, and
Reorganized BSA shall be authorized to execute, deliver and enter into, the Foundation Loan
Agreement and related documentation governing the Foundation Loan without the need for any
further corporate action or any further notice to or order of the Bankruptcy Court.

       As of the Effective Date, upon the granting of Liens in accordance with the Foundation
Loan Agreement and any applicable collateral and other loan documents governing the Foundation
Loan, all of the Liens and security interests granted thereunder (a) shall be deemed to have been


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granted, (b) shall be legal, binding, automatically perfected, non-avoidable, and enforceable Liens
on, and security interests in, the applicable collateral as of the Effective Date in accordance with
the respective terms of the Foundation Loan Agreement and related documentation, subject to the
Liens and security interests set forth in the Restated Debt and Security Documents, as permitted
under the Foundation Loan Agreement and related documentation. All Liens and security interests
granted pursuant to the Foundation Loan Agreement and related documentation shall be (i) valid,
binding, perfected, and enforceable Liens and security interests in the personal and property
described in and subject to such documents, with the priorities established in respect thereof under
applicable non-bankruptcy law; (ii) granted in good faith and deemed not to constitute a fraudulent
conveyance or fraudulent transfer; and (c) not otherwise subject to avoidance, recharacterization,
or subordination (whether equitable, contractual or otherwise) under any applicable law. The
Debtors, Reorganized BSA, Arrow WV, Inc., and the Foundation are authorized to make, and to
the extent contemplated by the Foundation Loan Agreement and related documentation, the
Debtors, Reorganized BSA, Arrow WV, Inc. will make, all filings and recordings, and obtain all
governmental approvals and consents necessary to establish, attach and perfect such Liens and
security interests under any applicable law (it being understood that perfection shall occur
automatically by virtue of the entry of the Confirmation Order and any such filings, recordings,
approvals, and consents shall not be required), and will thereafter cooperate to make all other
filings and recordings that otherwise would be necessary under applicable law to give notice of
such Liens and security interest to third parties.

       23.      BSA Settlement Trust Note

        On the Effective Date, Reorganized BSA shall execute, issue and deliver the BSA
Settlement Trust Note to the Settlement Trust and execute and deliver any related documentation
governing the BSA Settlement Trust Note, including any related security agreement, without the
need for any further corporate action or any further notice to or order of the Bankruptcy Court.
The BSA Settlement Trust Note will commence on the Effective Date and will be due ninety-one
(91) days after the date that is ten (10) years after the Effective Date and shall bear interest from
the Effective Date at a rate of 5.5% per annum, payable semi-annually, subject to a payment-in-
kind election for the eighteen (18) months immediately following the Effective Date. The
obligations of Reorganized BSA under the BSA Settlement Trust Note shall be secured by second-
priority liens on and security interests in inventory, accounts receivable (except the Arrow
Intercompany Note), Cash and the Headquarters. Principal under the BSA Settlement Trust Note
shall be payable in annual installments due on February 15 of each year during the term of the
BSA Settlement Trust Note, commencing on February 15 of the second year following the
Effective Date. Such annual principal payments shall be equal to the sum of the following
calculation: (a) $4,500,000; plus (b) $3.50 multiplied by the aggregate number of Youth Members
as of December 31 of the preceding year up to the forecasted number of Youth Members for such
year as set forth in the Debtors’ five-year business plan; plus (c) $50 multiplied by the aggregate
number of High Adventure Base Participants during the preceding calendar year; plus (d) $50
multiplied by the aggregate number of Youth Members in excess of the forecasted number of
Youth Members for such year, excluding the portion of the excess that is comprised of members
under the ScoutReach program, as set forth in the Debtors’ five-year business plan; plus (e) $150
multiplied by the aggregate number of High Adventure Base Participants, excluding those
attending events with a registration fee of less than $300 (e.g., for non-typical High Adventure
Base activities), in excess of the forecasted number of High Adventure Base Participants for such

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year as set forth in the Debtors’ five-year business plan. The forecasted numbers of Youth
Members and High Adventure Base Participants referenced in clauses (b), (d) and (e) of the
foregoing sentence are included in the Financial Projections attached to the Disclosure Statement.
The forecast for years after 2025 shall be deemed to be the forecast for calendar year 2025. The
BSA Settlement Trust Note may be prepaid at any time without penalty.

       24.      DST

        The DST shall be established on the Effective Date in accordance with the DST Agreement.
The purposes of the DST shall be to: (1) issue the DST Note to the Settlement Trust as of the
Effective Date; (2) collect, manage and invest Cash contributed by Local Councils on a monthly
basis to an account (and any replacement thereof) owned by the DST in accordance with the DST
Note Mechanics; and (3) make annual payments (a) to the Pension Plan or (b) toward principal
and interest on the DST Note, as determined in accordance with the DST Note Mechanics and the
DST Agreement. In the event of a conflict between the terms or provisions of the Plan and the
DST Agreement, the terms of the Plan shall control.

       25.      Pension Plan

         No provision contained in the Plan, Confirmation Order, the Bankruptcy Code (including
section 1141 of the Bankruptcy Code), or any other document filed or order entered in the Chapter
11 Cases shall be construed to exculpate, discharge, release or relieve the Debtors, the Local
Councils, or any other party, in any capacity, from any liability or responsibility to any Person
with respect to the Pension Plan under any law, governmental policy, or regulatory provision. The
Pension Plan shall not be enjoined or precluded from enforcing any such liability or responsibility
as a result of any of the provisions of the Plan (including those provisions providing for
exculpation, satisfaction, release and discharge of Claims against the Debtors), the Confirmation
Order, the Bankruptcy Code (including section 1141 of the Bankruptcy Code), or any other
document filed or order entered in the Chapter 11 Cases. The Settlement Trust shall not have any
liability to any Person on account of the Pension Plan, including liability as a member of a
“Controlled Group” as defined in 29 U.S.C. § 1301(a)(14)(A) or on any other basis whatsoever.

        As of the Effective Date, Reorganized BSA shall assume and continue the Pension Plan to
the extent of its obligations under the Pension Plan and applicable law, including, as applicable,
(1) satisfaction of the minimum funding requirements under 26 U.S.C. §§ 412 and 430 and 29
U.S.C. §§ 1082 and 1083, (2) payment of all required Pension Benefit Guaranty Corporation
premiums in accordance with 29 U.S.C. §§ 1306 and 1307, and (3) administration of the Pension
Plan in all material respects in accordance with the applicable provisions of the Employee
Retirement Income Security Act of 1974, as amended, 29 U.S.C. §§ 1301 et seq., and the Internal
Revenue Code. Notwithstanding the foregoing, Reorganized BSA reserves all of its rights under
the Pension Plan. All Proofs of Claim filed by the Pension Benefit Guaranty Corporation with
respect to the Pension Plan shall be deemed withdrawn on the Effective Date.

       26.      Single Satisfaction of Allowed General Unsecured Claims

        In no event shall any holder of an Allowed General Unsecured Claim recover more than
the full amount of its Allowed General Unsecured Claim from the Core Value Cash Pool, and to


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the extent that the holder of an Allowed General Unsecured Claim has received, or in the future
receives, payment on account of such Allowed General Unsecured Claim from a party that is not
a Debtor or Reorganized BSA, such holder shall repay, return, or deliver to the Core Value Cash
Pool any Distribution held by or transferred to such holder to the extent the holder’s total recovery
on account of its Allowed General Unsecured Claim from the third party and from the Core Value
Cash Pool exceeds the amount of such holder’s Allowed General Unsecured Claim.

       27.      Exemption from Certain Transfer Taxes and Recording Fees

       To the maximum extent permitted pursuant to section 1146(a) of the Bankruptcy Code and
applicable law, any transfers of property pursuant to the Plan, including any transfers to the
Settlement Trust by the Debtors, the Local Councils, the Contributing Chartered Organizations,
and the Settling Insurance Companies, and payments by Reorganized BSA to or from the Core
Value Cash Pool, shall not be taxed under any law imposing a stamp tax or similar tax.

       28.      Non-Monetary Commitments

       The Debtors shall take the following actions to promote healing and reconciliation and to
continue the Debtors’ efforts to prevent Abuse from occurring in Scouting in the future:

                a.     The Debtors shall form a committee (the “Child Protection Committee”) of
                       members from the BSA, Local Councils, the Tort Claimants’ Committee,
                       and the Coalition (including survivors). The functions of the Child
                       Protection Committee include the following:

                       (i)     No later than six months after the Effective Date, the BSA will
                               present to the Committee on the BSA’s current Youth Protection
                               Program (the “Youth Protection Program”). The BSA will report to
                               the Child Protection Committee regarding the Youth Protection
                               Program and any changes thereto on an annual basis for a period of
                               three years following the Effective Date.

                       (ii)    Following that presentation, the BSA and Child Protection
                               Committee will work with an entity engaged by the BSA that is
                               selected with the consultation of the Child Protection Committee
                               that is not currently affiliated with the BSA to evaluate the Youth
                               Protection Program (the “Evaluating Entity”). The Evaluating
                               Entity will have expertise in the prevention of youth sexual abuse.

                               (A)    Any evaluation will be comprehensive in nature and include
                                      input from current BSA volunteers and professionals,
                                      survivors of sexual abuse while involved with Scouting, the
                                      members of the Child Protection Committee, and the
                                      Evaluating Entity.

                               (B)    The Evaluating Entity will report to the Child Protection
                                      Committee assessing the current Youth Protection Program
                                      and make specific recommendations for reasonable

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                       improvements to the Youth Protection Program that may
                       include mechanisms for the elimination of abuse and
                       accurate and annual reporting regarding the results of the
                       Youth Protection Program, including confirmed instances of
                       sexual abuse that is made available to the public (the
                       “Prospective Reporting”).

                (C)    The BSA will engage with the Evaluating Entity, and the
                       Child Protection Committee, and will take appropriate steps
                       as necessary to improve the Program. Changes to the Youth
                       Protection Program will be reported on the BSA’s Youth
                       Protection Program website and training will be reasonably
                       adjusted to reflect changes.

        (iii)   The BSA will propose and the Child Protection Committee will
                consider a protocol for the review and publication of information in
                the Volunteer Screening Database and the Prospective Reporting,
                which will take into account factors including: (i) the desire to make
                public credibly identified perpetrators of sexual abuse in Scouting;
                (ii) adequate protections for survivor identities; (iii) consideration
                regarding the protection of third parties, including survivor family
                members and volunteers; (iv) a notification process regarding any
                publication; (v) issues related to privacy and liability related to
                publication; and (vi) the potential appointment or retention of an
                appropriate neutral party to supervise the evaluation and review of
                the Volunteer Screening Database (the “Neutral Supervisor”). If the
                BSA and Child Protection Committee are unable to reach an
                agreement on the above protocol, the Neutral Supervisor shall
                mediate the dispute to resolution. In accordance with the process
                outlined above, information from the Volunteer Screening Database
                and Prospective Reporting shall be published annually after
                agreement among the parties or determination by the Neutral
                Supervisor.

        (iv)    After consultation and recommendations from the Evaluating
                Entity, the Child Protection Committee may propose and the BSA
                will in good faith consider other issues relating to child protection,
                including: (i) special BSA Scouting programs for survivors; and (ii)
                participation and leadership in a comprehensive reporting program
                to include other youth-serving organizations.

        (v)     The BSA will engage with the Child Protection Committee and
                consider all appropriate measures proposed by the Child Protection
                Committee to improve transparency and accountability with respect
                to any future instances of sexual abuse, including the dissemination
                of information relating to abuse statistics, consistent with practices



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                               of other youth-serving organizations, including what information
                               may be publically available on the BSA’s website.

I.     Vesting of Assets in the Reorganized BSA

        In accordance with Article X.A of the Plan, and except as explicitly provided in the Plan
(including with respect to the Core Value Cash Pool and the Restated Debt and Security
Documents), on the Effective Date, pursuant to sections 1141(b) and 1141(c) of the Bankruptcy
Code, all property comprising the Estates, other than the BSA Trust Contributions, shall vest in
each respective Reorganized Debtor free and clear of all Liens, Claims, interests, charges, other
Encumbrances and liabilities of any kind unless expressly provided by the Plan or the
Confirmation Order. On and after the Effective Date, each Reorganized BSA may continue is
operations and may use, acquire, or dispose of property, and compromise or settle any Claims,
Interests, or Causes of Action without supervision or approval of the Bankruptcy Court and free
of any restrictions of the Bankruptcy Code or the Bankruptcy Rules.

J.     Retention of Certain Causes of Action

        In accordance with section 1123(b)(3) of the Bankruptcy Code and Article XI.B of the
Plan, subject to the transfer of the Debtors’ Settlement Trust Causes of Action to the Settlement
Trust under Article IV.D of the Plan and the Debtors’ and their Estates’ Release of certain Estate
Causes of Action under Article X.J of the Plan, all Causes of Action that a Debtor may hold against
any Person shall vest in Reorganized BSA on the Effective Date. Thereafter, subject to Article
IV.D and Article X.J of the Plan, Reorganized BSA shall have the exclusive right, authority, and
discretion to determine and to initiate, file, prosecute, enforce, abandon, settle, compromise,
release, withdraw, or litigate to judgment any such Causes of Action, whether arising before or
after the Petition Date, and to decline to do any of the foregoing without the consent or approval
of any third party or further notice to or action, order, or approval of the Bankruptcy Court. No
Person may rely on the absence of a specific reference in the Plan or the Disclosure Statement to
any specific Cause of Action as any indication that the Debtors or Reorganized BSA, as applicable,
will not pursue any and all available Causes of Action. The Debtors or Reorganized BSA, as
applicable, expressly reserve all rights to prosecute any and all Causes of Action against any
Person, except as otherwise expressly provided in the Plan, and, therefore, no preclusion doctrine,
including the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion,
estoppel (judicial, equitable or otherwise) or laches, shall apply to any Cause of Action upon, after,
or as a consequence of Confirmation or the occurrence of the Effective Date.

K.     Compensation and Benefits Programs

        Other than those Compensation and Benefits Programs assumed by the Debtors prior to
entry of the Confirmation Order, if any, all of the Compensation and Benefits Programs entered
into before the Petition Date and not since terminated shall be deemed to be, and shall be treated
as though they are, Executory Contracts under the Plan. Entry of the Confirmation Order will
constitute the Bankruptcy Court’s approval of Reorganized BSA’s assumption and continued
maintenance and sponsorship of each of such Compensation and Benefits Plan under sections 365
and 1123 of the Bankruptcy Code, and the Debtors’ and Reorganized BSA’s obligations under the
Compensation and Benefits Programs shall survive and remain unaffected by entry of the


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Confirmation Order and be fulfilled in the ordinary course of the Debtors’ and Reorganized BSA’s
non-profit operations. Compensation and Benefits Programs assumed by the Debtors prior to entry
of the Confirmation Order shall continue to be fulfilled in the ordinary course of the Debtors’ non-
profit operations from and after the date of any order of the Bankruptcy Court authorizing the
assumption of such Compensation and Benefits Program. All Claims filed on account of an
amounts asserted to be owed under Compensation and Benefits Programs shall be deemed satisfied
and expunged from the Claims Register as of the Effective Date without any further notice to or
action, order, or approval of the Bankruptcy Court.

L.     Restoration Plan and Deferred Compensation Plan

        As of the Effective Date, the Debtors and Reorganized BSA shall continue to honor their
obligations under: (a) all applicable workers’ compensation laws in all applicable states; and (b)
the Workers’ Compensation Program. All Proofs of Claims on account of workers’ compensation,
including the Workers’ Compensation Program, shall be deemed withdrawn automatically and
without any further notice to or action, order, or approval of the Bankruptcy Court; provided,
however, that nothing in the Plan shall limit, diminish, or otherwise alter the Debtors’ or
Reorganized BSA’s defenses, Causes of Action, or other rights under applicable non-bankruptcy
law with respect to the Workers’ Compensation Programs; provided further, however, that nothing
herein shall be deemed to impose any obligations on the Debtors or their insurers in addition to
what is provided for under the terms of the Workers’ Compensation Programs and applicable state
law.

M.     Workers’ Compensation Programs

        As of the Effective Date, the Debtors and the Reorganized BSA shall continue to honor
their obligations under: (a) all applicable workers’ compensation laws in all applicable states; and
(b) the Workers’ Compensation Program. All Proofs of Claims on account of the Workers’
Compensation Program shall be deemed withdrawn automatically and without any further notice
to or action, order, or approval of the Bankruptcy Court; provided, however, that nothing in the
Plan shall limit, diminish, or otherwise alter the Debtors’ or Reorganized BSA’s defenses, Causes
of Action, or other rights under applicable non-bankruptcy law with respect to the Workers’
Compensation Programs; provided further, however, that nothing in the Plan shall be deemed to
impose any obligations on the Debtors or their Insurance Companies in addition to what is
provided for under the terms of the Workers’ Compensation Programs and applicable state law.

N.     Treatment of Executory Contracts and Unexpired Leases

       1.      Assumption and Rejection of Executory Contracts and Unexpired Leases

       As set forth in Article VI of the Plan, on the Effective Date, except as otherwise provided
in the Plan, all Executory Contracts and Unexpired Leases shall be deemed assumed by
Reorganized BSA without the need for any further notice to or action, order, or approval of the
Bankruptcy Court under sections 365 or 1123 of the Bankruptcy Code, except for Executory
Contracts or Unexpired Leases:

               a.      that are identified on the Rejected Contracts and Unexpired Leases
                       Schedule;

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               b.      that previously expired or terminated pursuant to their terms;

               c.      that the Debtors have previously assumed or rejected pursuant to a Final
                       Order of the Bankruptcy Court;

               d.      that are the subject of a motion to reject that remains pending as of the
                       Effective Date;

               e.      as to which the effective date of rejection will occur (or is requested by the
                       Debtors to occur) after the Effective Date; or

               f.      as to which the Debtors or Reorganized BSA, as applicable, determine, in
                       the exercise of their reasonable business judgment, that the Cure Amount,
                       as determined by a Final Order or as otherwise finally resolved, would
                       render assumption of such Executory Contract or Unexpired Lease
                       unfavorable to Debtors or Reorganized BSA;

provided that the Debtors reserve the right to seek enforcement of an assumed or assumed and
assigned Executory Contract or Unexpired Lease following the Confirmation Date, including
seeking an order of the Bankruptcy Court rejecting such Executory Contract or Unexpired Lease
for cause.
        Entry of the Confirmation Order shall constitute an order of the Bankruptcy Court
approving the assumption or rejection, as applicable, of Executory Contracts or Unexpired Leases
pursuant to the Plan, pursuant to sections 365 and 1123 of the Bankruptcy Code. Except as
otherwise set forth in the Plan, the assumption or rejection of an Executory Contract or Unexpired
Lease pursuant to the Plan shall be effective as of the Effective Date; provided, that the rejection
of an Unexpired Lease shall be effective as of the later of: (a) the Effective Date; and (b) the date
on which the leased premises are unconditionally surrendered to the non-Debtor counterparty to
the rejected Unexpired Lease. Reorganized BSA is authorized to abandon any De Minimis Assets
at or on the premises subject to an Unexpired Lease that is rejected pursuant to the Plan, and the
non-Debtor counterparty to such Unexpired Lease may dispose of any such De Minimis Assets
remaining at or on the leased premises on the applicable lease rejection date.

       Each Executory Contract or Unexpired Lease assumed pursuant to the Plan or a Final Order
of the Bankruptcy Court shall re-vest in and be fully enforceable by Reorganized BSA in
accordance with its terms, except as such terms may have been modified by the provisions of the
Plan, the Confirmation Order, or any Final Order of the Bankruptcy Court authorizing and
providing for its assumption. Any motions to assume Executory Contracts or Unexpired Leases
pending on the Effective Date shall be subject to approval by a Final Order on or after the Effective
Date but may be withdrawn, settled, or otherwise prosecuted by Reorganized BSA.

       Any monetary defaults under each Executory Contract and Unexpired Lease to be assumed
pursuant to the Plan shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by
payment of the Cure Amount in Cash on the Effective Date or in the ordinary course of the
Debtors’ or Reorganized BSA’s non-profit operations, subject to the limitation described in the
Plan.



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         Except as otherwise provided in the Plan, the Debtors shall, on or before the date of filing
of the Plan Supplement, cause Cure and Assumption Notices to be served on affected
counterparties to Executory Contracts and Unexpired Leases to be assumed pursuant to the Plan.
Any objection by a non-Debtor counterparty to an Executory Contract or Unexpired Lease to the
assumption, assumption and assignment, the related Cure Amount, or adequate assurance, must be
filed, served, and actually received by the Debtors on or prior to the deadline for filing objections
to the Plan (or such later date as may be provided in the applicable Cure and Assumption Notice);
provided, that each counterparty to an Executory Contract or Unexpired Lease (a) that the Debtors
later determine to assume or (b) as to which the Debtors modify the applicable Cure Amount, must
object to the assumption or Cure Amount, as applicable, by the earlier of (i) fourteen (14) days
after the Debtors serve such counterparty with corresponding Cure and Assumption Notice; and
(ii) the Confirmation Hearing. Any counterparty to an Executory Contract or Unexpired
Lease that fails to timely object to the proposed assumption of any Executory Contract or
Unexpired Lease shall be forever barred, estopped, and enjoined from contesting the
Debtors’ assumption of the applicable Executory Contract or Unexpired Lease and from
requesting payment of a Cure Amount that differs from the amounts paid or proposed to be
paid by the Debtors or Reorganized BSA, in each case without the need for any objection by
the Debtors or Reorganized BSA or any further notice to or action, order, or approval of the
Bankruptcy Court. Reorganized BSA may settle any dispute regarding a Cure Amount
without any further notice to or action, order, or approval of the Bankruptcy Court.

        To the maximum extent permitted by law, to the extent any provision in any Executory
Contract or Unexpired Lease assumed, or assumed and assigned, pursuant to the Plan restricts or
prevents, or purports to restrict or prevent, or is breached or would be deemed breached by, the
assumption or assumption and assignment of such Executory Contract or Unexpired Lease
(including any change of control or similar provision), then such provision shall be deemed
preempted and modified such that neither the Debtors’ assumption or assumption and assignment
of the Executory Contract or Unexpired Lease nor any of the transactions contemplated by the
Plan shall entitle the non-debtor counterparty to terminate or modify such Executory Contract or
Unexpired Lease or to exercise any other purported default-related rights thereunder.

        The Debtors’ assumption or assumption and assignment of any Executory Contract
or Unexpired Lease pursuant to the Plan or otherwise, and payment of any applicable Cure
Amount in accordance with the procedures set forth in Article VI.C of the Plan, shall result
in the full release and satisfaction of any Claims or defaults, whether monetary or
nonmonetary, including defaults of provisions restricting the change in control or ownership
interest composition or other bankruptcy-related defaults, arising under any assumed, or
assumed and assigned, Executory Contract or Unexpired Lease at any time prior to the
effective date of assumption. Any and all Proofs of Claim based upon Executory Contracts
or Unexpired Leases that have been assumed in the Chapter 11 Cases, including pursuant to
the Confirmation Order, shall be deemed Disallowed and expunged as of the later of: (a) the
date of entry of an order of the Bankruptcy Court (including the Confirmation Order)
approving such assumption; (b) the effective date of such assumption; or (c) the Effective
Date, in each case without the need for any objection by the Debtors or Reorganized BSA or
any further notice to or action, order, or approval of the Bankruptcy Court.




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        In the event of a timely filed objection regarding: (1) a Cure Amount; (2) the ability of
Reorganized BSA or any assignee to provide adequate assurance of future performance within the
meaning of section 365 of the Bankruptcy Code under the Executory Contract or Unexpired Lease
to be assumed; or (3) any other matter pertaining to assumption or the requirements of section
365(b)(1) of the Bankruptcy Code, such dispute shall be resolved by a Final Order of the
Bankruptcy Court (which may be the Confirmation Order) or as may be agreed upon by the
Debtors or Reorganized BSA, as applicable, and the counterparty to the Executory Contract or
Unexpired Lease. The Debtors or Reorganized BSA, applicable, shall pay the applicable Cure
Amount as soon as reasonably practicable after entry of a Final Order resolving such dispute and
approving such assumption, or as may otherwise be agreed upon by the Debtors or Reorganized
BSA, as applicable, and the counterparty to the Executory Contract or Unexpired Lease. To the
extent that a dispute regarding the applicable Cure Amount is resolved or determined unfavorably
to the Debtors, the Debtors may, in their discretion, reject the applicable Executory Contract or
Unexpired Lease after such determination, which rejection shall supersede, nullify, and render of
no force or effect any earlier assumption or assumption and assignment. Under no circumstances
shall the status of payment of a Cure Amount required by section 365(b)(1) of the Bankruptcy
Code following the entry of a Final Order resolving the dispute and approving the assumption
prevent or delay implementation of the Plan or the occurrence of the Effective Date.

       2.      Rejection Damages Claims

         Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim
for Rejection Damages Claims, if any, shall be filed within thirty (30) days after the latest to occur
of: (1) the date of entry of an order of the Bankruptcy Court (including the Confirmation Order)
approving such rejection; (2) the effective date of the rejection of such Executory Contract or
Unexpired Lease; or (3) the Effective Date (as applicable, the “Rejection Damages Bar Date”).
Claims arising from the rejection of an Executory Contract or an Unexpired Lease shall be
classified as General Unsecured Claims and subject to the provisions of Article VII of the Plan
and the applicable provisions of the Bankruptcy Code and the Bankruptcy Rules. Any holder of
a Rejection Damages Claim that is required to file a Proof of Claim in accordance with
Article VI.B of the Plan but fails to do so on or before the Rejection Damages Bar Date shall
not be treated as a creditor with respect to such Claim for the purposes of voting or
Distributions, and such Rejection Damages Claim shall be automatically Disallowed, forever
barred from assertion, and unenforceable against the Debtors, their Estates, Reorganized
BSA, or its or their respective property, whether by setoff, recoupment, or otherwise, without
the need for any objection by the Debtors or Reorganized BSA or further notice to, or action,
order, or approval of the Bankruptcy Court, and such Rejection Damages Claim shall be
deemed fully satisfied, released, and discharged.

       3.      Contracts and Leases Entered into After the Petition Date

       Contracts and leases entered into after the Petition Date by the BSA, including any
Executory Contracts and Unexpired Leases assumed by BSA, will be performed by the BSA or
Reorganized BSA in the ordinary course of its charitable non-profit operations. Accordingly, such
contracts and leases (including any assumed Executory Contract and Unexpired Leases) shall
survive and remain unaffected by entry of the Confirmation Order.



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       4.      Insurance Policies

        Notwithstanding anything to the contrary herein, all Insurance Policies issued or entered
into prior to the Petition Date shall not be considered Executory Contracts and shall neither be
assumed nor rejected by the Debtors; provided, however, that to the extent any Insurance Policy is
determined to be an Executory Contract, then, subject to Article IV.V of the Plan, and
notwithstanding anything contained in the Plan to the contrary, the Plan will constitute a motion
to assume such Insurance Policy and pay all future obligations, if any, in respect thereof and,
subject to the occurrence of the Effective Date, the entry of the Confirmation Order will constitute
approval of such assumption pursuant to section 365(a) of the Bankruptcy Code and a finding by
the Bankruptcy Court that each such assumption is in the best interests of the Debtors, their
respective Estates and all parties in interest. Unless otherwise determined by the Bankruptcy Court
pursuant to a Final Order or agreed by the parties thereto prior to the Effective Date, no payments
are required to cure any defaults of any Debtor existing as of the Confirmation Date with respect
to any Insurance Policy; and prior payments for premiums or other charges made prior to the
Petition Date under or with respect to any Insurance Policy shall be indefeasible. Moreover, as of
the Effective Date, all payments of premiums or other charges made by the Debtors on or after the
Petition Date under or with respect to any Insurance Policy shall be deemed to have been
authorized, approved, and ratified in all respects without any requirement of further action by the
Bankruptcy Court. Notwithstanding anything to the contrary contained herein, Confirmation shall
not discharge, impair or otherwise modify any obligations assumed by the foregoing assumption,
and each such obligation shall be deemed and treated as an Executory Contract that has been
assumed by the Debtors under the Plan as to which no Proof of Claim need be filed.

        Notwithstanding anything to the contrary contained in the Plan, entry of the Confirmation
Order shall not discharge, impair, or otherwise modify any indemnity obligations assumed as a
result of the foregoing assumption of the Insurance Policies that are D&O Liability Insurance
Policies (and related documents), and each such indemnity obligations will be deemed and treated
as an Executory Contract that has been assumed by the Reorganized Debtors under the Plan as to
which no Proof of Claim need be filed.

        Other than the permissibility of the Insurance Assignment, or as otherwise provided in the
Bankruptcy Code, applicable law, the findings made by the Bankruptcy Court in the Confirmation
Order or the findings made by the District Court in the Affirmation Order, the rights and
obligations of the parties under the Insurance Policies, including the question of whether any
breach has occurred, shall be determined under applicable law.

       5.      Gift Annuity Agreements and Life-Income Agreements

       The Gift Annuity Agreements and Life-Income Agreements shall be deemed to be, and
shall be treated as though they are, Executory Contracts under the Plan, and entry of the
Confirmation Order will constitute the Bankruptcy Court’s approval of the Debtors’ assumption
of each of such Executory Contract.




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       6.      Modifications, Amendments, Supplements, Restatements, or Other Agreements

        Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease that
is assumed shall include all modifications, amendments, supplements, restatements, or other
agreements that in any manner affect such Executory Contract or Unexpired Lease, and Executory
Contracts and Unexpired Leases related thereto, if any, including easements, licenses, permits,
rights, privileges, immunities, options, rights of first refusal, and any other interests, unless the
Debtors reject or repudiate any of the foregoing agreements. Modifications, amendments, and
supplements to, or restatements of, prepetition Executory Contracts and Unexpired Leases that
have been executed by the Debtors during the Chapter 11 Cases shall not be deemed to alter the
prepetition nature of the Executory Contract or Unexpired Lease, or the validity, priority, or
amount of any Claims that may arise in connection therewith.

       7.      Reservation of Rights

        Neither the inclusion of any Executory Contract or Unexpired Lease on the Schedules, a
Cure and Assumption Notice, or the Rejected Executory contracts and Unexpired Leases Schedule,
nor anything contained in any Plan Document, shall constitute an admission by the Debtors that a
contract or lease is in fact an Executory Contract or Unexpired Lease or that Reorganized BSA has
any liability thereunder. If there is a dispute as of the Confirmation Date regarding whether a
contract or lease is or was executory or unexpired at the time of assumption, the Debtors, or, after
the Effective Date, Reorganized BSA, shall have thirty (30) days following entry of a Final Order
resolving such dispute to alter their treatment of such contract or lease, including by rejecting such
contract or lease nunc pro tunc to the Confirmation Date.

O.     Provisions Governing Distributions

       1.      Applicability

       None of the terms or provision of Article VII of the Plan shall apply to Abuse Claims,
which shall be exclusively processed, liquidated and paid by the Settlement Trust in accordance
with the Settlement Trust Documents.

       2.      Distributions Generally

       The Disbursing Agent shall make all Distributions to appropriate holders of Allowed
Claims in accordance with the terms of the Plan.

       3.      Distributions on Account of Certain Claims Allowed as of the Effective Date

       Except as otherwise provided in the Plan, on or as soon as practicable after the Effective
Date, the Disbursing Agent shall make Distributions in Cash in amounts equal to all Allowed
Administrative Expense Claims, Allowed Priority Tax Claims, Allowed Other Priority Claims,
Allowed Other Secured Claims, and Allowed Convenience Claims.




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       4.      Distributions on Account of Allowed General Unsecured Claims

        On each Distribution Date, the Disbursing Agent shall Distribute to each holder of an
Allowed General Unsecured Claim an amount equal to such holder’s Pro Rata Share of (1) the
total balance of the Core Value Cash Pool as of such date, less (2) the balance of the Disputed
Claims Reserve.

       5.      Distributions on Account of Disputed Claims Allowed After the Effective Date

        Distributions on account of any Disputed Claim shall be made to the extent such Claim is
Allowed in accordance with the provisions of Article VIII of the Plan. Except as otherwise
provided in the Plan, the Confirmation Order, another order of the Bankruptcy Court, or as agreed
to by the relevant parties, Distributions under the Plan on account of Disputed Claims that become
Allowed after the Effective Date shall be made as soon as practicable after the Disputed Claim
becomes an Allowed Claim.

       6.      Rights and Powers of Disbursing Agent

       The Disbursing Agent shall make all Distributions to the appropriate holders of Allowed
Claims in accordance with the terms of the Plan, including Article VII of the Plan. Except as
otherwise ordered by the Bankruptcy Court, the Disbursing Agent shall not be required to give any
bond or surety or other security for the performance of its duties.

         The Disbursing Agent shall be empowered to: (a) effect all actions and execute all
agreements, instruments, and other documents necessary to perform its duties under the Plan; (b)
make all Distributions contemplated hereby; (c) employ professionals to represent it with respect
to its responsibilities; and (d) exercise such other powers as may be vested in the Disbursing Agent
by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the Disbursing Agent to
be necessary and proper to implement the provisions hereof. The Disbursing Agent may request
an expedited determination of taxes under section 505(b) of the Bankruptcy Code for all returns
for all taxable periods through the date on which final Distributions are made.

       7.      Delivery of Distributions and Undeliverable or Unclaimed Distributions

               (a)     Claims Record Date. As of the close of business on the Claims Record
       Date, the various transfer registers for each of the Classes of Claims as maintained by the
       Debtors or their agents shall be deemed closed for purposes of determining whether a
       holder of such a Claim is a record holder entitled to a Distribution under the Plan, and there
       shall be no further changes in the record holders or the permitted designees with respect to
       such Claims. The Debtors or Reorganized BSA, as applicable, shall have no obligation to
       recognize any transfer or designation of such Claims occurring after the close of business
       on the Claims Record Date. With respect to payment of any Cure Amounts or assumption
       disputes, neither the Debtors nor Reorganized BSA shall have any obligation to recognize
       or deal with any party other than the non-Debtor party to the applicable Executory Contract
       or Unexpired Lease as of the close of business on the Claims Record Date, even if such
       non-Debtor party has sold, assigned, or otherwise transferred its Claim for a Cure Amount.



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       (b)     Delivery of Distributions. If a Person holds more than one Claim in any
one Class, in the Disbursing Agent’s sole discretion, all such Claims will be aggregated
into one Claim and one Distribution will be made with respect to the aggregated Claim.
        (c)    Special Rules for Distributions to Holders of Disputed Claims. Except as
otherwise provided in the Plan or agreed to by the relevant parties: (a) no partial payments
and no partial Distributions shall be made with respect to a Disputed Claim until all such
disputes in connection with such Disputed Claim have been resolved by settlement or Final
Order; and (b) any Person that holds both an Allowed Claim and a Disputed Claim shall
not receive any Distribution on account of the Allowed Claim unless and until all
objections to the Disputed Claim have been resolved by settlement or Final Order or the
Disputed Claims have been Allowed or expunged. Any Distributions arising from property
Distributed to holders of Allowed Claims in a Class and paid to such holders under the
Plan shall also be paid, in the applicable amounts, to any holder of a Disputed Claim in
such Class that becomes an Allowed Claim after the date or dates that such Distributions
were earlier paid to holders of Allowed Claims in such Class.
8.      Undeliverable and Non-Negotiated Distributions

        (a)       Undeliverable Distributions. If any Distribution to a holder of an Allowed
Claim is returned to Reorganized BSA as undeliverable, no further Distributions shall be
made to such holder unless and until Reorganized BSA is notified in writing of such
holder’s then-current address or other necessary information for delivery, at which time
such previously undeliverable Distribution shall be made to such holder within ninety (90)
days of receipt of such holder’s then-current address or other necessary information;
provided, however, that any such undeliverable Distribution shall be deemed unclaimed
property under section 347(b) of the Bankruptcy Code at the expiration of 180 days after
the date of the initial attempted Distribution. After such date, all unclaimed property or
interests in property shall revert to Reorganized BSA automatically and without the need
for any notice to or further order of the Bankruptcy Court (notwithstanding any applicable
non-bankruptcy escheatment, abandoned, or unclaimed property laws to the contrary), and
the right, title, and interest of any holder to such property or interest in property shall be
discharged and forever barred; provided, that Distributions made from the Core Value Cash
Pool and returned as undeliverable shall revert to the Core Value Cash Pool.
       (b)      Non-Negotiated Distributions. If any Distribution to a holder of an Allowed
Claim is not negotiated for a period of 180 days after the Distribution, then such
Distribution shall be deemed unclaimed property under section 347(b) of the Bankruptcy
Code and re-vest in Reorganized BSA or re-vest in the Core Value Cash Pool if such
Distribution was made from the Core Value Cash Pool. After such date, all non-negotiated
property or interests in property shall revert to Reorganized BSA automatically and without
the need for any notice to or further order of the Bankruptcy Court (notwithstanding any
applicable non-bankruptcy escheatment, abandoned, or unclaimed property laws to the
contrary), and the right, title, and interest of any holder to such property or interest in
property shall be discharged and forever barred.




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       9.       Manner of Payment under the Plan

       Except as otherwise specifically provided in the Plan, at the option of Reorganized BSA,
any Cash payment to be made hereunder may be made by a check or wire transfer or as otherwise
required or provided in applicable agreements or customary practices of Reorganized BSA.

       10.      Satisfaction of Claims

       Except as otherwise specifically provided in the Plan, any Distributions to be made on
account of Allowed Claims under the Plan shall be in complete and final satisfaction, settlement,
and discharge of and exchange for such Allowed Claims.

       11.      Minimum Cash Distributions

        Reorganized BSA shall not be required to make any Distribution of Cash less than twenty
dollars ($20) to any holder of an Allowed Claim; provided, however, that if any Distribution is not
made pursuant to Article VII.K of the Plan, such Distribution shall be added to any subsequent
Distribution to be made on behalf of the holder’s Allowed Claim.

       12.      Postpetition Interest

        Except as provided in the Cash Collateral Order or in the following sentence, interest shall
not accrue on Impaired Claims; no holder of an Impaired Claim shall be entitled to interest accruing
on or after the Petition Date on any such Impaired Claim, and interest shall not accrue or be paid
on any Disputed Claim in respect of the period from the Petition Date to the date a Distribution is
made thereon if and after such Disputed Claim becomes an Allowed Claim. Notwithstanding the
foregoing, each holder of an Allowed General Unsecured Claim shall accrue interest on the
Allowed amount of such Claim at the federal judgment rate applicable on the Effective Date;
provided, that such interest shall be payable to each such holder only from the Core Value Cash
Pool and only to the extent that the Core Value Cash Pool shall have been sufficient: (1) first, to
satisfy the full amount of all Allowed General Unsecured Claims; and (2) second, on account of
any Allowed Non-Abuse Litigation Claims that shall not have elected to be treated as an Allowed
Convenience Claim under Article III.B.9 of the Plan, to satisfy any deficiency in payments of such
Allowed Claims (a) from available insurance coverage, including Abuse Insurance Policies and
Non-Abuse Insurance Policies, (b) from applicable proceeds of any Insurance Settlement
Agreements, and (c) from co-liable non-debtors (if any) or their insurance coverage. Neither the
Debtors nor Reorganized BSA shall have any independent obligation to pay interest for or on
account of any Allowed General Unsecured Claims other than from the Core Value Cash Pool in
accordance with the terms of Article VII.L of the Plan.

       13.      Setoffs

       The Debtors and Reorganized BSA may, pursuant to the applicable provisions of the
Bankruptcy Code, or applicable non-bankruptcy law, set off against any applicable Allowed Claim
(before any Distribution is made on account of such Claim) any and all claims, rights, Causes of
Action, debts or liabilities of any nature that the Debtors or Reorganized BSA may hold against
the holder of such Allowed Claim; provided, however, that the failure to effect such a setoff shall
not constitute a waiver or release of any such claims, rights, Causes of Action, debts or liabilities.

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       14.      Claims Paid or Payable by Third Parties

               (a)     Claims Paid by Third Parties. A Claim shall be reduced in full, and such
       Claim shall be Disallowed without an objection to such Claim having to be filed and
       without any further notice to or action, order, or approval of the Bankruptcy Court, to the
       extent that the holder of such Claim receives payment in full on account of such Claim
       from a party that is not a Debtor or Reorganized BSA. To the extent a holder of a Claim
       receives a Distribution on account of such Claim and receives payment from a party that is
       not a Debtor or Reorganized BSA on account of such Claim, such holder shall repay, return,
       or deliver any Distribution held by or transferred to such holder to Reorganized BSA to the
       extent the holder’s total recovery on account of such Claim from the third party and under
       the Plan exceeds the amount of such Claim as of the date of any such Distribution under
       the Plan.
               (b)    Non-Abuse Litigation Claims Payable from Insurance. Subject to Article
       IV.D.3 of the Plan, no Distributions under the Plan shall be made on account of any
       Allowed Non-Abuse Litigation Claim that is payable pursuant to an Insurance Policy until
       the holder of such Allowed Non-Abuse Litigation Claim has exhausted all remedies with
       respect to such insurance policy, including pursuing such insurance through litigation and
       obtaining entry of a final, non-appealable order. To the extent that one or more of the
       Insurance Companies satisfies in full or in part an Allowed Non-Abuse Litigation Claim,
       then immediately upon such satisfaction, the portion of the Claim so satisfied may be
       expunged from the Claims Register by the Notice and Claims Agent without an objection
       to such Claim having to be filed and without any further notice to or action, order, or
       approval of the Bankruptcy Court.
       15.      Compliance with Tax Requirements and Allocations

        In connection with the Plan and all Distributions hereunder, the Disbursing Agent shall
comply with all tax withholding and reporting requirements imposed on them by any federal, state
or local taxing authority, and all Distributions pursuant to the Plan shall be subject to such
withholding and reporting requirements. Notwithstanding any provision in the Plan to the
contrary, the Disbursing Agent shall be authorized to take all actions necessary or appropriate to
comply with such withholding and reporting requirements, including liquidating a portion of the
Distribution to be made under the Plan to generate sufficient funds to pay applicable withholding
taxes, withholding Distributions pending receipt of information necessary to facilitate such
Distributions including tax certification forms, or establishing any other mechanisms it believes
are reasonable and appropriate.

        For tax purposes, Distributions in full or partial satisfaction of Allowed Claims shall be
allocated first to the principal amount of Allowed Claims, with any excess allocated to unpaid
interest that accrued on such Claim.




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P.     Procedures for Resolving Contingent, Unliquidated, and Disputed Claims

       1.      Applicability

       All Disputed Claims against the Debtors, other than Administrative Expense Claims, shall
be subject to the provisions of Article VIII of the Plan. All Administrative Expense Claims shall
be determined and, if Allowed, paid in accordance with Article II of the Plan. None of the terms
or provision of Article VIII of the Plan shall apply to Abuse Claims, which shall be exclusively
processed, liquidated and paid by the Settlement Trust in accordance with the Settlement Trust
Documents.

       2.      Allowance of Claims

        After the Effective Date, Reorganized BSA shall have and retain any and all rights and
defenses that the Debtors, or either of them, had with respect to any Claim immediately before the
Effective Date. Except as expressly provided in the Plan or in any order entered in the Chapter 11
Cases before the Effective Date (including the Confirmation Order), no Claim shall become an
Allowed Claim unless and until such Claim becomes Allowed by Final Order of the Bankruptcy
Court or by agreement between the Debtors or Reorganized BSA, on the one hand, and the holder
of such Claim, on the other.

       3.      Claims Administration Responsibilities

               (a)    Except as otherwise expressly provided in the Plan, from and after the
       Effective Date, Reorganized BSA shall have the authority (1) to file, withdraw, or litigate
       to judgment objections to Claims; (2) to settle or compromise any Disputed Claim without
       any further notice to or action, order, or approval by the Bankruptcy Court; and (3) to
       administer and adjust the Claims Register to reflect any such settlements or compromises
       without any further notice to or action, order, or approval by the Bankruptcy Court.
              (b)     Reorganized BSA shall consult with the Creditor Representative in
       connection with the reconciliation, settlement and administration of Convenience Claims,
       General Unsecured Claims and Non-Abuse Litigation Claims and shall use commercially
       reasonable efforts to resolve such Claims before the applicable Claims Objection Deadline.
       4.      Estimation of Claims

        The Debtors (before the Effective Date) or Reorganized BSA (on and after the Effective
Date) may at any time request that the Bankruptcy Court estimate any Disputed Claim pursuant to
section 502(c) of the Bankruptcy Code regardless of whether an objection was previously filed
with the Bankruptcy Court with respect to such Claim or whether the Bankruptcy Court has ruled
on any such objection, and the Bankruptcy Court shall retain jurisdiction to estimate any Claim at
any time during litigation concerning any objection to such Claim, including during the pendency
of any appeal relating to any such objection. In the event that the Bankruptcy Court estimates any
Disputed Claim, that estimated amount will constitute either the Allowed amount of such Claim
or a maximum limitation on such Claim against any Person. If the estimated amount of a Claim
constitutes a maximum limitation on such Claim, the Debtors (before the Effective Date) or
Reorganized BSA (on and after the Effective Date) may elect to pursue any supplemental


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proceedings to object to any ultimate Distribution on such Claim. All of the objection, estimation,
settlement, and resolution procedures set forth in the Plan are cumulative and not necessarily
exclusive of one another. Claims may be estimated and subsequently compromised, objected to,
settled, withdrawn, or resolved by any mechanism approved by the Bankruptcy Court.

       5.      No Distributions Pending Allowance

       No Distributions or other consideration shall be paid with respect to any Claim that is a
Disputed Claim unless and until all objections to such Disputed Claim are resolved and such
Disputed Claim becomes an Allowed Claim by Final Order of the Bankruptcy Court or agreement
between the Debtors or Reorganized BSA, on the one hand, and the holder of such Claim, on the
other.

       6.      Distributions After Allowance

       To the extent that a Disputed Claim (or a portion thereof) becomes an Allowed Claim,
Distributions (if any) shall be made to the holder of such Allowed Claim in accordance with the
provisions of the Plan.

       7.      Disputed Claims Reserve

      The provisions of Article VIII.G of the Plan apply only to the extent that any General
Unsecured Claims remain Disputed as of any Distribution Date.

               (a)     If any General Unsecured Claims remain Disputed as of any Distribution
       Date, the undistributed portion of the Core Value Cash Pool shall be held in a segregated
       account. Subject to definitive guidance from the IRS or a court of competent jurisdiction
       to the contrary, or the receipt of a determination from the IRS, the Disbursing Agent shall
       treat the Disputed Claims Reserve as a “disputed ownership fund” governed by Treasury
       Regulation section 1.468B-9 and, to the extent permitted by applicable law, report
       consistently with the foregoing for state and local income tax purposes. All parties
       (including the Debtors, Reorganized BSA, the Disbursing Agent, and holders of General
       Unsecured Claims) shall be required to report for tax purposes in a manner consistent with
       the foregoing. The Disputed Claims Reserve shall be responsible for payment, out of the
       assets of the Disputed Claims Reserve, of any taxes imposed on the Disputed Claims
       Reserve or its assets.
               (b)     The Debtors or Reorganized BSA, as applicable, with the consent of the
       Creditor Representative, shall determine the amount of the Disputed Claims Reserve, if
       applicable, as of the initial Distribution Date, based on the least of: (a) the asserted amount
       of the Disputed General Unsecured Claims in the applicable Proofs of Claim; (b) the
       amount, if any, estimated by the Bankruptcy Court pursuant to (i) section 502(c) of the
       Bankruptcy Code or (ii) Article VIII.D of the Plan if, after the Effective Date, a motion is
       filed by Reorganized BSA to estimate such Claim; (c) the amount otherwise agreed to by
       the Debtors (or Reorganized BSA, if after the Effective Date) and the holders of such
       Disputed General Unsecured Claims; or (d) any amount otherwise approved by the
       Bankruptcy Court. Upon each Distribution Date, Reorganized BSA shall deposit into the
       Disputed Claims Reserve an amount of Cash equal to the amount sufficient to make the

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       Distributions to which holders of Disputed General Unsecured Claims would be entitled
       under the Plan as of the applicable Distribution Date if the Disputed General Unsecured
       Claims were Allowed Claims as of such date.
                (c)     If a Disputed General Unsecured Claim becomes an Allowed Claim after
       the first Distribution Date, the Disbursing Agent shall, on the next Distribution Date after
       the Disputed General Unsecured Claim becomes an Allowed Claim (or, if the Disputed
       General Unsecured Claim becomes an Allowed Claim after the final Distribution Date, as
       soon as practicable after Allowance), Distribute to the holder of such Claim, exclusively
       from the Disputed Claims Reserve, the amount of Cash that such holder would have
       received in that Distribution and all prior Distributions (if any) if such holder’s General
       Unsecured Claim had been Allowed as of the Effective Date, net of any allocable taxes
       imposed thereon or otherwise payable by the Disputed Claims Reserve.
              (d)    If a Disputed Claim is Disallowed, in whole or in part, then on the
       Distribution Date next following the date of Disallowance, Cash shall be released from the
       Disputed Claims Reserve and placed in the Core Value Cash Pool, which Cash shall then
       be unreserved and unrestricted, and which shall be available for Distribution to holders of
       Allowed General Unsecured Claims.
              (e)      If any assets remain in the Disputed Claims Reserve after all Disputed
       General Unsecured Claims have been resolved, such assets shall be placed in the Core
       Value Cash Pool and distributed Pro Rata to all holders of Allowed General Unsecured
       Claims on the next Distribution Date (or, if all Disputed General Unsecured Claims are
       resolved after the final Distribution Date, as soon as practicable thereafter).
       8.       Adjustment to Claims Register without Objection

        Any duplicate Proof of Claim that has been paid or satisfied, or any Proof of Claim that is
clearly marked as amended or superseded by a subsequently filed Proof of Claim that remains on
the Claims Register, may be adjusted or expunged on the Claims Register by the Notice and Claims
Agent at the direction of Reorganized BSA upon stipulation between the parties in interest without
an objection having to be filed and without any further notice to or action, order, or approval of
the Bankruptcy Court.

       9.       Time to File Objections to Claims

        Any objections to Claims must be filed on or before the applicable Claims Objection
Deadline, as such deadline may be extended from time to time. The expiration of the Claims
Objection Deadline shall not limit or affect the Debtors’ or Reorganized BSA’s rights to dispute
Claims asserted in the ordinary course of the Debtors or Reorganized BSA’s non-profit operations
other than through a Proof of Claim.

       10.      Treatment of Untimely Claims

        Except as provided herein or otherwise agreed, any and all creditors that have filed Proofs
of Claim after the applicable Bar Date shall not be treated as a creditor with respect to such Claim
for the purposes of voting and distribution.


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Q.     Discharges, Channeling Injunction, Releases, Exculpations and Injunctions; Survival of
       Indemnification and Exculpation Obligations

       1.      Discharge

               a.      Discharge of the Debtors

        Except as expressly provided in the Plan or the Confirmation Order, the treatment of
Claims under the Plan shall be in exchange for, and in complete satisfaction, settlement, discharge,
termination and release of, all Claims and Interests of any nature whatsoever against or in the
Debtors or any of their assets or properties based upon any act, omission, transaction, occurrence,
or other activity of any nature that occurred prior to the Effective Date, and, as of the Effective
Date, each of the Debtors shall be deemed discharged and released, and each holder of a Claim or
Interest and any successor, assign, and Affiliate of such holder shall be deemed to have forever
waived, discharged and released each of the Debtors, to the fullest extent permitted by section
1141 of the Bankruptcy Code, of and from any and all Claims, Interests, rights and liabilities, and
all debts of the kind specified in section 502 of the Bankruptcy Code, based upon any act, omission,
transaction, occurrence, or other activity of any nature that occurred prior to the Effective Date, in
each case whether or not (a) a Proof of Claim based upon such debt is filed or deemed filed under
section 501 of the Bankruptcy Code, (b) a Claim based upon such debt is Allowed under section
502 of the Bankruptcy Code, (c) a Claim based upon such debt is or has been Disallowed by order
of the Bankruptcy Court, or (d) the holder of a Claim based upon such debt is deemed to have
accepted the Plan. Notwithstanding the foregoing, nothing in Article X.E of the Plan shall be
construed to modify, reduce, impair or otherwise affect the ability of any holder of an Allowed
Non-Abuse Litigation Claim to recover on account of such Allowed Claim in accordance with
Article III.B.9 and Article IV.D.3 of the Plan.

               b.      Discharge Injunction

        From and after the Effective Date, except as expressly provided in the Plan or the
Confirmation Order, all holders of Claims or Interests of any nature whatsoever against or in the
Debtors or any of their assets or properties based upon any act, omission, transaction, occurrence,
or other activity of any nature that occurred prior to the Effective Date that are discharged pursuant
to the terms of the Plan shall be precluded and permanently enjoined from taking any of the
following actions on account of, or on the basis of, such discharged Claims and Interests:
(a) commencing or continuing any action or other proceeding of any kind against the Debtors,
Reorganized BSA, the Settlement Trust, or its or their respective property; (b) enforcing, attaching,
collecting, or recovering by any manner or means of judgment, award, decree or other against the
Debtors, Reorganized BSA, the Settlement Trust, or its or their respective property; (c) creating,
perfecting or enforcing any Lien or Encumbrance of any kind against the Debtors, Reorganized
BSA, the Settlement Trust, or its or their respective property; or (d) commencing or continuing
any judicial or administrative proceeding, in any forum and in any place in the world, that does
not comply with or is inconsistent with the provisions of the Plan or the Confirmation Order. The
foregoing injunction shall extend to the successors and assigns of the Debtors (including
Reorganized BSA) and its and their respective properties and interests in property. In accordance
with the foregoing, except as expressly provided in the Plan or the Confirmation Order, the
Confirmation Order shall be a judicial determination of discharge or termination of all Claims,


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Interests and other debts and liabilities against or in the Debtors pursuant to sections 105, 524 and
1141 of the Bankruptcy Code, and such discharge shall void any judgment obtained against the
Debtors at any time to the extent such judgment relates to a discharged Claim or Interest.

       2.      Channeling Injunction

               a.      Terms

                      (i)    To preserve and promote the settlements contemplated by and
       provided for in the Plan, including the Abuse Claims Settlement, the Hartford
       Insurance Settlement, and the TCJC Settlement, and to supplement, where necessary,
       the injunctive effect of the Discharge as provided in sections 1141 and 524 of the
       Bankruptcy Code and as described in Article X of the Plan, pursuant to the exercise
       of the equitable jurisdiction and power of the Bankruptcy Court and the District
       Court under section 105(a) of the Bankruptcy Code, (a) the sole recourse of any
       holder of an Abuse Claim against a Protected Party on account of such Abuse Claim
       shall be to and against the Settlement Trust pursuant to the Settlement Trust
       Documents, and such holder shall have no right whatsoever at any time to assert such
       Abuse Claim against any Protected Party or any property or interest in property of
       any Protected Party, and (b) the sole recourse of any holder of a Post-1975 Chartered
       Organization Abuse Claim against a Limited Protected Party on account of such Post-
       1975 Chartered Organization Abuse Claim shall be to and against the Settlement
       Trust pursuant to the Settlement Trust Documents, and such holder shall have no
       right whatsoever at any time to assert such Post-1975 Chartered Organization Abuse
       Claim against any Limited Protected Party or any property or interest in property of
       any Limited Protected Party. On and after the Effective Date, all Persons that have
       held or asserted, currently hold or assert, or that may in the future hold or assert, any
       Abuse Claim against the Protected Parties, or any of them, or any Post-1975
       Chartered Organization Abuse Claim against the Limited Protected Parties, or any
       of them, shall be permanently and forever stayed, restrained and enjoined from
       taking any action for the purpose of directly, indirectly, or derivatively collecting,
       recovering, or receiving payment, satisfaction, or recovery from any Protected Party
       with respect to any such Abuse Claim or from any Limited Protected Party with
       respect to any such Post-1975 Chartered Organization Abuse Claim, other than from
       the Settlement Trust pursuant to the Settlement Trust Documents, including:

                              1.     commencing, conducting, or continuing, in any manner,
               whether directly, indirectly, or derivatively, any suit, action, or other
               proceeding of any kind (including a judicial, arbitration, administrative, or
               other proceeding) in any forum in any jurisdiction around the world against
               or affecting any Protected Party or Limited Protected Party or any property
               or interest in property of any Protected Party or Limited Protected Party;

                              2.      enforcing, levying, attaching (including any prejudgment
               attachment), collecting or otherwise recovering, by any manner or means,
               either directly or indirectly, any judgment, award, decree, or order against or



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             affecting any Protected Party or Limited Protected Party or any property or
             interest in property of any Protected Party or Limited Protected Party;

                           3.    creating, perfecting, or otherwise enforcing in any
             manner, whether directly or indirectly, any Encumbrance of any kind against
             any Protected Party or Limited Protected Party or any property or interest in
             property of any Protected Party or Limited Protected Party;

                           4.      asserting, implementing or effectuating any setoff, right
             of reimbursement, subrogation, indemnity, contribution, reimbursement, or
             recoupment of any kind, in any manner, directly or indirectly, against any
             obligation due to any Protected Party or Limited Protected Party or any
             property or interest in property of any Protected Party or Limited Protected
             Party; or

                           5.     taking any act in any manner, and in any place
             whatsoever, that does not conform to, or comply with, the provisions of the
             Plan Documents or the Settlement Trust Documents or with regard to any
             matter that is within the scope of the matters designated by the Plan to be
             subject to resolution by the Settlement Trust, except in conformity and
             compliance with the Settlement Trust Documents with respect to any such
             Abuse Claim or Post-1975 Chartered Organization Abuse Claim.

                    b.     Reservations

      Notwithstanding anything to the contrary in Article X.F of the Plan, the Channeling
Injunction shall not enjoin:

                    (i)   the rights of holders of Abuse Claims or Post-1975 Chartered
      Organization Abuse Claims to assert such Abuse Claims solely against the Settlement
      Trust in accordance with the Trust Distribution Procedures, including the ability to
      pursue the Settlement Trust in the tort system as described in Article XII of the Trust
      Distribution Procedures;

                   (ii)  the rights of holders of Abuse Claims to assert such Abuse
      Claims against anyone other than a Protected Party or, in the case of Post-1975
      Chartered Organization Abuse Claims, against anyone other than a Limited
      Protected Party;

                   (iii) prior to the date that an Entity (other than an Insurance
      Company) becomes a Protected Party under Article IV.I of the Plan, the right of
      holders of Abuse Claims to assert such Abuse Claims against such Entity;

                   (iv)   prior to the date that a Chartered Organization becomes a
      Limited Protected Party under Article IV.J of the Plan, the right of holders of Post-




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       1975 Chartered Organization Abuse Claims to assert such Abuse Claims against such
       Entity;

                    (v)     the rights of holders of Abuse Claims that are not Post-1975
       Chartered Organization Abuse Claims to assert such Abuse Claims against any
       Limited Protected Party (unless such Limited Protected Party becomes a Protected
       Party under Article IV.I of the Plan);

                       (vi)  the right of any Person to assert any Claim, debt, obligation or
       liability for payment of Settlement Trust Expenses solely against the Settlement Trust
       in accordance with the Settlement Trust Documents;

                     (vii) the Settlement Trust from enforcing its rights under the Plan
       and the Settlement Trust Documents; or

                      (viii) the rights of the Settlement Trust to prosecute any action against
       any Non-Settling Insurance Company based on or arising from Abuse Insurance
       Policies that are not the subject of an Insurance Settlement Agreement, subject to any
       Insurance Coverage Defenses.


       3.      Provisions Relating to Channeling Injunction

               a.     Modifications

        Subject to post-Effective Date settlements between the Settlement Trustee and Chartered
Organizations or Insurance Companies under the applicable provisions of Article IV of the Plan,
there can be no modification, dissolution, or termination of the Channeling Injunction, which shall
be a permanent injunction.

               a.     Non-Limitation.

       Nothing in the Plan or the Settlement Trust Documents shall or shall be construed in any
way to limit the scope, enforceability, or effectiveness of the Channeling Injunction or the
Settlement Trust’s assumption of all liability with respect to Abuse Claims.

               b.     Bankruptcy Rule 3016 Compliance

        The Debtors’ compliance with the requirements of Bankruptcy Rule 3016 shall not
constitute or be deemed to constitute an admission that the Plan provides for an injunction against
conduct not otherwise enjoined under the Bankruptcy Code.

               c.     Enforcement

       Any Protected Party or Limited Protected Party may enforce the Channeling Injunction as
a defense to any Claim brought against such Protected Party or Limited Protected Party that is
enjoined under the Plan as to such Protected Party or Limited Protected Party and may seek to
enforce such injunction in a court of competent jurisdiction.


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               d.     Contribution Claims

        If a Non-Settling Insurance Company asserts that it has rights, whether legal, equitable,
contractual, or otherwise, of contribution, indemnity, reimbursement, subrogation or other similar
claims directly or indirectly arising out of or in any way relating to such Non-Settling Insurance
Company’s payment of loss on behalf of one or more of the Debtors in connection with any Abuse
Claim against a Settling Insurance Company (collectively, “Contribution Claims”), (a) such
Contribution Claims may be asserted as a defense or counterclaim against the Settlement Trust in
any Insurance Action involving such Non-Settling Insurance Company, and the Settlement Trust
may assert the legal or equitable rights (if any) of the Settling Insurance Company, and (b) to the
extent such Contribution Claims are determined to be valid, the liability (if any) of such Non-
Settling Insurance Company to the Settlement Trust shall be reduced by the amount of such
Contribution Claims.

               e.     No Duplicative Recovery

       In no event shall any holder of an Abuse Claim or a Post-1975 Chartered Organization
Abuse Claim be entitled to receive any duplicative payment, reimbursement, or restitution from
any Protected Party or Limited Protected Party under any theory of liability for the same loss,
damage, or other Claim that is reimbursed by the Settlement Trust or is otherwise based on the
same events, facts, matters, or circumstances that gave rise to the applicable Abuse Claim or Post-
1975 Chartered Organization Abuse Claim.

               f.     District Court Approval

       The Debtors shall seek entry of the Affirmation Order, which shall approve (a) the
Channeling Injunction and the Settlement Trust’s assumption of all liability with respect to Abuse
Claims and (b) the releases by holders of Abuse Claims for the benefit of the Protected Parties and
the Limited Protected Parties, each as set forth in Article X of the Plan.

       4.      Insurance Entity Injunction

               a.     Purpose

        To facilitate the Insurance Assignment, protect the Settlement Trust, and preserve
the Settlement Trust Assets, pursuant to the equitable jurisdiction and power of the
Bankruptcy Court and the District Court under section 105(a) of the Bankruptcy Code, the
Bankruptcy Court shall issue the injunction set forth in Article X.H of the Plan (the
“Insurance Entity Injunction”); provided, however, that the Insurance Entity Injunction is
not issued for the benefit of any Insurance Company, and no Insurance Company is a third-
party beneficiary of the Insurance Entity Injunction, except as otherwise specifically
provided in any Insurance Settlement Agreement.

               b.     Terms Regarding Claims against Insurance Companies

      Subject to the terms of Article X.E and Article X.F of the Plan, and except for any
Chartered Organization that is not a Participating Chartered Organization or a
Contributing Chartered Organization, all Persons that have held or asserted, that hold or

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assert, or that may in the future hold or assert any claim or cause of action (including any
Abuse Claim or any claim for or respecting any Settlement Trust Expense) against any
Insurance Company based upon, attributable to, arising out of, or in any way connected with
any Abuse Insurance Policy, whenever and wherever arising or asserted, whether in the
United States of America or anywhere else in the world, whether sounding in tort, contract,
warranty, or any other theory of law, equity, or admiralty, shall be stayed, restrained, and
enjoined from taking any action for the purpose of directly or indirectly collecting,
recovering, or receiving payments, satisfaction, or recovery with respect to any such claim
or cause of action, including:

                      (i)    commencing, conducting, or continuing, in any manner, directly
       or indirectly, any suit, action, or other proceeding of any kind (including a judicial,
       arbitration, administrative, or other proceeding) in any forum with respect to any
       such claim, demand, or cause of action against any Insurance Company, or against
       the property of any Insurance Company, with respect to any such claim, demand, or
       cause of action (including, for the avoidance of doubt, directly pursuing any suit,
       action, or other proceeding with respect to any such claim, demand, or cause of action
       against any Insurance Company);

                     (i)    enforcing, levying, attaching, collecting, or otherwise
       recovering, by any means or in any manner, whether directly or indirectly, any
       judgment, award, decree, or other order against any Insurance Company, or against
       the property of any Insurance Company, with respect to any such claim or cause of
       action;

                     (ii)  creating, perfecting, or enforcing in any manner, directly or
       indirectly, any Lien or Encumbrance against any Insurance Company, or the
       property of any Insurance Company, with respect to any such claim or cause of
       action; and

                     (iii) except as otherwise specifically provided in the Plan, asserting
       or accomplishing any setoff, right of subrogation, indemnity, contribution, or
       recoupment of any kind, directly or indirectly, against any obligation of any
       Insurance Company, or against the property of any Insurance Company, with respect
       to any such claim or cause of action;

provided, however, that: (i) the injunction set forth in Article X.H of the Plan shall not impair
in any way any (a) actions brought by the Settlement Trust against any Non-Settling
Insurance Company, (b) actions brought by Local Councils in connection with any Local
Council Reserved Rights, (c) actions brought by holders of Non-Abuse Litigation Claims
consistent with Article IV.D.3 of the Plan, (d) the rights, if any, of any Chartered
Organization that is not a Participating Chartered Organization under any Chartered
Organization Reserved Policy, or (e) the rights of any co-insured of the Debtors (x) under
any Non-Abuse Insurance Policy and (y) as specified under any Final Order of the
Bankruptcy Court approving an Insurance Settlement Agreement; and (ii) the Settlement
Trust shall have the sole and exclusive authority at any time to terminate, or reduce or limit
the scope of, the injunction set forth in Article X.H of the Plan with respect to any Non-


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Settling Insurance Company, in accordance with the Settlement Trust Documents, upon
express written notice to such Non-Settling Insurance Company, except that the Settlement
Trust shall not have any authority to terminate, reduce or limit the scope of the injunction
herein with respect to any Settling Insurance Company so long as, but only to the extent that,
such Settling Insurance Company complies fully with its obligations under any applicable
Insurance Settlement Agreement.
               c.     Reservations

       Notwithstanding anything to the contrary in Article X.H of the Plan, the Insurance
Entity Injunction shall not enjoin:

                      (i)    the rights of any Person to the treatment accorded them under
       the Plan, as applicable, including the rights of holders of Abuse Claims to assert such
       Claims, as applicable, in accordance with the Trust Distribution Procedures, and the
       rights of holders of Non-Abuse Litigation Claims to assert such Claims, as applicable
       in accordance with Article IV.D.3 of the Plan;

                     (ii)   the rights of any Person to assert any claim, debt, obligation,
       cause of action or liability for payment of Settlement Trust Expenses against the
       Settlement Trust;

                      (iii) the rights of the Settlement Trust to prosecute any action based
       on or arising from Abuse Insurance Policies;

                    (iv)   the rights of any Person to assert or prosecute (i) an Abuse
       Claim against any Entity other than a Protected Party, or (ii) a Post-1975 Chartered
       Organization Abuse Claim against any Entity other than a Limited Protected Party;

                     (v)     the rights of the Settlement Trust to assert any claim, debt,
       obligation, cause of action or liability for payment against an Insurance Company
       based on or arising from the Abuse Insurance Policies; or

                      (vi)   the rights of any Insurance Company to assert any claim, debt,
       obligation, cause of action or liability for payment against any Non-Settling Insurance
       Company.

       5.      Injunction Against Interference with Plan

      Upon entry of the Confirmation Order, all holders of Claims and Interests shall be
precluded and enjoined from taking any actions to interfere with the implementation and
consummation of the Plan.




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       6.      Releases

               a.     Releases by the Debtors and the Estates of the Released Parties

        As of the Effective Date, except for the rights that remain in effect from and after the
Effective Date to enforce the Plan and the Confirmation Order, pursuant to section 1123(b)
of the Bankruptcy Code, for good and valuable consideration, the adequacy of which is
hereby confirmed, including the service of the Released Parties to facilitate and implement
the reorganization of the Debtors and settlements embodied in the Plan, including the Abuse
Claims Settlement, the JPM / Creditors’ Committee Settlement, the Hartford Insurance
Settlement, and the TCJC Settlement, as an integral component of the Plan, the Debtors,
Reorganized BSA, and the Estates shall, and shall be deemed to, expressly, conclusively,
absolutely, unconditionally, irrevocably, and forever release and discharge each and all of
the Released Parties of and from any and all Estate Causes of Action that do not constitute
Settlement Trust Causes of Action, any and all other Claims, Interests, obligations, rights,
demands, suits, judgments, damages, debts, remedies, losses and liabilities of any nature
whatsoever (including any derivative claims or Causes of Action asserted or that may be
asserted on behalf of the Debtors, Reorganized BSA, or the Estates), whether liquidated or
unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen or
unforeseen, existing or hereinafter arising, in law, equity, contract, tort or otherwise, based
on or relating to, or in any manner arising from, in whole or in part, any act, omission,
transaction, event, or other circumstance taking place or existing on or before the Effective
Date (including before the Petition Date) in connection with or related to the Debtors, the
Estates, their respective assets and properties, the Chapter 11 Cases, the subject matter of,
or the transactions or events giving rise to, any Claim or Interest that is treated by the Plan,
the business or contractual arrangements between one or both of the Debtors and any
Released Party, the restructuring of any Claim or Interest that is treated by the Plan before
or during the Chapter 11 Cases, any of the Plan Documents, the JPM / Creditors’ Committee
Settlement, the Hartford Insurance Settlement, the TCJC Settlement, or any related
agreements, instruments, and other documents created or entered into before or during the
Chapter 11 Cases or the negotiation, formulation, preparation or implementation thereof,
the pursuit of Confirmation, the administration and implementation of the Plan, the
solicitation of votes with respect to the Plan, the distribution of property under the Plan, or
any other act or omission, transaction, agreement, event, or other occurrence taking place
on or before the Effective Date related or relating to the foregoing. Notwithstanding
anything to the contrary in the foregoing, the releases set forth in Article X.J.1 of the Plan
shall not, and shall not be construed to: (a) release any Released Party from Causes of Action
arising out of, or related to, any act or omission of a Released Party that is a criminal act or
that constitutes fraud, gross negligence or willful misconduct; or (b) release any post-
Effective Date obligations of any Person under the Plan Documents or any document,
instrument, or agreement executed to implement the Plan.

               b.     Releases by the Debtors and the Estates of Certain Avoidance Actions

       As of the Effective Date, for good and valuable consideration, the adequacy of which
is hereby confirmed, including the service of Creditors’ Committee and its members in their
respective capacities as such in facilitating and implementing the reorganization of the


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Debtors, as an integral component of the Plan, the Debtors, Reorganized BSA, and the
Estates shall, and shall be deemed to, expressly, conclusively, absolutely, unconditionally,
irrevocably, and forever release and discharge each and all holders of General Unsecured
Claims, Non-Abuse Litigation Claims, and Convenience Claims of and from any and all
Avoidance Actions.

               c.     Releases by the Debtors and the Estates of the Local Councils, the
                      Contributing Chartered Organizations, and the Participating
                      Chartered Organizations

        In furtherance of the Abuse Claims Settlement, on the Effective Date, for good and
valuable consideration, the adequacy of which is hereby confirmed, the Debtors, on their
own behalf and as representatives of their respective Estates, and Reorganized BSA, are
deemed to irrevocably and unconditionally, fully, finally, and forever waive, release, acquit,
and discharge each and all of the Local Councils, the Contributing Chartered Organizations
and the Participating Chartered Organizations of and from any and all claims, causes of
action, suits, costs, debts, liabilities, obligations, dues, sums of money, accounts, reckonings,
bonds, bills, covenants, contracts, controversies, agreements, promises, damages, judgments,
executions and demands whatsoever, of whatever kind or nature (including those arising
under the Bankruptcy Code), whether known or unknown, suspected or unsuspected, in law
or in equity, which the Debtors, their Estates, or Reorganized BSA have, had, may have, or
may claim to have: (a) against any of the Local Councils and Contributing Chartered
Organizations with respect to any Abuse Claims and (b) against any of the Participating
Chartered Organizations with respect to any Post-1975 Chartered Organization Abuse
Claims (collectively, the “Scouting Released Claims”).

               d.     Releases by Holders of Abuse Claims

        As of the Effective Date, except for the rights that remain in effect from and after the
Effective Date to enforce the Plan and the Confirmation Order, pursuant to section 1123(b)
of the Bankruptcy Code, for good and valuable consideration, the adequacy of which is
hereby confirmed, including the service of the Protected Parties and the Limited Protected
Parties to facilitate and implement the reorganization of the Debtors, including the
settlements embodied in the Plan, including the Abuse Claims Settlement and the Settlement,
as an integral component of the Plan, and except as otherwise expressly provided in the Plan
or the Confirmation Order, to the maximum extent permitted under applicable law, as such
law may be extended subsequent to the Effective Date, all holders of Abuse Claims shall, and
shall be deemed to, expressly, conclusively, absolutely, unconditionally, irrevocably, and
forever discharge and release: (a) each and all of the Protected Parties and their respective
property and successors and assigns of and from all Abuse Claims and any and all Claims
and Causes of Action whatsoever, whether known or unknown, asserted or unasserted,
derivative or direct, foreseen or unforeseen, existing or hereinafter arising, in law, equity, or
otherwise, whether for tort, fraud, contract, veil piercing or alter-ego theories of liability,
successor liability, contribution, indemnification, joint liability, or otherwise, arising from or
related in any way to such Abuse Claims; and (b) each and all of the Limited Protected
Parties and their respective property and successors and assigns of and from all Post-1975
Chartered Organization Abuse Claims and any and all Claims and Causes of Action


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whatsoever, whether known or unknown, asserted or unasserted, derivative or direct,
foreseen or unforeseen, existing or hereinafter arising, in law, equity, or otherwise, whether
for tort, fraud, contract, veil piercing or alter-ego theories of liability, successor liability,
contribution, indemnification, joint liability, or otherwise, arising from or related in any way
to such Post-1975 Chartered Organization Abuse Claims; provided, however, that the
releases set forth in Article X.J.3 of the Plan shall not, and shall not be construed to: (i)
release any Protected Party or Limited Protected Party from Causes of Action arising out
of, or related to, any act or omission of a Released Party that is a criminal act or that
constitutes fraud, gross negligence or willful misconduct; (ii) release any post-Effective Date
obligations of any Person under the Plan Documents or any document, instrument, or
agreement executed to implement the Plan; or (iii) modify, reduce, impair or otherwise affect
the ability of any holder of an Abuse Claim to recover on account of such Claim in
accordance with Article III.B.10 or Article III.B.11 of the Plan, as applicable.

              e.      Releases by Holders of Claims

         As of the Effective Date, except for the rights that remain in effect from and after the
Effective Date to enforce the Plan and the Confirmation Order, for good and valuable
consideration, the adequacy of which is hereby confirmed, including the service of the
Released Parties to facilitate and implement the reorganization of the Debtors and the
settlements embodied in the Plan, including the JPM / Creditors’ Committee Settlement, the
Hartford Insurance Settlement, and the TCJC Settlement, as an integral component of the
Plan, and except as otherwise expressly provided in the Plan or the Confirmation Order, to
the maximum extent permitted under applicable law, as such law may be extended
subsequent to the Effective Date, all Releasing Claim holders shall, and shall be deemed to,
expressly, conclusively, absolutely, unconditionally, irrevocably, and forever release and
discharge each and all of the Released Parties of and from any and all Claims, Interests,
obligations, rights, demands, suits, judgments, damages, debts, remedies, losses and
liabilities of any nature whatsoever (including any derivative claims or Causes of Action
asserted or that may be asserted on behalf of the Debtors, Reorganized BSA, or the Estates),
whether liquidated or unliquidated, fixed or contingent, matured or unmatured, known or
unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity, contract,
tort or otherwise, based on or relating to, or in any manner arising from, in whole or in part,
any act, omission, transaction, event, or other circumstance taking place or existing on or
before the Effective Date (including before the Petition Date) in connection with or related
to the Debtors, the Estates, their respective assets and properties, the Chapter 11 Cases, the
subject matter of, or the transactions or events giving rise to, any Claim or Interest that is
treated by the Plan, the business or contractual arrangements between one or both of the
Debtors and any Released Party, the restructuring of any Claim or Interest that is treated
by the Plan before or during the Chapter 11 Cases, any of the Plan Documents, the JPM /
Creditors’ Committee Settlement, the Hartford Insurance Settlement, the TCJC Settlement,
or any related agreements, instruments, and other documents created or entered into before
or during the Chapter 11 Cases or the negotiation, formulation, preparation or
implementation thereof, the pursuit of Confirmation, the administration and
implementation of the Plan, the solicitation of votes with respect to the Plan, the distribution
of property under the Plan, or any other act or omission, transaction, agreement, event, or
other occurrence taking place on or before the Effective Date related or relating to the

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foregoing; provided, however, that the releases set forth in Article X.J.4 of the Plan shall not,
and shall not be construed to: (a) release any Released Party from Causes of Action arising
out of, or related to, any act or omission of a Released Party that is a criminal act or that
constitutes fraud, gross negligence or willful misconduct; (b) release any post-Effective Date
obligations of any Person under the Plan Documents or any document, instrument, or
agreement executed to implement the Plan; or (c) modify, reduce, impair, or otherwise affect
the ability of any holder of an Allowed Non-Abuse Litigation Claim to recover on account of
such Allowed Claim in accordance with Article III.B.9 of the Plan. Notwithstanding the
foregoing or anything to the contrary herein, (i) with respect to holders of Allowed General
Unsecured Claims or Allowed Non-Abuse Litigation Claims, nothing in the Plan or the
release set forth in Article X.J.4 of the Plan shall, or shall be construed to, release any claims
or Causes of Action against any Local Council, Chartered Organization, or Non-Settling
Insurance Company (subject to Article IV.D.3) and (ii) nothing the Plan or the release set
forth in Article X.J.4 of the Plan shall, or shall be construed to, release any claims or Causes
of action asserted by Century Indemnity Company against Sidley Austin related to Sidley
Austin’s representation of the Debtors prior to the Petition Date.

                      f.      Releases Relating to Contributing Chartered Organizations

        In furtherance of the Abuse Claims Settlement, as of the date that the Confirmation
Order and Affirmation Order become Final Orders, except for the rights that remain in
effect from and after the Effective Date to enforce the Plan, the Confirmation Order, and the
terms of the TCJC Settlement Agreement, for good and valuable consideration, the adequacy
of which is hereby confirmed, each of the Contributing Chartered Organizations, including
TCJC, shall, and shall be deemed to, expressly, conclusively, absolutely, unconditionally,
irrevocably, and forever release and discharge the Debtors, Reorganized BSA, the Related
Non-Debtor Entities, the Local Councils, the other Protected Parties, the Limited Protected
Parties, the Settling Insurance Companies, including Hartford, the Future Claimants’
Representative, the Coalition, the Settlement Trust, and each of its and their respective
Representatives (collectively, the “Settlement Parties”), of and from any and all Claims,
Interests, obligations, rights, demands, suits, judgments, damages, debts, remedies, losses
and liabilities of any nature whatsoever (including any derivative claims or Causes of Action
asserted or that may be asserted on behalf of the Debtors, Reorganized BSA, or the Estates),
whether liquidated or unliquidated, fixed or contingent, matured or unmatured, known or
unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity, contract,
tort or otherwise, based on or relating to, or in any manner arising from, in whole or in part,
any act, omission, transaction, event, or other circumstance taking place or existing on or
before the date that the Confirmation Order and Affirmation Order become Final Orders
(including before the Petition Date) in connection with or related to (i) Abuse Claims, (ii) the
Chapter 11 Cases, (iii) the Plan, or (iv) any Claims that were or could have been asserted by
the Contributing Chartered Organizations against the Settlement Parties or any of them.

        In furtherance of the Abuse Claims Settlement, as of the date that the Confirmation
Order and Affirmation Order become Final Orders, except for the rights that remain in
effect from and after the Effective Date to enforce the Plan, the Confirmation Order, and the
terms of the TCJC Settlement Agreement, for good and valuable consideration, the adequacy
of which is hereby confirmed, each of the Settlement Parties shall, and shall be deemed to,


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expressly, conclusively, absolutely, unconditionally, irrevocably, and forever release and
discharge each of the Contributing Chartered Organizations, including TCJC, of and from
any and all Claims, Interests, obligations, rights, demands, suits, judgments, damages, debts,
remedies, losses and liabilities of any nature whatsoever, whether liquidated or unliquidated,
fixed or contingent, matured or unmatured, known or unknown, foreseen or unforeseen,
existing or hereinafter arising, in law, equity, contract, tort or otherwise, based on or relating
to, or in any manner arising from, in whole or in part, any act, omission, transaction, event,
or other circumstance taking place or existing on or before the date that the Confirmation
Order and Affirmation Order become Final Orders (including before the Petition Date) in
connection with or related to (i) Abuse Claims, (ii) the Chapter 11 Cases, (iii) the Plan, or
(iv) any Claims that were or could have been asserted by the Settlement Parties against the
Contributing Chartered Organizations or any of them.

       7.      Exculpation

        From and after the Effective Date, none of the Exculpated Parties shall have or incur
any liability to, or be subject to any right of action by, any Person for any act, omission,
transaction, event, or other circumstance occurring on or before the Effective Date in
connection with, relating to or arising out of the Chapter 11 Cases, the negotiation of the
Plan Documents, the Hartford Insurance Settlement Agreement, the TCJC Settlement
Agreement, the Releases and Injunctions, the pursuit of Confirmation of the Plan, the
administration, consummation and implementation of the Plan or the property to be
Distributed under the Plan, or the management or operation of the Debtors (except for any
liability that results primarily from such Exculpated Party’s gross negligence, bad faith or
willful misconduct). In all respects, each and all such Exculpated Parties shall be entitled to
rely upon the advice of counsel with respect to their duties and responsibilities under, or in
connection with, the matters referenced in the preceding sentence. Notwithstanding the
foregoing or any provision of the Plan to the contrary, Sidley Austin shall not be an
Exculpated Party with respect to any Claims that Century asserts against Sidley Austin
related to Sidley Austin’s representation of the Debtors prior to the Petition Date.

       8.      Injunctions Related to Releases and Exculpation

               a.     Injunction Related to Releases

        As of the Effective Date, all holders of Claims that are the subject of Article X.J of the
Plan are, and shall be, expressly, conclusively, absolutely, unconditionally, irrevocably, and
forever stayed, restrained, prohibited, barred and enjoined from taking any of the following
actions against any Released Party or its property or successors or assigns on account of or
based on the subject matter of such Claims, whether directly or indirectly, derivatively or
otherwise: (a) commencing, conducting or continuing in any manner, directly or indirectly,
any suit, action or other proceeding (including any judicial, arbitral, administrative or other
proceeding) in any forum; (b) enforcing, attaching (including any prejudgment attachment),
collecting, or in any way seeking to recover any judgment, award, decree, or other order;
(c) creating, perfecting or in any way enforcing in any matter, directly or indirectly, any Lien
or Encumbrance; and/or (d) setting off, seeking reimbursement or contributions from, or
subrogation against, or otherwise recouping in any manner, directly or indirectly, any


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amount against any liability or obligation that is discharged under Article X.E of the Plan or
released under Article X.J of the Plan; provided, however, that the injunctions set forth in
Article X.L.1 of the Plan shall not, and shall not be construed to, enjoin any holder of a Claim
that is the subject of Article X.J of the Plan from taking any action arising out of, or related
to, any act or omission of a Released Party that is a criminal act or that constitutes fraud,
gross negligence or willful misconduct.

               b.     Injunction Related to Exculpation

       As of the Effective Date, all holders of Claims that are the subject of Article X.K of
the Plan are, and shall be, expressly, conclusively, absolutely, unconditionally, irrevocably,
and forever stayed, restrained, prohibited, barred and enjoined from taking any of the
following actions against any Exculpated Party on account of or based on the subject matter
of such Claims, whether directly or indirectly, derivatively or otherwise: (a) commencing,
conducting or continuing in any manner, directly or indirectly, any suit, action or other
proceeding (including any judicial, arbitral, administrative or other proceeding) in any
forum; (b) enforcing, attaching (including any prejudgment attachment), collecting, or in
any way seeking to recover any judgment, award, decree, or other order; (c) creating,
perfecting or in any way enforcing in any matter, directly or indirectly, any Lien or
Encumbrance; and/or (d) setting off, seeking reimbursement or contributions from, or
subrogation against, or otherwise recouping in any manner, directly or indirectly, any
amount against any liability or obligation that is discharged under Article X.E of the Plan or
released under Article X.J of the Plan; provided, however, that the injunctions set forth in
Article X.L.2 of the Plan shall not, and shall not be construed to, enjoin any Person that is
the subject of Article X.K of the Plan from taking any action arising out of, or related to, any
act or omission of a Exculpated Party that is a criminal act or that constitutes fraud, gross
negligence or willful misconduct.

R.     Reservation of Rights

       Notwithstanding any other provision of the Plan to the contrary, no provision of Article X
of the Plan shall be deemed or construed to satisfy, discharge, release or enjoin claims by the
Settlement Trust, the Reorganized BSA, or any other Person, as the case may be, against (1) the
Settlement Trust for payment of Abuse Claims in accordance with the Trust Distribution
Procedures, (2) the Settlement Trust for the payment of Settlement Trust Expenses, or (3) any
Insurance Company that has not performed under an Insurance Policy or an Insurance Settlement
Agreement.

S.     Disallowed Claims

        On and after the Effective Date, the Debtors and Reorganized BSA shall be fully and finally
discharged of any and all liability or obligation on any and all Disallowed Claims, and any order
Disallowing a Claim that is not a Final Order as of the Effective Date solely because of a Person’s
right to move for reconsideration of such order pursuant to section 502 of the Bankruptcy Code or
Bankruptcy Rule 3008 shall nevertheless become and be deemed to be a Final Order on the
Effective Date.



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T.     No Successor Liability

        Except as otherwise expressly provided in the Plan, Reorganized BSA does not, pursuant
to the Plan or otherwise, assume, agree to perform, pay or indemnify any Person, or otherwise
have any responsibility for any liabilities or obligations of the Debtors relating to or arising out of
the operations of or assets of the Debtors, whether arising prior to, on or after the Effective Date.
Neither the Debtors, Reorganized BSA, nor the Settlement Trust is, or shall be deemed to be, a
successor to any of the Debtors by reason of any theory of law or equity (except as otherwise
provided in Article IV.C of the Plan), and none shall have any successor or transferee liability of
any kind or character; provided, however, that Reorganized BSA and the Settlement Trust shall
assume and remain liable for their respective obligations specified in the Plan and the Confirmation
Order.

U.     Indemnities

       1.      Indemnification Obligations

        Notwithstanding anything in the Plan to the contrary, each Indemnification Obligation shall
be assumed by Reorganized BSA effective as of the Effective Date, pursuant to sections 365 and
1123 of the Bankruptcy Code or otherwise, except for any Indemnification Obligation that is or is
asserted to be owed to or for the benefit of any Perpetrator. Subject to the foregoing sentence,
each Indemnification Obligation shall remain in full force and effect, shall not be modified,
reduced, discharged, impaired, or otherwise affected in any way, and shall survive Unimpaired
and unaffected, irrespective of when such obligation arose. For the avoidance of doubt, Article
VI.J of the Plan affects only the obligations of the Debtors and Reorganized BSA with respect to
any Indemnification Obligations owed to or for the benefit of past and present directors, officers,
employees, attorneys, accountants, investment bankers, and other professionals and agents of the
Debtors, and shall have no effect on nor in any way discharge or reduce, in whole or in part, any
obligation of any other Person owed to or for the benefit of such directors, officers, employees,
attorneys, accountants, investment bankers, and other professionals and agents of the Debtors.

        All Proofs of Claim filed on account of an Indemnification Obligation to a current or former
director, officer, or employee shall be deemed satisfied and expunged from the Claims Register as
of the Effective Date to the extent such Indemnification Obligation is assumed (or honored or
reaffirmed, as the case may be) pursuant to the Plan, without any further notice to or action, order,
or approval of the Bankruptcy Court.

       2.      Prepetition Indemnification and Reimbursement Obligations

        The respective obligations of the Debtors to indemnify and reimburse Persons who are or
were directors, officers or employees of the Debtors on the Petition Date or at any time thereafter
up to and including the Effective Date, against and for any obligations pursuant to the bylaws,
applicable state or non-bankruptcy law, or specific agreement or any combination of the foregoing,
shall, except with respect to any Perpetrator: (a) survive Confirmation of the Plan and remain
unaffected thereby; (b) be assumed by Reorganized BSA as of the Effective Date; and (c) not be
discharged under section 1141 of the Bankruptcy Code, irrespective of whether indemnification
or reimbursement is owed in connection with any event occurring before, on or after the Petition


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Date. In furtherance of, and to implement the foregoing, as of the Effective Date, Reorganized
BSA shall obtain and maintain in full force insurance for the benefit of each and all of the above-
indemnified directors, officers and employees, at levels no less favorable than those existing as of
the date of entry of the Confirmation Order, and for a period of no less than three (3) years
following the Effective Date.

       3.      Plan Indemnity

        In addition to the matters set forth above and not by way of limitation thereof, Reorganized
BSA shall indemnify and hold harmless all Persons who are or were officers or directors of the
Debtors on the Petition Date or at any time thereafter up to and including the Effective Date on
account of and with respect to any claim, cause of action, liability, judgment, settlement, cost or
expense (including attorneys’ fees) on account of claims or Causes of Action threatened or asserted
by any third party against such officers or directors that seek contribution, indemnity, equitable
indemnity, or any similar claim, based upon or as the result of the assertion of primary claims
against such third party by any representative of the Debtors’ Estates.

       4.      Limitation on Indemnification

        Notwithstanding anything to the contrary set forth in the Plan or elsewhere, neither the
Debtors, Reorganized BSA, the Local Councils, nor the Contributing Chartered Organizations, as
applicable, shall be obligated to indemnify or hold harmless any Person for any claim, cause of
action, liability, judgment, settlement, cost or expense that results primarily from (i) such Person’s
bad faith, gross negligence or willful misconduct or (ii) an Abuse Claim.

V.     The Official Committees and the Future Claimants’ Representative

        Except as otherwise described in the Settlement Trust Documents with respect to the Future
Claimants’ Representative, the Official Committees and the Future Claimants’ Representative
shall continue in existence until the Effective Date, and after the Effective Date for the limited
purposes of: prosecuting requests for payment of Professional Fee Claims for services rendered
and reimbursement of expenses incurred prior to the Effective Date. The Debtors shall pay the
reasonable fees and actual and necessary expenses incurred by the Official Committees and the
Future Claimants’ Representative up to the Effective Date, and after the Effective Date solely for
the purposes set forth in the preceding sentence, in accordance with the Compensation Procedures
Order, the Fee Examiner Order, and the terms of the Plan, including Article II of the Plan. As of
the Effective Date, the members of the Creditors’ Committee shall be released and discharged
from all further authority, duties, responsibilities, liabilities, and obligations involving the Chapter
11 Cases. Upon the closing of the Chapter 11 Cases, the Official Committees shall be dissolved.
Neither the Debtors nor Reorganized BSA have any obligation to pay fees or expenses of any
Professional retained by the Official Committees or the Future Claimants’ Representative that are
earned or incurred before the Effective Date to the extent such fees or expenses (or any portion
thereof) qualify as Settlement Trust Expenses, in which case such fees and expenses (or the
applicable portion thereof) shall be paid by the Settlement Trust in accordance with the Settlement
Trust Documents.




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W.     Retention of Jurisdiction

        Until the Chapter 11 Cases are closed, the Bankruptcy Court shall retain the fullest and
most extensive jurisdiction that is permissible, including the jurisdiction necessary to ensure that
the purposes and intent of the Plan are carried out. Except as otherwise provided in the Plan or the
Settlement Trust Agreement, the Bankruptcy Court shall retain jurisdiction to hear and determine
all Claims against and Interests in the Debtors, and to adjudicate and enforce the Insurance Actions,
the Settlement Trust Causes of Action, and all other Causes of Action which may exist on behalf
of the Debtors. Nothing contained herein shall prevent Reorganized BSA or the Settlement Trust,
as applicable, from taking such action as may be necessary in the enforcement of any Estate Cause
of Action, Insurance Action, Settlement Trust Cause of Action, or other Cause of Action which
the Debtors have or may have and which may not have been enforced or prosecuted by the Debtors,
which actions or other Causes of Action shall survive Confirmation of the Plan and shall not be
affected thereby except as specifically provided herein. Nothing contained herein concerning the
retention of jurisdiction by the Bankruptcy Court shall be deemed to be a finding or conclusion
that (1) the Bankruptcy Court in fact has jurisdiction with respect to any Insurance Action, (2) any
such jurisdiction is exclusive with respect to any Insurance Action, or (3) abstention or dismissal
of any Insurance Action pending in the Bankruptcy Court or the District Court as an adversary
proceeding is or is not advisable or warranted, so that another court can hear and determine such
Insurance Action(s). Any court other than the Bankruptcy Court that has jurisdiction over an
Insurance Action shall have the right to exercise such jurisdiction.

       1.      General Retention

         Following Confirmation of the Plan, the administration of the Chapter 11 Cases will
continue until the Chapter 11 Cases are closed by a Final Order of the Bankruptcy Court. The
Bankruptcy Court shall also retain jurisdiction for the purpose of classification of any Claims and
the re-examination of Claims which have been Allowed for purposes of voting, and the
determination of such objections as may be filed with the Bankruptcy Court with respect to any
Claims. The failure by the Debtors or Reorganized BSA to object to, or examine, any Claim for
the purposes of voting, shall not be deemed a waiver of the rights of the Debtors, Reorganized
BSA, or the Settlement Trust, as the case may be, to object to or reexamine such Claim in whole
or part.

       2.      Specific Purposes

        In addition to the foregoing, the Bankruptcy Court shall retain jurisdiction, as enumerated
in Article XI.C of the Plan, over all matters arising out of, or relating to, the Chapter 11 Cases and
the Plan, including jurisdiction to:

               (a)     modify the Plan after Confirmation pursuant to the provisions of the
                       Bankruptcy Code and the Bankruptcy Rules;

               (b)     correct any defect, cure any omission, reconcile any inconsistency or make
                       any other necessary changes or modifications in or to the Plan, the Trust
                       Documents or the Confirmation Order as may be necessary to carry out the
                       purposes and intent of the Plan, including the adjustment of the date(s) of


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         performance in the Plan in the event the Effective Date does not occur as
         provided herein so that the intended effect of the Plan may be substantially
         realized thereby;

   (c)   assure performance by the Settlement Trust and the Disbursing Agent of
         their respective obligations to make distributions under the Plan;

   (d)   enforce and interpret the terms and conditions of the Plan, the Plan
         Documents, the Settlement Trust Documents, the DST Agreement, and any
         Insurance Settlement Agreements;

   (e)   enter such orders or judgments, including injunctions (a) as are necessary
         to enforce the title, rights and powers of Reorganized BSA, and the
         Settlement Trust, (b) to execute, implement, or consummate the provisions
         of the Plan, the Confirmation Order, and all contracts, instruments, releases
         and other agreements or documents created in connection with the Plan or
         the Confirmation Order, and (c) as are necessary to enable holders of Claims
         to pursue their rights against any Person that may be liable therefor pursuant
         to applicable law or otherwise;

   (f)   hear and determine any and all motions, adversary proceedings, contested
         or litigated matters, and any other matters and grant or deny any applications
         involving the Debtors that may be pending on the Effective Date (which
         jurisdiction shall be non-exclusive as to any such non-core matters);

   (g)   hear and determine any motions or contested matters involving taxes, tax
         refunds, tax attributes, tax benefits and similar or related matters, including
         contested matters arising on account of transactions contemplated by the
         Plan, or relating to the period of administration of the Chapter 11 Cases;

   (h)   hear and determine all applications for compensation of Professionals and
         reimbursement of expenses under sections 328, 330, 331, or 503(b) of the
         Bankruptcy Code;

   (i)   hear and determine any Causes of Action arising during the period from the
         Petition Date to the Effective Date, or in any way related to the Plan or the
         transactions contemplated hereby, against the Debtors, Reorganized BSA,
         the Settlement Trust, the DST, and their respective Representatives;

   (j)   determine any and all motions for the rejection, assumption or assignment
         of Executory Contracts or Unexpired Leases and the Allowance of any
         Claims resulting therefrom;

   (k)   hear and determine such other matters and for such other purposes as may
         be provided in the Confirmation Order;

   (l)   hear and determine the Allowance and/or Disallowance of any Claims,
         including Administrative Expense Claims, against or Interests in the

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         Debtors or their Estates, including any objections to any such Claims or
         Interests, and the compromise and settlement of any Claim, including
         Administrative Expense Claims, against or Interest in the Debtors or their
         Estates;

   (m)   hear and resolve disputes concerning any reserves under the Plan or the
         administration thereof;

   (n)   hear and determine all questions and disputes regarding title to the assets of
         the Debtors or their Estates, or the Settlement Trust;

   (o)   enter and implement such orders as are necessary or appropriate if the
         Confirmation Order is for any reason or in any respect modified, stayed,
         reversed, revoked or vacated, or if distributions pursuant to the Plan or
         under the Settlement Trust Documents are enjoined or stayed;

   (p)   hear and determine all questions and disputes regarding, and to enforce, the
         Abuse Claims Settlement;

   (q)   hear and determine the Insurance Actions, any Settlement Trust Cause of
         Action and any similar claims, Causes of Action or rights of the Settlement
         Trust to construe and take any action to enforce any Abuse Insurance Policy,
         and to issue such orders as may be necessary for the execution,
         consummation and implementation of any Abuse Insurance Policy, and to
         determine all questions and issues arising thereunder; provided, that such
         retention of jurisdiction shall not constitute a waiver of any right of a Non-
         Settling Insurance Company to seek to remove or withdraw the reference of
         any Insurance Action filed after the Effective Date;

   (r)   hear and determine any other matters related hereto, including the
         implementation and enforcement of all orders entered by the Bankruptcy
         Court in the Chapter 11 Cases;

   (s)   resolve any disputes concerning whether a Person had sufficient notice of
         the Chapter 11 Cases, the Disclosure Statement, any solicitation conducted
         in connection with the Chapter 11 Cases, the Bar Date established in the
         Chapter 11 Cases, or any deadline for responding or objecting to a Cure
         Amount, in each case, for the purpose of determining whether a Claim or
         Interest is discharged hereunder or for any other purpose;

   (t)   enter in aid of implementation of the Plan such orders as are necessary,
         including the implementation and enforcement of the Injunctions, Releases,
         and Discharges described in the Plan, including the Channeling Injunction;

   (u)   hearing a petition for relief by a Specified Person or any other party in
         interest in the event that a court or tribunal hearing an Abuse Cause of
         Action fails to apply the judgment reduction provisions of Article X.N of
         the Plan;

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               (v)     approve any Post-Effective Date Chartered Organization Settlement and
                       determine the adequacy of notice of a motion by the Settlement Trustee to
                       approve such a settlement;

               (w)     approve any extension of the Insurance Settlement Period, approve any
                       Post-Effective Date Insurance Settlement and determine the adequacy of
                       notice of a Post-Effective Date Insurance Settlement provided by the
                       Settlement Trustee;

               (x)     hear and determine any questions and disputes pertaining to, and to enforce,
                       the Abuse Claims Settlement, including the Local Council Settlement
                       Contribution, the Contributing Chartered Organization Settlement
                       Contribution, including the TCJC Settlement Contribution, the Participating
                       Chartered Organization Settlement Contribution, and the Hartford
                       Settlement Contribution;

               (y)     hear and determine any questions and disputes pertaining to, and to enforce,
                       the JPM / Creditors’ Committee Settlement;

               (z)     hear and determine any questions and disputes pertaining to, and to enforce,
                       the Hartford Insurance Settlement;

               (aa)    hear and determine any questions and disputes pertaining to, and to enforce,
                       the TCJC Settlement;

               (bb)    hear and determine all questions and disputes regarding matters pertaining
                       to the DST Agreement;

               (cc)    enter a Final Order or decree concluding or closing the Chapter 11 Cases;
                       and

               (dd)    to enter and implement such orders as may be necessary or appropriate if
                       any aspect of the Plan, the Settlement Trust, or the Confirmation Order is,
                       for any reason or in any respect, determined by a court to be inconsistent
                       with, to violate, or insufficient to satisfy any of the terms, conditions, or
                       other duties associated with any Abuse Insurance Policies; provided,
                       however, that (a) such orders shall not impair the Insurance Coverage
                       Defenses or the rights, claims, or defenses, if any, of any Insurance
                       Company that are set forth or provided for in the Plan, the Plan Documents,
                       the Confirmation Order, or any other Final Orders entered in the Debtors’
                       Chapter 11 Cases, (b) this provision does not, in and of itself, grant this
                       Court jurisdiction to hear and decide disputes arising out of or relating to
                       the Abuse Insurance Policies, and (c) all interested parties, including any
                       Insurance Company, reserve the right to oppose or object to any such
                       motion or order seeking such relief.

       As of the Effective Date, notwithstanding anything in Article XI of the Plan to the contrary,
the Restated Debt and Security Documents and any documents related thereto shall be governed

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by the jurisdictional provisions thereof and the Bankruptcy Court shall not retain jurisdiction with
respect thereto.

       3.      Courts of Competent Jurisdiction

        To the extent that the Bankruptcy Court is not permitted under applicable law to preside
over any of the foregoing matters, the reference to the “Bankruptcy Court” in Article XI of the
Plan shall be deemed to be replaced by the “District Court.” If the Bankruptcy Court abstains from
exercising, or declines to exercise, jurisdiction or is otherwise without jurisdiction over any matter
arising out of the Plan, such abstention, refusal, or failure of jurisdiction shall have no effect upon
and shall not control, prohibit, or limit the exercise of jurisdiction by any other court having
competent jurisdiction with respect to such matter.

X.     Miscellaneous Provisions

       1.      Closing of Chapter 11 Cases

        After each Chapter 11 Case has been fully administered, Reorganized BSA shall file with
the Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable order
of the Bankruptcy Court to close such Chapter 11 Case.

       2.      Amendment or Modification of the Plan

               (a)     Plan Modifications. Subject to the terms of the JPM / Creditors’ Committee
       Term Sheet, the Debtors reserve the right, in accordance with the Bankruptcy Code and the
       Bankruptcy Rules, to amend or modify the Plan prior to the entry of the Confirmation
       Order, including amendments or modifications to satisfy section 1129(b) of the Bankruptcy
       Code, and after entry of the Confirmation Order, the Debtors may, upon order of the
       Bankruptcy Court, amend, modify or supplement the Plan in the manner provided for by
       section 1127 of the Bankruptcy Code or as otherwise permitted by law, in each case without
       additional disclosure pursuant to section 1125 of the Bankruptcy Code unless section 1127
       of the Bankruptcy Code requires additional disclosure. In addition, after the Confirmation
       Date, so long as such action does not materially and adversely affect the treatment of
       holders of Allowed Claims pursuant to the Plan, the Debtors may remedy any defect or
       omission or reconcile any inconsistencies in the Plan or the Confirmation Order with
       respect to such matters as may be necessary to carry out the purposes or effects of the Plan,
       and any holder of a Claim that has accepted the Plan shall be deemed to have accepted the
       Plan as amended, modified, or supplemented. All amendments to the Plan (a) must be
       reasonably acceptable to JPM and the Creditors’ Committee to the extent they pertain to
       the treatment of the 2010 Credit Facility Claims, the 2019 RCF Claims, the 2010 Bond
       Claims, or the 2012 Bond Claims (in the case of JPM) or Convenience Claims, General
       Unsecured Claims, or Non-Abuse Litigation Claims (in the case of the Creditors’
       Committee), (b) shall not be inconsistent with the terms of the Hartford Insurance
       Settlement Agreement, and (c) shall not be inconsistent with the terms of the TCJC
       Settlement Agreement. The designation of Chartered Organizations as Contributing
       Chartered Organizations or Participating Chartered Organizations and the designation of
       Non-Settling Insurance Companies as Settling Insurance Companies after the Effective


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       Date in accordance with Article IV.I, Article IV.J, or Article IV.K of the Plan shall not be
       a modification or amendment to the Plan and instead is an act that may be done to effectuate
       the terms of the Plan.
              (b)     Other Amendments. Before the Effective Date, the Debtors may make
       appropriate technical adjustments and modifications to the Plan and the documents
       contained in the Plan Supplement without further order or approval of the Bankruptcy
       Court.
       3.      Revocation or Withdrawal of the Plan

        The Debtors reserve the right to revoke or withdraw the Plan prior to the Effective Date.
If the Plan has been revoked or withdrawn prior to the Effective Date, or if Confirmation of the
Plan or the occurrence of the Effective Date does not occur, then: (1) the Plan shall be null and
void in all respects; (2) any settlement or compromise embodied in the Plan (including the fixing
or limiting to an amount any Claim or Interest or Class of Claims or Interests), assumption of
executory contracts or unexpired leases affected by the Plan, and any document or agreement
executed pursuant to the Plan, including the Settlement Trust Documents, shall be deemed null
and void (except that the Hartford Insurance Settlement Agreement shall remain in full force and
effect to the extent provided in such agreement in accordance with its terms); and (3) nothing
contained in the Plan shall (i) constitute a waiver or release of any Claim against, or any Interest
in, the Debtors or any other Person; (ii) prejudice in any manner the rights of the Debtors or any
other Person; or (iii) constitute an admission of any sort by the Debtors or any other Person.

       4.      Request for Expedited Determination of Taxes

        The Debtors and Reorganized BSA, as applicable, shall have the right to request an
expedited determination under section 505(b) of the Bankruptcy Code with respect to tax returns
filed, or to be filed, for any and all taxable periods ending after the Petition Date to and including
the Effective Date.

       5.      Non-Severability of Plan Provisions

        If, before the entry of the Confirmation Order, any term or provision of the Plan is held by
the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court, at the request
of the Debtors, shall have the power to alter and interpret such term or provision to make it valid
or enforceable to the maximum extent practicable, consistent with the original purpose of the term
or provision held to be invalid, void, or unenforceable, and such term or provision shall then be
applicable as altered or interpreted. Notwithstanding any such holding, alteration, or
interpretation, the remainder of the terms and provisions of the Plan will remain in full force and
effect and will in no way be affected, impaired or invalidated by such holding, alteration, or
interpretation. The Confirmation Order shall constitute a judicial determination and shall provide
that each term and provision of the Plan, as it may have been altered or interpreted in accordance
with the foregoing, is (1) valid and enforceable pursuant to its terms, (2) integral to the Plan and
may not be deleted or modified without the consent of the Debtors or Reorganized BSA (as the
case may be), and (3) nonseverable and mutually dependent.




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       6.      Notices

        All notices, requests, and demands to or upon the Debtors or Reorganized BSA to be
effective shall be in writing (including by email transmission) and, unless otherwise expressly
provided herein, shall be deemed to have been duly given or made when actually delivered,
addressed as follows:

                     Boy Scouts of America
                     1325 W. Walnut Hill Lane
                     Irving, Texas 75015
                     Attn: Steven McGowan, General Counsel
                     Email: Steve.McGowan@scouting.org

                     with copies to:

                     White & Case LLP
                     1221 Avenue of the Americas
                     New York, New York 10020
                     Attn: Jessica C. Lauria
                     Email: jessica.lauria@whitecase.com

                     – and –

                     White & Case LLP
                     111 South Wacker Drive, Suite 5100
                     Chicago, Illinois 60606
                     Attn: Michael C. Andolina
                     Matthew E. Linder
                     Email: mandolina@whitecase.com
                            mlinder@whitecase.com

                     – and –

                     Morris, Nichols, Arsht & Tunnell LLP
                     1201 North Market Street, 16th Floor
                     P.O. Box 1347
                     Wilmington, Delaware 19899-1347
                     Attn: Derek C. Abbott
                     Email: dabbott@morrisnichols.com

       7.      Notices to Other Persons

        After the occurrence of the Effective Date, Reorganized BSA has authority to send a notice
to any Person providing that to continue to receive documents pursuant to Bankruptcy Rule 2002,
such Person must file a renewed request to receive documents pursuant to Bankruptcy Rule 2002;
provided, however, that the U.S. Trustee need not file such a renewed request and shall continue
to receive documents without any further action being necessary. After the occurrence of the


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Effective Date, Reorganized BSA is authorized to limit the list of Persons receiving documents
pursuant to Bankruptcy Rule 2002 to the U.S. Trustee and those Persons that have filed such
renewed requests.

       8.       Governing Law

        Except to the extent that the Bankruptcy Code or other federal law is applicable, or to the
extent an exhibit hereto or a schedule in the Plan Supplement or any other Plan Document provides
otherwise, the rights, duties, and obligations arising under the Plan shall be governed by, and
construed and enforced in accordance with, the laws of the State of Delaware, without giving effect
to the principles of conflict of laws thereof; provided, however, that governance matters relating
to Reorganized BSA shall be governed by the laws of the District of Columbia.

       9.       Immediate Binding Effect

       Notwithstanding Bankruptcy Rules 3020(e), 6004(h), 7062, or otherwise, upon the
occurrence of the Effective Date, the terms of the Plan (including the Plan Supplement) shall be
immediately effective and enforceable and deemed binding upon and inure to the benefit of any
Person named or referred to in the Plan and the successors and assigns of such Person.

       10.      Timing of Distributions or Actions

        In the event that any payment, Distribution, act or deadline under the Plan is required to be
made or performed or occurs on a day that is not a Business Day, then such payment, Distribution,
act or deadline shall be deemed to occur on the next succeeding Business Day, but if so made,
performed or completed by such next succeeding Business Day, shall be deemed to have been
completed or to have occurred as of the required date.

       11.      Deemed Acts

       Whenever an act or event is expressed under the Plan to have been deemed done or to have
occurred, it shall be deemed to have been done or to have occurred by virtue of the Plan or the
Confirmation Order without any further act by any Person.

       12.      Entire Agreement

        The Plan Documents set forth the entire agreement and undertakings relating to the
subject matter thereof and supersede all prior discussions, negotiations, understandings and
documents. No Person shall be bound by any terms, conditions, definitions, warranties,
understandings, or representations with respect to the subject matter hereof, other than as expressly
provided for in the Plan or the other Plan Documents or as may hereafter be agreed to by the
affected parties in writing.

       13.      Plan Supplement

       Any and all exhibits, lists, or schedules referred to herein but not filed with the Plan shall
be contained in the Plan Supplement to be filed with the Clerk of the Bankruptcy Court prior to
the Confirmation Hearing on the Plan, and such Plan Supplement is incorporated into and is part


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of the Plan as if set forth in full herein. The Plan Supplement will be available for inspection in
the office of the Clerk of the Bankruptcy Court during normal court hours, at the website
maintained by the Notice and Claims Agent (https://omniagentsolutions.com/BSA), and at the
Bankruptcy Court’s website (ecf.deb.uscourts.gov).

       14.      Withholding of Taxes

        The Disbursing Agent, the Settlement Trust or any other applicable withholding agent, as
applicable, shall withhold from any assets or property distributed under the Plan any assets or
property which must be withheld for foreign, federal, state and local taxes payable with respect
thereto or payable by the Person entitled to such assets to the extent required by applicable law.

       15.      Payment of Quarterly Fees

        All Quarterly Fees due and payable prior to the Effective Date shall be paid on or before
the Effective Date. The Reorganized Debtors shall pay all such fees that arise after the Effective
Date, but before the closing of the Chapter 11 Cases, and shall comply with all applicable statutory
reporting requirements.

       16.      Effective Date Actions Simultaneous

        Unless the Plan or the Confirmation Order provides otherwise, actions required to be taken
on the Effective Date shall take place and be deemed to have occurred simultaneously, and no such
action shall be deemed to have occurred prior to the taking of any other such action.

       17.      Consent to Jurisdiction

        Upon default under the Plan, Reorganized BSA, the Settlement Trust, the Settlement
Trustee, the Official Committees, the Future Claimants’ Representative, and the Protected Parties,
or any successor thereto, respectively, consent to the jurisdiction of the Bankruptcy Court, and
agree that it shall be the preferred forum for all proceedings relating to any such default.

       18.      Nonoccurrence of Effective Date; Bankruptcy Code Section 365(d)(4)

        If the Effective Date fails to occur, the Bankruptcy Court shall retain jurisdiction with
respect to any request to further extend the deadline for assuming or rejecting Unexpired Leases
under section 365(d)(4) of the Bankruptcy Code.

     ARTICLE VII. THE SETTLEMENT TRUST AND TRUST DISTRIBUTION
                              PROCEDURES

A.     The Settlement Trust

       1.       Establishment and Purpose of the Settlement Trust

      The Settlement Trust shall be established on the Effective Date. The Settlement Trust shall
be administered and implemented by the Settlement Trustee as provided in the Trust Documents.
The purposes of the Settlement Trust shall be to assume liability for all Abuse Claims, to hold,


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preserve, maximize and administer the Settlement Trust Assets, and to direct the processing,
liquidation and payment of all compensable Abuse Claims in accordance with the Settlement Trust
Documents. The Settlement Trust Assets include (i) the BSA Settlement Trust Contribution; (ii)
the Local Council Settlement Contribution; (iii) the Chartered Organization Settlement
Contribution; and (iv) any and all other funds, proceeds or other consideration otherwise
contributed to the Settlement Trust pursuant to the Plan or the Confirmation Order or other Final
Order of the Bankruptcy Court.

       The Settlement Trust shall resolve Abuse Claims in accordance with the Settlement Trust
Documents in a fair, consistent, equitable manner, and on a pro rata basis, in compliance with the
terms of the Settlement Trust Documents and to the extent of available Settlement Trust Assets.
From and after the Effective Date, the Abuse Claims shall be channeled to the Settlement Trust
pursuant to the Channeling Injunction set forth in Article X.F of the Plan and may be asserted only
and exclusively against the Settlement Trust.

        In the event of any ambiguity or conflict between the terms of the Settlement Trust
Agreement or any related document required or provided for under the Settlement Trust
Documents (other than the Confirmation Order), on the one hand, and the terms of the Plan and
the Confirmation Order, on the other hand, the terms of the Plan and the Confirmation Order shall
control, notwithstanding that the Settlement Trust Agreement and related documents required or
provided for under the Settlement Trust Documents may be incorporated in or annexed to the Plan
or the Confirmation Order.

       2.      Transfer of Claims to the Settlement Trust

         On the Effective Date or as otherwise provided herein, and without further action of any
Person, the Settlement Trust shall assume the liabilities, obligations, and responsibilities, financial
or otherwise, of (a) the Protected Parties for all Abuse Claims and (b) the Limited Protected Parties
for all Post-1975 Chartered Organization Abuse Claims. These assumptions by the Settlement
Trust shall not affect (i) the application of the Discharge Injunction or the Channeling Injunction
or (ii) any Non-Settling Insurance Company’s obligation under any Abuse Insurance Policy or
applicable law.

        Except as otherwise expressly provided in the Plan, the Settlement Trust Agreement, or the
Trust Distribution Procedures, the Settlement Trust shall have control over the Settlement Trust
Causes of Action and the Insurance Actions, and the Settlement Trust shall thereby become the
estate representative pursuant to section 1123(b)(3)(B) of the Bankruptcy Code with the exclusive
right (except as otherwise provided in Article IV.D.4 of the Plan) to enforce each of the Settlement
Trust Causes of Action and the Insurance Actions, and the proceeds of the recoveries on any of
the Settlement Trust Causes of Action or the Insurance Actions shall be deposited in and become
the property of the Settlement Trust, and the Settlement Trust shall have the right to enforce the
Plan and any of the other Plan Documents (including the Document Agreement) according to their
respective terms, including the right to receive the Settlement Trust Assets as provided in the Plan;
provided, however, that (a) the Settlement Trust shall have no other rights against the Protected
Parties except to enforce the Plan and any of the other Plan Documents; (b) the Settlement Trust
shall have no other rights against the Limited Protected Parties with respect to Post-1975 Chartered
Organization Abuse Claims; (c) the Settlement Trust Causes of Action, the Insurance Actions, and


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the Participating Chartered Organization Insurance Actions shall not include any Claims or
Interests fully and finally released, compromised, or settled pursuant to the Plan or any Plan
Documents, or any Claims against Hartford released, compromised and settled under the Hartford
Insurance Settlement Agreement; and (d) for the avoidance of doubt, the Settlement Trust Causes
of Action, the Insurance Actions, and the Participating Chartered Organization Insurance Actions
do not include any rights of the Protected Parties or the Limited Protected Parties arising under the
Channeling Injunction or any of the Injunctions, Releases, or Discharges granted under the Plan
and the Confirmation Order.

       3.      Transfer of Settlement Trust Assets to the Settlement Trust

        On the Effective Date, subject to Article IV.D.2 of the Plan, all right, title, and interest in
and to the Settlement Trust Assets and any proceeds thereof shall be automatically, and without
further act or deed, transferred to, vested in, and assumed by the Settlement Trust free and clear of
all Encumbrances or Claims or other interests of any Person, subject to the Channeling Injunction
and other provisions of the Plan. The Debtors and the Local Councils shall establish an appropriate
escrow mechanism to ensure that the Cash to be paid to the Settlement Trust by Local Councils on
the Effective Date can be paid in a timely manner.

        To the extent any of the Settlement Trust Assets are not transferred to the Settlement Trust
by operation of law on the Effective Date pursuant to the Plan, then when such assets accrue or
become transferable subsequent to the Effective Date, they shall automatically and immediately
transfer to the Settlement Trust free and clear of all Encumbrances and Claims or other interests
of any Person, subject to the Channeling Injunction and other provisions of the Plan. To the extent
any Artwork is not physically transferred to the Settlement Trust on the Effective Date, the Debtors
or Reorganized BSA and the Settlement Trust shall mutually agree on the terms of the storage and
subsequent physical transfer thereof. For the avoidance of doubt, title to the Artwork (and the risk
of loss thereof) will transfer to the Settlement Trust on the Effective Date. To the extent that any
action of a Protected Party or Limited Protected Party is required to effectuate such transfer, such
Protected Party or Limited Protected Party shall promptly transfer, assign, and contribute, such
remaining Settlement Trust Assets to the Settlement Trust. In the event a Protected Party or
Limited Protected Party breaches any obligation contained in this section, the Settlement Trust
will have no adequate remedy at law and shall be entitled to preliminary and permanent declaratory
and injunctive relief. Article IV.D.2 of the Plan applies, without limitation, to (a) that portion of
the Local Council Settlement Contribution required to be contributed to the Settlement Trust after
the Effective Date and (b) the transfer to the Settlement Trust of the Warehouse and Distribution
Center, subject to the Leaseback Requirement.

       4.      The Settlement Trust Distribution Procedures

        On the Effective Date, the Settlement Trust shall implement the applicable Trust
Distribution Procedures in accordance with the terms of the Settlement Trust Agreement. From
and after the Effective Date, the Settlement Trustee shall have the authority to administer, amend,
supplement, or modify the Trust Distribution Procedures solely in accordance with the terms
thereof and the Settlement Trust Agreement.




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       5.      Post-Effective Date Contributing Chartered Organizations

        Notwithstanding any present exclusionary language in the Plan, after the Effective Date,
any Chartered Organization that is not a Contributing Chartered Organization as of the Effective
Date may become a Protected Party if the Bankruptcy Court, after notice and an opportunity for
parties in interest to be heard, approves a settlement agreement between such Chartered
Organization and the Settlement Trustee (a “Post-Effective Date Chartered Organization
Settlement”). After the Effective Date, the Settlement Trustee shall have the exclusive authority
to seek approval of a Post-Effective Date Chartered Organization Settlement. Upon the
Bankruptcy Court’s entry of a Final Order approving a Post-Effective Date Chartered Organization
Settlement, Exhibit D of the Plan shall be amended by the Settlement Trustee to include such
Chartered Organization, and such Chartered Organization (and any related Persons or
Representatives, as applicable) shall be deemed to be a Contributing Chartered Organization and
a Protected Party for all purposes hereunder. A list of Chartered Organizations that may
potentially become Contributing Chartered Organization may be accessed at
https://omniagentsolutions.com/bsa-SAballots.

        Any Chartered Organization that becomes a Protected Party in accordance with Article
IV.I of the Plan shall have all of the rights, remedies and obligations of a Protected Party under the
Plan, including under the Channeling Injunction, notwithstanding that such Chartered
Organization was not a Protected Party under the Plan as of the Effective Date.

       6.      Post-Effective Date Participating Chartered Organizations

       Notwithstanding any present exclusionary language in the Plan, after the Effective Date,
any Chartered Organization that is not a Participating Chartered Organization as of the Effective
Date may become a Participating Chartered Organization by agreement with the Settlement
Trustee and without further order of the Bankruptcy Court; provided, however, that the Settlement
Trustee shall file a notice with the Bankruptcy Court within thirty (30) days of entering into any
agreement with a Chartered Organization that deems such Chartered Organization to be a Limited
Protected Party, together with an amendment to Exhibit K of the Plan removing such Chartered
Organization from the list of Chartered Organizations that are not Participating Chartered
Organizations.

        Any Chartered Organization that becomes a Limited Protected Party in accordance with
Article IV.J of the Plan shall have all of the rights, remedies and obligations of a Limited Protected
Party under the Plan, including under the Limited Channeling Injunction, notwithstanding that
such Chartered Organization was not a Limited Protected Party under the Plan as of the Effective
Date.

       7.      Post-Effective Date Settling Insurance Companies

       Notwithstanding any present exclusionary language in the Plan, after the Effective Date,
any Insurance Company that is a Non-Settling Insurance Company may, within twelve (12)
months of the Effective Date (the “Insurance Settlement Period”), enter into an Insurance
Settlement Agreement with the Settlement Trustee (a “Post-Effective Date Insurance Settlement”);
provided, however, that the Settlement Trustee shall file a notice with the Bankruptcy Court within


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thirty (30) days of entering into any such Post-Effective Date Insurance Settlement, together with
an amendment to Exhibit I of the Plan including such Post-Effective Date Insurance Settlement,
and such Insurance Company (and any related Persons or Representatives, as applicable) shall be
deemed to be a Settling Insurance Company and a Protected Party for all purposes hereunder. The
Post-Effective Date Insurance Settlement and amendment shall be deemed binding and effective
absent objection by any Person within fifteen (15) calendar days. The Settlement Trustee shall
have the sole discretion, upon order of the Bankruptcy Court, to extend the Insurance Settlement
Period.

        Any Insurance Company that becomes a Protected Party in accordance with Article IV.K
of the Plan shall have all of the rights, remedies and obligations of a Protected Party under the
Plan, including under the Channeling Injunction, notwithstanding that such Insurance Company
was not a Protected Party under the Plan as of the Effective Date.

         8.        The Settlement Trust Agreement

       The Settlement Trust is formed through the Settlement Trust Agreement, executed by and
between BSA, the Settlement Trustee, the Future Claimants’ Representative, the Delaware
Trustee, and the STAC.92 The Settlement Trust Agreement describes and dictates the purpose,
scope, function, and funding of the Settlement Trust. Namely, the Settlement Trust Agreement
provides that the Settlement Trust is (i) to assume all liability for the Channeled Claims, (ii)
administer the Channeled Claims and (iii) make distributions to holders of compensable Abuse
Claims, in each case in accordance with the Trust Distributions Procedures for Abuse
Claims. Settlement Trust Agreement § 1.2. The Settlement Trust Agreement provides that the
Settlement Trust will be funded through irrevocable transfers of the Trust Assets. Id. § 1.3.

         To operate the Settlement Trust, the Settlement Trust Agreement appoints a Settlement
Trustee and enumerates the Settlement Trustee’s powers, duties, and limitations. These include,
among others: the power to administer the Trust, the Trust Assets, and any other amounts to be
received under the terms of the Trust Documents in accordance with the purposes set forth in the
Settlement Trust Agreement and in the manner described by the Trust Documents; the power to
take any and all actions that in the judgment of the Settlement Trustee are necessary or advisable
to fulfill the purposes of the Trust, including, without limitation, each power expressly granted in
the Settlement Trust Agreement, and any power reasonably incidental thereto and any trust power
permitted under the laws of the State of Delaware; take any and all actions appropriate or necessary
in order to carry out the terms of the Trust Documents; and except as otherwise expressly provided
in the Trust Documents, exercise any other powers now or hereafter conferred upon or permitted
to be exercised by a trustee under the laws of the State of Delaware. Settlement Trust Agreement
§ 2.1. The Settlement Trustee is required under the Settlement Trust Agreement to consult with a
Settlement Trust Advisory Committee (“STAC”) and the Future Claimants’ Representative on
certain matters set forth in the Settlement Trust Agreement. The Settlement Trustee shall also
obtain the consent of the STAC and the Future Claimants’ Representative prior to taking action
with respect to certain matters. Id. § 2.1(g).

92   Capitalized terms used but not defined in this section have the meanings ascribed to them in the Settlement Trust Agreement.
     In the event of any discrepancy between this summary and the Settlement Trust Agreement, the Settlement Trust Agreement
     shall control in all respects.


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        In line with the Settlement Trust’s objective, the Settlement Trust Agreement mandates
that the Settlement Trust qualify as a “qualified settlement fund” within the meaning of § 468B of
the Tax Code and § 468B’s associated regulations. Settlement Trust Agreement § 8.4. To
accomplish this, the Settlement Trust Agreement empowers the Settlement Trustee to take all
actions as the Settlement Trustee deems necessary to reasonably ensure that the Settlement Trust
qualifies as, and remains, a “qualified settlement fund.” Id. §2.1(a). This includes authorizing the
Settlement Trustee to unilaterally and without court order, amend, either in whole or in part, any
administrative provision of the Settlement Trust Agreement which causes unanticipated tax
consequences or liabilities inconsistent with the foregoing. Id. § 2.1(a). Reorganized BSA shall
make a “grantor trust” election under Treasury Regulation section 1.468B-1(k) with respect to the
Settlement Trust for U.S. federal income tax purposes and, to the extent permitted under applicable
law, for state and local income tax purposes. Id. § 8.4(a). The Settlement Trustee as
“administrator” of the Trust within the meaning of Section 1.468B-2(k)(3) of the Treasury
Regulations shall report consistently with such grantor trust election and otherwise satisfy all
requirements necessary to qualify and maintain qualification of Trust as a qualified settlement fund
and a grantor trust. Id. § 8.4.

        Lastly, the Settlement Trust Agreement sets forth the Settlement Trust’s termination and
associated procedures. Specifically, the Settlement Trust shall automatically dissolve as soon as
practicable but no later than ninety (90) days after the date on which the Bankruptcy Court
approves the dissolution of the Trust because (i) all reasonably expected assets have been collected
by the Trust, (ii) all distributions have been made to the extent set forth in the Trust Distribution
Procedures, (iii) necessary arrangements and reserves have been made to discharge all anticipated
remaining Trust obligations and Trust Operating Expenses in a manner consistent with the Trust
Documents, and (iv) a final accounting has been filed and approved by the Bankruptcy
Court. Settlement Trust Agreement § 8.2(b). After termination of the Settlement Trust and solely
for the purpose of liquidating and winding up its affairs, the Settlement Trustee shall continue to
act as Settlement Trustee until its duties under the Settlement Trust Agreement have been fully
performed. Upon termination of the Settlement Trust and accomplishment of all activities
described in the Settlement Trust Agreement, the Settlement Trustee and its professionals shall be
discharged and exculpated from liability (except for acts or omissions resulting from the
recklessness, gross negligence, willful misconduct, knowing and material violation of law or fraud
of the Settlement Trustee or his agents or representatives). Id. § 8.29(e).

       9.      Discharge of Liabilities to Holders of Abuse Claims

        Except as provided in the Plan, the transfer to, vesting in and assumption by the Settlement
Trust of the Settlement Trust Assets as contemplated by the Plan shall, as of the Effective Date,
discharge all obligations and liabilities of and bar any recovery or action against the Protected
Parties for or in respect of all Abuse Claims, including all Indirect Abuse Claims (and the
Confirmation Order shall provide for such discharge). The Settlement Trust shall, as of the
Effective Date, assume sole and exclusive responsibility and liability for all Abuse Claims and
such Claims shall be paid by the Settlement Trust from the Settlement Trust Assets or as otherwise
directed in the Settlement Trust Documents.




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       10.      Imposition of Channeling Injunction

        From and after the Effective Date, all Abuse Claims shall be subject to the Channeling
Injunction pursuant to section 105(a) of the Bankruptcy Code and the provisions of the Plan and
the Confirmation Order. From and after the Effective Date, the Protected Parties shall not have
any obligation with respect to any liability of any nature or description arising out of, relating to,
or in connection with any Abuse Claims.

       11.      Insurance Assignment

        As of the Effective Date, the Insurance Assignment shall be completed, which includes an
assignment and transfer to the Settlement Trust of (a) the Insurance Actions, (b) the Insurance
Action Recoveries, (c) the Insurance Settlement Agreements, and (d) all other rights, claims,
benefits, or Causes of Action of the Debtors, Related Non-Debtor Entities, Local Councils,
Participating Chartered Organizations or Contributing Chartered Organizations under or with
respect to the Abuse Insurance Policies (but not the policies themselves). The Insurance
Assignment does not include (i) any rights, claims, benefits, or Causes of Action under or with
respect to any Non-Abuse Insurance Policies and D&O Liability Insurance Policies, (ii) any Local
Council Reserved Rights, or (iii) any rights, claims, benefits, or Causes of Action of any Chartered
Organization that is not a Participating Chartered Organization or a Contributing Chartered
Organization under or with respect to any Abuse Insurance Policy.

       12.      Specified Insurance Policies and Non-Abuse Litigation Claims

        The Settlement Trust shall have consent over any post-Effective Date settlement of any
Non-Abuse Litigation Claim (such consent not to be unreasonably withheld) that is entitled to a
recovery from proceeds of Specified Insurance Policies. A condition of payment of a Non-Abuse
Litigation Claim by the Settlement Trust from a Specified Insurance Policy shall be a release by
the holder of such Non-Abuse Litigation Claim of the Debtors, the Local Councils, and any other
insureds under applicable Specified Insurance Policies. Before the Settlement Trust settles any
Specified Insurance Policy(ies) under which the holder of a Non-Abuse Litigation Claim is seeking
to recover, the holder of a Non-Abuse Litigation Claim may recover up to the full amount of such
Claim in the first instance from any such available unsettled Specified Insurance Policy(ies) or
unsettled Specified Excess Insurance Policy(ies). If and when the Settlement Trust settles one or
more Specified Insurance Policies under which the holder of a Non-Abuse Litigation Claim is
seeking to recover: (a) the holder of such Non-Abuse Litigation Claim shall remain entitled to
recover up to $1,000,000 of such Claim under any such Specified Primary Insurance Policy(ies);
and (b) any amounts exceeding $1,000,000 shall be recoverable in the first instance from any
available Specified Excess Insurance Policies. Subject to a review of the details concerning a Non-
Abuse Litigation Claim by the Settlement Trustee, to the extent that the holder of a Non-Abuse
Litigation Claim cannot, as a result of the Settlement Trust’s release of such Specified Insurance
Policy(ies), recover the full amount of any judgment or settlement of such Claim consented to by
the Settlement Trust (such consent not to be unreasonably withheld) from any Specified Insurance
Policy(ies) under which the holder of a Non-Abuse Litigation Claim is seeking to recover, then
any unpaid amounts (up to applicable policy limits) shall be submitted to the Settlement Trust,
which shall pay such amounts out of the proceeds of the Specified Insurance Policies.



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        The Settlement Trustee shall have a duty to treat Direct Abuse Claims and Non-Abuse
Litigation Claims that implicate the Specified Insurance Policies fairly and equally. In negotiating
any settlements involving Specified Insurance Policies, the Settlement Trustee shall bear in mind
the interests of both Direct Abuse Claims and Non-Abuse Litigation Claims in structuring any
settlement and use best efforts to maximize recoveries for both constituencies.

        Notwithstanding anything to the contrary in the Plan, with respect to any Non-Abuse
Litigation Claim that has been asserted or could be asserted against any Local Council, notice of
which is provided to the Debtors, the Coalition, the Tort Claimants’ Committee, and the Future
Claimants’ Representative prior to the Effective Date, the rights of the Local Council to recover
for such Non-Abuse Litigation Claim under the Specified Insurance Policies up to the applicable
coverage limits shall be preserved; provided, however, that if the holder of a Non-Abuse Litigation
Claim provides a full and complete written release of any claims that such holder of a Non-Abuse
Litigation Claim may have against the Local Council related to the Non-Abuse Litigation Claim,
then the Local Council will be deemed to have waived any rights it may have against the Specified
Insurance Policy with respect to such Non-Abuse Litigation Claim.

       13.      Settlement Trust Causes of Action

        The transfer of the Settlement Trust Causes of Action to the Settlement Trust, insofar as
they relate to the ability to defend against or reduce the amount of Abuse Claims, shall be
considered the transfer of a non-exclusive right enabling the Settlement Trust to defend itself
against asserted Abuse Claims, which transfer shall not impair, affect, alter, or modify the right of
any Person, including the Protected Parties, the Limited Protected Parties, an insurer or alleged
insurer, or co-obligor or alleged co-obligor, sued on account of an Abuse Claim or on account of
any asserted right relating to any Abuse Insurance Policy, to assert each and every defense or basis
for claim reduction such Person could have asserted had the Settlement Trust Causes of Action not
been assigned to the Settlement Trust (including any defense or basis for claim reduction that any
Insurance Company or other insurer or alleged insurer could have asserted under section 502 of
the Bankruptcy Code, applicable non-bankruptcy law, or any Abuse Insurance Policy or other
agreement with respect to (a) any alleged liability of the BSA or any Local Council, Contributing
Chartered Organization, Participating Chartered Organization, or any other insured Person for any
Abuse Claim or (b) any alleged liability of any Insurance Company or other insurer or alleged
insurer to provide indemnity or defense relating to any Abuse Claim or any alleged
extracontractual liability of any Insurance Company or other insurer or alleged insurer relating to
any Abuse Claim).

       14.      Reimbursement by Settlement Trust

       From and after the Effective Date, the Settlement Trust shall reimburse, to the fullest extent
permitted by applicable law, Reorganized BSA and each of the Local Councils for any documented
out-of-pocket, losses, costs, and expenses (including judgments, attorneys’ fees, and expenses)
incurred by Reorganized BSA or any Local Council after the Effective Date attributable to the
defense of a Direct Abuse Claim that is channeled to the Settlement Trust if the holder of such
Direct Abuse Claim seeks to hold Reorganized BSA or such Local Council liable for such Direct
Abuse Claim in violation of the terms of the Confirmation Order; provided that the Settlement
Trust’s reimbursement obligations to Reorganized BSA and any Local Council for any Direct


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Abuse Claim shall be capped at and shall not exceed the amount actually payable by the Settlement
Trust to the holder of such Direct Abuse Claim under the Trust Distribution Procedures (i.e., the
amount paid based on the Settlement Trust payment percentage) and shall be deducted on a dollar-
for-dollar basis against such holder’s distribution from the Settlement Trust on account of such
Direct Abuse Claim. Reorganized BSA and any Local Council shall provide notice to the
Settlement Trust within ten (10) business days of the service of any claim or lawsuit filed by a
holder of an Abuse Claim that could result in any reimbursement obligations by the Settlement
Trust under this provision. In the event that any litigation asserting an Abuse Claim is filed naming
Reorganized BSA or any Local Council as a defendant in violation of the terms of the Confirmation
Order, the Settlement Trust shall, at the request of Reorganized BSA or such Local Council,
promptly appear (1) before the Bankruptcy Court to obtain entry of an order enforcing the
Channeling Injunction and (2) in such litigation and seek the dismissal of the case. Other than this
limited reimbursement obligation, the Settlement Trust shall not be required to reimburse or
indemnify any Protected Parties or Limited Protected Parties for any claims, liabilities, losses,
actions, suits, proceedings, third-party subpoenas, damages, costs and expenses, including any
liabilities related to, arising out of, or in connection with any Abuse Claim. Except for the right to
seek reimbursement or indemnity set forth in Article IV.M of the Plan, the Debtors, the Local
Councils, the Contributing Chartered Organizations, the Participating Chartered Organizations and
any other Person that is or becomes a Protected Party shall be forever barred from seeking
compensation from the Settlement Trust for or on account of any Claims arising prior to the
Petition Date.

       15.      Trust Defense of TCJC Settlement

       In the event that any litigation asserting an Abuse Claim is filed naming TCJC as a
defendant in violation of the terms of the Confirmation Order, the Settlement Trust shall, at the
request of TCJC, promptly appear (1) before the Bankruptcy Court to obtain entry of an order
enforcing the Channeling Injunction and (2) in such litigation seek the dismissal of the case. Under
no circumstances shall the Settlement Trust be required to reimburse or indemnity TCJC for any
claims, liabilities, losses, actions, suits, proceedings, third-party subpoenas, damages, costs, and
expenses, including any liabilities related to, arising out of, or in connection with, any Abuse
Claim.

       16.      Assignment of Claims and Defenses

       Notwithstanding anything herein to the contrary, on the Effective Date, the Debtors, the
Local Councils and any other party that is or becomes a Protected Party or a Limited Protected
Party shall be deemed to assign any and all Claims and defenses to the Settlement Trust that arise
from or relate to Abuse Claims, including any Claims and defenses against co-defendants;
provided, however, that with respect to Limited Protected Parties, the foregoing assignment shall
be limited to Claims and defenses that arise from or relate to Post-1975 Chartered Organization
Abuse Claims.




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          17.       Excess Assets in Settlement Trust

       To the extent any Settlement Trust Assets remain at such time as the Settlement Trust is
dissolved under the terms of the Settlement Trust Documents, any remaining Settlement Trust
Assets shall be distributed to Reorganized BSA.

          18.       Investment Guidelines

        All monies held in the Settlement Trust shall be invested, subject to the investment
limitations and provisions enumerated in the Settlement Trust Agreement.

          19.       Settlement Trust Expenses

         The Settlement Trust shall pay all Settlement Trust Expenses from the Settlement Trust
Assets. The Settlement Trust shall bear sole responsibility with respect to the payment of the
Settlement Trust Expenses. Additionally, the Settlement Trust shall promptly pay all reasonable
and documented Settlement Trust Expenses incurred by any Protected Party for any and all
liabilities, costs or expenses as a result of taking action on behalf of or at the direction of the
Settlement Trust following the transfer to the Settlement Trust of copies of all records and
documents in such Persons’ possession, custody or control pertaining to Abuse Claims in
accordance with the Document Agreement. To the maximum extent permitted by applicable law,
the Settlement Trustee shall not have or incur any liability for actions taken or omitted in his or
her capacity as Settlement Trustee, or on behalf of the Settlement Trust, except those acts found
by Final Order to be arising out of his or her willful misconduct, bad faith, gross negligence or
fraud, and shall be entitled to indemnification and reimbursement for reasonable fees and expenses
in defending any and all of his or her actions or omissions in his or her capacity as Settlement
Trustee, or on behalf of the Settlement Trust, except for any actions or omissions found by Final
Order to be arising out of his or her willful misconduct, bad faith, gross negligence or fraud. Any
valid indemnification claim of the Settlement Trustee shall be satisfied only from the Settlement
Trust Assets.

          20.       Settlement Trustee

       There shall be one Settlement Trustee. The initial Settlement Trustee shall be Eric D.
Green.93 Any successor Settlement Trustee shall be appointed in accordance with the terms of the
Settlement Trust Agreement. For purposes of any Settlement Trustee performing his or her duties
93   As explained in Article V.K herein, the Debtors filed the Mediation Motion, requesting the appointment a sitting bankruptcy
     judge as a mediator if the relevant parties were unable to agree on a mediator before the hearing on the motion [D.I. 17]. After
     more than two months of negotiations among the Debtors, the Tort Claimants’ Committee, the Creditors’ Committee, the
     Future Claimants’ Representative, and the Ad Hoc Committee, the Debtors filed a revised mediation order, including the
     identities of the Debtors’ proposed mediators: Paul Finn, Timothy Gallagher, and Eric Green [D.I. 782]. Each of the proposed
     mediators filed declarations, disclosing their respective connections to parties-in-interest in the Chapter 11 Cases [D.I. 710,
     711, 712]. Certain insurers objected to the Debtors’ proposed mediators asserting, among other things, that Mr. Green must
     be disqualified because the Future Claimants’ Representative, James L. Patton, or his law firm, have represented Mr. Green
     in his capacity as future claimants’ representative in certain mass-tort cases [D.I. 658, 759, 646, 761, 648, 756]. Hartford and
     Century objected to the Debtors’ proposed mediators and filed declarations from the Honorable Kevin J. Carey (Ret.) and
     Kenneth Feinberg as their proposed mediators [D.I. 771, 773]. While the Debtors maintained that Eric Green was well
     qualified to serve as a neutral mediator, the Debtors expressed that they would welcome the appointment of Judge Carey as
     the sole or lead mediator if the Court deemed such appointment appropriate [D.I. 782]. Ultimately, the Bankruptcy Court
     entered the Mediation Order appointing Judge Kevin Carey (Ret.), Paul Finn, and Timothy Gallagher as Mediators [D.I. 812].


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and fulfilling his or her obligations under the Settlement Trust and the Plan, the Settlement Trust
and the Settlement Trustee shall be deemed to be, and the Confirmation Order shall provide that
he or she is, a “party in interest” within the meaning of section 1109(b) of the Bankruptcy Code.
The Settlement Trustee shall be the “administrator” of the Settlement Trust as such term is used in
Treas. Reg. Section 1.468B-2(k)(3).

       21.      The Settlement Trust Advisory Committee

        The Settlement Trust Advisory Committee shall be established pursuant to the Settlement
Trust Agreement. The initial STAC shall be composed of seven (7) members, five (5) of which
shall be selected by the Coalition and two (2) of which shall be selected by the Tort Claimants’
Committee, subject to discussion between and the consent of the Coalition and the Tort Claimants’
Committee. The STAC members shall be reasonably acceptable to the Debtors and shall have the
functions, duties, and rights provided in the Settlement Trust Agreement. Each STAC member
shall serve in accordance with the terms and conditions of the Settlement Trust Agreement.

        The commencement or continuation of a STAC Tort Election Claim (as defined in Article
XII.B of the Trust Distribution Procedures) and the approval of any global settlement after the
Effective Date that causes an Insurance Company or a Chartered Organization to become a
Protected Party must be approved by the Settlement Trustee, the Future Claimants’ Representative
and the majority of the STAC, provided, however, that the refusal of any of the foregoing to (a)
authorize the commencement or continuation of a STAC Tort Election Claim or (b) approve a
global settlement after the Effective Date that causes an Insurance Company or a Chartered
Organization to become a Protected Party shall be subject to immediate review under the standard
set forth in the Settlement Trust Agreement by the Special Reviewer if three (3) members of the
STAC so require.

       22.      Compensation of Settlement Trustee and Retention of Professionals

        The Settlement Trustee shall be entitled to compensation as provided for in the Settlement
Trust Agreement. The Settlement Trustee may retain and reasonably compensate, without
Bankruptcy Court approval, counsel and other professionals as reasonably necessary to assist in
their duties as Settlement Trustee, subject to the terms of the Settlement Trust Agreement. All
fees and expenses incurred in connection with the foregoing shall be payable from the Settlement
Trust as provided for in the Settlement Trust Agreement.

       23.      Future Claimants’ Representative

       The Settlement Trust Agreement shall provide for the continuation of the Future
Claimants’ Representative to represent the interests of holders of Future Abuse Claims. The initial
Future Claimants’ Representative shall be James L. Patton, Jr. so long as he is the Future
Claimants’ Representative in the Chapter 11 Cases as of the Effective Date.

       24.      Consent Rights of the Debtors and the Reorganized BSA

       The Settlement Trust Documents may not be amended or modified without the consent of
the Debtors or the Reorganized BSA, as applicable, which shall not be unreasonably withheld.
The Debtors shall also have consent rights with respect to any successor Settlement Trustee and

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Trust Advisory Committee members, which consent shall not be unreasonably withheld.
Notwithstanding any of the foregoing, the Indemnification Obligations of the Settlement Trust
described in Article IV.I of the Plan may not be amended or modified without the consent of the
Protected Party that is otherwise entitled to indemnification pursuant to those provisions.

       25.      Document Agreement

        Reorganized BSA, the Local Councils, the Contributing Chartered Organizations and the
Settlement Trust shall enter into the Document Agreement on the Effective Date, substantially in
the form contained in the Plan Supplement. The Document Agreement shall provide for copies of
certain documents, books, and records of Reorganized BSA, the Local Councils, and any
Contributing Chartered Organizations to be transferred to the Settlement Trust. The parties to the
Document Agreement shall be bound by the terms thereof.

       As is customary, the Document Agreement, under which parties thereto shall provide the
Settlement Trust with documents, witnesses, or other information, will be submitted in connection
with the Plan Supplement.

       26.      First Encounter Agreement

       The Debtors’ rights and obligations, if any, in the FEA will be assigned to the Settlement
Trust. However, the Settlement Trust retains the ability to dispute its applicability.

       27.      Privileged Information

        The transfer or assignment of any Privileged Information to the Settlement Trustee shall
not result in the destruction or waiver of any applicable privileges pertaining thereto. Further, with
respect to any privileges: (1) they are transferred to or contributed for the purpose of enabling the
Settlement Trustee to perform his or her duties to administer the Settlement Trust; (2) they are
vested solely in the Settlement Trustee and not in the Settlement Trust, the STAC, the Future
Claimants’ Representative, the Special Reviewer, the SASAC (as defined in the Settlement Trust
Agreement), any other Person, committee or subcomponent of the Settlement Trust, or any other
Person (including counsel and other professionals) who has been engaged by, represents, or has
represented any holder of an Abuse Claim; and (3) the Settlement Trustee shall keep, handle and
maintain such Privileged Information in accordance with the terms of the Document Agreement.
The Settlement Trustee shall succeed to and hold all rights to and interest in and related to the
Debtors’, Local Councils’ and Contributing Chartered Organizations’ privileges, including the
attorney-client privilege, any Common-Interest Communications with Insurers, and any protection
granted by joint defense, common interest, and/or confidentiality agreement, as to all documents,
communications, and other information, including any information transferred pursuant to the
Document Agreement. The Settlement Trustee shall be permitted to use Privileged Information
for any purpose related to the administration of the Settlement Trust and the settlement of Abuse
Claims and shall be permitted to share Privileged Information with any professional retained by
the Settlement Trust; provided, however, that the Settlement Trustee shall not share Privileged
Information with the STAC or any holder of an Abuse Claim except as required by law or as the
Settlement Trustee determines in good faith is required by law. Notwithstanding the foregoing,
nothing herein shall preclude the Settlement Trustee from providing Privileged Information to any


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Insurance Company as necessary to preserve, secure, or obtain the benefit of any rights under any
Abuse Insurance Policy.

       28.      No Liability

         The Protected Parties and the Limited Protected Parties shall neither have nor incur any
liability to, or be subject to any right of action by, any Person for any act, omission, transaction,
event, or other circumstance in connection with or related to the Settlement Trust, the Settlement
Trustee, or the Settlement Trust Documents, including the administration of Abuse Claims and the
distribution of Settlement Trust Assets by the Settlement Trust, or any related agreement.

       29.      U.S. Federal Income Tax Treatment of the Settlement Trust

        The Settlement Trust shall be a “qualified settlement fund” within the meaning of Treasury
Regulation section 1.468B-1. Reorganized BSA shall make a “grantor trust” election under
Treasury Regulation section 1.468B-1(k) with respect to the Settlement Trust for U.S. federal
income tax purposes and, to the extent permitted under applicable law, for state and local income
tax purposes. All parties shall report consistently with such grantor trust election. The Settlement
Trust shall file (or cause to be filed) statements, returns, or disclosures relating to the Settlement
Trust that are required by any Governmental Unit. The Settlement Trustee shall be responsible for
the payment of any taxes imposed on the Settlement Trust or the Settlement Trust Assets, including
estimated and annual U.S. federal income taxes in accordance with the terms of the Settlement
Trust Agreement. The Settlement Trustee may request an expedited determination of taxes on the
Settlement Trust under section 505(b) of the Bankruptcy Code for all returns filed for, or on behalf
of, the Settlement Trust for all taxable periods through the dissolution of the Settlement Trust.

       30.      Institution and Maintenance of Legal and Other Proceedings

        As of the Effective Date, the Settlement Trust shall be empowered to initiate, prosecute,
defend, settle, maintain, administer, preserve, pursue, and resolve all legal actions and other
proceedings related to any asset, liability, or responsibility of the Settlement Trust, including the
Insurance Actions, Abuse Claims, and the Settlement Trust Causes of Action. Without limiting
the foregoing, on and after the Effective Date, the Settlement Trust shall be empowered to initiate,
prosecute, defend, settle, maintain, administer, preserve, pursue, and resolve all such actions, in
the name of the Debtors or Reorganized BSA, if deemed necessary or appropriate by the Settlement
Trust. The Settlement Trust shall be responsible for the payment of all damages, awards,
judgments, settlements, expenses, costs, fees, and other charges incurred on or after the Effective
Date arising from, relating to, or associated with any legal action or other proceeding which is the
subject of Article IV.V of the Plan and shall pay Indirect Abuse Claims, in accordance with the
Trust Distribution Procedures, that may arise from deductibles, self-insured retentions,
retrospective premium adjustments, or other charges. Furthermore, without limiting the foregoing,
the Settlement Trust shall be empowered to maintain, administer, preserve, or pursue the Insurance
Coverage Actions and the Insurance Action Recoveries.




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         31.       Notation on Claims Register Regarding Abuse Claims

       On the Effective Date, all Abuse Claims filed against the Debtors in the Chapter 11 Cases
shall be marked on the Claims Register as “Channeled to the Settlement Trust” and resolved
exclusively in accordance with the Trust Distribution Procedures.

         32.       Insurance Provisions

        As provided in Article X.M of the Plan, the following shall apply to all Entities, including
all Insurance Companies:

       Except for the Insurance Assignment, or as otherwise provided in the Bankruptcy Code,
applicable law, the findings made by the Bankruptcy Court in the Confirmation Order or the
findings made by the District Court in the Affirmation Order, nothing in the Plan shall modify,
amend, or supplement, or be interpreted as modifying, amending, or supplementing, the terms of
any Insurance Policy or rights or obligations under an Insurance Policy to the extent such rights
and obligations are otherwise available under applicable law, and the rights and obligations, if any,
of any Non-Settling Insurance Company relating to or arising out of the Plan Documents, including
the Plan, the Confirmation Order, and the Affirmation Order, or any provision thereof, shall be
determined pursuant to the terms and provisions of the Insurance Policies and applicable law.94

        No provision of the Plan, other than those provisions contained in the applicable
Injunctions contained in Article X of the Plan, shall be interpreted to affect or limit the protections
afforded to any Settling Insurance Company by the Channeling Injunction.

       Nothing in Article X.M of the Plan is intended or shall be construed to preclude otherwise
applicable principles of res judicata or collateral estoppel from being applied against any Person

         33.       Judgment Reduction

        Without limiting the Discharges, Releases and Injunctions set forth above, if any Person,
including a holder of an Abuse Claim (“Plaintiff”), asserts a Cause of Action against any other
Person arising from or relating to Abuse that is the subject of a proof of claim filed against the
Debtors in the Chapter 11 Cases, regardless of whether such Cause of Action may be asserted
pursuant to the Bankruptcy Code or is in the nature of or sounding in contract, tort, warranty or
any other theory of law or equity whatsoever (each such Cause of Action, an “Abuse Cause of
Action”), and such Abuse Cause of Action results in a determination by the court or tribunal
hearing the Abuse Cause of Action (including by a jury empaneled by such court or tribunal) that
any Person who is not a Protected Party or a Limited Protected Party (each, a “Specified Person”)
is liable in damages to Plaintiff, then, prior to final entry of any judgment, order or arbitration
award (“Judgment”) in such Abuse Cause of Action, Plaintiff shall provide notice and a copy of
Confirmation Order to the Trial Court. Such court or tribunal shall determine whether the Abuse
Cause of Action gives rise to any Cause of Action on which any Protected Party or Limited
Protected Party would have been liable to the Specified Person in the absence of the Plan and
Confirmation Order. The court or tribunal shall reduce any Judgment against a Specified Person

94   The Debtors believe this provision is not inconsistent with the Bankruptcy Court’s statements on the record at the May 19,
     2021 hearing and will resolve the objections of the various survivor groups to the insurance provisions of the Plan.


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by an amount equal to the “Judgment Reduction Amount,” which shall equal the greatest amount
such Specified Person would be entitled, under applicable non-bankruptcy law, to set off against
the Judgment if such Specified Person were not entitled to the benefits of the Discharges, Releases,
or Injunctions set forth herein. For the avoidance of doubt, a Limited Protected Party may be a
Specified Person entitled to the judgment reduction provided for in Article X.N of the Plan with
respect to an Abuse Cause of Action arising from or relating to Abuse that is not the subject of a
Post-1975 Chartered Organization Abuse Claim:

        Nothing in the Plan shall prejudice or operate to preclude the right of any Specified Person
to (a) provide notice of the Confirmation Order to any court or tribunal hearing an Abuse Cause
of Action, (b) raise any issues, claims or defenses regarding the Judgment Reduction Amount,
including the contractual liability and/or relative or comparative fault of any Person, including any
Protected Party or Limited Protected Party, in any court or tribunal hearing any Abuse Cause of
Action in accordance with applicable law or procedure, or (c) take discovery of Protected Parties
or Limited Protected Parties in accordance with applicable law or procedure; provided, however,
that nothing herein shall in any way modify or affect the Discharges, Releases or Injunctions. For
the avoidance of doubt, nothing herein shall (i) be deemed to entitle a Plaintiff to more than a
single satisfaction with respect to any Abuse Cause of Action or (ii) prejudice or operate to
preclude the rights of any Specified Person to assert any claims or causes of action that have not
been discharged, released, or enjoined under the Plan or Confirmation Order.
        Each Plaintiff is hereby enjoined and restrained from seeking relief or collecting judgments
against any Specified Person in a manner that fails to conform to the terms of Article X.N of the
Plan.
                 If any Plaintiff enters into a settlement with any Person with respect to one or more
causes of action based upon, arising from, or related to the Abuse Causes of Action, then such
Plaintiff shall cause to be included, and in all events, the settlement shall be deemed to include, a
dismissal, release and waiver of any Abuse Cause of Action with respect to such settlement.
B.       Trust Distribution Procedures

       The Plan provides that the Settlement Trust will resolve Abuse Claims through the Trust
Distribution Procedures under the Plan, which are summarized herein and are attached to the Plan
as Exhibit A.95 Please note that if there are any inconsistencies between this summary and
the Trust Distribution Procedures, the Trust Distribution Procedures shall govern in all
respects.
       The Trust Distribution Procedures are designed to permit the Settlement Trustee to provide
substantially similar treatment to holders of similar, legally valid, and supported Abuse Claims.
The procedures set forth in the Trust Distribution Procedures will be the sole and exclusive method
by which the holder of an Abuse Claim may seek allowance and resolution of his or her Abuse
Claim. With respect to payment of claimants pursuant to the Trust Distribution Procedures, the
Settlement Trustee will be provided broad discretion to determine the allocation of funds in the
Settlement Trust to pay (1) each claimant, (2) administrative fees, and (3) legal fees. This includes

95   Capitalized terms used in this summary of the Trust Distribution Procedures and not otherwise defined herein or in the Plan
     shall have the meaning ascribed to them in the Trust Distribution Procedures.


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discretion regarding how to allocate proceeds received from both Settling Insurance Companies
and Non-Settling Insurance Companies. The process for submission of Abuse Claims to the
Settlement Trust, review of such Claims by the Settlement Trustee, and the treatment of the valid
Claims under the Trust Distribution Procedures are summarized below.
       1.      Purpose and General Guidelines

                       a.      Purpose

       To achieve maximum fairness and efficiency, and recoveries for holders of Allowed Abuse
Claims, the Trust Distribution Procedures are founded on the following principles:

            1. objective Claim eligibility criteria;

            2. clear and reliable proof requirements;

            3. administrative transparency;

            4. a rigorous review and evidentiary process that requires the Settlement Trustee to
               determine Allowed Claim Amounts in accordance with applicable law;

            5. prevention and detection of any fraud; and

            6. independence of the Settlement Trust and Settlement Trustee.

                       b.      Payment of Allowed Abuse Claims and Insurance Recoveries

         Pursuant to the terms of the Plan, the Settlement Trust has assumed the Debtors’ legal
liability for, and obligation to pay, Allowed Abuse Claims. The Settlement Trust Assets, including
the proceeds of the assigned insurance rights, shall be used to fund distributions to Abuse
Claimants under the Trust Distribution Procedures. The amounts that Abuse Claimants will
ultimately be paid on account of their Allowed Abuse Claims will depend on, among other things,
the Settlement Trust’s ability to liquidate and recover the proceeds of the assigned insurance rights.
The amount of any installment payments, initial payments, or payment percentages established
under the Trust Distribution Procedures or the Settlement Trust Agreement are not the equivalent
of (i) any Abuse Claimant’s Allowed Claim Amount or (ii) the right to payment that the holder of
an Allowed Abuse Claim has against the Debtors and/or Protected Parties, as assumed by the
Settlement Trust.

                       c.      Sole and Exclusive Method

       The Trust Distribution Procedures and any procedures designated in the Trust Distribution
Procedures shall be the sole and exclusive methods by which an Abuse Claimant may seek
allowance and distribution on an Abuse Claim with respect to the Protected Parties.




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                       d.     Interpretation

      The terms of the Plan and Confirmation Order shall prevail if there is any discrepancy
between the terms of the Plan or Confirmation Order and the terms of the Trust Distribution
Procedures.

                       e.     Confidentiality

         All submissions to the Settlement Trust by an Abuse Claimant shall be treated as
confidential and shall be protected by all applicable state and federal privileges, including those
directly applicable to settlement discussions. The Settlement Trust will preserve the
confidentiality of such submissions, and shall disclose the contents thereof only to such persons as
authorized by the Abuse Claimant, or in response to a valid subpoena of such materials issued by
the Bankruptcy Court, a Delaware state court, the United States District Court for the District of
Delaware or any other court of competent jurisdiction. Notwithstanding anything in the foregoing
to the contrary, the Settlement Trust may disclose information, documents, or other materials
reasonably necessary in the Settlement Trust’s judgment to preserve, obtain, litigate, resolve, or
settle insurance coverage, or to comply with an applicable obligation under an Insurance Policy,
indemnity, or settlement agreement. Nothing in the Trust Distribution Procedures shall be
construed to authorize the Settlement Trustee to waive privilege or disseminate documents to any
Abuse Claimants or their respective counsel, except as provided for in the Document Agreement.

       2.      Trust Distribution Procedures Administration

               a.      Administration

       Pursuant to the Plan and the Settlement Trust Agreement, the Settlement Trust and the
Trust Distribution Procedures shall be administered by the Settlement Trustee in consultation with
the STAC and the Future Claimants’ Representative, which represents the interests of holders of
present Abuse Claims in the administration of the Settlement Trust, and the Future Claimants’
Representative, who represents the interests of holders of Future Abuse Claims. The Claims
Administrator shall assist the Settlement Trustee in the resolution of Abuse Claims in accordance
with the Trust Distribution Procedures and provide information necessary for the Settlement
Trustee to implement the Trust Distribution Procedures.

                       b.     Powers and Obligations

        The powers and obligations of the Settlement Trustee, the STAC, the Future Claimants’
Representative, and the Claims Administrator are set forth in the Settlement Trust Agreement. The
STAC and the Future Claimants’ Representative shall have no authority or ability to modify, reject,
or influence any claim allowance or Allowed Claim Amount determination under the Trust
Distribution Procedures.

                       c.     Consent Procedures

       The Settlement Trustee shall obtain the consent of the STAC and the Future Claimants’
Representative on any amendments to the Trust Distribution Procedures pursuant to Article XIII.B



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of the Trust Distribution Procedures, and on such matters as are otherwise required below and in
Section 1.6 of the Settlement Trust Agreement. Such consent shall not be unreasonably withheld.

       3.      Claimant Eligibility

               a.      Direct Abuse Claims

       To be eligible to potentially receive compensation from the Settlement Trust on account of
a Direct Abuse Claim, a Direct Abuse Claimant must:

               (i)     have a Direct Abuse Claim;
               (ii)    have timely submitted an Abuse Claim Proof of Claim or Trust Claim
                       Submission to the Settlement Trust as provided below; and
               (iii)   submit supporting documentation and evidence to the Settlement Trust as
                       provided below.
       Direct Abuse Claims can only be timely submitted as follows:

               (i)     a Direct Abuse Claim for which a Proof of Claim was filed in the Chapter
                       11 Cases before the Bar Date or if determined timely by the Bankruptcy
                       Court shall, without any further action by the Abuse Claimant, be deemed
                       a timely submitted Abuse Proof of Claim to the Settlement Trust;
               (ii)    a Direct Abuse Claim alleging abuse against a Local Council (alleged to be
                       connected to Scouting related to or sponsored by the BSA) (a) for which, as
                       of the time the Claim is submitted to the Settlement Trust in accordance
                       with the Settlement Trustee’s designated procedures, a pending state court
                       action had been timely filed under state law naming the Local Council as a
                       defendant or (b) which is submitted to the Settlement Trust at a time when
                       the Claim would be timely under applicable state law if a state court action
                       were filed against the Local Council on the date on which the Direct Abuse
                       Claim is submitted to the Settlement Trust, shall be deemed a timely
                       submitted Abuse Proof of Claim to the Settlement Trust; or
               (iii)   a Direct Abuse Claim alleging abuse against any Protected Party other than
                       a Local Council (alleged to be connected to Scouting related to or sponsored
                       by the BSA) (a) for which, as of the time the Claim is submitted to the
                       Settlement Trust in accordance with the Settlement Trustee’s designated
                       procedures, a pending state court action had been timely filed under state
                       law naming the Protected Party as a defendant or (b) which is submitted to
                       the Settlement Trust at a time when the Claim and would be (x) timely under
                       applicable state law if a state court action were filed against the Protected
                       Party on the date on which the Direct Abuse Claim is submitted to the
                       Settlement Trust and (y) meets any applicable deadline that may be set by
                       the Bankruptcy Court in connection with such Protected Party becoming a
                       Protected Party in accordance with the Plan and Confirmation Order, shall
                       be deemed a timely submitted Abuse Proof of Claim to the Settlement Trust.


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      Any Direct Abuse Claim that is not timely submitted based on the foregoing shall be
deemed untimely and Disallowed.

                            b.        Indirect Abuse Claims96

      To be eligible to receive compensation from the Settlement Trust, an Indirect Abuse
Claimant:

                   (iv)     must have an Indirect Abuse Claim that satisfies the requirements of the Bar
                            Date Order;
                   (v)      must establish to the satisfaction of the Settlement Trustee that the claim is
                            not of a nature that it would be otherwise subject to disallowance under
                            section 502 of the Bankruptcy Code, including subsection (e) thereof
                            (subject to the right of the holder of the Indirect Abuse Claim to seek
                            reconsideration by the Settlement Trustee under section 502(j) of the
                            Bankruptcy Code), or subordination under sections 509(c) or 510 of the
                            Bankruptcy Code; and
                   (vi)     must establish to the satisfaction of the Settlement Trustee that:
                            (A)       such Indirect Abuse Claimant has paid in full the liability and/or
                                      obligation of the Settlement Trust to a Direct Abuse Claimant to
                                      whom the Settlement Trust would otherwise have had a liability or
                                      obligation under the Trust Distribution Procedures (and which has
                                      not been paid by the Settlement Trust);
                            (B)       the Indirect Abuse Claimant and the person(s), to whose claim(s) the
                                      Indirect Abuse Claim relates, have forever and fully released the
                                      Settlement Trust and the Protected Parties from all liability for or
                                      related to the subject Direct Abuse Claim (other than the Indirect
                                      Abuse Claimant’s assertion of its Indirect Abuse Claim);
                            (C)       the Indirect Abuse Claim is not otherwise barred by a statute of
                                      limitations or repose or by other applicable law; and
                            (D)       the Indirect Abuse Claimant does not owe the Debtors, Reorganized
                                      Debtors, or the Settlement Trust an obligation to indemnify the
                                      liability so satisfied.
In no event shall any Indirect Abuse Claimant have any rights against the Settlement Trust superior
to the rights that the Direct Abuse Claimant to whose claim the Indirect Abuse Claim relates,
would have against the Settlement Trust, including any rights with respect to timing, amount,
percentage, priority, or manner of payment. In addition, no Indirect Abuse Claim may be
liquidated and paid in an amount that exceeds what the Indirect Abuse Claimant has paid to the
related Direct Claimant in respect of such claim for which the Settlement Trust would have


96   For the avoidance of doubt, Indirect Abuse Claims may include claims for the payment of defense costs, deductibles, or
     indemnification obligations.


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liability. Further, in no event shall any Indirect Abuse Claim exceed the Allowed Claim Amount
of the related Direct Abuse Claim.

                       c.     Future Abuse Claims

       To be eligible to potentially receive compensation from the Settlement Trust on account of
a Future Abuse Claim, a Future Abuse Claimant must:

               (i)     have a Direct Abuse Claim that arises from Abuse that occurred prior to the
                       Petition Date; and
               (ii)    as of the date immediately preceding the Petition Date, had not attained
                       eighteen (18) years of age or was not aware of such Direct Abuse Claim as
                       a result of “repressed memory,” to the extent the concept of repressed
                       memory is recognized by the highest appellate court of the state or territory
                       where the claim arose;
               (iii)   submit the Future Abuse Claim to the Settlement Trust in accordance with
                       the Trust Distribution Procedures (i) at a time when the Claim would be
                       timely under applicable state law if a state court action were filed on the
                       date on which the Future Abuse Claim is submitted to the Settlement Trust,
                       or (ii) if the Future Abuse Claim is not timely under (i) above, it will be
                       eliminated or decreased in accordance with Article VIII.E(iii) of the Trust
                       Distribution Procedures; and
               (iv)    have not filed a Chapter 11 Proof of Claim.
Future Abuse Claims that meet the foregoing eligibility criteria shall be treated as Direct Abuse
Claims hereunder.

       4.      General Trust Procedures

               a.      Document Agreement

       As more fully described in the Document Agreement, the Settlement Trustee may require
other parties to the Document Agreement to provide the Settlement Trust with documents,
witnesses, or other information as provided therein.

                       b.     Document Access

        The Settlement Trust shall afford access for Direct Abuse Claimants to relevant, otherwise
discoverable non-privileged documents obtained by the Settlement Trust pursuant to the Document
Agreement to facilitate their submissions with respect to their Direct Abuse Claims, including
access to IV files (the Volunteer Screening Database) and to all Troop Rosters in the possession,
custody or control of the Debtors, each Protected Party or the Settlement Trust. A court of
competent jurisdiction shall be able to determine whether allegedly privileged documents should
be required to be produced by the Settlement Trust. The Settlement Trust also may perform any
and all obligations necessary to recover assigned proceeds under the assigned insurance rights in
connection with the administration of the Trust Distribution Procedures.


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                       c.      Assignment of Insurance Rights

        The Bankruptcy Court has authorized the Insurance Assignment pursuant to the Plan and
the Confirmation Order, and the Settlement Trust has received the assignment and transfer of the
Insurance Actions, the Insurance Action Recoveries, the Insurance Settlement Agreements (if
applicable), the Insurance Coverage, and all other rights or obligations under or with respect to the
Insurance Policies (but not the policies themselves) in accordance with the Bankruptcy Code.
Nothing in the Trust Distribution Procedures shall modify, amend, or supplement, or be interpreted
as modifying, amending, or supplementing, the terms of any Insurance Policy or rights and
obligations under an Insurance Policy assigned to the Settlement Trust to the extent such rights
and obligations are otherwise available under applicable law and subject to the Plan and
Confirmation Order. The rights and obligations, if any, of any Non-Settling Insurance Company
relating to or arising out of the Trust Distribution Procedures, or any provision hereof, shall be
determined pursuant to the terms and provisions of the Insurance Policies and applicable law.

                       d.      Deceased Abuse Survivor

        The Settlement Trustee shall consider, and if an Allowed Claim Amount is determined,
pay under the Trust Distribution Procedures, the claim of a deceased Direct Abuse Claimant
without regard to the Direct Abuse Claimant’s death, except that the Settlement Trustee may
require evidence that the person submitting the claim on behalf of the decedent is authorized to do
so.

                       e.      Statute of Limitations or Repose

       The statute of limitations, statute of repose, and the choice of law determination applicable
to an Abuse Claim against the Settlement Trust shall be determined by reference to the tort system
where such Abuse Claim was pending on the Petition Date (so long as the Protected Party was
subject to personal jurisdiction in that location), or where such Abuse Claim could have been
timely and properly filed as asserted by the Abuse Claimant under applicable law.

       5.      Expedited Distributions

               a.      Minimum Payment Criteria

        A Direct Abuse Claimant who meets the following criteria may elect to resolve his or her
Direct Abuse Claim for an Expedited Distribution of $3,500: (i) the Direct Abuse Claimant has
timely submitted to the Settlement Trust a properly and substantially completed, non-duplicative
Abuse Claim Proof of Claim or Future Abuse Claim; and (ii) the Direct Abuse Claimant has
personally signed his or her Proof of Claim or Future Abuse Claim attesting to the truth of its
contents under penalty of perjury, or supplements his or her Abuse Claim Proof of Claim to so
provide such verification. Direct Abuse Claimants that elect to receive the Expedited Distribution
will not have to submit any additional information to the Settlement Trust to receive payment of
the Expedited Distribution from the Settlement Trust.




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                       b.      Process and Payment of Expedited Distributions

        Direct Abuse Claimants who have properly elected to receive the Expedited Distribution
in accordance with the Plan and Confirmation Order and who met the criteria set forth in Article
VI.A of the Trust Distribution Procedures, shall be entitled to receive their Expedited Payment
upon executing an appropriate release, which shall include a release of the Settlement Trust, the
Protected Parties, and all Chartered Organizations. The form of release agreement that a Direct
Abuse Claimant who takes the Expedited Distribution Election must execute is attached to the
Trust Distribution Procedures as Exhibit A. A Direct Abuse Claimant who does not elect to receive
the Expedited Distribution in accordance with the Plan and Confirmation Order and a Future
Abuse Claimant who does not elect to receive the Expedited Distribution in accordance with the
deadlines and procedures established by the Settlement Trust may not later elect to receive the
Expedited Distribution. A Direct Abuse Claimant who elects to receive the Expedited Distribution
shall have no other remedies with respect to his or her Direct Abuse Claim against the Settlement
Trust, Protected Parties, Chartered Organizations, or any Non-Settling Insurance Company. Direct
Abuse Claimants that elect to receive an Expedited Distribution will not be eligible to receive any
further distribution on account of their Direct Abuse Claim pursuant to the Trust Distribution
Procedures.

       6.      Claims Allowance Process

               a.      Trust Claim Submissions

        Each Abuse Claimant that does not make the Expedited Distribution Election and instead
elects to pursue recovery from the Settlement Trust pursuant to the Trust Distribution Procedures
must submit his or her Abuse Claim for allowance and potential valuation and determination of
insurance status by the Settlement Trustee pursuant to the requirements set forth herein. In order
to properly make a Trust Claim Submission, each submitting Abuse Claimant must (i) complete
under oath a questionnaire to be developed by the Settlement Trustee and submitted to the STAC
and the Future Claimants’ Representative for approval; (ii) produce all records and documents in
his or her possession, custody or control related to the Abuse Claim, including all documents
pertaining to all settlements, awards, or contributions already received or that are expected to be
received from a Protected Party or other sources; and (iii) execute an agreement to be provided or
made available by the Settlement Trust with the questionnaire (1) to produce any further records
and documents in his or her possession, custody or control related to the Abuse Claim reasonably
requested by the Settlement Trustee, (2) consent to and agree to cooperate in any examinations
requested by the Settlement Trustee (including by healthcare professionals selected by the
Settlement Trustee); and (3) consent to and agree to cooperate in a written and/or oral examination
under oath if requested to do so by the Settlement Trustee. The date on which an Abuse Claimant
submits (i), (ii) and (iii) above to the Settlement Trust shall be the “Trust Claim Submission Date”.
The Abuse Claimant’s breach or failure to comply with the terms of his or her agreement made in
connection with his or her Trust Claim Submission shall be grounds for disallowance or significant
reduction of his or her Abuse Claim. To complete the evaluation of each Abuse Claim submitted
through a Trust Claim Submission, the Settlement Trustee also may, but is not required to, obtain
additional evidence from the Abuse Claimant or from other parties pursuant to the Document
Obligations and shall consider supplemental information timely provided by the Abuse Claimant,
including information obtained pursuant to the Document Obligations. Non-material changes to


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the claims questionnaire may be made by the Settlement Trustee with the consent of the STAC
and the Future Claimants’ Representative.

                      b.     Claims Evaluation

        The Settlement Trustee shall evaluate each Trust Claim Submission individually and will
follow the uniform procedures and guidelines set forth in the Trust Distribution Procedures to
determine, based on the evidence obtained by the Settlement Trust, whether or not a Submitted
Abuse Claim should be allowed. After a review of the documentation provided by the Abuse
Claimant in his or her Proof of Claim, Trust Claim Submission, materials received pursuant to the
Document Obligations, and any follow-up materials or examinations (including, without
limitation, any Trustee Interview), the Settlement Trustee will either find the Abuse Claim to be
legally valid and an Allowed Abuse Claim, or legally invalid and a Disallowed Claim.

                      c.     Settlement Trustee Review Procedures

       The Settlement Trustee must evaluate each Submitted Abuse Claim, including the
underlying Proof of Claim, the Trust Claim Submission and/or the Trustee Interview or any other
follow-up, and documents obtained through the Document Obligations, and determine whether
such Claim is a legally valid Allowed Abuse Claim, based on the following criteria:

                      1.     Initial Evaluation Criteria. The Settlement Trustee shall perform
                             an Initial Evaluation of a Submitted Abuse Claim to determine
                             whether:
                             (A)     the Abuse Claimant’s Proof of Claim or Trust Claim
                                     Submission is substantially and substantively completed and
                                     signed under penalty of perjury;
                             (B)     the Direct Abuse Claim was timely submitted to the
                                     Settlement Trust under Article IV.A of the Trust Distribution
                                     Procedures; and
                             (C)     the Submitted Abuse Claim had not previously been
                                     resolved by litigation and/or settlement involving a
                                     Protected Party.
                             If any of these criteria are not met, then the Submitted Abuse Claim
                             shall be a Disallowed Claim.
                      2.     General Criteria for Evaluating Submitted Abuse Claims. To
                             the extent a Submitted Abuse Claim is not disallowed based on the
                             Initial Evaluation, then the Settlement Trustee will evaluate the
                             following factors to determine if the evidence related to the
                             Submitted Abuse Claim is credible and demonstrates, by a
                             preponderance of the evidence, that the Submitted Abuse Claim is
                             entitled to a recovery and should be allowed:




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              (A)    Alleged Abuse. The Abuse Claimant has identified alleged
                     acts of Abuse that he or she suffered;
              (B)    Alleged Abuser Identification. The Abuse Claimant has
                     either (i) identified an alleged abuser (e.g., by the full name
                     or last name) or (ii) provided specific information (e.g., a
                     physical description of an alleged abuser combined with the
                     name or location of the Abuse Claimant’s troop) about the
                     alleged abuser such that the Settlement Trustee can make a
                     reasonable determination that the alleged abuser was an
                     employee, agent or volunteer of a Protected Party, the
                     alleged abuser was a registered Scout, or the alleged abuser
                     participated in Scouting or a Scouting activity and the Abuse
                     was directly related to Scouting activities;
              (C)    Connection to Scouting. The Abuse Claimant has provided
                     information showing (or the Settlement Trustee otherwise
                     determines) that the Abuse Claimant was abused during a
                     Scouting activity or that the Abuse resulted from
                     involvement in Scouting activities;
              (D)    Date and Age. The Abuse Claimant has either: (i) identified
                     the date of the alleged abuse and/or his or her age at the time
                     of the alleged Abuse, or (ii) provided additional facts
                     (e.g., the approximate date and/or age at the time of alleged
                     Abuse coupled with the names of additional scouts or leaders
                     in the troop) sufficient for the Settlement Trustee to
                     determine the date of the alleged Abuse and age of the Abuse
                     Claimant at the time of such alleged Abuse; and
              (E)    Location of Abuse. The Abuse Claimant has identified the
                     venue or location of the alleged Abuse.
        3.    Submitted Abuse Claims That Satisfy the General Criteria. To
              the extent that a Submitted Abuse Claim meets the evidentiary
              standard set forth in the General Criteria and the Settlement Trustee
              has verified such information and determined that no materials
              submitted or information received in connection with the Submitted
              Abuse Claim are deceptive or fraudulent, the Submitted Abuse
              Claim will be, and will be deemed to be, an Allowed Abuse Claim.
        4.    Submitted Abuse Claims That Do Not Satisfy the General
              Criteria. If the Settlement Trustee determines that any Submitted
              Abuse Claim materials provided by an Abuse Claimant include
              fraudulent and/or deceptive information, the Submitted Abuse
              Claim will be, and will be deemed to be, a Disallowed Claim. To
              the extent that a Submitted Abuse Claim—after an opportunity for
              the Abuse Claimant to discover information from the Settlement
              Trust as provided in the Trust Distribution procedures—does not

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                               meet the evidentiary standard set forth in the General Criteria, the
                               Settlement Trustee can disallow such Claim, or request further
                               information from the Abuse Claimant in question necessary to
                               satisfy the General Criteria requirements. If the Settlement Trustee
                               finds that any of the factors set forth in Article VII.C.2(a)-(c) of the
                               Trust Distribution Procedures with respect to any Submitted Abuse
                               Claim are not satisfied, the Claim will be per se disallowed and will
                               be, and will be deemed to be, a Disallowed Claim.
                       d.      Disallowed Claims

        If the Settlement Trustee finds that a Submitted Abuse Claim is a Disallowed Claim, the
Settlement Trustee shall provide written notice of its determination to the relevant Abuse Claimant.
If the Settlement Trustee finds that a Submitted Abuse Claim is a Disallowed Claim, the Settlement
Trustee will not perform the Allowed Abuse Claim valuation analysis described in Article VIII of
the Trust Distribution Procedures. Abuse Claimants shall have the ability to seek reconsideration
of the Settlement Trustee’s determination set forth in the Disallowed Claim Notice as described in
Article VII.G of the Trust Distribution Procedures.

                       e.      Allowed Abuse Claims

        If the Settlement Trustee finds that a Submitted Abuse Claim is an Allowed Abuse Claim,
the Settlement Trustee shall utilize the procedures described in Article VIII of the Trust
Distribution Procedures to determine the proposed Claims Matrix tier and Scaling Factors for such
Abuse Claim, and provide written notice of allowance and the Proposed Allowed Claim Amount
to the Abuse Claimant as set forth in Article VII.F of the Trust Distribution Procedures.

                       f.      Claims Determination

        If the Abuse Claimant accepts the Proposed Allowed Claim Amount in the Allowed Claim
Notice or the reconsideration process set forth in Article VII.G of the Trust Distribution Procedures
has been exhausted (and no further action has been taken by the Abuse Claimant in the tort system
pursuant to Article XII of the Trust Distribution Procedures), the Proposed Allowed Claim Amount
shall become the Allowed Claim Amount for such Claim, and the holder of such Allowed Abuse
Claim shall receive payment in accordance with Article IX of the Trust Distribution Procedures,
subject to the Abuse Claimant executing the form of release set forth in Article IX.D of the Trust
Distribution Procedures.

                       g.      Reconsideration of Settlement Trustee’s Determination

         An Abuse Claimant may make a request for reconsideration of (i) the disallowance of his
or her Submitted Abuse Claim, or (ii) the Proposed Allowed Claim Amount within thirty (30) days
of receiving a Disallowed Claim Notice or an Allowed Claim Notice. Any Abuse Claimant who
fails to submit a Reconsideration Request to the Settlement Trust by the Reconsideration Deadline
shall be deemed to accept the disallowance of the Abuse Claim or the Proposed Allowed Claim
Amount. Each Reconsideration Request must be accompanied by a check or money order for
$1,000 as an administrative fee for reconsideration. The Abuse Claimant may submit further
evidence in support of the Submitted Abuse Claim with the Reconsideration Request. The

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Settlement Trustee will have sole discretion whether to grant the Reconsideration Request. The
decision to grant the Reconsideration Request does not guarantee that the Settlement Trustee will
reach a different result after reconsideration.

        If the Reconsideration Request is denied, the administrative fee will not be returned, and
the Settlement Trustee will notify the Abuse Claimant within thirty (30) days of receiving the
request that it will not reconsider the Abuse Claimant’s Submitted Abuse Claim. The Abuse
Claimant shall retain the ability to pursue the Settlement Trust in the tort system as described in
Article XII of the Trust Distribution Procedures.

        If the Reconsideration Request is granted, the Settlement Trustee will provide the Abuse
Claimant written notice within thirty (30) days of receiving the Reconsideration Request that it is
reconsidering the Abuse Claimant’s Submitted Abuse Claim. The Settlement Trustee will then
reconsider the Submitted Abuse Claim—including all new information provided by the Abuse
Claimant in the Reconsideration Request and any additional Trustee Interview—and will have the
discretion to maintain the prior determination or find that the Submitted Abuse Claim in question
is an Allowed Abuse Claim or should receive a new Proposed Allowed Claim Amount.

        If the Settlement Trustee determines upon reconsideration that a Submitted Abuse Claim
is an Allowed Abuse Claim and/or should receive a new Proposed Allowed Claim Amount, the
Settlement Trustee will deliver an Allowed Claim Notice and return the administrative fee to the
relevant Abuse Claimant. If the Settlement Trustee determines upon reconsideration that the
totality of the evidence submitted by the Abuse Claimant does not support changing the earlier
finding that the Submitted Abuse Claim is a Disallowed Claim, or that the Claim in question is not
deserving of a new Proposed Allowed Claim Amount, the Settlement Trustee’s earlier allowance
determination and/or Proposed Allowed Claim Amount shall stand and the Settlement Trustee will
provide a Claim Notice to the Abuse Claimant of either result within ninety (90) days of the
Settlement Trust having sent notice that it was reconsidering the Abuse Claimant’s Submitted
Abuse Claim. Thereafter, the Abuse Claimant shall retain the ability to pursue the Settlement
Trust in the tort system as described below in Article XII of the Trust Distribution Procedures.

                      h.      Claim Determination Deferral

        For a period of up to twelve (12) months from the Effective Date, and by an election
exercised at the time of the Trust Claim Submission, Direct Abuse Claimants whose Direct Abuse
Claims may be substantially reduced by the Scaling Factor described in Article VIII.E.(iii)(a) of
the Trust Distribution Procedures (statute of limitations defense) may elect to defer the
determination of their Proposed Allowed Claim Amounts to see if statute of limitations revival
legislation occurs, provided, however, that this claim determination deferral window shall close
for all Direct Abuse Claims twelve (12) months from the Effective Date at which time such
Submitted Abuse Claims shall be determined based on then applicable Scaling Factors.

                      i.      Prevention and Detection of Fraud

       The Settlement Trustee shall work with the Claims Administrator to institute auditing and
other procedures to detect and prevent the allowance of Abuse Claims based on fraudulent Trust
Claim Submissions. Among other things, such procedures will permit the Settlement Trustee or


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Claims Auditor to conduct random audits to verify supporting documentation submitted in
randomly selected Trust Claim Submissions, as well as targeted audits of individual Trust Claim
Submissions or groups of Trust Claim Submissions, any of which may include Trustee Interviews.
Trust Claim Submissions must be signed under the pains and penalties of perjury and to the extent
of applicable law, the submission of a fraudulent Trust Claim Submission may violate the criminal
laws of the United States, including the criminal provisions applicable to Bankruptcy Crimes, 18
U.S.C. § 152, and may subject those responsible to criminal prosecution in the Federal Courts.

       7.      Claims Matrix and Scaling Factors

               a.      Claims Matrix and Scaling Factors

        The Trust Distribution Procedures establish certain criteria for unliquidated claims seeking
compensation from the Settlement Trust, a Claims Matrix below that schedules six types of Abuse
and designates for each Abuse Type a Base Matrix Value, and Maximum Matrix Value, and certain
Scaling Factors identified below to apply to the Base Matrix Values to determine the liquidated
values for certain unliquidated Abuse Claims. The Abuse Types, Scaling Factors, Base Matrix
Values, and Maximum Matrix Values that are set forth in the Claims Matrix have all been selected
and derived with the intention of achieving a fair and reasonable Abuse Claim valuation range in
light of the best available information, considering the settlement, verdict and/or judgments that
Abuse Claimants would receive in the tort system against the Protected Parties absent the
bankruptcy. The Settlement Trustee shall utilize the Claims Matrix and Scaling Factors as the
basis to determine a Proposed Allowed Claim Amount for each Allowed Abuse Claim that does
not receive an Expedited Distribution or become a STAC Tort Election Claim. The Proposed
Allowed Claim Amount agreed to by the Direct Abuse Claimant as the Allowed Claim Amount
for an Allowed Abuse Claim shall be deemed to be the Protected Parties’ liability for such Direct
Abuse Claim (i.e., the claimant’s right to payment for his or her Direct Abuse Claim), irrespective
of how much the holder of such Abuse Claim actually receives from the Settlement Trust pursuant
to the payment provisions set forth in Article IX of the Trust Distribution Procedures. In no
circumstance shall the amount of a Protected Party’s legal obligation to pay any Direct Abuse
Claim be determined to be any payment percentages hereunder or under the Settlement Trust
Agreement (rather than the liquidated value of such Direct Abuse Claim as determined under the
Trust Distribution Procedures).

                       b.     Claims Matrix

         The Claims Matrix establishes six tiers of Abuse Types, and provides the range of potential
Allowed Claim Amounts assignable to an Allowed Abuse Claim in each tier. The first two
columns of the Claims Matrix delineate the six possible tiers to which an Allowed Abuse Claim
can be assigned based on the nature of the abuse. The Base Matrix Value column for each tier
represents the default Allowed Claim Amount for an Allowed Abuse Claim assigned to a given
tier, in each case based on historical abuse settlements and litigation outcomes which included
release for all BSA-related parties, including the BSA and all other putative Protected Parties to
such actions, prior to application of the Scaling Factors described in Article VIII.D of the Trust
Distribution Procedures. The Maximum Claims Matrix Value column for each tier represents the
maximum Allowed Claim Amount for an Allowed Abuse Claim assigned to a given tier after
Claims Matrix review and application of the Scaling Factors described in Article VIII.C of the


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Trust Distribution Procedures. The ultimate distribution(s) to the holder of an Allowed Abuse
Claim that has received a Final Determination may vary upward (in the case of a larger-than-
expected Settlement Trust corpus) or downward (in the case of a smaller-than-expected Settlement
Trust corpus) from the holder’s Allowed Claim Amount based on the payment percentages
determined by the Settlement Trustee. If an Allowed Abuse Claim would fall into more than one
tier, it will be placed in the highest applicable tier. An Abuse Claimant cannot have multiple
Allowed Abuse Claims assigned to different tiers. Commencing on the second anniversary of the
Effective Date, the Settlement Trust shall adjust the valuation amounts for yearly inflation based
on the CPI-U. The CPI-U adjustment may not exceed 3% annually, and the first adjustment shall
not be cumulative.
Tier     Type of Abuse                                           Base             Maximum
                                                                Matrix           Matrix Value
                                                                Value
   1     Anal or Vaginal Penetration by Adult Perpetrator— $600,000              $2,700,000
         includes anal or vaginal sexual intercourse, anal or
         vaginal digital penetration, or anal or vaginal
         penetration with a foreign, inanimate object.
   2     Oral Contact by Adult Perpetrator—includes oral      $450,000           $2,025,000
         sexual intercourse, which means contact between the
         mouth and penis, the mouth and anus, or the mouth
         and vulva or vagina.
         Anal or Vaginal Penetration by a Youth Perpetrator—
         includes anal or vaginal sexual intercourse, anal or
         vaginal digital penetration, or anal or vaginal
         penetration with a foreign, inanimate object.
   3     Masturbation by Adult Perpetrator—includes touching $300,000            $1,350,000
         of the male or female genitals that involves
         masturbation of the abuser or claimant.
         Oral Contact by a Youth Perpetrator—includes oral
         sexual intercourse, which means contact between the
         mouth and penis, the mouth and anus, or the mouth and
         vulva or vagina.
   4     Masturbation by Youth Perpetrator—includes touching $150,000             $675,000
         of the male or female genitals that involves
         masturbation of the abuser or claimant.
         Touching of the Sexual or Other Intimate Parts
         (unclothed) by Adult Perpetrator.
   5     Touching of the Sexual or Other Intimate Parts           $75,000         $337,500
         (unclothed) by a Youth Perpetrator.
         Touching of the Sexual or Other Intimate Parts
         (clothed), regardless of who is touching whom and not
         including masturbation.
         Exploitation for child pornography.

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   6     Sexual Abuse-No Touching.                                   $3,500           $8,500
         Adult Abuse Claims.

                       c.     Scaling Factors

        After the Settlement Trustee has assigned an Allowed Abuse Claim to one of the six tiers
in the Claims Matrix, the Settlement Trustee will utilize the Scaling Factors described below to
determine the Proposed Allowed Claim Amount for each Allowed Abuse Claim. The Scaling
Factors are based on evidence regarding the BSA’s and other putative Protected Parties’ historical
abuse settlements, litigation outcomes, and other evidence supporting the Scaling Factors. Each
Allowed Abuse Claim will be evaluated for each factor by the Settlement Trustee through his or
her review of the evidence obtained through the relevant Proof of Claim, Trust Claim Submission
and any related or follow-up materials, interviews or examinations, as well as materials obtained
by the Settlement Trust through the Document Obligations. These scaling factors can increase or
decrease the Proposed Allowed Claim Amount for an Allowed Abuse Claim depending on the
severity of the facts underlying the Claim. By default, the value of each scaling factor is one (1),
meaning that in the absence of the application of the scaling factor, the Base Matrix Value assigned
to a Claim is not affected by that factor. In contrast, if the Settlement Trustee determines that a
particular scaling factor as applied to a given Allowed Abuse Claim is 1.5, the Proposed Allowed
Claim Amount for the Allowed Abuse Claim will be increased by 50%, the result of multiplying
the Base Matrix Value of the Allowed Abuse Claim by 1.5. The combined effect of all scaling
factors is determined by multiplying the scaling factors together then multiplying the result by the
Base Matrix Value of the Allowed Abuse Claim. See Article VII.F of the Trust Distribution
Procedures for illustrative example.

       Aggravating Scaling Factors. The Settlement Trustee may assign upward Scaling Factors
       to each Allowed Abuse Claim based on the following categories:

               (i)     Nature of Abuse and Circumstances. To account for particularly severe
                       Abuse or aggravating circumstances, the Settlement Trustee may assign an
                       upward Scaling Factor of up to 1.5 to each Allowed Abuse Claim. The
                       hypothetical base case scenario for this scaling factor would involve a single
                       incident of Abuse with a single perpetrator with such perpetrator having
                       accessed the victim as an employee or volunteer within BSA-sponsored
                       scouting. The hypothetical base case is incorporated into the Base Matrix
                       Value in the Claims Matrix tiers and would not receive an increase on
                       account of this factor. By way of example, aggravating factors that can give
                       rise to a higher scaling factor include the following factors:

                       1.     Extended duration and/or frequency of the Abuse;
                       2.     Exploitation of the Abuse Claimant for child pornography;
                       3.     Coercion or threat or use of force or violence, stalking; and
                       4.     Multiple perpetrators involved in sexual misconduct.



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   (ii)    Abuser Profile. To account for the alleged abuser’s profile, the Settlement
           Trustee may assign an upward Scaling Factor of up to 2.0 to an Allowed
           Abuse Claim. This factor is to be evaluated relative to a hypothetical base
           case scenario involving a perpetrator as to whom there is no other known
           allegations of Abuse. The hypothetical base case is incorporated into the
           Base Matrix Value in the Claims Matrix tiers and would not receive an
           increase on account of this factor. An upward Scaling Factor may be
           applied for this category as follows (the Settlement Trustee may only apply
           the scaling factor of the single highest applicable category listed below):

           1.     1.25 if the abuser was accused by at least one (1) other alleged
                  victim of Abuse;
           2.     1.5 if the abuser was accused by five (5) or more other alleged
                  victims of Abuse;
           3.     2.0 if the abuser was accused by ten (10) or more other alleged
                  victims of Abuse; and
           4.     1.25 to 2.0 if there is evidence of negligence of a Protected Party
                  (e.g., the inclusion of the perpetrator in the IV files (Volunteer
                  Screening Database) for abuse reasons).
   (iii)   Impact of the Abuse. To account for the impact of the alleged Abuse on
           the Abuse Claimant’s mental health, physical health, inter-personal
           relationships, vocational capacity or success, academic capacity or success,
           and whether the alleged Abuse at issue resulted in legal difficulties for the
           Abuse Claimant, the Settlement Trustee may assign an upward Scaling
           Factor of up to 1.5. This factor is to be evaluated relative to a hypothetical
           base case scenario of a victim of Abuse who suffered the typical level of
           Abuse-related distress within the tier to which the Allowed Abuse Claim
           was assigned. The hypothetical base case is incorporated into the Base
           Matrix Values in the Claims Matrix tiers and would not receive an increase
           on account of this factor. The Settlement Trustee will consider, along with
           any and all other relevant factors, whether the Abuse at issue manifested or
           otherwise led the Abuse Claimant to experience or engage in behaviors
           resulting from:

           1.     Mental Health Issues: This includes anxiety, depression, post-
                  traumatic stress disorder, substance abuse, addiction,
                  embarrassment, fear, flashbacks, nightmares, sleep issues, sleep
                  disturbances, exaggerated startle response, boundary issues, self-
                  destructive behaviors, guilt, grief, homophobia, hostility,
                  humiliation, anger, isolation, hollowness, regret, shame, isolation,
                  sexual addiction, sexual problems, sexual identity confusion, low
                  self-esteem or self-image, bitterness, suicidal ideation, suicide
                  attempts, and hospitalization or receipt of treatment for any of the
                  foregoing.


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               2.      Physical Health Issues: This includes physical manifestations of
                       emotional distress, gastrointestinal issues, headaches, high blood
                       pressure, physical manifestations of anxiety, erectile dysfunction,
                       heart palpitations, sexually-transmitted diseases, physical damage
                       caused by acts of Abuse, reproductive damage, self-cutting, other
                       self-injurious behavior, and hospitalization or receipt of treatment
                       for any of the foregoing.
               3.      Interpersonal Relationships: This includes problems with authority
                       figures, hypervigilance, sexual problems, marital difficulties,
                       problems with intimacy, lack of trust, isolation, betrayal, impaired
                       relations, secrecy, social discreditation and isolation, damage to
                       family relationships, and fear of children or parenting.
               4.      Vocational Capacity: This includes under- and un-employment,
                       difficulty with authority figures, difficulty changing and
                       maintaining employment, feelings of unworthiness, or guilt related
                       to financial success.
               5.      Academic Capacity: This includes school behavior problems.
               6.      Legal Difficulties: This includes criminal difficulties, bankruptcy,
                       and fraud.
Mitigating Scaling Factors. The Settlement Trustee may assign a mitigating Scaling
Factor in the range of 0 to 1.0 except as specifically provided below to each Allowed Abuse
Claim to eliminate or decrease the Proposed Allowed Claim Amount for such Claim. Each
mitigating factor is to be evaluated relative to a hypothetical base case scenario of a timely
asserted Abuse Claim with supporting evidence that demonstrates, by a preponderance of
the evidence, Abuse by a perpetrator that accessed the victim as an employee, agent or
volunteer of a Protected Party, as a registered Scout or as a participant in Scouting within
BSA-sponsored Scouting. If statute of limitations revival legislation occurs in a particular
jurisdiction, the Settlement Trustee may modify the applicable Scaling Factor (as described
below) relevant thereto on a go-forward basis and determine Proposed Allowed Claim
Amounts for Abuse Claims in such jurisdiction thereafter based on such modified Scaling
Factor. Included in the hypothetical base case scenario is that the applicable period under
a statute of limitations or repose for timely asserting such Abuse Claim against any
potentially responsible party will not have passed. The hypothetical base case is
incorporated into the Base Matrix Values in the Claims Matrix tiers and would not receive
a decrease on account of these factors. Such factors may include the following:

       (i)     Absence of Protected Party Relationship or Presence of a Responsible
               Party that Is Not a Protected Party.

               (A)     Familial Relationship. A Protected Party’s responsibility for a
                       perpetrator may be factually or legally attenuated or mitigated where
                       the perpetrator also had a familial relationship with the Abuse
                       Claimant. Familial Abuse—even if the perpetrator was an


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                 employee, agent or volunteer of a Protected Party, and the Abuse
                 occurred in connection with BSA-related Scouting—should result
                 in a significant reduction of the Proposed Allowed Claim Amount.

          (B)    Other Non-Scouting Relationship.              A Protected Party’s
                 responsibility for a perpetrator may be factually or legally attenuated
                 or mitigated where the perpetrator also maintained a non-familial
                 relationship with the Abuse Claimant through a separate affiliation,
                 such as a school, or a religious organization, even if the perpetrator
                 was an employee, agent or volunteer of a Protected Party, or the
                 Abuse occurred in settings where a Protected Party did not have the
                 ability or responsibility to exercise control. Factors to consider
                 include how close the relationship was between the perpetrator and
                 the victim outside of their Scouting-related relationship, whether
                 Abuse occurred and the extent of such Abuse outside of their
                 Scouting relationship, and applicable law related to apportionment
                 of liability. In such event, the Settlement Trustee shall determine
                 and apply a mitigating Scaling Factor that accounts for such other
                 relationship and the related Abuse. By way of example, if the
                 Settlement Trustee determines after evaluation of an Allowed Abuse
                 Claim and application of all of the other Scaling Factors that the
                 perpetrator, who was an employee, agent or volunteer of a Protected
                 Party for BSA-related Scouting, also was the primary teacher (at a
                 non-Protected Party entity or institution) of the Abuse Claimant
                 outside of BSA-related Scouting, and if numerous incidents of
                 Abuse occurred outside of Scouting before one incident of BSA-
                 related Scouting Abuse occurred, the Settlement Trustee shall apply
                 a mitigating Scaling Factor as a material reduction of the Proposed
                 Allowed Claim Amount.

          (C)    Other Responsible Non-Protected Party. The Abuse Claimant may
                 have a cause of action under applicable law for a portion of his or
                 her Direct Abuse Claim against a responsible entity, such as a
                 Chartered Organization, that is not a Protected Party. By way of
                 example, if the Settlement Trustee determines after evaluation of a
                 Submitted Abuse Claim that (i) a Chartered Organization that is not
                 a Protected Party is responsible under applicable law for a portion
                 of the liability and (ii) a Protected Party(ies) are not also liable for
                 the same portion of the liability (taking into account the relevant
                 jurisdiction’s prevailing law on apportionment of damages), the
                 Settlement Trustee shall apply a final Scaling Factor to account for
                 such non-Protected Party’s portion of the liability.

   (ii)   Other Settlements, Awards, Contributions, or Limitations. The
          Settlement Trustee may consider any further limitations on the Abuse
          Claimant’s recovery in the tort system. The Settlement Trustee also should
          consider the amounts of any settlements or awards already received by the


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           Abuse Claimant from other, non-Protected Party sources as well as agreed
           and reasonably likely to be received contributions from other, non-Protected
           Party sources that are related to the Abuse. By way of example, the
           Settlement Trustee should assign an appropriate Scaling Factor to Allowed
           Abuse Claims capped by charitable immunity under the laws of the
           jurisdiction where the Abuse occurred. Notwithstanding the foregoing,
           where an Abuse Claimant has obtained a recovery based on the independent
           liability of a third party for separate instances of Abuse that occurred
           without connection to Scouting activities, no mitigating factor or reduction
           in value will be applied based on that recovery.


   (iii)   Statute of Limitations or Repose and BSA’s Discharge. If the evidence
           provided by the Abuse Claimant or otherwise obtained by the Settlement
           Trustee results in the Settlement Trustee concluding that the subject Direct
           Abuse Claim could be dismissed or denied in the tort system as to all
           Protected Parties against whom the Direct Abuse Claim was timely
           submitted (as set forth in Article IV.A of the Trust Distribution Procedures)
           due to the passage of a statute of limitations or a statute of repose, the
           Settlement Trustee shall apply an appropriate Scaling Factor based on the
           ranges set forth in Schedule 1 of the Trust Distribution Procedures;
           provided, however, the Settlement Trustee will weigh the strength of any
           relevant evidence submitted by the Abuse Claimant to determine whether
           the statute of limitations could be tolled under applicable law, and may
           apply a higher Scaling Factor if such evidence demonstrates to the
           Settlement Trustee that tolling would be appropriate under applicable state
           law.

   (iv)    Absence of a Putative Defendant. If the Direct Abuse Claim could be
           diminished because such claim was not timely submitted against BSA or
           another Protected Party (as set forth in Article IV.A of the Trust Distribution
           Procedures), such that in a suit in the tort system, such Direct Abuse Claim
           would be burdened by an “empty chair” defense due to the absence of a
           Missing Party(ies), the Settlement Trustee shall apply a mitigating Scaling
           Factor to account for a Missing Party’s absence. By way of example, where
           a timely submitted Direct Abuse Claim was not timely submitted against
           BSA (i.e., the Abuse Claimant failed to timely file a Chapter 11 POC) but
           was only timely submitted against the Local Council and/or another
           Protected Party (as set forth in Articles IV.A(ii) and (iii) of the Trust
           Distribution Procedures), such absence of the BSA due to BSA’s discharge
           would be the basis for such a substantial reduction. Any Direct Abuse
           Claim that is reduced due to the absence of the BSA under this mitigating
           Scaling Factor shall only be payable, as reduced, from Settlement Trust
           Assets contributed by the applicable Local Council or Chartered
           Organization, pro rata with all other Direct Abuse entitled to share in the




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                       Settlement Trust Assets contributed by such Local Council or Chartered
                       Organization.

                       d.     Allowed Abuse Claim Calculus

        After the Settlement Trustee assigns an Allowed Abuse Claim to a Claims Matrix tier and
determines the appropriate Scaling Factors that apply to the Claim, the Proposed Allowed Claim
Amount for the Allowed Abuse Claim is the product of the Base Matrix Value of the Claim and
the Scaling Factors applied to the Claim. In no event can an Allowed Abuse Claim’s Proposed
Allowed Claim Amount (or Allowed Claim Amount) exceed the Maximum Matrix Value for the
Claim’s assigned Claims Matrix tier. By way of example, if an Allowed Abuse Claim is
determined by the Settlement Trustee to be a tier 1 claim (Base Matrix Value of $600,000) with a
Scaling Factor of 1.5 for the nature and circumstances of the abuse, and a mitigating Scaling Factor
of 0.75, and no other Scaling Factors, the Proposed Allowed Claim Amount for the Allowed Abuse
Claim would be $675,000, calculated as $600,000 x 1.5 x 0.75 = $675,000. As a further example,
if, in addition to the above Scaling Factors, the same Allowed Abuse Claim had an additional
aggravating Scaling Factor of 2.0 on account of the abuser’s profile, the Proposed Allowed Claim
Amount for the Allowed Abuse Claim would be $1,350,000 (calculated as $600,000 x 1.5 x .75 x
2.0).

                       e.     Optional Chartered Organization Release

        To have the opportunity to exclusively share in any settlement proceeds received from a
Chartered Organization that becomes a Protected Party as provided in Article IX.F of the Trust
Distribution Procedures, a Direct Abuse Claimant must execute either (i) the conditional release
of the Chartered Organization(s) against whom the Abuse Claimant has an Abuse Claim, that will
become effective as to that Abuse Claimant if the Chartered Organization(s) against whom the
Abuse Claimant conditionally released becomes a Protected Party(ies), in the form attached as
Exhibit B to the Trust Distribution Procedures, or (ii) the non-conditional release of all Chartered
Organizations in the form attached as Exhibit C to the Trust Distribution Procedures.

       8.      Payment of Final Determination Allowed Abuse Claim

               a.      Payment Upon Final Determination

        Only after the Settlement Trustee has established an Initial Payment Percentage in
accordance with Section 4.1 of the Settlement Trust Agreement, then once there is a Final
Determination of an Abuse Claim pursuant to Article VII.F of the Trust Distribution Procedures,
the Claimant will receive a payment of such Final Determination based on the Payment Percentage
then in effect as described in Articles IX.B and IX.C of the Trust Distribution Procedures. For the
purpose of payment by the Settlement Trust, a Final Judicial Determination (as defined in Article
XII.H of the Trust Distribution Procedures) shall constitute a Final Determination.

                       b.     Initial Payment Percentage

      After the Claimant accepts the Proposed Allowed Claim Amount and there is a Final
Determination of the Abuse Claim, the Settlement Trust shall pay an Initial Distribution based on


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the Initial Payment Percentage established by the Settlement Trustee in accordance with the
Settlement Trust Agreement.

                      c.      Supplemental Payment Percentage

         When the Settlement Trustee determines that the then-current estimates of the Settlement
Trust’s assets and its liabilities, as well as then-estimated value of then-pending Abuse Claims,
warrant additional distributions on account of the Final Determinations, the Settlement Trustee
shall set a Supplemental Payment Percentage in accordance with the Settlement Trust Agreement.
Such Supplemental Payment Percentages shall be applied to all Final Determinations that became
final prior to the establishment of such Supplemental Payment Percentage. Claimants whose
Abuse Claim becomes a Final Determination after a Supplemental Payment Percentage is set shall
receive an Initial Distribution equal to the then existing payment percentage. For the avoidance of
doubt, the Allowed Claim Amount of each Allowed Abuse Claim after Final Determination shall
be deemed to be the Protected Parties’ liability for such Allowed Abuse Claim irrespective of how
much the holder of such Abuse Claim actually receives from the Settlement Trust pursuant to the
payment provisions set forth in Article IX of the Trust Distribution Procedures. For example if
the Allowed Claim Amount for an Allowed Abuse Claim that has received a Final Determination
is $1,350,000, even if the Settlement Trust distributes less than $1,350,000 to the Abuse Claimant
on account of such Allowed Abuse Claim based on application of the Initial Payment Percentage
and any Subsequent Payment Percentage(s), the Allowed Claim Amount for the Abuse Claim is
still $1,350,000.

                      d.      Release

        In order for an Allowed Abuse Claim to receive a Final Determination and for the relevant
Abuse Claimant to receive any payment from the Settlement Trust, the Abuse Claimant must
submit an executed form of release to be developed, in each case, by the Coalition and the Future
Claimants’ Representative, in consultation with the BSA. The form of release agreement that a
Direct Abuse Claimant who takes the Expedited Distribution Election must execute is attached as
Exhibit A to the Trust Distribution Procedures. The form of the Settling Chartered Organization
Release applicable to an Abuse Claimant who has elected to provide a conditional release to certain
Chartered Organizations shall be substantially in the form of Exhibit B to the Trust Distribution
Procedures. The form of the Voluntary Chartered Organization Release applicable to an Abuse
Claimant who has selected a Final Determination based on the Proposed Allowed Claim Amount
shall be substantially in the form of Exhibit C to the Trust Distribution Procedures. The form of
the release applicable to an Abuse Claimant who has selected a Final Determination based on the
Proposed Allowed Claim Amount but who does not elect to execute the Voluntary Chartered
Organization Release shall be substantially in the form of Exhibit D to the Trust Distribution
Procedures.

                      e.      FIFO Claims Process Queuing and Exigent Health Claims

       The Settlement Trust shall review all Trust Claim Submissions for processing purposes on
a FIFO basis as set forth in the Trust Distribution Procedures, except as otherwise provided in the
Trust Distribution Procedures with respect to Expedited Distributions, Exigent Health Claims, or
Submitted Abuse Claims electing to defer determination of their Allowed Claim Amounts for up


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to twelve (12) months from the Effective Date pursuant to Article VII.H of the Trust Distribution
Procedures. An Abuse Claimant’s position in the FIFO Processing Queue shall be determined as
of the Abuse Claimant’s Trust Claim Submission Date. If any Trust Claim Submissions are filed
on the same date, an Abuse Claimant’s position in the applicable FIFO Processing Queue vis-à-
vis such other same-day claims shall be determined by the claimant’s date of birth, with older
Abuse Claimants given priority over younger Abuse Claimants. An Abuse Claimant that seeks
recovery on account of an Exigent Health Claim based on an Allowed Claim Amount determined
through the matrix shall be moved in front of the FIFO Processing Queue no matter what the order
of processing otherwise would have been under the Trust Distribution Procedures. Following
receipt of a Final Determination on account of an Exigent Health Claim, the holder of an Exigent
Health Claim shall receive an Initial Distribution from the Settlement Trust (subject to the payment
percentages then in effect), within thirty (30) days of executing the release as set forth in Article
IX.D of the Trust Distribution Procedures.

                       f.      Source Affected Weighting

         Notwithstanding the Initial Payment Percentage and the Supplemental Payment
Percentages applied hereunder, a portion of Non-BSA Sourced Assets shall be allocated (after
deducting an estimated pro rata share of Settlement Trust expenses and direct expenses related to
the collection of Non-BSA Sourced Assets) only among the Allowed Abuse Claims that (1) could
have been satisfied from that source absent the Plan’s Discharge and Channeling Injunction and
(2) are held by Direct Abuse Claimants that execute a conditional release, the form of which is
attached as Exhibit B to the Trust Distribution Procedures, releasing all claims against all
Chartered Organizations if the Settlement Trust enters into a global settlement making such
Chartered Organization a Protected Party. The Settlement Trustee shall establish separate payment
percentages in accordance with the Settlement Trust Agreement to effectuate the distribution of
any Non-BSA Sourced Assets. For the avoidance of doubt, irrespective of the establishment of
the indicated portion of any increased payment percentage under Article IX.F of the Trust
Distribution Procedures and the Settlement Trust Agreement that allocates Non-BSA Sourced
Assets to holders of certain eligible Allowed Abuse Claims, the maximum payment that an Abuse
Claimant can recover from the Settlement Trust before all other Allowed Abuse Claims are paid
in full is the Final Determination Allowed Abuse Claim Amount for his or her Claim.

       9.      Rights of Settlement Trust Against Non-Settling Insurance Companies

        Pursuant to the Plan, the Settlement Trust has taken an assignment of BSA’s and any other
Protected Party’s (to the extent provided for in the Plan) rights and obligations under the Insurance
Policies. For any Abuse Claim that the Settlement Trustee determines is an Allowed Abuse Claim
pursuant to Article VII of the Trust Distribution Procedures, the Settlement Trustee will determine,
based on the relevant Trust Claim Submission and any other information submitted in connection
with that submission and in the materials obtained through the Document Obligations, whether
any Non-Settling Insurance Company issued coverage that is available to respond to such Claim.
The Settlement Trustee may determine that multiple Non-Settling Insurance Companies have
responsibility for an Insured Abuse Claim. The Settlement Trustee shall seek reimbursement for
each Insured Abuse Claim that is an Insured Abuse Claim, including the Proposed Allowed Claim
Amount, from the applicable Non-Settling Insurance Company(ies) pursuant to the Insurance
Policies and applicable law. The Settlement Trustee shall have the ability to exercise all of the


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rights and interests in the Insurance Policies assigned to the Settlement Trust as set forth in the
Plan, including the right to resolve any disputes with a Non-Settling Insurance Company regarding
their obligation to pay some or all of an Insured Abuse Claim. The Settlement Trustee will exercise
those rights consistent with their duty to preserve and maximize the assets of the Settlement Trust.
The Settlement Trustee will have the ability to request further information from Abuse Claimants
in connection with seeking reimbursement for Insured Abuse Claims.

       10.      Indirect Claims

                a.     Claims

        To be eligible to receive compensation from the Settlement Trust, the holder of an Indirect
Abuse Claim must satisfy Article IV.B of the Trust Distribution Procedures. Indirect Abuse
Claims that become Allowed Indirect Abuse Claims shall receive distributions in accordance with
Article IX of the Trust Distribution Procedures and shall be subject to the same liquidation and
payment procedures as the Settlement Trust would have afforded the holders of the underlying
valid Direct Abuse Claims pursuant to Articles VIII and IX of the Trust Distribution Procedures.

                       b.      Offset

        The liquidated value of any Indirect Abuse Claim paid by the Settlement Trust shall be
treated as an offset to or reduction of the full liquidated value of any related Direct Abuse Claim
that might be subsequently asserted against the Settlement Trust as being against any Protected
Party(ies) whose liability was paid by the Indirect Abuse Claimant.

       11.      Tort System Alternative

                a.     Remedies after Disallowance or Exhaustion of Claims Allowance
                       Procedures

        Within thirty (30) days after a Direct Abuse Claimant receives an Allowed Claim Notice
or Claim Notice following a Reconsideration Request in accordance with Article VII.G of the
Trust Distribution Procedures, a Direct Abuse Claimant may notify the Settlement Trust of his or
her intention to seek a de novo determination of its Direct Abuse Claim by a court of competent
jurisdiction, subject to the limitations set forth in Article XII of the Trust Distribution Procedures.
Such notification shall be made by submitting a written notice to the Settlement Trustee by the
Tort Election Deadline. Unless the Settlement Trustee agrees to extend the Tort Election Deadline,
Abuse Claimants who fail to so submit and/or file a Judicial Election Notice by the Tort Election
Deadline shall be deemed to accept the disallowance of their Abuse Claims or the Proposed Abuse
Claim Amounts (as applicable) and shall have no right to seek any further review of their Abuse
Claims. An Abuse Claimant that asserts a Trust Distribution Procedures Tort Election Claim may
not seek costs or expenses against the Settlement Trust in the lawsuit filed and the Settlement Trust
may not seek costs or expenses against the Abuse Claimant. Any recoveries for a Trust
Distribution Procedures Tort Election Claim from outside the Settlement Trust in respect of a
Protected Party’s liability are payable to the Settlement Trust and the Abuse Claimant shall be paid
in accordance with Articles XII.G and IX of the Trust Distribution Procedures.



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                      b.      Supporting Evidence for Trust Distribution Procedures Tort
                              Election Claims

        Trust Distribution Procedures Tort Election Claims in the federal courts shall be governed
by the rights and obligations imposed upon parties to a contested matter under the Federal Rules
of Bankruptcy Procedure, provided, however, that an Abuse Claimant that prosecutes in any court
a Trust Distribution Procedures Tort Election Claim after seeking reconsideration from the
Settlement Trust shall not have the right to introduce into evidence to the applicable court any
information or documents that (i) were requested by the Settlement Trustee and (ii) were in the
possession, custody or control of the Abuse Claimant at the time of a request by the Settlement
Trust, but which the Abuse Claimant failed to or refused to provide to the Settlement Trust in
connection with the claims evaluation process in the Trust Distribution Procedures. The Abuse
Claimant’s responses to requests by the Settlement Trustee for documents or information shall be
subject to Rule 37 of the Federal Rules of Civil Procedure, as applicable under the Federal Rules
of Bankruptcy Procedure, and/or any comparable State Rule of Civil Procedure. An Abuse
Claimant shall not have the right to disclose any Proposed Abuse Claim Amount received from
the Settlement Trust to any court in connection with a Tort Election Claim. Subject to the terms
of any protective order entered by a court, the Settlement Trustee shall be permitted to introduce
as evidence before a court all information and documents submitted to the Settlement Trust under
the Trust Distribution Procedures, and the Abuse Claimant may introduce any and all information
and documents that he or she submitted to the Settlement Trust under the Trust Distribution
Procedures.

                      c.      Authorization of Settlement Trustee and Settlement Trust
                              Advisory Committee

        The Settlement Trustee may authorize the commencement or continuation of a lawsuit by
a Direct Abuse Claimant in any court of competent jurisdiction against the Settlement Trust to
obtain the Allowed Claim Amount of a Direct Abuse Claim. STAC Tort Election Claims shall not
be required to exhaust any remedies under the Trust Distribution Procedures before commencing
or continuing such lawsuit. No Abuse Claimant may pursue a STAC Tort Election Claim without
the prior written approval of the Settlement Trustee in accordance with the Settlement Trust
Agreement. Fifty percent (50%) (or less if determined by the Settlement Trustee) of any amounts
paid with respect to a judgment for, or a settlement of, a STAC Tort Election Claim by a Non-
Settling Insurance Company, as to a policy as to which a Protected Party has assigned relevant
insurance rights to the Settlement Trust, shall be paid over to the Settlement Trust.

                      d.      Tender to Non-Settling Insurance Company

        If an Abuse Claimant is authorized to file suit against the Settlement Trust as provided in
Articles XII.A and XII.C of the Trust Distribution Procedures, the Settlement Trustee shall
determine, based on the Trust Claim Submission and any other information obtained in connection
with that submission and materials received in connection with the Document Obligations, whether
any Non-Settling Insurance Company issued coverage that is available to respond to the lawsuit.
The Settlement Trustee may determine that there are multiple Non-Settling Insurance Companies
that have responsibility to defend an Insured Lawsuit. The Settlement Trustee shall provide notice,
and if applicable, seek defense, of any Insured Lawsuit to each Non-Settling Insurance Company


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from whom the Settlement Trustee determines insurance coverage may be available in accordance
with the terms of each applicable Insurance Policy.

                       e.      Parties to Lawsuit

        Any lawsuit commenced under Article XII of the Trust Distribution Procedures must be
filed by the Abuse Claimant in his or her own right and name and not as a member or representative
of a class, and no such lawsuit may be consolidated with any other lawsuit. The Abuse Claimant
may assert its Abuse Claim against the Settlement Trust as if the Abuse Claimant were asserting
such claim against either the Debtors or another Protected Party and the discharge and injunctions
in the Plan had not been issued. The Abuse Claimant may name any person or entity that is not a
Protected Party, including Non-Settling Insurance Companies to the extent permitted by applicable
law. Abuse Claimants may pursue in any manner or take any action otherwise permitted by law
against persons or entities that are not Protected Parties so long as they are not an additional insured
or an Insurance Company as to an Insurance Policy issues to the BSA.

                       f.      Defenses

       All defenses (including, with respect to the Settlement Trust, all defenses that could have
been asserted by the Debtors or Protected Parties, except as otherwise provided in the Plan) shall
be available to both sides (which may include any Non-Settling Insurance Company) at trial.

                       g.      Settlement Trust Liability for Tort Election Claims

         An Abuse Claimant who pursues a Tort Election Claim shall have an Allowed Claim
Amount equal to zero if the litigation is dismissed or claim denied. If the matter is litigated, the
Allowed Claim Amount shall be equal to the settlement or final judgment amount obtained in the
tort system less any payments actually received and retained by the Abuse Claimant, provided that,
exclusive of amounts payable pursuant to Article XII.C of the Trust Distribution Procedures (in
the event such amounts exceed the Maximum Matrix Value in the applicable tier set forth in the
Claims Matrix), any amount of such Allowed Claim Amount for a Tort Election Claim in excess
of the Maximum Matrix Value in the applicable tier set forth in the Claims Matrix shall be
subordinate and junior in right for distribution from the Settlement Trust to the prior payment by
the Settlement Trust in full of all Direct Abuse Claims that are Allowed Abuse Claims as liquidated
under the Trust Distribution Procedures (excluding Article XII). By way of example, presume (1)
there is an Abuse Claimant asserting tier one abuse that achieves a $5 million verdict for his or her
STAC Tort Election Claim against the Settlement Trust, and (2) a Non-Settling Insurance
Company pays $750,000 in coverage under a policy providing primary coverage, $375,000 of
which is paid directly to the Abuse Claimant and $375,000 of which is paid over to the Settlement
Trust pursuant to Article XII.C of the Trust Distribution Procedures. Although the unpaid amount
of such Allowed Abuse Claim would be $4,625,000, the maximum total payment that the Abuse
Claimant can recover from the Settlement Trust (before the non-subordinated portion of all other
Direct Abuse Claims that are Allowed Abuse Claims are paid in full) is $2,700,000 (the Maximum
Matrix Value in tier one), or an additional $2,325,000, paid pursuant to the terms of Article IX of
the Trust Distribution Procedures. For the avoidance of doubt, the limit on the Settlement Trust
liability under Article XII.G of the Trust Distribution Procedures shall not apply or inure to the
benefit of any Non-Settling Insurance Company, and the Settlement Trust shall be able to obtain


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coverage, subject to Article X of the Trust Distribution Procedures, for the full Allowed Claim
Amount obtained by the Abuse Claimant through a Tort Election Claim.

                       h.      Settlement or Final Judgment

         If the Settlement Trust reaches a global settlement making a Protected Party of a Non-
Settling Insurance Company or other person or entity involved in a Tort Election Claim or obtains
a final judgment in a suit against such person or entity terminating liability for such person or
entity to the Abuse Claimant, the Abuse Claimant shall be entitled to proceed with the Tort
Election Claim for any reason (e.g., if there are persons or entities that are not Protected Parties to
collect from). Alternatively, the Abuse Claimant can elect to terminate the Tort Election Claim
without prejudice and have its Abuse Claim determined through the Trust Distribution Procedures
(i.e., as if no STAC Tort Election Claim had been made), in which event the Abuse Claimant may
submit relevant evidence from the Tort Election Claim that the Settlement Trustee shall take into
account in evaluating the Abuse Claim under the Trust Distribution Procedures. Such Abuse
Claimant may be provided other alternatives by the Settlement Trust if it had been pursuing a
STAC Tort Election Claim.

                       i.      Payment of Judgments by the Settlement Trust

       Subject to Article XII.G of the Trust Distribution Procedures, if and when an Abuse
Claimant obtains a final judgment or settlement against the Settlement Trust in the tort system,
such judgment or settlement amount shall be treated for purposes of distribution under the Trust
Distribution Procedures as the Abuse Claimant’s Final Determination, and such Allowed Claim
Amount shall also constitute the applicable Protected Parties’ liability for such Abuse Claim.
Within thirty (30) days of executing the release as set forth in Article IX.D of the Trust Distribution
Procedures, the Abuse Claimant shall receive an Initial Distribution from the Settlement Trust
(assuming an Initial Payment Percentage has been established by the Settlement Trust at that time).
Thereafter, the Abuse Claimant shall receive any subsequent distributions based on any applicable
Payment Percentage as determined by the Settlement Trust.

                       j.      Litigation Results and Other Abuse Claims

        To the extent that a Final Judicial Determination of an Abuse Claim or changes in
applicable law implicate the appropriateness of the Scaling Factors or General Criteria, the
Settlement Trustee, subject to the terms of the Trust Distribution Procedures and the Settlement
Trust Agreement and the approval of the Bankruptcy Court or District Court, after appropriate
notice and opportunity to object, may appropriately modify the Scaling Factors or General Criteria
on a go-forward basis for use in evaluation of Future Abuse Claims and other Abuse Claims as to
which no Allowed Claim Amount Final Determination had previously been made.

                       k.      Tolling of Limitations Period

        The running of the relevant statute of limitation shall be tolled as to each Abuse Claimant’s
Abuse Claim against each Protected Party from the earliest of (A) the actual filing of the claim
against the Protected Party prior to the Petition Date, whether in the tort system or by submission
of the claim to the Protected Party pursuant to an administrative settlement agreement; (B) the
tolling of the claim against a Debtor prior to the Petition Date by an agreement or otherwise,

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provided such tolling is still in effect on the Petition Date; or (C) the Petition Date, and shall
continue until one (1) year following release of the Abuse Claim into the tort system hereunder.

       12.      Miscellaneous Provisions

                a.     Non-Binding Effect of Settlement Trust and/or Litigation Outcome

         Notwithstanding any other provision of the Trust Distribution Procedures, the outcome of
litigation against the Debtors by the holder of an Indirect Abuse Claim shall not be used in, be
admissible as evidence in, binding in or have any other preclusive effect in connection with the
Settlement Trust’s resolution or valuation of an Indirect Abuse Claim.

                       b.      Amendments

         Except as otherwise provided in the Trust Distribution Procedures, the Settlement Trustee
may not amend, modify, delete, or add to any provisions of the Trust Distribution Procedures
without the written consent of the STAC and the Future Claimants’ Representative, as provided in
the Settlement Trust Agreement, including amendments to modify the system for Tort Election
Claims. Nothing in the Trust Distribution Procedures is intended to preclude the STAC and/or the
Future Claimants’ Representative from proposing to the Settlement Trustee, in writing,
amendments to the Trust Distribution Procedures. Notwithstanding the foregoing, absent
Bankruptcy Court or District Court approval after appropriate notice and opportunity to object,
neither the Settlement Trustee nor the STAC or Future Claimants’ Representative may amend the
Trust Distribution Procedures in a material manner, including (i) to provide for materially different
treatment for Abuse Claims, (ii) to materially change the system for Tort Election Claimants, or
(iii) in a manner that is otherwise materially inconsistent with the Confirmation Order or Plan.
Notwithstanding the foregoing, neither the Settlement Trustee nor the STAC or the Future
Claimants’ Representative may amend any of the forms of release set forth in Article IX.D of the
Trust Distribution Procedures without the consent of Reorganized BSA, or remove the requirement
of a release in connection with an Expedited Determination.

                       c.      Severability

        Should any provision contained in the Trust Distribution Procedures be determined to be
unenforceable, such determination shall in no way limit or affect the enforceability and operative
effect of any and all other provisions of the Trust Distribution Procedures.

                       d.      Offsets

        The Settlement Trust shall have the right to offset or reduce the Allowed Claim Amount of
any Allowed Abuse Claim, without duplication as to the mitigating factors (e.g., as to other
responsible parties) on a dollar for dollar basis based on any amounts paid, agreed, or reasonably
likely to be paid to the holder of such Claim on account of such Claim as against a Protected Party
(or that reduces the liability thereof under applicable law) from any source other than the
Settlement Trust.




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                              e.        Governing Law

        The Trust Distribution Procedures shall be interpreted in accordance with the laws of the
State of Delaware. Notwithstanding the foregoing, the evaluation of Abuse Claims under the Trust
Distribution Procedures and the law governing litigation in the tort system shall be the law of the
jurisdiction in which the Abuse Claimant files the lawsuit as described in Article XII of the Trust
Distribution Procedures or the jurisdiction where such Abuse Claim could have been filed under
applicable law.

     ARTICLE VIII. SOLICITATION PROCEDURES AND REQUIREMENTS

        Before voting to accept or reject the Plan, each holder of a Claim entitled to vote should
carefully review the Plan. All descriptions of the Plan set forth in this Disclosure Statement are
subject to the terms and provisions of the Plan.

A.        Voting Summary and Deadline97

        The Bankruptcy Court entered an order in these Chapter 11 Cases [D.I. [●]] (the
“Solicitation Procedures Order”) that, among other things, approved certain procedures governing
the solicitation of votes to accept or reject the Plan from holders of Claims against the Debtors,
including setting the deadline for voting, specifying which holders of Claims are eligible to receive
Ballots to vote on the Plan, and establishing other voting and tabulation procedures attached to the
Solicitation Procedures Order as Exhibit 1 (the “Solicitation Procedures”).

     THE SOLICITATION PROCEDURES ORDER IS HEREBY INCORPORATED
BY REFERENCE AS THOUGH FULLY SET FORTH HEREIN. YOU SHOULD READ
THE SOLICITATION PROCEDURES ORDER, THE SOLICITATION PROCEDURES,
THE CONFIRMATION HEARING NOTICE, AND THE INSTRUCTIONS ATTACHED
TO YOUR BALLOT IN CONNECTION WITH THIS SECTION, AS THEY SET FORTH
IN DETAIL PROCEDURES GOVERNING VOTING DEADLINES AND OBJECTION
DEADLINES.

        The Plan, though proposed jointly and consolidated for purposes of making distributions
to holders of Claims under the Plan, constitutes a separate Plan proposed by each Debtor.
Therefore, the classifications set forth in the Plan apply separately with respect to each Plan
proposed by, and the Claims against and Interests in, each Debtor. Your vote will count as votes
for or against, as applicable, each Plan proposed by each Debtor.

 Voting Classes:           The Debtors are soliciting votes to accept or reject the Plan from the holders
                           of Claims in Classes 3A, 3B, 4A, 4B, 5, 6, 7, 8, and 9.
 Voting Record             The Voting Record Date is September 21, 2021. Only holders in the Voting
 Date:                     Classes as of this date will be entitled to vote to accept or reject the Plan.
                           The Debtors reserve the right to set a later Voting Record Date if the Debtors
                           decide to extend the Voting Deadline.

97   Capitalized terms used in this Article VIII and not otherwise defined herein or in the Plan shall have the meanings ascribed to
     such terms in the Solicitation Procedures Motion, Solicitation Procedures Order, or Solicitation Procedures, as applicable.


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 Voting            The Voting Deadline is [November 16], 2021 at 4:00 p.m. (Eastern Time),
 Deadline;         unless the Debtors in their sole discretion extend the date by which Ballots
 Extension:        will be accepted. If the Voting Deadline is extended, the term “Voting
                   Deadline” will mean the time and date that is designated. Any extension of
                   the Voting Deadline will be followed as promptly as practicable by notice of
                   the extension.
 Solicitation      If you are a holder of a Claim in the Voting Classes, you should deliver a
 Procedures:       properly completed Ballot to the Solicitation Agent. Ballots must be
                   received by the Solicitation Agent on or before the Voting Deadline. To be
                   counted as a vote to accept or reject the Plan, each Ballot must be properly
                   executed, completed, and delivered by (1) the electronic Ballot submission
                   platform on the Solicitation Agent’s website (the “E-Ballot Platform”), (2)
                   mail, (3) overnight delivery, or (4) personal delivery, so that it is actually
                   received, in each case, by the Solicitation Agent no later than the Voting
                   Deadline. Specifically, each Ballot must be returned through the E-Ballot
                   Platform at (a) https://omniagentsolutions.com/bsa-SAballots for Direct
                   Abuse      Claim       Ballots     and     Master      Ballots      or     (b)
                   https://omniagentsolutions.com/bsa-ballots for all other Ballots, by mail
                   using the envelope included in the Solicitation Package, as applicable, or by
                   overnight or personal delivery to the following address: Boy Scouts of
                   America Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto
                   Avenue, Suite 100, Woodland Hills, CA 91367. You are highly
                   encouraged to submit your Ballot via the E-Ballot Platform.
 Revocation or     After the Voting Deadline, no Ballot may be withdrawn or modified without
 Withdrawal of     the prior written consent of the Debtors, and, with respect to Direct Abuse
 Ballots:          Claims, the Debtors, the Tort Claimants’ Committee, and the Coalition;
                   provided, that prior to the Voting Deadline, a voter may withdraw a valid
                   Ballot by delivering a written notice of withdrawal to the Solicitation Agent.
                   The withdrawal must be signed by the party who signed the Ballot, and the
                   Debtors reserve the right to contest any withdrawals, and, with respect to
                   Direct Abuse Claims, the Tort Claimants’ Committee and the Coalition also
                   reserve such right.
 Solicitation      The Debtors have retained Omni Agent Solutions as the Solicitation Agent
 Agent:            in connection with the solicitation of votes on the Plan. Deliveries of Ballots
                   should be directed to Omni Agent Solutions as set forth herein or pursuant
                   to the instructions contained in the Ballots.


        The following instructions for voting to accept or reject the Plan, together with the
instructions contained in the Ballot and the Solicitation Procedures, constitute the voting
instructions. Only holders of Claims in Classes 3A, 3B, 4A, 4B, 5, 6, 7, 8, and 9 (the “Voting
Classes”) as of the Voting Record Date are entitled to vote on the Plan. To vote, you, or in the
case of certain holders of Direct Abuse Claims, your attorney, must fill out and sign the Ballot
enclosed in the Solicitation Package (as defined below).



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B.     Solicitation Procedures

       1.      Vote Required for Acceptance by a Class of Claims

        Under the Bankruptcy Code, acceptance of a plan of reorganization by a class of claims or
interests is determined by calculating the amount and, if a class of claims, the number, of claims
and interests voting to accept, as a percentage of the allowed claims or interests, as applicable, that
have voted. Acceptance by a class of claims requires an affirmative vote of more than one-half in
number of total allowed claims in such class that have voted and an affirmative vote of at least
two-thirds in dollar amount of the total allowed claims in such class that have voted.

       2.      Solicitation Package

       The package of materials (the “Solicitation Package”) sent to the Voting Classes contains:

               (a)     a cover letter describing the contents of the Solicitation Package and
                       instructions to obtain access, free of charge, to the Plan, the Disclosure
                       Statement,     and     the     Solicitation    Procedures     Order    via
                       https://omniagentsolutions.com/bsa-SAballots                            or
                       https://omniagentsolutions.com/bsa-ballots, and urging holders of Claims
                       in the Voting Classes to vote to accept the Plan;

               (b)     the Notice of Hearing to Consider Confirmation of Amended Chapter 11
                       Plan of Reorganization for Boy Scouts of America and Delaware BSA, LLC,
                       substantially in the form annexed to the Solicitation Procedures Order as
                       Exhibit 3 (the “Confirmation Hearing Notice”);

               (c)     the Disclosure Statement with all exhibits, including the Plan and all
                       exhibits (to the extent such exhibits are filed with the Bankruptcy Court
                       before the Solicitation Date) via https://omniagentsolutions.com/bsa-
                       SAballots or https://omniagentsolutions.com/bsa-ballots;
               (d)     the Solicitation Procedures Order, including the Solicitation Procedures and
                       all exhibits, via https://omniagentsolutions.com/bsa-SAballots or
                       https://omniagentsolutions.com/bsa-ballots;
               (e)     an appropriate form of Ballot with return instructions and a return envelope,
                       as applicable;
               (f)     a letter from any official committee or the Coalition, substantially in the
                       form filed in these Chapter 11 Cases before the Disclosure Statement
                       Hearing (and as may be modified, amended, or supplemented from time to
                       time); and
               (g)     any other materials ordered by the Bankruptcy Court to be included as part
                       of the Solicitation Package.
       The Debtors have distributed the Solicitation Packages to holders of Claims in the Voting
Classes as of the Solicitation Date. In addition, the Plan, this Disclosure Statement, the Solicitation


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Procedures Order, and, once they are filed, all exhibits to the three documents (including the Plan
Supplement) will be made available online at no charge at the website maintained by the
Solicitation Agent, Omni Agent Solutions, at https://omniagentsolutions.com/bsa-SAballots or
https://omniagentsolutions.com/bsa-ballots, and all other contents of the Solicitation Package,
including Ballots, shall be provided in paper format, except as specifically provided in Section IV
of the Solicitation Procedures with respect to certain holders of Direct Abuse Claims. In addition,
the Debtors will provide parties in interest (at no charge) with a flash drive or paper format of the
Plan and/or Disclosure Statement, as well as any exhibits thereto, upon request to the Solicitation
Agent by (1) calling the Debtors’ toll-free restructuring hotline at (866) 907-2721; (2) visiting the
Debtors’ restructuring website at https://omniagentsolutions.com/bsa; (3) writing to Boy Scouts of
America Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto Avenue, Suite 100,
Woodland Hills, CA 91367; or (4) emailing BSAballots@omniagnt.com.
        If you are a holder of a Claim or represent a holder of a Direct Abuse Claim who is entitled
to vote on the Plan and you or your attorney did not receive a Ballot, received a damaged Ballot,
or lost your Ballot, please contact the Solicitation Agent by (1) emailing
BSAballots@omniagnt.com, (2) calling the Debtors’ toll-free restructuring hotline at (866) 907-
2721, or (3) writing to Boy Scouts of America, c/o Omni Agent Solutions, 5955 De Soto Avenue,
Suite 100, Woodland Hills, CA 91367. Moreover, any holder of a Direct Abuse Claim that
receives the Solicitation Package materials via email in accordance with the communication
preferences indicated in such holder’s Proof of Claim but prefers to receive such materials by mail
may contact the Solicitation Agent to receive a mailed copy instead at no cost to such holder.
        The Solicitation Procedures set forth a process by which known attorneys representing
holders of Direct Abuse Claims (collectively, the “Firms”), received copies of the Abuse Claim
Solicitation Notice, an Abuse Survivor Plan Solicitation Directive, and Client List. The Abuse
Claim Solicitation Notice notified the Firms of the two options proposed for soliciting votes on
the Plan in respect of Direct Abuse Claims, and the Debtors requested that each Firm voluntarily
return a completed Abuse Survivor Plan Solicitation Directive and confirmed Client List in order
to streamline and expedite the delivery of information to holders of Direct Abuse Claims and
ensure that holders of Direct Abuse Claims can make informed and meaningful decisions regarding
whether to accept or reject the Plan.
         Pursuant to the Abuse Survivor Plan Solicitation Directive, each Firm voluntarily selected
its preferred method for the Solicitation Agent to solicit votes on the Plan from its clients who hold
Direct Abuse Claims (collectively, the “Abuse Survivor Clients”) according to one of the
following proposed methods:
       a.      Master Ballot Solicitation Method. A Firm may direct the Solicitation Agent to
               serve the Firm with one Solicitation Package and one Master Ballot on which to
               record the votes of all of its Abuse Survivor Clients to accept or reject the Plan (the
               “Master Ballot Solicitation Method”) if the Firm certifies that (a) the Firm shall
               collect and record the votes of its Abuse Survivor Clients through customary and
               accepted practices (i.e., written communication), and that it has authority to cast
               each of its Abuse Survivor Clients’ votes to accept or reject the Plan (subject in
               each case to the requirements that the Firm comply with the voting procedures and
               that each Abuse Survivor Client shall have indicated to the Firm his or her informed
               decision on such vote), or (b) the Firm has the authority under applicable law to


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                    vote to accept or reject the Plan on behalf of its Abuse Survivor Clients (a valid
                    power of attorney or other written documentation may be requested by the Debtors,
                    in their discretion). If it is the Firm’s customary and accepted practice to collect
                    and record authorizations or instructions from its Abuse Survivor Clients by email,
                    telephone, or other standard communication methods, the Firm shall be authorized
                    to follow such customary practices to collect and record the votes of its Abuse
                    Survivor Clients. Each Firm that selects the Master Ballot Solicitation Method shall
                    provide the Disclosure Statement, in hard copy, flash drive, or electronic format, to
                    its Abuse Survivor Clients. Any Firm that elects the Master Ballot Solicitation
                    Method must return the Master Ballot (including the Exhibit) to the Solicitation
                    Agent so that it is received by the Voting Deadline.

          b.        Direct Solicitation Method. A Firm may direct the Solicitation Agent to solicit
                    votes on the Plan directly from each of the Firm’s Abuse Survivor Clients by
                    distributing a Solicitation Package (including a Ballot) directly to each of the Firm’s
                    Abuse Survivor Clients via email addressed to the email address specified on the
                    Firm’s Client List or, where no email address is specified for an Abuse Survivor
                    Client, via U.S. mail at the street address specified on the Firm’s Client List (the
                    “Direct Solicitation Method”).98 Under the Direct Solicitation Method, each Abuse
                    Survivor Client must return his or her completed Ballot to the Solicitation Agent so
                    that it is received by the Voting Deadline. For the avoidance of doubt, the
                    Debtors intend to solicit votes to accept or reject the Plan from each holder of
                    a Direct Abuse Claim who cannot be matched to a Firm or who is not included
                    in any Client List to be solicited via the Direct Solicitation Method.

        If a Firm did not voluntarily return an Abuse Survivor Plan Solicitation Directive to the
Solicitation Agent, or otherwise did not select a solicitation method, the Debtors reserve the right,
subject to Bankruptcy Court authorization, to direct the Solicitation Agent to solicit votes to accept
or reject the Plan from the Firm’s Abuse Survivor Clients according to the Direct Solicitation
Method, using the communication preferences indicated in such Abuse Survivors’ Proofs of
Claim. A Firm may submit a Ballot on behalf of an Abuse Survivor Client, but only to the extent
such Firm has the requisite authority to do so under applicable law and completes a certification
of such authority in the manner set forth herein and on the Ballot that corresponds to such Abuse
Claim (a valid power of attorney may be requested by the Debtors, in their discretion). Each Firm
voting on behalf of more than one Abuse Survivor Client must complete a Master Ballot, which
shall set forth all of the votes cast by such Firm on behalf of all such clients.




98   For the avoidance of doubt, the Debtors shall only cause a Solicitation Package (including a Ballot) to be emailed to holders
     of Direct Abuse Claims who specifically indicated on their filed Sexual Abuse Survivor Proofs of Claim that the Debtors are
     authorized to communicate with these holders regarding their claims via email. Each holder of a Direct Abuse Claim who did
     not specifically authorize email communications on his or her Sexual Abuse Survivor Proof of Claim shall only be served a
     Solicitation Package by U.S. mail.


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       3.      Solicitation Procedures, Ballots, and Voting Deadline

       If you are entitled to vote to accept or reject the Plan, one or more Ballot(s) has been
enclosed in your Solicitation Package for the purpose of voting on the Plan. Please vote and return
your Ballot(s) in accordance with the instructions accompanying your Ballot(s).

        You should carefully review (1) the Plan, (2) this Disclosure Statement, (3) the Solicitation
Procedures Order (including the Solicitation Procedures), (4) the Confirmation Hearing Notice,
and (5) the detailed instructions accompanying your Ballot prior to voting on the Plan.

        After carefully reviewing these materials, including the detailed instructions accompanying
your Ballot(s), please indicate your acceptance or rejection of the Plan by completing the Ballot(s).
All votes to accept or reject the Plan with respect to any Class of Claims entitled to vote on the
Plan must be cast by properly submitting the duly completed and executed form of Ballot
designated for such Class. Holders of Claims or their Firms (as applicable) voting on the Plan
should complete and sign the Ballot(s) in accordance with the instructions thereon, being sure to
check the appropriate box entitled “Accept (vote in favor of) the Plan” or “Reject (vote against)
the Plan.” In addition, if any holder of a Claim elects not to grant the releases contained in Article
X.J.4 of the Plan, then it should check the appropriate box on its Ballot and follow the instructions
contained in the Ballot. Eligible holders of General Unsecured Claims and Direct Abuse Claims
that wish to make the optional elections for Convenience Class treatment or an Expedited
Distribution, as such elections are more fully described herein and in the Plan, must carefully
follow the instructions set forth in their Ballots. In order for your vote to be counted, you must
complete and return your Ballot(s) in accordance with the instructions accompanying your
Ballot(s) on or before the Voting Deadline. Each Ballot has been coded to reflect the Class of
Claims it represents. Accordingly, in voting to accept or reject the Plan, you must use only the
coded Ballot or Ballots sent to you.

        In order for the holder of a Claim in the Voting Class to have such holder’s Ballot
counted as a vote to accept or reject the Plan, such holder’s Ballot must be properly
completed, executed, and delivered by (1) the electronic Ballot submission platform on the
Solicitation Agent’s website (the “E-Ballot Platform”), (2) mail, (3) overnight delivery, or
(4) personal delivery, so that such holder’s Ballot is actually received by the Solicitation
Agent on or before the Voting Deadline, i.e. [November 16], 2021 at 4:00 p.m. (Eastern Time).

        Specifically, each Ballot must be returned through the E-Ballot Platform at (a)
https://omniagentsolutions.com/bsa-SAballots for Direct Abuse Claim Ballots and Master
Ballots or (b) https://omniagentsolutions.com/bsa-ballots for all other Ballots, by mail using
the envelope included in the Solicitation Package, as applicable, or by overnight or personal
delivery to the following address:
                            Boy Scouts of America Ballot Processing
                                   c/o Omni Agent Solutions
                                5955 De Soto Avenue, Suite 100
                                  Woodland Hills, CA 91367




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     YOU ARE HIGHLY ENCOURAGED TO SUBMIT YOUR BALLOT USING THE
E-BALLOT PLATFORM. IF A BALLOT IS RECEIVED AFTER THE VOTING
DEADLINE, IT WILL NOT BE COUNTED UNLESS THE DEBTORS DETERMINE
OTHERWISE.

     ANY BALLOT THAT IS PROPERLY EXECUTED BY THE HOLDER OF A
CLAIM IN THE VOTING CLASSES BUT THAT DOES NOT CLEARLY INDICATE AN
ACCEPTANCE OR REJECTION OF THE PLAN, OR ANY BALLOT THAT INDICATES
BOTH AN ACCEPTANCE AND A REJECTION OF THE PLAN, WILL NOT BE
COUNTED FOR PURPOSES OF ACCEPTING OR REJECTING THE PLAN.

      EACH HOLDER OF A CLAIM IN THE VOTING CLASSES MUST VOTE ALL
OF ITS CLAIMS WITHIN SUCH CLASS EITHER TO ACCEPT OR REJECT THE PLAN
AND MAY NOT SPLIT SUCH VOTES. IF A HOLDER OF A CLAIM SUBMITS MORE
THAN ONE INCONSISTENT BALLOT RECEIVED BY THE SOLICITATION AGENT
ON THE SAME DAY, SUCH BALLOTS WILL NOT BE COUNTED FOR PURPOSES OF
ACCEPTING OR REJECTING THE PLAN.

     IT IS IMPORTANT THAT THE HOLDER OF A CLAIM IN THE VOTING
CLASSES FOLLOW THE SPECIFIC INSTRUCTIONS PROVIDED ON SUCH
HOLDER’S BALLOT AND THE ACCOMPANYING INSTRUCTIONS.

C.     Classes Entitled to Vote on the Plan

        Under the Bankruptcy Code, holders of Claims and Interests are not entitled to vote if their
contractual rights are unimpaired by the proposed plan or if they will receive no property under
the plan. Holders of Claims in Classes 1 and 2 are Unimpaired under the Plan and are, therefore,
conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy
Code. Holders of Interests in Class 10 shall not receive or retain property on account of such
interests and are, therefore, deemed to reject the Plan pursuant to section 1126(g) of the Bankruptcy
Code. Accordingly, no holders of Claims or Interests in such Classes shall be entitled to vote to
accept or reject the Plan.

       Each of Classes Class 3A (2010 Credit Facility Claims), Class 3B (2019 RCF Claims),
Class 4A (2010 Bond Claims), Class 4B (2012 Bond Claims), Class 5 (Convenience Claims),
Class 6 (General Unsecured Claims), Class 7 (Non-Abuse Litigation Claims), Class 8 (Direct
Abuse Claims), and Class 9 (Indirect Abuse Claims) are Impaired and the holders of Claims in
Classes 3A, 3B, 4A, 4B, 5, 6, 7, 8 and 9 are entitled to vote to accept or reject the Plan.

        If your Claim or Interest is not included in the Voting Classes, you are not entitled to vote
and you will not receive a Solicitation Package, including a Ballot setting forth detailed voting
instructions. If your Claim is included in the Voting Classes, you should read your Ballot and
carefully follow the instructions included in the Ballot. Please use only the Ballot or Master Ballot
that accompanies this Disclosure Statement or the Ballot that the Debtors otherwise provided to
you.




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       1.      Holders of Claims Entitled to Vote

        Under section 1124 of the Bankruptcy Code, a class of claims or equity interests is deemed
to be “impaired” under a plan unless (1) the plan leaves unaltered the legal, equitable, and
contractual rights to which such claim or equity interest entitles the holder thereof or
(2) notwithstanding any legal right to an accelerated payment of such claim or equity interest, the
plan (a) cures all existing defaults (other than defaults resulting from the occurrence of events of
bankruptcy or defaults of a kind that do not require cure), (b) reinstates the maturity of such claim
or equity interest as it existed before the default, (c) compensates the holder of such claim or equity
interest for any damages from such holder’s reasonable reliance on such legal right to an
accelerated payment, (d) if such claim or such interest arises from a failure to perform
nonmonetary obligations, other than a default arising from a failure to operate a nonresidential real
property lease, compensates the holder of such claim or such interest (other than the debtor or an
insider) for any actual pecuniary loss incurred by such holder as a result of such failure and (e) does
not otherwise alter the legal, equitable, or contractual rights to which such claim or equity interest
entitles the holder of such claim or equity interest.

        The following table sets forth a simplified summary of which Classes are entitled to vote
on the Plan and which are not and the voting status for each of the separate Classes of Claims and
Interests provided for in the Plan.

     Class                    Claim or Interest                           Entitled to Vote
        1         Other Priority Claims                           No—Presumed to Accept
        2         Other Secured Claims                            No—Presumed to Accept
       3A         2010 Credit Facility Claims                     Yes
       3B         2019 RCF Claims                                 Yes
       4A         2010 Bond Claims                                Yes
       4B         2012 Bond Claims                                Yes
        5         Convenience Claims                              Yes
        6         General Unsecured Claims                        Yes
        7         Non-Abuse Litigation Claims                     Yes
        8         Direct Abuse Claims                             Yes
        9         Indirect Abuse Claims                           Yes
       10         Interests in Delaware BSA                       No—Deemed to Reject


        In accordance with sections 1126 and 1129 of the Bankruptcy Code, the Voting Classes
are Impaired under the Plan and, to the extent Claims in the Voting Classes are deemed Allowed
or subject to the distributions under the Trust Distribution Procedures, the holders of such Claims
will receive distributions under the Plan. As a result, the holders of Claims in each of these Classes
are entitled to vote to accept or reject the Plan.


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       Holders of Claims in Classes 1 and 2 are Unimpaired under the Plan and are, therefore,
conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy
Code. Accordingly, no holders of Claims or Interests in such Classes shall be entitled to vote to
accept or reject the Plan.

        Accordingly, the Debtors are only soliciting votes on the Plan from holders of Claims, in
Classes 3A, 3B, 4A, 4B, 5, 6, 7, 8, and 9. If your Claim or Interest is not included in the Voting
Classes, you are not entitled to vote and you will not receive a Solicitation Package or a Ballot. If
your Claim is included in the Voting Classes, you should read your Ballot and carefully follow the
instructions included in the Ballot. Please use only the Ballot that accompanies this Disclosure
Statement or the Ballot that the Debtors otherwise provided to you.

Holders of Claims under the Plan are deemed to consent to provide the releases contained in
Article X.J.4 of the Plan under the following scenarios: (1) if they vote to accept the Plan and
do not opt out of the release provision of the Plan, (2) if they vote to reject the Plan but do
not opt out of the release provision of the Plan, and (3) with respect to holders of Claims that
are presumed to accept the Plan, except for holders of such Claims that file a timely objection
to the releases set forth in Article X.J.4 of the Plan. Holders of Claims voting to accept or
reject the Plan may check the box on their Ballot to opt out of the releases in Article X.J.4 of
the Plan. Please be advised that the Plan also contains injunction and exculpation provisions,
certain of which are set forth in the Ballot. If the Plan is confirmed by the Bankruptcy Court,
these injunction and exculpation provisions will be binding on holders of Claims whether or
not they elect to opt out of the releases in Article X.J.4 of the Plan by their Ballot. For a full
description of these provisions, see Article VI.Q of this Disclosure Statement and Article X
of the Plan, which sets forth the terms of each of these provisions.

        If you have filed a Proof of Claim that is subject to an objection, other than a “reclassify”
or “reduce and allow” objection, that is filed with the Bankruptcy Court on or before the
Solicitation Date (a “Disputed Claim”), you are not entitled to vote on the Plan. If you seek to
challenge the disallowance or estimation of your Disputed Claim for voting purposes, you must
file with the Bankruptcy Court a motion for an order, pursuant to Bankruptcy Rule 3018(a),
temporarily allowing such Claim for purposes of voting to accept or reject the Plan (a “Rule
3018(a) Motion”). As set forth in the Confirmation Hearing Notice and the Solicitation
Procedures, any Rule 3018(a) Motion shall be filed with the Bankruptcy Court and served
on the Debtors on or before [October 19], 2021. If a holder of a Disputed Claim files a timely
Rule 3018(a) Motion, such holder’s Ballot shall not be counted unless a Resolution Event
occurs with respect to such Disputed Claim on or prior to [November 16], 2021 or as
otherwise ordered by the Bankruptcy Court. For the avoidance of doubt, any Claim that is
subject to an objection other than a “reclassify” or “reduce and allow” objection that is filed with
the Bankruptcy Court after the Solicitation Date shall be deemed temporarily allowed solely for
voting purposes in accordance with the Solicitation Procedures, without further action by the
Debtors or the holder of the Claim, and without further order of the Bankruptcy Court, unless the
Debtors and claimant agree to other treatment for voting purposes or the Bankruptcy Court orders
otherwise.

        A vote on the Plan may be disregarded if the Bankruptcy Court determines, pursuant to
section 1126(e) of the Bankruptcy Code, that it was not solicited or procured in good faith or in

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accordance with the provisions of the Bankruptcy Code. The Solicitation Procedures also set forth
assumptions and procedures for determining the amount of Claims that each creditor is entitled to
vote in these Chapter 11 Cases and how votes will be counted under various scenarios.

        Your vote on the Plan is important. The Bankruptcy Code requires as a condition to
confirmation of a plan of reorganization that each class that is impaired and entitled to vote under
a plan votes to accept such plan, unless the plan is being confirmed under the “cramdown”
provisions of section 1129(b) of the Bankruptcy Code. Section 1129(b) permits confirmation of a
plan of reorganization, notwithstanding the nonacceptance of the plan by one or more impaired
classes of claims or equity interests, so long as at least one impaired class of claims or interests
votes to accept a proposed plan. Under that section, a plan may be confirmed by a bankruptcy
court if it does not “discriminate unfairly” and is “fair and equitable” with respect to each
nonaccepting class.

D.     Certain Factors to Be Considered Prior to Voting

       There are a variety of factors that all holders of Interests entitled to vote on the Plan should
consider prior to voting to accept or reject the Plan. These factors, which may impact recoveries
under the Plan, include the following:

       1.      unless otherwise specifically indicated, the financial information contained in this
               Disclosure Statement has not been audited and is based on an analysis of data
               available at the time of the preparation of the Plan and this Disclosure Statement;

       2.      although the Debtors believe that the Plan complies with all applicable provisions
               of the Bankruptcy Code, the Debtors can neither assure such compliance nor that
               the Bankruptcy Court will confirm the Plan;

       3.      the Debtors may request Confirmation without the acceptance of all Impaired
               Classes entitled to vote in accordance with section 1129(b) of the Bankruptcy Code;
               and

       4.      any delays of either Confirmation or the occurrence of the Effective Date could
               result in, among other things, increased Administrative Expense Claims and
               Professional Fee Claims.

        Additionally, the Plan may be modified to include one or more settlements pursuant
to Bankruptcy Rule 9019 to resolve any unresolved controversies, including but not limited
to those described in this Disclosure Statement. While these factors, including the incorporation
of any settlements, could affect distributions available to holders of Allowed Claims or Abuse
Claims under the Plan, the occurrence or impact of such factors will not necessarily affect the
validity of the vote of the Voting Classes or necessarily require a re-solicitation of the votes of
holders of Claims in the Voting Classes.

      For a further discussion of risk factors, please refer to Article X of this Disclosure
Statement, entitled “Risk Factors.”




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                 ARTICLE IX. CONFIRMATION PROCEDURES

A.     Hearing on Plan Confirmation

        Under section 1128(a) of the Bankruptcy Code, the Bankruptcy Court, after notice, shall
hold a hearing to confirm a plan of reorganization. The Confirmation Hearing pursuant to section
1128 of the Bankruptcy Code will be held on [December 9], 2021, before the Honorable Laurie
Selber Silverstein, United States Bankruptcy Judge for the District of Delaware, in the United
States Bankruptcy Court for the District of Delaware, located at 824 North Market Street, 6th
Floor, Wilmington, Delaware. The Confirmation Hearing may be continued from time to time
without further notice other than an adjournment announced in open court or a notice of
adjournment filed with the Bankruptcy Court and served on those parties who have requested
notice under Bankruptcy Rule 2002 and the Entities who have filed an objection to the Plan, if
any, without further notice to parties in interest. The Bankruptcy Court, in its discretion and prior
to the Confirmation Hearing, may put in place additional procedures governing the Confirmation
Hearing. Subject to section 1127 of the Bankruptcy Code, the Plan may be modified, if necessary,
prior to, during, or as a result of the Confirmation Hearing, without further notice to parties in
interest.

        Additionally, section 1128(b) of the Bankruptcy Code provides that any party in interest
may object to Confirmation. Any objection to Confirmation of the Plan must: (i) be made in
writing; (ii) state the name and address of the objecting party and the nature and amount of the
Claim or Interest of such party; (iii) state with particularity the legal and factual basis and nature
of any objection to the Plan and include any evidentiary support therefor; and (iv) be filed with the
Bankruptcy Court, 824 North Market Street, Third Floor, Wilmington, Delaware 19801 together
with proof of service on or before the Plan Objection Deadline ([November 23], 2021 at 4:00
p.m. (Eastern Time)), and served so as to be actually received by the notice parties set forth in
the Confirmation Hearing Notice before the Plan Objection Deadline, which service may be
through the CM/ECF system, with courtesy copies by email.

B.     Requirements for Confirmation of the Plan

       The Bankruptcy Court will confirm the Plan only if all of the requirements of section 1129
of the Bankruptcy Code are met. Among the requirements for confirmation are that the Plan is
(A) accepted by all impaired Classes of Claims and Interests entitled to vote or, if rejected or
deemed rejected by an impaired Class, that the Plan “does not discriminate unfairly” and is “fair
and equitable” as to such Class; (B) in the “best interests” of the holders of Claims and Interests
impaired under the Plan; and (C) feasible.

C.     Acceptance by an Impaired Class

        The Bankruptcy Code requires, as a condition to confirmation, that each class of claims or
interests that is impaired under a plan of reorganization, accept the plan. A class that is not
“impaired” under a plan is deemed to have accepted the plan and, therefore, solicitation of
acceptances with respect to such class is not required. As stated above, the Voting Classes are
Impaired Classes and are comprised of the holders of Claims in Class 3A, Class 3B, Class 4A,
Class 4B, Class 5, Class 6, Class 7, Class 8, and Class 9. Section 1126(c) of the Bankruptcy Code


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defines acceptance of a plan by a class of impaired claims as an affirmative vote of more than one-
half in number of total allowed claims in such class that have voted and an affirmative vote of at
least two-thirds in dollar amount of the total allowed claims in such class that have voted. Thus,
the Voting Classes described herein will have voted to accept the Plan only if one-half of the
holders of Allowed Claims and Abuse Claims, as applicable, with at least two-thirds of the total
dollar amount of the Allowed Claims and Abuse Claims, as applicable, vote on the Plan to accept.

     AS EXPLAINED IN ARTICLE VI.G OF THIS DISCLOSURE STATEMENT, THE
BANKRUPTCY CODE CONTAINS PROVISIONS FOR CONFIRMATION OF A PLAN
EVEN IF IT IS NOT ACCEPTED BY ALL CLASSES.         THESE SO-CALLED
“CRAMDOWN” PROVISIONS ARE SET FORTH IN SECTION 1129(b) OF THE
BANKRUPTCY CODE, WHICH PROVIDES THAT A PLAN OF REORGANIZATION
CAN BE CONFIRMED EVEN IF IT HAS NOT BEEN ACCEPTED BY ALL IMPAIRED
CLASSES OF CLAIMS AND INTERESTS AS LONG AS AT LEAST ONE IMPAIRED
CLASS OF NON-INSIDER CLAIMS HAS VOTED TO ACCEPT THE PLAN.

D.        Best Interests of Creditors / Liquidation Analysis

        Section 1112(c) of the Bankruptcy Code provides that non-profit Entities such as the
Debtors, cannot have their chapter 11 cases converted into chapter 7 cases involuntarily.99 A
liquidation under chapter 7 of the Bankruptcy Code is—unlike in the context of for-profit
debtors—a path that can be chosen only by the non-profit debtor. Because the Chapter 11 Cases
could not be involuntarily converted to a chapter 7 liquidation, the Debtors submit they are not
required to satisfy the requirements of section 1129(a)(7) in connection with Confirmation of the
Plan.

        Although the Debtors do not believe they are required to satisfy the “best interests of
creditors” test embodied in section 1129(a)(7), the Debtors do believe a liquidation analysis will
be helpful to holders of Claims as they evaluate their proposed treatment under the Plan.
Accordingly, the Debtors are providing the Liquidation Analysis attached as Exhibit D hereto.

       Exhibit D to the Disclosure Statement contains three sets of analyses. The first section
contains the Liquidation Analysis applicable to the Debtors and Related Non-Debtor Entities. The
second section provides a similar analysis in relation to the Local Councils. Although the Debtors
do not believe they are required to satisfy the best-interests test as it relates to the Local Councils,
the Debtors have consented to including this analysis.

       The Debtors’ submission of the Liquidation Analysis shall not be construed as or deemed
to constitute a waiver or admission of any kind. The Debtors reserve all rights to oppose the
applicability of the best interests test in the Chapter 11 Cases.

        The Liquidation Analysis considers whether holders of Impaired Claims will receive or
retain under the Plan property of a value, as of the Effective Date, that is not less than the value
such Holder would receive if the Debtors were liquidated under chapter 7 of the Bankruptcy Code.

99   11 U.S.C. § 1112(c) (“The court may not convert a case under [chapter 11] to a case under chapter 7 of this title if the debtor
     is a farmer or a corporation that is not a moneyed, business, or commercial corporation, unless the debtor requests such
     conversion.”).


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Nine Classes of Impaired Claims, Class 3A (2010 Credit Facility Claims), Class 3B (2019 RCF
Claims), Class 4A (2010 Bond Claims), Class 4B (2012 Bond Claims), Class 5 (Convenience
Claims), Class 6 (General Unsecured Claims), Class 7 (Non-Abuse Litigation Claims), Class 8
(Direct Abuse Claims), and Class 9 (Indirect Abuse Claims), are Impaired under the Plan.

        To calculate the probable distribution to holders of each Impaired Class of Claims and
interests if the Debtors were liquidated under chapter 7, the Bankruptcy Court must first determine
the aggregate dollar amount that would be generated from the Debtors’ assets if the Debtors were
in cases under chapter 7 of the Bankruptcy Code. This “liquidation value” would consist primarily
of the proceeds from a sale of the Debtors’ assets by a chapter 7 trustee.

        The amount of liquidation value available to unsecured creditors and interest holders would
be reduced by the Claims of any Secured creditors to the extent of the value of their collateral, by
the costs and expenses of liquidation, and by other administrative expenses and costs of both the
chapter 7 cases and the Chapter 11 Cases. Costs of liquidation under chapter 7 of the Bankruptcy
Code would include the compensation of a trustee, as well as of counsel and other professionals
retained by the trustee, asset disposition expenses, all unpaid expenses incurred by the Debtors in
the Chapter 11 Cases (such as compensation of attorneys, financial advisors, and accountants) that
are allowed in the chapter 7 cases, litigation costs, and any Claims arising from the operations of
the Debtors during the pendency of the Chapter 11 Cases.

        Once the Bankruptcy Court ascertains the recoveries in liquidation of Secured creditors
and priority claimants, if any, it must determine the probable distribution to general unsecured
creditors and equity security holders from the remaining available proceeds in liquidation. If such
probable distribution has a value greater than the distributions to be received by such creditors and
equity security holders under the plan, then the plan is not in the best interests of creditors and
equity security holders.

        Nine Classes of Impaired Claims, Class 3A (2010 Credit Facility Claims), Class 3B (2019
RCF Claims), Class 4A (2010 Bond Claims), Class 4B (2012 Bond Claims), Class 5 (Convenience
Claims), Class 6 (General Unsecured Claims), Class 7 (Non-Abuse Litigation Claims), Class 8
(Direct Abuse Claims), and Class 9 (Indirect Abuse Claims), are Impaired under the Plan. If the
Debtors were liquidated under chapter 7 of the Bankruptcy Code, holders of Convenience Claims
(Class 5), General Unsecured Claims (Class 6), and Abuse Claims (Classes 8 and 9) would receive
lesser distributions than under the Plan, as explained in detail in the Liquidation Analysis. In
addition, holders of Claims in all other Classes will receive at least as much under the Plan as they
would in a liquidation and, moreover, the Plan provides much more certain, efficient, and timely
recoveries to holders of these Claims.

        The following chart reflects the estimated recoveries under a hypothetical chapter 7
liquidation as compared to the recoveries under the Plan:




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  Class              Designation100         Estimated Amount101 and    Estimated Recovery in
                                       Approximate Percentage Recovery       Chapter 7
      1           Other Priority Claims Estimated Allowed Amount: Less Estimated Allowed
                                        than $0.1 million              Amount: $0.1 million

                                                 Estimated Percentage Recovery:                     Estimated Percentage
                                                 100%                                               Recovery: 100%
      2           Other Secured                  Estimated Amount: $0                               Estimated Amount: $1.1
                  Claims                                                                            billion 102
                                                 Estimated Percentage Recovery:
                                                 100%                                               Estimated Percentage
                                                                                                    Recovery: 100%
      3A          2010 Credit Facility           Estimated Amount: $80,762,060                      Estimated Amount:
                  Claims                                                                            $80,762,060
                                                 Estimated Percentage Recovery:
                                                 100%                                               Estimated Percentage
                                                                                                    Recovery: 100%
      3B          2019 RCF Claims                Estimated Amount: $61,542,720                      Estimated Amount:
                                                                                                    $61,542,720
                                                 Estimated Percentage Recovery:
                                                 100%                                               Estimated Percentage
                                                                                                    Recovery: 100%
      4A          2010 Bond Claims               Estimated Amount: $40,137,274                      Estimated Amount:
                                                                                                    $40,137,274
                                                 Estimated Percentage Recovery:
                                                 100%                                               Estimated Percentage
                                                                                                    Recovery: 100%
      4B          2012 Bond Claims               Estimated Amount: $145,662,101                     Estimated Amount:
                                                                                                    $145,662,101
                                                 Estimated Percentage Recovery:
                                                 100%                                               Estimated Percentage
                                                                                                    Recovery: 100%
      5           Convenience Claims             Estimated Amount: $2.3 million –                   Claims are included in
                                                 $2.9 million                                       General Unsecured
                                                                                                    Claims in Class 6

100       The Debtors reserve the right to eliminate any Class of Claims in the event they determine that there are no Claims in such
          Class.
101       Figures with respect to the Allowed amounts of the Claims set forth in this chart are based upon the Debtors’ best estimates
          of such Claims as of the date of this Disclosure Statement. These estimates are based on various assumptions. The actual
          amounts of Allowed Claims may differ significantly from these estimates should one or more underlying assumptions prove
          to be incorrect. Such differences may adversely affect the percentage of recovery to holders of Allowed Claims under the
          Plan. Moreover, the estimated recoveries set forth herein are necessarily based on certain assumptions, the realization of
          which are beyond the Debtors’ control.
102       Represents the PBGC claim related to pension termination, a portion of which is assumed to be asserted as a secured claim
          against each and every member of the controlled group not currently in bankruptcy and result in a full recovery against both
          the secured and unsecured portion.


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  Class              Designation100                  Estimated Amount101 and       Estimated Recovery in
                                                Approximate Percentage Recovery          Chapter 7
                                                 Estimated Percentage Recovery:
                                                 100%
      6           General Unsecured              Estimated Amount: $26.5 million – Estimated Amount:
                  Claims                         $33.5 million                     $3.16 million

                                                 Estimated Percentage Recovery:                     Estimated Percentage
                                                 75 – 95%                                           Recovery: 8 – 21%
      7           Non-Abuse                      Estimated Amount:                                  Estimated Amount:
                  Litigation Claims              Undetermined103                                    Undetermined

                                                 Estimated Percentage Recovery:                     Estimated Percentage
                                                 100%                                               Recovery: 100%
      8           Direct Abuse                   Estimated Amount: $2.4 billion –                   Estimated Amount: $2.4
                  Claims104                      $7.1 billion                                       billion – $7.1 billion

                                                 Estimated Percentage Recovery at                   Estimated Percentage
                                                 $7.1 billion:                                      Recovery at $7.1 billion:
                                                 10 – 25% plus additional insurance                 5 – 6%107
                                                 rights, expected to yield up to
                                                 100% recovery105                                   Estimated Percentage
                                                                                                    Recovery at $2.4 billion:
                                                 Estimated Percentage Recovery at                   15 – 16%107
                                                 $2.4 billion:
                                                 31 – 73% plus additional insurance
                                                 rights, expected to yield up to
                                                 100% recovery105



103       This class is comprised of approximately fifty-five (55) wrongful death or personal injury claims as well as seven (7) other
          litigation claims. None of these claims have been liquidated.
104       Under the Plan, “Direct Abuse Claim” means an Abuse Claim that is not an Indirect Abuse Claim.
105       The following calculation was used to determine the percentage recovery range under the Plan: ($219 million (BSA Settlement
          Contribution) plus $500 million (Local Counsel Contribution) plus $100 million (DST Note) plus Hartford Settlement
          Contribution minus the Hartford Administrative Expense Claim ($785 million) plus TCJC Settlement Contribution ($250
          million)) divided by $2.4 billion - $7.1 billion (Estimated Abuse Claims Range). The recovery percentages are net of assumed
          cost to operate the Settlement Trust. Costs are estimated between 6 and 10% of total assets with costs expected to be at the
          high end of the range in a smaller trust and at or below the lower end of the range in a larger trust under the Plan. The low
          end of the recovery range excludes both the Hartford and TCJC Settlement Contributions as some parties may object to the
          settlement amount and/or how the settlement amount is distributed to holders of Abuse Claims, thereby rendering these
          amounts unavailable to some or all creditors.
107       Recoveries in a hypothetical chapter 7 liquidation include the Hartford Administrative Expense Claim and Additional Hartford
          Administrative Claim (as defined in the Hartford Insurance Settlement Agreement) but do not include recoveries on BSA’s
          Insurance Policies as such recoveries are uncertain and are expected to be lower in a liquidation due to the difficulty of
          obtaining insurance recoveries in such a scenario because, in large part, many of the BSA’s Insurance Policies are subject to
          the rights of co-insured, non-Debtors, including Local Councils, under those policies and because obtaining recoveries would
          likely require significant litigation.


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  Class              Designation100                   Estimated Amount101 and    Estimated Recovery in
                                                 Approximate Percentage Recovery      Chapter 7
                                                  Under the Expedited
                                                  Distribution:106
                                                  Estimated Amount: $3,500.00
      9           Indirect Abuse                  Estimated Amount: Unknown109                         Estimated Amount:
                  Claims108                                                                            Unknown
                                                   Estimated Percentage Recovery at
                                                   $7.1 billion:                                       Estimated Percentage
                                                   10 – 25% plus additional insurance                  Recovery: Unknown
                                                   rights, expected to yield up to
                                                   100% recovery

                                        Estimated Percentage Recovery at
                                        $2.4 billion:
                                        31 – 73% plus additional insurance
                                        rights, expected to yield up to
                                        100% recovery
      10          Interests in Delaware Estimated Amount: N/A              Estimated Amount: N/A
                  BSA
                                        Estimated Percentage Recovery: 0% Estimated Percentage
                                                                           Recovery: 0%




106       Pursuant to Article III.B.10 of the Plan, each holder of a properly completed non-duplicative proof of claim asserting a Direct
          Abuse Claim who filed such Claim by the Bar Date or was permitted by a Final Order of the Bankruptcy Court to file a late
          claim may elect on his or her Ballot to receive an Expedited Distribution, in exchange for a full and final release in favor of
          the Debtors, the Related Non-Debtor Entities, the Local Councils, Contributing Chartered Organizations, and the Settling
          Insurance Companies. Under the Plan, “Expedited Distribution” means a one-time Cash payment from the Settlement Trust
          in the amount of $3,500.00, conditioned upon satisfaction of the criteria set forth in the Trust Distribution Procedures.
108       Under the Plan, “Indirect Abuse Claim” means a liquidated or unliquidated Abuse Claim for contribution, indemnity,
          reimbursement, or subrogation, whether contractual or implied by law (as those terms are defined by the applicable non-
          bankruptcy law of the relevant jurisdiction), and any other derivative Abuse Claim of any kind whatsoever, whether in the
          nature of or sounding in contract, tort, warranty or any other theory of law or equity whatsoever, including any indemnification,
          reimbursement, hold-harmless or other payment obligation provided for under any prepetition settlement, insurance policy,
          program agreement or contract.
109       The Debtors are unable to estimate with certainty the recovery amount for Indirect Abuse Claims under the Plan and
          hypothetical chapter 7 liquidation since they are unliquidated and contingent and subject to objection under section 502(e) of
          the Bankruptcy Code. However, to the extent the Indirect Abuse Claims become liquidated in the future, Indirect Abuse
          Claimants have the ability, pursuant to the Plan, to bring a claim for reconsideration under section 502(j) of the Bankruptcy
          Code and may be able to recover, on account of such claim, against the Settlement Trust Assets. Pursuant to the Trust
          Distribution Procedures, recoveries on account of Indirect Abuse Claims that are liquidated, non-contingent, and meet the
          criteria set forth in the Trust Distribution Procedures shall be subject to the same liquidation and payment procedures as the
          Settlement Trust would have afforded the holders of the underlying valid Direct Abuse Claims as liquidated under the Trust
          Distribution Procedures. The Bates White estimated range of $2.4 billion to $7.1 billion estimates the value of Abuse Claims,
          which would include Indirect Abuse Claims, to the extent viable.


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E.         Feasibility

        The Bankruptcy Code requires that a debtor demonstrate that confirmation of a plan of
reorganization is not likely to be followed by liquidation or the need for further financial
reorganization. For purposes of determining whether the Plan meets this requirement, the Debtors
have analyzed their ability to meet obligations under the Plan. The Debtors, with the assistance of
their advisors, have prepared projections for the calendar years 2021 through 2025, including
management’s assumptions related thereto, attached hereto as Exhibit E (the “Financial
Projections”). The Financial Projections assume that the Plan will be implemented in accordance
with its stated terms. The Debtors are unaware of any circumstances as of the date of this
Disclosure Statement that would require the re-forecasting of the Financial Projections due to a
material change in the Debtors’ prospects so long as the Effective Date occurs before December
31, 2021. As reflected in the Financial Projections, the Debtors anticipate that they will timely
meet all of their collective obligations and will be financially viable after Confirmation of the Plan.
Accordingly, the Debtors believe that Confirmation is not likely to be followed by liquidation or
the need for further reorganization.

F.         Conditions Precedent to Confirmation of the Plan

       Confirmation of the Plan shall not occur unless the following conditions precedent have
been satisfied, or are otherwise waived, in accordance with Article IX.C of the Plan:

       1.     The Bankruptcy Court shall have entered the Disclosure Statement Order, in form
and substance reasonably acceptable to the Debtors, the Ad Hoc Committee, the Coalition, the
Future Claimants’ Representative, Hartford, the Creditors’ Committee, and JPM;

       2.     The Debtors, the Ad Hoc Committee, the Coalition, the Future Claimants’
Representative, and Hartford shall have approved of or accepted the Confirmation Order, and the
Creditors’ Committee, and JPM shall have approved of or accepted the Confirmation Order in
accordance with their respective consent rights under the JPM / Creditors’ Committee Term Sheet
incorporated by reference in Article I.D of the Plan;

       3.      The Bankruptcy Court shall have made such findings and determinations regarding
the Plan as shall enable the entry of the Confirmation Order and any other order in conjunction
therewith, in form and in form and substance acceptable to the Debtors, in accordance with the
requirements of the JPM / Creditors’ Committee Term Sheet.110 These findings and
determinations are designed, among other things, to ensure that the Injunctions, Releases and




110   The findings and determinations set forth in Article IX.A.3.j, Article IX.A.3.p, Article IX.A.3.q, Article IX.A.3.r and Article
      IX.A.3.s of the Plan shall not be binding on Hartford to the extent that Hartford is a Settling Insurance Company and the
      transactions contemplated in the Hartford Insurance Settlement Agreement, including the release of the Hartford Settlement
      Contribution to the Settlement Trust, are fully consummated. Hartford’s agreement in the Hartford Insurance Settlement
      Agreement not to object to entry of such findings and determinations in the Confirmation Order does not indicate Hartford’s
      support for such findings and determinations, and no party shall argue that Hartford agreed to or acquiesced in such findings
      and determinations in any proceeding. Rather, Hartford is designated as a Settling Insurance Company and Protected Party
      under the Plan, and as a result, Hartford takes no position on such findings and determinations or on the Trust Distribution
      Procedures.


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Discharges set forth in Article X of the Plan shall be effective, binding and enforceable and shall,
among other things, provide that:

               a.      the Plan complies with all applicable provisions of the Bankruptcy Code,
                       including that the Plan was proposed in good faith and that the Confirmation
                       Order was not be procured by fraud;

               b.      the Channeling Injunction and the Insurance Entity Injunction are to be
                       implemented in connection with the Settlement Trust and shall be in full
                       force and effect on the Effective Date;

               c.      upon the Effective Date, the Settlement Trust shall assume the liabilities of
                       the Protected Parties with respect to Abuse Claims and the liabilities of the
                       Limited Protected Parties with respect to Post-1975 Chartered Organization
                       Abuse Claims and have exclusive authority as of the Effective Date to
                       satisfy or defend such Abuse Claims;

               d.      the Settlement Trust will be funded with the Settlement Trust Assets;

               e.      the Settlement Trust will use the Settlement Trust Assets to resolve Abuse
                       Claims;

               f.      the terms of the Discharge Injunction, the Channeling Injunction, the
                       Release Injunction, and the Insurance Entity Injunction, including any
                       provisions barring actions against third parties, are set out in conspicuous
                       language in the Plan and in the Disclosure Statement;

               g.      the Future Claimants’ Representative was appointed by the Bankruptcy
                       Court as part of the proceedings leading to the issuance of the Channeling
                       Injunction and the Insurance Entity Injunction for the purpose of, among
                       other things, protecting the rights of persons who might subsequently assert
                       Abuse Claims of the kind that are addressed in the Channeling Injunction
                       and the Insurance Entity Injunction, which will be transferred to and
                       assumed by the Settlement Trust;

               h.      the Plan complies with section 105(a) of the Bankruptcy Code to the extent
                       applicable;

               i.      the Injunctions are essential to the Plan and the Debtors’ reorganization
                       efforts;

               j.      the Insurance Assignment is authorized as provided in the Plan,
                       notwithstanding any terms of any policies or provisions of non-bankruptcy
                       law that is argued to prohibit the delegation, assignment, or other transfer
                       of such rights, and the Settlement Trust (i) is a proper defendant for Abuse
                       Claims to assert the liability of the Protected Parties to trigger such
                       insurance rights and (ii) is a proper defendant for Post-1975 Chartered



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        Organization Abuse Claims to assert the liability of the Limited Protected
        Parties to trigger such insurance rights;

   k.   the Insurance Settlement Agreements are approved, and any Insurance
        Company that has contributed funds, proceeds or other consideration to or
        for the benefit of the Settlement Trust pursuant to an Insurance Settlement
        Agreement is designated as a Settling Insurance Company;

   l.   the Abuse Claims Settlement represents a sound exercise of the Debtors’
        business judgment, is in the best interest of the Debtors’ Estates, complies
        with section 1123 of the Bankruptcy Code, and is approved pursuant to
        section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019;

   m.   the JPM / Creditors’ Committee Settlement represents a sound exercise of
        the Debtors’ business judgment, is in the best interest of the Debtors’
        Estates, complies with section 1123 of the Bankruptcy Code, and is
        approved pursuant to section 1123 of the Bankruptcy Code and Bankruptcy
        Rule 9019;

   n.   the Settlement of Restricted and Core Asset Disputes represents a sound
        exercise of the Debtors’ business judgment, is in the best interest of the
        Debtors’ Estates, complies with section 1123 of the Bankruptcy Code, and
        is approved pursuant to section 1123 of the Bankruptcy Code and
        Bankruptcy Rule 9019;

   o.   the Hartford Insurance Settlement, including the sale of the Hartford
        Policies free and clear of all Interests of any Person or Entity (as such terms
        are defined in the Hartford Insurance Settlement Agreement) and the
        Allowance of the Hartford Administrative Expense Claim is approved in
        accordance with sections 363, 503(b), 507(a)(2), 1123 and 1141 of the
        Bankruptcy Code, Bankruptcy Rule 9019, and the findings of fact and
        conclusions of law made by the Bankruptcy Court pursuant to Article V.S.4
        of the Plan;

   p.   the TCJC Settlement is approved in accordance with findings of fact and
        conclusions of law made by the Bankruptcy Court pursuant to Article V.S.5
        of the Plan;

   q.   the Plan, the Plan Documents, and the Confirmation Order shall be binding
        on all parties in interest;

   r.   (i) the procedures included in the Trust Distribution Procedures pertaining
        to the allowance of Abuse Claims and (ii) the criteria included in the Trust
        Distribution Procedures pertaining to the calculation of the Allowed Claim
        Amounts, including the Trust Distribution Procedures’ Claims Matrix, Base
        Matrix Values, Maximum Matrix Values, and Scaling Factors (each as
        defined in the Trust Distribution Procedures), are fair and reasonable based
        on the evidentiary record offered to the Bankruptcy Court;

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               s.     the right to payment that the holder of an Abuse Claim has against the
                      Debtors or another Protected Party or a Limited Protected Party is the
                      allowed value of such Abuse Claim as liquidated in accordance with the
                      Trust Distribution Procedures and is not (i) the initial or supplemental
                      payment percentages established under the Trust Distribution Procedures to
                      make distributions to holders of allowed Abuse Claims or (ii) the
                      contributions made by the Debtors or any Protected Party to the Settlement
                      Trust; and

               t.     the Plan and the Trust Distribution Procedures were proposed in good faith
                      and are sufficient to satisfy the requirements of section 1129(a)(3) of the
                      Bankruptcy Code.

G.     Conditions Precedent to the Effective Date

       The Effective Date of the Plan shall not occur unless the following conditions precedent
have been satisfied or waived in accordance with Article IX.C of the Plan:

       1.      (a) the Confirmation Order shall have been submitted to the District Court for
               affirmation; (b) the District Court shall have entered the Affirmation Order in form
               and substance acceptable to (i) the Debtors, the Ad Hoc Committee, the Coalition,
               the Future Claimants’ Representative and Hartford and (ii) the Creditors’
               Committee and JPM, consistent with the JPM / Creditors’ Committee Term Sheet;
               (c) at least fifteen (15) days shall have passed following entry of the Confirmation
               Order and the Affirmation Order; (d) no court shall have entered an order staying
               the occurrence of the Effective Date pending an appeal of the Confirmation Order
               or the Affirmation Order; and (e) no request for a stay of the occurrence of the
               Effective Date shall be pending;

       2.      the Settlement Trust Assets shall, simultaneously with the occurrence of the
               Effective Date or as otherwise provided herein, be transferred to, vested in, and
               assumed by the Settlement Trust in accordance with Article IV and Article V of the
               Plan;

       3.      the Settlement Trust Documents and other applicable Plan Documents necessary or
               appropriate to implement the Plan shall have been executed, delivered and if
               applicable, filed with the appropriate governmental authorities in compliance with
               the JPM / Creditors’ Committee Term Sheet;

       4.      the Restated Debt and Security Documents shall have been duly executed and
               delivered by all of the Entities that are parties thereto and all conditions precedent
               (other than any conditions related to the occurrence of the Effective Date) to the
               effectiveness thereof shall have been satisfied or duly waived in writing in
               accordance with the terms of the Restated Debt and Security Documents, the
               closing shall have occurred thereunder, and Reorganized BSA shall have paid the
               JPM Exit Fee to JPM;



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       5.       the Foundation Loan Agreement and any applicable collateral and other loan
                documents governing the Foundation Loan shall have been duly executed and
                delivered by all of the Entities that are parties thereto and all conditions precedent
                (other than any conditions related to the occurrence of the Effective Date) to the
                effectiveness thereof shall have been satisfied or duly waived in writing in
                accordance with the terms of the Foundation Loan Agreement and related
                documentation, and the closing shall have occurred thereunder;

       6.       the Debtors shall have adequately funded the Professional Fee Reserve so as to
                permit the Debtors to make Distributions on account of Allowed Professional Fee
                Claims in accordance with Article II of the Plan;

       7.       the Debtors shall have obtained all authorizations, consents, certifications,
                approvals, rulings, opinions or other documents that are necessary to implement
                and effectuate the Plan;

       8.       all payments required to be made pursuant to the terms of the Cash Collateral Order
                shall have been paid;

       9.       all actions, documents, and agreements necessary to implement and effectuate the
                Plan shall have been effected or executed;

       10.      the transactions to be implemented on the Effective Date shall be materially
                consistent with the Plan Documents and the JPM / Creditors’ Committee Term
                Sheet; and

       11.      the Debtors shall have filed a notice of occurrence of the Effective Date.

H.     Waiver of Conditions Precedent

        To the fullest extent permitted by law, each of the conditions precedent in Article IX of the
Plan may be waived or modified, in whole or in part, in the sole discretion of the Debtors; provided,
however, that (1) the Creditors’ Committee’s consent (not to be unreasonably withheld) is required
to the extent any such waiver or modification by the Debtors impacts the treatment of General
Unsecured Claims, Non-Abuse Litigation Claims, or Convenience Claims; (2) the conditions
precedent set forth in Article IX.B.4 and Article IX.B.8 may be waived or modified by the Debtors
only with the prior written consent of JPM; (3) the condition precedent set forth in Article IX.A.3.o
of the Plan may be waived or modified by the Debtors only with the prior written consent of
Hartford; (4) the condition precedent set forth in Article IX.A.3.p of the Plan may be waived or
modified by the Debtors only with the prior written consent of TCJC; (5) for Article IX.A.3.j,
Article IX.A.3.p, Article IX.A.3.r, Article IX.A.3.s, Article IX.A.3.t of the Plan, and any waiver
or modification that impacts the treatment of Abuse Claims, the prior written consent of the
Coalition and the Future Claimants’ Representative shall be required as a condition to waiver or
modification by the Debtors; and (6) the conditions precedent in Article IX.B.1 and Article IX.B.6
of the Plan may be waived or modified by the Debtors only with the prior written consent of the
Ad Hoc Committee, the Coalition and the Future Claimants’ Representative. Any waiver or
modification of a condition precedent under Article IX of the Plan may be effectuated at any time,
without notice, without leave or order of the Bankruptcy Court or the District Court, and without

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any other formal action other than proceedings to Confirm or consummate the Plan. The failure
to satisfy or waive any condition precedent to the Effective Date may be asserted by the Ad Hoc
Committee, the Coalition, the Future Claimants’ Representative, Hartford, the Creditors’
Committee or JPM regardless of the circumstances giving rise to the failure of such condition to
be satisfied or waived.

I.     Substantial Consummation of the Plan

       On the Effective Date, the Plan shall be deemed to substantially consummated under
sections 1101 and 1127(b) of the Bankruptcy Code.

J.     Vacatur of Confirmation Order; Non-Occurrence of Effective Date

         If the Confirmation Order is vacated or the Effective Date does not occur within 180 days
after entry of the Confirmation Order (subject to extension by the Debtors in their sole discretion),
the Plan shall be null and void in all respects and nothing contained in the Plan or this Disclosure
Statement shall (1) constitute a waiver or release of any Causes of Action by or Claims against or
Interests in the Debtors or any Person; (2) prejudice in any manner the rights of the Debtors, any
holders of a Claim or Interest or any other Person; (3) constitute an admission, acknowledgment,
offer, or undertaking by the Debtors, any holders of a Claim or Interest, or any other Person in any
respect; or (4) be used by the Debtors or any other Person as evidence (or in any other way) in any
litigation, including with respect to the strengths and weaknesses of positions, arguments or claims
of any of the parties to such litigation.

                             ARTICLE X. RISK FACTORS

     HOLDERS OF CLAIMS AGAINST THE DEBTORS SHOULD READ AND
CONSIDER CAREFULLY THE FACTORS SET FORTH BELOW, AS WELL AS THE
OTHER INFORMATION SET FORTH IN THIS DISCLOSURE STATEMENT AND THE
DOCUMENTS DELIVERED TOGETHER HEREWITH OR INCORPORATED BY
REFERENCE, PRIOR TO VOTING TO ACCEPT OR REJECT THE PLAN. THESE
FACTORS SHOULD NOT, HOWEVER, BE REGARDED AS CONSTITUTING THE
ONLY RISKS INVOLVED IN CONNECTION WITH THE PLAN AND ITS
IMPLEMENTATION.    THERE ARE RISKS, UNCERTAINTIES, AND OTHER
IMPORTANT FACTORS THAT COULD CAUSE THE DEBTORS’ ACTUAL
PERFORMANCE OR ACHIEVEMENTS TO BE MATERIALLY DIFFERENT FROM
THOSE THEY MAY PROJECT, AND THE DEBTORS UNDERTAKE NO OBLIGATION
TO UPDATE ANY SUCH STATEMENT.


A.     Risks Relating to the Debtors’ Operations, Financial Condition, and Certain Bankruptcy
       Law Considerations

       1.      There is a Risk that the Plan Will Not Be Confirmed

        If confirmed and consummated, the Debtors believe the Plan will accomplish two core
objectives: (a) provide an equitable, streamlined, and certain process by which Abuse Survivors
may obtain compensation for their Abuse Claims and (b) ensure that the BSA has the ability to

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continue its vital charitable mission. If the Plan cannot be Confirmed, or if the Bankruptcy Court
otherwise finds that conditions necessary for Confirmation cannot be met, the Debtors may be
required to liquidate and/or voluntarily convert these Chapter 11 Cases to cases under chapter 7 of
the Bankruptcy Code, pursuant to which a trustee would be appointed or elected to liquidate the
Debtors’ assets for distribution in accordance with the priorities established by the Bankruptcy
Code. In this event, the Debtors believe that neither of the Debtors’ core objectives would be
accomplished. Abuse Survivors would not have a certain, streamlined way to recover on account
of their Claims, and there would be a material risk that the BSA’s mission could not continue to
be carried out.

        The Debtors believe that the best mechanism for the Debtors to achieve these two core
objectives is Confirmation of the Plan which provides for substantial contributions by the Debtors,
by Local Councils, by Contributing Chartered Organizations (including TCJC), and by Settling
Insurance Companies (including Hartford) to the Settlement Trust in exchange for the protection
of the Channeling Injunction and Releases under the Plan. Even if there is sufficient support for
Confirmation of the Plan, the commitments contemplated by the Plan will not be realized if the
Plan is not Confirmed. Without an agreement by a substantial majority of creditors to support the
Plan, the Debtors will be unable to meet the requirements necessary to Confirm the Plan as
currently contemplated with respect to the Channeling Injunction and Releases. The Channeling
Injunction and Releases are a necessary component of the Plan, without which the Local Council
Contribution and the Contributing Chartered Organization Contribution will not be made to the
Settlement Trust.

       2.      The Pension Benefit Guaranty Corporation Could Assert Contingent Claims

         On October 29, 2020, the Pension Benefit Guaranty Corporation (“PBGC”) filed a
contingent Proof of Claim in the amount of $1,102,200,000 against the BSA (the “Unfunded
Benefit Liability Claim”) based on the unfunded benefit liabilities of the Pension Plan.
Contemporaneously, the PBGC also filed a contingent Proof of Claim with respect to PBGC
premiums, including an amount of $51,862,500 against the BSA that may become due upon
termination of the Pension Plan (the “Termination Premiums Claims”). Finally, the PBGC
contemporaneously asserted a claim in an unspecified amount with respect to any failure to make
minimum funding contributions (the “Minimum Funding Contribution Claims”). The Unfunded
Benefit Liability Claims and the Termination Premiums Claims are contingent on the termination
of the Pension Plan, and for purposes of such claims, it is assumed that the Pension Plan terminated
on October 1, 2020. It is asserted that all of these liabilities are joint and several among the BSA
and each Local Council that is a member of the BSA’s “controlled group” on account of statutory
liability under 29 USC §§ 1082, 1307, 1362. The PBGC, as a result, believes that it can assert the
full amount of any of its Claims against each and every member of the controlled group upon
termination. In addition, if the Unfunded Benefit Liability Claim is not paid to the PBGC on
demand, it is asserted that a statutory lien arises in favor of the PBGC on the assets of the plan
sponsor and the members of the plan sponsor’s controlled group. The amount of this lien would
be the lesser of the Unfunded Benefit Liability Claim and 30% of the collective net worth of the
controlled group. The Plan does not contemplate termination of the Pension Plan. However, if
the Plan is not confirmed and consummated and the Debtors’ Pension Plan is terminated, the
PBGC’s contingent Unfunded Benefit Liability Claims and the Termination Premiums Claims
against the BSA and Local Councils within its “controlled group” may become due and would


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significantly dilute any recoveries available to satisfy creditors from both the BSA and the Local
Councils within the controlled group.

        As discussed above, if certain conditions precedent are met, the DST Note will be issued.
Until the DST Note is extinguished, the LC Reserve Account will only be used to fund
contributions to the Pension Plan and, to the extent of any excess, to pay any amounts due under
the DST Note. Thus, to the extent that there are excess funds in a given year, such funds would
not be available to fund shortfalls in future years with respect to the Local Councils’ obligations
to contribute to the Pension Plan.

       3.      Debtors May be Impacted by the Continuing COVID-19 Pandemic

         The COVID-19 pandemic has presented issues and caused disruptions to the entire
organization and Scouting as a whole. Beginning in late February 2020, the BSA began to face
unprecedented operational challenges associated with the spread of COVID-19 in the United
States. As the pandemic spread through North America, the BSA was forced to temporarily close
its Headquarters, distribution center, and virtually all of its scout shops, consistent with
governmental health guidelines and directives. The BSA was also ultimately forced to cancel
summer programming at Philmont, its largest high adventure base, and limit programming at its
other three high adventure bases. Local Councils also significantly curtailed activity throughout
2020 which impacted the BSA’s retail sales and fall recruiting season. Throughout 2020, as the
global pandemic gradually worsened, the BSA undertook a number of critical cost-saving
initiatives, including initially furloughing and later permanently reducing staff, eliminating all non-
essential spending, negotiating concessions with suppliers and local vendors, and canceling a
number of revenue generating events due to social gathering concerns.

       The impact of COVID-19 has been devastating to the BSA. Membership recruitment in
2020 ground to a halt with school closures and other social distancing measures resulting in an
81% decline versus 2019, which will impact 2021 membership revenue. Supply revenue declined
57% driven by the several months of retail locations being closed and poor recruiting driving lower
uniform sales. High adventure facility revenue declined 74% driven by the temporary closure of
Philmont and shortened seasons and/or reduced capacity at the other facilities. The BSA further
expects to have lower retention of existing members when annual memberships renew in early
2021 due to significant curtailment of programing throughout 2020.

         The continued spread of COVID-19 could have a significant impact on the Debtors’
activities in the future and, in turn, the functions of Scouting at every level. This includes the
ability to have pack and troop meetings in-person, restricted or limited use of the BSA or Local
Council properties such as summer camps and high adventure facilities. It remains unclear the
extent and duration that restrictions will remain in place in response to the pandemic, which could
bar or limit engaging in fundamental Scouting activities such as camping, service projects,
meetings, and other group activities that help build the bonds of fellowship essential to the BSA’s
mission. Moreover, the health, social, and economic impact the pandemic will have in the future
is unknown. As such, there can be no assurance that the uncertainties caused by the spread of
COVID-19 will not negatively impact the Debtors in the future and, therefore, affect the
underlying financial projections contained in this Disclosure Statement.



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       4.      Pending and Future Litigation

         As discussed in this Disclosure Statement, the Debtors are involved in various litigation,
including but not limited to, the Trademark Action with the GSUSA—which so long as it remains
unresolved represents a reputational issue, a potential challenge to welcoming female members
into Scouting, and potential Claim for monetary damages. Additionally, there is a risk of future
litigation. Such litigation could be brought in connection with the BSA’s operations, including its
high adventure facilities, or otherwise. Pending litigation or future litigation could result in a
material judgment against the Debtors or the Reorganized BSA. Such litigation, and any judgment
in connection therewith, could have a material negative effect on the Debtors or the Reorganized
BSA.

       5.      Risk of Non-Confirmation of the Plan

        Although the Debtors believe that the Plan satisfies all requirements necessary for
Confirmation by the Bankruptcy Court, there can be no assurance that the Bankruptcy Court will
reach the same conclusion or that modifications to the Plan will not be required for Confirmation
or that such modifications would not necessitate re-solicitation of votes. Moreover, the Debtors
can make no assurances that they will receive the requisite acceptances to confirm the Plan, and
even if all Voting Classes vote in favor of the Plan or the requirements for “cramdown” are met
with respect to any Class that rejects or is deemed to reject the Plan, the Bankruptcy Court may
exercise discretion as a court of equity and choose not to confirm the Plan. If the Plan is not
confirmed, it is unclear what distributions holders of Claims or Interests would ultimately receive
with respect to their Claims or Interests in a subsequent plan of reorganization, a liquidation, or
other proceedings.

       6.      Other Parties in Interest Might Be Permitted to Propose Alternative Plans of
               Reorganization

       Under the Bankruptcy Code, a debtor in possession initially has the exclusive right to
propose and solicit acceptances of a plan of reorganization. However, such exclusivity period can
be reduced or terminated upon order of the Bankruptcy Court, or it may expire under the applicable
provisions of the Bankruptcy Code. If such an order were to be entered or such expiration were to
occur, other parties in interest would then have the opportunity to propose alternative plans of
reorganization.

        If other parties in interest were to propose an alternative plan of reorganization following
expiration or termination of the Debtors’ exclusivity period, such a plan may be less favorable to
the Debtors, their Estates, and their stakeholders. In addition, if there were competing plans of
reorganization, the Chapter 11 Cases would likely become longer, more complicated, and more
expensive, thereby reducing recoveries to holders of Claims.

       7.      Non-Consensual Confirmation

        If any Impaired Class of Claims does not accept or is deemed not to accept a plan of
reorganization, a Bankruptcy Court may nevertheless confirm such plan at the proponent’s request
if at least one Impaired Class has accepted the plan (with such acceptance being determined
without including the vote of any “insider” in such class), and as to each impaired class that has

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not accepted the plan, the Bankruptcy Court determines that the plan “does not discriminate
unfairly” and is “fair and equitable” with respect to the dissenting impaired classes. If any Class
votes to reject or is deemed to reject the Plan, then these requirements must be satisfied with respect
to such rejecting Class. The Debtors believe that the Plan satisfies these requirements.

       8.       Parties in Interest May Object to the Debtors’ Classification of Claims and
                Interests

        Section 1122 of the Bankruptcy Code provides that a plan may place a claim or an interest
in a particular class only if the claim or interest is substantially similar to the other claims or
interests in that class. Parties in interest may object to the classification of certain claims and
interests both on the grounds that certain claims and interests have been improperly placed in the
same Class and/or that certain claims and interests have been improperly placed in different
Classes. The Debtors believe that the classification of Claims and Interests under the Plan
complies with the requirements of the Bankruptcy Code because the Classes established under the
Plan each encompass Claims or Interests that are substantially similar to similarly classified Claims
or Interests. Nevertheless, there can be no assurance that the Bankruptcy Court will reach the same
conclusion. Parties in interest may object to the classification of certain Claims and Interests both
on grounds that certain Claims and Interests have been improperly placed in the same Class and/or
that certain Claims and Interests have been improperly placed in different Classes.

       9.       The Debtors May Object to the Amount or Classification of a Claim

        Except as otherwise provided in the Plan, the Debtors reserve the right to object to the
amount or classification of any Claim under the Plan. The estimates set forth in this Disclosure
Statement cannot be relied on by any holder of a Claim where such Claim is subject to an objection.
Any holder of a Claim that is subject to an objection may, therefore, not receive its expected share
of the estimated distributions described in this Disclosure Statement.

       10.      The Conditions Precedent to Plan Confirmation and the Effective Date of the
                Plan May Not Occur

       As more fully set forth in Article IX of the Plan, Plan Confirmation and the Effective Date
are subject to a number of conditions precedent. If such conditions precedent are not satisfied or
waived, Plan Confirmation, the Effective Date, or both will not occur.

       11.      The Recovery to Holders of Allowed Claims, Abuse Claims, and Interests
                Cannot Be Stated with Absolute Certainty

        Due to the inherent uncertainties associated with projecting financial results and litigation
outcomes, the projections contained in this Disclosure Statement should not be considered
assurances or guarantees of the amount of funds or the amount of Claims that may be allowed in
the various Classes. While the Debtors believe that the financial projections contained in this
Disclosure Statement are reasonable, there can be no assurance that they will be realized. Also,
because the Liquidation Analysis, distribution projections, and other information contained herein
and attached hereto are estimates only, the timing and amount of actual distributions to holders of
Allowed Claims and Abuse Claims satisfied by the Settlement Trust in accordance with the Trust
Distribution Procedures, if applicable, may be affected by many factors that cannot be predicted.

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       12.      Appointment of Different Settlement Trustee and/or Different Members of the
                Settlement Trust Advisory Committee for the Settlement Trust

        Prior to the Confirmation Hearing, the Plan Supplement shall identify the initial members
of the Settlement Trust Advisory Committee. The proposed initial Settlement Trustee is Eric D.
Green, as set forth in the Plan. Parties-in-interest, however, may object to the proposed Settlement
Trustee, or one or more of the proposed members of the Settlement Advisory Committee. In that
case, an alternate Settlement Trustee and/or alternative proposed members of the Settlement Trust
Advisory Committee would have to be nominated, potentially resulting in significant delays in the
occurrence of the Confirmation Date and Effective Date. The selection of a different Settlement
Trustee or different Settlement Trust Advisory Committee Members also could materially affect
administration of the Settlement Trust.

       13.      Distributions under the Trust Distribution Procedures

        Abuse Claims, including both Direct Abuse Claims and Indirect Abuse Claims, will be
resolved pursuant to the Settlement Trust Documents, and their treatment will be based upon,
among other things, estimates of the number, types, and amount of Abuse Claims, the value of the
assets of the Settlement Trust, the liquidity of the Settlement Trust, the Settlement Trust’s expected
future income and expenses, and other matters. There can be no certainty as to the precise amounts
that will be distributed by the Settlement Trust in any particular time period or when Settlement
Claims will be resolved by the Settlement Trust. The Debtors believe that Indirect Abuse Claims
are unliquidated, contingent, and subject to objection. The outcome of such objections and
ultimate allowance of Indirect Abuse Claims, could have a dilutive effect on Abuse Claims as a
whole including Direct Abuse Claims.

       14.      Participation by Local Councils, Participating Chartered Organizations,
                Contributing Chartered Organizations, and Settling Insurance Companies

        The Plan contemplates participation by the Local Councils, Participating Chartered
Organizations, Contributing Chartered Organizations, and Settling Insurance Companies including
through the Local Council Settlement Contribution, Participating Chartered Organization
Settlement Contribution, Contributing Organization Settlement Contribution, and any
contributions of Settling Insurance Companies to the Settlement Trust. However, there can be no
assurance that the Local Councils, Chartered Organizations, or Settling Insurance Companies will
make such contributions as set forth in the letters of intent, with respect to Local Councils, or as
agreed upon, with respect to Chartered Organizations or Settling Insurance Companies, or that the
level of contributions, including those Participating Chartered Organizations, will be acceptable to
all other parties in these Chapter 11 Cases or satisfy the requirements for obtaining approval of the
Channeling Injunction by the Bankruptcy Court. At this time, one Chartered Organization has
agreed to make substantial contributions and become a Contributing Chartered Organization.
Similarly, one Insurance Company has agreed to make substantial contributions and become a
Settling Insurance Company. Any failure to contribute by the Local Councils, Contributing
Chartered Organizations, and/or Settling Insurance Company and/or objections to the level of the
Contributing Chartered Organizations and/or objections to the level of the Local Council
Settlement Contribution, Participating Chartered Organizations Settlement Contribution, the
Contributing Organization Settlement Contribution, and any contributions by Settling Insurance


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Companies could materially affect the Plan, resulting in significant delays to the occurrence of the
Confirmation Date and Effective Date, amendments to the Plan, and/or significant alterations to
the current structure and distributions to holders of Claims contemplated by the Plan.

        Several parties have raised concerns regarding the adequacy of contributions by certain of
the Protected Parties. There can be no assurance that the Bankruptcy Court will determine that the
requirements for obtaining approval of the Channeling Injunction are met with respect to
contributions made by Protected Parties.

       15.      U.S. Federal Income Tax Risks

       For a discussion of certain U.S. federal income tax consequences of the implementation of
the Plan to the Debtors and to holders of certain Claims and Interests, see Article XI of this
Disclosure Statement.

       16.      Risk of Non-Occurrence of the Effective Date

        Although the Debtors believe that the Effective Date will occur soon after the Confirmation
Date, there can be no assurance as to the timing of the Effective Date. If the conditions precedent
to the Effective Date set forth in the Plan have not occurred or have not been waived as set forth
in Article IX of the Plan, then the Confirmation Order may be vacated, in which event no
distributions would be made under the Plan, the Debtors and all holders of Claims or Interests
would be restored to the status quo as of the day immediately preceding the Confirmation Date,
and the Debtors’ obligations with respect to Claims and Interests would remain unchanged. Any
delay to the Confirmation Date may materially negatively impact the Debtors’ business and may
result in a liquidation.

       17.      Amendment of Plan Prior to Confirmation by the Debtors

        The Debtors, subject to the terms and conditions of the Plan, reserve the right to modify
the terms and conditions of the Plan or waive any conditions thereto if and to the extent necessary
or desirable for confirmation. The potential impact of any such amendment or waiver on holders
of Claims and Interests cannot presently be foreseen but may include a change in the economic
impact of the Plan on some or all of the proposed Classes or a change in the relative rights of such
Classes.

       18.      Financial Projections

       The Debtors have prepared financial projections on a consolidated basis with respect to the
Reorganized BSA and Related Non-Debtor Entities based on certain assumptions, as set forth in
Exhibit E hereto. The projections have not been compiled, audited, or examined by independent
accountants, and neither the Debtors nor their advisors make any representations or warranties
regarding the accuracy of the projections or the ability to achieve forecasted results.

        Many of the assumptions underlying the projections are subject to significant uncertainties
that are beyond the control of the Debtors or the Reorganized BSA, including the timing,
Confirmation, and consummation of the Plan, continued engagement with Scouting and the
Reorganized BSA, and the ability of the Local Councils to continue to support the Debtors’

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membership. Some assumptions may not materialize, and unanticipated events and circumstances
may affect the actual results. Projections are inherently subject to substantial and numerous
uncertainties and to a wide variety of significant economic, and operational risks, and the
assumptions underlying the projections may be inaccurate in material respects. In addition,
unanticipated events and circumstances occurring after the approval of this Disclosure Statement
by the Bankruptcy Court including any natural disasters, terrorist attacks, or health epidemics may
affect the actual financial results achieved. Such results may vary significantly from the forecasts
and such variations may be material. The Debtors’ projections reflect expectations of continued
donor support. However, the Debtors cannot state with certainty that such donation programs will
achieve their targeted results.

       19.      Potential Settlements

        As set forth in Article II.D of this Disclosure Statement, the Debtors have been in
negotiations with the mediation parties in hopes of resolving certain controversies related to the
structure of the Plan, level of contributions by Chartered Organizations and insurance-related
issues, and the level of contribution by Insurance Companies, which may result in additional
settlements pursuant to Bankruptcy Rule 9019 and may be included in the Plan. If a Settlement
Agreement is reached, the Plan may be modified prior to the Confirmation Hearing to incorporate
any number of resolutions of the unresolved controversies. The potential impact of any such
settlements or resolutions on holders of Claims and Interests cannot presently be foreseen but may
include a change in the economic impact of the Plan on some or all of the proposed Classes or a
change in the relative rights of such Classes. As explained herein, the Debtors have reached
settlements with TCJC, the Creditors’ Committee, JPM and Hartford. The Plan incorporates the
terms and conditions of such settlements. Certain parties may object to the contribution amount
in such settlement. There can be no assurance the Bankruptcy Court will approve the Plan
including such settlements over such objections. If the settlements are not approved, the amounts
contributed to the Settlement Trust (and therefore available to distribute to holders of Claims) will
be reduced.

       20.      Insurance Contributions

       If the Debtors are unable to reach agreement on the terms of Insurance Settlement
Agreements with the Insurance Companies, there is a risk that the Settlement Trust may not realize
contributions from Insurance Companies, or that the Settlement Trust’s efforts to realize recoveries
on account of the Insurance Coverage will be the subject of litigation that is expensive and time-
consuming and in which Non-Settling Insurance Companies could raise meritorious coverage
defenses that may reduce the amount of coverage available under the Insurance Policies.

       21.      Insurance Coverage Actions

        In accordance with the Plan, the BSA will contribute to the Settlement Trust, among other
things, rights to the Insurance Actions, which includes the pending Insurance Coverage Actions. It
is not currently known whether the Insurance Coverage Actions will result in a favorable outcome
for the Settlement Trust. Even if a favorable outcome is realized, the amounts awarded and the




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costs associated with pursuing such litigation cannot be determined at this time. Therefore, the
ultimate value of the Insurance Actions being contributed to the Settlement Trust is unknown.

       22.      Insurance Coverage Risks – Insurance Neutrality and Trust Distribution
                Procedures

        The Debtors’ Insurance Companies contend that the Plan and the Trust Distribution
Procedures are not confirmable, which the Debtors have disputed. Specifically, the Debtors’
Insurance Companies assert that the Plan and the Trust Distribution Procedures are not confirmable
due to a lack of “insurance neutrality.” The Debtors’ Insurance Companies contend that without
“insurance neutrality,” a Plan cannot be confirmed and that the purported lack of “insurance
neutrality” means that the Plan was not made in “good faith.” The Debtors’ Insurance Companies
contend that the Plan is not insurance neutral and lacks “good faith” for various reasons, including:

                         1.      Confirmation of the Plan would materially increase the “quantum of
                liability” that the Debtors’ Insurance Companies would face when compared that
                which would have existed in the tort system;
                        2.     The Plan and the Trust Distribution Procedures alter various rights
                that the Debtors’ Insurance Companies purport to have under the insurance policies,
                including:
                       a.      The right to defend Abuse Claims in an adversarial setting in which
                               legal judgments are entered following discovery and consideration
                               of evidence;

                       b.      The right to participate in the settlement of Abuse Claims and to
                               limit the applicable Insurance Company’s obligation to pay Abuse
                               Claims stemming from settlements entered into without the consent
                               of the applicable Insurance Company;

                       c.      The right to receive the cooperation of any insureds under the
                               Insurance Policies;

                       d.      The right to limit payment of Abuse Claims only to situations where
                               there is an entry of judgment against the insured by a court of
                               competent jurisdiction or a settlement to which the insurance
                               company has expressly consented; and

                       e.      The right to settle non-Abuse Claims without the consent of the
                               Settlement Trust.

                       3.      The Debtors’ Insurance Companies argue that the Plan improperly
                permits the payment of non-compensable claims because:
                a.     The Plan and the Trust Distribution Procedures appoint a Settlement Trustee
                       that the Debtors’ Insurance Companies maintain is not disinterested in a



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                      process that prevents the Debtors’ Insurance Companies from objecting to
                      claims and taking discovery in the manner they assert they are entitled to;

                      b.      The Plan and the Trust Distribution Procedures do not provide the
                              Settlement Trustee with sufficient authority to exercise discretion to
                              reduce or expunge Direct Abuse Claims based on certain mitigating
                              factors;

                      c.      The Plan and the Trust Distribution Procedures allow the Settlement
                              Trustee to base decisions regarding the applicable statute of
                              limitations or choice of law based on considerations that are not
                              appropriate;

                      d.      The Plan and the Trust Distribution Procedures allow Abuse
                              Claimants to defer the determination of the Proposed Allowed
                              Claim for up to 12 months to see if there are changes to the
                              applicable statute of limitations law;

                      e.      The Plan and the Trust Distribution Procedures do not require a
                              showing of negligence on the part of the Protected Party to establish
                              the validity of a Direct Abuse Claim to be allowed at a Base Matrix
                              Value; and

                      f.      The Plan and the Trust Distribution Procedures guarantee that every
                              Abuse Claim may receive a distribution through the Expedited
                              Distribution, which certain of the Debtors’ Insurance Companies
                              have alleged allows payment of Abuse Claims even if such Abuse
                              Claim was fraudulent, time-barred, or otherwise defensible in the
                              tort system.

                       4.     The Plan and the Trust Distribution Procedures would result in
               findings that the Claim valuations are fair, reasonable, and in good faith, which
               could lead to misuse in post-confirmation coverage litigation;
                      5.     The Plan and the Trust Distribution Procedures are unconfirmable
               because they leave open the possibility that Claims will be presented to the
               Settlement Trust that were not filed prior to the Bar Date Order;
                      6.     The Plan interferes with the Debtors’ Insurance Companies rights to
               seek subrogation or contribution from other non-debtors; and
                       7.       The Plan improperly requires the consent of the Settlement Trust
               over any post-Effective Date settlements of any Non-Abuse Litigation claims that
               are entitled to any recovery from the proceeds of a Specified Insurance Policy.
       The Debtors dispute that the Plan is prejudicial to the Debtors’ Insurance Companies and
maintain that the Plan has been proposed in good faith and through a means permitted by law.
However, the Insurance Companies have asserted that (a) the Plan may not be confirmed based on
these objections, (b) the Plan may be subsequently altered or revised to address these objections,

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and/or (c) rights to payment with respect to such Insurance Policies related to Abuse Claims could
be reduced or barred entirely post-Confirmation based on purported breaches of the insurance
policies.

       23.      Insurance Coverage Risks – Retentions and Deductibles

       As set forth in Article III.F of this Disclosure Statement, the Debtors’ Insurance Companies
have reserved rights to contest various Abuse Claims tendered to them based on various coverage
defenses. While the Debtors believe these defenses have no merit and are working to resolve these
disputes, to the extent any of these defenses prevail, rights to payment with respect to such
Insurance Policies related to Abuse Claims could be reduced or barred entirely.

         Additionally, as set forth in Article III.F of this Disclosure Statement, the obligation to pay
certain deductible and self-insured retentions under the certain Insurance Policies is disputed.
However, it is the BSA’s position that when the BSA cannot or does not pay the deductible, the
primary Insurance Policies issued between 1986 and 2008 require the insurer to pay. A dispute
exists as to whether the obligation on the primary insurer to pay the deductible on behalf of the
BSA is subject to an aggregate limit of liability. The primary insurers have asserted that a $1
million aggregate applies to this obligation. Other insurers have asserted that the primary insurers’
obligation to pay the deductible is not subject to any aggregate, and that the aggregate limit of
liability only applies to those damages in excess of the deductible. In the event that the aggregate
limit of liability does apply to the payment of the deductibles under the primary Insurance Policies,
a related dispute exists as to whether the BSA can directly access the excess insurance policies
issued between 1986 and 2008 or whether the BSA must continue to pay that deductible on an
ongoing basis for each claim.

        It is BSA’s position that excess insurers’ policies sit above deductible, not self-insured
retentions (“SIRs”). The excess insurers, in contrast, take the position that their policies sit above
SIRs and they have no obligation to drop down and pay SIRs and, instead, either the BSA or the
Settlement Trust would have to pay the SIR, the claimant could not recover unless his or her claim
exceeded the SIR amount, or the excess insurer would have no coverage obligation
whatsoever. The excess insurers also claim that before coverage can be provided to pay claims
against non-debtor entities such as Local Councils or Chartered Organizations, such Local
Councils or Chartered Organizations must satisfy applicable SIRs before coverage could be
available.

        Certain insurers also contend that, even if the Debtors are not obligated to pay either the
deductible or SIR, certain non-Debtors who will be Protected Parties are improperly avoiding their
obligations for deductibles or SIRs. The Debtors disagree and contend that pursuant to the
Channeling Injunction, all Abuse Claims against Protected Parties are channeled to the Settlement
Trust and liquidated pursuant to the Trust Distribution Procedures.

        In addition to the foregoing disputes with the Insurance Companies, certain Insurance
Companies may not have the ability to pay part or all of the amounts that are believed to be owed
under certain per-occurrence Insurance Policies. As noted above, certain Insurance Policies have
been exhausted and, therefore, amounts may not be available to pay claims under such Insurance
Policies.


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        Any of the forgoing disputes could potentially reduce or eliminate the right to payment
under certain Insurance Policies. Moreover, defenses, disputes, and other relevant circumstances
could arise that could potentially reduce or eliminate the right to payment under certain Insurance
Policies.

       24.      Insurance Assignment Risks

        Pursuant to the Plan, the insurance rights of the BSA, Local Councils and Contributing
Chartered Organizations under their Insurance Policies will be assigned and transferred to the
Settlement Trust to be used to satisfy Abuse Claims in accordance with the Trust Distribution
Procedures. Certain parties in interest, including certain of the Debtors’ Insurance Companies,
contest the ability of the BSA to assign those rights under these Insurance Policies to the Settlement
Trust without insurer consent. Certain parties in interest also contest the ability of non-Debtors,
including Local Councils and Contributing Chartered Organizations as applicable, to assign their
Insurance Policies to the Settlement Trust without insurer consent. To the extent that such
assignment is not allowed, the assets contributed to the Settlement Trust to satisfy Abuse Claims
will be reduced or insurance coverage may be voided by the assignment.

       25.      Risk Related to Insurance Provisions in Article X.M of the Plan

         The provisions of the Plan related to insurance included in Article X.M of Plan conform to
the Bankruptcy Court’s statements at the May 19, 2021 hearing, as described more fully above in
Article II.K and Article VII.A.30 of this Disclosure Statement. However, there is a risk that there
will be extensive litigation concerning the provisions of the Plan and the Bankruptcy Court’s
findings and conclusions in support of confirmation. This litigation is likely to be extremely costly
and time-consuming, and as described in Article X.A.30 of this Disclosure Statement, any delay
beyond the fall in confirming the Plan may have extreme, negative consequences on the Debtors’
ability to reorganize successfully. The Debtors believe they have mitigated some of this risk by
structuring Net Unrestricted Cash and Investments to take into account the potentially prolonged
time in bankruptcy and costs associated therewith as described in Article X.A.30 of this Disclosure
Statement, but actual results of operations are far from certain. In addition to litigation before the
Bankruptcy Court, it is likely that if the Plan is confirmed with the current insurance provision
found in Article X.M of the Plan, the Bankruptcy Court’s Confirmation Order will be appealed.
Appeal of the Confirmation Order could be costly and time-consuming, and there is a risk that the
Confirmation Order will be overturned on appeal. Conversely, it is possible that the Bankruptcy
Court will not confirm the Plan with Article X.M as currently drafted and will require that the
Debtors include amended insurance neutrality language prior to confirmation of the Plan.

       26.      Risk that the Allocation of Settlement Trust Assets for the Payment of Abuse
                Claims in Accordance with the Plan and Trust Distribution Procedures Will
                Not Be Approved

        Under the Plan, Chartered Organizations and Non-Settling Insurance Companies can make
contributions to the Settlement Trust before and after the Effective Date in order to become
Protected Parties and receive the benefits of the Channeling Injunction. The Plan and Trust
Distribution Procedures provide for the allowance, valuation and payment of Abuse Claims as set
forth therein and further described in Article VII herein. Pursuant to the terms of the Trust


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Distribution Procedures, all assets contributed to the Settlement Trust by the BSA, Local Councils
and Settling Insurance Companies are pooled for the benefit of all holders of Abuse Claims,
irrespective of whether they have a valid claim against a Local Council or if their Abuse Claim is
insured. Furthermore, the Trust Distribution Procedures provide that a portion, and not all, of the
contributions to the Settlement Trust by Chartered Organizations that become Protected Parties
will be allocated to holders of Abuse Claims against that particular Chartered Organization that
meet certain requirements. Certain parties have objected to this structure. They argue that claim
determinations and distributions of Settlement Trust Assets to Abuse Survivors should be
allocated–at least in part–based upon the non-Debtor parties liable for such Abuse Claims, and
those parties’ contribution, if any, of assets to the Settlement Trust. The Debtors believe that the
structure proposed in the Trust Distribution Procedures is appropriate and consistent with
applicable law. However, there a risk that the Plan and Trust Distribution Procedures may not be
approved or will need to be modified with respect to this issue, and that certain of the Settlement
Trust Assets will be allocated only to holders of Abuse Claims against particular Protected Parties,
which may result in holders of Abuse Claims against other Protected Parties or parties that have
not become Protected Parties receiving a lower recovery on their claim.

        27.      Failure to Obtain Approval of Releases, Injunctions, and Exculpation,
                 Including the Channeling Injunction

        As set forth in Article VI.Q of this Disclosure Statement, the Plan provides for certain
Releases, Injunctions (including the Channeling Injunction), and exculpations, including a release
of Liens and third-party releases that may otherwise be asserted against the Debtors, the
Reorganized BSA, the other Released Parties and their respective Related Parties, Protected Parties
or Limited Protected Parties, as applicable. The Releases, Injunctions, and exculpations
(including, the Channeling Injunction) provided in the Plan are subject to objection by parties in
interest and may not be approved.

        In the Third Circuit, non-consensual third-party releases are permissible if they satisfy the
Continental hallmarks of “fairness and necessity to the reorganization,” which must be supported
by specific factual findings. In re Millennium Lab Holdings II, LLC, 575 B.R. 252, 272 (Bankr. D.
Del. 2017) (citing Gillman v. Cont’l Airlines (In re Cont’l Airlines), 203 F.3d 203, 214 (3d Cir.
2000)). In determining whether such a release satisfies this standard, courts apply the Master
Mortgage factors: (1) an identity of interest between the debtor and the third party, such that a suit
against the non-debtor is, in essence, a suit against the debtor or will deplete assets of the estate;
(2) substantial contribution by the non-debtor of assets to the reorganization; (3) the essential
nature of the injunction to the reorganization to the extent that, without the injunction, there is little
likelihood of success; (4) an agreement by a substantial majority of creditors to support the
injunction, specifically if the impacted class or classes ‘overwhelmingly’ votes to accept the plan;
and (5) provision in the plan for payment of all or substantially all of the claims of the class or
classes affected by the injunction. Id. (quoting In re Zenith Elecs. Corp., 241 B.R. 92, 110 (Bankr.
D. Del. 1999)). “These factors are neither exclusive nor conjunctive requirements, but simply
provide guidance in the Court’s determination of fairness.” In re Washington Mut. Inc., 442 B.R.
314, 346 (Bankr. D. Del. 2011).

        If the Releases are not approved, including the non-consensual third party releases, certain
parties may not be considered Released Parties, Limited Protected Parties, or Protected Parties,


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and certain of these parties could withdraw their support for the Plan and/or contributions to the
Settlement Trust based on the Plan’s failure, absent such releases, to release and enjoin claims
against such parties.

          28.       The Channeling Injunction

        The Channeling Injunction, which, among other things, bars the assertion of any Abuse
Claims against the Protected Parties or Limited Protected Parties, as applicable, is a necessary
element of the Plan. Although the Plan, the Settlement Trust Agreement, and the Trust Distribution
Procedures all have been drafted with the intention of complying with the Bankruptcy Code, there
is no guarantee that the validity and enforceability of the Channeling Injunction or the application
of the Channeling Injunction to Abuse Claims will not be challenged, either before or after
Confirmation of the Plan.

        While the Debtors believe that the Plan satisfies the requirements of the Bankruptcy Code,
certain objections might be lodged on grounds that the requirements of the Bankruptcy Code
cannot be met given the unique facts of the Chapter 11 Cases. At this juncture, the Debtors believe
that the Plan provides a sufficient basis for the issuance of the Channeling Injunction under section
105(a) of the Bankruptcy Code.

          29.       Voting Requirements

       If sufficient votes are not received, the Debtors may seek to confirm an alternative chapter
11 plan. There can be no assurance that the terms of any such alternative chapter 11 plan would
be similar or as favorable to the holders of Allowed Claims and Abuse Claims satisfied by the
Settlement Trust in accordance with the Trust Distribution Procedures as those proposed in the
Plan.

          30.       Timeline Risk

        There is a material risk that failure to emerge from these Chapter 11 Cases in a timely
manner could endanger the future of the BSA. In order to rebuild membership and ensure
successful recruiting and retention of existing members, the Debtors must emerge from the cloud
of these Chapter 11 Cases. The recruiting and the ultimate enrollment of new members may be
hampered by the fact that the cloud of bankruptcy remains during the fall recruiting season—
potentially eroding faith in the long term prospects of the BSA. If the number of new members
and returning members is substantially reduced from projections, the BSA could lack the means
to meet their operational needs or otherwise emerge from bankruptcy. Timely emergence from
Chapter 11 is essential to the Debtors’ ability to improve their operations.

        Substantial professional fees will continue to accrue until a plan is confirmed and becomes
effective. At this time, the Debtors’ bankruptcy estate bears the burden for the fees of the
professionals and advisors to the Debtors, the Tort Claimants’ Committee, the Future Claimants’
Representative, the Unsecured Creditors’ Committee, and JPM. Such fees are substantial and to
date the Debtors have incurred more than $146 million111 in professional fees related to this
restructuring. By the end of December 2021, the Debtors estimate the professional fees in the
111   Amount excludes bar noticing fees.


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Chapter 11 Cases will equal or exceed $205 million.112 Each successive month is expected to cost
the estate approximately $10 million or more. The Debtors believe this is wholly inappropriate
for a non-profit chapter 11 proceeding and believe emergency from bankruptcy as soon as possible
is essential to stop the accrual of additional professional fees. The potential for protracted litigation
with Insurance Companies under the Plan is great and will cause increased costs and expenses to
the Debtors, including with respect to professional fees. If such litigation ensues, there is a material
risk that professional fees could be much higher than the Debtors anticipate or are able to pay.

          31.       Conversion into Chapter 7 Cases

        If no plan of reorganization can be confirmed, the Debtors may choose to convert these
Chapter 11 Cases to cases under chapter 7 of the Bankruptcy Code, pursuant to which a trustee
would be appointed or elected to liquidate the Debtors’ assets for distribution in accordance with
the priorities established by the Bankruptcy Code. Under section 1112(c) of the Bankruptcy Code,
the Chapter 11 Cases may not be converted to cases under chapter 7 without the Debtors’ consent.

          32.       Dismissal of the Chapter 11 Cases

        If the Plan is not confirmed, the Debtors or other parties in interest may seek dismissal of
the Chapter 11 Cases pursuant to section 1112 of the Bankruptcy Code. Without limitation,
dismissal of the Chapter 11 Cases would terminate the automatic stay and might allow certain
creditors to file lawsuits against the Debtors or take other action to pursue their Claims against the
Debtors. Accordingly, the Debtors believe that dismissal of the Chapter 11 Cases would
significantly reduce the value of the Debtors’ remaining assets.

          33.       Parties in Interest May Object to the Plan Based on Section 1129(a)(7) of the
                    Bankruptcy Code

        The Debtors must satisfy the “best interests of creditors” test embodied in section
1129(a)(7) of the Bankruptcy Code. As a threshold matter, the Debtors do not believe the best
interests test applies to non-profit organizations such as the Debtors in light of the restrictions on
the forced sale of a non-profit’s assets under the Bankruptcy Code and applicable state law. If the
Bankruptcy Court disagrees with this position, then the best interests test should apply only with
respect to recoveries of claimants on account of their claims against the Debtors in a hypothetical
liquidation of the Debtors, and not with respect to recoveries against Protected Parties in such a
scenario. However, to the extent the Bankruptcy Court determines that the Plan must satisfy the
best interests test with respect to Protected Parties, the Debtors will be prepared at confirmation to
address those standards, including through the Liquidation Analysis, which shows that the Debtors
and Local Councils satisfy the test, and/or through other expert testimony related to whether
holders of Impaired Claims will receive or retain under the Plan property of a value, as of the
Effective Date, that is not less than the value such holder would receive in a liquidation under
chapter 7. If the Bankruptcy Court determines that the Plan does not satisfy the requirements of
the best interests test, to the extent it applies, the Plan may not be confirmed or may only be




112   Amount excludes bar noticing fees.


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confirmed with modifications, including potential modifications to the nonconsensual third party
releases included in the Plan.

B.     Additional Factors

       1.      Debtors Could Withdraw the Plan

       Subject to, and without prejudice to, the rights of any party in interest, the Plan may be
revoked or withdrawn before the Confirmation Date by the Debtors.

       2.      Debtors Have No Duty to Update

        The statements contained in this Disclosure Statement are made by the Debtors as of the
date hereof, unless otherwise specified herein, and the delivery of this Disclosure Statement after
that date does not imply that there has been no change in the information set forth herein since that
date. Additionally, the Debtors have no duty to update this Disclosure Statement unless otherwise
ordered to do so by the Bankruptcy Court.

       3.      No Representations Outside this Disclosure Statement Are Authorized

        No representations concerning or related to the Debtors, the Chapter 11 Cases, or the Plan
are authorized by the Bankruptcy Court or the Bankruptcy Code, other than as set forth in this
Disclosure Statement. Any representations or inducements made to secure your acceptance or
rejection of the Plan that are other than those contained in, or included with, this Disclosure
Statement should not be relied upon in making the decision to accept or reject the Plan.

       4.      No Legal or Tax Advice Is Provided by this Disclosure Statement

        The contents of this Disclosure Statement should not be construed as legal, business, or tax
advice. Each holder of a Claim or Interest should consult its own legal counsel and accountant as
to legal, tax, and other matters concerning their Claim or Interest. This Disclosure Statement is
not legal advice to you. This Disclosure Statement may not be relied upon for any purpose other
than to determine how to vote on the Plan or object to Confirmation of the Plan.

       5.      This Disclosure Statement May Contain Forward Looking Statements

        This Disclosure Statement may contain “forward looking statements” within the meaning
of the Private Securities Litigation Reform Act of 1995. Such statements consist of any statement
other than a recitation of historical fact and can be identified by the use of forward looking
terminology such as “may,” “expect,” “anticipate,” “estimate” or “continue” or the negative
thereof or other variations thereon or comparable terminology. The reader is cautioned that all
forward looking statements are necessarily speculative and there are certain risks and uncertainties
that could cause actual events or results to differ materially from those referred to in such forward
looking statements. The liquidation analysis, distribution projections or other information
contained herein and attached hereto are estimates only, and the timing and amount of actual
distributions to holders of Allowed Claims and Abuse Claims satisfied by the Settlement Trust in
accordance with the Trust Distribution Procedures may be affected by many factors that cannot be



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predicted. Therefore, any analyses, estimates or recovery projections may or may not turn out to
be accurate.

       6.      No Admission Made

        Nothing contained herein or in the Plan shall constitute an admission of, or shall be deemed
evidence of, the tax or other legal effects of the Plan on the Debtors or holders of Claims or
Interests.

     ARTICLE XI. CERTAIN UNITED STATES FEDERAL INCOME TAX
                     CONSEQUENCES OF THE PLAN

        The following discussion is a summary of certain U.S. federal income tax consequences of
the Plan and is for general information purposes only. This summary should not be relied upon
for purposes of determining the specific tax consequences of the Plan with respect to a particular
holder of a Claim or Interest. This discussion does not purport to be a complete analysis or listing
of all potential tax considerations.

        This discussion is based on existing provisions of the Internal Revenue Code of 1986, as
amended (the “Code”), existing and proposed Treasury Regulations promulgated thereunder, and
current administrative rulings and court decisions. Legislative, judicial, or administrative changes
or interpretations enacted or promulgated after the date hereof could alter or modify the analyses
set forth below with respect to the U.S. federal income tax consequences of the Plan. Any such
changes or interpretations may be retroactive and could significantly affect the U.S. federal income
tax consequences of the Plan.

        Due to the lack of definitive judicial and administrative authority in a number of areas,
substantial uncertainty may exist with respect to some of the tax consequences described below.
No ruling has been requested or obtained from the IRS with respect to any tax aspects of the Plan
and no opinion of counsel has been sought or obtained with respect thereto. The discussion below
is not binding upon the IRS or any court. No assurance can be given that the IRS would not assert,
or that a court would not sustain, a different position than any position discussed herein. No
representations or assurances are being made to the holders of Claims or Interests with respect to
the U.S. federal income tax consequences described herein. Except as specifically set forth below,
this discussion addresses only holders of Claims or Interests that are “United States persons”
(within the meaning of Section 7701(a)(30) of the Code).

      ACCORDINGLY, THE FOLLOWING SUMMARY OF CERTAIN U.S. FEDERAL
INCOME TAX CONSEQUENCES IS FOR INFORMATIONAL PURPOSES ONLY AND
IS NOT A SUBSTITUTE FOR CAREFUL TAX PLANNING AND ADVICE BASED UPON
THE INDIVIDUAL CIRCUMSTANCES PERTAINING TO A HOLDER OF A CLAIM OR
INTEREST. ALL HOLDERS OF CLAIMS OR INTERESTS ARE URGED TO CONSULT
THEIR OWN TAX ADVISORS FOR THE FEDERAL, STATE, LOCAL AND NON-U.S.
TAX CONSEQUENCES OF THE PLAN.




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A.     The Settlement Trust

        On the Confirmation Date, the Settlement Trust shall be established in accordance with the
Trust Documents. The Settlement Trust is intended to qualify as a “qualified settlement fund”
(“QSF”) pursuant to Treasury Regulation section 1.468B-1. The Protected Parties are the
“transferors” within the meaning of Treasury Regulation Section 1.468B-1(d)(1). The Settlement
Trustee shall be classified as the “administrator” within the meaning of Treasury Regulation
Section 1.468B-2(k)(3). The Trust Documents, including the Settlement Trust Agreement, are
incorporated herein by reference.

        Reorganized BSA shall make a “grantor trust” election under Treasury Regulation section
1.468B-1(k) with respect to the Settlement Trust for U.S. federal income tax purposes and, to the
extent permitted under applicable law, for state and local income tax purposes. By making such
election, the Settlement Trust is effectively treated as an extension of Reorganized BSA. All
parties shall report consistently with such grantor trust election.

B.     Holders of Claims

        The federal income tax consequences to a holder of a Claim receiving, or entitled to
receive, a distribution in partial or total satisfaction of a Claim may depend on a number of factors,
including the nature of the Claim, the claimants’ method of accounting, and their own particular
tax situation. Because each claimant’s tax situation differs, claimants should consult their own tax
advisors to determine how the Plan affects them for federal, state and local tax purposes, based on
their particular tax situations.

         Among other things, the federal income tax consequences of a distribution to a claimant
may depend initially on the nature of the original transaction pursuant to which the Claim arose.
For example, a distribution in repayment of the principal amount of a loan is generally not included
in the claimant’s gross income. A distribution to a holder of an Abuse Claim may not be taxable
as it may be considered compensation for personal injuries. The federal income tax consequences
of a distribution to a claimant may also depend on whether the item to which the distribution relates
has previously been included in the claimant’s gross income or has previously been subject to a
loss or bad debt deduction. For example, if a distribution is made in satisfaction of a receivable
acquired in the ordinary course of the claimant’s trade or business, and the claimant had previously
included the amount of such receivable distribution in his or her gross income under his or her
method of accounting, and had not previously claimed a loss or bad debt deduction for that amount,
the receipt of the distribution should not result in additional income to the claimant but may, as
discussed below, result in a loss.

       Conversely, if the claimant had previously claimed a loss or bad debt deduction with
respect to the item previously included in income, the claimant generally would be required to
include the amount of the distribution in income when received.

        A claimant receiving a distribution in satisfaction of his or her Claim generally may
recognize taxable income or loss measured by the difference between (i) the amount of Cash and
the fair market value (if any) of the property received and (ii) its adjusted tax basis in the Claim.
For this purpose, the adjusted tax basis may include amounts previously included in income (less


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any bad debt or loss deduction) with respect to that item. This income or loss may be ordinary
income or loss if the distribution is in satisfaction of accounts or notes receivable acquired in the
ordinary course of the claimant’s trade or business for the performance of services or for the sale
of goods or merchandise. In addition, if a claimant had claimed an ordinary bad debt deduction
for the worthlessness of his or her Claim in whole or in part in a prior taxable year, any income
realized by the claimant as a result of receiving a distribution may be taxed as ordinary income to
the extent of the ordinary deduction previously claimed. Generally, the income or loss will be
capital gain or loss if the Claim is a capital asset in the claimant’s hands.

       Subject to the qualifications and limitations set forth above:

               1. A holder of a Class 3A, 3B, 4A, or 4B Claim may recognize gain or loss
                  pursuant to the Plan depending on whether the receipt of the Claim under the
                  Restated Credit Facility Documents or under the Restated Bond Documents, as
                  applicable, in satisfaction of its existing Claim is treated as a taxable exchange
                  for U.S. federal income tax purposes. The tax treatment of the receipt of such
                  Claim pursuant to the Plan is unclear – although it seems likely under applicable
                  law that the receipt of the Claims would be treated as a taxable exchange.
                  Holders of Class 3A, 3B, 4A, or 4B Claims are strongly urged to consult their
                  own tax advisors regarding the specific tax consequences of the transactions
                  described in the Plan.

               2. A holder of a Class 5 Claim generally will recognize gain or loss measured by
                  the difference between (i) the amount of the cash and the fair market value (if
                  any) of the property received and (ii) its adjusted tax basis in the Convenience
                  Claim.

               3. A holder of a Class 6 Claim generally will recognize gain or loss measured by
                  the difference between (i) the U.S. dollar value of such holder’s Pro Rata Share
                  of the Core Value Cash Pool received and the fair market value (if any) of the
                  property received and (ii) its adjusted tax basis in the General Unsecured Claim.

               4. A holder of a Class 7 Claim generally will recognize gain or loss measured by
                  the difference between (i) the amount of cash received from (a) available
                  Insurance Coverage, (b) applicable proceeds of any Insurance Settlement
                  Agreements, and (c) co-liable non-debtors (if any) or their insurance coverage,
                  and (ii) its adjusted tax basis in the Non-Abuse Litigation Claim, unless such
                  holder elects to have its Claim treated as an Allowed Convenience Claim. A
                  holder of a Class 7 Claim that elects to have its Claim treated as an Allowed
                  Convenience Claim generally will recognize gain or loss measured by the
                  difference between (i) the amount of the cash and the fair market value (if any)
                  of the property received and (ii) its adjusted tax basis in the Non-Abuse
                  Litigation Claim.

               5. The United States federal income tax treatment of a Class 8 Claim will depend
                  on several factors, including the nature of the Abuse that forms the basis for the
                  relevant Claim. As a result, certain holders of Class 8 Claims generally will


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                   recognize gain or loss measured by the difference between (i) the amount of the
                   cash and the fair market value (if any) of the property received and (ii) their
                   adjusted tax basis in the Direct Abuse Claim, while other holders will not be
                   required to include the amount of such cash or the value of such property in
                   their gross income for U.S. federal income tax purposes. Holders of Class 8
                   Claims are urged to consult their tax advisors concerning the tax consequences
                   of the Plan.

               6. A holder of a Class 9 Claim generally will recognize gain or loss measured by
                  the difference between (i) the amount of the cash and the fair market value (if
                  any) of the property received and (ii) its adjusted tax basis in the Indirect Abuse
                  Claim.

C.     Holders that are Non-United States Persons

        Holders of Claims that are not “United States persons” (within the meaning of Section
7701(a)(30) of the Code) generally will not be subject to U.S. federal income tax with respect to
property (including Cash) received in exchange for such Claims, unless (i) such holder is engaged
in a trade or business in the United States to which income, gain or loss from the exchange is
“effectively connected” for U.S. federal income tax purposes, or (ii) if such holder is an individual,
such holder is present in the United States for 183 days or more during the taxable year of the
exchange and certain other requirements are met.

           ARTICLE XII. CONCLUSION AND RECOMMENDATION

        In the opinion of the Debtors and the Supporting Parties, the Plan is preferable to all other
available alternatives and provides for a larger and more timely distribution to the Debtors’
creditors than would otherwise result from any other scenario. Any alternative to Confirmation of
the Plan, moreover, could result in extensive delays, increased administrative expenses, reduced
financial performance, and a potential liquidation. Accordingly, the Debtors and the Supporting
Parties believe that the Plan provides the best available recovery to their stakeholders and urge the
holders of Claims in the Voting Classes to vote in favor thereof. The Debtors and the Supporting
Parties support confirmation of the Plan and recommend that holders of Claims in the Voting
Classes vote to accept the Plan.




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Dated: September 15, 2021
                                 Boy Scouts of America
                                 Delaware BSA, LLC


                                 /s/
                                 Roger C. Mosby
                                 Chief Executive Officer and President
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                        EXHIBIT A

               PLAN OF REORGANIZATION
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See Fifth Amended Chapter 11 Plan of Reorganization for Boy Scouts of America and
                     Delaware BSA, LLC filed at D.I. 6212.
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                        EXHIBIT B

      LOCAL COUNCIL FORM OF LETTER OF INTENT
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                                                                 July __, 2021
Via E-mail

Boy Scouts of America
1325 West Walnut Hill Lane
P.O. Box 152079
Irving, Texas 75015-2079


               Re:    In re Boy Scouts of America & Delaware BSA LLC,
                      Case No. 20-10343 (Bankr. D. Del.) (the “Bankruptcy Case”)

To Whom It May Concern:

               We hereby express our intent to make a contribution to a settlement trust
(the “Settlement Trust”) created under a Boy Scouts of America (“BSA”) Chapter 11 plan of
reorganization (a “Plan”).

               In addition to our rights under applicable insurance policies (subject to agreed
treatment for non-abuse-related claims), our Local Council intends to contribute cash and/or real
property to the Settlement Trust under a BSA “global resolution” Plan as set forth below.

                Our contribution, if any, of real property would be valued (the “Appraised
Value”) as provided for in the term sheet filed as part of docket number 5466-2 in the
Bankruptcy Case (the “Term Sheet”). Other mechanics regarding our council’s real property
contribution, if any, are described in the Term Sheet.

               Our contribution would be subject to the following principal conditions:

                (a) Final approval of our board of trustees or similar governing body (no such
approval has been obtained as of the date hereof) and approval by any relevant governmental
authority, if needed;

               (b) Entry of a channeling injunction and releases covering our Local Council
(including any predecessors to our Local Council, and any trusts or entities that support Local
Council operations), our Local Council’s board members, volunteers and employees (other than
alleged perpetrators);

               (c) Acceptable resolution of insurance and indemnity issues with respect to our
chartered partners, to be negotiated, including through the use of a channeling injunction and/or
voluntary releases;

                (d) Contributions of cash and real property into the Settlement Trust by or on
behalf of all other Local Councils which, together with our Local Council’s contribution, will
total $500 million (comprised of at least $300 million of cash);
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               (e) Continuation of the Bankruptcy Court’s preliminary injunction regarding
abuse-related claims until the effective date of the Plan;

              (f) the Plan, all relevant court orders and all other definitive documentation being
in form and substance satisfactory to us and to the Ad Hoc Committee of Local Councils of the
Boy Scouts of America.

               This letter is a non-binding letter of intent. Nothing herein creates any obligation
whatsoever, including to contribute to the Settlement Trust. Nothing herein is an admission with
respect to any matter or any factual or legal issue of any kind, including any liability for or in
respect of any abuse claim.


                      Sincerely,

                                             X ________________________________________

                                      By:    __________________________________________

                                      Title: __________________________________________

                      Local Council Name: __________________________________________

                      Local Council No.:     __________________________________________



                    [Contribution amount / form(s) indicated on next page(s)]
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Local Council Name: _____________________________________

Local Council No.:    _____________________________________



Total contribution (per Ad Hoc Committee framework): $ _______________________________

Cash to be contributed: $ _________________________________________________________

Number of real properties to be contributed (if any): ___________________________________

Total Appraised Value of all contributed real properties (if any): _________________________

   (If real property will be contributed, please complete one copy of the next page for each
   piece of property to be contributed. The “Total Appraised Value” line above should refect
   the combined total of all of these real properties.)
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   Local Council Name and Number:            _____________________________________

   Real property number ____ of ____ total properties intended to be contributed by the council.


Description (including acres)


Entire property or portion thereof?

If a portion, description of portion (including
acres and approximate percentage of total):

If an entire property and valued based on
CBRE/Keen/JLL desktop appraisals (a.k.a.                 $
“restricted appraisal reports” or “broker opinions
of value”),1 the Appraised Value:

If a Qualified On-Site Appraisal2 will be used,3
but has not been completed by the date that this         $
Letter of Intent is executed, the
Local Council’s good faith estimate4 of the likely
Appraised Value:

If a Qualified On-Site Appraisal2 will be used,3
and has been completed by the date that this             $
Letter of Intent is executed, the Appraised Value:



   1
            This valuation method can be used where a council is contributing an entire property that either
   (1) is not subject to a Lower Tier Restriction (as defined in the Term Sheet) or (2) is subject to a Lower
   Tier Restriction but such restriction is taken into account in the desktop appraisal. See Term Sheet at
   pages 10-11 for further details.
   2
           See Term Sheet at 12 for definition of “Qualified On-Site Appraisal.”
   3
           This valuation method can be used: (1) where a council is contributing a portion of a property,
   (2) where a council is contributing an entire property that is not subject to a Lower Tier Restriction
   (subject to averaging with any CBRE/Keen/JLL desktop appraisals), or (3) where a council is
   contributing an entire property that is subject to a Lower Tier Restriction that is not reflected in any
   CBRE/Keen/JLL desktop appraisal of the property. See Term Sheet at pages 10-11 for further details.
   4
           Note that, if the council intends to rely on a Qualified On-Site Appraisal, the council may need to
   designate replacement property or adjust its cash contribution if the completed Qualified On-Site
   Appraisal does not result in an Appraised Value equal to the good faith estimate indicated on this form.
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                          EXHIBIT C

EXPECTED LOCAL COUNCIL SETTLEMENT TRUST CONTRIBUTION
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Boy Scouts of America
Local Council Settlement Trust Contribution [2]


     Local Council                      Local Council                  Total                   Cash                 Property
       Number                             Name [1]                 Contribution [2]         Contribution          Contribution [3]
         001            Greater Alabama                        $           3,685,328    $          2,364,428    $         1,320,900
         003            Alabama-Florida                                       114,311                114,311                       -
         004            Mobile Area                                            34,897                  34,897                      -
         005            Tukabatchee Area                                      832,901                459,151                 373,750
         006            Black Warrior                                         767,974                687,974                  80,000
         010            Grand Canyon                                       7,007,972               2,366,672              4,641,300
         011            Catalina                                           1,080,484               1,049,521                  30,963
         013            De Soto Area                                          130,903                130,903                       -
         016            Westark Area                                          942,308                942,308                       -
         018            Quapaw Area                                        4,616,045               4,616,045                       -
         023            Golden Gate Area                                   8,000,000               8,000,000                       -
         027            Sequoia                                               567,536                497,036                  70,500
         030            Southern Sierra                                       148,908                122,997                  25,911
         031            Pacific Skyline                                    2,905,055               2,905,055                       -
         032            Long Beach Area                                    4,262,425               2,042,425              2,220,000
         033            Greater Los Angeles Area                           8,000,000               5,300,000              2,700,000
         035            Marin                                              1,030,344               1,030,344                       -
         039            Orange County                                     13,008,500                      -              13,008,500
         041            Redwood Empire                                        197,221                197,221                       -
         042            Piedmont                                              541,098                541,098                       -
         045            California Inland Empire                           1,154,569               1,154,569                       -
         047            Golden Empire                                      1,320,000               1,320,000                       -
         049            San Diego-Imperial                                 2,661,800                      -               2,661,800
         051            Western Los Angeles County                         1,250,000                 975,000                 275,000
         053            Los Padres                                         1,834,155                 634,155              1,200,000
         055            Silicon Valley Monterey Bay                       10,000,000               7,570,000              2,430,000
         057            Ventura County                                        325,018                325,018                       -
         058            Verdugo Hills                                         973,434                973,434                       -
         059            Greater Yosemite                                   2,200,000                      -               2,200,000
         060            Pikes Peak                                         1,718,941               1,718,941                       -
         061            Denver Area                                        6,000,000                      -               6,000,000
         062            Longs Peak                                         2,936,807               2,936,807                       -
         063            Rocky Mountain                                         11,492                  11,492                      -
         066            Connecticut Rivers                                 4,083,054               4,083,054                       -
         067            Greenwich                                             802,477                802,477                       -
         069            Housatonic                                            235,901                235,901                       -
         070            Old North State                                    4,767,600                 341,969              4,425,631
         072            Connecticut Yankee                                 2,581,836               1,131,836              1,450,000
         081            Del-Mar-Va                                         2,241,287               2,241,287                       -
         082            National Capital Area                              8,000,000               4,804,000              3,196,000
         083            Central Florida                                    1,224,354               1,224,354                       -
         084            South Florida                                      3,163,180               3,163,180                       -
         085            Gulf Stream                                        1,170,000                      -               1,170,000
         087            North Florida                                      5,284,701               5,284,701                       -
         088            Southwest Florida                                  2,121,962               2,121,962                       -
         089            Greater Tampa Bay Area                             6,052,120               1,052,120              5,000,000
         091            Chattahoochee                                         937,997                937,997                       -
         092            Atlanta Area                                       8,000,000               8,000,000                       -
         093            Georgia-Carolina                                      326,070                326,070                       -
         095            Flint River                                           766,174                766,174                       -
         096            Central Georgia                                       299,458                299,458                       -
         098            South Georgia                                         436,247                436,247                       -
         099            Coastal Georgia                                    2,584,395               2,584,395                       -
         100            Northwest Georgia                                     802,019                553,949                 248,070
         101            Northeast Georgia                                  2,138,766               1,947,991                 190,775



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Boy Scouts of America
Local Council Settlement Trust Contribution [2]


     Local Council                      Local Council                  Total               Cash               Property
       Number                             Name [1]                 Contribution [2]     Contribution        Contribution [3]
         104            Aloha                                              1,338,358           1,338,358                   -
         106            Mountain West                                      2,020,156           2,020,156                   -
         107            Grand Teton                                        1,091,207           1,091,207                   -
         117            Prairielands                                          467,331            467,331                   -
         127            Three Fires                                        1,601,000           1,601,000                   -
         129            Northeast Illinois                                 2,190,574           2,190,574                   -
         133            Illowa                                                783,586            783,586                   -
         138            W.D. Boyce                                         1,045,115           1,045,115                   -
         141            Mississippi Valley                                    989,191            989,191                   -
         144            Abraham Lincoln                                    1,568,064           1,192,064               376,000
         145            Hoosier Trails                                        757,931            757,931                   -
         156            Buffalo Trace                                         553,341            481,841                71,500
         157            Anthony Wayne Area                                 1,309,804           1,309,804                   -
         160            Crossroads of America                              4,321,870           4,321,870                   -
         162            Sagamore                                           1,149,115           1,149,115                   -
         165            LaSalle                                            1,319,467             654,467               665,000
         172            Hawkeye Area                                          446,691            446,691                   -
         173            Winnebago                                             723,157            723,157                   -
         177            Mid-Iowa                                           2,502,671           2,502,671                   -
         178            Northeast Iowa                                        678,374            678,374                   -
         192            Coronado Area                                         856,886            856,886                   -
         194            Santa Fe Trail                                        203,382            203,382                   -
         197            Jayhawk Area                                          345,573            295,573                50,000
         198            Quivira                                               975,000                 -                975,000
         204            Blue Grass                                            110,356            110,356                   -
         205            Lincoln Heritage                                   3,632,563           3,632,563                   -
         209            Calcasieu Area                                        442,315            442,315                   -
         211            Istrouma Area                                         680,000                 -                680,000
         212            Evangeline Area                                       167,830            167,830                   -
         213            Louisiana Purchase                                 1,167,454           1,167,454                   -
         214            Southeast Louisiana                                1,877,632             577,632             1,300,000
         215            Norwela                                            2,936,807           2,936,807                   -
         216            Katahdin Area                                         275,157              16,357              258,800
         218            Pine Tree                                             904,025            904,025                   -
         220            Baltimore Area                                     4,317,564           4,317,564                   -
         221            Mason-Dixon                                           345,990            345,990                   -
         224            Cape Cod and Islands                                  844,020            844,020                   -
         227            Spirit of Adventure                                3,840,767           2,338,442             1,502,325
         230            Heart of New England                               1,406,503           1,406,503                   -
         234            Western Massachusetts                                 664,939            664,939                   -
         250            Northern Star                                      7,223,055           6,537,055               686,000
         251            Mayflower                                          5,035,539           5,035,539                   -
         283            Twin Valley                                           783,963            783,963                   -
         286            Voyageurs Area                                        510,201            510,201                   -
         296            Central Minnesota                                     276,941            276,941                   -
         299            Gamehaven                                             321,630                 330              321,300
         302            Choctaw Area                                          519,164            519,164                   -
         303            Andrew Jackson                                     1,512,001             955,001               557,000
         304            Pine Burr Area                                        330,068            330,068                   -
         306            Ozark Trails                                       2,241,929           1,326,929               915,000
         307            Heart of America                                   6,971,313           3,971,313             3,000,000
         311            Pony Express                                       1,015,000             615,000               400,000
         312            Greater St. Louis Area                             7,986,838           7,986,838                   -
         315            Montana                                            3,181,676           3,181,676                   -
         322            Overland Trails                                       468,988            468,988                   -



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Boy Scouts of America
Local Council Settlement Trust Contribution [2]


     Local Council                      Local Council                  Total               Cash               Property
       Number                             Name [1]                 Contribution [2]     Contribution        Contribution [3]
         324            Cornhusker                                            356,000            356,000                   -
         326            Mid-America                                        4,280,708           4,280,708                   -
         328            Las Vegas Area                                     3,385,736           3,250,736               135,000
         329            Nevada Area                                        2,506,435           2,506,435                   -
         330            Daniel Webster                                     3,525,762           1,600,762             1,925,000
         333            Northern New Jersey                                3,064,566           3,064,566                   -
         341            Jersey Shore                                          386,141            386,141                   -
         347            Monmouth                                           3,170,811           1,990,811             1,180,000
         358            Patriots' Path                                     3,704,240           1,804,199             1,900,041
         364            Twin Rivers                                        2,595,200           2,046,700               548,500
         368            Baden-Powell                                       1,371,787           1,371,787                   -
         373            Longhouse                                             840,707                 -                840,707
         375            Five Rivers                                           831,968              21,968              810,000
         376            Iroquois Trail                                        342,546            117,546               225,000
         380            Greater Niagara Frontier                           1,537,485                  -              1,537,485
         382            Allegheny Highlands                                   899,358            333,992               565,366
         386            Theodore Roosevelt                                 3,989,485           3,989,485                   -
         388            Greater Hudson Valley                              6,367,835           6,367,835                   -
         397            Seneca Waterways                                   8,000,000           8,000,000                   -
         400            Leatherstocking                                    4,493,457           1,093,457             3,400,000
         404            Suffolk County                                     1,717,800           1,717,800                   -
         405            Rip Van Winkle                                        240,016            240,016                   -
         412            Great Southwest                                       116,570            116,570                   -
         413            Conquistador                                       1,950,432           1,948,098                 2,334
         414            Daniel Boone                                          656,424            656,424                   -
         415            Mecklenburg County                                 2,920,183           2,920,183                   -
         416            Central North Carolina                             1,840,659           1,400,000               440,659
         420            Piedmont                                           2,785,859           2,785,859                   -
         421            Occoneechee                                        1,946,429           1,013,429               933,000
         424            Tuscarora                                             858,650            858,650                   -
         425            Cape Fear                                          1,044,895             126,895               918,000
         426            East Carolina                                      1,940,873           1,045,873               895,000
         427            Old Hickory                                        1,084,223           1,084,223                   -
         429            Northern Lights                                    1,915,148           1,915,148                   -
         433            Great Trail                                        3,059,259           3,059,259                   -
         436            Buckeye                                            2,614,529           1,945,529               669,000
         438            Dan Beard                                          4,064,829           4,064,829                   -
         439            Tecumseh                                              653,395            493,395               160,000
         440            Lake Erie                                          6,546,918           6,546,918                   -
         441            Simon Kenton                                       2,659,872           2,416,872               243,000
         444            Miami Valley                                       1,255,126                  -              1,255,126
         449            Black Swamp Area                                   1,681,202           1,681,202                   -
         456            Pathway to Adventure                               7,225,067           7,225,067                   -
         460            Erie Shores                                        4,161,154           4,161,154                   -
         467            Muskingum Valley                                      513,391            513,391                   -
         468            Arbuckle Area                                         572,866            572,866                   -
         469            Cherokee Area                                         315,366            315,366                   -
         474            Cimarron                                              282,652            282,652                   -
         480            Last Frontier                                      3,646,048           3,646,048                   -
         488            Indian Nations                                     2,637,142           1,972,142               665,000
         491            Crater Lake                                           320,470              55,470              265,000
         492            Cascade Pacific                                   10,000,000          10,000,000                   -
         497            Juniata Valley                                        421,504            421,504                   -
         500            Moraine Trails                                     1,196,485             204,485               992,000
         501            Northeastern Pennsylvania                             687,262            687,262                   -



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Boy Scouts of America
Local Council Settlement Trust Contribution [2]


     Local Council                      Local Council                  Total               Cash               Property
       Number                             Name [1]                 Contribution [2]     Contribution        Contribution [3]
         502            Minsi Trails                                       2,580,916           2,580,916                   -
         504            Columbia-Montour                                      260,931            260,931                   -
         509            Bucktail                                              260,931            260,931                   -
         512            Westmoreland-Fayette                               1,367,518           1,083,676               283,842
         524            Pennsylvania Dutch                                 1,054,371           1,054,371                   -
         525            Cradle of Liberty                                  6,806,713             376,313             6,430,400
         527            Laurel Highlands                                   5,972,147           5,972,147                   -
         528            Hawk Mountain                                      1,636,124           1,636,124                   -
         532            French Creek                                          699,673            699,673                   -
         533            Susquehanna                                           453,846            453,846                   -
         538            Chief Cornplanter                                     260,931            260,931                   -
         539            Chester County                                     1,559,680           1,559,680                   -
         544            New Birth of Freedom                               2,713,971           2,713,971                   -
         546            Narragansett                                       6,440,530           6,440,530                   -
         549            Palmetto                                              165,998            165,998                   -
         550            Coastal Carolina                                      216,987            141,987                75,000
         551            Blue Ridge                                         1,058,966                  -              1,058,966
         552            Pee Dee Area                                          889,440            264,440               625,000
         553            Indian Waters                                         556,559            556,559                   -
         556            Cherokee Area                                      1,180,000                  -              1,180,000
         557            Great Smoky Mountain                               1,193,687           1,088,687               105,000
         558            Chickasaw                                          2,045,752           2,045,752                   -
         559            West Tennessee Area                                   140,520                 -                140,520
         560            Middle Tennessee                                   3,586,493           3,586,493                   -
         561            Texas Trails                                          627,654            627,654                   -
         562            Golden Spread                                      2,133,734           2,133,734                   -
         564            Capitol Area                                       4,196,142           4,196,142                   -
         567            Buffalo Trail                                      1,148,568                  -              1,148,568
         571            Circle Ten                                         7,989,824           7,989,824                   -
         573            Yucca                                                 684,194            684,194                   -
         574            Bay Area                                           1,019,611           1,019,611                   -
         576            Sam Houston Area                                   7,968,144           7,968,144                   -
         577            South Texas                                           372,925            372,925                   -
         578            Three Rivers                                          802,596            802,596                   -
         583            Alamo Area                                         4,241,105           2,441,105             1,800,000
         584            Caddo Area                                            506,208            506,208                   -
         585            East Texas Area                                    1,505,910           1,505,910                   -
         587            Northwest Texas                                       529,586            529,586                   -
         590            Crossroads of the West                             4,413,897           3,082,897             1,331,000
         592            Green Mountain                                        802,732            590,661               212,071
         595            Colonial Virginia                                     347,149            347,149                   -
         596            Tidewater                                             621,354            570,769                50,585
         598            Shenandoah Area                                       188,673            188,673                   -
         599            Blue Ridge Mountains                                  739,330            739,330                   -
         602            Heart of Virginia                                  2,067,014           1,517,014               550,000
         604            Blue Mountain                                         673,098              98,098              575,000
         606            Mount Baker                                        2,150,000                  -              2,150,000
         609            Chief Seattle                                      7,517,262           7,517,262                   -
         610            Great Alaska                                          579,090            579,090                   -
         611            Inland Northwest                                      164,963            164,963                   -
         612            Pacific Harbors                                    2,260,810           2,260,810                   -
         614            Grand Columbia                                        254,101            118,414               135,688
         615            Mountaineer Area                                      527,717            416,717               111,000
         617            Buckskin                                           1,890,783           1,890,783                   -
         619            Ohio River Valley                                     895,582            835,582                60,000



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Boy Scouts of America
Local Council Settlement Trust Contribution [2]


     Local Council                      Local Council                          Total                      Cash                    Property
       Number                             Name [1]                         Contribution [2]            Contribution             Contribution [3]
         620            Glacier's Edge                                                615,218                   615,218                         -
         624            Gateway Area                                                  328,075                   328,075                         -
         627            Samoset                                                       744,921                   714,142                      30,780
         635            Bay-Lakes                                                  2,876,230                  2,876,230                         -
         636            Three Harbors                                              3,685,039                  3,685,039                         -
         637            Chippewa Valley                                               411,891                   411,891                         -
         638            Greater Wyoming                                               405,893                   405,893                         -
         640            Greater New York                                           9,000,000                  9,000,000                         -
         651            Potawatomi Area                                               560,174                   560,174                         -
         653            Great Rivers                                                  420,000                        -                      420,000
         660            Blackhawk Area                                             1,611,059                    142,059                   1,469,000
         661            Puerto Rico                                                   233,059                   233,059                         -
         662            Longhorn                                                   1,619,485                  1,619,485                         -
         664            Suwannee River Area                                           224,459                   224,459                         -
         690            Garden State                                               3,890,626                  2,118,437                   1,772,189
         691            Pushmataha Area                                                83,882                     83,882                        -
         694            South Plains                                                  755,075                   755,075                         -
         695            Black Hills Area                                              160,573                   160,573                         -
         696            Midnight Sun                                               1,023,336                  1,023,336                         -
         697            Oregon Trail                                               3,141,676                  3,141,676                         -
         702            Rainbow                                                       759,968                   566,968                     193,000
         713            Sequoyah                                                      796,698                   796,698                         -
         733            Sioux                                                         524,247                   524,247                         -
         741            Texas Southwest                                               221,936                   221,936                         -
         748            Yocona Area                                                   291,074                   291,074                         -
         763            Virginia Headwaters                                           287,066                   287,066                         -
         773            Gulf Coast                                                    140,734                   140,734                         -
         775            Rio Grande                                                    562,009                   562,009                         -
         777            Washington Crossing                                        1,390,180                  1,390,180                         -
         780            Michigan Crossroads                                        7,983,003                  5,819,003                   2,164,000
         802            Transatlantic                                                 447,138                   447,138                         -
         803            Far East                                                      778,355                   778,355                         -

Footnotes:
 [1] Longs Peak (LC #062) and Greater Wyoming (LC #638) merged on May 1, 2021; however, the councils submitted a single letter of intent
 reflecting separate contribution numbers for each council.
 [2] Total contributions for each Local Council are listed herein as set forth in each Local Council’s respective letter of intent; the total amount
 and composition of each Local Council’s contribution is subject to material change, provided that the value of the Local Councils’ contributions
 of cash and property shall equal $500 million in the aggregate and that the cash portion shall be no less than $300 million in the aggregate.
 [3] The values of certain Local Council properties are subject to change pending the completion of Qualified On-Site Appraisals and, as such,
 the value of each Local Council property for purposes of the Local Council Settlement Contribution is subject to material change, provided that,
 as noted above, the value of the Local Councils’ contributions of cash and property shall be no less than $500 million in the aggregate and that
 the cash portion shall be no less than $300 million in the aggregate.




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                        EXHIBIT D

                LIQUIDATION ANALYSIS
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                                           Boy Scouts of America

                                                   Exhibit D

                                            Liquidation Analysis1

        This hypothetical liquidation analysis (this “Liquidation Analysis”) is based on certain
estimates and assumptions that the Debtors have developed, with the assistance of their advisors,
and which the Debtors consider to be reasonable under the circumstances of the Chapter 11 Cases.
These estimates and assumptions are inherently subject to significant economic, operational, legal,
and other uncertainties and contingencies that are outside of the Debtors’ control. Accordingly,
the Debtors cannot provide any assurance that the values reflected in this Liquidation Analysis
would be realized if the Debtors were, in fact, to undergo the liquidation discussed herein, and
actual results in the event of a liquidation could vary materially from this Liquidation Analysis.

       In summary, the Liquidation Analysis estimates that a maximum of $451.1 million would
be available to unsecured creditors of which $384.4 million to $421.9 million would be available
to Abuse Claims depending on the amount of Allowed Abuse Claims. As discussed below, the
Liquidation Analysis excludes any proceeds from insurance or from recoveries from any
contribution claims against Chartered Organizations, on the basis that recoveries from such
proceeds are assumed to be materially the same or greater under a plan of reorganization that
provides for a global resolution of Abuse Claims than under a chapter 7 liquidation.

1)    Introduction

     The Debtors, with the assistance of their legal and financial advisors, have prepared this
Liquidation Analysis in connection with the Plan and the Disclosure Statement. As described in
Article IX.D of the Disclosure Statement, section 1112(c) of the Bankruptcy Code provides that
the chapter 11 cases of non-profit corporations such as the Debtors may not be involuntarily
converted to cases under chapter 7 of the Bankruptcy Code. See 11 U.S.C. § 1112(c) (“The court
may not convert a case under [chapter 11] to a case under chapter 7 of this title if the debtor is a
farmer or a corporation that is not a moneyed, business, or commercial corporation, unless the
debtor requests such conversion.”). Because the Chapter 11 Cases could not be involuntarily
converted a chapter 7 liquidation, the Debtors submit that they are not required to satisfy the
requirements of section 1129(a)(7) in connection with confirmation of the Plan. Although the
Debtors do not believe they are required to satisfy the “best interests of creditors” test embodied
in section 1129(a)(7), the Debtors do believe that this Liquidation Analysis will be helpful to
holders of Claims as they evaluate their proposed treatment under the Plan. This Liquidation
Analysis shall not be construed as or deemed to constitute a waiver or admission of any kind. The
Debtors reserve all rights to oppose the applicability of the best interests test in the Chapter 11
Cases, including any arguments that the Local Councils must be included in the Liquidation
Analysis.

        The Liquidation Analysis permits holders of Impaired Claims to evaluate whether they will

1
 All capitalized terms not otherwise defined herein shall have the meanings ascribed to them the Plan or Disclosure
Statement, as applicable.



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receive or retain value under the Plan on account of their Claims of a value, as of the Effective
Date, that is not less than the amount that such holder would receive if the Debtors were liquidated
under chapter 7 of the Bankruptcy Code. To calculate the probable distribution to holders of
Claims in each Impaired Class if the Debtors were liquidated under chapter 7, the Liquidation
Analysis:

     i)      estimates the cash proceeds (the “Liquidation Proceeds”) that a chapter 7 trustee (the
             “Trustee”) would generate if the Chapter 11 Cases were converted to cases under
             chapter 7 on the Effective Date and the assets of the Debtors’ Estates and the Related
             Non-Debtor Entities were liquidated;

     ii)     determines the distribution each holder of an Impaired Claim would receive from
             the Liquidation Proceeds under the statutory priority scheme that applies in a case
             under chapter 7; and

     iii)    compares each holder’s distribution from the Liquidation Proceeds to the
             distribution such creditor would receive under the Plan if it were confirmed and
             consummated.

      This Exhibit D to the Disclosure Statement contains three sets of analyses. The first section
contains the Liquidation Analysis applicable to the Debtors and Related Non-Debtor Entities. The
second section provides a similar analysis in relation to the Local Councils. Although the Debtors
do not believe they are required to satisfy the best-interests test as it relates to the Local Councils,
the Debtors have consented to including this analysis to address objections to the Disclosure
Statement asserted by the Tort Claimants’ Committee and various individuals holding Class 8
Direct Abuse Claims. Third and finally, this Exhibit D contains an analysis depicting a
combination of the Liquidation Analysis pertaining to the Debtors and Related Non-Debtor
Entities and the analysis pertaining to the hypothetical liquidation of the Local Councils. As noted
above, this Liquidation Analysis shall not be construed as or deemed to constitute a waiver or
admission of any kind. The Debtors reserve all rights to oppose the applicability of the best
interests test in the Chapter 11 Cases.

2)   Liquidation Analysis of Debtors and Related Non-Debtor Entities

     i)      Process and Assumption Overview

        This Liquidation Analysis was prepared on a consolidated basis and assumes that the
Debtors and all of the Related Non-Debtor Entities with material assets (specifically, National Boy
Scouts of America Foundation, Arrow WV, Inc., BSA Asset Management, LLC, and Learning for
Life) would be liquidated on a jointly administered but nonconsolidated basis. This Liquidation
Analysis has been prepared assuming that the Chapter 11 Cases are converted to chapter 7 on or
about December 31, 2021 (the “Conversion Date”) and that Related Non-Debtor Entities file for
chapter 7 liquidation at that time. Certain of the Related Non-Debtor Entities are not subsidiaries
of the BSA but rather are independently incorporated non-stock, non-profit entities. Accordingly,
the Liquidation Analysis does not consider any defenses that could be raised by the Related Non-
Debtor Entities as to whether their assets would be available to the BSA’s creditors, which
defenses, if successful, would reduce the recoveries set forth herein. The Debtors have assumed



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that the liquidation would occur over an approximately six-month time period. This assumption
is consistent with assumptions utilized for hypothetical liquidations analyses in other chapter 11
cases. In the Debtors’ view, six months is the minimum time period that would be required to
complete the sale of substantially all of the Debtors’ unrestricted assets,2 monetize and collect
receivables and other unrestricted assets of the Debtors and Related Non-Debtor Entities, and
administer and wind-down the estates. Except as otherwise noted herein, the Liquidation
Analysis is based upon the Debtors’ and Related Non-Debtor Entities’ unaudited pro forma
consolidated balance sheets as of February 28, 2021, and those values are assumed to be
representative of the Debtors’ and Related Non-Debtor Entities’ assets and liabilities as of the
Conversion Date unless otherwise noted. Any projected balance sheet amounts presented in this
Liquidation Analysis are intended to be a proxy for actual balances on the Conversion Date (the
“Liquidation Balances”). In addition, this Liquidation Analysis incorporates certain adjustments
to account for the effects of the chapter 7 liquidation process, including costs of winding down the
Debtors’ and Related Non-Debtor Entities’ estates, employee-related costs, and professional and
Trustee fees.

        It is assumed that, on the Conversion Date, the Bankruptcy Court would appoint the
Trustee, who would sell the unrestricted assets of the Debtors’ and Related Non-Debtor Entities’
bankruptcy estates and distribute the Liquidation Proceeds, net of liquidation-related costs, to
creditors in accordance with the statutory priority scheme provided for under section 726 of the
Bankruptcy Code. To maximize recoveries in an expedited process, this Liquidation Analysis
assumes that the Trustee’s initial step would be to develop a liquidation plan to generate
Liquidation Proceeds from the sale of the Debtors’ and Related Non-Debtor Entities’ unrestricted
assets for distribution to creditors. This Liquidation Analysis assumes the appointed Trustee will
retain legal and financial advisors and real estate and other brokers to assist in the liquidation.

        This Liquidation Analysis assumes that a Trustee would immediately begin the wind-down
process following a conversion to chapter 7, with minimal employee and operating costs
continuing during the liquidation process. The Debtors’ and Related Non-Debtor Entities’
unrestricted assets would be marketed on an accelerated timeline, and asset sales would generally
occur within the six-month wind-down period. Asset values in the liquidation process are assumed
to be driven by, among other factors:

               the accelerated time frame in which the assets are marketed and sold;

               the loss of key personnel;

               negative public sentiment and damage to the BSA’s brand; and

               the general forced nature of the sale.


2
  For purposes of this Exhibit D, a “restricted” asset is an asset that is subject to enforceable use restrictions under
applicable law or an asset that the Debtors, the Related Non-Debtor Entities or the Local Councils hold in a fiduciary
capacity for the sole benefit of donors, their intended beneficiaries, or members of the public who have entrusted the
Debtors, Related Non-Debtor Entities or Local Councils to carry out their respective charitable missions. The
Bankruptcy Code recognizes and enforces these state-law restrictions in bankruptcy cases of charitable non-profit
corporations under sections 363(d)(1) and 541(d) of the Bankruptcy Code.



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       The cessation of operations in a liquidation would likely trigger certain Claims that
otherwise would not exist under a Plan absent a liquidation. Examples of these kinds of Claims
include, without limitation, potential employee Claims (such as severance or WARN Act Claims)
and executory contract and unexpired lease rejection damages Claims. The amounts of these
Claims could be material and certain of these Claims could be entitled to administrative or priority
payment status under the relevant provisions of the Bankruptcy Code. Administrative and priority
Claims would be paid in full from the Liquidation Proceeds before the balance of such proceeds
would be made available to holders of allowed general unsecured Claims. Estimates of certain of
these potential additional Claims have been included in the Liquidation Analysis.

        Except as described below with respect to the Debtors’ restricted investments, no recovery
or related litigation costs have been attributed to any potential avoidance actions under the
Bankruptcy Code, including potential preference or fraudulent transfer actions. The Debtors
believe that the vast majority of the payments made to creditors in the 90 days preceding the
chapter 11 proceedings (including one year for insiders) were in the ordinary course of business
and when weighed against, among other issues, the cost of such litigation, the uncertainty of the
outcome thereof and anticipated disputes regarding these matters, the outcome of such litigation is
unlikely to affect materially the outcome of the Liquidation Analysis. Additionally, this analysis
does not include estimates for tax consequences, either federal or state, that may be triggered upon
the liquidation and sale of assets; these tax consequences could be material. Finally, the
Liquidation Analysis assumes that there will not be any proceeds from the Debtors’ directors and
officers liability insurance available to satisfy creditors generally because the Debtors are unaware
of any legally viable causes of action that could be asserted on behalf of the general creditor body
that would recover from the Debtors’ directors and officers liability insurance.

        A substantial amount of the Debtors’ and certain of the Related Non-Debtors Entities’
assets are subject to valid and enforceable donor-imposed restrictions on use or disposition of such
assets.3 Under applicable law, restricted assets do not constitute property of the estate and would
not be available to creditors in a chapter 7 liquidation.4 The Liquidation Analysis excludes the
value of those assets in calculating the gross Liquidation Proceeds unless specifically noted.
Moreover, certain of the Debtors’ and Local Councils’ properties may be less marketable due to
disputes over their classification as being restricted or unrestricted, limitations on their use
including requirements to be used in the same manner, or restrictions on commercial

3
 The Debtors are continuing to assess their restricted assets in connection with the adversary complaint filed by the
Tort Claimants’ Committee on January 8, 2021 (Adv. Pro. No. 21-50032).
4
  In a chapter 7 liquidation of a charitable non-profit corporation, courts often apply the cy pres doctrine to carry out
a donor’s intent rather than distribute a restricted donation to creditors. For example, in Salisbury v. Ameritrust Tex.
N.A. (In re Bishop College), 151 B.R. 394 (Bankr. N.D. Tex. 1993), the trustee of a testamentary trust declined to
continue to pay trust income to a defunct private college that had commenced chapter 7 proceeds on the basis that the
original purpose of the gift—providing scholarships—had become impossible to fulfill. Id. at 396. The bankruptcy
court denied the chapter 7 trustee’s turnover action, holding that, “[u]nder Texas law, where the particular charitable
purpose for which the trust was created becomes impossible of achievement or illegal or impracticable, the trust does
not fail if the settlor has shown a general intention that his property shall be used for charitable purposes.” Id. at 400.
In this situation, the court reasoned, “the court will exercise its cy pres power to authorize that the property be applied
to some other some other particular charitable purpose falling within the general intention of the settlor,” and that “the
court will choose the public charity which is as near as possible to the one designated by the settlor.” Id.




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development.5

        In addition, certain other factors could materially diminish the Liquidation Proceeds due to
the nature of the Debtors’ status as non-profit entities. The Debtors will be required to comply
with the applicable non-bankruptcy law that governs non-profit entities in connection with the
disposition of their assets. These obligations vary among jurisdictions, but can require, inter alia,
consent from a state’s attorney general or other governmental authorities. State attorneys general
may intervene or, depending upon state law, be compelled to intervene, in a chapter 7 liquidation
to ensure that the intent of donors is carried out and that the restricted donations are not distributed
to creditors.6 The costs that attend these potential disputes and related delays and uncertainty
regarding the same are not factored into this Liquidation Analysis and could reasonably be
expected to negatively impact the Liquidation Proceeds.

        Under a chapter 7 liquidation, moreover, it is likely that the BSA’s defined benefit pension
plan would be terminated and the Pension Benefit Guarantee Corporation (the “PBGC”) would
pursue its Claim of approximately $1.1 billion against all members of the controlled group, which
are jointly and severally liable for such amounts and include the Related Non-Debtor Entities and
Local Councils. The Debtors expect that under section 4068(a) of ERISA, the PBGC would
successfully assert a lien arising as of the termination date against each member of the controlled
group in an amount not to exceed 30% of the “collective net worth” of all members of the
controlled group combined. However, for any member of the controlled group that has filed for
bankruptcy prior to the termination, the automatic stay will generally prevent perfection of any
lien under ERISA. The PBGC’s Claim could therefore be asserted jointly and severally against
each member of the controlled group in the full amount of the approximately $1.1 billion Claim,
provided that the PBGC’s Claim, to the extent not secured by a lien under ERISA, would likely be
treated as a General Unsecured Claim. The Liquidation Analysis assumes that the lien on Related
Non-Debtor Entity and Local Council assets would represent 30% of Liquidation Proceeds
remaining for all of the Debtors, Related Non-Debtor Entities, and Local Councils combined after
wind down costs and secured debt, if any. In the event the PBGC was unable to assert a secured
claim or its security interest was invalidated, the PBGC would still have an unsecured claim against
each member of the controlled group. As such Claim would be asserted jointly against members
of the controlled group, including Local Councils, the PBGC is expected to recover in full on
account of its Claim. The ability of the PBGC to recover in full in this circumstance is due to the
significant size of its claim, which would be asserted in full against each member of the controlled
group, as compared to the other claims against such entities, and the fact that the aggregate assets
of the controlled group exceed the PBGC claim. Thus, in the event that the PBGC’s Claim is not
treated as a secured claim, the recoveries discussed herein will not materially change.

         Approximately 82,500 non-duplicative Claims alleging Abuse were timely filed against

5
  In re Save Our Springs (S.O.S.) All., Inc., 388 B.R. 202, 239 (Bankr. W.D. Tex. 2008) (finding, in a non-profit
chapter 11 case, that “the evidence offered by the debtor regarding its assets and their values . . . [was] credible and
substantial” and that such evidence was sufficient to meet the best interests test, “considering the unique nature of the
Debtor as a non-profit organization dependent on contributions that are voluntary and may be restricted, and of the
Debtor's other assets . . .”).
6
  See In re Bishop College, 151 B.R. at 397 (observing that the Texas attorney general intervened in the chapter 7
trustee’s turnover action, which under Texas law “is required in all disputes involving charitable trusts”).




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the BSA in the Chapter 11 Cases. The BSA and certain Local Councils have procured commercial
general liability policies from multiple insurers since the 1930s to protect themselves from losses
including Abuse Claims. This Liquidation Analysis does not account for any recovery from
insurance proceeds (irrespective of whether an insured Claim relates to Abuse) on the basis that
recoveries from such proceeds are assumed to be materially the same or greater under a plan of
reorganization that provides for a global resolution of Abuse Claims than under a chapter 7
liquidation.7 In addition, the Liquidation Analysis does not account for any potential recovery from
Chartered Organizations, as potential co-liable parties under the Abuse Claims, on the basis that
recoveries from such proceeds are assumed to be materially the same or greater under a plan of
reorganization that provides for a global resolution of Abuse Claims than under a chapter 7
liquidation.

      ii)         Distribution of Net Proceeds to Claimants

        Any available net proceeds would be allocated to holders of Claims in accordance with the
priority scheme of section 726 of the Bankruptcy Code:

                 Liquidation Adjustments / Super Priority Claims – includes estimated fees paid to the
                  U.S. Trustee and Clerk of the Bankruptcy Court, wind-down costs and certain
                  Professional Fees and broker fees;

                 Secured Claims – includes 2010 Bond Claims, 2012 Bond Claims, 2010 Credit
                  Facility Claims, 2019 RCF Claims, and the secured portion of the PBGC’s Claim
                  consistent with section 4068(a) of ERISA and PBGC guidance under 29 CFR §
                  4062.4;

                 Chapter 11 Administrative and Priority Claims – includes estimated Claims held by
                  creditors that are able to assert liens on particular assets, including certain trade
                  vendors in addition to Claims for post-petition accounts payable, post-petition
                  accrued expenses including professional fees, taxes, employee obligations, Claims
                  arising under section 503(b)(9) of the Bankruptcy Code, and Unsecured Claims
                  entitled to priority under section 507 of the Bankruptcy Code; and

                 General Unsecured Claims – includes prepetition trade Claims, prepetition rejection
                  damages Claims, and other types of prepetition liabilities; Abuse and non-Abuse
                  litigation Claims; and unsecured and unrecovered PBGC Claims.

       Under the absolute priority rule, no junior creditor would receive any distributions until all
senior creditors are paid in full. The assumed distributions to creditors as reflected in the
Liquidation Analysis are estimated in accordance with the absolute priority rule.

      iii)        Conclusion

       This Liquidation Analysis was prepared before the completion of the reconciliation and
allowance process for Claims against the Debtors and without any deadline for filing Claims

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 The Debtors believe the value of its insurance policies will be maximized under the Plan, in part because the Local
Councils are additional or named insureds under many of the policies.



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against the Related Non-Debtor Entities’ chapter 7 estates in a hypothetical liquidation, and so the
Debtors have not had an opportunity to fully evaluate Claims against the Debtors or to adjudicate
such Claims before the Bankruptcy Court. Accordingly, the amount of the final Allowed Claims
against the Debtors’ estates may differ from the Claim amounts used in this Liquidation Analysis.
Additionally, asset values discussed herein may be different than amounts referred to in the Plan,
which presumes the reorganization of the Debtors’ assets and liabilities under chapter 11 of the
Bankruptcy Code. The estimated liquidation recoveries and proceeds waterfall are presented
herein as a consolidated summary of each individual liquidating estate with their estimated
recoveries.

       The Debtors determined, as summarized in the following analysis, upon the Effective Date,
the Plan will provide all creditors with a recovery (if any) that is not less than what they would
otherwise receive pursuant to a liquidation of the Debtors under chapter 7 of the Bankruptcy Code,
and thus the Plan satisfies the requirement of 1129(a)(7) of the Bankruptcy Code, if the Bankruptcy
Court determines that such requirement is applicable to non-profits debtors in chapter 11.

           The following Liquidation Analysis should be reviewed with the accompanying notes.

         iv)        General Liquidation Summary and Detail – Debtors and Related Non-Debtor
                    Entities


Liquidation Proceeds
 A.     Cash and Cash Equivalents – Represents Cash and Cash equivalents of the Debtor and
        Related Non-Debtor Entities as of the Conversion Date based on the BSA’s most recent
        financial projections, segregated between restricted and unrestricted balances.
        Restricted cash balances reflect donor imposed restrictions on use and disposition and
        accordingly such amounts are excluded from the Liquidation Proceeds (see Note B
        below). The Debtors estimate a 100% recovery on the unrestricted cash balances.

                   Cash Securing Letters of Credit – Reflect cash held by JPM to secure letters of credit
                    issued for the benefit of Old Republic Insurance (“ORIC”). ORIC is assumed to
                    draw on the letters of credit in full and JPM is assumed to be able to recover against
                    this cash collateral in full. The cash is included in the Liquidation Proceeds and in
                    the recovery to JPM.

    B.         Investments – Represents investments of the Debtor and Related Non-Debtor Entities as
               of the Conversion Date based on the BSA’s most recent financial projections, segregated
               between restricted and unrestricted, and excluding non-controlling interest in the BSA
               Commingled Endowment Fund, LP (i.e., the limited partnership interests owned by the
               Local Councils). Restricted investment balances reflect donor imposed restrictions on
               use and disposition and accordingly such amounts are excluded from the Liquidation
               Proceeds.8 There is the potential for litigation related to asset restrictions in a
               liquidation, which could result in certain unrestricted investments being determined to
               be restricted or certain restricted investments being determined to be unrestricted. The
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   These amounts are subject to the adversary proceedings currently pending before the Bankruptcy Court further
discussed in Article V.J.2 of the Disclosure Statement.



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     Tort Claimants’ Committee has commenced an adversary proceeding relating to the
     restriction of certain of the Debtors’ assets. Although the Debtors believe the action is
     meritless, for illustrative purposes, the Liquidation Analysis assumes $25 million of
     currently restricted investments could be available to creditors in a liquidation. The Plan
     includes a proposed means to resolve any and all disputes regarding the Debtors’
     designation of assets as “restricted” or “core,” including the claims asserted in the
     complaint filed by the Tort Claimants’ Committee in the adversary proceeding entitled
     Official Tort Claimants’ Committee of Boy Scouts of America and Delaware BSA, LLC
     v. Boy Scouts of America and Delaware BSA, LLC, Adv. Pro. No. 21-50032 (LSS). To
     achieve this, the cash to be contributed to the Settlement Trust has been increased by
     $50 million by lowering the amount of Unrestricted Cash and Investments retained by
     the Reorganized BSA. After careful evaluation, the Debtors determined they are able to
     fund this substantial increase in assets to be contributed because certain restricted
     investments could be used in a manner consistent with their applicable restrictions on
     use and disposition to support activities included in the Debtors’ financial projections.
     This would not be the case in a liquidation. The Debtors estimate a 100% recovery on
     unrestricted investments plus the $25 million of restricted investments.

C.   Accounts Receivable – Accounts receivable are comprised of invoiced and accrued third
     party receivables, including receivables from the Local Councils, and other non-trade
     receivables and deposits. Accounts Receivable is presented based on the BSA’s most
     recent financial statements and is assumed to be materially consistent as of the
     Liquidation Date. Estimated recovery percentages for accounts receivable are between
     approximately 33% and 35%.

D.   Investment Income Receivables – Comprised of accrued investment earnings primarily
     from the BSA’s restricted investment holdings. These amounts are based on the BSA’s
     recent financial statements and balances are assumed to be materially consistent with
     balances as of the liquidation date. Investment income receivables are excluded from
     the Liquidation Proceeds.

E.   Pledges Receivable – Pledges receivables reflect unconditional donor pledges at
     estimated net present collectable value. As the pledges are both donor restricted and
     highly unlikely to be enforceable in a liquidation they are valued at zero. Additional
     pledges not reflected on the financial statements are conditional and thus could not be
     collected in a liquidation.

F.   Related Party Receivables – Interfund receivables are comprised of amounts due to/from
     Related Non-Debtor Entities. These amounts are consolidated and eliminated within
     this Liquidation Analysis. The most significant Related Party Receivable is a note
     receivable due from Arrow, which is secured by a deed of trust in the Summit high
     adventure facility, Arrow’s only asset, and which note is pledged to JPM under the
     BSA’s credit agreements. In lieu of showing a recovery on this line in the schedule, the
     recovery from the liquidation of the Summit is reflected as part of Land Building &
     Equipment below. Gross recoveries on this note total $35 million. Proceeds from the
     intercompany note via the sale of Arrow’s assets are assumed to satisfy JPM’s Secured
     Claims.


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G.   Inventory – Inventory is primarily comprised of branded and non-branded Boy Scout
     apparel, High Adventure Base general inventory stock, and other miscellaneous
     inventory items. Inventory is presented based on the BSA’s most recent financial
     statements. Inventory is assumed to be materially consistent as of liquidation date as in
     the BSA’s current financial statements. Estimated recoveries are based on liquidation
     assumptions that include only sellable apparel and stock at substantially discounted
     values. Inventory reserves are not contemplated within this analysis.

H.   Prepaid and Deferred Charges – Primarily comprised of prepaid Insurance Policies,
     professional fees, and deferred expenses. Prepaids are presented based on the BSA’s
     most recent financial statements. Prepaid insurance recoveries are estimated to be $0
     based on a detailed breakdown of 2021-2022 plan year Insurance Policies, assuming no
     additional prepayments during the liquidation period through June 30, 2022. Prepaid
     professional fees are assumed to be recovered 100% and applied against administrative
     professional fee Claims in a liquidation scenario. Deferred charges are recovered at 0%
     of current financial statement balances.

I.   Land, Building, and Equipment (net) – Primarily comprised of the BSA’s national
     headquarters, High Adventure Bases, distribution center, various furniture and fixtures,
     and software and computers. Land, building, and equipment balances are presented
     based on the Debtor and Related Non-Debtor Entities most recent financial statements.
     Pro forma balances represent the following:

         National HQ, National Distribution Center, the High Adventure Bases (Philmont,
          Sea Base, and Northern Tier), and Summit are presented based on valuations
          conducted by third party experts during the course of this bankruptcy and reflect
          estimates of the fair market value of the respective properties. Scouting U is
          presented based on the proceeds expected to be generated from a pending sale of the
          property. The BSA also owns a portfolio of Oil and Gas Interests. These rights, and
          the value of the rights, are not included within the financial statements, however, are
          included in the pro forma fair market value balance of land, building, and equipment
          based on a recent third party valuation report.

         The remaining balance of land, building, and equipment which primarily includes
          furniture, fixtures, capital and project improvements, and software and computers is
          estimated to be materially consistent to the BSA’s most recent financial statements.

         Pro forma balances are presented before depreciation and amortization.

     After a review of the assets, the Debtors and their advisors concluded that the forced sale
     of the Debtors’ assets in the compressed timeframe that typically occur during a chapter
     7 liquidation would likely result in a valuation discount relative to “fair value.” The
     liquidation value of land, buildings, and equipment is stratified based on estimated
     recoveries ranging from 80% to 85% recovery on brokers opinion of value of the
     national headquarters ($11.6 million) and distribution center ($7.3 million), fair market
     value appraisals of each of the High Adventure Bases (Philmont South Ranch $153
     million, Sea Base $29 million, and Northern Tier $8.4 million including the Summit



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       ($42.8 million), and an appraisal of the Oil and Gas Interests ($7.6 million). For the
       former Scouting U building ($2.0 million), recoveries are presented at 100% of pending
       sale price less commissions and other closing costs. Recoveries on remaining assets are
       expected to be minimal based on the nature of the assets and the circumstances of a
       chapter 7 liquidation. Total land, building, and equipment recoveries range from 58%
       to 63% of pro forma values.

       Certain of the BSA’s properties are collateral for JPM’s Secured debt. These properties
       include the national headquarters, Philmont Scout Ranch, and the High Adventure Bases
       at Sea Base and Northern Tier. Liquidation proceeds from these properties are assumed
       to satisfy JPM’s Secured debt first, with any remaining proceeds made available to
       creditors based on priority. As noted above, the value of the Summit which flows to
       BSA through a note receivable is also reflected in the value of land, building and
       equipment and is subject to JPM’s security interest.

       The sale of certain of the High Adventure Bases and other properties could be disputed
       by third parties, potentially driving down their value or barring them from sale entirely
       if determined to be restricted property and non-alienable under applicable law; however,
       that issue is not addressed herein given the JPM lien. Similarly the High Adventure
       Bases are core to the mission of scouting and as such may not be subject to liquidation
       or the proceeds may not be available to all creditors.

J.     Other Assets – Other assets are primarily comprised of miscellaneous equipment located
       at the Summit property, pooled and gift annuity investments, and off-balance sheet art.
       Balances are presented based on BSA’s most recent financial statements with the
       exception of the Artwork balances which is reflected at an estimated fair market value
       of $59 million based primarily on a 2012 appraisal. Recoveries are assumed between
       50% and 80% for Artwork given indications that the value of the Artwork would be
       significantly depressed in a sale over a compressed timeframe as well as the impact of
       the BSA bankruptcy and Abuse Claims on the value of the Artwork, while the remaining
       balance of other assets is assumed to recover 100% for pooled and gift annuity
       investments and between 5% and 25% for Summit assets. Note that it is possible that
       the beneficiaries of the annuities and pooled investments would try to assert some type
       of priority to those assets which would reduce the liquidation value. In addition some
       of these assets are core to the mission of scouting as such may not be available to all
       creditors.

       There is no value attributed to the Debtors’ intellectual property given that it derives
       from a congressional charter that is non-transferable and thus it is unclear if any value
       could be derived.



Liquidation Distributions

K.     Operational Wind Down Costs represent an estimate of the costs incurred during a
       liquidation of the assets of the Debtor and Related Non-Debtor Entities and reflect BSA



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         and its advisor’s most recent budget for operational expenses during 2021 under a wind
         down scenario. Wind down costs primarily include payroll, and related expenses, costs
         to maintain the BSA’s supply and distribution center, high adventure base operating
         costs, general liability and other Insurance Policies, and other non-high adventure base
         operating expenses. Operating expenses are assumed to reduce significantly during a
         liquidation between 25% and 75% of projected monthly costs. Further, wind down
         expenses are reduced on a month to month basis during the liquidation period to account
         for expected closures of facilities and further reductions in labor force as the liquidation
         process progresses.

L.       Chapter 7 Trustee Fees would be limited to the fee guidelines in Section 326(a) of the
         Bankruptcy code. The Debtors assumed that trustee fees are approximately 3% of entity
         gross Liquidation Proceeds.

M.       Chapter 7 Professional Fees include the estimated cost for financial advisors, attorneys
         and other professionals retained by the Trustee. In the Liquidation Analysis, chapter 7
         professional fees are estimated to be approximately 1.5% of gross Liquidation Proceeds
         excluding current cash on-hand. These fees are applied on an individual basis across
         each liquidating entity based on the estimated Liquidation Proceeds available to each
         Estate excluding current Cash on-hand. The amount of professional fees is estimated
         based on our best estimate based on the size and nature of the case; however, this amount
         can fluctuate based on length and complexity of the wind-down process and could be
         substantially greater than the amounts assumed herein which would further reduce
         recoveries to creditors.

N.       Claims Processing Costs include an estimate of the costs of administering Claims to
         various claimants, primarily Abuse litigation claimants. Estimates reflect a minimum of
         $1 million.

O.       Secured Lender Professional Fees are estimated between $700,000 and $1 million during
         the liquidation period.

P.       Broker Fees include the estimated cost to market and dispose of substantially all of the
         BSA’s land, building, equipment and Artwork. In the Liquidation Analysis, chapter 7
         broker fees are estimated to be approximately 2.0% of gross Liquidation Proceeds from
         these asset classes.

Claims

Q.       Secured Claims

             The Liquidation Analysis assumes that all letters of credit are drawn and as a result
              the outstanding funded debt totals $328 million. Debt is assumed to be Secured by
              the gross Liquidation Proceeds of certain of the BSA’s real property assets,
              unrestricted Cash, unrestricted investments, and certain accounts receivable balances
              including the note receivable from Arrow WV which is Secured by the Summit high
              adventure facility. In addition the debt benefits from replacement liens pursuant to
              the Cash Collateral Order to the extent of any diminution in value of the collateral.


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          Secured debt is estimated to be recovered at 100% of total Claims.

         The Liquidation Analysis assumes that a portion of the PBGC Claim, asserted
          against Related Non-Debtor Entities, is Secured by a lien in the amount of 30% of
          Liquidation Proceeds remaining for all members of the control group combined after
          wind down costs and Secured debt, if any. The Secured PBGC Claim is estimated
          between $466 million and $497 million.

R.   Administrative and Priority Claims

         The Liquidation Analysis assumes that priority Claims consist of priority employee
          benefits pursuant to Section 507(a)(4) of the Bankruptcy code which are estimated
          to be $20 million as of the Conversion Date, comprised primarily of accrued
          employee benefit costs, severance, seasonal and part time payroll costs, and
          503(b)(9) Claims. Full time salaried employees assumed to be paid current
          immediately prior to the Conversion Date.

         Post-Petition Professional Fees as of the Conversion Date are estimated to be $45.9
          million. Post-Petition Trade Claims are estimated to be $18.0 million as of the
          Conversion Date based on BSA’s most recent financial projections.

         Other Administrative Claims of $25.6 million are estimated based on the potential
          for Hartford to receive a claim for $2 million plus 3% of the proposed settlement
          amount of $787 million. This assumes that the Debtors exercise their fiduciary out
          which triggers the potential 3% claim. To the extent the fiduciary out is not triggered
          or the court does not allow such claim, there would be additional value available for
          general unsecured creditors, including abuse claimants.

         Administrative and priority Claims are estimated to recover between 93% and 100%
          in the Liquidation Analysis.

S.   General Unsecured Claims

         The below chart reflects the aggregation of individual Liquidation Analyses of the
          Debtors and, independently, the Related Non-Debtor Entities. Certain general
          unsecured claims presented in the Liquidation Analysis recover a greater percentage
          than the pro rata share of proceeds available for these unsecured claims due to the
          recoveries within individual Debtor and Related Non-Debtor Entity Liquidations.

         The Liquidation Analysis estimates that there will be between $0 and $22.5 million
          of proceeds available to satisfy General Unsecured Claims. As some of these
          proceeds may be from assets that are core to the mission of Scouting, it is possible
          that some or all of this value may only be available for certain core creditor Claims
          including that of the PBGC.

         General Unsecured Claims are assumed to include estimated Abuse Claims,
          unrecovered unsecured PBGC Claim, employee-related Claims (primarily



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     Restoration Plan Claims), contract rejection Claims, and pre-petition trade payables
     and accrued liabilities.

    Non-Abuse litigation Claims are assumed to recovery from applicable insurance and
     are not contemplated in the Liquidation Analysis.

    An estimate of the remaining unrecovered asserted PBGC Claim of $1.1 billion is
     included in the General Unsecured Claims pool.

    As described in Article V.N of the Disclosure Statement, Abuse Claims are estimated
     to be between $2.4 and $7.1 billion and the Liquidation Analysis presents Abuse
     Claim recoveries under both a high ($7.1 billion) and low ($2.4 billion) assumption.
     As noted in the Disclosure Statement in Article V.N, this aggregate estimation of
     liability takes into account a number of different factors including assumptions
     concerning the estimated number of time-barred Abuse Claims. The range used in
     the Disclosure Statement and this Liquidation Analysis is merely an estimate of the
     Debtors’ aggregate liability, which could be significantly greater or lower depending
     upon, among other things, changes to the assumptions concerning the number of
     time-barred claims or the accuracy and sufficiency of information provided by the
     Abuse Claimants on their Proof of Claim submissions. As applied to individual
     Abuse Claims, the Liquidation Analysis provides an estimate of the percent-on-the-
     dollar recovery that individual claimants would receive in a hypothetical liquidation.
     However, the value of any particular individual claim that this percentage applies to
     is highly dependent on the facts and circumstances of the individual claim. For
     example, although the same percentage recovery applies to all claims whether or not
     time-barred, the average value of time-barred claims is significantly less (and in
     many cases may not have any value) in comparison to the average value of claims
     that are not time-barred.

    Contract rejection Claims are estimated to be $8 million and do not include any
     estimates for additional executory contract rejection Claims arising as a result of the
     liquidation.

    General Unsecured Claims recover between 0.0% and 0.3% in the Debtor and
     Related Non-Debtor Entity Liquidation Analysis based on high Abuse Claims ($7.1
     billion) and between 0.0% and 0.6% based on low Abuse Claims ($2.4 billion).




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  Summary Liquidation Analysis – Debtors and Related Non-Debtor Entities


                                                                           Asset Values                     Estimated Recovery (%)               Estimated Recovery ($ 000s)
                                                            Book Value     Adjustments    Pro Forma
                                                     Note   at 2/28/2120       to BV          BV / FMV     Low       Mid        High            Low           Mid           High

Assets
 Cash and Cash Equivalents                            A     $   111,518    $     56,729 $       168,247     100%      100%       100%       $   168,247   $   168,247   $   168,247
 Cash and Cash Equivalents: Restricted                A          32,627         (10,128)         22,499       0%        0%         0%               -             -             -
 Investments                                          B         127,462        (110,632)         16,830     100%      100%       100%            16,830        16,830        16,830
 Investments: Restricted                              B         174,782           3,968         178,750      14%       14%        14%            25,000        25,000        25,000
 Accounts Receivable                                  C          16,762             218          16,980      33%       34%        35%             5,573         5,736         5,899
 Investment Income Receivable                         D             653             -               653       0%        0%         0%               -             -             -
 Pledges Receivable                                   E          17,207             -            17,207       0%        0%         0%               -             -             -
 Related Party Receivables                            F             -               -               -         0%        0%         0%               -             -             -
 Inventory                                            G          56,407          16,944          73,350       8%        9%        10%             5,731         6,448         7,164
 Prepaid and Deferred Charges                         H          63,036             -            63,036       5%        5%         5%             3,101         3,101         3,101
 Land, Building, and Equipment (Net)                  I         476,143        (111,500)        364,643      58%       61%        63%           212,291       221,358       230,425
 Other                                                J          17,353          59,337          76,690      48%       60%        72%            36,909        46,222        55,536
Total Gross Liquidation Proceeds                            $ 1,093,950    $    (95,066) $      998,884      47%       49%        51%       $   473,680   $   492,941   $   512,202

( - ) Less Cost of Liquidation
 ( - ) Liquidation Wind-Down Expenses                 K                                                                                     $   (13,262) $    (15,603) $     (17,943)
 ( - ) Chapter 7 Trustee Fees                         L                                                                                         (15,259)      (15,868)       (16,476)
 ( - ) Trustee's Professional Fees                    M                                                                                          (4,117)       (4,844)        (5,570)
 ( - ) Claims Processing Costs                        N                                                                                          (1,000)       (1,000)        (1,000)
 ( - ) Secured Lender Professional Fees               O                                                                                            (715)         (842)          (968)
 ( - ) Broker Fees                                    P                                                                                          (4,836)       (5,194)        (5,552)
Total Liquidation Costs                                                                                                                     $   (39,190) $    (43,350) $     (47,510)

Total Net Liquidation Proceeds                                                                                                              $   434,491   $   449,591   $   464,692

                                                                 Estimated Claims         Estimated         Estimated Recovery (%)               Estimated Recovery ($ 000s)
                                                                                               Claims
                                                                Low            Mid        Pool (High)      Low       Mid        High            Low           Mid           High

Secured Claims
 JPMorgan Funded Debt                                       $   232,262    $    232,262   $     232,262     100%      100%       100%       $   232,262   $   232,262   $   232,262
 JPMorgan Letters of Credit                                      95,842          95,842          95,842     100%      100%       100%            95,842        95,842        95,842
 PBGC Termination Claim                                         495,531         495,531         495,531       1%        1%         1%             6,138         6,152         6,166
Total Secured Claims                                  Q     $   941,949    $    941,949   $     823,635      41%       41%        41%       $   334,242   $   334,256   $   334,270

Proceeds Available After Secured Claims                                                                                                     $   100,249   $   115,335   $   130,422

Administrative / Other Administrative Claims
 Other Administrative Claims                                $    25,610    $     25,610   $      25,610      93%      100%       100%       $    23,796   $    25,610   $      25,610
 Employee Related Claims                                    $    19,651    $     19,651          19,651      93%      100%       100%            18,259        19,651          19,651
 Professional Fee Claims                                    $    44,653    $     44,653          44,653      93%      100%       100%            41,491        44,653          44,653
 Post-Petition Trade Claims                                 $    17,975    $     17,975          17,975      93%      100%       100%            16,702        17,975          17,975
Total Administrative / Other Administrative Claims    R     $   107,889    $    107,889   $     107,889      93%      100%       100%       $   100,249   $   107,889   $   107,889

Proceeds Available for General Unsecured Creditors                                                                                          $         -   $     7,446   $      22,533

General Unsecured Claims (High)
 Trade Payables and Accrued Expenses                        $     5,350    $     5,350    $        5,350    0.0%       0.1%          0.3%   $         -   $         5   $          15
 Employee Related Claims                                         22,689         22,689            22,689    0.0%       0.1%          0.3%             -            21              62
 Real Property & Equipment Lease Rejection Damages                8,000          8,000             8,000    0.0%       0.1%          0.3%             -             7              22
 Abuse Claims                                                 7,100,000      7,100,000         7,100,000    0.0%       0.1%          0.3%             -         6,419          19,425
 PBGC Termination Claim                                         604,469        604,469         1,093,834    0.0%       0.1%          0.3%             -           995           3,009
Total General Unsecured Claims (High)                 S     $ 7,740,508    $ 7,740,508    $ 8,229,873       0.0%       0.1%          0.3%   $         -   $     7,446   $      22,533

Proceeds Available After General Unsecured Claims                                                                                           $         -   $         -   $          -

General Unsecured Claims (Low)
 Trade Payables and Accrued Expenses                        $     5,350    $     5,350    $        5,350    0.0%       0.2%          0.6%   $         -   $        11   $          34
 Employee Related Claims                                         22,689         22,689            22,689    0.0%       0.2%          0.6%             -            48             145
 Real Property & Equipment Lease Rejection Damages                8,000          8,000             8,000    0.0%       0.2%          0.6%             -            17              51
 Abuse Claims                                                 2,400,000      2,400,000         2,400,000    0.0%       0.2%          0.6%             -         5,054          15,294
 PBGC Termination Claim                                       1,100,000      1,100,000         1,093,834    0.0%       0.2%          0.6%             -         2,316           7,010
Total General Unsecured Claims (Low)                  S     $ 3,536,039    $ 3,536,039    $ 3,529,873       0.0%       0.2%          0.6%   $         -   $     7,446   $      22,533

Proceeds Available After General Unsecured Claims                                                                                           $         -   $         -   $          -

Note: Recovery percentages are based on a) asset proceeds recovered divided by pro forma asset
balances and b) claims recoveries based on the low, mid, and high ranges of estimated claims




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3)    General Liquidation Summary and Detail – Local Councils


        As noted above, although the Debtors do not believe they are required to satisfy the best
interests test as it relates to the non-debtor Local Councils, various parties have objected to the
Disclosure Statement, including the Tort Claimants’ Committee, and the Debtors have agreed to
provide a hypothetical analysis depicting the liquidation of the Local Councils utilizing the same
assumptions as the Liquidation Analysis for the Debtors and Related Non-Debtor Entities.
Accordingly, the following analysis depicts an aggregated summary of hypothetical Local Council
liquidations on an aggregate basis, which are assumed to occur independently during an orderly
liquidation process over six months after the Conversion Date. Local Council liquidation analysis
is based on the unaudited pro forma financial statements of Local Councils as of February 28, 2021
(refer to Exhibit D-1: Individual Local Council Balance Sheets below). While the Debtors have
significant financial information related to the Local Councils, including balance sheets and
property valuations (refer to Exhibit D-2: Local Council Property Value Information below), there
is a significantly higher degree of variability and potential for market saturation associated with
the liquidation of approximately 251 independent entities and thus greater risk that the actual
recoveries would be less than the projected recoveries set forth herein.

        Although this analysis assumes that all entities in the organization are liquidated
substantially concurrently as part of a hypothetical liquidation of the Boy Scouts organization, the
analysis assumes each local council is liquidated separately from BSA, that each local council is
rendered insolvent due to the magnitude of the joint and several pension termination liability, and
any excess value after satisfying the pension termination liability and other local council
obligations (including pension contribution claims) flows to BSA for further distribution to
creditors, including Abuse Claims.

Liquidation Proceeds
 A.     Cash and Cash Equivalents – Represents Cash and Cash equivalents of the Local
        Councils as of February 28, 2021, excluding “custodial cash” that is either (a) cash held
        on account of registration fees payable to BSA, as that amount is included in BSA’s
        forecasted cash at the Conversion Date or (b) cash held on behalf of units that are legally
        distinct from the Local Councils. The Debtors estimate a 100% recovery on the February
        2021 cash balances which are representative of balances anticipated as of the Conversion
        Date.

 B.      Investments – Represents investments of the Local Councils as of February 28, 2021,
         segregated between restricted and unrestricted. Restricted investment balances reflect
         donor imposed restrictions on use and disposition and accordingly such amounts are
         generally excluded from the Liquidation Proceeds; however, the Debtors prepared the
         Local Council liquidation analysis assuming that Local Councils would be able to
         recover approximately the same share of restricted investments (19%) as the Debtors in
         their Liquidation Analysis as described above. It is possible that recoveries at the Local
         Council level would be even less due to the scrutiny of donors and state attorneys’
         general that would occur in a liquidation. The Debtors estimate a 100% recovery on
         unrestricted investments and 19% recovery on restricted investments.



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    C.    Land, Building, and Equipment (net) – Primarily comprised of Local Councils’ camp
          properties, land, office and store structures and other miscellaneous real property. Book
          value of land, building, and equipment balances are presented based on Local Council
          balance sheets as of February 28, 2021 and are not disaggregated based on restricted and
          unrestricted book value. Pro forma balances represent the following:

              Unrestricted Land, Building, and Equipment – Represents a) real property asserted
               by Local Councils as unrestricted, plus b) certain real property asserted as restricted
               by Local Councils that the BSA has determined, based on its legal analysis of the
               asserted restrictions, is capable of being sold with the proceeds available for
               distribution to general unsecured creditors of the Local Councils. Pro forma balances
               of unrestricted land, building, and equipment are presented at fair market value based
               on recent broker opinion of values conducted by third party real estate advisors (or
               the average thereof if multiple valuations were conducted on the same property).9

              Restricted Land Building, and Equipment – Represents real property asserted by
               Local Councils as restricted such that the restriction would preclude a sale of the
               property or require reversion of the proceeds based on donor restriction
               documentation, as validated by BSA’s legal analysis. Pro forma balances of restricted
               land, building, and equipment are presented at fair market value based on recent
               broker opinion of values conducted by third party real estate advisors (or the average
               thereof if multiple valuations were conducted on the same property).

          After a review of the assets, the Debtors, with the assistance of their advisors, concluded
          that the sale of Local Council assets in the compressed timeframes that typically occur
          during a chapter 7 liquidation would likely result in a valuation discount relative to “fair
          value.” Further BSA believes a larger discount for the Local Councils than the BSA
          properties described above is appropriate for a number of reasons. First, the Local
          Council properties were valued through broker opinions of value, which are inherently
          more limited and provide less certainty than full appraisals used for the principal Debtor
          properties. Second, the broker opinions of value also generally did not take into account
          limitations on use driven, for example, by conservation easements, which would further
          reduce the value of the properties. Third, the Debtors expect that the proceeds derived
          from the sale of Local Council properties would be suppressed due to the market being
          saturated with a large number of similar camp properties, which are often located in
          relatively close proximity to one another. The liquidation value of land, buildings, and
          equipment is estimated based on recoveries of 60% of unrestricted real property.
          Restricted real property is excluded from liquidation proceeds.

    D.    Other Assets – Other assets are primarily comprised of miscellaneous inventory, prepaid
          expenses, contributions and pledges receivable, beneficial interests in trusts, and notes
          receivable held by the Local Councils. Balances are presented based on Local Council
          balance sheets as of February 28, 2021. Recoveries of other assets are estimated to be

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  Any property for which a valuation was not obtained is assumed to have limited value in the Liquidation Analysis
and is factored into the 60% recovery. Approximately 895 of 1,183 properties were valued and approximately 75 of
the unvalued properties are restricted. Self-reported indications of value from the Local Councils of the remaining
unrestricted properties, which are a mix of mainly book and tax assessed amounts, total less than $40 million.



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         5% of book value balances as these assets either have little sellable or recoverable value
         via a chapter 7 liquidation or in some cases are restricted based on donor stipulations.



Liquidation Distributions

E.       Operational Wind Down Costs represent an estimate of the costs incurred during a
         liquidation of the assets of the individual Local Councils. Wind down costs are assumed
         to include payroll and related expenses, costs to maintain Local Council real property
         until liquidated, and other operating expenses during the wind down period. Operating
         expenses are assumed to reduce significantly during a liquidation and are estimated at
         3.5% of gross liquidation proceeds.

F.       Chapter 7 Trustee Fees would be limited to the fee guidelines in Section 326(a) of the
         Bankruptcy code. The Debtors assumed that trustee fees are approximately 3% of gross
         Liquidation Proceeds.

G.       Chapter 7 Professional Fees include the estimated cost for financial advisors, attorneys
         and other professionals retained by the Trustee. In the Liquidation Analysis, chapter 7
         professional fees are estimated to be approximately 3.5% of gross Liquidation Proceeds
         excluding current cash on-hand. These fees are applied on an individual basis across
         each liquidating Local Council based on the estimated Liquidation Proceeds available to
         each Estate excluding current cash on-hand. However, this amount can fluctuate based
         on length and complexity of the wind-down process and could be substantially greater
         than the amounts assumed herein.

H.       Claims Processing Costs include an estimate of the costs of administering Claims to
         various claimants, primarily Abuse litigation claimants. Estimates reflect approximately
         2.5% of Settlement Trust recoveries, consistent with a US Chamber of Commerce
         publication on trust distributions dated March 2018.

I.       Broker Fees include the estimated cost to market and dispose of substantially all of the
         Local Councils’ land, building, equipment. In the Liquidation Analysis, chapter 7 broker
         fees are estimated to be approximately 4% of gross Liquidation Proceeds from these
         asset classes.

Claims

J.       Secured Claims

             The Liquidation Analysis assumes that approximately 50% of the debt on Local
              Council balance sheets as of February 28, 2021, is secured debt based on a review
              of a selection of approximately 80% of the total Local Council debt. Secured debt
              related Local Council Claims are estimated to recover in full.

             The Liquidation Analysis assumes that a portion of the PBGC Claim, asserted
              against each individual Local Council, is Secured by a lien in the amount of 30% of


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          Liquidation Proceeds remaining for all members of the control group after wind
          down costs and Secured debt, if any. The Secured PBGC Claim is estimated to be
          between $466 million and $497 million, asserted against each individual Local
          Council. The Liquidation Analysis assumes that the PBGC recovers 100% of its $1.1
          billion Claim between the Local Councils and proceeds from the Debtor and Related
          Non-Debtor Entity Liquidation Analysis. In the event the PBGC was unable to assert
          a secured claim or its security interest was invalidated, the PBGC would have an
          unsecured claim against each member of the controlled group and would still receive
          recoveries on account of such claims.

K.   Administrative and Priority Claims

         The Liquidation Analysis assumes that priority Claims consist of priority employee
          benefits pursuant to Section 507(a)(4) of the Bankruptcy code which are estimated
          to be $17.7 million as of the Conversion Date, comprised primarily of accrued
          employee payroll and benefit costs and severance.

         Administrative and priority Claims are estimated to recover 62% in the aggregate.

L.   General Unsecured Claims

         The below chart reflects the aggregation of individual Liquidation Analyses of the
          Local Councils. Certain Secured and Administrative Expense Claims of individual
          Local Councils are deficient in the mid-range recovery scenario, and no proceeds
          remain available for General Unsecured Claims for those Local Councils. Certain
          other Local Councils have estimated liquidation proceeds that exceed the estimated
          value of all Claims after application of contribution claims that such Local Councils
          could assert against other Local Councils on account of payment on the joint and
          several pension liability. All such value is distributed to BSA and redistributed to
          creditors.

         The Liquidation Analysis estimates that there will be approximately $ 429 million
          of proceeds available to satisfy General Unsecured Claims. As some of these
          proceeds may be from assets that are core to the mission of Scouting, it is possible
          that some or all of this value may only be available for certain core creditor Claims.

         General Unsecured Claims are assumed to include estimated Abuse Claims, contract
          rejection Claims, unsecured debt, and pre-petition trade payables and accrued
          liabilities. Solely for purposes of this analysis, the estimated aggregate Abuse Claim
          liability is allocated to each council based on number of Abuse Claims as a
          proportion of all non-duplicative Abuse Claims that identify a local council. We
          believe this allocation method results in a higher aggregate recovery for Abuse
          Claims.

         Non-Abuse Litigation Claims are assumed to recovery from applicable insurance
          and are not contemplated in the Liquidation Analysis.




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    Contract rejection Claims are estimated to be 5% of unrestricted net assets per Local
     Council balances sheets as of February 28, 2021.




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 Summary Liquidation Analysis – Local Council Organizations

                                                                                                                            Estimated          Estimated
                                                                                    Asset Values
                                                                                                                           Recovery (%)     Recovery ($ 000s)
                                                                  Book Value            Adjustments        Pro Forma
                                                     Note      at 2/28/2021             to BV / FMV        BV / FMV            Mid                Mid

Assets
 Cash and Cash Equivalents                            A       $       310,794   $            (22,224) $         288,570              100%   $        288,570
 Investments                                          B             1,650,838             (1,081,145)           569,693              100%            569,693
 Investments: Restricted                              B                   -                1,081,145          1,081,145               19%            201,646
 Land, Building, and Equipment (Net)                  C             1,294,850                (89,103)         1,205,747               60%            723,448
 Land, Building, and Equipment (Net): Restricted      C                   -                  585,709            585,709                0%                -
 Other                                                D               280,853                    -              280,853                5%             14,088
Total Gross Liquidation Proceeds                              $     3,537,334       $        474,381   $      4,011,716               45%   $       1,797,444

( - ) Less Cost of Liquidation
 ( - ) Liquidation Wind-Down Expenses                 E                                                                                     $         (62,911)
 ( - ) Chapter 7 Trustee Fees                         F                                                                                               (53,930)
 ( - ) Trustee's Professional Fees                    G                                                                                               (52,811)
 ( - ) Claims Processing Costs                        H                                                                                                (9,519)
 ( - ) Broker Fees                                    I                                                                                               (28,938)
Total Liquidation Costs                                                                                                                     $        (208,107)

Total Net Liquidation Proceeds                                                                                                              $       1,589,337
                                                            Estimated Claims                               Estimated       Recovery (%)     Recovery ($ 000s)
                                                                                                            Claims
                                                                          Low                    Mid         Pool              Mid                Mid

Secured Claims
 Secured Local Council Debt                                           118,314                118,314   $         59,157              100%   $          59,054
 Priority Claims (PBGC)                                             1,090,825              1,090,825          1,090,825              100%           1,090,825
Total Secured Claims                                   J            1,209,139              1,209,139   $      1,149,982              100%   $       1,149,879
Proceeds Available After Secured Claims                                                                                                     $        439,458

Administrative / Other Administrative Claims
 Employee Related Claims                                               17,655                 17,655   $        17,655               62%    $           10,863
Total Administrative / Other Administrative Claims    K                17,655                 17,655   $        17,655               62%    $           10,863
Proceeds Available After Administrative / Other Administrative Claims                                                                       $        428,595

General Unsecured Claims (High)
 Trade Payables and Accrued Expenses                                  115,885                115,885   $        115,885               8%    $          9,171
 Employee Related Claims                                                8,237                  8,237              8,237               8%                 660
 Real Property & Equipment Lease Rejection Damages                     93,538                 93,538             93,538              13%              12,101
 Secured Local Council Debt                                            59,157                 59,157             59,157               7%               4,129
 Abuse Claims                                                      14,200,000             14,200,000          7,100,000               5%             389,346
 PBGC Termination Claim                                             1,100,000              1,100,000                -                 0%                 -
Total General Unsecured Claims                        L            15,576,816             15,576,816   $      7,376,816               6%    $        415,408
Residual Scouting Interest                                                                                                                  $           13,188



General Unsecured Claims (Low)
 Trade Payables and Accrued Expenses                                  115,885                115,885   $        115,885              19%    $         21,685
 Employee Related Claims                                                8,237                  8,237              8,237              18%               1,496
 Real Property & Equipment Lease Rejection Damages                     93,538                 93,538             93,538              28%              26,172
 Secured Local Council Debt                                            59,157                 59,157             59,157              16%               9,637
 Abuse Claims                                                       2,400,000              2,400,000          2,400,000              14%             337,681
 PBGC Termination Claim                                             1,100,000              1,100,000                -                 0%                 -
Total General Unsecured Claims                        L             3,776,816              3,776,816   $      2,676,816              15%    $        396,671
Residual Scouting Interest                                                                                                                  $           31,925


Note: Recovery percentages are based on a) asset proceeds recovered divided by pro forma asset
balances and b) claims recoveries based on estimated claims. “Residual Scouting Interest”
assumed to be reallocated to BSA for further distribution to creditors; however, the Debtors


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understand that various parties, including Local Councils, would assert that such value should be
utilized for scouting purposes in local jurisdiction.




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4) Combined Debtors, Related Non-Debtor Entities and Local Councils

    As noted above, in addition to the separate analysis of the Debtor and Related Non-Debtors
on the one hand and the Local Councils on the other, we have created an analysis depicting a
combination of the Liquidation Analysis pertaining to the Debtors and Related Non-Debtor
Entities and the analysis pertaining to the hypothetical liquidation of the Local Councils. The
analysis is simply the addition of each of the prior sections of this document, plus showing any
excess proceeds at individual local councils distributed to BSA resulting in incremental recovery
to Claims against BSA including Abuse claims, without any other changes in assumptions.




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  Summary Liquidation Analysis – Debtors, Related Non-Debtor Entities, and Local Councils

                                                                     Asset Values                      Estimated Recovery (%)                Estimated Recovery ($ 000s)
                                                     Book Value      Adjustments     Pro Forma
                                                     at 2/28/2120         to BV          BV / FMV     Low       Mid        High            Low             Mid            High

Assets
 Cash and Cash Equivalents                           $     422,312   $       34,505 $   456,817        100%      100%       100%      $    456,817    $    456,817    $    456,817
 Cash and Cash Equivalents: Restricted                      32,627          (10,128)     22,499          0%        0%         0%               -               -               -
 Investments                                             1,778,300       (1,191,777)    586,523        100%      100%       100%           586,523         586,523         586,523
 Investments: Restricted                                   174,782        1,085,113   1,259,895         18%       18%        18%           226,646         226,646         226,646
 Accounts Receivable                                        16,762              218      16,980         33%       34%        35%             5,573           5,736           5,899
 Investment Income Receivable                                  653              -           653          0%        0%         0%               -               -               -
 Pledges Receivable                                         17,207              -        17,207          0%        0%         0%               -               -               -
 Related Party Receivables                                     -                -           -            0%        0%         0%               -               -               -
 Inventory                                                  56,407           16,944      73,350          8%        9%        10%             5,731           6,448           7,164
 Prepaid and Deferred Charges                               63,036              -        63,036          5%        5%         5%             3,101           3,101           3,101
 Land, Building, and Equipment (Net)                     1,770,993         (200,604)  1,570,389         60%       60%        61%           935,738         944,805         953,872
 Land, Building, and Equipment (Net): Restricted               -            585,709     585,709          0%        0%         0%               -               -               -
 Other                                                     298,206           59,337     357,543         14%       17%        19%            50,996          60,310          69,624
Total Gross Liquidation Proceeds                     $ 4,631,284     $     379,316   $ 5,010,600        45%       46%        46%      $ 2,271,124     $ 2,290,385     $ 2,309,646

( - ) Less Cost of Liquidation
 ( - ) Liquidation Wind-Down Expenses                                                                                                 $     (76,173) $      (78,513) $      (80,854)
 ( - ) Chapter 7 Trustee Fees                                                                                                               (69,189)        (69,797)        (70,406)
 ( - ) Trustee's Professional Fees                                                                                                          (56,928)        (57,654)        (58,381)
 ( - ) Claims Processing Costs                                                                                                              (10,519)        (10,519)        (10,519)
 ( - ) Secured Lender Professional Fees                                                                                                        (715)           (842)           (968)
 ( - ) Broker Fees                                                                                                                          (33,774)        (34,132)        (34,490)
Total Liquidation Costs                                                                                                               $    (247,297) $     (251,457) $     (255,617)

Total Net Liquidation Proceeds                                                                                                        $ 2,023,827     $ 2,038,928     $ 2,054,029

                                                           Estimated Claims          Estimated         Estimated Recovery (%)                Estimated Recovery ($ 000s)
                                                                                          Claims
                                                          Low             Mid        Pool (High)      Low       Mid        High            Low             Mid            High

Secured Claims
 JPMorgan Funded Debt                                $   232,262     $   232,262     $      232,262    100%      100%       100%      $     232,262   $     232,262   $     232,262
 JPMorgan Letters of Credit                               95,842          95,842             95,842    100%      100%       100%             95,842          95,842          95,842
 Secured Local Council Debt                              118,314         118,314             59,157    100%      100%       100%             59,054          59,054          59,054
 PBGC Termination Claim                                1,096,991       1,096,991          1,096,991    100%      100%       100%          1,096,963       1,096,977       1,096,991
Total Secured Claims                                 $ 1,543,409     $ 1,543,409     $ 1,484,252       100%      100%       100%      $ 1,484,121     $ 1,484,134     $ 1,484,148

Proceeds Available After Secured Claims                                                                                               $    539,707    $    554,794    $    569,880

Administrative / Other Administrative Claims
 Other Administrative Claims                         $     25,610    $      25,610   $      25,610      93%      100%       100%      $     23,796    $     25,610    $     25,610
 Employee Related Claims                                   37,306           37,306   $      37,306      78%       82%           82%   $     29,122    $     30,513    $     30,513
 Professional Fee Claims                                   44,653           44,653          44,653      93%      100%       100%            41,491          44,653          44,653
 Post-Petition Trade Claims                                17,975           17,975          17,975      93%      100%       100%            16,702          17,975          17,975
Total Administrative / Other Administrative Claims   $    125,544    $     125,544   $     125,544      89%       95%           95%   $    111,111    $    118,752    $    118,752

Proceeds Available for General Unsecured Creditors                                                                                    $    428,595    $    436,042    $    451,128

General Unsecured Claims (High)
 Trade Payables and Accrued Expenses                 $   121,235     $   121,235     $      121,235    7.6%       7.6%       7.6%     $      9,181    $      9,186    $      9,196
 Employee Related Claims                                  30,926          30,926             30,926    2.3%       2.3%       2.5%              702             722             764
 Real Property & Equipment Lease Rejection Damages       101,538         101,538            101,538   11.9%      11.9%      12.0%           12,116          12,123          12,138
 Unsecured Local Council Debt                             59,157          59,157             59,157    7.0%       7.0%       7.0%            4,129           4,129           4,129
 Abuse Claims                                          7,100,000       7,100,000          7,100,000    5.7%       5.8%       5.9%          402,467         408,886         421,892
 PBGC Termination Claim                                    3,009           3,009              3,009    0.0%      33.0%     100.0%              -               995           3,009
Total General Unsecured Claims (High)                $ 7,415,865     $ 7,415,865     $ 7,415,865       5.8%       5.9%       6.1%     $    428,595    $    436,042    $    451,128

Proceeds Available After General Unsecured Claims                                                                                     $          -    $          -    $          -

General Unsecured Claims (Low)
 Trade Payables and Accrued Expenses                 $   121,235     $   121,235     $      121,235   17.9%      18.0%      18.0%     $     21,755    $     21,766    $     21,789
 Employee Related Claims                                  30,926          30,926             30,926    5.8%       6.0%       6.3%            1,793           1,841           1,938
 Real Property & Equipment Lease Rejection Damages       101,538         101,538            101,538   25.9%      25.9%      25.9%           26,277          26,293          26,328
 Unsecured Local Council Debt                             59,157          59,157             59,157   16.3%      16.3%      16.3%            9,637           9,637           9,637
 Abuse Claims                                          4,800,000       4,800,000          2,400,000   15.4%      15.6%      16.0%          369,133         374,187         384,427
 PBGC Termination Claim                                    7,010           7,010              7,010    0.0%      33.0%     100.0%              -             2,316           7,010
Total General Unsecured Claims (Low)                 $ 5,119,865     $ 5,119,865     $ 2,719,865      15.8%      16.0%      16.6%     $    428,595    $    436,042    $    451,128

Proceeds Available After General Unsecured Claims                                                                                     $          -    $          -    $          -



Note: Recovery percentages are based on a) asset proceeds recovered divided by pro forma asset
balances and b) claims recoveries based on estimated claims.




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   Consolidating Mid-Point Recoveries of Debtors, Related Non-Debtor Entities, and Local
   Councils
                                                                                                                                     Estimated Mid-Point Recovery ($ 000s)
                                                                BSA                                                                 Learning                      Consolidated Debtors            Local             Residual                  Total
                                                               Debtors            Foundation        Arrow         BSAAM             for Life        Interco   & Related Non-Debtors              Councils       Scouting Interest           BSA + LCs

Assets
 Cash and Cash Equivalents                                 $     168,246          $      -      $       -     $           0     $          -    $        -    $                168,247       $      288,570     $              -        $       456,817
 Cash and Cash Equivalents: Restricted                               -                   -              -             -                    -             -                         -                    -                      -                    -
 Investments                                                      10,556               6,274            -             -                    -             -                      16,830              569,693                    -                586,523
 Investments: Restricted                                          25,000                 -              -             -                    -             -                      25,000              201,646                    -                226,646
 Accounts Receivable                                               5,631                 105            -             -                    -             -                       5,736                  -                      -                  5,736
 Investment Income Receivable                                        -                   -              -             -                    -             -                         -                    -                      -                    -
 Pledges Receivable                                                  -                   -              -             -                    -             -                         -                    -                      -                    -
 Related Party Receivables                                        33,520                 -              -             -                    -         (33,520)                      -                    -                      -                    -
 Inventory                                                         6,448                 -              -             -                    -             -                       6,448                  -                      -                  6,448
 Prepaid and Deferred Charges                                      3,101                 -              -             -                    -             -                       3,101                  -                      -                  3,101
 Land, Building, and Equipment (Net)                             185,958                   90        35,310           -                    -             -                     221,358              723,448                    -                944,805
 Other                                                            46,222                 -              -             -                    -             -                      46,222               14,088                    -                 60,310
Total Gross Liquidation Proceeds                           $     484,682          $    6,469    $    35,310   $           0     $          -    $    (33,520) $                492,941       $    1,797,444     $              -        $     2,290,385


( - ) Less Cost of Liquidation
 ( - ) Liquidation Wind-Down Expenses                      $      (15,603) $             -     $         -    $       -         $          -    $         -   $                 (15,603)     $      (62,911) $                 -        $        (78,513)
 ( - ) Chapter 7 Trustee Fees                                     (14,565)              (219)         (1,084)             (0)              -              -                     (15,868)            (53,930)                   -                 (69,797)
 ( - ) Trustee's Professional Fees                                 (4,747)               (97)            -            -                    -              -                      (4,844)            (52,811)                   -                 (57,654)
 ( - ) Claims Processing Costs                                     (1,000)               -               -            -                    -              -                      (1,000)             (9,519)                   -                 (10,519)
 ( - ) Secured Lender Professional Fees                              (842)               -               -            -                    -              -                        (842)                -                      -                    (842)
 ( - ) Broker Fees                                                 (4,486)                 (2)          (706)         -                    -              -                      (5,194)            (28,938)                   -                 (34,132)
Total Liquidation Costs                                    $      (41,242) $            (317) $       (1,790) $           (0) $            -    $         -   $                 (43,350)     $     (208,107) $                 -        $      (251,457)

Total Net Liquidation Proceeds                             $     443,440          $    6,151    $    33,520   $           0     $          -    $    (33,520) $                449,591       $    1,589,337     $              -        $     2,038,928


                                                                                                                                      Estimated Claims Recovery ($ 000s)
                                                                BSA                                                                 Learning                      Consolidated Debtors            Local             Residual                 Subtotal
                                                               Debtors            Foundation        Arrow         BSAAM             for Life   Intercompany   & Related Non-Debtors              Councils       Scouting Interest           BSA + LCs

Secured Claims
 JPMorgan Funded Debt                                      $     232,262          $      -      $       -     $       -         $          -    $        -    $                232,262       $          -       $              -        $       232,262
 JPMorgan Letters of Credit                                       95,842                 -              -             -                    -             -                      95,842                  -                      -                 95,842
 Secured Local Council Debt                                          -                   -              -             -                    -             -                         -                 59,054                    -                 59,054
 BSA Secured Intercompany Note                                       -                   -           33,520           -                    -         (33,520)                      -                    -                      -                    -
 PBGC Termination Claim                                              -                 6,151            -                 0                -             -                       6,152            1,090,825                    -              1,096,977
Total Secured Claims                                       $     328,104          $    6,151    $    33,520   $           0     $          -    $    (33,520) $                334,256       $    1,149,879     $              -        $     1,484,134

Proceeds Available After Secured Claims                    $     115,335          $      -      $       -     $       -         $          -    $         -   $                115,335       $      439,458     $              -        $       554,794

Administrative / Other Administrative Claims
 Other Administrative Claims                               $       25,610         $      -      $       -     $       -         $          -    $         -   $                 25,610       $              -                  -        $        25,610
 Employee Related Claims                                   $       19,651         $      -      $       -     $       -         $          -    $         -   $                 19,651               10,863                    -                 30,513
 Professional Fee Claims                                           44,653                -              -             -                    -              -                     44,653                      -                  -                 44,653
 Post-Petition Trade Claims                                        17,975                -              -             -                    -              -                     17,975                      -                  -                 17,975
Total Administrative / Other Administrative Claims         $     107,889          $      -      $       -     $       -         $          -    $         -   $                107,889       $       10,863     $              -        $       118,752

Proceeds Available for General Unsecured Creditors         $        7,446         $      -      $       -     $       -         $          -    $         -   $                   7,446      $      428,595     $              -        $       436,042

General Unsecured Claims (High)
 Trade Payables and Accrued Expenses                       $                  5   $      -      $       -     $       -         $          -    $         -   $                          5   $        9,171     $                  10   $         9,186
 Employee Related Claims                                                     21          -              -             -                    -              -                             21              660                        42               722
 Real Property & Equipment Lease Rejection Damages                            7          -              -             -                    -              -                              7           12,101                        15            12,123
 Unsecured Local Council Debt                                         -                  -              -             -                    -              -                         -                 4,129                  -                    4,129
 Abuse Claims                                                       6,419                -              -             -                    -              -                       6,419             389,346               13,121                408,886
 PBGC Termination Claim                                               995                -              -             -                    -              -                         995                 -                    -                      995
Total General Unsecured Claims (High)                      $        7,446         $      -      $       -     $       -         $          -    $         -   $                   7,446      $      415,408     $         13,188        $       436,042

Proceeds Available After General Unsecured Claims (High)   $                  0   $      -      $       -     $       -         $          -    $         -   $                     -        $       13,188     $        (13,188) $                     -



General Unsecured Claims (Low)
 Trade Payables and Accrued Expenses                       $            11        $      -      $       -     $       -         $          -    $         -   $                         11   $       21,685     $              70       $        21,766
 Employee Related Claims                                                48               -              -             -                    -              -                             48            1,496                  297                  1,841
 Real Property & Equipment Lease Rejection Damages                     17                -              -             -                    -              -                             17           26,172                  105                 26,293
 Unsecured Local Council Debt                                         -                  -              -             -                    -              -                         -                 9,637                  -                    9,637
 Abuse Claims                                                       5,054                -              -             -                    -              -                       5,054             337,681               31,452                374,187
 PBGC Termination Claim                                             2,316                -              -             -                    -              -                       2,316                 -                    -                    2,316
Total General Unsecured Claims (Low)                       $        7,446         $      -      $       -     $       -         $          -    $         -   $                   7,446      $      396,671     $         31,925        $       436,042

Proceeds Available After General Unsecured Claims (Low)    $             -        $      -      $       -     $       -         $          -    $         -   $                     -        $       31,925     $        (31,925) $                     -




Note: Recovery percentages are based on a) asset proceeds recovered divided by pro forma asset
balances and b) claims recoveries based on estimated claims.




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Boy Scouts of America
Individual Local Council Balance Sheets (1), (2), (3)
As of February 28, 2021

Council #                                                       1                3                 4             5                   6               10               11              13              16               18              23
                                                            Greater          Alabama-                       Tukabatchee                                                                                                           Golden Gate
Council Name                                                Alabama           Florida         Mobile Area      Area            Black Warrior   Grand Canyon         Catalina     De Soto Area    Westark Area    Quapaw Area      Area Council
Assets
  Cash & Equivalents                                    $    4,420,229   $       77,704   $        68,499   $     702,265   $        816,010   $    2,166,111   $      521,021   $      51,096   $   1,000,123   $      747,092   $    1,013,701
  Land, Buildings, and Equipment                             4,773,209          306,180           457,226       2,372,696            681,838        5,752,921        1,426,868         622,104       3,384,867        3,055,534       10,360,288
  Long-Term Investments                                      8,560,125          249,811            31,206       2,224,425          3,318,947        6,223,695        2,077,190         371,276       1,604,652       11,659,187       12,094,041
  Other Assets                                               2,159,016           81,723            37,242         152,343            321,508          115,989           58,185         105,845         273,838          303,974        9,065,552
  Total Assets                                              19,912,578          715,419           594,174       5,451,729          5,138,304       14,258,716        4,083,265       1,150,321       6,263,480       15,765,787       32,533,582

Liabilities
   Debt                                                       469,985           254,951           124,457        110,700                  -           448,968          204,900         39,000          153,975         355,574         2,093,295
   Other Liabilities                                          164,017            87,339            73,031        231,185             49,807           589,200          157,723         54,831          884,808         174,269         1,531,284
   Total Liabilities                                          634,002           342,290           197,488        341,885             49,807         1,038,168          362,623         93,831        1,038,783         529,843         3,624,578

Unrestricted Net Assets                                      5,858,141          162,947            76,647       3,625,053          2,273,695        9,582,089        2,930,433         734,154       1,737,613       12,824,556       10,325,190
Restricted Net Assets                                       13,420,435          210,182           320,039       1,484,791          2,814,802        3,638,459          790,208         322,337       3,487,085        2,411,388       18,583,815
Total Net Assets                                        $   19,278,576   $      373,129   $       396,686   $   5,109,844   $      5,088,496   $   13,220,548   $    3,720,641   $   1,056,490   $   5,224,697   $   15,235,944   $   28,909,004




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Boy Scouts of America
Individual Local Council Balance Sheets (1), (2), (3)
As of February 28, 2021

Council #                                                     27               30                31                  32                 33             35               39                41               42                45              47
                                                                                                                 Long Beach         Greater Los                                        Redwood                        California Inland
Council Name                                                Sequoia      Southern Sierra   Pacific Skyline          Area           Angeles Area       Marin       Orange County         Empire          Piedmont           Empire       Golden Empire
Assets
  Cash & Equivalents                                    $      363,998   $      166,493    $    1,049,042    $     1,521,513   $      1,206,870   $     194,699   $    1,744,481   $       16,543   $      158,281    $    1,174,736   $   1,615,343
  Land, Buildings, and Equipment                             8,611,598          438,736         3,464,343          2,562,923         27,931,097       1,767,871       38,048,572            5,112          103,788         1,439,339       4,980,341
  Long-Term Investments                                        628,386          362,115         5,143,646          9,078,698         20,836,692       3,360,496        9,876,894          541,048        8,455,480         1,716,399       2,400,206
  Other Assets                                               2,534,179          112,141         1,350,848            154,886          5,257,609         128,263          647,797        1,494,191           33,871            97,602         493,682
  Total Assets                                              12,138,161        1,079,485        11,007,880         13,318,021         55,232,268       5,451,329       50,317,744        2,056,893        8,751,419         4,428,076       9,489,572

Liabilities
   Debt                                                       299,518          154,807           632,038             209,976            452,695        136,088         4,625,565          44,167                 -          148,055          414,000
   Other Liabilities                                          316,905          223,702           135,626             157,216          1,094,625         81,665         1,338,299          81,886            (9,008)         497,235          464,080
   Total Liabilities                                          616,423          378,509           767,664             367,192          1,547,320        217,753         5,963,864         126,053            (9,008)         645,290          878,080

Unrestricted Net Assets                                      9,912,453         (249,930)        7,927,061          5,122,574         31,726,269       3,474,055       38,005,058        1,412,193        5,544,891         2,893,220       6,551,803
Restricted Net Assets                                        1,609,286          950,906         2,313,155          7,828,255         21,958,679       1,759,521        6,348,822          518,648        3,215,536           889,566       2,059,689
Total Net Assets                                        $   11,521,738   $      700,976 $      10,240,216    $    12,950,829   $     53,684,948   $   5,233,576   $   44,353,880   $    1,930,841   $    8,760,428    $    3,782,786   $   8,611,492




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Boy Scouts of America
Individual Local Council Balance Sheets (1), (2), (3)
As of February 28, 2021

Council #                                                       49              51                53               55              57               58                59               60               61                 62             63
                                                            San Diego-     Western Los                       Silicon Valley                                         Greater
Council Name                                                 Imperial     Angeles County       Los Padres    Monterey Bay     Ventura County   Verdugo Hills       Yosemite         Pikes Peak    Denver Area          Longs Peak    Rocky Mountain
Assets
  Cash & Equivalents                                    $     2,371,701   $    2,914,717   $       784,742   $    2,872,971   $     185,481    $   3,660,215   $      707,574   $       501,234   $    5,774,502   $       565,123   $    (268,841)
  Land, Buildings, and Equipment                              2,760,209        8,146,416        12,449,400       20,424,463       1,594,642          527,161          936,663         4,199,752       19,006,862         2,512,537       1,102,615
  Long-Term Investments                                         800,269        5,861,050         4,675,327       23,125,556         655,726        3,098,253        2,522,680         5,532,283       32,022,359         7,728,187         320,068
  Other Assets                                                4,181,339          664,285           344,889          327,022         213,282          240,182           24,008            89,192        1,830,530           678,728         177,779
  Total Assets                                               10,113,517       17,586,468        18,254,358       46,750,012       2,649,131        7,525,811        4,190,925        10,322,461       58,634,253        11,484,574       1,331,621

Liabilities
   Debt                                                         492,757          663,400           422,822          469,448         366,302         150,286            56,228           628,000          847,910           302,433         234,274
   Other Liabilities                                          1,267,988        1,220,676           148,402          564,288         175,401         678,601           103,897           100,924        1,215,596           175,377          30,593
   Total Liabilities                                          1,760,745        1,884,076           571,224        1,033,736         541,703         828,887           160,125           728,924        2,063,506           477,810         264,867

Unrestricted Net Assets                                        (566,856)       9,690,805        14,453,991       33,397,061       1,437,344        6,230,000        3,753,019         5,605,495       21,140,913         4,722,329         659,135
Restricted Net Assets                                         8,919,628        6,011,587         3,229,143       12,319,215         670,084          466,924          277,781         3,988,043       35,429,834         6,284,435         407,619
Total Net Assets                                        $     8,352,772 $     15,702,392   $    17,683,135   $   45,716,276   $   2,107,428    $   6,696,924   $    4,030,800   $     9,593,538   $   56,570,747   $    11,006,764   $   1,066,753




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Boy Scouts of America
Individual Local Council Balance Sheets (1), (2), (3)
As of February 28, 2021

Council #                                                       66               67                69               70                  72                 81              82               83                84                 85               87
                                                            Connecticut                                                             Connecticut                      National Capital
Council Name                                                  Rivers          Greenwich         Housatonic    Old North State        Yankee            Del-Mar-Va         Area        Central Florida   South Florida        Gulf Stream    North Florida
Assets
  Cash & Equivalents                                    $     1,072,720   $       609,159   $        84,880   $    1,642,775    $     1,033,695    $       860,907   $    3,777,073   $    1,836,823    $    1,028,488   $      1,114,401   $    1,216,530
  Land, Buildings, and Equipment                              3,750,125         5,186,704           787,570        5,005,038          4,743,693         10,538,102       27,153,840        8,122,735        12,827,584          3,601,059        5,324,767
  Long-Term Investments                                       9,352,286         4,652,101           669,333       10,032,419          6,147,302          5,318,522       14,597,402        1,269,850         7,754,991          1,947,828       14,301,717
  Other Assets                                                  240,241           100,022           138,310          474,197          1,220,412          3,716,552        1,327,749          837,149         1,051,104            148,864          359,039
  Total Assets                                               14,415,372        10,547,986         1,680,092       17,154,429         13,145,103         20,434,084       46,856,064       12,066,557        22,662,167          6,812,152       21,202,053

Liabilities
   Debt                                                         505,647          201,907             68,733         249,200            2,000,035           518,917                -                -          521,205             373,668         264,546
   Other Liabilities                                            396,463          268,572            104,876         228,116              456,193           372,842        1,230,381        1,492,854          218,528             769,470         470,684
   Total Liabilities                                            902,110          470,478            173,610         477,316            2,456,228           891,759        1,230,381        1,492,854          739,733           1,143,138         735,230

Unrestricted Net Assets                                       6,164,604         8,182,865         1,224,069       10,589,939          4,716,717         12,402,191       33,820,605        8,604,279        14,275,784          3,129,806        7,459,145
Restricted Net Assets                                         7,348,658         1,894,643           282,413        6,087,174          5,972,158          7,140,133       11,805,079        1,969,424         7,646,649          2,539,208       13,007,678
Total Net Assets                                        $    13,513,262   $    10,077,508   $     1,506,483   $   16,677,113    $    10,688,875    $    19,542,325   $   45,625,683   $   10,573,703    $   21,922,433   $      5,669,014   $   20,466,823




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Boy Scouts of America
Individual Local Council Balance Sheets (1), (2), (3)
As of February 28, 2021

Council #                                                      88               89              91                 92               93                 95              96               98               99                100              101
                                                            Southwest     Greater Tampa                                           Georgia-                                                                              Northwest         Northeast
Council Name                                                 Florida        Bay Area       Chattahoochee       Atlanta Area       Carolina         Flint River   Central Georgia   South Georgia Coastal Georgia         Georgia           Georgia
Assets
  Cash & Equivalents                                    $     1,646,901   $    3,696,307   $     489,084   $      8,022,593   $      512,709   $       476,466   $       64,424    $     504,402   $    2,049,111   $       554,932 $      3,135,952
  Land, Buildings, and Equipment                              3,109,957        5,855,613       6,300,214         24,014,830        2,347,710         5,653,014        1,357,412        1,496,551        8,029,446           877,179        3,650,021
  Long-Term Investments                                      10,608,194       11,901,098       2,140,098         61,313,295          590,527         1,906,489          811,765          822,126        8,161,339         2,517,640        6,922,350
  Other Assets                                                  193,361        1,578,453         260,828          2,195,961          124,685           627,295           98,893          126,361          225,181           (87,901)         797,130
  Total Assets                                               15,558,413       23,031,471       9,190,223         95,546,679        3,575,632         8,663,265        2,332,493        2,949,440       18,465,076         3,861,850       14,505,454

Liabilities
   Debt                                                              -          365,663         710,030           7,125,358          323,544           176,300         149,900                -          756,173            90,729            339,904
   Other Liabilities                                           410,440          310,274         110,692           2,510,148           63,249            70,768          85,205           27,160           81,879            53,678          1,030,839
   Total Liabilities                                           410,440          675,937         820,722           9,635,505          386,793           247,068         235,105           27,160          838,052           144,407          1,370,743

Unrestricted Net Assets                                       7,997,609       18,192,495       6,082,594         58,149,032        1,786,314         6,970,107        1,392,435        1,952,636       17,382,082         1,600,467        6,396,650
Restricted Net Assets                                         7,150,364        4,163,039       2,286,908         27,762,142        1,402,525         1,446,090          704,953          969,644          244,942         2,116,975        6,738,061
Total Net Assets                                        $    15,147,973   $   22,355,534   $   8,369,501   $     85,911,174   $    3,188,839   $     8,416,197   $    2,097,388    $   2,922,281   $   17,627,025   $     3,717,442   $   13,134,711




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Boy Scouts of America
Individual Local Council Balance Sheets (1), (2), (3)
As of February 28, 2021

Council #                                                    104              106             107                 117               127                129            133               138               141               144            145
                                                                                                                                                    Northeast                                          Mississippi       Abraham
Council Name                                                Aloha            Ore-Ida      Grand Teton         Prairielands       Three Fires         Illinois        Illowa          W.D. Boyce          Valley           Lincoln     Hoosier Trails
Assets
  Cash & Equivalents                                    $    1,318,714   $      339,883   $     240,542   $        248,593   $     1,252,923    $    1,973,973   $     447,695   $     1,112,827   $     1,364,170   $    1,146,215   $     290,658
  Land, Buildings, and Equipment                             7,963,108        2,502,604       3,841,902          1,202,993         4,853,884         6,101,517       2,065,469         2,092,790         1,536,295        2,311,524       1,171,515
  Long-Term Investments                                      2,061,777        6,165,464       3,369,606          1,373,902         4,063,435         5,718,214       1,859,785         1,960,433         2,377,304        9,887,281       2,794,151
  Other Assets                                               3,604,904           34,090         187,567             86,719           638,035         1,238,208         239,919           212,194         2,366,475          137,186         560,955
  Total Assets                                              14,948,504        9,042,041       7,639,617          2,912,207        10,808,277        15,031,911       4,612,868         5,378,244         7,644,245       13,482,207       4,817,279

Liabilities
   Debt                                                       505,815                -         132,500              94,388          3,073,410          236,704         261,600           371,313           135,047                -         136,543
   Other Liabilities                                          462,200          130,940         117,923              57,789            767,132          330,115         149,383           246,979            86,053           62,929         343,069
   Total Liabilities                                          968,015          130,940         250,423             152,177          3,840,542          566,819         410,983           618,291           221,099           62,929         479,612

Unrestricted Net Assets                                      5,975,712        7,578,672       6,775,425          2,252,777          2,454,029        8,230,332       3,364,933         3,004,490         3,795,781        2,458,695       1,988,860
Restricted Net Assets                                        8,004,777        1,332,429         613,769            507,253          4,513,707        6,234,760         836,952         1,755,462         3,627,364       10,960,582       2,348,807
Total Net Assets                                        $   13,980,489   $    8,911,101   $   7,389,194   $      2,760,030   $      6,967,736   $   14,465,093   $   4,201,885   $     4,759,953   $     7,423,145   $   13,419,277   $   4,337,667




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Boy Scouts of America
Individual Local Council Balance Sheets (1), (2), (3)
As of February 28, 2021

Council #                                                   156              157            160                162             165             172                173              177             178             192              194
                                                                        Anthony Wayne   Crossroads of
Council Name                                            Buffalo Trace        Area         America            Sagamore         LaSalle      Hawkeye Area        Winnebago         Mid-Iowa     Northeast Iowa   Coronado Area   Santa Fe Trail
Assets
  Cash & Equivalents                                    $     286,282   $   1,332,065   $    7,210,534   $      233,472   $    2,094,254   $     566,415   $       915,209   $      355,767   $     726,239    $     547,171   $      45,375
  Land, Buildings, and Equipment                            2,476,302       2,149,931       17,269,868        2,014,140        1,836,061       1,156,723           483,701       11,007,290       1,305,793        2,718,311       1,501,238
  Long-Term Investments                                     1,690,202       3,907,296       25,287,079        3,633,365        2,555,790         907,055         1,772,366        8,028,206       2,048,404        2,790,611         664,522
  Other Assets                                                109,630         267,521        5,739,982        3,272,618          217,188          63,397           210,823        1,071,824         100,831           94,744           1,189
  Total Assets                                              4,562,416       7,656,813       55,507,464        9,153,595        6,703,293       2,693,590         3,382,099       20,463,088       4,181,266        6,150,837       2,212,324

Liabilities
   Debt                                                      103,442         137,347           740,406          123,112         137,100         140,485                 -           378,527               -         280,199          342,655
   Other Liabilities                                         145,162         183,652         1,023,455           91,331         211,562         316,256            79,724           328,018         158,302          88,496          166,164
   Total Liabilities                                         248,604         320,999         1,763,861          214,443         348,662         456,741            79,724           706,545         158,302         368,694          508,820

Unrestricted Net Assets                                     2,586,680       3,604,204       24,178,049        4,861,534        5,790,020       1,100,691         2,670,485       16,033,550       2,452,014        2,710,907         762,886
Restricted Net Assets                                       1,727,132       3,731,610       29,565,553        4,077,618          564,612       1,136,158           631,889        3,722,993       1,570,950        3,071,236         940,618
Total Net Assets                                        $   4,313,812   $   7,335,814   $   53,743,602   $    8,939,152   $    6,354,632   $   2,236,849   $     3,302,375   $   19,756,543   $   4,022,964    $   5,782,143   $   1,703,505




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Boy Scouts of America
Individual Local Council Balance Sheets (1), (2), (3)
As of February 28, 2021

Council #                                                   197              198               204             205              209             211             212               213               214               215            216
                                                                                                                                                                                Louisiana         Southeast
Council Name                                            Jayhawk Area        Quivira         Blue Grass    Lincoln Heritage Calcasieu Area   Istrouma Area Evangeline Area       Purchase          Louisiana         Norwela      Katahdin Area
Assets
  Cash & Equivalents                                    $      54,055   $     695,946   $         9,662   $      970,193   $     168,519    $     517,588   $      79,539   $       304,501   $       998,544 $      1,895,587   $     200,037
  Land, Buildings, and Equipment                            1,799,637       4,476,661         1,937,158       10,807,450         750,970        2,765,407         779,568         1,835,519         1,656,710        2,284,911         352,030
  Long-Term Investments                                     1,082,538       1,768,187           196,366       16,917,542       1,791,903        1,274,299         383,852         3,009,183         4,690,961        9,395,687         704,882
  Other Assets                                              6,691,333         356,678           122,826        1,146,391          48,879          190,108       1,301,089           102,627          (785,642)         174,662       5,713,385
  Total Assets                                              9,627,563       7,297,473         2,266,012       29,841,576       2,760,271        4,747,402       2,544,048         5,251,829         6,560,573       13,750,847       6,970,334

Liabilities
   Debt                                                      254,000          793,997           306,375         475,826           22,075               -         299,427            93,000           202,737          285,697         109,582
   Other Liabilities                                         116,606          620,458           306,750         344,691           54,101         277,475         106,643            69,257           110,244          153,569         123,584
   Total Liabilities                                         370,606        1,414,455           613,125         820,516           76,176         277,475         406,070           162,257           312,981          439,266         233,166

Unrestricted Net Assets                                     1,777,238       4,157,657         1,520,150       12,521,252       2,310,197        2,688,810         243,363         4,170,751         5,729,971       12,640,310         386,862
Restricted Net Assets                                       7,479,719       1,725,360           132,737       16,499,808         373,898        1,781,117       1,980,767           918,821           517,621          671,271       6,350,306
Total Net Assets                                        $   9,256,957   $   5,883,018   $     1,652,887   $   29,021,060   $   2,684,095    $   4,469,927   $   2,224,130   $     5,089,572   $     6,247,592   $   13,311,581   $   6,737,168




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Boy Scouts of America
Individual Local Council Balance Sheets (1), (2), (3)
As of February 28, 2021

Council #                                                     218              220             221              224               227            230             234              250               251                283              286
                                                                                                           Cape Cod and         Spirit of    Heart of New      Western
Council Name                                                Pine Tree     Baltimore Area   Mason-Dixon        Islands          Adventure       England       Massachusetts   Northern Star        Mayflower         Twin Valley    Voyageurs Area
Assets
  Cash & Equivalents                                    $       562,463   $      947,489   $     576,014   $     362,422   $       639,462   $   1,018,531   $     215,388   $    8,257,833   $       409,480   $        428,757   $   1,084,791
  Land, Buildings, and Equipment                              4,999,319        5,519,418       4,716,985       2,066,437         3,826,607       1,570,750         933,097       35,607,213         6,597,503          1,343,368          65,489
  Long-Term Investments                                       2,018,761        9,836,148         717,782       3,652,027         9,757,494       2,801,859       1,595,767       47,909,279        17,960,921          2,543,159         785,889
  Other Assets                                                  243,219        1,628,074         295,229         297,733           693,617         141,281         286,876        7,933,619           894,318            291,222         132,879
  Total Assets                                                7,823,761       17,931,129       6,306,010       6,378,619        14,917,180       5,532,421       3,031,128       99,707,945        25,862,223          4,606,506       2,069,048

Liabilities
   Debt                                                       1,424,886          405,092       1,347,574         60,000          1,833,653        300,043         551,372        10,545,035                -             49,820           98,620
   Other Liabilities                                            163,224          978,100         142,349        623,139            606,957        353,859         150,680         1,489,502          320,647            173,020          152,611
   Total Liabilities                                          1,588,110        1,383,192       1,489,923        683,139          2,440,610        653,902         702,052        12,034,536          320,647            222,841          251,231

Unrestricted Net Assets                                       3,651,504       12,242,788       3,737,266       4,903,912         8,058,233       1,876,850       1,514,624       45,643,422        22,562,733          3,706,565       1,210,218
Restricted Net Assets                                         2,584,146        4,305,149       1,078,822         791,568         4,418,337       3,001,568         814,453       42,029,986         2,978,842            677,100         607,600
Total Net Assets                                        $     6,235,651   $   16,547,937   $   4,816,087   $   5,695,480   $    12,476,570   $   4,878,419   $   2,329,076   $   87,673,408   $    25,541,575   $      4,383,665   $   1,817,817




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Boy Scouts of America
Individual Local Council Balance Sheets (1), (2), (3)
As of February 28, 2021

Council #                                                      296               299            302              303            304                 306             307             311                312              315             322
                                                             Central                                                                                               Heart of                         Greater St.
Council Name                                                Minnesota         Gamehaven     Choctaw Area Andrew Jackson Pine Burr Area          Ozark Trails       America      Pony Express        Louis Area        Montana      Overland Trails
Assets
  Cash & Equivalents                                    $       784,881   $       681,787   $     231,242   $     224,234   $     259,941   $        152,709   $    5,962,869   $     744,672   $     6,479,036   $       28,228   $     502,968
  Land, Buildings, and Equipment                              3,892,149         1,385,663       1,619,712       3,804,780       2,542,278          4,020,259       16,178,880       3,656,201        22,665,733       28,360,122       1,051,452
  Long-Term Investments                                       1,373,337           398,904       2,221,484       4,026,367         671,467          6,208,975       27,853,951       3,184,473        58,568,744       12,277,125       1,421,864
  Other Assets                                                   77,360           555,568         159,159         809,513         176,483            196,154        2,333,076         358,815         9,064,631          537,770         139,973
  Total Assets                                                6,127,727         3,021,922       4,231,597       8,864,895       3,650,169         10,578,097       52,328,775       7,944,161        96,778,145       41,203,245       3,116,257

Liabilities
   Debt                                                        119,098           258,188          95,701          525,006        230,937             152,184          970,791        114,145          1,363,600         363,482          446,367
   Other Liabilities                                           114,594            79,991          96,098        1,516,027         72,302             232,120        3,282,618        216,649          2,541,834         607,913           75,703
   Total Liabilities                                           233,692           338,179         191,799        2,041,033        303,239             384,304        4,253,409        330,794          3,905,434         971,395          522,070

Unrestricted Net Assets                                       2,483,885         1,393,364       3,394,222       1,519,057       2,911,447          5,368,753       18,738,579       4,430,970        31,740,144       33,748,789       1,325,334
Restricted Net Assets                                         3,410,150         1,290,379         645,576       5,304,805         435,483          4,825,041       29,336,787       3,182,396        61,132,567        6,483,061       1,268,853
Total Net Assets                                        $     5,894,035   $     2,683,743   $   4,039,798   $   6,823,862   $   3,346,929   $     10,193,793   $   48,075,366   $   7,613,366   $    92,872,710   $   40,231,850   $   2,594,187




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Boy Scouts of America
Individual Local Council Balance Sheets (1), (2), (3)
As of February 28, 2021

Council #                                                      324             326              328              329              330              333             341               347              358                364             368
                                                                                                                                              Northern New
Council Name                                                Cornhusker    Mid-America      Las Vegas Area   Nevada Area      Daniel Webster      Jersey        Jersey Shore        Monmouth      Patriots' Path       Twin Rivers    Baden-Powell
Assets
  Cash & Equivalents                                    $       192,230   $    1,683,284   $    1,783,981   $    1,604,923   $      768,132   $      717,530   $     187,458   $     3,506,925   $    1,794,561   $        951,362   $     524,789
  Land, Buildings, and Equipment                              3,631,366        8,058,199        5,322,454        2,070,030        4,819,321        3,390,077       1,193,174         3,856,997        6,532,252          1,167,745       1,555,244
  Long-Term Investments                                       1,023,162       21,734,964        6,688,727        8,496,786       12,097,762        6,630,536         882,984         5,102,999        6,121,537          5,364,320       3,306,743
  Other Assets                                                1,407,892          714,130          307,328          219,199        1,791,125          376,071         650,123           193,229        1,232,418             48,086         239,104
  Total Assets                                                6,254,651       32,190,576       14,102,491       12,390,937       19,476,340       11,114,215       2,913,739        12,660,150       15,680,767          7,531,513       5,625,879

Liabilities
   Debt                                                         298,475          607,900          253,763         127,800           448,553         513,818         244,657                  -        2,021,717           136,862         134,700
   Other Liabilities                                             90,995          588,809        1,986,405         119,737         1,392,322         450,210         234,921          1,045,622        1,416,778           225,247         161,102
   Total Liabilities                                            389,470        1,196,709        2,240,168         247,537         1,840,875         964,027         479,577          1,045,622        3,438,495           362,109         295,802

Unrestricted Net Assets                                       3,827,718        8,289,589        4,968,407        9,478,814       10,286,304        6,863,268       1,120,096        10,212,112        7,830,214          4,229,406       4,015,196
Restricted Net Assets                                         2,037,463       22,704,277        6,893,916        2,664,586        7,349,160        3,286,921       1,314,065         1,402,416        4,412,059          2,939,948       1,314,882
Total Net Assets                                        $     5,865,181   $   30,993,867   $   11,862,323   $   12,143,400   $   17,635,465   $   10,150,188   $   2,434,162   $    11,614,527   $   12,242,272   $      7,169,354   $   5,330,078




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Boy Scouts of America
Individual Local Council Balance Sheets (1), (2), (3)
As of February 28, 2021

Council #                                                      373               375             376               380                382              386              388                397             400               404              405
                                                                                                             Greater Niagara       Allegheny         Theodore      Greater Hudson        Seneca
Council Name                                                Longhouse         Five Rivers   Iroquois Trail      Frontier           Highlands         Roosevelt        Valley (4)        Waterways     Leatherstocking   Suffolk County   Rip Van Winkle
Assets
  Cash & Equivalents                                    $       280,020   $       558,295   $     299,480    $    1,229,752    $       107,959   $       709,735   $    2,104,925   $     1,620,867   $      436,795    $   1,116,272    $      95,290
  Land, Buildings, and Equipment                                415,410         1,395,865         631,999         2,391,802            510,736         3,954,447        7,684,448         4,410,981        3,161,833        1,067,734          121,335
  Long-Term Investments                                       2,224,122         2,207,693       1,007,846         2,611,445          2,399,359         8,710,101       12,980,057        21,420,436       13,191,054        3,622,866        1,040,462
  Other Assets                                                  806,032            92,480          53,989           287,515             56,086           431,073        1,026,117           617,266          411,850          402,031           56,551
  Total Assets                                                3,725,584         4,254,333       1,993,314         6,520,513          3,074,139        13,805,356       23,795,547        28,069,550       17,201,532        6,208,903        1,313,638

Liabilities
   Debt                                                        438,312            285,573         224,973          352,107             46,228           237,048           463,363          451,329           65,295           453,375           55,000
   Other Liabilities                                           184,915             89,960         257,080          261,678             18,809           344,456         2,006,837          371,915          627,166           313,003          143,993
   Total Liabilities                                           623,227            375,533         482,053          613,785             65,036           581,503         2,470,200          823,244          692,461           766,378          198,993

Unrestricted Net Assets                                       1,581,633         2,972,059         283,246         3,346,922          2,113,548         9,905,508       11,731,515        11,797,728       11,828,471        1,329,216          121,824
Restricted Net Assets                                         1,520,724           906,741       1,228,014         2,559,806            895,555         3,318,344        9,593,832        15,448,578        4,680,600        4,113,309          992,821
Total Net Assets                                        $     3,102,357   $     3,878,800   $   1,511,261    $    5,906,728    $     3,009,103   $    13,223,853   $   21,325,347   $    27,246,306   $   16,509,071    $   5,442,525    $   1,114,645




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Boy Scouts of America
Individual Local Council Balance Sheets (1), (2), (3)
As of February 28, 2021

Council #                                                      412             413             414            415               416               420             421               424               425             426                427
                                                              Great                                        Mecklenburg      Central North
Council Name                                                Southwest     Conquistador     Daniel Boone      County           Carolina          Piedmont     Occoneechee          Tuscarora         Cape Fear     East Carolina       Old Hickory
Assets
  Cash & Equivalents                                    $       625,892   $    4,717,232   $   1,409,077   $    1,317,642   $   1,821,922   $    1,813,939   $      909,031   $       447,991   $     1,199,248   $     720,724   $        717,983
  Land, Buildings, and Equipment                              2,967,510        2,295,565       4,883,770        8,010,323       2,562,270        5,687,967        6,389,314         1,259,585         3,603,106       3,523,022          3,506,031
  Long-Term Investments                                         715,451       22,184,750               -        8,843,571       4,365,393        6,828,683        3,943,180         3,306,709         2,061,800       4,793,130          1,814,759
  Other Assets                                                  285,814        8,846,036       2,606,752        1,218,614         259,250          327,751        1,914,536           109,310            26,125         464,760            269,873
  Total Assets                                                4,594,667       38,043,584       8,899,599       19,390,150       9,008,835       14,658,340       13,156,062         5,123,596         6,890,279       9,501,636          6,308,646

Liabilities
   Debt                                                        466,703                -               -         1,069,040        357,770           264,101        1,303,136          258,900                 -               -            315,233
   Other Liabilities                                           427,986           97,160         408,334           466,708         90,584           219,604          560,902          105,692           256,215         376,449            343,634
   Total Liabilities                                           894,689           97,160         408,334         1,535,748        448,354           483,705        1,864,038          364,592           256,215         376,449            658,867

Unrestricted Net Assets                                       1,275,497        2,700,824       7,829,640       11,248,480       5,199,820        9,801,687        6,056,221         1,365,311         5,557,337       5,040,234          5,253,957
Restricted Net Assets                                         2,424,480       35,245,600         661,624        6,605,923       3,360,662        4,372,949        5,235,803         3,393,693         1,076,727       4,084,954            395,821
Total Net Assets                                        $     3,699,977   $   37,946,424   $   8,491,265   $   17,854,403   $   8,560,481   $   14,174,636   $   11,292,024   $     4,759,005   $     6,634,063   $   9,125,187   $      5,649,778




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Boy Scouts of America
Individual Local Council Balance Sheets (1), (2), (3)
As of February 28, 2021

Council #                                                    429                 433              436               438              439               440              441             444              449                456               460
                                                                                                                                                                                                    Black Swamp          Pathway to
Council Name                                            Northern Lights       Great Trail       Buckeye          Dan Beard         Tecumseh          Lake Erie     Simon Kenton     Miami Valley        Area             Adventure         Erie Shores
Assets
  Cash & Equivalents                                    $      771,071    $     1,124,027   $    1,553,281   $     1,597,005   $       223,906   $      590,852    $    1,040,499   $   1,132,918   $    1,637,474   $     3,144,373   $       980,978
  Land, Buildings, and Equipment                             9,386,593          7,414,131        4,930,248         9,677,263         1,469,337        5,238,945         5,992,765       3,473,289        2,957,373         4,753,960         6,118,616
  Long-Term Investments                                      5,390,335          6,584,428        6,288,750         8,180,394         1,935,848       15,733,339         5,504,076       2,385,682        8,842,891        17,728,863        18,358,600
  Other Assets                                                 917,348          1,784,543          973,509         3,200,930           217,210        1,052,085           598,035         206,429          805,068         2,080,668         1,450,368
  Total Assets                                              16,465,347         16,907,129       13,745,788        22,655,593         3,846,301       22,615,222        13,135,375       7,198,317       14,242,807        27,707,864        26,908,562

Liabilities
   Debt                                                       236,759             330,000         271,360            630,100           81,985            953,095         395,467         268,200          219,807            590,082            364,185
   Other Liabilities                                          217,589             471,478         543,270            645,477           72,496            604,487         454,867         138,414          322,642            805,787            664,007
   Total Liabilities                                          454,348             801,478         814,630          1,275,577          154,481          1,557,582         850,334         406,614          542,449          1,395,869          1,028,192

Unrestricted Net Assets                                     13,766,368          9,525,356        6,322,015        13,233,734         2,799,022       11,269,256         8,647,700       5,399,371        7,775,738        15,824,269        22,222,575
Restricted Net Assets                                        2,244,631          6,580,296        6,609,144         8,146,281           892,798        9,788,384         3,637,340       1,392,331        5,924,620        10,487,726         3,657,796
Total Net Assets                                        $   16,011,000    $    16,105,652   $   12,931,159   $    21,380,016   $     3,691,820   $   21,057,639    $   12,285,041   $   6,791,703   $   13,700,358   $    26,311,995   $    25,880,370




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Boy Scouts of America
Individual Local Council Balance Sheets (1), (2), (3)
As of February 28, 2021

Council #                                                      467            468             469               474             480              488                491              492               497              500             501
                                                            Muskingum                                                                                                                                                               Northeastern
Council Name                                                  Valley      Arbuckle Area   Cherokee Area       Cimarron     Last Frontier    Indian Nations       Crater Lake    Cascade Pacific   Juniata Valley   Moraine Trails   Pennsylvania
Assets
  Cash & Equivalents                                    $       994,915   $     225,859   $     279,747   $      141,286   $    1,662,260   $    1,351,481   $        276,839   $    3,560,525    $     215,306    $     719,498    $     174,534
  Land, Buildings, and Equipment                              1,718,688       1,396,180       1,274,793          775,070       12,020,085       26,026,563            398,392       17,691,798        2,208,844        2,327,757        1,385,917
  Long-Term Investments                                       1,042,986       3,621,375       4,131,368        1,407,164        8,898,943       12,182,992            653,717       31,832,255        1,333,391        6,244,895        2,241,631
  Other Assets                                                  123,077       1,294,117         122,735           86,823        2,946,628        1,747,635          1,275,858        2,943,413           57,807           41,410          172,836
  Total Assets                                                3,879,666       6,537,531       5,808,642        2,410,343       25,527,916       41,308,670          2,604,805       56,027,991        3,815,348        9,333,560        3,974,918

Liabilities
   Debt                                                         96,085          70,200               0           148,500          402,800         418,742            135,618           617,197          149,900           24,306               -
   Other Liabilities                                           115,649          13,807          23,253           111,326          739,372         224,941             77,760         2,088,899          215,934           28,295         185,583
   Total Liabilities                                           211,733          84,007          23,253           259,826        1,142,172         643,683            213,377         2,706,096          365,834           52,601         185,583

Unrestricted Net Assets                                       2,934,099       4,618,434       5,014,481        1,932,008        6,594,443       28,426,208            681,197       34,421,289        1,893,688        6,858,072        2,988,316
Restricted Net Assets                                           733,834       1,835,090         770,908          218,508       17,791,302       12,238,779          1,710,231       18,900,606        1,555,826        2,422,886          808,059
Total Net Assets                                        $     3,667,933   $   6,453,524   $   5,785,389   $    2,150,517   $   24,385,744   $   40,664,987   $      2,391,428   $   53,321,895    $   3,449,513    $   9,280,958    $   3,796,375




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Boy Scouts of America
Individual Local Council Balance Sheets (1), (2), (3)
As of February 28, 2021

Council #                                                       502               504              509            512             524                525              527             528             532             533                538
                                                                               Columbia-                      Westmoreland-   Pennsylvania        Cradle of         Laurel                                                              Chief
Council Name                                                Minsi Trails        Montour          Bucktail       Fayette          Dutch             Liberty         Highlands     Hawk Mountain    French Creek    Susquehanna         Cornplanter
Assets
  Cash & Equivalents                                    $        905,176   $       259,583   $       77,551   $     190,973   $     888,276   $    3,393,012   $     3,424,538   $      994,296   $     131,538   $     363,013   $        105,349
  Land, Buildings, and Equipment                               5,602,276           714,128          912,932         855,345       3,694,468        7,177,031        11,781,383        2,691,323         833,259       1,840,202            182,408
  Long-Term Investments                                        9,522,804           859,340          912,545       4,950,860       2,903,975       15,960,222        23,901,725        6,132,428       2,215,183       1,179,203            957,394
  Other Assets                                                   716,777            61,597           50,702         201,577       1,615,535        1,086,575         1,575,900          360,156       2,184,608         205,224            154,223
  Total Assets                                                16,747,032         1,894,648        1,953,730       6,198,755       9,102,255       27,616,840        40,683,547       10,178,203       5,364,589       3,587,642          1,399,374

Liabilities
   Debt                                                          149,999          272,751           200,521         135,412       1,453,304                -                 -         387,500         110,448          86,500                  -
   Other Liabilities                                           1,517,184           84,847            66,426         249,592          83,049          655,809         3,260,525         390,551         137,280         145,846             33,515
   Total Liabilities                                           1,667,183          357,598           266,947         385,004       1,536,353          655,809         3,260,525         778,051         247,728         232,346             33,515

Unrestricted Net Assets                                        6,716,274           675,522          520,567       1,621,221       5,329,855       14,249,730        23,961,119        6,589,184       2,525,616       2,649,064            417,106
Restricted Net Assets                                          8,363,576           861,529        1,166,216       4,192,530       2,236,047       12,711,300        13,461,902        2,810,968       2,591,245         706,232            948,753
Total Net Assets                                        $     15,079,849   $     1,537,051   $    1,686,783   $   5,813,752   $   7,565,902   $   26,961,031   $    37,423,022   $    9,400,152   $   5,116,861   $   3,355,296   $      1,365,859




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Boy Scouts of America
Individual Local Council Balance Sheets (1), (2), (3)
As of February 28, 2021

Council #                                                    539                544              546               549              550               551            552             553             556             557                 558
                                                                             New Birth of                                         Coastal                                                                        Great Smoky
Council Name                                            Chester County        Freedom       Narragansett         Palmetto         Carolina         Blue Ridge    Pee Dee Area    Indian Waters   Cherokee Area    Mountain            Chickasaw
Assets
  Cash & Equivalents                                    $    2,072,859   $         60,972   $    3,173,244   $      186,943   $       77,228   $       622,469   $     352,496   $     537,921   $     426,886   $      983,109   $     2,356,093
  Land, Buildings, and Equipment                             8,177,607          4,741,387       12,702,487        1,276,841          453,698         3,049,033       1,700,544         889,480       1,030,388        4,847,886         5,653,270
  Long-Term Investments                                      4,121,451          8,295,169       18,346,906          378,568          423,921         2,381,888       2,779,479       3,070,000       1,035,067        2,039,245         7,961,577
  Other Assets                                                 797,907            663,924          962,721        1,320,455          130,979         1,290,510       1,240,867         259,697         354,912        3,437,032           410,901
  Total Assets                                              15,169,823         13,761,452       35,185,358        3,162,807        1,085,825         7,343,899       6,073,386       4,757,099       2,847,253       11,307,271        16,381,842

Liabilities
   Debt                                                       335,444             248,938          513,600          260,643          198,495           259,075        218,216          798,536        350,054                -           312,465
   Other Liabilities                                          433,507             620,570          750,071          127,056          167,572           155,349         47,311          320,700        163,613          247,105            45,737
   Total Liabilities                                          768,951             869,507        1,263,671          387,698          366,067           414,424        265,527        1,119,236        513,667          247,105           358,202

Unrestricted Net Assets                                      6,856,711          7,383,106       18,836,603          442,822          317,720         4,681,093       2,207,773       1,296,106       1,947,397        5,869,902         4,733,366
Restricted Net Assets                                        7,544,161          5,508,839       15,085,084        2,332,286          402,039         2,248,382       3,600,087       2,341,756         386,189        5,190,264        11,290,273
Total Net Assets                                        $   14,400,872   $     12,891,945   $   33,921,688   $    2,775,109   $      719,759   $     6,929,475   $   5,807,860   $   3,637,862   $   2,333,587   $   11,060,166   $    16,023,639




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Boy Scouts of America
Individual Local Council Balance Sheets (1), (2), (3)
As of February 28, 2021

Council #                                                    559                560                561             562                 564                567                571             573              574            576               577
                                                            West               Middle                                                                                                                                    Sam Houston
Council Name                                            Tennessee Area       Tennessee         Texas Trails   Golden Spread        Capitol Area       Buffalo Trail       Circle Ten        Yucca           Bay Area        Area           South Texas
Assets
  Cash & Equivalents                                    $     (20,484) $       5,452,578   $        101,464   $      949,559   $      2,153,076   $        156,864    $     3,674,800   $   2,157,005   $      341,876   $    14,808,272   $     243,597
  Land, Buildings, and Equipment                              614,253         15,232,842          1,192,983        5,227,855         22,294,248          2,144,026         28,358,740          68,610        2,122,433        74,632,476       4,914,389
  Long-Term Investments                                       521,929         20,454,936          2,336,378        8,025,325         25,424,549          2,718,573         44,251,837          27,350        3,884,879        82,600,926       1,145,434
  Other Assets                                                108,437          3,028,705            163,502          936,818          1,326,505            175,749         16,196,952         148,411          106,011         7,795,945         160,634
  Total Assets                                              1,224,135         44,169,062          3,794,328       15,139,557         51,198,378          5,195,212         92,482,329       2,401,376        6,455,199       179,837,619       6,464,055

Liabilities
   Debt                                                       378,591            626,890            320,906         195,208             662,726            324,034          1,248,050         85,381            88,356                 -        347,410
   Other Liabilities                                          222,711            473,123             58,496         117,546             726,240            234,720            735,198         57,446           155,606         3,449,002        122,779
   Total Liabilities                                          601,302          1,100,013            379,402         312,754           1,388,967            558,754          1,983,248        142,827           243,963         3,449,002        470,189

Unrestricted Net Assets                                       135,786         20,265,491          1,567,414        8,879,958         45,026,850          2,331,639          1,828,738       1,572,425        2,643,449      88,569,253         4,777,870
Restricted Net Assets                                         487,047         22,803,557          1,847,512        5,946,845          4,782,561          2,304,819         88,670,343         686,123        3,567,787      87,819,364         1,215,995
Total Net Assets                                        $     622,833    $    43,069,049   $      3,414,926   $   14,826,803   $     49,809,411   $      4,636,458    $    90,499,081   $   2,258,548   $    6,211,236   $ 176,388,617     $   5,993,865




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Boy Scouts of America
Individual Local Council Balance Sheets (1), (2), (3)
As of February 28, 2021

Council #                                                   578                583               584               585                587             590              592              595                596            598                 599
                                                                                                                East Texas         Northwest     Crossroads of                                                         Shenandoah          Blue Ridge
Council Name                                            Three Rivers        Alamo Area        Caddo Area          Area              Texas          the West       Green Mountain Colonial Virginia       Tidewater        Area             Mountains
Assets
  Cash & Equivalents                                    $     779,934   $    11,864,069   $       637,927   $       793,667    $     1,744,281   $    3,239,353   $      415,267   $     803,883     $       493,787   $     162,845   $       116,942
  Land, Buildings, and Equipment                              868,287        12,814,929           504,838         2,644,075          1,228,601       28,328,333          391,186               -           1,433,086       1,088,647         5,619,448
  Long-Term Investments                                     1,935,067                 -         1,285,582         4,335,882                383       10,655,065        2,137,505         659,530           1,291,625         653,105         2,310,992
  Other Assets                                                720,063         5,015,408           136,954           267,214            736,903        3,344,424          152,742          70,888             467,717         168,826           (23,789)
  Total Assets                                              4,303,350        29,694,406         2,565,301         8,040,839          3,710,167       45,567,175        3,096,700       1,534,300           3,686,215       2,073,423         8,023,593

Liabilities
   Debt                                                      166,717            554,600                 -           161,879            18,125                 -         257,824          256,718            214,813         251,200          3,980,810
   Other Liabilities                                         136,348          1,081,361            91,357           161,036            91,063         2,702,273         135,608           52,973            455,059         137,251            306,796
   Total Liabilities                                         303,065          1,635,961            91,357           322,915           109,188         2,702,273         393,432          309,691            669,872         388,451          4,287,606

Unrestricted Net Assets                                     1,071,295        15,476,476         2,309,301         3,605,254          1,551,351       36,894,524        1,652,225         581,632             861,184         902,224         2,199,821
Restricted Net Assets                                       2,928,990        12,581,969           164,643         4,112,670          2,049,628        5,970,377        1,051,043         642,977           2,155,159         782,748         1,536,166
Total Net Assets                                        $   4,000,286   $    28,058,446   $     2,473,944   $     7,717,924    $     3,600,979   $   42,864,901   $    2,703,268   $   1,224,609     $     3,016,343   $   1,684,972   $     3,735,987




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Boy Scouts of America
Individual Local Council Balance Sheets (1), (2), (3)
As of February 28, 2021

Council #                                                     602             604              606              609              610                611            612             614                615               617               619
                                                                                                                                                  Inland                                           Mountaineer                         Ohio River
Council Name                                            Heart of Virginia Blue Mountain   Mount Baker      Chief Seattle    Great Alaska         Northwest    Pacific Harbors Grand Columbia          Area            Buckskin          Valley
Assets
  Cash & Equivalents                                    $    1,825,330   $      64,290    $      945,995   $    4,797,437   $      440,214   $      510,730   $     706,885   $     271,322    $        451,570   $    1,231,022   $       397,215
  Land, Buildings, and Equipment                             8,282,095         450,632         4,577,996       14,932,380        7,566,023          195,476       1,698,729       2,899,402           2,124,264        5,509,776         1,034,238
  Long-Term Investments                                      4,312,441       2,332,590         5,496,435       23,300,784        1,299,648                -       5,603,841         536,763             727,846        5,112,232         3,194,533
  Other Assets                                                 894,263          72,657           604,919          423,855        7,089,134          103,859         641,508         127,706           1,033,937        1,526,580           374,803
  Total Assets                                              15,314,128       2,920,168        11,625,345       43,454,457       16,395,019          810,065       8,650,963       3,835,193           4,337,617       13,379,609         5,000,790

Liabilities
   Debt                                                        670,665          77,600          416,500                -          261,025           212,079         183,870         64,213             225,300           131,905           157,389
   Other Liabilities                                           481,758          42,933          139,006          846,633          179,697           220,798         146,369         44,959              86,616           235,466           475,698
   Total Liabilities                                         1,152,422         120,533          555,506          846,633          440,723           432,877         330,239        109,172             311,916           367,371           633,087

Unrestricted Net Assets                                      6,509,720         510,479         7,795,644       33,363,479        6,710,102          118,020       5,353,855       2,956,830           3,466,293        9,024,883         2,925,194
Restricted Net Assets                                        7,651,986       2,289,157         3,274,195        9,244,344        9,244,195          259,168       2,966,869         769,190             559,408        3,987,356         1,442,509
Total Net Assets                                        $   14,161,706   $   2,799,636    $   11,069,839   $   42,607,823   $   15,954,297   $      377,188   $   8,320,724   $   3,726,020    $      4,025,701   $   13,012,239   $     4,367,703




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Boy Scouts of America
Individual Local Council Balance Sheets (1), (2), (3)
As of February 28, 2021

Council #                                                    620             624               627               635             636                637             638            640                  651           653              660
                                                                                                                                                 Chippewa         Greater      Greater New          Potawatomi
Council Name                                            Glacier's Edge   Gateway Area        Samoset          Bay-Lakes     Three Harbors         Valley          Wyoming         York                 Area       Great Rivers    Blackhawk Area
Assets
  Cash & Equivalents                                    $     353,220    $     206,726   $    1,614,176   $       667,003   $    1,236,467   $      416,837   $      438,019   $    1,494,300   $     1,207,714   $     306,660   $      310,974
  Land, Buildings, and Equipment                            3,903,691        1,786,398        2,807,331         8,083,634        4,292,134        4,083,805          776,046        5,630,537         1,835,782       3,352,871        1,832,040
  Long-Term Investments                                     1,767,849          809,357        6,296,782        24,486,659       14,850,327          876,082        2,411,309       13,729,490         2,490,382         765,289        3,989,290
  Other Assets                                                365,391           87,526          407,639           515,196        2,289,467       12,184,278          215,537        2,598,496           432,512         588,843        5,881,177
  Total Assets                                              6,390,151        2,890,007       11,125,928        33,752,492       22,668,395       17,561,002        3,840,910       23,452,823         5,966,391       5,013,663       12,013,480

Liabilities
   Debt                                                     1,052,426         551,591          234,175          1,965,457         221,470           155,600          63,500         1,983,276           190,200         25,000          457,366
   Other Liabilities                                          183,990         102,076          148,014            688,011         213,132           140,551         134,805           565,079           209,563        278,715          178,242
   Total Liabilities                                        1,236,416         653,668          382,189          2,653,468         434,602           296,151         198,305         2,548,355           399,763        303,715          635,608

Unrestricted Net Assets                                     3,107,723        1,295,142        4,149,307        12,448,113       17,038,431        4,663,116        2,035,401       10,041,590         2,395,254       2,031,475        5,023,665
Restricted Net Assets                                       2,046,012          941,197        6,594,433        18,650,911        5,195,362       12,601,735        1,607,204       10,862,878         3,171,374       2,678,473        6,354,208
Total Net Assets                                        $   5,153,735    $   2,236,339   $   10,743,740   $    31,099,024   $   22,233,793   $   17,264,851   $    3,642,605   $   20,904,468   $     5,566,628   $   4,709,948   $   11,377,873




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Boy Scouts of America
Individual Local Council Balance Sheets (1), (2), (3)
As of February 28, 2021

Council #                                                      661               662             664              690                691           694               695              696              697               702              713
                                                                                            Suwannee River                       Pushmataha
Council Name                                                Puerto Rico        Longhorn         Area         Garden State           Area       South Plains    Black Hills Area   Midnight Sun    Oregon Trail         Rainbow          Sequoyah
Assets
  Cash & Equivalents                                    $        439,115   $    2,713,841   $     214,021    $      865,260   $      287,641 $       524,323   $      217,906     $     266,375   $    1,347,126   $      119,116   $      323,392
  Land, Buildings, and Equipment                               7,061,994        3,126,846         986,763         3,913,886          414,242         805,283          668,300         2,289,523        2,521,835        1,832,618        4,636,500
  Long-Term Investments                                          243,640        2,025,600         590,907         8,248,664                -       3,737,464          491,979         5,947,002        6,442,855        2,423,436        2,828,703
  Other Assets                                                   135,702        1,498,859         142,020           396,305           (6,740)        236,175          132,863           718,620          304,925          156,376        2,340,942
  Total Assets                                                 7,880,451        9,365,146       1,933,711        13,424,115          695,144       5,303,245        1,511,049         9,221,520       10,616,741        4,531,546       10,129,538

Liabilities
   Debt                                                         277,340           726,046         157,655          236,398            44,614        153,248           175,333          111,542          139,200          240,198           176,700
   Other Liabilities                                            267,911           474,806         548,811          262,010            35,127         55,813           169,872           72,528          184,594          141,169         2,025,243
   Total Liabilities                                            545,251         1,200,852         706,466          498,408            79,741        209,061           345,205          184,070          323,794          381,367         2,201,943

Unrestricted Net Assets                                        6,883,357        6,059,764        (238,956)        9,300,738          415,595         583,361          664,784         2,126,874        8,408,697        3,812,852        4,270,519
Restricted Net Assets                                            451,842        2,104,530       1,466,201         3,624,969          199,807       4,510,823          501,060         6,910,577        1,884,250          337,328        3,657,076
Total Net Assets                                        $      7,335,199   $    8,164,294   $   1,227,245 $      12,925,707   $      615,402   $   5,094,184   $    1,165,843     $   9,037,450   $   10,292,948   $    4,150,180   $    7,927,595




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Boy Scouts of America
Individual Local Council Balance Sheets (1), (2), (3)
As of February 28, 2021

Council #                                                     733                 741              748               763                773                775               777               780               802               803
                                                                                 Texas                            Stonewall                                               Washington         Michigan
Council Name                                                 Sioux             Southwest      Yocona Area       Jackson Area         Gulf Coast         Rio Grande         Crossing         Crossroads      Transatlantic        Far East        GRAND TOTAL
Assets
  Cash & Equivalents                                    $    1,320,790     $       124,087   $      217,749    $      228,421    $       402,098    $       364,477   $       628,447   $     8,235,359    $      567,842    $      670,682      $ 310,794,081
  Land, Buildings, and Equipment                             2,104,654             723,088          992,495         1,072,888                  -          6,029,080         2,012,185        21,428,581                 -                 -       1,294,849,955
  Long-Term Investments                                        835,041             655,538          814,461         1,394,178                  -          1,798,169         3,423,224        31,637,398           662,887         2,200,977       1,650,837,634
  Other Assets                                                 932,377              96,120           91,413         2,490,208              7,693          1,550,593           389,536         5,786,383           399,052           188,738         280,852,608
  Total Assets                                               5,192,862           1,598,832        2,116,118         5,185,695            409,791          9,742,319         6,453,392        67,087,721         1,629,782         3,060,397       3,537,334,278

Liabilities
   Debt                                                        201,463             88,060            70,583           612,700            395,300            618,600           263,300         7,415,844                 -                 -          118,313,912
   Other Liabilities                                           713,191             37,265            93,756           353,484             99,011            105,973           358,690        11,358,441           208,902            73,474          115,884,679
   Total Liabilities                                           914,653            125,325           164,339           966,184            494,311            724,573           621,990        18,774,285           208,902            73,474          234,198,591

Unrestricted Net Assets                                      1,496,185             916,498          863,638           217,980           (292,475)         1,906,030         3,906,611        25,109,723           966,036         2,886,174        1,870,754,935
Restricted Net Assets                                        2,782,024             557,010        1,088,141         4,001,531            207,677          7,111,716         1,924,791        23,203,713           454,843           100,750        1,432,473,515
Total Net Assets                                        $    4,278,209     $     1,473,507   $    1,951,779    $    4,219,511    $       (84,798) $       9,017,746   $     5,831,402   $    48,313,436    $    1,420,880    $    2,986,924      $ 3,303,228,450

                                                        Footnote:
                                                        (1) Figures presented are unaudited and preliminary and are as reported by each individual local council in the financial accounting system maintained by BSA. Some local council balance sheets
                                                        may be incomplete. All figures are subject to material change
                                                        (2) Restricted and unrestricted classifications are reflected according to GAAP and generally does not include restrictions related to real property. Classification may not reflect all legal restrictions.
                                                        (3) The local councils are independent legal entities not controlled by BSA. The information reflected herein is aggregated for presentation purposes only.
                                                        (4) Greater Hudson Valley (#388) reflects Greater Hudson Valley 2/28/2021 and Hudson Valley (#374) 12/31/2020 balance sheets as the merger between Hudson Valley Council and
                                                        Westchester-Putnam Council effective 1/1/2021 is not yet reflected on 'Greater Hudson Valley's system-generated balance sheet




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Boy Scouts of America                                                                                                                                                                                                                               EXHIBIT 2
Local Council Property Value Information [1]
Disclosure Statement
June 3, 2021
($ in actuals)

                                                                                                                                                                                                        [2]                                                [3]
                                                        Property Information                                                                                               Property Value Information                                 Restriction Review


                          Local Council     Local Council                          Property Name:                            Property         Fair Market Value:    Fair Market Value:     Fair Market Value:   Fair Market Value:     Restriction Status:
     Line                     Name            Number                  Camp, Service Center, or Common Name                     Type                Source 1               Value 1               Source 2              Value 2             BSA Review
       1         Greater Alabama                 001        French Farms Pavillion Lot                                  Other                CBRE                  $            512,500   -                     $               -               U
       2         Greater Alabama                 001        Comer Scout Reservation                                     Camp                 CBRE                             2,987,500   -                                     -               U
       3         Greater Alabama                 001        Camp Jackson                                                Camp                 CBRE                             1,900,000   -                                     -               R
       4         Greater Alabama                 001        Clayton Service Center                                      Office/Store         CBRE                             3,000,000   -                                     -               U
       5         Greater Alabama                 001        Lot in Fort Payne                                           Other                JLL                                 94,500   -                                     -               U
       6         Greater Alabama                 001        Lot in Mentone                                              Other                JLL                                 27,300   -                                     -               U
       7         Greater Alabama                 001        Land near Monte Sano State Park                             Other                JLL                                330,000   -                                     -               U
       8         Greater Alabama                 001        Lot in Central Heights                                      Other                JLL                                 19,500   -                                     -               U
       9         Greater Alabama                 001        Two Lot's near Camp Winnataska                              Other                JLL                                240,000   -                                     -               U
      10         Greater Alabama                 001        Lot in River Park Subdivision                               Other                JLL                                  3,600   -                                     -               U
      11         Greater Alabama                 001        Lot in Talladega County                                     Other                JLL                                 69,500   -                                     -               U
      12         Greater Alabama                 001        Lot in Talladega County                                     Other                JLL                                 31,000   -                                     -               U
      13         Greater Alabama                 001        Cedar Bluff-Gaylesville Property                            Other                JLL                                 10,400   -                                     -               U
      14         Alabama-Florida                 003        Camp Alaflo                                                 Camp                 JLL                              1,160,000   -                                     -               L
      15         Mobile Area                     004        Camp Maubila                                                Camp                 CBRE                               925,000   -                                     -               R
      16         Tukabatchee Area                005        Highway 80 Property                                         Other                JLL                                525,000   CBRE                              222,500             U
      17         Tukabatchee Area                005        Camp Tukabatchee                                            Camp                 CBRE                             2,000,000   -                                     -               L
      18         Tukabatchee Area                005        S. Montgomery Co. Property                                  Other                CBRE                                48,000   -                                     -               U
      19         Black Warrior                   006        Camp O'Rear                                                 Camp                 JLL                                530,000   -                                     -               U
      20         Black Warrior                   006        The Leroy McAbee Sr Service Center                          Office/Store         JLL                                473,000   -                                     -               U
      21         Black Warrior                   006        Camp Horne                                                  Camp                 CBRE                             1,662,500   -                                     -               U
      22         Grand Canyon                    010        R-C Scout Camp                                              Camp                 CBRE                             2,250,000   -                                     -               U
      23         Grand Canyon                    010        Camp Geronimo                                               Camp                 CBRE                             4,641,300   -                                     -               U
      24         Grand Canyon                    010        Camp Raymond                                                Camp                 CBRE                             3,810,443   -                                     -               R
      25         Grand Canyon                    010        Heard Scout Pueblo                                          Camp                 JLL                              7,350,000   CBRE                            8,140,000             U
      26         Grand Canyon                    010        Little Grand Canyon Ranch                                   Camp                 Council                          1,510,000   -                                     -               U
      27         Catalina                        011        Double VV                                                   Camp                 CBRE                           14,059,125    -                                     -               R
      28         Catalina                        011        Property Held for Resale                                    Other                CBRE                                66,419   -                                     -               U
      29         Catalina                        011        Council Office                                              Office/Store         JLL                                360,000   -                                     -               U
      30         De Soto Area                    013        Camp De Soto                                                Camp                 CBRE                             1,106,892   -                                     -               U
      31         De Soto Area                    013        Council Service Center                                      Office/Store         JLL                                200,000   -                                     -               U
      32         Westark Area                    016        Rogers Scout Reservation                                    Camp                 CBRE                             5,418,336   -                                     -               R
      33         Westark Area                    016        Camp Orr High Adventure Base                                Camp                 JLL                                660,000   -                                     -               L
      34         Quapaw Area Council             018        Camp Rockefeller                                            Camp                 CBRE                             8,439,664   -                                     -               L
      35         Golden Gate Area Council        023        YLTC                                                        Office/Store         CBRE                             5,400,000   -                                     -               U
      36         Mt Diablo Silverado             023        Camp Herms                                                  Camp                 CBRE                             1,500,000   -                                     -               L
      37         Golden Gate Area Council        023        Rancho Los Mochos                                           Camp                 CBRE                             3,275,000   -                                     -               R
      38         Golden Gate Area Council        023        Camp Royaneh                                                Camp                 CBRE                             1,900,000   -                                     -               U
      39         Golden Gate Area Council        023        Wente Scout Reservation                                     Camp                 CBRE                             4,700,000   -                                     -               U
      40         Mt Diablo Silverado             023        Council Service Center                                      Office/Store         JLL                              2,690,000   -                                     -               U
      41         Sequoia                         027        Lot, undeveloped                                            Other                JLL                                 15,700   -                                     -               U
      42         Sequoia                         027        Shaver Lake Ranger House                                    Other                CBRE                               320,000   -                                     -               L
      43         Sequoia                         027        Visalia Office                                              Office/Store         JLL                                725,000   -                                     -               L
      44         Sequoia                         027        Fresno Office                                               Office/Store         JLL                                660,000   -                                     -               L
      45         Sequoia                         027        147 acres at Shaver Lake, inundated by Shaver Lake (under water)
                                                                                                                        Other13 acres above water
                                                                                                                                             JLL                                 32,500   -                                     -               L
      46         Southern Sierra                 030        Scout Service Center                                        Office/Store         JLL                                450,000   -                                     -               U
      47         Pacific Skyline                 031        Boulder Creek Scout Reservation                             Camp                 CBRE                             4,525,000   -                                     -               U
      48         Pacific Skyline                 031        Cutter Scout Reservation                                    Camp                 CBRE                               855,000   -                                     -               L
      49         Pacific Skyline                 031        Foster City Service Center                                  Office/Store         JLL                              5,100,000   -                                     -               U
      50         Long Beach Area                 032        Service Center                                              Office/Store         JLL                              2,220,000   -                                     -               U
      51         Long Beach Area                 032        Camp Tahquitz                                               Camp                 CBRE                           14,269,275    -                                     -               U
      52         Greater Los Angeles             033        Trask Scout Reservation                                     Camp                 CBRE                             3,536,985   -                                     -               R
      53         Greater Los Angeles             033        Firestone Scout Reservation                                 Camp                 CBRE                               512,433   -                                     -              TBD
      54         Greater Los Angeles             033        Cushman Watt Scout Center                                   Office/Store         CBRE                             9,667,350   -                                     -              TBD
      55         Greater Los Angeles             033        Hubert Eaton Scout Reservation                              Camp                 CBRE                           31,590,825    -                                     -               R




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                          Local Council        Local Council                         Property Name:                 Property        Fair Market Value:   Fair Market Value:     Fair Market Value:   Fair Market Value:     Restriction Status:
     Line                     Name               Number                 Camp, Service Center, or Common Name          Type               Source 1              Value 1               Source 2              Value 2             BSA Review
      56         Greater Los Angeles                033        Remnant Parcels                                  Other              CBRE                              129,062   -                                     -               U
      57         Marin                              035        Camp Tamarancho                                  Camp               CBRE                            1,907,500   -                                     -               L
      58         Marin                              035        Camp Marin Sierra                                Camp               CBRE                              775,000   -                                     -               L
      59         Orange County                      039        Schoepe Scout Reservation at Lost Valley         Camp               JLL                             2,940,000   CBRE                          13,008,500              U
      60         Orange County                      039        William Lyons Homs Center for Scouting           Office/Store       CBRE                            9,184,000   -                                     -               U
      60         Orange County                      039        William Lyons Homs Center for Scouting           Office/Store       CBRE                                  -     -                                     -               U
      61         Orange County                      039        Irvine Range Outdoor Education Center            Camp               CBRE                            9,461,700   -                                     -               R
      61         Orange County                      039        Irvine Ranch Outdoor Education Center            Camp               CBRE                                  -     -                                     -               U
      62         California Inland Empire           045        Land                                             Other              CBRE                               19,120   -                                     -               U
      63         California Inland Empire           045        Jack Dembo Scout Center                          Office/Store       CBRE                            1,652,490   -                                     -               U
      64         California Inland Empire           045        Camp Emerson                                     Camp               CBRE                            2,693,075   -                                     -               R
      65         Golden Empire                      047        Norcal Adventure Area                            Camp               CBRE                              587,500   -                                     -               L
      66         Golden Empire                      047        Camp Lassen                                      Camp               CBRE                              207,500   -                                     -               U
      67         San Diego-Imperial                 049        Camp Mataguay                                    Camp               CBRE                          10,054,699    -                                     -               L
      68         Western Los Angeles County         051        Sand Canyon land                                 Other              CBRE                              275,257   -                                     -               U
      69         Western Los Angeles County         051        Camp Josepho                                     Camp               CBRE                            2,485,350   -                                     -               R
      70         Los Padres                         053        Rancho Alegre                                    Camp               CBRE                            3,805,200   -                                     -               R
      71         Silicon Valley Monterey Bay        055        Council Service Center                           Office/Store       JLL                             3,700,000   -                                     -               U
      72         Silicon Valley Monterey Bay        055        Camp Chesebrough                                 Camp               CBRE                          10,720,000    Council                         6,350,000             U
      73         Silicon Valley Monterey Bay        055        Camp Hi-Sierra                                   Camp               CBRE                            2,827,500   -                                     -               U
      74         Silicon Valley Monterey Bay        055        Camp Pico Blanco                                 Camp               CBRE                            3,100,000   -                                     -               L
      75         Ventura County                     057        Council Service Center                           Office/Store       JLL                               740,000   -                                     -               U
      76         Ventura County                     057        Camp Three Falls                                 Camp               CBRE                              877,976   -                                     -               U
      77         Ventura County                     057        Camp Wilett                                      Camp               CBRE                            5,366,500   -                                     -               R
      78         Verdugo Hills                      058        Council Service Center                           Office/Store       JLL                             5,750,000   -                                     -               U
      79         Greater Yosemite                   059        Camp McConnell                                   Camp               CBRE                              240,000   -                                     -               R
      80         Greater Yosemite                   059        Camp Mensinger                                   Camp               CBRE                              225,000   -                                     -               R
      81         Greater Yosemite                   059        Camp Ison                                        Other              CBRE                               85,500   -                                     -               R
      82         Pikes Peak                         060        Camp Alexander                                   Camp               CBRE                            1,513,200   -                                     -               L
      83         Pikes Peak                         060        Council Office                                   Office/Store       CBRE                            1,766,400   -                                     -               L
      84         Pikes Peak                         060        Donated Land                                     Other              CBRE                              941,847   -                                     -               L
      85         Denver Area                        061        Hamilton Scout Headquarters                      Camp               CBRE                            3,746,220   -                                     -               U
      86         Denver Area                        061        Tahosa High Adventure Base                       Camp               CBRE                            2,579,182   -                                     -               L
      87         Denver Area                        061        Peaceful Valley Scout Ranch                      Camp               CBRE                            6,341,966   -                                     -               U
      88         Longs Peak                         062        Patiya                                           Camp               JLL                             1,830,000   -                                     -               U
      89         Longs Peak Council                 062        Ben Delatour Scout Ranch                         Camp               JLL                             7,000,000   CBRE                            6,770,884             L
      90         Longs Peak                         062        Camp Laramie Peak                                Camp               JLL                             1,810,000   -                                     -               U
      91         Rocky Mountain                     063        Rocky Mountain High Adventure Base               Other              JLL                               488,000   -                                     -               U
      92         Rocky Mountain                     063        Boy Scout Resident Camp San Isabel Scout Ranch   Camp               CBRE                            1,455,074   -                                     -               L
      93         Connecticut Rivers                 066        Camp Workcoeman                                  Camp               CBRE                            3,263,440   -                                     -               U
      94         Connecticut Rivers                 066        Camp Mattatuck                                   Camp               CBRE                            2,656,100   -                                     -               U
      95         Connecticut Rivers                 066        June Norcross Webster Scout Reservation          Camp               CBRE                            4,822,700   -                                     -               R
      96         Connecticut Rivers                 066        Barbour Scout Reservation                        Camp               CBRE                              526,500   -                                     -               R
      97         Greenwich                          067        Seton Scout Reservation                          Camp               CBRE                          17,750,000    -                                     -              TBD
      98         Housatonic                         069        Bakeless Property                                Camp               CBRE                              204,188   -                                     -               L
      99         Housatonic                         069        Edmund D. Strang Scout Reservation               Camp               CBRE                            2,418,000   -                                     -               U
     100         Old North State                    070        Woodfield Scout Preservation                     Camp               JLL                             4,600,000   CBRE                            4,251,263             U
     101         Old North State                    070        Royce Reynolds Family Scout Service Center       Office/Store       CBRE                            2,343,750   -                                     -               U
     102         Old North State                    070        Hagan Sea Base                                   Other              CBRE                              645,000   -                                     -               R
     103         Old North State                    070        Cherokee Scout Reservation                       Camp               CBRE                            8,758,805   -                                     -               U
     104         Connecticut Yankee                 072        Camp Pomperaug                                   Camp               JLL                             1,450,000   -                                     -               U
     105         Connecticut Yankee                 072        Hoyt Scout Reservation                           Camp               JLL                               420,000   -                                     -               U
     106         Connecticut Yankee                 072        Demrick Property                                 Other              JLL                               308,000   -                                     -               U
     107         Connecticut Yankee                 072        Catamount Cabin                                  Other              JLL                                53,000   -                                     -               U
     108         Connecticut Yankee                 072        Guilford                                         Other              JLL                                19,500   -                                     -               U




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                                                      Property Information                                                                                                Property Value Information                                 Restriction Review


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     Line                    Name           Number                Camp, Service Center, or Common Name                       Type                  Source 1              Value 1               Source 2              Value 2             BSA Review
     109         Connecticut Yankee            072        Monroe                                                       Other                 JLL                               195,000   -                                     -               U
     110         Connecticut Yankee            072        North Branford                                               Other                 JLL                               349,000   -                                     -               U
     111         Connecticut Yankee            072        Southbury                                                    Other                 JLL                                21,800   -                                     -               U
     112         Connecticut Yankee            072        Wallingford                                                  Other                 JLL                               280,000   -                                     -               U
     113         Connecticut Yankee            072        Deer Lake Scout Reservation                                  Camp                  CBRE                            3,964,500   -                                     -               L
     114         Connecticut Yankee            072        Wah Wah Tayse Scout Reservation                              Camp                  CBRE                              140,448   -                                     -               L
     115         Connecticut Yankee            072        Council Service Center                                       Office/Store          CBRE                            2,757,600   Council                         3,300,000             U
     116         Connecticut Yankee            072        Camp Sequassen                                               Camp                  CBRE                            2,705,600   -                                     -               U
     117         Del-Mar-Va                    081        Akridge Scout Reservation                                    Camp                  CBRE                            2,611,350   -                                     -               L
     118         Del-Mar-Va                    081        Hensen Scout Reservation                                     Camp                  CBRE                            4,605,000   -                                     -               L
     119         National Capital Area         082        Marriott Scout Service Center                                Office/Store          JLL                             4,620,000   -                                     -               U
     120         National Capital Area         082        Howard M Wall Boy Scout Camp                                 Camp                  JLL                             3,340,000   -                                     -               U
     121         National Capital Area         082        Goshen Scout Reseration                                      Camp                  CBRE                          14,745,758    -                                     -               U
     122         National Capital Area         082        Camp William B. Snyder                                       Camp                  CBRE                            3,310,000   -                                     -               U
     123         Central Florida               083        Scout Service Center                                         Office/Store          JLL                             2,640,000   -                                     -               U
     124         Central Florida               083        Camp La-No-Che                                               Camp                  CBRE                            4,900,000   -                                     -               L
     125         South Florida                 084        Tatham Scout Service Center                                  Office/Store          CBRE                            2,650,000   -                                     -               L
     126         South Florida                 084        Camp Elmore (Seminole)                                       Camp                  CBRE                          14,300,000    -                                     -               R
     127         South Florida                 084        Camp Jackson Sawyer                                          Camp                  CBRE                            5,350,000   -                                     -               R
     128         Gulf Stream                   085        Oklawaha - Unrestricted                                      Camp                  JLL                             1,070,000   -                                     -               U
     129         Gulf Stream                   085        Oklawaha - Restricted                                        Camp                  JLL                                 7,500   -                                     -               L
     130         Gulf Stream                   085        Tanah Keeta                                                  Camp                  CBRE                          24,000,000    -                                     -               R
     131         North Florida                 087        St. Johns Riverbase at Echockotee                            Camp                  JLL                             2,630,000   CBRE                            2,875,000             U
     132         North Florida                 087        Council Service Center                                       Office/Store          JLL                               990,000   -                                     -               U
     133         North Florida                 087        Baden Powell Scout Reservation                               Camp                  CBRE                            3,550,000   -                                     -               L
     134         North Florida                 087        Brown Donated Property                                       Other                 CBRE                              137,500   -                                     -               U
     135         Southwest Florida             088        SWFL Council Volunteer Service Center                        Office/Store          JLL                             1,710,000   -                                     -               U
     136         Southwest Florida             088        Camp Flying Eagle                                            Camp                  CBRE                            4,475,000   -                                     -               L
     137         Greater Tampa Bay Area        089        Camp Souel                                                   Camp                  JLL                             4,130,000   CBRE                            3,250,000             U
     138         Greater Tampa Bay Area        089        Camp Flaming Arrow - Unrestricted                            Camp                  JLL                             1,680,000   -                                     -               U
     139         Greater Tampa Bay Area        089        Camp Flaming Arrow - Restricted                              Camp                  JLL                               404,000   -                                     -               L
     140         Greater Tampa Bay Area        089        Council Office                                               Office/Store          CBRE                            3,650,000   Council                         3,530,000             U
     141         Greater Tampa Bay Area        089        Camp Brorein                                                 Camp                  CBRE                            4,625,000   -                                     -              TBD
     142         Greater Tampa Bay Area        089        Camp Alafia                                                  Camp                  CBRE                            3,225,000   -                                     -               L
     143         Greater Tampa Bay Area        089        Camp Sand Hill                                               Camp                  CBRE                          12,250,000    -                                     -               R
     144         Chattahoochee                 091        Chattahoochee Council, Inc. BSA George & Jo Jeter Scout Service
                                                                                                                       Office/Store
                                                                                                                          Center             CBRE                            1,344,000   -                                     -               U
     145         Chattahoochee                 091        Camp Pine Mountain                                           Camp                  CBRE                              227,757   -                                     -               R
     146         Atlanta Area                  092        Volunteer Service Center                                     Office/Store          CBRE                            7,629,878   -                                     -               R
     147         Atlanta Area                  092        Bert Adams Scout Camp                                        Camp                  CBRE                            4,511,698   -                                     -               U
     148         Atlanta Area                  092        Woodruff Scout Camp                                          Camp                  CBRE                            8,191,680   -                                     -               R
     149         Georgia-Carolina              093        Scout Service Center                                         Office/Store          JLL                               610,000   -                                     -               U
     150         Georgia-Carolina              093        Robert E Knox Scout Reservation                              Camp                  CBRE                            2,165,940   -                                     -               R
     151         Flint River                   095        Gerald Lawhorn Scouting Base                                 Camp                  CBRE                            6,426,150   -                                     -               R
     152         Flint River                   095        Tilman T Blakely Scout Service Center                        Office/Store          CBRE                              669,840   -                                     -               U
     153         Central Georgia               096        Council Service Center                                       Office/Store          JLL                               600,000   -                                     -               U
     154         Central Georgia               096        Camp Benjamin Hawkins                                        Camp                  CBRE                            1,822,500   -                                     -               U
     155         South Georgia                 098        Camp Patten                                                  Camp                  CBRE                              346,500   -                                     -               U
     156         South Georgia                 098        Camp Osborn                                                  Camp                  CBRE                            3,088,440   -                                     -               R
     157         Coastal Georgia               099        Camp Tolochee                                                Camp                  CBRE                            4,200,000   -                                     -               R
     158         Coastal Georgia               099        Black Creek Scout Reservation                                Camp                  CBRE                              874,576   -                                     -               U
     159         Northwest Georgia             100        Camp Sidney Dew                                              Camp                  CBRE                            1,145,529   -                                     -               R
     160         Northwest Georgia             100        Dalton Service Center                                        Office/Store          JLL                               103,000   -                                     -               U
     161         Northwest Georgia             100        Birdsong Property                                            Other                 JLL                               138,000   -                                     -               U
     162         Northeast Georgia             101        Camp Rainey Mountain                                         Camp                  CBRE                            2,628,560   -                                     -              TBD
     163         Northeast Georgia             101        House for Ranger at Scoutland and Easement to Army Corp of Engineers
                                                                                                                       Other     Property.   CBRE                              221,760   -                                     -               U




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     Line                    Name                Number                 Camp, Service Center, or Common Name         Type               Source 1              Value 1               Source 2              Value 2             BSA Review
     164         Northeast Georgia                 101        Drew Road                                        Other              CBRE                              190,775   -                                     -               L
     165         Aloha                             104        Camp Pupekea                                     Camp               CBRE                              875,000   -                                     -               L
     166         Aloha                             104        Camp Honokala                                    Camp               CBRE                              440,000   -                                     -               L
     167         Aloha                             104        Camp Maluhia                                     Camp               CBRE                              825,000   -                                     -               U
     168         Aloha                             104        Camp Alan Faye                                   Camp               CBRE                              397,500   -                                     -               L
     169         Aloha                             104        Aloha Council Service Center                     Office/Store       JLL                             4,440,000   CBRE                            3,925,000             U
     169         Aloha                             104        Aloha Council Service Center                     Office/Store       JLL                                   -     -                                     -               U
     170         Mountain West (file name Ore-Ida) 106        Camp Mertaugh                                    Camp               JLL                               389,000   -                                     -               U
     171         Mountain West (file name Ore-Ida) 106        Salmon River High Adventure Base Camp            Camp               JLL                               485,000   -                                     -               U
     172         Mountain West (file name Ore-Ida) 106        Camp Bradley                                     Camp               JLL                               128,000   -                                     -               U
     173         Mountain West (file name Ore-Ida) 106        Mountain West Council Office                     Office/Store       JLL                             1,200,000   -                                     -               U
     174         Mountain West (file name Ore-Ida) 106        MWC Satelite Office                              Office/Store       JLL                               239,000   -                                     -               U
     175         Grand Teton Council               107        Pocatello Service Center                         Office/Store       CBRE                              451,500   -                                     -               U
     176         Grand Teton Council               107        Dougherty Salmon River HAB                       Camp               Council                           450,000   -                                     -               L
     177         Grand Teton Council               107        Krupp Scout Hollow                               Camp               JLL                               383,000   -                                     -               L
     178         Grand Teton Council               107        Idaho Falls Service Center                       Office/Store       JLL                             4,250,000   -                                     -               L
     179         Prairelands                       117        Camp Drake                                       Camp               CBRE                            1,216,608   -                                     -               U
     180         Prairelands                       117        Lee Service Center                               Office/Store       JLL                               350,000   -                                     -               U
     181         Prairelands                       117        Danville Office                                  Office/Store       JLL                                57,800   -                                     -               U
     182         Three Fires                       127        Camp Big Timber                                  Camp               CBRE                              769,800   -                                     -               R
     183         Three Fires                       127        Camp Freeland Leslie                             Camp               Council                         2,000,000   -                                     -               U
     184         Northeast Illinois                129        Ma-Ka-Ja-Wan Scout Reservation                   Camp               CBRE                            2,932,820   -                                     -               U
     185         Northeast Illinois                129        Camp Sol R Crown                                 Camp               CBRE                            1,037,190   -                                     -               L
     186         Northeast Illinois                129        Camp Oakarro                                     Camp               CBRE                              441,830   -                                     -               L
     187         Northeast Illinois                129        Kasperson Center for Scouting at Morrison Park   Office/Store       JLL                             1,000,000   -                                     -               U
     188         Illowa                            133        Service Center                                   Office/Store       JLL                             1,150,000   -                                     -               U
     189         Illowa                            133        Camp Loud Thunder                                Camp               JLL                             2,470,000   -                                     -               U
     190         W.D. Boyce                        138        Ingersoll Scout Reservation                      Camp               CBRE                            3,466,769   -                                     -               U
     191         W.D. Boyce                        138        Peoria Scout Service Center                      Office/Store       CBRE                              225,000   -                                     -               U
     192         Mississippi Valley                141        Saukenauk Scout Reservation                      Camp               CBRE                            2,729,250   -                                     -               L
     193         Mississippi Valley                141        Camp Eastman                                     Camp               CBRE                              911,808   -                                     -               R
     194         Mississippi Valley                141        Burlington Service Center                        Office/Store       JLL                                68,600   -                                     -               U
     195         Mississippi Valley                141        Quincy Service Center                            Office/Store       JLL                               273,000   -                                     -               U
     196         Abraham Lincoln Council           144        Camp Bunn                                        Camp               CBRE                            2,167,076   -                                     -               U
     197         Hoosier Trails                    145        Maumee Scout Reservation                         Camp               CBRE                            1,934,400   -                                     -               U
     198         Hoosier Trails                    145        Council Service Center                           Office/Store       JLL                               645,000   -                                     -               U
     199         Buffalo Trace                     156        Eykamp Scout Center                              Office/Store       CBRE                            2,991,360   -                                     -               R
     200         Buffalo Trace                     156        Santa Claus property                             Other              JLL                                71,500   -                                     -               U
     201         Buffalo Trace                     156        Old Ben Scout Reservation                        Camp               JLL                               680,000   -                                     -               U
     202         Anthony Wayne Area                157        Anthony Wayne Area Council Service Center        Office/Store       JLL                             2,140,000   -                                     -               U
     203         Anthony Wayne Area                157        Anthony Wayne Area Scout Reservation             Camp               CBRE                            2,717,853   -                                     -               U
     204         Crossroads of America             160        Camp Kikthawenund                                Camp               CBRE                              917,080   -                                     -               U
     205         Crossroads of America             160        Camp Belzer                                      Camp               CBRE                            4,518,800   -                                     -               U
     206         Crossroads of America             160        Golden-Burke Scout Service Center                Office/Store       CBRE                            4,568,020   -                                     -               U
     206         Crossroads of America             160        Indianapolis Technology                          Office/Store       CBRE                                  -     -                                     -               U
     207         Crossroads of America             160        Muncie Scout Service Center                      Office/Store       JLL                                66,500   -                                     -               U
     208         Crossroads of America             160        Terre Haute Muncie Service Center                Office/Store       JLL                               358,000   -                                     -               U
     209         Crossroads of America             160        Ransburg Scout Reservation                       Camp               JLL                             3,750,000   -                                     -               U
     210         Crossroads of America             160        Camp Krietenstein                                Camp               JLL                             1,480,000   -                                     -               U
     211         Sagamore                          162        Camp Buffalo - Restricted                        Camp               JLL                                19,700   -                                     -               L
     212         Sagamore                          162        Camp Buffalo - Unrestricted                      Camp               JLL                             2,050,000   -                                     -               U
     213         LaSalle                           165        Wood Lake Scout Resvation                        Camp               CBRE                            1,340,460   -                                     -               U
     214         LaSalle                           165        Ranger House                                     Other              CBRE                              120,960   -                                     -               U
     215         LaSalle                           165        Topeneebee                                       Camp               JLL                             1,480,000   -                                     -               U
     216         LaSalle                           165        Rice Woods                                       Camp               JLL                               665,000   -                                     -               U




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                          Local Council       Local Council                           Property Name:               Property        Fair Market Value:   Fair Market Value:     Fair Market Value:   Fair Market Value:     Restriction Status:
     Line                    Name               Number                  Camp, Service Center, or Common Name         Type               Source 1              Value 1               Source 2              Value 2             BSA Review
     217         Hawkeye                           172        Hawkeye Area Council Service Center              Office/Store       JLL                               980,000   -                                     -               U
     218         Hawkeye                           172        Howard H Cherry Reservation Camp                 Camp               CBRE                            1,377,051   -                                     -               L
     219         Winnebago                         173        Winnebago Scout Service Center                   Office/Store       JLL                               379,000   -                                     -               U
     220         Winnebago                         173        Ingawanis Adventure Base                         Camp               JLL                             3,210,000   -                                     -               U
     221         Mid-Iowa                          177        Foster Acres                                     Camp               JLL                               230,000   -                                     -               U
     222         Mid-Iowa                          177        Grinell Scout Land                               Camp               JLL                               319,000   -                                     -               U
     223         Mid-Iowa                          177        Maytag Scout Center                              Office/Store       JLL                             3,190,000   CBRE                            5,797,190             U
     224         Mid-Iowa                          177        Mitigwa Scout Reservation                        Camp               CBRE                            1,188,772   -                                     -               U
     225         Northeast Iowa                    178        Camp C.S. Klaus - Restricted                     Camp               JLL                                42,000   -                                     -               L
     226         Northeast Iowa                    178        Camp C.S. Klaus - Unrestricted                   Camp               JLL                               760,000   -                                     -               U
     227         Coronado                          192        Dane G Hansen Scout Reservation                  Camp               CBRE                              387,750   -                                     -               U
     228         Coronado                          192        Brown Memorial Camp                              Camp               JLL                             1,630,000   -                                     -               U
     228         Coronado                          192        Brown Memorial Camp                              Camp               JLL                                   -     -                                     -               U
     229         Coronado                          192        William H. Graves Scout Service Center           Office/Store       JLL                               200,000   -                                     -               U
     230         Santa Fe Trail                    194        Spanish Peaks Scout Ranch                        Camp               CBRE                              863,955   -                                     -               U
     230         Santa Fe Trail                    194        Spanish Peaks Scout Ranch - Equipment            Camp               CBRE                                  -     -                                     -               U
     231         Jayhawk Area                      197        Falley Scout Reservation                         Camp               JLL                               476,000   -                                     -               U
     232         Quivira                           198        Camp Kanza                                       Camp               JLL                               975,000   -                                     -               U
     233         Quivira                           198        Quivira Scout Ranch                              Camp               CBRE                            5,905,200   -                                     -               U
     234         Quivira                           198        Council Office                                   Office/Store       JLL                             1,130,000   -                                     -               U
     235         Blue Grass                        204        McKee Scout Reservation                          Camp               JLL                               900,000   -                                     -               U
     236         Lincoln Heritage                  205        Sam Swope Scout Center                           Office/Store       JLL                             2,350,000   -                                     -               U
     237         Lincoln Heritage                  205        Pfeffer Scout Reservation                        Camp               CBRE                            2,762,505   -                                     -               R
     238         Lincoln Heritage                  205        Tunnel Mill Scout Reservation                    Camp               CBRE                              800,508   -                                     -               U
     239         Lincoln Heritage                  205        Harry S. Frazier Jr. Scout Reservation           Camp               CBRE                            2,305,868   -                                     -               R
     240         Calcasieu Area                    209        Camp Edgewood                                    Camp               CBRE                              561,755   -                                     -               U
     241         Istrouma Area Council             211        Avondale Scout Reservation                       Camp               CBRE                            8,195,545   -                                     -               U
     242         Istrouma Area Council             211        Pennington Scout Service Center                  Office/Store       JLL                               680,000   -                                     -               U
     243         Evangeline Area                   212        Lost Bayou                                       Camp               JLL                               855,000   CBRE                            1,256,168             U
     244         Evangeline Area                   212        Camp Steen (2)                                   Camp               JLL                                30,000   -                                     -               U
     245         Evangeline Area                   212        Service Center                                   Office/Store       JLL                               540,000   -                                     -               U
     246         Louisiana Purchase Council        213        Camp TL James                                    Camp               JLL                               400,000   -                                     -               U
     247         Southeast Louisiana               214        Salmen Scout Reservation                         Camp               CBRE                            4,337,706   -                                     -               U
     248         Norwela                           215        Office                                           Office/Store       JLL                               620,000   -                                     -               U
     249         Katahdin Area                     216        Milo Property                                    Other              JLL                               146,000   -                                     -               U
     250         Katahdin Area                     216        Lincoln Property                                 Other              JLL                                41,300   -                                     -               R
     251         Katahdin Area                     216        Lincoln Property                                 Other              JLL                                71,500   -                                     -               U
     252         Katahdin Area                     216        Egg Pond                                         Other              JLL                                69,500   -                                     -               L
     253         Pine Tree                         218        Camp Hinds                                       Camp               CBRE                            3,617,170   -                                     -               U
     253         Pine Tree                         218        Messer Training Center                           Office/Store       CBRE                                  -     -                                     -               U
     253         Pine Tree                         218        Tenny River                                      Camp               CBRE                                  -     -                                     -               L
     254         Baltimore Area                    220        Shapiro Scout Service Center                     Office/Store       CBRE                            1,414,050   -                                     -               R
     255         Baltimore Area                    220        Broad Creek Memorial Scout Reservation           Camp               CBRE                            7,290,000   -                                     -               L
     256         Mason-Dixon                       221        Camp Sinnquipe                                   Camp               CBRE                            1,050,546   -                                     -               U
     257         Cape Cod and Islands              224        Camp Greenough                                   Camp               CBRE                            8,195,276   -                                     -               R
     258         Cape Cod and Islands              224        Lot                                              Other              CBRE                              112,488   -                                     -               U
     259         Cape Cod and Islands              224        Lot                                              Other              CBRE                               47,580   -                                     -               U
     260         Spirit of Adventure               227        Plymouth Land                                    Other              JLL                               178,000   -                                     -               U
     261         Spirit of Adventure               227        T.L. Storer Scout Reservation                    Camp               CBRE                            2,014,614   -                                     -               L
     262         Spirit of Adventure               227        Lone Tree Scout Reservation                      Camp               CBRE                            1,479,086   Council                         1,270,000             L
     263         Spirit of Adventure               227        Wah-tut-ca Scout Reservation                     Camp               CBRE                            1,517,970   -                                     -               L
     264         Spirit of Adventure               227        Lone Tree Land                                   Other              CBRE                              204,720   Council                           190,000             U
     265         Spirit of Adventure               227        New England Base Camp (Camp Sayer)               Camp               JLL                             1,140,000   -                                     -               L
     266         Heart of New England Council      230        Treasure Valley Scout Reservation                Camp               CBRE                            3,781,425   -                                     -               R
     267         Heart of New England              230        Camp Split Rock                                  Camp               JLL                               375,000   -                                     -               R




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                         Local Council        Local Council                         Property Name:                           Property        Fair Market Value:   Fair Market Value:     Fair Market Value:   Fair Market Value:     Restriction Status:
     Line                    Name               Number                  Camp, Service Center, or Common Name                   Type               Source 1              Value 1               Source 2              Value 2             BSA Review
     268         Heart of New England Council      230        Camp Wanocksett                                            Camp               JLL                               375,000   -                                     -               L
     269         Heart of New England Council      230        Council Office                                             Office/Store       JLL                               635,000   -                                     -               U
     270         Western Massachusetts             234        Horace A. Moses Scout Reservation                          Camp               CBRE                            3,654,235   -                                     -               U
     271         Northern Star                     250        Many Point Scout Camp                                      Camp               CBRE                            3,432,042   -                                     -               U
     271         Northern Star                     250        MP Moberg Property                                         Other              CBRE                                  -     -                                     -               U
     272         Northern Star                     250        Stearns Scout Camp                                         Camp               CBRE                            3,054,205   -                                     -               U
     273         Northern Star                     250        Base Camp                                                  Camp               CBRE                            8,710,000   -                                     -               U
     274         Northern Star                     250        Robert C Wood Property                                     Other              JLL                               126,000   -                                     -               U
     275         Northern Star                     250        Gronholm Property                                          Other              JLL                               560,000   -                                     -               U
     276         Northern Star                     250        Phillippo Scout Reservation                                Camp               JLL                             2,890,000   -                                     -               U
     277         Northern Star                     250        Rum River Scout Camp                                       Camp               JLL                             1,060,000   -                                     -               U
     278         Mayflower                         251        Service Center                                             Office/Store       JLL                             1,100,000   -                                     -               U
     279         Mayflower                         251        Camp Nobscot - Restricted                                  Camp               JLL                               545,000   -                                     -               L
     280         Mayflower                         251        Camp Resolute                                              Camp               CBRE                            1,640,655   -                                     -               U
     281         Mayflower                         251        Camp Squanto                                               Camp               CBRE                            2,780,619   -                                     -               L
     282         Mayflower                         251        Camp Nobscot - Unrestricted                                Camp               JLL                               128,000   -                                     -               U
     283         Twin Valley                       283        Cuyuna Scout Camp                                          Camp               JLL                             1,623,000   CBRE                            1,678,352             L
     283         Twin Valley                       283        Cuyuna Scout Camp                                          Camp               JLL                                   -     -                                     -               L
     283         Twin Valley                       283        Cuyuna Scout Camp                                          Camp               JLL                                   -     -                                     -               L
     283         Twin Valley                       283        Cuyuna Scout Camp                                          Camp               JLL                                   -     -                                     -               L
     283         Twin Valley                       283        Cuyuna Scout Camp                                          Camp               JLL                                   -     -                                     -               L
     283         Twin Valley                       283        Cuyuna Scout Camp                                          Camp               JLL                                   -     -                                     -               L
     283         Twin Valley                       283        Cuyuna Scout Camp                                          Camp               JLL                                   -     -                                     -               L
     283         Twin Valley                       283        Cuyuna Scout Camp                                          Camp               JLL                                   -     -                                     -               L
     283         Twin Valley                       283        Cuyuna Scout Camp                                          Camp               JLL                                   -     -                                     -               L
     283         Twin Valley                       283        Cuyuna Scout Camp                                          Camp               JLL                                   -     -                                     -               L
     283         Twin Valley                       283        Cuyuna Scout Camp                                          Camp               JLL                                   -     -                                     -               L
     283         Twin Valley                       283        Cuyuna Scout Camp                                          Camp               JLL                                   -     -                                     -               L
     283         Twin Valley                       283        Cuyuna Scout Camp                                          Camp               JLL                                   -     -                                     -               L
     284         Twin Valley                       283        Cuyuna Scout Camp                                          Camp               JLL                                   -     -                                     -               U
     284         Twin Valley                       283        Cuyuna Scout Camp                                          Camp               JLL                                   -     -                                     -               U
     285         Twin Valley                       283        Norseland Scout Camp                                       Camp               JLL                               805,000   -                                     -               U
     286         Twin Valley                       283        Council Service Center                                     Office/Store       JLL                               990,000   -                                     -               U
     287         Voyageurs Area                    286        Council Service Center                                     Office/Store       JLL                               211,000   -                                     -               U
     288         Central Minnesota                 296        Parker Scout Camp                                          Camp               CBRE                              941,250   -                                     -               U
     289         Central Minnesota                 296        CMC Service Center                                         Office/Store       JLL                               610,000   -                                     -               U
     290         Gamehaven                         299        Gamehaven Scout Reservation                                Camp               CBRE                            1,049,680   -                                     -               L
     291         Choctaw Area Council              302        Choctaw Area Council Office                                Office/Store       JLL                               338,000   -                                     -               U
     292         Choctaw Area Council              302        Camp Binachi                                               Camp               CBRE                            1,182,500   -                                     -               U
     293         Andrew Jackson                    303        Eight Undeveloped Small Residential Lots                   Other              JLL                               189,000   -                                     -               U
     294         Andrew Jackson                    303        Port Amsterdam Farm Property (not on Council asset list)   Other              CBRE                            2,765,220   Council                         2,700,000             L
     295         Andrew Jackson                    303        Hood Scout Reservation                                     Camp               CBRE                            3,717,375   -                                     -               L
     296         Andrew Jackson                    303        Council Service Center                                     Office/Store       JLL                               368,000   -                                     -               L
     297         Pine Burr Area Council            304        Camp Tiak                                                  Camp               CBRE                            2,657,525   -                                     -               U
     298         Ozark Trails                      306        Timmons Wildlife Area                                      Camp               JLL                               126,000   Council                           100,000             U
     299         Ozark Trails                      306        Frank Childress Scout Reservation                          Camp               CBRE                              789,750   Council                         1,480,000             U
     300         Ozark Trails                      306        Camp Arrowhead                                             Camp               CBRE                            1,123,740   Council                         2,150,000             U
     301         Ozark Trails                      306        Springfield Scout Service Center                           Office/Store       CBRE                            2,160,500   Council                         2,000,000             L
     302         Heart of America Council          307        Theodore Naish Scout Reservation                           Camp               CBRE                          10,269,875    -                                     -               L
     303         Heart of America Council          307        H. Roe Bartle Scout Reservation                            Camp               CBRE                            6,395,290   -                                     -               U
     304         Heart of America Council          307        Scout Office                                               Office/Store       CBRE                            2,090,000   Council                         1,803,500             U
     305         Pony Express                      311        Camp Geiger                                                Camp               CBRE                            1,305,000   -                                     -               R
     306         Greater St. Louis Area            312        Camp Vandeventer                                           Camp               JLL                               101,000   -                                     -               U
     307         Greater St. Louis Area            312        Camp Warren Levis                                          Camp               CBRE                            1,218,048   -                                     -               L
     308         Greater St. Louis Area            312        Beaumont Scout Reservation                                 Camp               CBRE                            5,943,900   -                                     -               L




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     309         Greater St. Louis Area        312        S bar F Scout Ranch                              Camp               CBRE                          11,554,920    -                                    -               L
     310         Greater St. Louis Area        312        Rhodes France Scout Camp                         Camp               JLL                             1,210,000   -                                    -               L
     311         Greater St. Louis Area        312        Camp Lewallen                                    Camp               JLL                               411,000   -                                    -               U
     312         Montana                       315        Libby Property                                   Other              JLL                                21,400   -                                    -               U
     313         Montana                       315        Bozeman Office                                   Office/Store       JLL                               350,000   -                                    -               U
     314         Montana                       315        Melita - Landing 1                               Camp               CBRE                              380,080   -                                    -               U
     314         Montana                       315        Melita - Landing 2                               Camp               CBRE                                  -     -                                    -               U
     314         Montana                       315        Melita - Landing 3                               Camp               CBRE                                  -     -                                    -               U
     315         Montana                       315        K-M Munski                                       Camp               CBRE                            7,861,190   -                                    -               R
     315         Montana                       315        K-M 2                                            Camp               CBRE                                  -     -                                    -               U
     315         Montana                       315        K-M 3                                            Camp               CBRE                                  -     -                                    -               U
     315         Montana                       315        K-M Possible Mine                                Camp               CBRE                                  -     -                                    -               R
     315         Montana                       315        K-M 4                                            Camp               CBRE                                  -     -                                    -               R
     315         Montana                       315        K-M Kendall Original Townsite                    Camp               CBRE                                  -     -                                    -               R
     315         Montana                       315        K-M Kendall Original Townsite 2                  Camp               CBRE                                  -     -                                    -               R
     315         Montana                       315        K-M Kendall Original Townsite 3                  Camp               CBRE                                  -     -                                    -               R
     315         Montana                       315        K-M Kendall Original Townsite 4                  Camp               CBRE                                  -     -                                    -               R
     315         Montana                       315        K-M Daisy Fraction Mine                          Camp               CBRE                                  -     -                                    -               R
     315         Montana                       315        K-M Butterfly Mine                               Camp               CBRE                                  -     -                                    -               U
     315         Montana                       315        K-M Wedge Mine                                   Camp               CBRE                                  -     -                                    -               U
     315         Montana                       315        K-M Emmitt Mine                                  Camp               CBRE                                  -     -                                    -               U
     315         Montana                       315        K-M Saddle Mine                                  Camp               CBRE                                  -     -                                    -               R
     315         Montana                       315        K-M Evening Star Mine                            Camp               CBRE                                  -     -                                    -               R
     315         Montana                       315        K-M Chandler Easement 1                          Camp               CBRE                                  -     -                                    -               U
     315         Montana                       315        K-M Chandler Easement 2                          Camp               CBRE                                  -     -                                    -               U
     316         Montana                       315        Grizzly Base Camp                                Camp               CBRE                              986,850   -                                    -               U
     317         Montana                       315        Great Falls HQ Property                          Office/Store       CBRE                              850,816   -                                    -               R
     318         Montana                       315        Melita - Lot 001                                 Camp               CBRE                              680,685   -                                    -               R
     318         Montana                       315        Melita - Lot 002                                 Camp               CBRE                                  -     -                                    -               R
     318         Montana                       315        Melita - Lot 003                                 Camp               CBRE                                  -     -                                    -               R
     318         Montana                       315        Melita - Lot 004                                 Camp               CBRE                                  -     -                                    -               R
     318         Montana                       315        Melita - Lot 005                                 Camp               CBRE                                  -     -                                    -               R
     318         Montana                       315        Melita - Lot 006                                 Camp               CBRE                                  -     -                                    -               R
     318         Montana                       315        Melita - Lot 007                                 Camp               CBRE                                  -     -                                    -               R
     318         Montana                       315        Melita - Lot 008                                 Camp               CBRE                                  -     -                                    -               R
     318         Montana                       315        Melita - Lot 009                                 Camp               CBRE                                  -     -                                    -               R
     318         Montana                       315        Melita - Lot 010                                 Camp               CBRE                                  -     -                                    -               R
     318         Montana                       315        Melita - Lot 011                                 Camp               CBRE                                  -     -                                    -               R
     318         Montana                       315        Melita - Lot 012                                 Camp               CBRE                                  -     -                                    -               R
     318         Montana                       315        Melita - Lot 013                                 Camp               CBRE                                  -     -                                    -               R
     318         Montana                       315        Melita - Lot 014                                 Camp               CBRE                                  -     -                                    -               R
     318         Montana                       315        Melita - Lot 015                                 Camp               CBRE                                  -     -                                    -               R
     318         Montana                       315        Melita - Lot 016                                 Camp               CBRE                                  -     -                                    -               R
     318         Montana                       315        Melita - Lot 017                                 Camp               CBRE                                  -     -                                    -               R
     319         Montana                       315        Clark Fork Property                              Other              CBRE                               21,450   -                                    -               U
     320         Montana                       315        Billings Scout Acres                             Other              CBRE                              619,300   -                                    -               R
     321         Montana                       315        Missouri River Property                          Other              CBRE                               31,750   -                                    -               R
     322         Montana                       315        Camp Arcola                                      Camp               CBRE                              960,000   -                                    -               L
     323         Overland Trails               322        Camp Augustine                                   Camp               JLL                               187,000   CBRE                             544,192             U
     324         Overland Trails               322        Scout Office                                     Office/Store       JLL                               336,000   -                                    -               U
     325         Overland Trails               322        Scout 40                                         Camp               JLL                                60,000   Council                          115,000             U
     326         Cornhusker                    324        Camp Cornhusker                                  Camp               JLL                               865,000   -                                    -               U
     327         Cornhusker                    324        Outdoor Education Center                         Office/Store       JLL                             1,150,000   -                                    -               U
     328         Mid-America                   326        Covered Wagon Scout Reservation                  Camp               CBRE                            2,891,196   -                                    -               R
     329         Mid-America                   326        Little Sioux Scout Ranch                         Camp               CBRE                            4,837,525   -                                    -               R




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     Line                    Name             Number                  Camp, Service Center, or Common Name         Type               Source 1              Value 1                Source 2              Value 2            BSA Review
     330         Las Vegas Area                  328        Kimball Scout Reservation                        Camp               JLL                             4,660,000   CBRE                           13,642,080             U
     331         Las Vegas Area                  328        Sacramento Valley Ranch                          Other              JLL                                90,000   -                                     -               U
     332         Nevada Area Council             329        Council Office and Trading Post                  Office/Store       JLL                             1,220,000   -                                     -               U
     333         Nevada Area Council             329        Dog Valley Land                                  Other              JLL                               393,000   -                                     -               U
     334         Nevada Area Council             329        RAE Land                                         Other              JLL                               200,000   -                                     -               U
     335         Nevada Area Council             329        Fuller Lake Land                                 Other              JLL                               555,000   -                                     -               U
     336         Daniel Webster                  330        The Unity Program Center                         Camp               JLL                               625,000   -                                     -               U
     337         Daniel Webster                  330        DWC Office Bld                                   Office/Store       JLL                             1,300,000   -                                     -               U
     338         Daniel Webster                  330        Griswold Scout Reservation                       Camp               CBRE                            2,089,011   -                                     -               L
     338         Daniel Webster                  330        Griswold Scout Reservation                       Camp               CBRE                                  -     -                                     -               L
     338         Daniel Webster                  330        Griswold Scout Reservation                       Camp               CBRE                                  -     -                                     -               L
     339         Daniel Webster                  330        Camp Carpenter                                   Camp               CBRE                            3,369,520   -                                     -               R
     340         Daniel Webster                  330        Camp Whip-O-Will                                 Camp               CBRE                              310,500   -                                     -               R
     341         Daniel Webster                  330        Pierre Hoge Scout Camp                           Camp               CBRE                              204,750   -                                     -               R
     342         Northern New Jersey             333        NNJC Service Center                              Office/Store       CBRE                            2,730,000   -                                     -               U
     343         Northern New Jersey             333        Camp Conklin                                     Camp               CBRE                              350,000   -                                     -               R
     344         Northern New Jersey             333        Camp Turrell                                     Camp               CBRE                            2,615,000   -                                     -               L
     345         Northern New Jersey             333        Camp Nobebosco                                   Camp               CBRE                            1,665,000   -                                     -               L
     346         Northern New Jersey             333        Floodwood Mtn Scout Reservation                  Camp               CBRE                              820,000   -                                     -               L
     347         Jersey Shore                    341        Clayton Service Center                           Office/Store       JLL                             1,150,000   -                                     -               U
     348         Jersey Shore                    341        Joseph A. Citta Scout Reservation                Camp               CBRE                            1,989,038   -                                     -               L
     349         Monmouth                        347        Sea Bright Beach                                 Other              JLL                             1,180,000   -                                     -               U
     350         Monmouth                        347        Forestburg Scout Reservation                     Camp               CBRE                            3,200,000   -                                     -               U
     351         Monmouth                        347        Quail Hill Scout Camp                            Camp               CBRE                              995,000   -                                     -               L
     352         Monmouth                        347        Council Service Center                           Office/Store       CBRE                            2,600,000   -                                     -               U
     353         Patriots' Path Council          358        Cedar Knolls Service Center                      Office/Store       CBRE                            2,030,000   -                                     -               U
     354         Patriots' Path Council          358        Sabattis Adventure Camp                          Camp               CBRE                            1,585,000   -                                     -               L
     355         Patriots' Path Council          358        Winnebago Scout Reservation                      Camp               CBRE                              935,000   -                                     -               R
     356         Patriots' Path Council          358        Mount Allamuchy Scout Reservation                Camp               CBRE                            3,475,000   -                                     -               L
     357         Twin Rivers                     364        Council Office                                   Office/Store       JLL                               471,000   -                                     -               U
     358         Twin Rivers                     364        Rotary Scout Reservation                         Camp               Keen                            4,800,000   -                                     -               U
     359         Twin Rivers                     364        Camp Wakpominee                                  Camp               Keen                            6,425,000   -                                     -               U
     360         Twin Rivers                     364        Camp Bedford                                     Camp               Keen                              337,500   -                                     -               R
     361         Baden-Powell                    368        Baden-Powell Council Service Center              Office/Store       JLL                               188,000   -                                     -               U
     362         Baden-Powell                    368        Camp Barton                                      Camp               Keen                              650,000   -                                     -               U
     363         Baden-Powell                    368        Tuscarora Scout Reservation                      Camp               Keen                            3,300,000   -                                     -               L
     364         Longhouse                       373        Land, Town of Brutus                             Other              JLL                                 9,750   -                                     -               U
     365         Longhouse                       373        Camp Woodland                                    Camp               CBRE                            3,005,000   -                                     -               L
     366         Longhouse                       373        Sabattis Scout Reservation                       Camp               CBRE                            1,910,000   -                                     -               L
     367         Hudson Valley                   388        Council Center                                   Office/Store       JLL                               620,000   -                                     -               U
     368         Hudson Valley                   388        Camp Nooteeming                                  Camp               CBRE                            3,805,000   -                                     -               L
     369         Hudson Valley                   388        Camp Bullowa                                     Camp               CBRE                            3,440,000   -                                     -               L
     370         Five Rivers                     375        Camp Gordon                                      Camp               CBRE                            1,090,000   -                                     -               U
     371         Five Rivers                     375        Camp Brule                                       Camp               CBRE                              701,350   -                                     -               L
     372         Five Rivers                     375        Dorman Property                                  Camp               Council                           199,900   -                                     -               U
     373         Iroquois Trail                  376        Camp Dittmer                                     Camp               CBRE                            1,115,000   -                                     -               U
     374         Iroquois Trail                  376        Camp Sam Wood                                    Camp               CBRE                            1,095,000   -                                     -               U
     375         Greater Niagara Frontier        380        Schoellkopf Scout Reservation                    Camp               JLL                               555,000   -                                     -               U
     376         Greater Niagara Frontier        380        Camp Stone Haven                                 Camp               JLL                               494,000   -                                     -               U
     377         Greater Niagara Frontier        380        Camp Scouthaven                                  Camp               Council                           427,974   -                                     -               U
     378         Allegheny Highlands             382        Camp Merz                                        Camp               CBRE                            1,810,000   -                                     -               L
     379         Allegheny Highlands             382        Elk Lick Scout Reserve                           Camp               CBRE                              641,650   -                                     -               U
     380         Theodore Roosevelt              386        Council Program Center                           Office/Store       JLL                             1,480,000   -                                     -               U
     381         Theodore Roosevelt              386        John M. Schiff Scout Reservation                 Camp               Keen                            4,000,000   -                                     -               L
     382         Theodore Roosevelt              386        Onteora Scout Reservation                        Camp               Keen                            1,225,000   -                                     -               L




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     Line                    Name           Number                  Camp, Service Center, or Common Name                   Type               Source 1               Value 1               Source 2              Value 2             BSA Review
     383         Westchester-Putnam            388        Curtis S. Read Scout Reservation                           Camp               CBRE                             3,255,000   -                                     -               U
     384         Westchester-Putnam            388        Service Center                                             Office/Store       CBRE                             1,000,000   -                                     -              TBD
     385         Westchester-Putnam            388        Agatha Durland Scout Reservation                           Camp               CBRE                           11,770,000    -                                     -               L
     386         Seneca Waterways              397        Scout Service Center                                       Office/Store       JLL                              1,960,000   -                                     -               U
     387         Seneca Waterways              397        J Warren Cutler Scout Reservation                          Camp               CBRE                             2,560,000   -                                     -               U
     388         Seneca Waterways              397        Babcock Hovey Scout Camp                                   Camp               CBRE                             1,340,000   -                                     -               U
     389         Seneca Waterways              397        Massawepie Scout Reservation                               Camp               CBRE                             3,210,000   -                                     -               L
     390         Leatherstocking               400        Oneonta Office                                             Office/Store       JLL                                293,000   -                                     -               U
     391         Leatherstocking               400        Camp Kingsley                                              Camp               CBRE                             1,070,000   -                                     -               U
     392         Leatherstocking               400        Cedarlands Scout Reservation                               Camp               CBRE                             3,400,000   -                                     -               L
     393         Leatherstocking               400        Henderson Scout Reservation                                Camp               CBRE                             1,870,000   -                                     -               U
     394         Suffolk County                404        Baiting Hollow Scout Camp                                  Camp               Keen                             2,925,000   -                                     -               L
     395         Suffolk County                404        Service Center                                             Office/Store       CBRE                             1,982,200   Council                         1,660,000             U
     396         Rip Van Winkle                405        Camp Tri-Mount                                             Camp               CBRE                             1,365,000   -                                     -               L
     397         Great Southwest               412        Campbell Scout Ranch                                       Camp               CBRE                               335,764   -                                     -               R
     398         Conquistador Council          413        Dowling Aquatic Base                                       Camp               CBRE                               451,075   -                                     -               R
     399         Conquistador Council          413        Camp Jim Murray                                            Camp               CBRE                               222,664   -                                     -               R
     400         Conquistador Council          413        S.P. Yates Scout Service Center                            Office/Store       CBRE                               391,377   -                                     -               U
     401         Conquistador Council          413        Wehinahpay Mountain Camp                                   Camp               CBRE                               709,916   -                                     -               U
     402         Conquistador Council          413        Tatum Lot                                                  Other              CBRE                                 2,334   -                                     -               U
     403         Daniel Boone                  414        Camp Tatham                                                Camp               JLL                                545,000   -                                     -               U
     404         Daniel Boone                  414        Service Center                                             Camp               JLL                                950,000   -                                     -               U
     405         Daniel Boone                  414        Camp Daniel Boone                                          Camp               CBRE                             5,277,825   -                                     -               U
     406         Mecklenburg County            415        Belk Scout Camp                                            Camp               CBRE                             4,960,942   -                                     -               U
     407         Mecklenburg County            415        Mcklenburg Scout Reservation                               Camp               CBRE                             4,117,463   -                                     -               U
     408         Central North Carolina        416        Central Office                                             Office/Store       JLL                                414,000   -                                     -               U
     409         Central North Carolina        416        Camp John J. Barnhardt                                     Camp               CBRE                             2,964,195   -                                     -               L
     410         Piedmont                      420        C.C. Kimbrell Scout Service Center                         Office/Store       CBRE                             1,252,560   -                                     -               L
     411         Piedmont                      420        Piedmont Scout Reservation                                 Camp               CBRE                             5,175,638   -                                     -               L
     412         Occoneechee                   421        Occoneechee Scout Reservation                              Camp               JLL                              8,300,000   CBRE                            9,786,603             U
     413         Occoneechee                   421        Council Office                                             Office/Store       CBRE                             1,681,198   -                                     -               U
     414         Tuscarora Council             424        Camp Tuscarora                                             Camp               CBRE                             1,615,898   -                                     -               U
     415         Cape Fear                     425        Cape Fear Scout Reservation                                Camp               JLL                                885,000   CBRE                            6,033,555             U
     415         Cape Fear                     425        Land Scout Reservation                                     Camp               JLL                                    -     -                                     -               U
     416         East Carolina                 426        Farmville                                                  Other              JLL                                895,000   -                                     -               U
     417         East Carolina                 426        Camp Bonner North                                          Camp               CBRE                             2,927,340   -                                     -               R
     418         East Carolina                 426        Camp Charles                                               Camp               CBRE                               287,520   -                                     -               R
     419         East Carolina                 426        East Carolina Scout Reservation                            Camp               CBRE                             3,983,670   -                                     -               L
     420         East Carolina                 426        Camp Sam Hatcher                                           Camp               CBRE                             1,192,880   -                                     -               L
     421         Old Hickory                   427        Land west of Wilderness Cabin                              Other              JLL                                530,000   -                                     -               R
     422         Old Hickory                   427        Camp Raven Knob                                            Camp               CBRE                             5,966,950   -                                     -               R
     423         Northern Lights               429        Camp Wilderness                                            Camp               CBRE                             3,985,110   -                                     -               R
     424         Northern Lights               429        Jon L Wanzek Center for Scouting                           Office/Store       CBRE                             2,546,375   -                                     -               L
     425         Great Trail                   433        Scout Service Center                                       Office/Store       JLL                                751,000   -                                     -               U
     426         Great Trail                   433        Manatoc Scout Reservaton                                   Camp               CBRE                             3,078,548   -                                     -               L
     427         Buckeye                       436        Seven Ranges Scout Reservation                             Camp               CBRE                             2,897,018   -                                     -               U
     428         Buckeye                       436        Hoover Scout Service Center                                Office/Store       JLL                                620,000   -                                     -               U
     429         Buckeye                       436        Camp McKinley                                              Camp               JLL                                469,000   -                                     -               R
     430         Dan Beard                     438        Dan Beard Scout Reservation (also known as Camp Friedlander,Camp
                                                                                                                       Camp Craig, Cub World
                                                                                                                                        CBREand Peterloon Fields)        5,896,530   -                                     -               R
     431         Dan Beard                     438        Camp Michaels                                              Camp               CBRE                             3,247,250   -                                     -               R
     432         Tecumseh                      439        Camp Hugh Taylor Birch                                     Camp               JLL                                665,000   -                                     -               L
     433         Tecumseh                      439        Patton Service Center                                      Office/Store       JLL                                160,000   -                                     -               U
     434         Lake Erie                     440        Council Service Center                                     Office/Store       JLL                              1,060,000   -                                     -               U
     435         Lake Erie                     440        Beaumont Scout Reservation - Unrestricted                  Camp               JLL                              2,430,000   CBRE                            3,410,550             U
     436         Lake Erie                     440        Firelands Scout Reservation                                Camp               JLL                              1,100,000   -                                     -               L




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     437         Lake Erie                        440        Beaumont Scout Reservation - Restricted         Camp               JLL                               307,000   -                                     -               L
     438         Simon Kenton                     441        Leadership Development Center                   Office/Store       JLL                             3,240,000   -                                     -               U
     439         Simon Kenton                     441        Camp Oyo                                        Camp               JLL                               288,000   -                                     -               U
     439         Simon Kenton                     441        CIP - Camp Oyo                                  Camp               JLL                                   -     -                                     -               U
     440         Simon Kenton                     441        Camp Madison Lake                               Camp               JLL                               243,000   -                                     -               U
     441         Simon Kenton                     441        Camp Lazarus - Unrestricted                     Camp               JLL                             1,590,000   -                                     -               U
     442         Simon Kenton - Restricted        441        Camp Lazarus - Restricted                       Camp               JLL                               259,000   -                                     -               L
     443         Simon Kenton                     441        Chief Logan Scout Reservation                   Camp               CBRE                              834,976   -                                     -               R
     444         Simon Kenton                     441        Camp Falling Rock                               Camp               CBRE                            1,791,216   -                                     -               U
     445         Miami Valley                     444        Cricket Holler Camp                             Camp               JLL                             1,200,000   -                                     -               U
     446         Miami Valley                     444        Woodland Trails Boy Scout Camp                  Camp               JLL                             2,490,000   -                                     -               U
     447         Black Swamp                      449        Camp Lakota                                     Camp               JLL                               890,000   -                                     -               U
     448         Black Swamp                      449        Camp Berry                                      Camp               CBRE                            1,377,225   -                                     -               R
     449         Pathway to Adventure             456        Steve Fossett Center for Scouting               Office/Store       JLL                             3,430,000   CBRE                            5,481,280             U
     450         Pathway to Adventure             456        Des Plaines Valley Center for Scouting.         Office/Store       JLL                               610,000   -                                     -               U
     451         Pathway to Adventure             456        Camp Lakota                                     Camp               CBRE                            1,120,420   -                                     -               U
     452         Pathway to Adventure             456        Robert J Welsh Center for Scouting.             Office/Store       CBRE                              631,805   -                                     -               L
     453         Pathway to Adventure             456        Owasippe Scout Ranch                            Camp               CBRE                            7,333,632   -                                     -               U
     454         Pathway to Adventure             456        Camp Napowan                                    Camp               CBRE                            1,215,961   -                                     -               U
     455         Erie Shores                      460        Camp Miakonda                                   Camp               JLL                             3,820,000   -                                     -               U
     456         Erie Shores                      460        Pioneer Scout Reservation                       Camp               CBRE                            3,045,845   -                                     -               U
     457         Muskinghum Valley                467        Muskingum Valley Scout Reservtion               Camp               CBRE                            1,915,950   -                                     -               L
     458         Arbuckle Area Council            468        Arbuckle Office                                 Office/Store       JLL                               215,000   -                                     -               U
     459         Arbuckle Area Council            468        Camp Simpson                                    Camp               JLL                             2,450,000   -                                     -               U
     460         Cherokee                         469        Camp McClintock                                 Camp               CBRE                              412,500   -                                     -               L
     461         Last Frontier                    480        Dripping Springs                                Camp               JLL                               102,000   -                                     -               U
     462         Last Frontier                    480        Diamond H                                       Camp               CBRE                            7,900,000   -                                     -               R
     463         Last Frontier                    480        John Nichols                                    Camp               CBRE                            4,848,000   -                                     -              TBD
     464         Last Frontier                    480        Kerr Scout Ranch                                Camp               CBRE                            3,400,000   -                                     -               U
     465         Last Frontier                    480        Camp George Thomas                              Camp               CBRE                              480,000   -                                     -               R
     466         Indian Nations                   488        Cherokee Nation Scout Ranch                     Camp               JLL                               424,000   -                                     -               U
     467         Indian Nations                   488        Graves Scout Reservation                        Camp               JLL                               471,000   -                                     -               U
     468         Indian Nations                   488        Hale Scout Reservation                          Camp               JLL                             1,480,000   -                                     -               L
     469         Indian Nations                   488        Donald W. Reynolds Scout Resource Center        Office/Store       JLL                             1,480,000   -                                     -               U
     470         Indian Nations                   488        Mabee Scout Reservation                         Camp               CBRE                            1,175,000   -                                     -               U
     471         Crater Lake                      491        Camp McCaleb                                    Camp               CBRE                              540,498   -                                     -               L
     472         Crater Lake                      491        Central Point Office                            Office/Store       JLL                               170,000   -                                     -               U
     473         Crater Lake                      491        Eureka Office                                   Office/Store       JLL                               265,000   -                                     -               U
     474         Cascade Pacific                  492        Lewis                                           Camp               CBRE                              558,650   -                                     -               R
     475         Cascade Pacific                  492        Butte Creek                                     Camp               CBRE                            3,354,010   -                                     -               L
     476         Cascade Pacific                  492        Cooper                                          Camp               CBRE                            1,195,644   -                                     -               R
     477         Cascade Pacific                  492        Meriwether                                      Camp               CBRE                            6,477,425   -                                     -               L
     478         Cascade Pacific                  492        Baldwin                                         Camp               CBRE                              896,000   -                                     -               L
     479         Cascade Pacific                  492        Ireland                                         Camp               CBRE                              525,000   -                                     -               R
     480         Cascade Pacific                  492        Portland Office                                 Office/Store       CBRE                            4,900,000   -                                     -               L
     481         Juniata Valley                   497        Seven Mountains Scout Camp                      Camp               CBRE                              723,750   -                                     -               R
     482         Moraine Trails                   500        Camp Agawam                                     Camp               CBRE                              987,804   -                                     -               R
     483         Moraine Trails                   500        Camp Bucoco                                     Camp               CBRE                            1,145,503   -                                     -               U
     484         Northeastern Pennsylvania        501        NEPA Scout Service and Training Center          Office/Store       JLL                               362,000   -                                     -               U
     485         Northeastern Pennsylvania        501        vacant land across road from SSTC               Other              JLL                               262,000   -                                     -               R
     486         Northeastern Pennsylvania        501        Camp Acahela                                    Camp               CBRE                              699,884   -                                     -               L
     487         Northeastern Pennsylvania        501        Goose Pond Scout Reservation                    Camp               CBRE                            1,652,343   -                                     -               L
     488         Minsi Trails                     502        Camp Minsi, Deed Book 170, Page 524             Camp               JLL                             2,100,000   CBRE                            4,200,900             U
     488         Minsi Trails                     502        Camp Minsi 19/4/1/2                             Camp               JLL                                   -     -                                     -               U
     488         Minsi Trails                     502        Camp Minsi 19/4/1/2-1C                          Camp               JLL                                   -     -                                     -               U




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     Line                     Name         Number                  Camp, Service Center, or Common Name                Type               Source 1              Value 1               Source 2              Value 2             BSA Review
     488         Minsi Trails                 502        Camp Minsi 19/4/1/2-2C                                  Camp               JLL                                   -     -                                     -               U
     488         Minsi Trails                 502        Camp Minsi 03/14/1/3                                    Camp               JLL                                   -     -                                     -               U
     489         Minsi Trails                 502        Trexler Scout Reservation 13/9/1/5                      Camp               JLL                             1,970,000   CBRE                            2,582,247             U
     489         Minsi Trails                 502        Trexler Scout Reservation, Deed Book 119, Page 184      Camp               JLL                                   -     -                                     -               U
     489         Minsi Trails                 502        Trexler Scout Reservation, Deed Book 121, Page 346      Camp               JLL                                   -     -                                     -               U
     489         Minsi Trails                 502        Trexler Scout Reservation, Deed Book 217, Page 600      Camp               JLL                                   -     -                                     -               U
     489         Minsi Trails                 502        Trexler Scout Reservation, Deed Book 226, Page 120      Camp               JLL                                   -     -                                     -               U
     489         Minsi Trails                 502        Trexler Scout Reservation, Deed Book 315, Page 1107     Camp               JLL                                   -     -                                     -               U
     489         Minsi Trails                 502        Trexler Scout Reservation PA 534, 13/10/1/6-2           Camp               JLL                                   -     -                                     -               U
     489         Minsi Trails                 502        Trexler Scout Reservation, Deed Book 113, Page 627      Camp               JLL                                   -     -                                     -               U
     490         Columbia-Montour             504        Ranger House and Pole Barn                              Camp               JLL                               625,000   -                                     -               U
     490         Columbia-Montour             504        Camp Lavigne                                            Camp               JLL                                   -     -                                     -               U
     491         Columbia-Montour             504        Council Office                                          Office/Store       JLL                               252,000   -                                     -               U
     492         Bucktail                     509        Camp Mountain Run                                       Camp               CBRE                              704,900   -                                     -               R
     493         Westmoreland-Fayette         512        Scout Service Center                                    Office/Store       JLL                               390,000   -                                     -               U
     494         Westmoreland-Fayette         512        Camp Tenacharison                                       Camp               CBRE                              574,275   -                                     -               U
     495         Pennsylvania Dutch           524        Bashore Scout Reservation                               Camp               JLL                               350,000   CBRE                            1,233,288             U
     495         Pennsylvania Dutch           524        Bashore Scout Reservation                               Camp               JLL                                   -     -                                     -               R
     495         Pennsylvania Dutch           524        Bashore Scout Reservation                               Camp               JLL                                   -     -                                     -               R
     495         Pennsylvania Dutch           524        Bashore Scout Reservation                               Camp               JLL                                   -     -                                     -               R
     496         Pennsylvania Dutch           524        J. Edward Mack                                          Camp               CBRE                            3,592,900   -                                     -               L
     497         Cradle of Liberty            525        Seltzer Property                                        Other              JLL                               750,000   -                                     -               U
     498         Cradle of Liberty            525        Firestone Scout Service Center                          Office/Store       JLL                             1,560,000   -                                     -               L
     499         Cradle of Liberty            525        Camp Hart                                               Camp               CBRE                            1,890,769   -                                     -               L
     500         Cradle of Liberty            525        Camp Garrison                                           Camp               CBRE                              624,952   -                                     -               L
     501         Cradle of Liberty            525        Camp Delmont                                            Camp               CBRE                            3,978,500   -                                     -               L
     502         Cradle of Liberty            525        East Camp                                               Camp               CBRE                              139,800   -                                     -               L
     503         Cradle of Liberty            525        Resica Falls Scout Reservation                          Camp               CBRE                            3,965,794   -                                     -               L
     503         Cradle of Liberty            525        Resica Falls Scout Reservation                          Camp               CBRE                                  -     -                                     -               L
     504         Laurel Highlands             527        Camp Potomac                                            Camp               JLL                               920,000   -                                     -               U
     505         Laurel Highlands             527        Camp Anawanna                                           Camp               JLL                             1,180,000   -                                     -               U
     506         Laurel Highlands             527        Camp Guyasuta                                           Camp               JLL                             9,200,000   CBRE                            1,882,274             L
     507         Laurel Highlands             527        Camp Baker                                              Camp               CBRE                              311,600   Council                           640,000             R
     508         Laurel Highlands             527        Heritage Reservation                                    Camp               CBRE                            6,938,508   -                                     -               U
     509         Laurel Highlands             527        Flag Plaza                                              Office/Store       CBRE                            2,097,810   -                                     -               U
     510         Hawk Mountain                528        Hawk Mountain Scout Reservation                         Camp               CBRE                            2,162,160   -                                     -               U
     511         Hawk Mountain                528        Hawk Mountain Council, BSA                              Office/Store       CBRE                              524,905   -                                     -               U
     512         French Creek                 532        Custaloga Town Scout Reservation                        Camp               CBRE                              906,604   -                                     -               U
     512         French Creek                 532        Custaloga Town Scout Reservation                        Camp               CBRE                                  -     -                                     -               U
     512         French Creek                 532        Custaloga Town Scout Reservation                        Camp               CBRE                                  -     -                                     -               U
     512         French Creek                 532        Custaloga Town Scout Reservation                        Camp               CBRE                                  -     -                                     -               U
     512         French Creek                 532        Custaloga Town Scout Reservation                        Camp               CBRE                                  -     -                                     -               U
     512         French Creek                 532        Custaloga Town Scout Reservation                        Camp               CBRE                                  -     -                                     -               U
     512         French Creek                 532        Custaloga Town Scout Reservation                        Camp               CBRE                                  -     -                                     -               U
     512         French Creek                 532        Custaloga Town Scout Reservation                        Camp               CBRE                                  -     -                                     -               U
     513         French Creek                 532        Moss Woods - part of Custaloga Town Scout Reservation   Camp               CBRE                              160,000   -                                     -               R
     514         Susquehanna                  533        Camp Karoondinha                                        Camp               JLL                               735,000   CBRE                            1,360,800             U
     515         Chief Cornplanter            538        Camp Olmstead                                           Camp               CBRE                              784,000   -                                     -               U
     516         Chester County               539        Program, Activities, and Resource Campus (PARC)         Camp               JLL                             4,940,000   -                                     -               U
     517         Chester County               539        Horseshoe Scout Reservation (Camp John H. Ware, 3rd )   Camp               CBRE                              540,120   -                                     -               U
     518         Chester County               539        Horseshoe Scout Reservation (Camp Horseshoe)            Camp               CBRE                            4,075,000   -                                     -               L
     519         New Birth of Freedom         544        Mechanicsburg Service Center (KAC Service Center)       Office/Store       JLL                               487,000   -                                     -               U
     520         New Birth of Freedom         544        Camp Tuckahoe                                           Camp               CBRE                            1,573,090   -                                     -               U
     521         New Birth of Freedom         544        Hidden Valley Scout Reservation                         Camp               CBRE                            1,857,862   -                                     -               U
     522         New Birth of Freedom         544        York Service Center (YAC Service Center)                Office/Store       CBRE                              610,184   Council                           830,000             U




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     523         Narragansett                        546      Camp Cachalot                                     Camp               JLL                               910,000   -                                     -               L
     523         Narragansett                        546      Camp Cachalot                                     Camp               JLL                                   -     -                                     -               L
     523         Narragansett                        546      Camp Cachalot                                     Camp               JLL                                   -     -                                     -               L
     524         Narragansett                        546      Camp Norse                                        Camp               CBRE                            3,996,701   -                                     -               L
     524         Narragansett                        546      Camp Norse                                        Camp               CBRE                                  -     -                                     -               L
     524         Narragansett                        546      Camp Norse                                        Camp               CBRE                                  -     -                                     -               L
     524         Narragansett                        546      Camp Norse                                        Camp               CBRE                                  -     -                                     -               L
     524         Narragansett                        546      Camp Norse                                        Camp               CBRE                                  -     -                                     -               L
     524         Narragansett                        546      Camp Norse                                        Camp               CBRE                                  -     -                                     -               L
     524         Narragansett                        546      Camp Norse                                        Camp               CBRE                                  -     -                                     -               L
     524         Narragansett                        546      Camp Norse                                        Camp               CBRE                                  -     -                                     -               L
     524         Narragansett                        546      Camp Norse                                        Camp               CBRE                                  -     -                                     -               L
     524         Narragansett                        546      Camp Norse                                        Camp               CBRE                                  -     -                                     -               L
     524         Narragansett                        546      Camp Norse                                        Camp               CBRE                                  -     -                                     -               L
     524         Narragansett                        546      Camp Norse                                        Camp               CBRE                                  -     -                                     -               L
     524         Narragansett                        546      Camp Norse                                        Camp               CBRE                                  -     -                                     -               L
     524         Narragansett                        546      Camp Norse                                        Camp               CBRE                                  -     -                                     -               L
     524         Narragansett                        546      Camp Norse                                        Camp               CBRE                                  -     -                                     -               L
     524         Narragansett                        546      Camp Norse                                        Camp               CBRE                                  -     -                                     -               L
     525         Palmetto                            549      Camp Bob Hardin                                   Camp               CBRE                              877,100   -                                     -               U
     526         Palmetto                            549      Glendale Outdoor Leadership School                Other              CBRE                              340,416   Council                           305,000             U
     527         Blue Ridge                          551      Blue Ridge Council                                Office/Store       JLL                             2,520,000   -                                     -               U
     528         Blue Ridge                          551      Camp Reservation Property                         Camp               CBRE                            3,400,763   -                                     -               R
     529         Blue Ridge                          551      Land Donation                                     Other              JLL                                15,000   -                                     -               U
     530         Blue Ridge                          551      Land Donation                                     Other              JLL                                 5,000   -                                     -               U
     531         Pee Dee                             552      14 Lots of Wetlands                               Other              JLL                               625,000   -                                     -               L
     532         Indian Waters                       553      Camp Barstow                                      Camp               JLL                               720,000   CBRE                            1,577,688             U
     532         Indian Waters                       553      Camp Barstow                                      Camp               JLL                                   -     -                                     -               U
     532         Indian Waters                       553      Camp Barstow                                      Camp               JLL                                   -     -                                     -               U
     532         Indian Waters                       553      Camp Barstow                                      Camp               JLL                                   -     -                                     -               U
     532         Indian Waters                       553      Camp Barstow                                      Camp               JLL                                   -     -                                     -               U
     532         Indian Waters                       553      Camp Barstow                                      Camp               JLL                                   -     -                                     -               U
     532         Indian Waters                       553      Camp Barstow                                      Camp               JLL                                   -     -                                     -               U
     532         Indian Waters                       553      Camp Barstow                                      Camp               JLL                                   -     -                                     -               U
     533         Indian Waters                       553      Scout Camp and Office                             Office/Store       Council                           820,000   -                                     -               U
     534         Cherokee                            556      I75 Donated Property                              Other              JLL                             1,180,000   -                                     -               U
     535         Cherokee                            556      Skymont Camp                                      Camp               CBRE                            1,428,000   -                                     -               U
     536         Great Smoky Mountain                557      Camp Pellissipi                                   Camp               JLL                               565,000   -                                     -               L
     537         Great Smoky Mountain                557      Camp Buck Toms                                    Camp               CBRE                            2,437,500   -                                     -               L
     538         Great Smoky Mountain                557      Buzzard's Roost                                   Camp               JLL                               105,000   -                                     -               L
     539         Chichasaw                           558      Kia Kima Scout Reservation                        Camp               JLL                             1,610,000   -                                     -              TBD
     540         West Tennessee Area Council         559      Service Center                                    Office/Store       JLL                               201,000   -                                     -               U
     541         West Tennessee Area Council         559      Camp Mack Morris                                  Camp               JLL                             1,110,000   CBRE                            1,211,100             U
     542         Middle Tennessee Council, Inc., Boy Scouts
                                                     560 of America
                                                              Boxwell Scout Reservation                         Camp               CBRE                            5,351,500   -                                     -               R
     543         Middle Tennessee Council, Inc., Boy Scouts
                                                     560 of America
                                                              Jet Potter Scout Service Center                   Office/Store       CBRE                            5,469,285   -                                     -               L
     544         Middle Tennessee Council, Inc., Boy Scouts
                                                     560 of America
                                                              Latimer High Adventure Scout Reservation          Camp               CBRE                            3,540,250   -                                     -               L
     545         Texas Trails Council                561      Camp Billy Gibbons                                Camp               CBRE                              500,000   -                                     -               R
     546         Texas Trails Council                561      Camp Tonkawa                                      Camp               CBRE                              683,213   -                                     -               R
     547         Golden Spread                       562      Scout Service Center                              Office/Store       JLL                               770,000   CBRE                            1,731,600             U
     548         Golden Spread                       562      Camp Don Harrington                               Camp               CBRE                            1,628,585   -                                     -               R
     549         Golden Spread                       562      Camp M.K.Brown                                    Camp               CBRE                              744,000   -                                     -               U
     550         Capitol Area Council                564      Frank Fickett Scout Training and Service Center   Office/Store       CBRE                            8,755,000   -                                     -               L
     551         Capitol Area Council                564      Lost Pines Scout Reservation                      Camp               CBRE                            6,772,625   -                                     -               R
     552         Capitol Area Council                564      Griffith League Ranch                             Camp               CBRE                          24,237,500    -                                     -               L
     553         Capitol Area Council                564      Camp Alma McHenry                                 Camp               CBRE                            1,379,290   -                                     -              TBD




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                         Local Council          Local Council                         Property Name:                              Property        Fair Market Value:   Fair Market Value:     Fair Market Value:   Fair Market Value:     Restriction Status:
     Line                    Name                 Number                  Camp, Service Center, or Common Name                      Type               Source 1              Value 1               Source 2              Value 2             BSA Review
     554         Capitol Area Council                564        Green Dickson                                                 Camp               CBRE                            1,691,750   -                                     -               R
     555         Capitol Area Council                564        Smilin V                                                      Camp               CBRE                            1,956,500   -                                     -               L
     556         Capitol Area Council                564        Roy D Rivers                                                  Camp               CBRE                            2,770,320   -                                     -               R
     557         Buffalo Trail                       567        Midland Scout Service Center                                  Office/Store       JLL                               595,000   -                                     -               U
     558         Buffalo Trail                       567        Buffalo Trail Scout Ranch                                     Camp               CBRE                            4,182,300   -                                     -               U
     559         Buffalo Trail                       567        Pecos Property                                                Other              CBRE                              425,000   -                                     -               L
     560         Circle Ten Council                  571        Clements Scout Ranch                                          Camp               CBRE                          10,290,000    -                                     -               R
     561         Circle Ten Council                  571        Camp Wisdom                                                   Camp               CBRE                            4,498,690   -                                     -               R
     562         Circle Ten Council                  571        Murchison Scouting Center                                     Office/Store       CBRE                            9,082,500   -                                     -               U
     562         Circle Ten Council                  571        STEM van                                                      Other              CBRE                                  -     -                                     -               R
     563         Circle Ten Council                  571        Bobby Lyle/Billy Gamble Scouting Center                       Office/Store       CBRE                            2,483,460   -                                     -               R
     564         Circle Ten Council                  571        Camp Constatin                                                Camp               CBRE                            8,865,350   -                                     -              TBD
     565         Bay Area                            574        Camp Karankawa                                                Camp               CBRE                            2,715,850   -                                     -              TBD
     566         Sam Houston Area                    576        Camp Strake                                                   Camp               CBRE                          16,846,542    -                                     -               R
     567         Sam Houston Area                    576        Cockrell Scout Center                                         Office/Store       CBRE                          13,650,000    -                                     -               L
     568         Sam Houston Area                    576        Bovay Scout Ranch                                             Camp               CBRE                            5,951,004   -                                     -               R
     569         Sam Houston Area                    576        Camp Brosig                                                   Camp               CBRE                              974,505   -                                     -               R
     570         Three Rivers                        578        Dishman Service Center                                        Office/Store       JLL                               484,000   -                                     -               U
     571         Three Rivers                        578        Scott Scout Ranch                                             Camp               CBRE                            1,574,694   -                                     -               U
     572         Alamo Area                          583        Lake Property                                                 Camp               JLL                             1,950,000   -                                     -               U
     572         Alamo Area                          583        Scoutreach Leadership Development Center                      Office/Store       JLL                                   -     -                                     -               U
     573         Alamo Area                          583        Bear Creek Scout Reservation                                  Camp               CBRE                          10,951,270    -                                     -               L
     574         Alamo Area                          583        McGimsey Scout Park                                           Camp               CBRE                          24,652,250    -                                     -               R
     575         Alamo Area                          583        Mays Family Scout Ranch                                       Camp               CBRE                              809,297   -                                     -               R
     576         Caddo Area                          584        Camp Preston Hunt                                             Camp               CBRE                              663,948   -                                     -               U
     577         East Texas Area Council             585        Land-Camp                                                     Camp               JLL                             1,300,000   CBRE                            2,029,423             U
     577         East Texas Area Council             585        2005 Chevrolet Silverado                                      Camp               JLL                                   -     -                                     -               U
     577         East Texas Area Council             585        2016 Dump Trailer                                             Camp               JLL                                   -     -                                     -               U
     577         East Texas Area Council             585        2007 Legend Craft flat boat w/ trailer                        Camp               JLL                                   -     -                                     -               U
     577         East Texas Area Council             585        2006 Glastron ski boat w/ trailer                             Camp               JLL                                   -     -                                     -               U
     577         East Texas Area Council             585        Aquatic Equipment                                             Camp               JLL                                   -     -                                     -               U
     577         East Texas Area Council             585        Land Improvements-Camp                                        Camp               JLL                                   -     -                                     -               U
     577         East Texas Area Council             585        Camp Buildings                                                Camp               JLL                                   -     -                                     -               U
     577         East Texas Area Council             585        Camp Furniture/Fixtures                                       Camp               JLL                                   -     -                                     -               U
     578         Northwest Texas                     587        Service Center                                                Office/Store       CBRE                              772,950   -                                     -               U
     579         Northwest Texas                     587        Camp Perkins                                                  Camp               CBRE                            1,049,724   -                                     -               R
     579         Northwest Texas                     587        Camp Perkins - Ikeler                                         Camp               CBRE                                  -     -                                     -               U
     580         Crossroads of the West Council      590        Fife                                                          Camp               JLL                               985,000   -                                     -               U
     581         Crossroads of the West Council      590        Kiesel/Browning                                               Camp               JLL                             2,230,000   -                                     -               U
     582         Crossroads of the West Council      590        Maple Dell                                                    Camp               JLL                             2,280,000   -                                     -               U
     583         Crossroads of the West Council      590        Thunder Ridge                                                 Camp               JLL                             4,430,000   -                                     -               R
     584         Crossroads of the West Council      590        Ogden Canyon                                                  Other              JLL                               286,000   -                                     -               U
     585         Crossroads of the West Council      590        Logan Service Center                                          Office/Store       JLL                               585,000   -                                     -               U
     586         Crossroads of the West Council      590        Meyerhoffer                                                   Other              JLL                               260,000   -                                     -               U
     587         Crossroads of the West Council      590        Tifie                                                         Camp               JLL                             2,880,000   CBRE                            5,410,990             U
     588         Crossroads of the West Council      590        Ogden Service Center                                          Office/Store       JLL                             1,130,000   -                                     -               U
     589         Crossroads of the West Council      590        Hobble Creek                                                  Other              JLL                               670,000   -                                     -               U
     590         Crossroads of the West Council      590        Bear Lake Aquatics                                            Camp               CBRE                            2,097,936   -                                     -               R
     591         Crossroads of the West Council      590        Hinckley Scout Ranch & East Fork of the Bear Scout ReservationCamp               CBRE                            8,687,540   -                                     -               U
     592         Crossroads of the West Council      590        Teton High Adventure Base                                     Camp               CBRE                              675,150   -                                     -               U
     593         Crossroads Of The West              590        Camp Tracy                                                    Other              CBRE                            1,299,780   -                                     -               U
     594         Crossroads of the West Council      590        Lake Park                                                     Other              CBRE                            2,010,750   -                                     -               U
     595         Crossroads of the West Council      590        Hunt                                                          Camp               CBRE                              233,800   -                                     -               R
     596         Crossroads of the West Council      590        Schofield                                                     Camp               Council                         1,000,000   -                                     -               U
     597         Green Mountain                      592        Barre Town Property                                           Other              CBRE                               10,925   -                                     -               U




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                          Local Council     Local Council                          Property Name:                Property        Fair Market Value:   Fair Market Value:     Fair Market Value:   Fair Market Value:     Restriction Status:
     Line                    Name             Number                  Camp, Service Center, or Common Name         Type               Source 1              Value 1               Source 2              Value 2             BSA Review
     598         Green Mountain                  592        Camp Sunrise                                     Camp               CBRE                            1,102,350   -                                     -               U
     599         Green Mountain                  592        Mt Norris Scout Reservation                      Camp               CBRE                            1,989,788   -                                     -               L
     600         Green Mountain                  592        Georgia Property                                 Other              CBRE                               22,421   -                                     -               U
     601         Green Mountain                  592        Middlesex Propety                                Other              CBRE                                3,900   -                                     -               U
     602         Green Mountain                  592        Townshend Property                               Other              CBRE                               11,250   -                                     -               U
     603         Green Mountain                  592        Council Service Center                           Office/Store       JLL                               499,000   CBRE                              410,000             U
     604         Green Mountain                  592        Bradford Property                                Other              JLL                               306,000   CBRE                               21,150             U
     605         Tidewater                       596        Pipsico Scout Reservation                        Camp               CBRE                            5,725,000   -                                     -               L
     606         Shenandoah                      598        Armstrong Scout Service Center                   Office/Store       JLL                               735,000   -                                     -               U
     607         Shenandoah Area                 598        Camp Rock Enon                                   Camp               CBRE                            2,850,250   -                                     -               U
     608         Blue Ridge Mountains            599        New Mexico prop                                  Other              Council                            18,516   -                                     -               U
     609         Blue Ridge Mountains            599        Reservation                                      Camp               CBRE                          16,415,000    -                                     -               L
     610         Blue Ridge Mountains            599        Claytor Lake                                     Camp               CBRE                            4,256,063   -                                     -               L
     611         Heart of Virginia               602        Finley Albright Scout Reservation                Camp               CBRE                            5,194,600   Council                         2,730,000             R
     612         Heart of Virginia               602        Cub & Webelos Adventure Camp                     Camp               CBRE                              468,708   -                                     -               L
     613         Heart of Virginia               602        Camp T. Brady Saunders                           Camp               CBRE                            3,877,431   -                                     -               L
     614         Heart of Virginia               602        Highwoods Site                                   Other              Council                           390,000   -                                     -               L
     615         Blue Mountain                   604        Franklin County Property                         Other              JLL                               575,000   -                                     -               U
     616         Blue Mountain                   604        Camp Wallowa                                     Camp               CBRE                              450,000   -                                     -               R
     617         Blue Mountain                   604        Randall and Marie Martin Scout Ranch             Camp               CBRE                            2,384,382   -                                     -               R
     618         Mount Baker                     606        Everett Service Center                           Office/Store       JLL                             2,150,000   -                                     -               U
     619         Mount Baker                     606        Fire Mountain                                    Camp               CBRE                            1,752,930   -                                     -               L
     620         Chief Seattle                   609        Service Center                                   Office/Store       JLL                             8,230,000   CBRE                            8,359,560             U
     621         Chief Seattle                   609        Snoqualmie Pass                                  Other              JLL                             1,360,000   -                                     -               U
     622         Chief Seattle                   609        Camp Parsons                                     Camp               CBRE                            1,966,302   -                                     -               U
     623         Chief Seattle                   609        Cascade Scout Reservation                        Camp               CBRE                            2,689,103   -                                     -               L
     624         Great Alaska                    610        Eagle River Scout Camp                           Camp               JLL                               324,000   CBRE                              804,195             U
     625         Great Alaska                    610        Camp Carlquist #2                                Camp               Council                         1,050,000   -                                     -               U
     626         Great Alaska                    610        Camp Gorsuch                                     Camp               CBRE                              862,500   -                                     -               R
     627         Great Alaska                    610        Denali High Adventure Scout Base                 Camp               CBRE                              701,600   -                                     -               L
     628         Inland Northwest Council        611        Service Center                                   Office/Store       JLL                               890,000   -                                     -               L
     629         Inland Northwest Council        611        Camp Easton                                      Camp               CBRE                            3,244,025   -                                     -               R
     630         Inland Northwest Council        611        Camp Grizzly                                     Camp               CBRE                            1,540,000   -                                     -               R
     631         Inland Northwest Council        611        Cowles Scout Reservation                         Camp               CBRE                            2,699,646   -                                     -               L
     632         Pacific Harbors                 612        Camp Thunderbird                                 Camp               JLL                             2,380,000   CBRE                            1,385,230             U
     633         Pacific Harbors                 612        Camp Delazenne                                   Camp               CBRE                              124,383   -                                     -               R
     634         Pacific Harbors                 612        Camp Hahobas                                     Camp               JLL                               575,000   CBRE                              333,108             L
     635         Grand Columbia                  614        Camp Fife                                        Camp               CBRE                            1,617,788   -                                     -               R
     636         Grand Columbia                  614        Summit Lake                                      Camp               CBRE                              125,000   -                                     -               U
     636         Grand Columbia                  614        Camp Bonaparte                                   Camp               CBRE                               97,500   -                                     -               U
     637         Grand Columbia                  614        Scout-Avista                                     Camp               CBRE                              335,855   -                                     -               U
     638         Mountaineer Area                615        Service Center                                   Office/Store       JLL                               111,000   -                                     -               U
     639         Buckskin                        617        Camp Kootaga                                     Camp               CBRE                              511,250   -                                     -               R
     640         Ohio River Valley               619        Sandscrest Scout Reservation                     Camp               JLL                                60,000   -                                     -               U
     641         Ohio River Valley               619        Fort Steuben Scout Reservation                   Camp               CBRE                            1,673,848   -                                     -               U
     642         Glacier's Edge                  620        Camp Indian Trails                               Camp               JLL                               795,000   -                                     -               U
     643         Gateway Area                    624        Gamp Decorah                                     Camp               CBRE                            1,340,403   -                                     -               U
     644         Samoset                         627        Camp Phillips                                    Camp               JLL                               344,000   -                                     -               U
     645         Samoset                         627        Camp DuBay                                       Camp               JLL                                 2,630   -                                     -               U
     646         Samoset                         627        Crystal Lake Scout Reservation                   Camp               JLL                             2,640,000   -                                     -               U
     647         Bay-Lakes                       635        Scout Center/Office                              Office/Store       JLL                               515,000   CBRE                              630,753             L
     648         Bay-Lakes                       635        Bear Paw Scout Camp                              Camp               JLL                             1,020,000   CBRE                            1,280,000             U
     649         Bay-Lakes                       635        Gardner Dam Scout Camp                           Camp               CBRE                              762,411   -                                     -               R
     650         Bay-Lakes                       635        Camp Rokilio                                     Camp               CBRE                            1,128,900   -                                     -               L
     651         Bay-Lakes                       635        Strebel Property                                 Other              CBRE                              129,600   -                                     -               U




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     Line                     Name                Number                    Camp, Service Center, or Common Name         Type               Source 1              Value 1                Source 2              Value 2             BSA Review
     652         Three Harbors                       636        Milwaukee Scout Service Center                     Office/Store       JLL                             1,400,000   CBRE                             2,541,000             R
     653         Three Harbors                       636        Oh-Da-Ko-Ta                                        Camp               CBRE                            1,178,520   -                                      -               R
     654         Three Harbors                       636        Indian Mound Scout Reservation                     Camp               CBRE                            2,019,430   -                                      -               R
     655         Chippewa Valley                     637        Camp Brunswick                                     Camp               JLL                               390,000   -                                      -               U
     656         Chippewa Valley                     637        Council Office Building                            Office/Store       JLL                               545,000   -                                      -               U
     657         Chippewa Valley                     637        I. E. Phillips Scout Reservation                   Camp               CBRE                            3,490,536   -                                      -               U
     658         Greater New York                    640        Ten Mile River Scout Camps                         Camp               Council                       14,050,000    Keen                           26,250,000              U
     659         Greater New York                    640        Alpine Scout Camp                                  Camp               Keen                         175,000,000    -                                      -               R
     660         Greater New York                    640        William H. Pouch Scout Camp                        Camp               Council                         3,750,000   Keen                           27,125,000              L
     661         Potawatomi Area                     651        Camp Long Lake                                     Camp               JLL                               880,000   CBRE                             1,146,600             U
     662         Potawatomi Area                     651        Council Service Center                             Office/Store       JLL                             1,200,000   -                                      -               U
     663         Great Rivers                        653        Great Rivers Council Service Center                Office/Store       JLL                               420,000   -                                      -               U
     664         Blackhawk Area                      660        Camp Lowden                                        Camp               CBRE                            1,010,000   -                                      -               L
     665         Blackhawk Area                      660        Canyon Camp                                        Camp               CBRE                            1,668,940   -                                      -               L
     666         Blackhawk Area                      660        Crystal Lake Sevice Center                         Office/Store       JLL                               510,000   -                                      -               U
     667         Blackhawk Area                      660        Tumilowicz Center                                  Office/Store       JLL                               755,000   -                                      -               L
     668         Blackhawk Area                      660        Program Center                                     Other              JLL                               317,000   -                                      -               L
     669         Puerto Rico                         661        Camp Guajataka                                     Camp               CBRE                              913,685   -                                      -               R
     669         Puerto Rico                         661        Camp Guajataka - Buildings                         Camp               CBRE                                  -     -                                      -               R
     669         Puerto Rico                         661        Camp Guajataka - Basketball Court                  Other              CBRE                                  -     -                                      -               R
     669         Puerto Rico                         661        Camp Guajataka - Buildings                         Other              CBRE                                  -     -                                      -               R
     670         Heart of Texas d.b.a. Longhorn      662        Camp Tahuaya                                       Camp               JLL                               650,000   -                                      -               U
     670         Heart of Texas d.b.a. Longhorn      662        Camp Tahuaya                                       Camp               JLL                                   -     -                                      -               U
     670         Heart of Texas d.b.a. Longhorn      662        Camp Tahuaya                                       Camp               JLL                                   -     -                                      -               U
     671         Heart of Texas d.b.a. Longhorn      662        Camp Klondike                                      Camp               CBRE                               69,795   -                                      -               R
     672         Suwannee River Area                 664        Wallwood Boy Scout Reservation                     Camp               CBRE                            1,725,000   -                                      -               L
     673         Garden State                        690        Rental House - Elmer                               Other              JLL                                16,800   -                                      -               U
     674         Garden State                        690        Pill Hill Scout Reservation                        Camp               JLL                             1,600,000   CBRE                               820,849             U
     675         Garden State                        690        Camp Grice                                         Camp               CBRE                              205,931   -                                      -               L
     676         Garden State                        690        Rowan Training Center                              Office/Store       CBRE                              769,005   -                                      -               R
     677         Garden State                        690        Halgas Scout Reservation                           Camp               CBRE                              561,764   -                                      -               L
     678         Garden State                        690        Camp Roosevelt                                     Camp               CBRE                              731,400   -                                      -               L
     679         Garden State                        690        land                                               Other              CBRE                               13,878   -                                      -               U
     680         Garden State                        690        Riggins Service Center                             Office/Store       CBRE                              438,190   -                                      -               L
     681         Garden State                        690        Pine Tree Education and Environmental Center       Camp               CBRE                              560,282   -                                      -               L
     682         Garden State                        690        Rental House - Vineland                            Other              CBRE                              112,500   -                                      -               U
     683         Garden State                        690        Rowan Resource Center                              Office/Store       CBRE                              592,250   -                                      -               R
     684         Pushmataha Area                     691        Camp Seminole                                      Camp               JLL                               383,000   -                                      -               U
     685         South Plains                        694        Lott Scout Service Center                          Office/Store       JLL                               338,000   -                                      -               U
     686         South Plains                        694        CW Post Scout Camp                                 Camp               CBRE                            1,022,558   -                                      -               R
     687         South Plains                        694        Camp Haynes                                        Camp               CBRE                              160,000   -                                      -               R
     688         Black Hills Area                    695        Medicine Mountain Scout Ranch - Family Camp        Camp               JLL                               330,000   -                                      -               U
     689         Black Hills Area                    695        Medicine Mountain Scout Ranch                      Camp               JLL                               480,000   -                                      -               U
     690         Midnight Sun                        696        Earl & Pat Cook Service Center                     Office/Store       JLL                               340,000   -                                      -               U
     691         Oregon Trail                        697        Camp Mooney                                        Camp               CBRE                              735,138   -                                      -               U
     692         Oregon Trail                        697        Herb Nill Family & Guaranty Scout Center           Office/Store       CBRE                            1,800,000   -                                      -               U
     693         Oregon Trail                        697        Camp Murnane                                       Camp               CBRE                              412,895   -                                      -               R
     694         Oregon Trail                        697        Camp Baker                                         Camp               CBRE                            1,450,175   -                                      -               U
     695         Oregon Trail                        697        Camp Salholm                                       Camp               CBRE                              184,664   -                                      -               U
     696         Oregon Trail                        697        Camp Kitson                                        Camp               CBRE                              346,426   -                                      -               U
     697         Rainbow                             702        Camp Theakiki                                      Camp               JLL                               193,000   -                                      -               U
     698         Rainbow                             702        Rainbow Council Scout Reservation                  Camp               CBRE                            3,197,403   -                                      -               U
     698         Rainbow Council                     702        Rainbow Council Scout Reservation                  Other              CBRE                                  -     -                                      -               U
     698         Rainbow Council                     702        Rainbow Council Scout Reservation                  Other              CBRE                                  -     -                                      -               U
     698         Rainbow Council                     702        Rainbow Council Scout Reservation                  Other              CBRE                                  -     -                                      -               U




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Boy Scouts of America                                                                                                                                                                                                                   EXHIBIT 2
Local Council Property Value Information [1]
Disclosure Statement
June 3, 2021
($ in actuals)

                                                                                                                                                                                            [2]                                                [3]
                                                          Property Information                                                                                 Property Value Information                                 Restriction Review


                          Local Council         Local Council                        Property Name:                Property        Fair Market Value:   Fair Market Value:     Fair Market Value:   Fair Market Value:     Restriction Status:
     Line                    Name                 Number                Camp, Service Center, or Common Name         Type               Source 1              Value 1               Source 2              Value 2             BSA Review
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     698         Rainbow Council                     702       Rainbow Council Scout Reservation               Other              CBRE                                  -     -                                     -               U
     699         Sequoyah                            713       Service Center                                  Office/Store       JLL                               685,000   CBRE                              876,760             U
     700         Sequoyah                            713       Camp Davy Crockett                              Camp               CBRE                            3,672,000   -                                     -               U
     701         Sioux                               733       Camp Iyataka                                    Camp               JLL                               214,000   -                                     -               U
     702         Sioux                               733       Center for Scouting Service Center              Office/Store       JLL                             1,620,000   -                                     -               U
     703         Sioux                               733       Lewis and Clark Scout Camp                      Camp               CBRE                              777,392   -                                     -               U
     704         Sioux                               733       Newton Hills Scout Camp                         Camp               Council                           980,000   -                                     -               U
     705         Sioux                               733       Camp Shetek                                     Camp               CBRE                            1,270,000   -                                     -               U
     706         Texas Southwest                     741       Camp Fawcett                                    Camp               CBRE                              355,573   -                                     -               R
     707         Texas Southwest                     741       Camp Sol Mayer and Sol Mayer Ranch              Camp               CBRE                          12,883,579    -                                     -               R
     708         Yocona Area                         748       Camp Yocona                                     Camp               JLL                               730,000   -                                     -               U
     709         Virginia Headwaters (formerly Stonewall
                                                     763 Jackson)
                                                               Camp Shenandoah (Preserve)                      Camp               JLL                             3,300,000   CBRE                            1,732,800             U
     709         Virginia Headwaters (formerly Stonewall
                                                     763 Jackson)
                                                               Camp Shenandoah (Reservation)                   Camp               JLL                                   -     -                                     -               U
     710         Gulf Coast                          773       Spanish Trail Scout Reservation                 Camp               JLL                               193,000   -                                     -               U
     711         Gulf Coast                          773       Scout Service Center                            Office/Store       Council                           580,000   -                                     -               U
     712         Rio Grande                          775       Office Property                                 Other              CBRE                               98,194   -                                     -               R
     712         Rio Grande                          775       Scout Office                                    Office/Store       CBRE                                  -     -                                     -               R
     713         Rio Grande                          775       Camp Charles F. Perry                           Camp               CBRE                              477,225   -                                     -               R




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Boy Scouts of America                                                                                                                                                                                                                                                        EXHIBIT 2
Local Council Property Value Information [1]
Disclosure Statement
June 3, 2021
($ in actuals)

                                                                                                                                                                                                                     [2]                                                           [3]
                                                                 Property Information                                                                                                   Property Value Information                                            Restriction Review


                          Local Council            Local Council                         Property Name:                                Property           Fair Market Value:     Fair Market Value:       Fair Market Value:     Fair Market Value:             Restriction Status:
        Line                  Name                   Number                 Camp, Service Center, or Common Name                         Type                  Source 1                Value 1                 Source 2                Value 2                     BSA Review
        714        Washington Crossing                  777        Ockanickon Scout Reservation                                    Camp                  CBRE                              1,207,656      -                                      -                       L
        715        Washington Crossing                  777        Council Service Center                                          Office/Store          Council                             900,000      -                                      -                       R
        716        Michigan Crossroads                  780        DeVos Center for Scouting                                       Office/Store          JLL                               4,290,000      -                                      -                       U
        717        Michigan Crossroads                  780        Dauch Service Center                                            Office/Store          JLL                               1,960,000      CBRE                             4,900,000                     U
        718        Michigan Crossroads                  780        Traverse City Service Center                                    Office/Store          JLL                                 635,000      -                                      -                       U
        719        Michigan Crossroads                  780        Ann Arbor Service Center                                        Office/Store          JLL                               1,230,000      -                                      -                       U
        720        Michigan Crossroads                  780        Auburn Service Center                                           Office/Store          JLL                                 320,000      CBRE                             1,299,500                     U
        721        Michigan Crossroads                  780        Cole Canoe Base                                                 Camp                  CBRE                              1,929,200      -                                      -                       U
        722        Michigan Crossroads                  780        D-Bar-A Scout Ranch                                             Camp                  CBRE                              5,695,000      -                                      -                       U
        723        Michigan Crossroads                  780        Paul Bunyan Scout Res                                           Camp                  CBRE                              1,376,000      Council                          1,300,000                     U
        724        Michigan Crossroads                  780        Gerber Scout Reservation                                        Camp                  CBRE                              1,824,933      -                                      -                       R
        725        Michigan Crossroads                  780        Lost Lake Scout Res                                             Camp                  Council                           1,100,000      -                                      -                       U
        726        Michigan Crossroads                  780        Camp Munhacke                                                   Camp                  CBRE                                608,160      Council                          1,275,000                     L
        727        Michigan Crossroads                  780        Camp Teetonkah                                                  Camp                  CBRE                                952,560      -                                      -                       U
        728        Michigan Crossroads                  780        Rota-Kiwan Scout Reservation                                    Camp                  Council                           2,000,000      -                                      -                       U

 Footnotes
[1]
      The exhibit includes those properties owned by the Local Councils which were valued by JLL , CBRE, Keen Summit, or in limited cases other appraisers retained directly by the individual local councils.
  By order and approval of the United States Bankruptcy Court for the District of Delaware, JLL was retained by Boy Scouts of America and CBRE / Keen Summit retained by The Official Committee of Tort Claimants, respectively, to provide opinions of value for certain real property assets
owned by certain Local Councils.
  To minimize costs, the valuations were completed on a desktop basis and no site inspections were conducted.
  These opinions of value are concise and were developed using the best information available at the time of completion. The valuations do not reflect legal restrictions on the sale of the property. In some cases the valuations may reflect certain limitations on the use of the property.
  The Debtors' and local councils' work and review of local council properties remains ongoing and subject material change. The Debtors and local councils reserve all rights to update or amend as necessary.

[2]
      Certain properties are pending sale or may have been sold after the valuation was completed. Nothing herein is an admission that the property is still owned by the Council.
      CBRE reported high and low values for properties it valued, the average of which is included herein

[3]
    Certain properties owned by the local councils are subject to legal or other restrictions which may impact the value of the property and/or the ability to sell the property or use the proceeds of the property to satisfy claims against the local council. Restrictions based on
BSA Review reflects the Debtors' good faith effort to review documents provided by the applicable local council and assess the validity and nature of the asserted restriction. The Debtor's review may not be complete and may also not reflect other parties' views of the
enforceability of such restrictions. The restriction designations is based on the Debtors' review of the properties and may not reflect the view of the local councils and the local councils reserve their rights to assert additional properties are subject to restriction.
[2]
    U: Unrestricted - No restriction on the property was asserted or confirmed
[2]
    L: Limitations - Documents support existence of use limitations or sale limitations such as conservation easements which may impact the value of the property
[2]
    R: Restricted - Assertion of or documents supporting legal restrictions including donor restrictions to the sale of property and/or requiring the reversion of property or proceeds to an unrelated party.
[2]
    TBD: Assertion of restriction remains subject to review and/or additional documentation




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                        EXHIBIT E

           FINANCIAL PROJECTIONS ANALYSIS
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                                            Boy Scouts of America
                                                    Exhibit E
                                            Financial Projections1
Overview / Basis of Projections

         The Debtors believe that the Plan meets the feasibility requirement set forth in section
1129(a)(11) of the Bankruptcy Code (see Article IX of the Disclosure Statement), as Confirmation
is not likely to be followed by liquidation or the need for further financial reorganization of the
Debtors or any successors under the Plan. In connection with the development of the Plan and to
determine whether the Plan satisfies the feasibility standard, the Debtors analyzed their ability to
satisfy their financial obligations while maintaining sufficient liquidity and capital resources.

        The Debtors prepared consolidated condensed financial projections herein (the “Financial
Projections”) based on, among other things, the projected results of operations, financial position,
free cash flow and balance sheet of the Debtors and the Related Non-Debtor Entities. With the
assistance of the Debtors’ advisors, the Debtors’ management team developed and refined the
business plan and prepared consolidated financial projections for the fiscal years ending December
31, 2021 through December 31, 2025.

        Although the Financial Projections represent the Debtors’ commercially reasonable
estimates and good faith judgment (for which the Debtors’ management team believes it has a
reasonable basis) of the results of future operations, financial position, and cash flows of the
Debtors, the Financial Projections are only estimates and actual results may vary considerably
from the Financial Projections. Consequently, the Financial Projections should not be regarded as
a representation by the Debtors, the Debtors’ advisors or any other person that the projected results
of operations, financial position, or free cash flow of the Debtors will be achieved. The Financial
Projections are based on forecasts that may be significantly impacted by, among other factors, the
prolonged impact of COVID-19, changes in demand for the Debtors’ programming, member and
youth preferences, and changes in terms with material suppliers and vendors. Consequently, the
estimates and assumptions underlying the Financial Projections are inherently uncertain and are
subject to material operational, economic, and other uncertainties.

        The Financial Projections have been prepared by management, with the assistance of their
advisors, using accounting policies that are generally consistent with those applied in the Debtors’
historical financial statements. The Financial Projections were not, however, prepared with a view
toward compliance with guidelines established by the American Institute of Certified Public
Accountants, or the Financial Accounting Standards Board. The Financial Projections have not
been examined or compiled by independent accountants.




1
 All capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Plan or Disclosure
Statement, as applicable.
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        The Financial Projections should be read in conjunction with the significant assumptions,
qualifications and notes set forth below, as well as the assumptions, qualifications and explanations
set forth in the Disclosure Statement. See Article X of the Disclosure Statement – Risk Factors.

      THE FINANCIAL PROJECTIONS CONTAIN CERTAIN STATEMENTS THAT ARE
“FORWARD-LOOKING” WITHIN THE MEANING OF THE PRIVATE SECURITIES
LITIGATION REFORM ACT OF 1995. THESE STATEMENTS ARE SUBJECT TO A
NUMBER OF ASSUMPTIONS, RISKS AND UNCERTAINTIES, MANY OF WHICH ARE
BEYOND THE CONTROL OF THE DEBTORS, INCLUDING THE IMPLEMENTATION OF
THE PLAN, THE CONTINUING AVAILABILITY OF SUFFICIENT BORROWING
CAPACITY OR OTHER FINANCING TO FUND OPERATIONS, MAINTAINING GOOD
EMPLOYEE, MEMBER, AND DONOR RELATIONS, EXISTING AND FUTURE
GOVERNMENTAL REGULATIONS AND ACTIONS OF GOVERNMENT BODIES,
NATURAL DISASTERS AND UNUSUAL WEATHER CONDITIONS, ACTS OF
TERRORISM OR WAR, ORGANIZATIONAL-SPECIFIC RISK FACTORS (AS DETAILED
IN ARTICLE X OF THE DISCLOSURE STATEMENT ENTITLED “RISK FACTORS”), AND
OTHER MARKET AND COMPETITIVE CONDITIONS. HOLDERS OF CLAIMS AND
INTERESTS ARE CAUTIONED THAT THE FORWARD-LOOKING STATEMENTS SPEAK
AS OF THE DATE MADE AND ARE NOT GUARANTEES OF FUTURE PERFORMANCE.
ACTUAL RESULTS OR DEVELOPMENTS MAY DIFFER MATERIALLY FROM THE
EXPECTATIONS EXPRESSED OR IMPLIED IN THE FORWARD-LOOKING
STATEMENTS, AND THE DEBTORS UNDERTAKE NO OBLIGATION TO UPDATE ANY
SUCH STATEMENTS.

      THE FINANCIAL PROJECTIONS, WHILE PRESENTED WITH NUMERICAL
SPECIFICITY, ARE NECESSARILY BASED ON A VARIETY OF ESTIMATES AND
ASSUMPTIONS WHICH, THOUGH CONSIDERED REASONABLE BY THE DEBTORS,
MAY NOT BE REALIZED AND ARE INHERENTLY SUBJECT TO SIGNIFICANT
OPERATIONAL, ECONOMIC, REGULATORY AND FINANCIAL UNCERTAINTIES AND
CONTINGENCIES, MANY OF WHICH ARE BEYOND THE DEBTORS’ CONTROL AND
WILL BE BEYOND REORGANIZED BSA’S CONTROL. THE DEBTORS CAUTION THAT
NO REPRESENTATIONS CAN BE MADE OR ARE MADE AS TO THE ACCURACY OF
THE FINANCIAL PROJECTIONS OR THE REORGANIZED BSA’S ABILITY TO ACHIEVE
THE PROJECTED RESULTS.      SOME ASSUMPTIONS INEVITABLY WILL BE
INACCURATE.     MOREOVER, EVENTS AND CIRCUMSTANCES OCCURRING
SUBSEQUENT TO THE DATE ON WHICH THE DEBTORS PREPARED THESE
FINANCIAL PROJECTIONS MAY BE DIFFERENT FROM THOSE ASSUMED, OR,
ALTERNATIVELY MAY HAVE BEEN UNANTICIPATED, AND THUS THE
OCCURRENCE OF THESE EVENTS MAY AFFECT FINANCIAL RESULTS IN A
MATERIALLY ADVERSE OR MATERIALLY BENEFICIAL MANNER. EXCEPT AS
OTHERWISE PROVIDED IN THE PLAN OR DISCLOSURE STATEMENT, THE DEBTORS
AND REORGANIZED BSA, AS APPLICABLE, DO NOT INTEND AND UNDERTAKE NO
OBLIGATION TO UPDATE OR OTHERWISE REVISE THE FINANCIAL PROJECTIONS
TO REFLECT EVENTS OR CIRCUMSTANCES EXISTING OR ARISING AFTER THE DATE
THE DISCLOSURE STATEMENT IS INITIALLY FILED OR TO REFLECT THE
OCCURRENCE OF UNANTICIPATED EVENTS.       THEREFORE, THE FINANCIAL
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PROJECTIONS MAY NOT BE RELIED UPON AS A GUARANTY OR OTHER ASSURANCE
OF THE ACTUAL RESULTS THAT WILL OCCUR. IN DECIDING WHETHER TO VOTE
TO ACCEPT OR REJECT THE PLAN, HOLDERS OF CLAIMS MUST MAKE THEIR OWN
DETERMINATIONS AS TO THE REASONABLENESS OF SUCH ASSUMPTIONS AND
THE RELIABILITY OF THE FINANCIAL PROJECTIONS AND SHOULD CONSULT WITH
THEIR OWN ADVISORS.




  THE DEBTORS BELIEVE THAT THE CONFIRMATION AND CONSUMMATION OF THE
  PLAN ARE NOT LIKELY TO BE FOLLOWED BY THE LIQUIDATION OR FURTHER
  REORGANIZATION OF REORGANIZED BSA OR ITS SUCCESSORS. ACCORDINGLY,
  THE DEBTORS BELIEVE THAT THE PLAN SATISFIES THE FEASIBILITY
  REQUIREMENT OF SECTION 1129(A)(11) OF THE BANKRUPTCY CODE.




Accounting Policies

       The Financial Projections have been prepared using accounting policies that are consistent
with those applied in the Debtors’ historical financial statements.

        Upon emergence from chapter 11, Reorganized BSA will implement “fresh start” reporting
pursuant to Statement of Position 90-7, “Financial Reporting by Entities in Reorganization Under
the Bankruptcy Code,” as codified in Accounting Standards Codification (“ASC”) Topic 852,
“Reorganization.” The main principles of fresh start reporting require that the value of the
emerging entity be allocated to all of the entity’s assets in conformity with the procedures specified
by Statement of Financial Accounting Standards (“SFAS”) No. 141R, “Business Combinations,”
as codified in ASC Topic 805, “Business Combinations,” and any portion of the value that cannot
be attributed to specific tangible or identifiable intangible assets of the emerging entity is required
to be reported as goodwill.

Assumptions and Methodologies to the Financial Projections

       General Assumptions

        The Financial Projections were developed on a consolidated basis for the Debtors and the
Related Non-Debtor Entities and take into account the assumptions noted below, as well as the
current environment in which the Debtors operate, including many economic and financial forces
that are beyond the control of the Debtors. The Debtors are a not-for-profit entity providing
outdoor-focused youth programming in the United States, its territories and certain locations
outside of the United States, both directly at four high adventure facilities owned or operated by
the BSA and indirectly through approximately 251 Local Councils which collectively charter more
than 50,000 Cub Scout, Scouts BSA and affiliated programs units. Economic growth or
slowdowns on a national or regional basis, including continuing impacts from COVID-19, may

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impact the Debtors’ and Reorganized BSA’s revenues and expenses. In addition, general trends
and changes within the market for youth programming and the ability of the BSA and the Local
Councils to raise donations to support their programming may impact performance.

      Plan and Effective Date: The Financial Projections assume that the Plan will be
       consummated in accordance with its terms and that all transactions contemplated by the
       Plan will be consummated on or about December 31, 2021, and that Reorganized BSA will
       continue to conduct operations substantially similar to their businesses currently.

      Forecast Period: The Debtors prepared the Financial Projections based on, among other
       things, the anticipated future financial condition and results of operations of Reorganized
       BSA and the terms of the Plan. The Debtors prepared consolidated Financial Projections
       of the Boy Scouts of America for the years ending December 31, 2021, through December
       31, 2025.

      Foundation Loan: The Financial Projections assume the Debtors receive proceeds from a
       second-lien term loan made on the Effective Date by the Foundation in the amount of $42.8
       million (the “Foundation Loan”). The Foundation Loan will provide for equal quarterly
       amortization over the 10-year period following the Effective Date with an annual interest
       rate of 6.5%.

      BSA Settlement Trust Contribution: The Financial Projections assume the Debtors
       contribute to the Settlement Trust on the Effective Date all of the Unrestricted Cash and
       Investments as of the Effective Date, after Reorganized BSA has received the proceeds of
       the Foundation Loan, less (i) $39,000,000, which shall be funded first from the proceeds
       of the Foundation Loan, (ii) an amount of Cash equal to the JPM Exit Fee, (iii) an amount
       of Cash sufficient to fund all unpaid Allowed Administrative Expense Claims, including
       the Allowed Hartford Administrative Expense Claim, (iv) without duplication, an amount
       of Cash sufficient to fund the Professional Fee Reserve, (v) an amount of Cash equal to the
       Creditor Representative Fee Cap, (vi) the amount of Cash estimated to be required to
       satisfy Allowed Priority Tax Claims, Allowed Other Priority Claims, Allowed Secured
       Claims, and Allowed Convenience Claims, and (vii) an amount of Cash sufficient to fund
       all accrued but unpaid interest and reasonable fees and expenses of JPM as of the Effective
       Date to the extent not paid pursuant to the Cash Collateral Order. Additionally, the
       Financial Projections assume the Debtors contribute to the Settlement Trust on the
       Effective Date the net proceeds from the sale of the Scouting University building and all
       of the BSA’s right, title and interest in and to (a) the Artwork, (b) the Oil and Gas Interests,
       and (c) the Warehouse and Distribution Center, subject to the Leaseback Requirement, or
       the proceeds of a third-party sale-leaseback of the Warehouse and Distribution Center for
       fair market value.

      Proposed Resolution of Restricted and Core Asset Disputes: The Plan includes a
       proposed resolution of all disputes regarding the Debtors’ designation of assets as
       “restricted” or “core,” including the claims asserted in the complaint filed by the Tort
       Claimants’ Committee in the adversary proceeding entitled Official Tort Claimants’
       Committee of Boy Scouts of America and Delaware BSA, LLC v. Boy Scouts of America
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       and Delaware BSA, LLC, Adv. Pro. No. 21-50032 (LSS) by the BSA reallocating $50
       million of restricted investments to fund operations, thereby allowing the BSA to make the
       corresponding increased contribution to the Settlement Trust, reflected in the BSA
       Settlement Trust Contribution above. The Financial Projections assume these investments
       are released in equal monthly amounts from January 1, 2022 to April 30, 2023, but timing
       of release and use of funds is subject to their applicable restrictions.

      BSA Settlement Trust Note: A second-lien secured promissory note is assumed to be
       issued by the Reorganized BSA to the Settlement Trust on the Effective Date with a
       principal amount of $80,000,000. The note will bear interest at a rate of 5.5% per annum,
       payable semi-annually, subject to a payment-in-kind election for the eighteen (18) months
       immediately following the Effective Date. Principal under the BSA Settlement Trust Note
       shall be payable in annual installments due on February 15 of each year during the term of
       the BSA Settlement Trust Note, commencing on February 15 of the second year following
       the Effective Date. Such annual principal payments shall be equal to the sum of the
       following calculation: (a) $4,500,000; plus (b) $3.50 multiplied by the aggregate number
       of Youth Members as of December 31 of the preceding year up to the forecasted number
       of Youth Members for such year as set forth in the Debtors’ Financial Projections; plus (c)
       $50 multiplied by the aggregate number High Adventure Base Participants during the
       preceding calendar year; plus (d) $50 multiplied by the aggregate number of Youth
       Members in excess of the forecasted number of Youth Members for such year, excluding
       the portion of the excess that is comprised of members under the ScoutReach program, as
       set forth in the Debtors’ Financial Projections; plus (e) $150 multiplied by the aggregate
       High Adventure Base Participants, excluding those attending events with a registration fee
       of less than $300 (e.g., for non-typical High Adventure Base activities), in excess of the
       forecasted number of High Adventure Base Participants for such year as set forth in the
       Debtors’ Financial Projections, if applicable. Refer to the table in the Projected
       Consolidated Unrestricted Income Statement section for forecasted Youth Members and
       High Adventure Base Participants.

      Core Value Cash Pool: The Financial Projections assume that holders of Allowed General
       Unsecured Claims will be paid a total of $25 million in four equal semi-annual installments
       over the 24-month period following the Effective Date; a liability has therefore been
       established on Reorganized BSA’s balance sheet for such obligation. The Financial
       Projections also assume amortization under the Restated Debt Documents will not be
       payable until 24 months after the Effective Date.



Projected Income Statement

        Operating Surplus / (Deficit) After Restriction Release is not a measure of financial
performance under GAAP, and is not intended to represent cash flow from operations under
GAAP. However, Operating Surplus is utilized as a measure of operations and the Debtors’ ability
to meet indebtedness service requirements. The Projected Consolidated Statements of Operations
do not reflect potential impacts from fresh start accounting. Certain restructuring expenses related
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to financing may be capitalized and amortized over time; however, are reflected herein as expensed
when incurred.

       Revenue Assumptions

   a. Membership Levels – Membership levels are assumed to decrease in 2021 by 13%,
      primarily due to the impact of COVID-19 on programing, but are forecasted to stabilize
      between 2023 to 2024 and achieve modest growth in 2024 and 2025 driven by the
      following factors:
           Adjustments to programming and operations to account for reduced membership,
             including the departure of Scouts affiliated with the Church of Jesus Christ of
             Latter-day Saints.
           Channeling all Abuse Claims to the Settlement Trust, which will remove a
             significant impediment to the Debtors’ continued operational success.
           Broadening program access for girls and young women, thus potentially doubling
             total potential participants in Cubs Scouts and Scouts BSA age groups.
           Reimaging public relations campaign to bolster positive visibility and move the
             organization past bankruptcy, which can generate new interest in Scouting and
             generate increased donations.
           Improving the organization’s online registration system.
           Improving the rechartering system for Local Councils and Chartered Organizations.
           Expanding delivery methods that make it easier for individuals who might not have
             access to a local Scouting unit to participate through lone Cub Scouting and
             increasing these Scouts’ virtual experience.
           Gradual restoration of Local Council resources / refocus on membership growth.

   b. Registration Fees – Consist of membership fees and joining fees for youth members and
      adult volunteers. Assumes marginal annual fee increases for traditional youth members
      from 2021-2025, roughly corresponding to an inflationary rate.

   c. Supply Operations – Consist of retail and wholesale sales of apparel, badges, equipment,
      and other merchandise sold at Scout Shops, online, and to Local Councils and third parties.
      Assumes COVID-19 impacts are largely diminished by the summer of 2021 and the
      traditionally high sales season in the fall is not anticipated to be significantly impacted.
      Assumes annual price increases from 2021-2025 to offset inflation and sales volume
      fluctuates with membership.

   d. High Adventure Facilities (“HAF”) – Consist of registration fees to attend the facilities,
      trading post sales, and other revenues. Assumes the BSA retains all four HAFs and all
      HAFs return to normal operations for the summer of 2021. Assumes modest annual price
      increases for 2021-2025. Attendance is assumed to be slightly reduced in 2023 due to the
      assumption that the National Jamboree (as described below) is held, but is anticipated to
      stabilize in 2024 and beyond.



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e. National Jamboree – Consist of fees from Scouts and volunteers for a large-scale Scout
   event typically held every four years. Assumes events to be held in 2023 and 2026, with
   revenue largely recorded in such years.

f. Other Revenues – Consist of service fees paid from Local Councils, other event fees,
   unrestricted contributions, unit charter fees, and other miscellaneous revenues. Other
   revenues are largely consistent with preliminary 2020 results. Oil and gas royalties cease
   as the Effective Date as the underlying rights are contributed to the Settlement Trust on the
   Effective Date.

   Expense Assumptions

a. Payroll & Benefits – Expenses forecasted to decline in 2021 driven by annualizing the
   impact of headcount reductions implemented in 2020, slightly offset by an increase in the
   retirement policy for defined benefit pension and 403(b) funding from 7.75% to 12% of
   eligible wages. Assumes 2.5% annual wage increases and 3.5% annual benefits inflation
   from 2021-2025.

   Note that the BSA provides certain benefits to Local Council employees at cost and also
   collects contributions to the defined benefit pension plan on the same percentage of wages.
   These amounts are not reflected in the projections as they are as passed through. The
   contributions to the defined benefit pension plan from the retirement policy by both the
   BSA and the Local Councils are expected to be sufficient to avoid any other contributions
   to the plan during the forecast period. Pursuant to the Plan, the Restoration Plan, a non-
   qualified retirement plan, is terminated and therefore there is no ongoing expense. The
   Financial Projections include approximately $5 million contributed into the pension plan
   on behalf of the BSA each year. Depending on performance of the pension plan, the BSA
   may not be required to make this entire contribution to the pension. If lower pension
   contributions are made, cash would increase from what is currently projected.

b. Supply Operating Expenses – Assumes 2.5% annual wage increases for full-time
   employees from 2021-2025. Assumes cost of goods sold, part-time wages and other
   operating costs are largely variable based on sales volume. Assumes the National
   Distribution Center is contributed to the Settlement Trust on the Effective Date, and space
   is leased-back to the BSA.

c. High Adventure Facilities Expenses – Assumes 2.5% annual wage increases for full-time
   employees from 2021-2025. Assumes seasonal employees and some operating costs are
   variable based on revenue and scout attendance.

d. GLIP Expenses – Predominately consist of insurance premiums and 2021 estimates reflect
   the current assessment of the insurance renewal process, which are slightly reduced from
   2020 amounts. Insurance premiums are assumed to increase 4% annually from 2022-2025.
   Assumes no changes in the current insurance programs. Expenses also include some legal
   and administrative fees, which are assumed to remain stable throughout the projection
   period.

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   e. Other Expenses – Consist of external services, operating, information technology, travel,
      marketing, facilities, non-GLIP insurance, National Jamboree-related, and other expenses.
      2021 is assumed to be relatively stable to 2020 with additional cost cuts offsetting areas of
      higher post-COVID activity. National Jamboree expenses are expected to drive 2023
      expense increases.

Free Cash Flow Assumptions

   a. Debt Service – Assumes the Prepetition Obligations, owed to JPM, are amended and
      restated on the Effective Date on terms that are substantially the same as the terms of the
      Prepetition Debt Documents, except that (i) the obligations under the Restated Debt
      Documents will be secured by a blanket lien on all of the BSA’s assets; (ii) the maturity
      dates under the Restated Debt Documents are extended ten years after the Effective Date;
      (iii) there is a 24-month amortization holiday under the Restated Debt Documents, with
      deferred amortization amounts to be paid at maturity; (iv) the revolving credit facility
      provided under the 2019 RCF Documents will be frozen and converted to a term loan; and
      the Restated Debt Documents will provide for the Excess Cash Sweep (as discussed
      below). As the financial statements are presented on a consolidated basis, the Foundation
      Loan is an intercompany payable from the BSA to the Foundation and thus eliminated on
      the balance sheet, such amortization and interest is shown as debt service for illustrative
      purposes.

   b. BSA Settlement Trust Note Debt Service – Assumes a note with a principal amount of $80
      million is issued to the Settlement Trust on the Effective Date with an annual interest rate
      of 5.5%, payable semi-annually, which is assumed to be paid-in-kind through June 30,
      2023, Annual principal amounts, including a fixed $4.5 million and variable amounts as
      described above, commence for the fiscal year 2022 and are payable on February 15th of
      each year, with the first such payment being due and payable on February 15 of the second
      year following the Effective Date. For simplicity, the Financial Projections reflect these
      amounts as if they were paid on December 31 of the applicable year.

   c. Capital Expenditures – Reflect estimate for capital projects for the High Adventure
      Facilities, IT systems, and Supply operations. Assumes roughly stable spending over the
      forecast period.

   d. Other Working Capital Changes – Changes in working capital reflect usage of inventory
      in relation to Supply sales, changes to unearned income related to estimated HAF
      attendance, increases in insurance premium prepaid amounts, and timing of payments for
      the National Jamboree.

   e. Excess Cash Sweep – The Financial Projections assume that 25% of the Excess Cash and
      Investments in excess of $75 million after accounting for principal due under the BSA
      Settlement Trust Note on the following February 15th, if any, will be applied pro rata by
      facility to outstanding JPM debt principal balances under the Restated Debt Documents on
      December 31, 2023, December 31, 2024, and December 31, 2025. Such principal
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              payments are additional to the regularly scheduled amortization payments and will reduce
              the balloon principal amounts due at maturity. There are no Excess Cash Sweep payments
              forecasted through 2025.



Projected Consolidated Unrestricted Income Statement




($ in millions)                                                        Actual           Preliminary                                           Financial Projections                                           Total
                                                                              (1)                  (1)
Year                                                                   2019                 2020                      2021             2022             2023             2024              2025             2021 - 2025
Year-end Estimated Youth Members                                       2,118,449            1,199,425                1,050,200         994,403          977,733          983,773          1,010,898
 Scoutreach Members in Above                                                                                            95,000          93,100           93,100           94,031             94,971
Year-end Estimated HAF Attendees                                         50,816               13,211                   58,696           52,500           49,800           54,350            55,150
 High Adventure Base Participants in Above                                                                             54,696           47,000           43,800           47,850            47,650
 Other HAF Participants in Above (2)                                                                                    4,000            5,500            6,000            6,500             7,500

Revenues
   Registration Fees                                               $           65       $            88          $           74    $          74    $          75    $          79    $           83    $             385
   Supply Operations (Gross)                                                  119                    51                      83               80               80               82                87                  412
   High Adventure Facilities (Gross)                                           58                    15                      63               60               61               71                73                  328
   National Jamboree Fees                                                       -                     -                       -                4               16                -                 4                   24
    Other Revenues
                     (3)                                                      181                    33                      32               39               39               40                41                  191
    Total Revenues                                                            423                  187                    252             257              271              272                288                 1,340
Operating Expenses
    Payroll and Benefits (Excluding Supply & HAF)
                                                     (4)                        68                   56                      42               44               45               46                47                  225
    Supply Operating Expenses
                                         (4)                                    99                   57                      69               68               68               70                72                  347
    High Adventure Facilities Operating Expenses
                                                   (4)                          47                   30                      50               48               48               51                51                  247
    GLIP Expenses (Gross)
                                  (5)                                         112                    39                      41               42               43               45                46                  217
    Other Expenses
                    (3)                                                       185                    36                      29               33               49               31                35                  178
    Total Expenses                                                            511                  218                    231             235              254              243                252                 1,214
Operating Surplus / (Deficit)                                $                (89) $               (31)          $           21    $          22    $          18    $          29    $           36    $             126
(before Debt Service, Capex, Depreciation and Restructuring)
Net Assets Released from Restrictions                                          12                    8                        8               41               16                4                 4                   73
Operating Surplus / (Deficit) After Restriction Release            $          (77) $               (23)          $           29    $          63    $          34    $          33    $           40    $             199
Cash Flow Items
    Debt Service - Interest
                                 (6)                                            (7)                  (7)                     (7)           (10)             (10)             (10)                 (9)                  (46)
    Debt Service - Principal
                                   (6)                                        (11)                   (2)                      -               (4)              (4)           (18)               (19)                   (46)
    Debt Service - BSA Settlement Trust Note - Interest
                                                           (7)                      -                    -                    -                -               (2)              (4)               (3)                   (9)
    Debt Service - BSA Settlement Trust Note - Principal
                                                             (7)                    -                    -                    -            (10)             (10)             (10)               (10)                   (42)
    Excess Cash Sweep
                           (8)                                                      -                    -                    -                -                -                -                 -                      -
    Capital Expenditures (Non-Summit)                                         (16)                   (5)                     (4)            (4)              (4)              (4)                (4)                   (21)
    Other Working Capital Changes                                              52                    57                      16             (2)               0                1                  3                     17
    Cash Flow Items                                                            18                    43                       4            (32)             (31)             (46)               (42)                  (146)
Estimated Unrestricted Free Cash Flow                              $          (59) $                 20          $           33    $          32    $          3     $       (13) $               (3)   $              53
(before Depreciation, Restructuring, Creditor Settlements / Contributions)

                                           (9)
Core Value Cash Pool Payments                                                                                                 -            (13)             (13)                 -                 -                   (25)
Estimated Unrestricted Cash Flow                                                                                 $           33    $          19    $          (9) $         (13) $               (3)   $              28
(before Depreciation, Restructuring, Effective Date Creditor Contributions)


Footnotes:
(1) 2019 results are unaudited and 2020 results are preliminary and unaudited
(2) Primarily consists of non-traditional HAF activities that include adult attendees, such as attendees at the Philmont Training Center and family camp programs. Figures do not
    include attendees for third party events or National Jamborees
(3) 2019 Other Revenue and Other Expenses are increased due to the World Scout Jamboree, which was a one-time large event
(4) Payroll and benefits represent G&A/corporate expenses. Payroll related to High Adventure Facilities ("HAF") and Supply is captured in HAF and Supply operating expenses
(5) Excludes $10 million of expenses recorded to the GLIP program in both 2020 and 2021 related to letter of credit draws and conversion to funded debt. Such expenses are treated
    as restructuring-related herein
(6) Includes quarterly principal and interest for the JPM funded debt and Foundation Loan
(7) Assumes paid-in-kind election made for first 18 months
(8) Reflects 25% of estimated unrestricted cash and investments above $75 million as of December 31, if any, to be applied to JPM's principal balances beginning in 2023
(9) Reflects semi-annual payments to holders of Allowed General Unsecured Claims beginning six months after the Effective Date




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Projected Pro Forma Consolidated Balance Sheet – December 31, 2021


($ in millions)                                                           Pre-Emergence   Reorganization           Post-Emergence
                                                                            12/31/2021     Adjustments               12/31/2021
Assets
  Cash and Cash Equivalents
  Cash and cash equivalents - Unrestricted                                $         105   $          (83)   (a.)   $          22
  GAAP Restricted Cash - LC Cash Collateral                                          63              (63)   (b.)               -
  Donor Restricted Cash                                                              22                -                      22
  Total cash and cash equivalents                                                   191             (146)                     45
  Investments, at fair value
  Investments - Unrestricted                                                         17                -                      17
  Investments - Donor Restricted                                                    179              (43)   (c.)             136
  Total Investments, at fair value                                                  196              (43)                    153
  Accounts receivable                                                                12                -                      12
  Pledges receivable                                                                 17                -                      17
  Other receivables                                                                   1                -                       1
  Gift annuities                                                                      6                -                       6
  Prepaid expenses                                                                   15                -                      15
  Inventories                                                                        46                -                      46
  Land, buildings, and equipment, net                                               465               (3)   (d.)             462
  Other                                                                              12                -                      12
  Total Assets, excluding Non-Controlling Interests                       $         960   $         (192)          $         768

Liabilities
  Accounts payable and accrued liabilities                                $          95   $          (65)   (e.)   $          30
  Core Value Claims Payable                                                           -               25    (f.)              25
  Gift annuities                                                                      6                -                       6
  Unearned fees and subscriptions                                                    51                -                      51
  Notes payable including line of credit
   Secured funded debt                                                              242               19    (g.)             261
   BSA Settlement Trust Note                                                          -               80    (h.)              80
   Total Notes payable including line of credit                                     242               99                     341
  Insurance reserves                                                                239             (232)   (i.)               7
  Total liabilities                                                       $         633   $         (174)   (j.)   $         458

Net Assets
  Unrestricted Net Assets - controlling interest                          $         116   $           25           $         141
  Restricted Net Assets - controlling interest                                      212              (43)                    169

  Total Net Assets, excluding Non-Controlling Interests                   $         327   $          (17)   (k.)   $         310

  Total Net Assets and Liabilities, excluding Non-Controlling Interests   $         960   $         (192)          $         768

  Estimated Unrestricted Liquidity                                        $         122   $          (83)          $          39




Notes to Projected Pro Forma Balance Sheet

       The pro forma balance sheet adjustments contained herein account for (i) the
reorganization and related adjustments pursuant to the Plan and (ii) the estimated impact from the
implementation of fresh start accounting pursuant to ASC Topic 852, “Reorganization.”

        The Debtors have not yet completed their fresh start reporting analysis. The Financial
Projections have limited fresh start accounting adjustments and the values ultimately used by the

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Debtors in implementing fresh start reporting may differ from this estimate. Likewise, the
Debtors’ allocation of values to individual assets and liabilities is based upon preliminary estimates
that are subject to change upon the formal implementation of fresh start reporting and could result
in material differences to the allocated values included in these Financial Projections. For purposes
of estimating the impact of fresh start accounting, the Debtors’ have assumed that the book value
of all of their assets are adjusted to fair market value. Also contained herein is Exhibit 1: Retained
Property List.

   a. Exit Costs / Cash Contributions – The net change in unrestricted cash of $(83) million is
      comprised of the following components:
          Professional Fee Reserve – Restructuring professional fees outstanding as of the
             Effective Date, which are estimated to be approximately $60 million are reserved
             and not part of Reorganized BSA’s assets. This amount includes approximately $15
             million in Coalition Restructuring Expenses.
          Proceeds of the Foundation Loan – The Foundation is assumed to issue a $42.8
             million loan to Reorganized BSA on the Effective Date, which is to be transferred
             from the Foundation’s restricted investments.
          Administrative Expense Claims Reserve – Administrative claims, estimated as
             approximately $450,000, are assumed to be paid on the Effective Date.
          Creditor Representative Fee Cap – Reorganized BSA will reserve on the Effective
             Date $100,000, which is the maximum amount of reasonable fees and actual and
             necessary costs and expenses payable by Reorganized BSA to the Creditor
             Representative.
          Allowed Priority Tax Claims – Priority tax claims, estimated as less than $100,000
             are assumed to be paid on the Effective Date.
          Allowed Other Priority Claims – Other priority claims, estimated as less than
             $100,000 are assumed to be paid on the Effective Date.
          Allowed Convenience Claims – Convenience claims, estimated as approximately
             $2.6 million, are assumed to be paid on the Effective Date.
          JPM Exit Fee – The facility exit fee is assumed to be approximately $1.3 million
             and to be paid on the Effective Date.
          Accrued and Unpaid JPM Interest – Estimated unpaid interest of approximately
             $700,000 is assumed to be paid on the Effective Date.
          Allowed Hartford Administrative Expense Claim – Estimated to be approximately
             $2 million.
          Trust Contributions – The Financial Projections assume that the Net Unrestricted
             Cash and Investments which are estimated at approximately $59 million, will be
             contributed to the Settlement Trust.

   b. Cash Collateral – Assumes substantially all letters of credit are drawn on the Effective Date
      and are converted to funded debt. Approximately $63 million cash collateral is assumed
      to be used to partially reimburse JPM for such draws.

   c. Restricted Investments – Reflects, from a consolidated BSA perspective, the transfer of
      cash from the Foundation’s restricted investments as loaned to Reorganized BSA.

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d. Land, Buildings and Equipment – The Scouting University building and the Warehouse
   and Distribution Center are assumed to be contributed to the Settlement Trust as of the
   Effective Date. No changes assumed in remaining values or depreciation expense pending
   fresh start accounting.

e. Accounts Payable – Assumes outstanding restructuring professional fees, inclusive of
   Coalition professional fees, (estimated to be approximately $60 million) are reserved on
   the Effective Date. Additionally, accrued and unpaid JPM interest and fees of
   approximately $700,000 are assumed to be paid on the Effective Date. All prepetition trade
   liabilities, which are estimated to be approximately $5 million, will be settled in accordance
   with the terms of the Plan. Note that the other General Unsecured Claims comprised of
   Restoration Plan Claims and Deferred Compensation claims were not recorded on the
   Debtor’s pre-emergence balance sheet and thus no reduction for the resolution of those
   claims is reflected.

f. Core Value Claims Payable – Reflects the establishment of a new $25 million liability for
   the Core Value Cash Pool to be paid to Allowed General Unsecured Claims over 2 years.

g. First Lien Debt – The Plan contemplates a restructured capital structure for the Debtors
   consisting of (a) $40 million of 2010 Notes, (b) $146 million of 2012 Notes, (c) a $64
   Revolving Credit Facility, (d) an $11 million Term Loan, and (e) $5 million of undrawn
   letters of credit, which are off balance sheet. Assumes approximately $81 million of letters
   of credit are drawn on the Effective Date and converted to secured funded debt, which are
   partially reimbursed by the $63 million of cash collateral outstanding. Note that while the
   Foundation Loan is to be issued on the Effective Date, it is treated as an intercompany loan
   and not funded debt.

h. BSA Settlement Trust Note – Assumes a new $80 million promissory note is issued to the
   Settlement Trust on the Effective Date.

i. Insurance Reserves – Prepetition liability amounts are assumed to be eliminated on the
   Effective Date as Abuse Claims will be channeled to the Settlement Trust and Non-Abuse
   Litigation Claims will recover from available Insurance Coverage. Post-emergence
   amounts relates to non-general liability insurance.

j. The defined benefit Pension Plan assets and liabilities are not reflected on the balance sheet.

k. Represents the net accounting loss from completion of the reorganization, primarily due to
   Settlement Trust contributions and the issuance of the BSA Settlement Trust Note.




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Projected Consolidated Balance Sheet (1)




($ in millions)                                                                         (1)(2)                 (1)(2)                                                 (1)(3)
                                                                                 Actual          Preliminary                                  Financial Projections
Year Ending                                                                        2019                2020                 2021            2022          2023                 2024            2025
Assets
  Cash and Cash Equivalents
   Cash and cash equivalents - Unrestricted                                     $         94      $         55          $          22   $        37   $        27     $               14   $      12
   GAAP Restricted Cash - LC Cash Collateral                                              63                63                      -             -             -                      -           -
   Donor Restricted Cash                                                                  42                33                     22            22            22                     22          22
   Total cash and cash equivalents                                                       199               151                     45            59            50                     37          34
  Investments, at fair value
    Investments - Unrestricted                                                           130               132                  17               17            17                  17             17
    Investments - Donor Restricted                                                       148               167                 136              110           109                 119            130
    Total Investments, at fair value                                                     277               299                 153              127           126                 136            147
  Accounts receivable                                                                     22                10                  12               12            12                  12             12
  Pledges receivable                                                                      36                17                  17               17            17                  17             17
  Other receivables                                                                        1                 1                   1                1             1                   1              1
  Gift annuities                                                                           7                 6                   6                6             6                   6              6
  Prepaid expenses                                                                        28                15                  15               16            16                  16             16
  Inventories                                                                             67                59                  46               46            46                  46             46
  Land, buildings, and equipment, net                                                    497               480                 462              448           434                 420            405
  Other                                                                                   12                12                  12               12            12                  12             12
  Total Assets, excluding Non-Controlling Interests                             $      1,147      $      1,050          $      768      $       743   $       718     $           702      $     696

Liabilities
  Accounts payable and accrued liabilities                                      $        106      $            63       $          30   $        31   $        28     $               28   $      31
  Core Value Claims Payable
                               (4)                                                         -                    -                  25            13             -                      -           -
  Gift annuities                                                                            7                   6                   6             6             6                      6           6
  Unearned fees and subscriptions                                                          43                  53                  51            48            51                     52          52
  Notes payable including line of credit
   Secured funded debt                                                                   225               232                 261              261           261                 247            232
   BSA Settlement Trust Note                                                               -                 -                  80               74            66                  55             45
   Total notes payable including line of credit                                          225               232                 341              335           326                 302            277
  Insurance reserves                                                                     235               239                   7                7             7                   7              7
  Total liabilities                                                             $        615      $        593          $      458      $       438   $       418     $           394      $     373
Net Assets
  Unrestricted Net Assets - controlling interest                                $        309      $        257          $      141      $       162   $       159     $           156      $     161
  Restricted Net Assets - controlling interest                                           223               200                 169              143           142                 152            163
  Total Net Assets, excluding Non-Controlling Interests                         $        533      $        457          $      310      $       305   $       300     $           308      $     323

  Total Net Assets and Liabilities, excluding Non-Controlling Interests         $      1,147      $      1,050          $      768      $       743   $       718     $           702      $     696

  Estimated Unrestricted Liquidity
                                     (5)                                        $        224      $        188          $          39   $        53   $        44     $               31   $      29

Footnotes:
(1) Presented excluding non-controlling interests
(2) 2019 is unaudited. 2020 reflects preliminary, unaudited results. Amounts are subject to change
(3) Financial Projections reflect limited fresh start accounting assumptions and do not include any significant revaluation of assets
(4) Reflects the establishment of a new $25 million liability for the Core Value Cash Pool on the Effective Date, which is to be paid to Allowed General Unsecured Claims
    in semi-annual installments over a 24-month period
(5) Consists of unrestricted cash & equivalents and unrestricted investments




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Projected Consolidated Statement of Cash Flows




($ in millions)                                                                              (1)                               Financial Projections
                                                                               Preliminary
Year Ending                                                                         2020               2021             2022              2023              2024              2025
Operating Surplus / (Deficit) After Restriction Release                        $          (23)     $          29    $          63     $          34     $          33     $          40

 Interest Expense - JPM & Foundation Loan                                                  (7)              (7)                (10)              (10)              (10)               (9)
 Interest Expense - BSA Settlement Trust Note                                               -                -                   -                (2)               (4)               (3)
 Cash Restructuring / Reorganization Expenses
                                                (2)                                       (56)            (221)                 (5)                -                 -                 -
 Core Value Cash Pool Payments                                                                -                 -              (13)              (13)                -                 -

 Changes in Assets & Liabilities
 Unearned Income and Prepaid Expenses                                                      23                 (2)               (3)                3                 1                 0
 Accounts receivable                                                                       12                 (1)               (0)                -                 -                 -
 Pledges receivable                                                                        19                  -                 -                 -                 -                 -
 Other receivables                                                                          0                  -                 -                 -                 -                 -
 Gift annuities                                                                             1                  -                 -                 -                 -                 -
 Inventories                                                                                9                 13                 -                 -                 -                 -
 Other                                                                                      1                  -                 -                 -                 -                 -
 Accounts payable and accrued liabilities (excluding restructuring)                       (26)                (3)                1                (3)                -                 3
 Gift annuities                                                                            (1)                 -                 -                 -                 -                 -
 Other / Adjustments
                     (3)                                                                   14                  6                 -                 -                 -                 -
Cash Flow from Operating Activities                                                       (35)            (187)                33                10                20                31

 Capital Expenditures                                                                     (11)             (8)                  (8)               (8)               (8)               (8)
 Investment Transfers / Disbursements
                                       (4)                                                  -             158                    -                 -                 -                 -
 Donor Restricted Cash Usage (Summit Capital Expenditures)                                    9             4                    4                 4                 4                 4
Cashflow from Investing Activities                                                           (2)          154                   (4)               (4)               (4)               (4)

 Amortization - JPM & Foundation Loan                                                        (2)                -               (4)               (4)              (18)              (19)
 Amortization - BSA Settlement Trust Note                                                     -                 -              (10)              (10)              (10)              (10)
 Excess Cash Sweep                                                                            -                 -                -                 -                 -                 -
Cashflow from Financing Activities                                                           (2)                -              (15)              (15)              (29)              (29)

Total Change in Unrestricted Cash (excluding unrestricted investments)         $          (39)     $          (33) $           14     $           (9) $            (13) $             (2)

Beginning Unrestricted Cash Balance (excluding investments)                                94                 55               22                37                27                14
Ending Unrestricted Cash Balance (excluding investments)                                   55                 22               37                27                14                12

Footnotes:
(1) 2020 reflects preliminary, unaudited results. Amounts are subject to change
(2) Includes estimated cash restructuring fees paid and contributions to trust on the Effective Date
(3) Includes non-cash working capital adjustments, such as reserves for inventory and pledge receivables in 2020
(4) Reflects transfers from unrestricted investment account to cash for restructuring and operating expenses, as well as proceeds from the Foundation Loan via
    Foundation's restricted investments




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Boy Scouts of America                                                                                                                      EXHIBIT 1
Retained Property List


($ in millions)                                   Estimated BSA Only Assets Immediate Post Effective Date (1)
                                                                                Restricted
                                                                               and/or Core            Unrestricted
                                                       Total Balance             Property              Property
ASSETS
  Cash & Equivalents
    Cash & Equivalents                             $               45      $              22      $              22
    LC Collateral (JPM) (2)                                         -                      -                      -
      Total Cash                                                   45                     22                     22

  Investments
    General Investments (3)                                      121                     111                     10
    Order of the Arrow                                             -                       -                      -
        Total Investments                                        121                     111                     10

  Land & Buildings
    National Headquarters (4)                                      11                        -                   11
     Scouting University Building (5)                                  -                     -                       -
     Warehouse and Distribution Center (5)                          -                        -                    -
       Subtotal Land & Buildings                                   11                        -                   11
     High Adventure Facilities: (6)
     Philmont Scout Ranch (4)                                    153                     153                         -
     Florida Sea Base (4)                                          29                     29                         -
     Northern Tier (4)                                             8                       8                         -
       Subtotal Adventure Bases                                  190                     190                         -

        Total Land & Buildings                                   201                     190                     11

  Furniture & Equipment                                            28                        -                   28

  Accounts Receivable                                              12                        -                   12

  Pledges Receivable (NPV, net of allowances)
    Donor Restricted Pledges Receivable, net                       15                     15                         -
    Unrestricted Receivable, net                                    -                      -                         -
      Total Pledge Receivable                                      15                     15                         -

  Inventory                                                        46                        -                   46

  Prepaids & Deferred Charges                                      15                        -                   15

  Other Assets
    Misc. Summit Assets                                             5                      5                         -
    Gift Annuity & Pooled Income Investments                        7                      7                         -
      Total Other Assets                                           11                     11                         -

  Other Receivables
    Note Receivable from Arrow WV (6)                              43                     43                      -
    Other Interfund Rec/(Pay)                                     (11)                     -                    (11)
      Total Interfund Receivable                                   32                     43                    (11)

TOTAL ASSETS (7)                                   $             527       $             393      $             134



(1) Represents property that was Identified Property and 541 Property respectively during the chapter 11 process that is retained by Reorganized
(2) Assumes substantially all letters of credit are drawn by the Effective Date and ~$63 million cash collateral is utilized to reimburse JPM for such
(3) Approximately $6.5 million of non-Debtor unrestricted investments are included in unrestricted operating cash retained on the Effective Date
    but excluded in the Debtor amounts above.
(4) Reflects amounts based on appraisals for high adventure bases as of August 2020 and broker opinion of value for National HQ. Value is
    assumed consistent throughout the period as no appraisal is expected on the Effective Date
(5) Net sale proceeds of Scouting University building and value of the Warehouse and National Distribution Center to be contributed to the Trust,
    along with the Artwork and Oil & Gas Leases (not shown), on the Effective Date
(6) The Summit high adventure facility is in a separate legal entity, Arrow WV. BSA has a note receivable due from Arrow, which was $361
    million as of 6/30/21. Amount based on appraisals / projected sale proceeds per third party appraisal for Summit
(7) Total assets do not tie to the estimated pro forma consolidated balance sheet because (a) this schedule represents BSA-only assets, (b) pro
    forma balance sheet reflects limited fresh start accounting, and (c) property values and Arrow intercompany balance reflect appraisal values
    vs. book values
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                        EXHIBIT F

            ABUSE CLAIMS LIST COMPOSITE
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     Unique and Timely Abuse Claim Count by Allegation

                                                            Unique &
                                                                           Percent
                 Most Severe Allegation                   Timely Abuse
                                                                           of Total
                                                          Claim Count
     1. Penetration                                               24,539       30%
     2. Oral Sex                                                  18,856       23%
     3. Masturbation                                              13,022       16%
     4. Groping                                                   17,138       21%
     5. Touching-Unclothed                                         1,879        2%
     6. Touching-Clothed                                           1,294        2%
     7. Unknown/Unconfirmed                                        3,817        5%
     8. Missing                                                    1,664        2%
     Total                                                        82,209      100%




Analysis based on manually-reviewed POC data received as of 7/2/2021                              1
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     Unique and Timely Abuse Claim Count by Local Council
     Rows in white list Abuse claims against individual Local Councils. Rows in blue (with the exception of "UNKNOWN" and "MISSING") list Abuse claims
     against more than one Local Council.

                                                                                                                                 All Unique & All Not-Barred,
                                                                   Local Council                                                    Timely    Unique & Timely
                                                                                                                                    Claims*       Claims*
     UNKNOWN                                                                                                                          19,156             6,010
     MISSING                                                                                                                          10,358             2,847
     MICHIGAN CROSSROADS                                                                                                               1,736                67
     GREATER NEW YORK                                                                                                                  1,600             1,567
     PATHWAY TO ADVENTURE                                                                                                              1,519               162
     GREATER LOS ANGELES                                                                                                               1,328             1,300
     GREATER ST. LOUIS AREA                                                                                                              921                64
     SAM HOUSTON AREA                                                                                                                    826                54
     GOLDEN GATE AREA                                                                                                                    759               736
     SPIRIT OF ADVENTURE                                                                                                                 709                34
     CROSSROADS OF THE WEST                                                                                                              686                25
     HEART OF AMERICA                                                                                                                    665                26
     NATIONAL CAPITAL AREA                                                                                                               630               160
     CRADLE OF LIBERTY                                                                                                                   599                82
     CIRCLE TEN                                                                                                                          586                39
     CASCADE PACIFIC                                                                                                                     565                94
     SOUTH FLORIDA COUNCIL                                                                                                               553                11
     GRAND CANYON                                                                                                                        544               522
     NORTHERN NEW JERSEY                                                                                                                 525               495
     CALIFORNIA INLAND EMPIRE                                                                                                            508               494
     LAKE ERIE                                                                                                                           494                23
     BALTIMORE AREA                                                                                                                      488                22
     GREATER TAMPA BAY AREA                                                                                                              487                19
     ATLANTA AREA                                                                                                                        470                26
     GOLDEN EMPIRE                                                                                                                       467               453
     GREATER ALABAMA                                                                                                                     445                13
     SAN DIEGO - IMPERIAL COUNCIL                                                                                                        443               430
     CROSSROADS OF AMERICA                                                                                                               442                12
     LINCOLN HERITAGE                                                                                                                    429                13
     LONGHORN                                                                                                                            429                21
     NARRAGANSETT                                                                                                                        402                14
     ORANGE COUNTY                                                                                                                       402               390
     QUAPAW AREA                                                                                                                         392               378
     SIMON KENTON                                                                                                                        390                30
     LAUREL HIGHLANDS                                                                                                                    383                20
     DAN BEARD                                                                                                                           381                23
     CHICKASAW                                                                                                                           377                63
     DENVER AREA                                                                                                                         370               333
     SOUTHEAST LOUISIANA                                                                                                                 370               346
     CHIEF SEATTLE                                                                                                                       356                12
     NORTHERN STAR                                                                                                                       352               323
     LAST FRONTIER                                                                                                                       326                 6
     CENTRAL FLORIDA                                                                                                                     321                14
     SILICON VALLEY MONTEREY BAY                                                                                                         321               313
     ALAMO AREA                                                                                                                          309                12
     CONNECTICUT RIVERS                                                                                                                  307                39
     NORTH FLORIDA                                                                                                                       307                14
     BUCKSKIN                                                                                                                            284                30
     QUIVIRA                                                                                                                             275                10
     THREE HARBORS                                                                                                                       275                 5
     WESTERN LOS ANGELES COUNTY                                                                                                          273               267
     MID-AMERICA                                                                                                                         272                16
     MIDDLE TENNESSEE                                                                                                                    272                 4
     GREAT SOUTHWEST                                                                                                                     265                30
     GARDEN STATE                                                                                                                        263               248
     SEQUOIA                                                                                                                             260               251
     GREAT TRAIL                                                                                                                         255                15
     GREATER NIAGARA FRONTIER                                                                                                            250               240
     CONNECTICUT YANKEE                                                                                                                  249                40
     PACIFIC HARBORS                                                                                                                     241                 5
     MAYFLOWER                                                                                                                           238                 8
     SENECA WATERWAYS                                                                                                                    235               227
     TIDEWATER                                                                                                                           232                23
     PATRIOTS' PATH                                                                                                                      229               220
     TWIN RIVERS                                                                                                                         227               216
     CATALINA                                                                                                                            218               215
     GREATER YOSEMITE                                                                                                                    215               210
     INDIAN NATIONS                                                                                                                      215                10
     OCCONEECHEE                                                                                                                         214               200
     WESTCHESTER-PUTNAM                                                                                                                  214               209
     ANDREW JACKSON                                                                                                                      207                12
     BLUE GRASS                                                                                                                          207                 7
     WESTERN MASSACHUSETTS                                                                                                               200                 4
     ALOHA                                                                                                                               196               188
     LAS VEGAS AREA                                                                                                                      196                58
     SUFFOLK COUNTY                                                                                                                      196               185
     LONGHOUSE                                                                                                                           194               188
     THEODORE ROOSEVELT                                                                                                                  194               190
     PINE TREE                                                                                                                           192               178
     GULF COAST                                                                                                                          191                 6
     DANIEL WEBSTER                                                                                                                      190                18




Analysis based on manually-reviewed POC data received as of 7/2/2021                                                                                             1
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     Unique and Timely Abuse Claim Count by Local Council
     Rows in white list Abuse claims against individual Local Councils. Rows in blue (with the exception of "UNKNOWN" and "MISSING") list Abuse claims
     against more than one Local Council.

                                                                                                                                 All Unique & All Not-Barred,
                                                                   Local Council                                                    Timely    Unique & Timely
                                                                                                                                    Claims*       Claims*
     GREAT SMOKY MOUNTAIN                                                                                                                185                5
     HEART OF NEW ENGLAND                                                                                                                183               12
     YUCCA                                                                                                                               182                8
     OZARK TRAILS                                                                                                                        181               13
     PINE BURR AREA                                                                                                                      181                6
     BUCKEYE                                                                                                                             179                8
     EAST CAROLINA                                                                                                                       179              174
     NEW BIRTH OF FREEDOM                                                                                                                179                6
     GULF STREAM                                                                                                                         177                3
     OLD NORTH STATE                                                                                                                     177              171
     ERIE SHORES                                                                                                                         176                7
     TRANSATLANTIC                                                                                                                       176                4
     INLAND NORTHWEST                                                                                                                    174                7
     BAY-LAKES                                                                                                                           171                3
     LONG BEACH AREA                                                                                                                     165              159
     OREGON TRAIL                                                                                                                        164               31
     COASTAL CAROLINA                                                                                                                    162               11
     HEART OF VIRGINIA                                                                                                                   161                7
     MID-IOWA                                                                                                                            159                3
     ISTROUMA AREA                                                                                                                       158              149
     SOUTHERN SIERRA                                                                                                                     156              150
     BLACKHAWK AREA                                                                                                                      155               17
     BLUE RIDGE                                                                                                                          153               16
     MIAMI VALLEY                                                                                                                        153                6
     MOUNT BAKER                                                                                                                         151                5
     W.D. BOYCE                                                                                                                          151               18
     THREE FIRES                                                                                                                         149               18
     PIEDMONT 420                                                                                                                        144              140
     THREE RIVERS                                                                                                                        144                4
     INDIAN WATERS                                                                                                                       143               14
     MONTANA                                                                                                                             143              139
     MOUNTAIN WEST                                                                                                                       143                5
     DEL-MAR-VA                                                                                                                          140               24
     CRATER LAKE COUNCIL                                                                                                                 138               68
     CAPITOL AREA                                                                                                                        135               11
     SOUTH TEXAS                                                                                                                         135                6
     HUDSON VALLEY                                                                                                                       132              128
     MOBILE AREA                                                                                                                         132                4
     LASALLE                                                                                                                             130                3
     COASTAL GEORGIA                                                                                                                     128                6
     GOLDEN SPREAD                                                                                                                       128               11
     CHATTAHOOCHEE                                                                                                                       126                0
     ILLOWA                                                                                                                              126                9
     SOUTHWEST FLORIDA                                                                                                                   125                4
     LONGS PEAK COUNCIL                                                                                                                  124               94
     TUKABATCHEE AREA                                                                                                                    124                1
     LOUISIANA PURCHASE                                                                                                                  122              119
     NEVADA AREA                                                                                                                         122               49
     EAST TEXAS AREA                                                                                                                     120                5
     NORTHEAST GEORGIA                                                                                                                   119               12
     OLD HICKORY                                                                                                                         119              114
     SAGAMORE                                                                                                                            117                5
     WESTARK AREA                                                                                                                        115              112
     MINSI TRAILS                                                                                                                        114               19
     BUFFALO TRACE                                                                                                                       113                3
     BLUE RIDGE MOUNTAINS                                                                                                                111                6
     JERSEY SHORE                                                                                                                        109              103
     MONMOUTH                                                                                                                            109              107
     PACIFIC SKYLINE                                                                                                                     109              106
     NORTHEAST ILLINOIS                                                                                                                  108               11
     NORTHERN LIGHTS                                                                                                                     108               38
     COLONIAL VIRGINIA                                                                                                                   105                6
     GLACIER'S EDGE                                                                                                                      105                0
     BADEN POWELL                                                                                                                        104               96
     NORWELA                                                                                                                             104               99
     ANTHONY WAYNE AREA                                                                                                                  103                3
     FRENCH CREEK                                                                                                                        102               12
     GREEN MOUNTAIN                                                                                                                      101               99
     PIKES PEAK                                                                                                                          101               94
     CAPE FEAR                                                                                                                           100               99
     CHEROKEE AREA 556                                                                                                                    99                2
     BAY AREA                                                                                                                             98                6
     GREAT ALASKA                                                                                                                         98               96
     SOUTH PLAINS                                                                                                                         98                4
     MECKLENBURG COUNTY                                                                                                                   97               94
     VENTURA COUNTY                                                                                                                       97               95
     RIO GRANDE                                                                                                                           96               10
     BUFFALO TRAIL                                                                                                                        95                5
     CENTRAL GEORGIA                                                                                                                      94                3
     CENTRAL NORTH CAROLINA                                                                                                               94               93
     GRAND COLUMBIA                                                                                                                       94                1




Analysis based on manually-reviewed POC data received as of 7/2/2021                                                                                            2
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                                                                                                                                 All Unique & All Not-Barred,
                                                                   Local Council                                                    Timely    Unique & Timely
                                                                                                                                    Claims*       Claims*
     LEATHERSTOCKING                                                                                                                      92               90
     LOS PADRES                                                                                                                           91               87
     SOUTH GEORGIA                                                                                                                        90                6
     GEORGIA-CAROLINA                                                                                                                     89                3
     PEE DEE AREA                                                                                                                         89                8
     RAINBOW                                                                                                                              87               17
     EVANGELINE AREA                                                                                                                      86               84
     CALCASIEU                                                                                                                            85               80
     PALMETTO                                                                                                                             85               24
     GRAND TETON                                                                                                                          84                4
     PRAIRIELANDS                                                                                                                         83               10
     ROCKY MOUNTAIN                                                                                                                       83               69
     HAWK MOUNTAIN                                                                                                                        82                6
     PUERTO RICO                                                                                                                          81                2
     HOOSIER TRAILS                                                                                                                       79                3
     TECUMSEH                                                                                                                             79                6
     WASHINGTON CROSSING                                                                                                                  79               17
     BLACK SWAMP AREA                                                                                                                     78                9
     PENNSYLVANIA DUTCH                                                                                                                   78                8
     FIVE RIVERS                                                                                                                          77               66
     SEQUOYAH                                                                                                                             77                0
     VERDUGO HILLS                                                                                                                        75               75
     NORTHWEST TEXAS                                                                                                                      74                0
     TEXAS TRAILS                                                                                                                         74                1
     BLACK WARRIOR                                                                                                                        73                1
     GREAT RIVERS                                                                                                                         73                7
     NORTHEASTERN PENNSYLVANIA                                                                                                            73                9
     FLINT RIVER                                                                                                                          72                6
     WESTMORELAND-FAYETTE                                                                                                                 71                2
     ALLEGHENY HIGHLANDS                                                                                                                  68               56
     BLUE MOUNTAIN                                                                                                                        67                3
     CORONADO AREA                                                                                                                        67                4
     REDWOOD EMPIRE                                                                                                                       66               65
     ALABAMA-FLORIDA                                                                                                                      65                2
     CONQUISTADOR                                                                                                                         65                4
     WEST TENNESSEE AREA                                                                                                                  64                0
     PONY EXPRESS                                                                                                                         62                5
     YOCONA AREA                                                                                                                          62                3
     CADDO AREA                                                                                                                           61               46
     CIMARRON                                                                                                                             61                4
     DANIEL BOONE                                                                                                                         61               60
     WINNEBAGO                                                                                                                            61                1
     GAMEHAVEN                                                                                                                            60               59
     HAWKEYE AREA                                                                                                                         59                3
     FAR EAST                                                                                                                             58                1
     CORNHUSKER                                                                                                                           57                8
     CHIPPEWA VALLEY                                                                                                                      55                0
     KATAHDIN AREA                                                                                                                        55               54
     OHIO RIVER VALLEY                                                                                                                    55                4
     MORAINE TRAILS                                                                                                                       54                4
     PUSHMATAHA AREA                                                                                                                      54                2
     ABRAHAM LINCOLN                                                                                                                      53                6
     SUWANNEE RIVER AREA                                                                                                                  53                1
     OVERLAND TRAILS                                                                                                                      52                4
     TEXAS SOUTHWEST                                                                                                                      51                1
     CHESTER COUNTY                                                                                                                       50                3
     SUSQUEHANNA                                                                                                                          49                4
     SIOUX                                                                                                                                48                7
     TWIN VALLEY                                                                                                                          48               47
     MUSKINGUM VALLEY                                                                                                                     47                2
     NORTHWEST GEORGIA                                                                                                                    44                1
     VOYAGEURS AREA                                                                                                                       44               36
     IROQUOIS TRAIL                                                                                                                       42               40
     TUSCARORA                                                                                                                            42               37
     CHOCTAW AREA                                                                                                                         41                1
     JAYHAWK AREA                                                                                                                         41                1
     MOUNTAINEER AREA                                                                                                                     41                2
     MISSISSIPPI VALLEY                                                                                                                   40                3
     CAPE COD & ISLANDS                                                                                                                   39                3
     VIRGINIA HEADWATERS                                                                                                                  39                1
     MASON-DIXON                                                                                                                          38                1
     ARBUCKLE AREA                                                                                                                        35                1
     BLACK HILLS AREA                                                                                                                     35                1
     MARIN                                                                                                                                35               34
     CENTRAL NEW JERSEY                                                                                                                   34               32
     POTAWATOMI AREA                                                                                                                      32                1
     SAMOSET COUNCIL                                                                                                                      32                2
     CENTRAL MINNESOTA                                                                                                                    31               29
     CHEROKEE AREA 469                                                                                                                    31                1
     GREATER WYOMING                                                                                                                      31                0
     DE SOTO AREA                                                                                                                         30               29




Analysis based on manually-reviewed POC data received as of 7/2/2021                                                                                            3
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                                                                                                                                 All Unique & All Not-Barred,
                                                                   Local Council                                                    Timely    Unique & Timely
                                                                                                                                    Claims*       Claims*
     GATEWAY AREA                                                                                                                         29                3
     NORTHEAST IOWA COUNCIL                                                                                                               28                2
     SHENANDOAH AREA                                                                                                                      28                2
     JUNIATA VALLEY                                                                                                                       26                3
     RIP VAN WINKLE                                                                                                                       26               26
     MIDNIGHT SUN                                                                                                                         24               23
     BUCKTAIL                                                                                                                             23                1
     SANTA FE TRAIL                                                                                                                       19                2
     DIRECT SERVICE                                                                                                                       13                2
     HOUSATONIC                                                                                                                           10                3
     CHIEF CORNPLANTER                                                                                                                     8                1
     COLUMBIA-MONTOUR                                                                                                                      8                0
     PIEDMONT 042                                                                                                                          7                7
     GREENWICH                                                                                                                             4                1
     CENTRAL ESCARPMENT                                                                                                                    1                0
     GREATER TORONTO                                                                                                                       1                1
     CENTRAL NEW JERSEY; WASHINGTON CROSSING                                                                                              54               48
     CALIFORNIA INLAND EMPIRE; GREATER LOS ANGELES                                                                                        46               41
     NORTHERN NEW JERSEY; PATRIOTS' PATH                                                                                                  45               40
     GREATER LOS ANGELES; WESTERN LOS ANGELES COUNTY                                                                                      35               35
     CENTRAL NEW JERSEY; PATRIOTS' PATH                                                                                                   33               31
     NORTHERN LIGHTS; NORTHERN STAR                                                                                                       32               31
     ALOHA; DIRECT SERVICE                                                                                                                28               25
     COLONIAL VIRGINIA; TIDEWATER                                                                                                         27                1
     GOLDEN EMPIRE; GOLDEN GATE AREA                                                                                                      26               25
     GREATER NEW YORK; NORTHERN NEW JERSEY                                                                                                25               24
     GREATER NIAGARA FRONTIER; IROQUOIS TRAIL                                                                                             25               25
     DANIEL WEBSTER; SPIRIT OF ADVENTURE                                                                                                  24                0
     CIRCLE TEN; LONGHORN                                                                                                                 23                2
     CONNECTICUT RIVERS; CONNECTICUT YANKEE                                                                                               23                7
     GREAT TRAIL; NORTHERN NEW JERSEY                                                                                                     23                0
     GREATER ALABAMA; MOBILE AREA                                                                                                         21                0
     GREATER LOS ANGELES; ORANGE COUNTY                                                                                                   21               21
     BALTIMORE AREA; NATIONAL CAPITAL AREA                                                                                                20                3
     NORTHEAST ILLINOIS; PATHWAY TO ADVENTURE                                                                                             20                4
     CHIPPEWA VALLEY; NORTHERN STAR                                                                                                       19                8
     GOLDEN GATE AREA; GREATER YOSEMITE                                                                                                   19               19
     GREATER NEW YORK; THEODORE ROOSEVELT                                                                                                 19               19
     SUFFOLK COUNTY; THEODORE ROOSEVELT                                                                                                   19               19
     BUCKEYE; LAKE ERIE                                                                                                                   17                3
     CIRCLE TEN; WESTERN LOS ANGELES COUNTY                                                                                               17               17
     CROSSROADS OF AMERICA; DEL-MAR-VA                                                                                                    17                1
     GREATER NEW YORK; HUDSON VALLEY                                                                                                      17               15
     MAYFLOWER; SPIRIT OF ADVENTURE                                                                                                       17                0
     ATLANTA AREA; NORTHEAST GEORGIA                                                                                                      16                1
     PACIFIC SKYLINE; SILICON VALLEY MONTEREY BAY                                                                                         16               16
     CENTRAL NEW JERSEY; MONMOUTH                                                                                                         15               15
     GREATER ALABAMA; TUKABATCHEE AREA                                                                                                    15                0
     ALAMO AREA; SAM HOUSTON AREA                                                                                                         14                1
     CROSSROADS OF AMERICA; HOOSIER TRAILS                                                                                                14                0
     LAS VEGAS AREA; NEVADA AREA                                                                                                          14                3
     CHIEF SEATTLE; PACIFIC HARBORS                                                                                                       13                0
     GREATER LOS ANGELES; LONG BEACH AREA                                                                                                 13               12
     CONNECTICUT YANKEE; GREENWICH                                                                                                        12                2
     GOLDEN EMPIRE; GREATER YOSEMITE                                                                                                      12               12
     NORTHERN STAR; VOYAGEURS AREA                                                                                                        12               12
     CENTRAL MINNESOTA; NORTHERN STAR                                                                                                     11               11
     CRATER LAKE COUNCIL; LOS PADRES                                                                                                      11               11
     JUNIATA VALLEY; LAUREL HIGHLANDS                                                                                                     11                0
     LASALLE; PATHWAY TO ADVENTURE                                                                                                        11                0
     MAYFLOWER; NARRAGANSETT                                                                                                              11                0
     BAY-LAKES; MICHIGAN CROSSROADS                                                                                                       10                1
     CATALINA; GRAND CANYON                                                                                                               10                9
     CENTRAL FLORIDA; NORTH FLORIDA                                                                                                       10                0
     GOLDEN GATE AREA; PACIFIC SKYLINE                                                                                                    10               10
     GREAT TRAIL; LAKE ERIE                                                                                                               10                3
     GULF COAST; SOUTH TEXAS                                                                                                              10                0
     IROQUOIS TRAIL; LEATHERSTOCKING                                                                                                      10               10
     CROSSROADS OF AMERICA; SAGAMORE                                                                                                       9                0
     MICHIGAN CROSSROADS; PATHWAY TO ADVENTURE                                                                                             9                0
     NORTH FLORIDA; SUWANNEE RIVER AREA                                                                                                    9                0
     SOUTHERN SIERRA; WESTERN LOS ANGELES COUNTY                                                                                           9                9
     BLACK WARRIOR; GREATER ALABAMA                                                                                                        8                0
     GOLDEN GATE AREA; REDWOOD EMPIRE                                                                                                      8                8
     GREAT RIVERS; HEART OF AMERICA                                                                                                        8                0
     LONGHORN; SAM HOUSTON AREA                                                                                                            8                0
     MECKLENBURG COUNTY; PIEDMONT 420                                                                                                      8                7
     PATHWAY TO ADVENTURE; RAINBOW                                                                                                         8                2
     PATHWAY TO ADVENTURE; THREE FIRES                                                                                                     8                0
     BALTIMORE AREA; DEL-MAR-VA                                                                                                            7                1
     BLUE GRASS; LINCOLN HERITAGE                                                                                                          7                0




Analysis based on manually-reviewed POC data received as of 7/2/2021                                                                                            4
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     against more than one Local Council.

                                                                                                                                 All Unique & All Not-Barred,
                                                                   Local Council                                                    Timely    Unique & Timely
                                                                                                                                    Claims*       Claims*
     CIRCLE TEN; SAM HOUSTON AREA                                                                                                          7                0
     CRATER LAKE COUNCIL; REDWOOD EMPIRE                                                                                                   7                6
     GOLDEN EMPIRE; NEVADA AREA                                                                                                            7                7
     GOLDEN GATE AREA; NEVADA AREA                                                                                                         7                6
     LONG BEACH AREA; ORANGE COUNTY                                                                                                        7                6
     MIAMI VALLEY; TECUMSEH                                                                                                                7                0
     POTAWATOMI AREA; THREE HARBORS                                                                                                        7                0
     ATLANTA AREA; COASTAL GEORGIA                                                                                                         6                0
     CENTRAL NORTH CAROLINA; MECKLENBURG COUNTY                                                                                            6                6
     CRADLE OF LIBERTY; WASHINGTON CROSSING                                                                                                6                2
     DENVER AREA; LONGS PEAK COUNCIL                                                                                                       6                6
     FIVE RIVERS; SENECA WATERWAYS                                                                                                         6                5
     GARDEN STATE; JERSEY SHORE                                                                                                            6                6
     GARDEN STATE; NORTHERN NEW JERSEY                                                                                                     6                3
     GREATER NEW YORK; SUFFOLK COUNTY                                                                                                      6                6
     HEART OF AMERICA; QUIVIRA                                                                                                             6                0
     HEART OF VIRGINIA; TIDEWATER                                                                                                          6                2
     ISTROUMA AREA; SOUTHEAST LOUISIANA                                                                                                    6                5
     KATAHDIN AREA; PINE TREE                                                                                                              6                6
     MISSISSIPPI VALLEY; SPIRIT OF ADVENTURE                                                                                               6                0
     SAM HOUSTON AREA; THREE RIVERS                                                                                                        6                0
     ALAMO AREA; CAPITOL AREA                                                                                                              5                0
     ALLEGHENY HIGHLANDS; SENECA WATERWAYS                                                                                                 5                5
     ANDREW JACKSON; PINE BURR AREA                                                                                                        5                0
     BAY AREA; SAM HOUSTON AREA                                                                                                            5                1
     BAY-LAKES; PATHWAY TO ADVENTURE                                                                                                       5                0
     CHEROKEE AREA 469; QUAPAW AREA                                                                                                        5                0
     CHIEF SEATTLE; MOUNT BAKER                                                                                                            5                1
     DANIEL BOONE; PIEDMONT 420                                                                                                            5                5
     DANIEL WEBSTER; HEART OF NEW ENGLAND                                                                                                  5                0
     ERIE SHORES; LAKE ERIE                                                                                                                5                0
     GOLDEN EMPIRE; GREATER LOS ANGELES                                                                                                    5                5
     GREAT RIVERS; GREATER ST. LOUIS AREA                                                                                                  5                0
     GREAT SOUTHWEST; SAM HOUSTON AREA                                                                                                     5                0
     GREATER LOS ANGELES; SAM HOUSTON AREA                                                                                                 5                2
     GREATER LOS ANGELES; VERDUGO HILLS                                                                                                    5                5
     GREATER TAMPA BAY AREA; GULF COAST                                                                                                    5                0
     GREATER TAMPA BAY AREA; SOUTH FLORIDA COUNCIL                                                                                         5                0
     GULF STREAM; SOUTH FLORIDA COUNCIL                                                                                                    5                0
     HEART OF AMERICA; MID-AMERICA                                                                                                         5                0
     HEART OF NEW ENGLAND; MAYFLOWER                                                                                                       5                0
     LAUREL HIGHLANDS; MORAINE TRAILS                                                                                                      5                0
     LEATHERSTOCKING; LONGHOUSE                                                                                                            5                5
     NATIONAL CAPITAL AREA; TIDEWATER                                                                                                      5                0
     ALAMO AREA; TEXAS SOUTHWEST                                                                                                           4                0
     ANDREW JACKSON; PUSHMATAHA AREA                                                                                                       4                3
     ATLANTA AREA; FLINT RIVER                                                                                                             4                0
     BLUE RIDGE MOUNTAINS; TIDEWATER                                                                                                       4                0
     BUCKEYE; GREAT TRAIL                                                                                                                  4                0
     BUCKSKIN; MOUNTAINEER AREA                                                                                                            4                0
     CALCASIEU; LOUISIANA PURCHASE                                                                                                         4                4
     CALIFORNIA INLAND EMPIRE; WESTERN LOS ANGELES COUNTY                                                                                  4                4
     CAPE FEAR; DEL-MAR-VA                                                                                                                 4                3
     CAPITOL AREA; SAM HOUSTON AREA                                                                                                        4                2
     CASCADE PACIFIC; PINE TREE                                                                                                            4                3
     CHESTER COUNTY; CRADLE OF LIBERTY                                                                                                     4                0
     CHESTER COUNTY; WESTCHESTER-PUTNAM                                                                                                    4                4
     CORONADO AREA; JAYHAWK AREA                                                                                                           4                0
     CRADLE OF LIBERTY; MINSI TRAILS                                                                                                       4                0
     CROSSROADS OF AMERICA; CROSSROADS OF THE WEST                                                                                         4                0
     DAN BEARD; MIAMI VALLEY                                                                                                               4                0
     DANIEL BOONE; MECKLENBURG COUNTY                                                                                                      4                4
     DENVER AREA; PIKES PEAK                                                                                                               4                4
     GOLDEN EMPIRE; SILICON VALLEY MONTEREY BAY                                                                                            4                4
     GOLDEN GATE AREA; SILICON VALLEY MONTEREY BAY                                                                                         4                4
     GREAT ALASKA; MIDNIGHT SUN                                                                                                            4                4
     GREAT RIVERS; OZARK TRAILS                                                                                                            4                0
     GREATER ST. LOUIS AREA; HEART OF AMERICA                                                                                              4                0
     GREATER ST. LOUIS AREA; MISSISSIPPI VALLEY                                                                                            4                0
     GREATER ST. LOUIS AREA; PRAIRIELANDS                                                                                                  4                2
     GREATER YOSEMITE; SILICON VALLEY MONTEREY BAY                                                                                         4                4
     HEART OF AMERICA; OZARK TRAILS                                                                                                        4                0
     HEART OF NEW ENGLAND; HUDSON VALLEY                                                                                                   4                4
     ISTROUMA AREA; LOUISIANA PURCHASE                                                                                                     4                4
     LAUREL HIGHLANDS; WESTMORELAND-FAYETTE                                                                                                4                0
     LONG BEACH AREA; SILICON VALLEY MONTEREY BAY                                                                                          4                4
     LONGHORN; TEXAS TRAILS                                                                                                                4                0
     MECKLENBURG COUNTY; PALMETTO                                                                                                          4                2
     MID-AMERICA; MID-IOWA                                                                                                                 4                0
     MINSI TRAILS; NORTHEASTERN PENNSYLVANIA                                                                                               4                0
     MINSI TRAILS; NORTHERN NEW JERSEY                                                                                                     4                4




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                                                                                                                                 All Unique & All Not-Barred,
                                                                   Local Council                                                    Timely    Unique & Timely
                                                                                                                                    Claims*       Claims*
     NORTHEAST ILLINOIS; SAMOSET COUNCIL                                                                                                   4                0
     OLD HICKORY; OLD NORTH STATE                                                                                                          4                4
     PATHWAY TO ADVENTURE; THREE HARBORS                                                                                                   4                0
     RAINBOW; THREE FIRES                                                                                                                  4                3
     VERDUGO HILLS; WESTERN LOS ANGELES COUNTY                                                                                             4                4
     ALABAMA-FLORIDA; GREATER ALABAMA                                                                                                      3                0
     ATLANTA AREA; CENTRAL GEORGIA                                                                                                         3                0
     ATLANTA AREA; CHATTAHOOCHEE                                                                                                           3                0
     ATLANTA AREA; SOUTH GEORGIA                                                                                                           3                0
     BADEN POWELL; CRADLE OF LIBERTY                                                                                                       3                0
     BADEN POWELL; SUSQUEHANNA                                                                                                             3                2
     BADEN POWELL; TUSCARORA                                                                                                               3                3
     BLACKHAWK AREA; RAINBOW                                                                                                               3                1
     BLUE GRASS; SEQUOYAH                                                                                                                  3                0
     BLUE RIDGE; PALMETTO                                                                                                                  3                0
     BUCKEYE; SIMON KENTON                                                                                                                 3                0
     BUFFALO TRACE; LINCOLN HERITAGE                                                                                                       3                0
     CADDO AREA; QUAPAW AREA                                                                                                               3                3
     CALIFORNIA INLAND EMPIRE; ORANGE COUNTY                                                                                               3                3
     CAPITOL AREA; NATIONAL CAPITAL AREA                                                                                                   3                1
     CASCADE PACIFIC; CRATER LAKE COUNCIL                                                                                                  3                0
     CASCADE PACIFIC; PACIFIC HARBORS                                                                                                      3                0
     CENTRAL MINNESOTA; VOYAGEURS AREA                                                                                                     3                3
     CENTRAL NEW JERSEY; MINSI TRAILS                                                                                                      3                3
     CENTRAL NORTH CAROLINA; OCCONEECHEE                                                                                                   3                3
     CHATTAHOOCHEE; FLINT RIVER                                                                                                            3                1
     CHATTAHOOCHEE; GREATER ALABAMA                                                                                                        3                0
     CONNECTICUT RIVERS; HEART OF NEW ENGLAND                                                                                              3                1
     CONNECTICUT YANKEE; HOUSATONIC                                                                                                        3                0
     CONQUISTADOR; GREAT SOUTHWEST                                                                                                         3                0
     CRATER LAKE COUNCIL; OREGON TRAIL                                                                                                     3                1
     CROSSROADS OF AMERICA; MIAMI VALLEY                                                                                                   3                0
     CROSSROADS OF AMERICA; SIMON KENTON                                                                                                   3                0
     CROSSROADS OF THE WEST; GRAND TETON                                                                                                   3                0
     CROSSROADS OF THE WEST; MOUNTAIN WEST                                                                                                 3                0
     DAN BEARD; SIMON KENTON                                                                                                               3                1
     DANIEL WEBSTER; GREATER ST. LOUIS AREA                                                                                                3                0
     EAST CAROLINA; OCCONEECHEE                                                                                                            3                3
     EAST TEXAS AREA; THREE RIVERS                                                                                                         3                0
     GARDEN STATE; THEODORE ROOSEVELT                                                                                                      3                3
     GOLDEN GATE AREA; MARIN                                                                                                               3                3
     GRAND COLUMBIA; INLAND NORTHWEST                                                                                                      3                0
     GRAND TETON; MOUNTAIN WEST                                                                                                            3                0
     GREAT SMOKY MOUNTAIN; MIDDLE TENNESSEE                                                                                                3                0
     GREATER LOS ANGELES; GREATER YOSEMITE                                                                                                 3                3
     GREATER NEW YORK; GREATER NIAGARA FRONTIER                                                                                            3                3
     GREATER NEW YORK; SENECA WATERWAYS                                                                                                    3                3
     GREATER NEW YORK; WESTCHESTER-PUTNAM                                                                                                  3                3
     GREATER NIAGARA FRONTIER; SENECA WATERWAYS                                                                                            3                3
     GREATER ST. LOUIS AREA; NORTHEAST ILLINOIS                                                                                            3                0
     GREATER YOSEMITE; SOUTHERN SIERRA                                                                                                     3                3
     HEART OF AMERICA; JAYHAWK AREA                                                                                                        3                0
     HEART OF NEW ENGLAND; WESTCHESTER-PUTNAM                                                                                              3                3
     HUDSON VALLEY; WESTCHESTER-PUTNAM                                                                                                     3                3
     INLAND NORTHWEST; PACIFIC HARBORS                                                                                                     3                0
     LAUREL HIGHLANDS; NATIONAL CAPITAL AREA                                                                                               3                0
     LONGHORN; NORTHWEST TEXAS                                                                                                             3                0
     LOS PADRES; SEQUOIA                                                                                                                   3                3
     LOS PADRES; SOUTHERN SIERRA                                                                                                           3                3
     MAYFLOWER; WESTCHESTER-PUTNAM                                                                                                         3                3
     MICHIGAN CROSSROADS; NORTHEAST ILLINOIS                                                                                               3                0
     MID-AMERICA; OVERLAND TRAILS                                                                                                          3                0
     NEVADA AREA; PACIFIC SKYLINE                                                                                                          3                3
     NEW BIRTH OF FREEDOM; PENNSYLVANIA DUTCH                                                                                              3                0
     NORTHEAST GEORGIA; NORTHWEST GEORGIA                                                                                                  3                0
     NORTHEAST ILLINOIS; THREE FIRES                                                                                                       3                0
     NORTHERN NEW JERSEY; WASHINGTON CROSSING                                                                                              3                3
     NORTHERN STAR; TWIN VALLEY                                                                                                            3                2
     OCCONEECHEE; OLD HICKORY                                                                                                              3                3
     ORANGE COUNTY; SAN DIEGO - IMPERIAL COUNCIL                                                                                           3                3
     QUAPAW AREA; WESTARK AREA                                                                                                             3                3
     SENECA WATERWAYS; TWIN RIVERS                                                                                                         3                2
     SEQUOIA; SOUTHERN SIERRA                                                                                                              3                3
     TIDEWATER; VIRGINIA HEADWATERS                                                                                                        3                0
     VENTURA COUNTY; WESTERN LOS ANGELES COUNTY                                                                                            3                3
     ABRAHAM LINCOLN; GREATER ST. LOUIS AREA                                                                                               2                0
     ABRAHAM LINCOLN; PATHWAY TO ADVENTURE                                                                                                 2                0
     ABRAHAM LINCOLN; W.D. BOYCE                                                                                                           2                0
     ALLEGHENY HIGHLANDS; BALTIMORE AREA                                                                                                   2                0
     ALLEGHENY HIGHLANDS; BUCKSKIN                                                                                                         2                0
     ALLEGHENY HIGHLANDS; GREAT TRAIL                                                                                                      2                1




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                                                                                                                                 All Unique & All Not-Barred,
                                                                   Local Council                                                    Timely    Unique & Timely
                                                                                                                                    Claims*       Claims*
     ALLEGHENY HIGHLANDS; GREATER NIAGARA FRONTIER                                                                                         2                2
     ALLEGHENY HIGHLANDS; LAUREL HIGHLANDS                                                                                                 2                0
     ALOHA; FAR EAST                                                                                                                       2                2
     ANDREW JACKSON; CHICKASAW                                                                                                             2                0
     ANTHONY WAYNE AREA; CROSSROADS OF AMERICA                                                                                             2                0
     ARBUCKLE AREA; LAST FRONTIER                                                                                                          2                0
     ATLANTA AREA; JERSEY SHORE                                                                                                            2                0
     ATLANTA AREA; NORTHWEST GEORGIA                                                                                                       2                1
     ATLANTA AREA; PATHWAY TO ADVENTURE                                                                                                    2                1
     BADEN POWELL; CROSSROADS OF AMERICA; DEL-MAR-VA                                                                                       2                0
     BADEN POWELL; JUNIATA VALLEY                                                                                                          2                1
     BADEN POWELL; TWIN RIVERS                                                                                                             2                2
     BAY-LAKES; GLACIER'S EDGE                                                                                                             2                0
     BAY-LAKES; NORTHEAST ILLINOIS                                                                                                         2                0
     BAY-LAKES; SAMOSET COUNCIL                                                                                                            2                0
     BLACK SWAMP AREA; BUCKEYE                                                                                                             2                1
     BLACK SWAMP AREA; ERIE SHORES                                                                                                         2                1
     BLACK SWAMP AREA; SIMON KENTON                                                                                                        2                0
     BLACKHAWK AREA; NORTHEAST ILLINOIS                                                                                                    2                0
     BLACKHAWK AREA; PATHWAY TO ADVENTURE                                                                                                  2                0
     BLUE GRASS; LAUREL HIGHLANDS                                                                                                          2                0
     BLUE GRASS; SIMON KENTON                                                                                                              2                0
     BLUE MOUNTAIN; CASCADE PACIFIC                                                                                                        2                1
     BLUE MOUNTAIN; INLAND NORTHWEST                                                                                                       2                0
     BLUE RIDGE MOUNTAINS; HEART OF VIRGINIA                                                                                               2                0
     BLUE RIDGE; DANIEL BOONE                                                                                                              2                2
     BLUE RIDGE; OCCONEECHEE                                                                                                               2                1
     BUCKEYE; GREAT TRAIL; LAKE ERIE                                                                                                       2                0
     BUCKSKIN; SIMON KENTON                                                                                                                2                0
     BUFFALO TRAIL; TEXAS TRAILS                                                                                                           2                0
     CALIFORNIA INLAND EMPIRE; GOLDEN EMPIRE                                                                                               2                2
     CALIFORNIA INLAND EMPIRE; LONG BEACH AREA                                                                                             2                2
     CALIFORNIA INLAND EMPIRE; SAN DIEGO - IMPERIAL COUNCIL                                                                                2                2
     CASCADE PACIFIC; MOUNT BAKER                                                                                                          2                0
     CASCADE PACIFIC; SAN DIEGO - IMPERIAL COUNCIL                                                                                         2                2
     CENTRAL FLORIDA; GREATER TAMPA BAY AREA                                                                                               2                0
     CENTRAL FLORIDA; ORANGE COUNTY                                                                                                        2                0
     CENTRAL GEORGIA; COASTAL GEORGIA                                                                                                      2                0
     CENTRAL GEORGIA; SOUTH GEORGIA                                                                                                        2                0
     CENTRAL NORTH CAROLINA; OLD NORTH STATE                                                                                               2                2
     CHEROKEE AREA 469; INDIAN NATIONS                                                                                                     2                0
     CHEROKEE AREA 556; GREAT SMOKY MOUNTAIN                                                                                               2                0
     CHEROKEE AREA 556; NORTHWEST GEORGIA                                                                                                  2                0
     CHIEF SEATTLE; INLAND NORTHWEST                                                                                                       2                0
     CIRCLE TEN; EAST TEXAS AREA                                                                                                           2                0
     CIRCLE TEN; GREATER LOS ANGELES; WESTERN LOS ANGELES COUNTY                                                                           2                2
     CIRCLE TEN; VENTURA COUNTY; WESTERN LOS ANGELES COUNTY                                                                                2                2
     COASTAL CAROLINA; PEE DEE AREA                                                                                                        2                0
     CONNECTICUT RIVERS; NARRAGANSETT                                                                                                      2                0
     CONNECTICUT RIVERS; SENECA WATERWAYS                                                                                                  2                1
     CRADLE OF LIBERTY; LAUREL HIGHLANDS                                                                                                   2                0
     CRADLE OF LIBERTY; SUSQUEHANNA                                                                                                        2                0
     CRATER LAKE COUNCIL; GOLDEN EMPIRE                                                                                                    2                2
     CROSSROADS OF AMERICA; GREATER ST. LOUIS AREA                                                                                         2                0
     CROSSROADS OF AMERICA; MICHIGAN CROSSROADS                                                                                            2                0
     CROSSROADS OF AMERICA; MINSI TRAILS                                                                                                   2                1
     CROSSROADS OF THE WEST; LAS VEGAS AREA                                                                                                2                1
     DANIEL BOONE; EAST CAROLINA                                                                                                           2                2
     DANIEL WEBSTER; GREEN MOUNTAIN                                                                                                        2                1
     DANIEL WEBSTER; MAYFLOWER                                                                                                             2                0
     DENVER AREA; GREAT SOUTHWEST                                                                                                          2                2
     DIRECT SERVICE; NATIONAL CAPITAL AREA                                                                                                 2                0
     EAST CAROLINA; INDIAN WATERS                                                                                                          2                1
     EAST CAROLINA; MECKLENBURG COUNTY                                                                                                     2                2
     EAST CAROLINA; PIEDMONT 420                                                                                                           2                2
     EAST CAROLINA; TUSCARORA                                                                                                              2                2
     EAST TEXAS AREA; SAM HOUSTON AREA                                                                                                     2                0
     EVANGELINE AREA; SOUTHEAST LOUISIANA                                                                                                  2                2
     FIVE RIVERS; GREATER NEW YORK                                                                                                         2                1
     FIVE RIVERS; IROQUOIS TRAIL; SENECA WATERWAYS                                                                                         2                2
     FIVE RIVERS; OHIO RIVER VALLEY                                                                                                        2                0
     FRENCH CREEK; LAUREL HIGHLANDS                                                                                                        2                0
     GAMEHAVEN; NORTHERN STAR                                                                                                              2                2
     GARDEN STATE; WASHINGTON CROSSING                                                                                                     2                2
     GOLDEN EMPIRE; GREATER YOSEMITE; REDWOOD EMPIRE; SILICON VALLEY MONTEREY BAY                                                          2                2
     GOLDEN EMPIRE; NARRAGANSETT                                                                                                           2                0
     GOLDEN EMPIRE; NORTHERN STAR                                                                                                          2                0
     GOLDEN EMPIRE; SEQUOIA                                                                                                                2                2
     GOLDEN GATE AREA; PATRIOTS' PATH                                                                                                      2                2
     GOLDEN GATE AREA; PIEDMONT 042                                                                                                        2                2
     GOLDEN SPREAD; LAST FRONTIER                                                                                                          2                0




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                                                                                                                                 All Unique & All Not-Barred,
                                                                   Local Council                                                    Timely    Unique & Timely
                                                                                                                                    Claims*       Claims*
     GOLDEN SPREAD; SAM HOUSTON AREA                                                                                                       2                0
     GRAND CANYON; GREAT SOUTHWEST                                                                                                         2                0
     GRAND COLUMBIA; MOUNT BAKER                                                                                                           2                0
     GREAT RIVERS; PONY EXPRESS                                                                                                            2                0
     GREATER ALABAMA; GULF COAST                                                                                                           2                0
     GREATER LOS ANGELES; LONG BEACH AREA; WESTERN LOS ANGELES COUNTY                                                                      2                2
     GREATER LOS ANGELES; PATHWAY TO ADVENTURE                                                                                             2                0
     GREATER LOS ANGELES; SAN DIEGO - IMPERIAL COUNCIL                                                                                     2                2
     GREATER NEW YORK; IROQUOIS TRAIL                                                                                                      2                2
     GREATER NEW YORK; RIP VAN WINKLE                                                                                                      2                2
     GREATER ST. LOUIS AREA; ILLOWA                                                                                                        2                0
     GREATER YOSEMITE; SEQUOIA                                                                                                             2                2
     GREEN MOUNTAIN; WESTERN MASSACHUSETTS                                                                                                 2                2
     HAWK MOUNTAIN; MASON-DIXON                                                                                                            2                0
     HAWKEYE AREA; WINNEBAGO                                                                                                               2                0
     HEART OF AMERICA; TWIN RIVERS                                                                                                         2                0
     HEART OF NEW ENGLAND; WESTERN MASSACHUSETTS                                                                                           2                0
     HOOSIER TRAILS; MUSKINGUM VALLEY                                                                                                      2                0
     HOOSIER TRAILS; QUAPAW AREA                                                                                                           2                2
     ILLOWA; MISSISSIPPI VALLEY                                                                                                            2                0
     ILLOWA; PRAIRIELANDS                                                                                                                  2                0
     INDIAN NATIONS; LAST FRONTIER                                                                                                         2                0
     INDIAN WATERS; PALMETTO                                                                                                               2                0
     INLAND NORTHWEST; MONTANA                                                                                                             2                2
     ISTROUMA AREA; NORWELA                                                                                                                2                2
     LAKE ERIE; SIMON KENTON                                                                                                               2                0
     LASALLE; SAGAMORE                                                                                                                     2                0
     LAUREL HIGHLANDS; OHIO RIVER VALLEY                                                                                                   2                0
     LAUREL HIGHLANDS; SUSQUEHANNA                                                                                                         2                0
     LEATHERSTOCKING; TWIN RIVERS                                                                                                          2                2
     LONG BEACH AREA; VERDUGO HILLS                                                                                                        2                2
     LONGHORN; PACIFIC HARBORS                                                                                                             2                0
     LONGHOUSE; PATRIOTS' PATH                                                                                                             2                2
     LONGHOUSE; SENECA WATERWAYS                                                                                                           2                2
     LONGS PEAK COUNCIL; PIKES PEAK                                                                                                        2                2
     LOS PADRES; SILICON VALLEY MONTEREY BAY                                                                                               2                2
     LOS PADRES; WESTERN LOS ANGELES COUNTY                                                                                                2                2
     MARIN; PACIFIC SKYLINE                                                                                                                2                2
     MARIN; WESTERN LOS ANGELES COUNTY                                                                                                     2                2
     MAYFLOWER; TRANSATLANTIC                                                                                                              2                0
     MECKLENBURG COUNTY; NATIONAL CAPITAL AREA                                                                                             2                2
     MECKLENBURG COUNTY; OCCONEECHEE                                                                                                       2                0
     MECKLENBURG COUNTY; OLD HICKORY                                                                                                       2                2
     MIAMI VALLEY; SIMON KENTON                                                                                                            2                0
     MICHIGAN CROSSROADS; NORTHERN LIGHTS                                                                                                  2                0
     MICHIGAN CROSSROADS; SENECA WATERWAYS                                                                                                 2                0
     MID-AMERICA; NATIONAL CAPITAL AREA                                                                                                    2                0
     MID-AMERICA; NORTHERN STAR                                                                                                            2                2
     MID-IOWA; TWIN RIVERS                                                                                                                 2                0
     MIDDLE TENNESSEE; WEST TENNESSEE AREA                                                                                                 2                0
     MINSI TRAILS; PATRIOTS' PATH                                                                                                          2                2
     MONMOUTH; NORTHERN NEW JERSEY                                                                                                         2                2
     MONMOUTH; PATRIOTS' PATH                                                                                                              2                2
     NARRAGANSETT; SUFFOLK COUNTY                                                                                                          2                0
     NATIONAL CAPITAL AREA; VIRGINIA HEADWATERS                                                                                            2                0
     NEW BIRTH OF FREEDOM; NORTHEASTERN PENNSYLVANIA                                                                                       2                0
     NEW BIRTH OF FREEDOM; SUSQUEHANNA                                                                                                     2                0
     NORTH FLORIDA; SOUTH FLORIDA COUNCIL                                                                                                  2                0
     NORTHEAST ILLINOIS; POTAWATOMI AREA                                                                                                   2                0
     NORTHEAST IOWA COUNCIL; WINNEBAGO                                                                                                     2                0
     NORTHERN NEW JERSEY; PINE BURR AREA                                                                                                   2                0
     NORTHERN NEW JERSEY; SAM HOUSTON AREA                                                                                                 2                0
     NORTHERN NEW JERSEY; SPIRIT OF ADVENTURE                                                                                              2                2
     OCCONEECHEE; OLD NORTH STATE                                                                                                          2                2
     OLD HICKORY; PIEDMONT 420                                                                                                             2                2
     OLD NORTH STATE; PIEDMONT 420                                                                                                         2                2
     ORANGE COUNTY; WESTERN LOS ANGELES COUNTY                                                                                             2                2
     OZARK TRAILS; QUIVIRA                                                                                                                 2                0
     PACIFIC HARBORS; TRANSATLANTIC                                                                                                        2                0
     PACIFIC SKYLINE; REDWOOD EMPIRE                                                                                                       2                2
     PALMETTO; PIEDMONT 420                                                                                                                2                0
     PATHWAY TO ADVENTURE; SAMOSET COUNCIL                                                                                                 2                0
     SAM HOUSTON AREA; SOUTH TEXAS                                                                                                         2                0
     SEQUOIA; SEQUOYAH                                                                                                                     2                0
     SHENANDOAH AREA; TIDEWATER                                                                                                            2                0
     SILICON VALLEY MONTEREY BAY; TWIN RIVERS                                                                                              2                2
     SOUTH GEORGIA; SUWANNEE RIVER AREA                                                                                                    2                0
     ABRAHAM LINCOLN; BAY-LAKES; GREATER ST. LOUIS AREA; VOYAGEURS AREA                                                                    1                0
     ABRAHAM LINCOLN; DAN BEARD                                                                                                            1                0
     ABRAHAM LINCOLN; RAINBOW                                                                                                              1                0
     ABRAHAM LINCOLN; THREE FIRES                                                                                                          1                0




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                                                                                                                                 All Unique & All Not-Barred,
                                                                   Local Council                                                    Timely    Unique & Timely
                                                                                                                                    Claims*       Claims*
     ALABAMA-FLORIDA; GULF COAST                                                                                                           1                0
     ALABAMA-FLORIDA; TRANSATLANTIC                                                                                                        1                0
     ALABAMA-FLORIDA; TUKABATCHEE AREA                                                                                                     1                0
     ALAMO AREA; BAY AREA; CIRCLE TEN; LONGHORN                                                                                            1                0
     ALAMO AREA; CAPITOL AREA; SAM HOUSTON AREA                                                                                            1                0
     ALAMO AREA; FAR EAST                                                                                                                  1                0
     ALAMO AREA; GREATER NEW YORK                                                                                                          1                1
     ALAMO AREA; GREATER TAMPA BAY AREA                                                                                                    1                0
     ALAMO AREA; LONGHORN                                                                                                                  1                0
     ALAMO AREA; PINE BURR AREA                                                                                                            1                0
     ALAMO AREA; RIO GRANDE                                                                                                                1                0
     ALAMO AREA; SIMON KENTON                                                                                                              1                1
     ALAMO AREA; SOUTH FLORIDA COUNCIL                                                                                                     1                0
     ALAMO AREA; SOUTH TEXAS                                                                                                               1                0
     ALAMO AREA; SPIRIT OF ADVENTURE                                                                                                       1                0
     ALAMO AREA; WESTARK AREA                                                                                                              1                0
     ALLEGHENY HIGHLANDS; BADEN POWELL                                                                                                     1                1
     ALLEGHENY HIGHLANDS; BLACK SWAMP AREA                                                                                                 1                0
     ALLEGHENY HIGHLANDS; BUCKTAIL                                                                                                         1                0
     ALLEGHENY HIGHLANDS; CHICKASAW                                                                                                        1                0
     ALLEGHENY HIGHLANDS; GREATER NIAGARA FRONTIER; IROQUOIS TRAIL                                                                         1                1
     ALLEGHENY HIGHLANDS; LEATHERSTOCKING                                                                                                  1                1
     ALLEGHENY HIGHLANDS; LOS PADRES; VENTURA COUNTY                                                                                       1                1
     ALOHA; CROSSROADS OF THE WEST                                                                                                         1                0
     ALOHA; GOLDEN GATE AREA                                                                                                               1                1
     ALOHA; MICHIGAN CROSSROADS; NORTHEAST ILLINOIS; THREE HARBORS                                                                         1                0
     ALOHA; PACIFIC SKYLINE                                                                                                                1                1
     ALOHA; TEXAS SOUTHWEST; TRANSATLANTIC                                                                                                 1                1
     ALOHA; WESTERN LOS ANGELES COUNTY                                                                                                     1                1
     ANDREW JACKSON; GREATER LOS ANGELES                                                                                                   1                1
     ANDREW JACKSON; ISTROUMA AREA                                                                                                         1                0
     ANDREW JACKSON; LAST FRONTIER                                                                                                         1                0
     ANDREW JACKSON; MICHIGAN CROSSROADS                                                                                                   1                0
     ANDREW JACKSON; PEE DEE AREA                                                                                                          1                0
     ANTHONY WAYNE AREA; ERIE SHORES                                                                                                       1                0
     ANTHONY WAYNE AREA; LASALLE                                                                                                           1                0
     ANTHONY WAYNE AREA; LONGS PEAK COUNCIL                                                                                                1                1
     ANTHONY WAYNE AREA; MICHIGAN CROSSROADS                                                                                               1                0
     ANTHONY WAYNE AREA; PATHWAY TO ADVENTURE                                                                                              1                0
     ANTHONY WAYNE AREA; SAGAMORE                                                                                                          1                0
     ATLANTA AREA; BLUE GRASS                                                                                                              1                0
     ATLANTA AREA; CENTRAL GEORGIA; JERSEY SHORE; TRANSATLANTIC                                                                            1                0
     ATLANTA AREA; COASTAL CAROLINA; SOUTH GEORGIA                                                                                         1                0
     ATLANTA AREA; DAN BEARD; GULF COAST; NORTH FLORIDA                                                                                    1                0
     ATLANTA AREA; DANIEL BOONE                                                                                                            1                1
     ATLANTA AREA; GEORGIA-CAROLINA                                                                                                        1                0
     ATLANTA AREA; GREAT SOUTHWEST                                                                                                         1                0
     ATLANTA AREA; GREAT TRAIL                                                                                                             1                0
     ATLANTA AREA; GREATER ALABAMA                                                                                                         1                0
     ATLANTA AREA; GREATER ST. LOUIS AREA                                                                                                  1                0
     ATLANTA AREA; LAKE ERIE                                                                                                               1                0
     ATLANTA AREA; NEVADA AREA                                                                                                             1                1
     ATLANTA AREA; NORTH FLORIDA                                                                                                           1                0
     ATLANTA AREA; SAN DIEGO - IMPERIAL COUNCIL                                                                                            1                1
     ATLANTA AREA; SUWANNEE RIVER AREA                                                                                                     1                0
     ATLANTA AREA; THREE FIRES                                                                                                             1                0
     ATLANTA AREA; TUKABATCHEE AREA                                                                                                        1                0
     BADEN POWELL; CONNECTICUT RIVERS; GREATER NEW YORK; PATRIOTS' PATH                                                                    1                1
     BADEN POWELL; CRADLE OF LIBERTY; CROSSROADS OF AMERICA                                                                                1                0
     BADEN POWELL; DEL-MAR-VA                                                                                                              1                0
     BADEN POWELL; GARDEN STATE                                                                                                            1                1
     BADEN POWELL; GREATER NEW YORK                                                                                                        1                1
     BADEN POWELL; IROQUOIS TRAIL; LEATHERSTOCKING                                                                                         1                1
     BADEN POWELL; LAST FRONTIER                                                                                                           1                0
     BADEN POWELL; LAUREL HIGHLANDS                                                                                                        1                0
     BADEN POWELL; LONGHOUSE; THREE FIRES                                                                                                  1                1
     BADEN POWELL; MAYFLOWER; SPIRIT OF ADVENTURE                                                                                          1                0
     BADEN POWELL; NATIONAL CAPITAL AREA                                                                                                   1                1
     BADEN POWELL; SOUTH FLORIDA COUNCIL                                                                                                   1                0
     BALTIMORE AREA; CHESTER COUNTY                                                                                                        1                0
     BALTIMORE AREA; CHIEF SEATTLE; NATIONAL CAPITAL AREA                                                                                  1                1
     BALTIMORE AREA; COLONIAL VIRGINIA                                                                                                     1                0
     BALTIMORE AREA; DE SOTO AREA                                                                                                          1                1
     BALTIMORE AREA; GRAND CANYON                                                                                                          1                1
     BALTIMORE AREA; GREATER ST. LOUIS AREA                                                                                                1                0
     BALTIMORE AREA; LAUREL HIGHLANDS                                                                                                      1                0
     BALTIMORE AREA; LINCOLN HERITAGE                                                                                                      1                0
     BALTIMORE AREA; MASON-DIXON                                                                                                           1                0
     BALTIMORE AREA; MID-AMERICA                                                                                                           1                0
     BALTIMORE AREA; NATIONAL CAPITAL AREA; PATRIOTS' PATH                                                                                 1                1
     BAY-LAKES; CASCADE PACIFIC                                                                                                            1                0




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                                                                                                                                 All Unique & All Not-Barred,
                                                                   Local Council                                                    Timely    Unique & Timely
                                                                                                                                    Claims*       Claims*
     BAY-LAKES; CROSSROADS OF AMERICA; HOOSIER TRAILS                                                                                      1                0
     BAY-LAKES; GATEWAY AREA; PATHWAY TO ADVENTURE                                                                                         1                0
     BAY-LAKES; LAUREL HIGHLANDS                                                                                                           1                0
     BAY-LAKES; NORTHERN STAR                                                                                                              1                1
     BAY-LAKES; OREGON TRAIL                                                                                                               1                0
     BAY-LAKES; PACIFIC HARBORS                                                                                                            1                0
     BAY-LAKES; POTAWATOMI AREA                                                                                                            1                0
     BAY-LAKES; RAINBOW                                                                                                                    1                0
     BAY-LAKES; REDWOOD EMPIRE                                                                                                             1                1
     BAY-LAKES; THREE FIRES                                                                                                                1                0
     BAY-LAKES; THREE HARBORS                                                                                                              1                0
     BAY-LAKES; TWIN RIVERS                                                                                                                1                1
     BLACK HILLS AREA; CIRCLE TEN                                                                                                          1                0
     BLACK HILLS AREA; GREATER ALABAMA                                                                                                     1                0
     BLACK HILLS AREA; MONTANA                                                                                                             1                0
     BLACK HILLS AREA; SIOUX                                                                                                               1                0
     BLACK SWAMP AREA; GREATER ST. LOUIS AREA                                                                                              1                0
     BLACK SWAMP AREA; JAYHAWK AREA                                                                                                        1                0
     BLACK SWAMP AREA; WESTERN LOS ANGELES COUNTY                                                                                          1                0
     BLACK WARRIOR; TUKABATCHEE AREA                                                                                                       1                0
     BLACKHAWK AREA; BUCKEYE                                                                                                               1                0
     BLACKHAWK AREA; CASCADE PACIFIC                                                                                                       1                0
     BLACKHAWK AREA; CONNECTICUT RIVERS; CONNECTICUT YANKEE                                                                                1                0
     BLACKHAWK AREA; CROSSROADS OF AMERICA                                                                                                 1                0
     BLACKHAWK AREA; THREE FIRES                                                                                                           1                0
     BLACKHAWK AREA; THREE RIVERS                                                                                                          1                0
     BLACKHAWK AREA; W.D. BOYCE                                                                                                            1                0
     BLUE GRASS; BUCKEYE                                                                                                                   1                1
     BLUE GRASS; DAN BEARD                                                                                                                 1                0
     BLUE GRASS; OCCONEECHEE                                                                                                               1                1
     BLUE MOUNTAIN; PATRIOTS' PATH                                                                                                         1                1
     BLUE MOUNTAIN; SOUTHEAST LOUISIANA                                                                                                    1                1
     BLUE RIDGE MOUNTAINS; CASCADE PACIFIC                                                                                                 1                0
     BLUE RIDGE MOUNTAINS; CROSSROADS OF AMERICA                                                                                           1                0
     BLUE RIDGE MOUNTAINS; MOUNTAINEER AREA                                                                                                1                0
     BLUE RIDGE MOUNTAINS; NEW BIRTH OF FREEDOM                                                                                            1                0
     BLUE RIDGE MOUNTAINS; OLD NORTH STATE                                                                                                 1                1
     BLUE RIDGE MOUNTAINS; SHENANDOAH AREA                                                                                                 1                0
     BLUE RIDGE; BLUE RIDGE MOUNTAINS                                                                                                      1                0
     BLUE RIDGE; CENTRAL FLORIDA; DANIEL BOONE; PIEDMONT 420                                                                               1                1
     BLUE RIDGE; CHICKASAW                                                                                                                 1                0
     BLUE RIDGE; CIMARRON                                                                                                                  1                0
     BLUE RIDGE; EAST CAROLINA                                                                                                             1                1
     BLUE RIDGE; INDIAN WATERS                                                                                                             1                1
     BLUE RIDGE; MOUNTAINEER AREA                                                                                                          1                0
     BLUE RIDGE; SAMOSET COUNCIL                                                                                                           1                1
     BUCKEYE; GREEN MOUNTAIN                                                                                                               1                1
     BUCKEYE; HEART OF AMERICA                                                                                                             1                0
     BUCKEYE; LAKE ERIE; MAYFLOWER; NARRAGANSETT                                                                                           1                0
     BUCKEYE; LAKE ERIE; NORTHEAST GEORGIA                                                                                                 1                0
     BUCKEYE; MUSKINGUM VALLEY                                                                                                             1                0
     BUCKEYE; TUSCARORA                                                                                                                    1                0
     BUCKSKIN; COASTAL GEORGIA                                                                                                             1                1
     BUCKSKIN; DAN BEARD                                                                                                                   1                0
     BUCKSKIN; DENVER AREA; PIKES PEAK                                                                                                     1                1
     BUCKSKIN; GREATER ALABAMA                                                                                                             1                0
     BUCKSKIN; HAWK MOUNTAIN                                                                                                               1                0
     BUCKSKIN; MECKLENBURG COUNTY                                                                                                          1                0
     BUCKSKIN; NATIONAL CAPITAL AREA                                                                                                       1                0
     BUCKSKIN; PACIFIC SKYLINE                                                                                                             1                1
     BUCKSKIN; SENECA WATERWAYS                                                                                                            1                1
     BUCKTAIL; EAST TEXAS AREA; NORWELA                                                                                                    1                1
     BUCKTAIL; GEORGIA-CAROLINA                                                                                                            1                0
     BUCKTAIL; LAUREL HIGHLANDS                                                                                                            1                0
     BUFFALO TRACE; BUFFALO TRAIL                                                                                                          1                0
     BUFFALO TRACE; CROSSROADS OF AMERICA                                                                                                  1                0
     BUFFALO TRACE; GREATER ST. LOUIS AREA                                                                                                 1                0
     BUFFALO TRACE; MICHIGAN CROSSROADS                                                                                                    1                0
     BUFFALO TRACE; SAGAMORE                                                                                                               1                0
     BUFFALO TRAIL; DIRECT SERVICE                                                                                                         1                0
     BUFFALO TRAIL; LONGHORN                                                                                                               1                0
     BUFFALO TRAIL; SOUTH PLAINS                                                                                                           1                0
     CADDO AREA; CHICKASAW; DE SOTO AREA; QUAPAW AREA; WESTARK AREA                                                                        1                1
     CADDO AREA; CIRCLE TEN                                                                                                                1                0
     CADDO AREA; CIRCLE TEN; EAST TEXAS AREA; RIO GRANDE                                                                                   1                1
     CADDO AREA; DE SOTO AREA                                                                                                              1                1
     CADDO AREA; EAST TEXAS AREA                                                                                                           1                0
     CADDO AREA; NORWELA                                                                                                                   1                1
     CALCASIEU; EVANGELINE AREA                                                                                                            1                1
     CALCASIEU; GOLDEN GATE AREA                                                                                                           1                1
     CALCASIEU; INDIAN NATIONS                                                                                                             1                1




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                                                                                                                                 All Unique & All Not-Barred,
                                                                   Local Council                                                    Timely    Unique & Timely
                                                                                                                                    Claims*       Claims*
     CALCASIEU; NORWELA                                                                                                                    1                1
     CALCASIEU; SOUTHEAST LOUISIANA                                                                                                        1                1
     CALIFORNIA INLAND EMPIRE; CATALINA                                                                                                    1                1
     CALIFORNIA INLAND EMPIRE; CENTRAL FLORIDA                                                                                             1                0
     CALIFORNIA INLAND EMPIRE; CROSSROADS OF THE WEST                                                                                      1                1
     CALIFORNIA INLAND EMPIRE; DANIEL WEBSTER                                                                                              1                0
     CALIFORNIA INLAND EMPIRE; DENVER AREA                                                                                                 1                1
     CALIFORNIA INLAND EMPIRE; GREATER LOS ANGELES; ORANGE COUNTY                                                                          1                1
     CALIFORNIA INLAND EMPIRE; GREATER LOS ANGELES; SPIRIT OF ADVENTURE                                                                    1                1
     CALIFORNIA INLAND EMPIRE; LAS VEGAS AREA                                                                                              1                1
     CALIFORNIA INLAND EMPIRE; LONG BEACH AREA; ORANGE COUNTY; SAN DIEGO - IMPERIAL COUNCIL; VENTURA
     COUNTY; VERDUGO HILLS; WESTERN LOS ANGELES COUNTY                                                                                     1                1
     CALIFORNIA INLAND EMPIRE; LONG BEACH AREA; ORANGE COUNTY; SOUTHERN SIERRA; VENTURA COUNTY; VERDUGO
     HILLS; WESTERN LOS ANGELES COUNTY                                                                                                     1                1
     CALIFORNIA INLAND EMPIRE; LONGS PEAK COUNCIL                                                                                          1                1
     CALIFORNIA INLAND EMPIRE; RIO GRANDE                                                                                                  1                0
     CALIFORNIA INLAND EMPIRE; SOUTHERN SIERRA                                                                                             1                1
     CALIFORNIA INLAND EMPIRE; TEXAS SOUTHWEST                                                                                             1                1
     CALIFORNIA INLAND EMPIRE; VENTURA COUNTY                                                                                              1                1
     CALIFORNIA INLAND EMPIRE; VERDUGO HILLS                                                                                               1                1
     CALIFORNIA INLAND EMPIRE; YUCCA                                                                                                       1                1
     CAPE COD & ISLANDS; FAR EAST                                                                                                          1                0
     CAPE COD & ISLANDS; FAR EAST; LAS VEGAS AREA                                                                                          1                0
     CAPE COD & ISLANDS; GREATER NEW YORK                                                                                                  1                1
     CAPE COD & ISLANDS; HEART OF NEW ENGLAND                                                                                              1                0
     CAPE COD & ISLANDS; HEART OF NEW ENGLAND; MAYFLOWER                                                                                   1                0
     CAPE COD & ISLANDS; MAYFLOWER                                                                                                         1                0
     CAPE COD & ISLANDS; MAYFLOWER; NARRAGANSETT                                                                                           1                0
     CAPE COD & ISLANDS; NARRAGANSETT                                                                                                      1                0
     CAPE COD & ISLANDS; NATIONAL CAPITAL AREA                                                                                             1                0
     CAPE COD & ISLANDS; SAGAMORE                                                                                                          1                0
     CAPE COD & ISLANDS; SPIRIT OF ADVENTURE                                                                                               1                0
     CAPE COD & ISLANDS; TWIN RIVERS                                                                                                       1                1
     CAPE FEAR; CENTRAL NORTH CAROLINA; EAST CAROLINA                                                                                      1                1
     CAPE FEAR; DANIEL BOONE                                                                                                               1                1
     CAPE FEAR; EAST CAROLINA                                                                                                              1                1
     CAPE FEAR; EAST CAROLINA; NATIONAL CAPITAL AREA                                                                                       1                1
     CAPE FEAR; MECKLENBURG COUNTY                                                                                                         1                1
     CAPE FEAR; OCCONEECHEE                                                                                                                1                1
     CAPE FEAR; OLD HICKORY                                                                                                                1                1
     CAPE FEAR; PIEDMONT 420                                                                                                               1                1
     CAPITOL AREA; CENTRAL NORTH CAROLINA; SAM HOUSTON AREA                                                                                1                1
     CAPITOL AREA; CIRCLE TEN; LONGHORN                                                                                                    1                0
     CAPITOL AREA; DENVER AREA                                                                                                             1                1
     CAPITOL AREA; GREATER LOS ANGELES; GREATER NEW YORK                                                                                   1                1
     CAPITOL AREA; LONGHORN                                                                                                                1                0
     CAPITOL AREA; TEXAS TRAILS                                                                                                            1                0
     CAPITOL AREA; THREE RIVERS                                                                                                            1                0
     CASCADE PACIFIC; CHIEF SEATTLE; PACIFIC HARBORS                                                                                       1                0
     CASCADE PACIFIC; GOLDEN EMPIRE                                                                                                        1                1
     CASCADE PACIFIC; GRAND COLUMBIA                                                                                                       1                0
     CASCADE PACIFIC; GREATER NEW YORK                                                                                                     1                1
     CASCADE PACIFIC; GREATER ST. LOUIS AREA                                                                                               1                1
     CASCADE PACIFIC; GREEN MOUNTAIN                                                                                                       1                1
     CASCADE PACIFIC; INDIAN NATIONS                                                                                                       1                0
     CASCADE PACIFIC; LONGHORN                                                                                                             1                1
     CASCADE PACIFIC; MID-AMERICA                                                                                                          1                0
     CASCADE PACIFIC; MONTANA                                                                                                              1                1
     CASCADE PACIFIC; MOUNT BAKER; PACIFIC HARBORS                                                                                         1                0
     CASCADE PACIFIC; OREGON TRAIL                                                                                                         1                0
     CASCADE PACIFIC; PEE DEE AREA                                                                                                         1                0
     CASCADE PACIFIC; PENNSYLVANIA DUTCH                                                                                                   1                0
     CATALINA; GREATER LOS ANGELES                                                                                                         1                1
     CATALINA; HEART OF AMERICA                                                                                                            1                1
     CATALINA; LAS VEGAS AREA                                                                                                              1                1
     CATALINA; LONGHORN                                                                                                                    1                1
     CATALINA; LONGHORN; PACIFIC HARBORS                                                                                                   1                1
     CATALINA; LONGS PEAK COUNCIL                                                                                                          1                1
     CATALINA; ORANGE COUNTY                                                                                                               1                1
     CATALINA; SAN DIEGO - IMPERIAL COUNCIL                                                                                                1                1
     CENTRAL FLORIDA; GREATER NEW YORK                                                                                                     1                1
     CENTRAL FLORIDA; GREATER TAMPA BAY AREA; NORTH FLORIDA                                                                                1                0
     CENTRAL FLORIDA; GULF COAST                                                                                                           1                1
     CENTRAL FLORIDA; GULF STREAM                                                                                                          1                0
     CENTRAL FLORIDA; NORTH FLORIDA; PIEDMONT 420                                                                                          1                0
     CENTRAL FLORIDA; NORTHERN STAR                                                                                                        1                1
     CENTRAL FLORIDA; SIMON KENTON                                                                                                         1                0
     CENTRAL FLORIDA; SOUTH FLORIDA COUNCIL                                                                                                1                0
     CENTRAL FLORIDA; SOUTHWEST FLORIDA                                                                                                    1                0
     CENTRAL GEORGIA; GEORGIA-CAROLINA                                                                                                     1                0
     CENTRAL GEORGIA; NORTHEAST GEORGIA                                                                                                    1                0




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                                                                                                                                 All Unique & All Not-Barred,
                                                                   Local Council                                                    Timely    Unique & Timely
                                                                                                                                    Claims*       Claims*
     CENTRAL GEORGIA; ORANGE COUNTY                                                                                                        1                1
     CENTRAL MINNESOTA; GAMEHAVEN; NORTHERN STAR                                                                                           1                1
     CENTRAL MINNESOTA; GATEWAY AREA                                                                                                       1                1
     CENTRAL MINNESOTA; GREATER NEW YORK; NORTHERN STAR                                                                                    1                1
     CENTRAL MINNESOTA; NORTHERN LIGHTS                                                                                                    1                1
     CENTRAL MINNESOTA; NORTHERN STAR; VOYAGEURS AREA                                                                                      1                1
     CENTRAL MINNESOTA; SIOUX                                                                                                              1                1
     CENTRAL NEW JERSEY; DANIEL BOONE; PATRIOTS' PATH                                                                                      1                1
     CENTRAL NEW JERSEY; GARDEN STATE; WASHINGTON CROSSING                                                                                 1                1
     CENTRAL NEW JERSEY; MONMOUTH; WASHINGTON CROSSING                                                                                     1                1
     CENTRAL NEW JERSEY; NORTHERN NEW JERSEY; WASHINGTON CROSSING                                                                          1                1
     CENTRAL NORTH CAROLINA; PATRIOTS' PATH                                                                                                1                1
     CENTRAL NORTH CAROLINA; PIEDMONT 420                                                                                                  1                1
     CHATTAHOOCHEE; COASTAL GEORGIA                                                                                                        1                0
     CHATTAHOOCHEE; NORTHEAST GEORGIA                                                                                                      1                0
     CHATTAHOOCHEE; SIMON KENTON                                                                                                           1                0
     CHATTAHOOCHEE; SUWANNEE RIVER AREA                                                                                                    1                0
     CHEROKEE AREA 469; CIMARRON                                                                                                           1                0
     CHEROKEE AREA 556; GREAT RIVERS                                                                                                       1                0
     CHEROKEE AREA 556; MIDDLE TENNESSEE; NORTH FLORIDA                                                                                    1                0
     CHEROKEE AREA 556; NATIONAL CAPITAL AREA                                                                                              1                1
     CHEROKEE AREA 556; NORTH FLORIDA                                                                                                      1                0
     CHEROKEE AREA 556; SAM HOUSTON AREA                                                                                                   1                0
     CHESTER COUNTY; CRADLE OF LIBERTY; WESTCHESTER-PUTNAM                                                                                 1                1
     CHESTER COUNTY; DEL-MAR-VA                                                                                                            1                0
     CHESTER COUNTY; FRENCH CREEK                                                                                                          1                0
     CHESTER COUNTY; GREATER ST. LOUIS AREA                                                                                                1                0
     CHESTER COUNTY; HEART OF VIRGINIA                                                                                                     1                0
     CHESTER COUNTY; MINSI TRAILS; NEW BIRTH OF FREEDOM; PENNSYLVANIA DUTCH; REDWOOD EMPIRE; WASHINGTON
     CROSSING                                                                                                                              1                1
     CHESTER COUNTY; NORTHEASTERN PENNSYLVANIA                                                                                             1                0
     CHICKASAW; CHOCTAW AREA                                                                                                               1                0
     CHICKASAW; GREATER ALABAMA                                                                                                            1                0
     CHICKASAW; GREATER NEW YORK                                                                                                           1                1
     CHICKASAW; HEART OF AMERICA                                                                                                           1                0
     CHICKASAW; MIDDLE TENNESSEE                                                                                                           1                0
     CHICKASAW; MOBILE AREA                                                                                                                1                0
     CHICKASAW; NATIONAL CAPITAL AREA                                                                                                      1                0
     CHICKASAW; NEW BIRTH OF FREEDOM                                                                                                       1                0
     CHICKASAW; PINE BURR AREA; PUSHMATAHA AREA; YOCONA AREA                                                                               1                0
     CHICKASAW; SAN DIEGO - IMPERIAL COUNCIL                                                                                               1                1
     CHICKASAW; WEST TENNESSEE AREA                                                                                                        1                0
     CHICKASAW; YOCONA AREA                                                                                                                1                0
     CHIEF CORNPLANTER; GREAT TRAIL                                                                                                        1                0
     CHIEF SEATTLE; CROSSROADS OF THE WEST                                                                                                 1                0
     CHIEF SEATTLE; GRAND COLUMBIA; PACIFIC HARBORS                                                                                        1                0
     CHIEF SEATTLE; GREATER YOSEMITE                                                                                                       1                1
     CHIEF SEATTLE; INDIAN NATIONS                                                                                                         1                0
     CHIEF SEATTLE; OREGON TRAIL                                                                                                           1                0
     CHIEF SEATTLE; SAM HOUSTON AREA                                                                                                       1                0
     CHIEF SEATTLE; SILICON VALLEY MONTEREY BAY                                                                                            1                1
     CHIPPEWA VALLEY; MID-AMERICA; NORTHERN STAR                                                                                           1                0
     CHIPPEWA VALLEY; VOYAGEURS AREA                                                                                                       1                0
     CHOCTAW AREA; PINE BURR AREA                                                                                                          1                0
     CIMARRON; INDIAN NATIONS                                                                                                              1                0
     CIMARRON; QUIVIRA                                                                                                                     1                0
     CIMARRON; SOUTH PLAINS                                                                                                                1                0
     CIMARRON; TWIN RIVERS                                                                                                                 1                1
     CIRCLE TEN; CROSSROADS OF THE WEST                                                                                                    1                0
     CIRCLE TEN; EAST TEXAS AREA; LONGHORN                                                                                                 1                0
     CIRCLE TEN; GREAT TRAIL                                                                                                               1                0
     CIRCLE TEN; HEART OF VIRGINIA; TRANSATLANTIC                                                                                          1                0
     CIRCLE TEN; NARRAGANSETT                                                                                                              1                0
     CIRCLE TEN; ORANGE COUNTY; WESTERN LOS ANGELES COUNTY                                                                                 1                1
     CIRCLE TEN; SEQUOIA                                                                                                                   1                1
     CIRCLE TEN; THREE RIVERS                                                                                                              1                0
     CIRCLE TEN; TUKABATCHEE AREA                                                                                                          1                0
     COASTAL CAROLINA; COASTAL GEORGIA                                                                                                     1                0
     COASTAL CAROLINA; EAST TEXAS AREA                                                                                                     1                0
     COASTAL CAROLINA; ERIE SHORES                                                                                                         1                0
     COASTAL CAROLINA; GOLDEN SPREAD                                                                                                       1                0
     COASTAL CAROLINA; PALMETTO                                                                                                            1                0
     COASTAL CAROLINA; PIEDMONT 420                                                                                                        1                1
     COASTAL GEORGIA; GREATER TAMPA BAY AREA                                                                                               1                0
     COASTAL GEORGIA; GREATER YOSEMITE                                                                                                     1                1
     COASTAL GEORGIA; MIDDLE TENNESSEE                                                                                                     1                0
     COASTAL GEORGIA; NORTH FLORIDA                                                                                                        1                0
     COASTAL GEORGIA; NORTHEAST GEORGIA                                                                                                    1                0
     COASTAL GEORGIA; PACIFIC HARBORS                                                                                                      1                0
     COASTAL GEORGIA; SHENANDOAH AREA                                                                                                      1                0
     COASTAL GEORGIA; SOUTH GEORGIA                                                                                                        1                0




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     Unique and Timely Abuse Claim Count by Local Council
     Rows in white list Abuse claims against individual Local Councils. Rows in blue (with the exception of "UNKNOWN" and "MISSING") list Abuse claims
     against more than one Local Council.

                                                                                                                                 All Unique & All Not-Barred,
                                                                   Local Council                                                    Timely    Unique & Timely
                                                                                                                                    Claims*       Claims*
     COASTAL GEORGIA; TUSCARORA                                                                                                            1                1
     COLONIAL VIRGINIA; ERIE SHORES                                                                                                        1                0
     COLONIAL VIRGINIA; HEART OF VIRGINIA                                                                                                  1                0
     COLONIAL VIRGINIA; HEART OF VIRGINIA; TIDEWATER                                                                                       1                0
     COLONIAL VIRGINIA; NATIONAL CAPITAL AREA                                                                                              1                0
     COLONIAL VIRGINIA; PINE BURR AREA                                                                                                     1                0
     COLUMBIA-MONTOUR; LEATHERSTOCKING                                                                                                     1                0
     COLUMBIA-MONTOUR; LINCOLN HERITAGE                                                                                                    1                0
     CONNECTICUT RIVERS; DAN BEARD; HEART OF NEW ENGLAND; OREGON TRAIL                                                                     1                1
     CONNECTICUT RIVERS; DANIEL WEBSTER                                                                                                    1                0
     CONNECTICUT RIVERS; DANIEL WEBSTER; NARRAGANSETT                                                                                      1                0
     CONNECTICUT RIVERS; GREENWICH                                                                                                         1                0
     CONNECTICUT RIVERS; HEART OF AMERICA                                                                                                  1                0
     CONNECTICUT RIVERS; HOUSATONIC                                                                                                        1                0
     CONNECTICUT RIVERS; HUDSON VALLEY                                                                                                     1                1
     CONNECTICUT RIVERS; LONGHORN                                                                                                          1                0
     CONNECTICUT RIVERS; MAYFLOWER; WESTCHESTER-PUTNAM                                                                                     1                1
     CONNECTICUT RIVERS; MONMOUTH                                                                                                          1                0
     CONNECTICUT RIVERS; SEQUOYAH                                                                                                          1                0
     CONNECTICUT RIVERS; SUFFOLK COUNTY                                                                                                    1                1
     CONNECTICUT RIVERS; THEODORE ROOSEVELT                                                                                                1                1
     CONNECTICUT RIVERS; TRANSATLANTIC                                                                                                     1                0
     CONNECTICUT RIVERS; WASHINGTON CROSSING                                                                                               1                0
     CONNECTICUT RIVERS; WESTCHESTER-PUTNAM                                                                                                1                1
     CONNECTICUT RIVERS; WESTERN MASSACHUSETTS                                                                                             1                0
     CONNECTICUT YANKEE; HEART OF NEW ENGLAND                                                                                              1                0
     CONNECTICUT YANKEE; HUDSON VALLEY                                                                                                     1                1
     CONNECTICUT YANKEE; MIAMI VALLEY; SIMON KENTON                                                                                        1                0
     CONNECTICUT YANKEE; MICHIGAN CROSSROADS                                                                                               1                0
     CONNECTICUT YANKEE; SUWANNEE RIVER AREA                                                                                               1                0
     CONQUISTADOR; CROSSROADS OF THE WEST                                                                                                  1                0
     CONQUISTADOR; FAR EAST; YUCCA                                                                                                         1                0
     CONQUISTADOR; YUCCA                                                                                                                   1                0
     CORNHUSKER; GREATER YOSEMITE                                                                                                          1                1
     CORNHUSKER; PRAIRIELANDS                                                                                                              1                0
     CORNHUSKER; QUIVIRA                                                                                                                   1                0
     CORONADO AREA; GREAT SOUTHWEST                                                                                                        1                0
     CORONADO AREA; GREATER NEW YORK                                                                                                       1                0
     CORONADO AREA; MICHIGAN CROSSROADS                                                                                                    1                0
     CRADLE OF LIBERTY; CROSSROADS OF AMERICA; MINSI TRAILS                                                                                1                0
     CRADLE OF LIBERTY; FRENCH CREEK                                                                                                       1                0
     CRADLE OF LIBERTY; GREAT SOUTHWEST                                                                                                    1                0
     CRADLE OF LIBERTY; HAWK MOUNTAIN; NORTHEASTERN PENNSYLVANIA                                                                           1                0
     CRADLE OF LIBERTY; HUDSON VALLEY; MINSI TRAILS; NORTHEASTERN PENNSYLVANIA                                                             1                0
     CRADLE OF LIBERTY; JERSEY SHORE                                                                                                       1                0
     CRADLE OF LIBERTY; JUNIATA VALLEY                                                                                                     1                0
     CRADLE OF LIBERTY; MINSI TRAILS; NORTHERN NEW JERSEY                                                                                  1                1
     CRADLE OF LIBERTY; NEW BIRTH OF FREEDOM                                                                                               1                0
     CRADLE OF LIBERTY; NORTHEASTERN PENNSYLVANIA                                                                                          1                0
     CRADLE OF LIBERTY; NORTHERN NEW JERSEY                                                                                                1                0
     CRADLE OF LIBERTY; PATRIOTS' PATH                                                                                                     1                1
     CRADLE OF LIBERTY; QUIVIRA                                                                                                            1                1
     CRADLE OF LIBERTY; SPIRIT OF ADVENTURE                                                                                                1                1
     CRATER LAKE COUNCIL; LOS PADRES; VENTURA COUNTY                                                                                       1                1
     CRATER LAKE COUNCIL; MICHIGAN CROSSROADS                                                                                              1                1
     CRATER LAKE COUNCIL; WESTERN LOS ANGELES COUNTY                                                                                       1                1
     CROSSROADS OF AMERICA; DAN BEARD                                                                                                      1                0
     CROSSROADS OF AMERICA; DAN BEARD; HOOSIER TRAILS                                                                                      1                0
     CROSSROADS OF AMERICA; DEL-MAR-VA; NATIONAL CAPITAL AREA                                                                              1                0
     CROSSROADS OF AMERICA; GARDEN STATE                                                                                                   1                1
     CROSSROADS OF AMERICA; GREATER NEW YORK                                                                                               1                1
     CROSSROADS OF AMERICA; KATAHDIN AREA; NORTHERN NEW JERSEY                                                                             1                0
     CROSSROADS OF AMERICA; NATIONAL CAPITAL AREA                                                                                          1                0
     CROSSROADS OF AMERICA; PATHWAY TO ADVENTURE                                                                                           1                0
     CROSSROADS OF AMERICA; SAN DIEGO - IMPERIAL COUNCIL                                                                                   1                1
     CROSSROADS OF AMERICA; TUKABATCHEE AREA                                                                                               1                1
     CROSSROADS OF THE WEST; DENVER AREA                                                                                                   1                1
     CROSSROADS OF THE WEST; GREATER WYOMING                                                                                               1                0
     CROSSROADS OF THE WEST; GREATER WYOMING; NORTHEAST ILLINOIS                                                                           1                0
     CROSSROADS OF THE WEST; INLAND NORTHWEST                                                                                              1                0
     CROSSROADS OF THE WEST; LINCOLN HERITAGE                                                                                              1                0
     CROSSROADS OF THE WEST; MIDDLE TENNESSEE                                                                                              1                0
     CROSSROADS OF THE WEST; MONTANA                                                                                                       1                0
     CROSSROADS OF THE WEST; NORTHERN NEW JERSEY                                                                                           1                1
     CROSSROADS OF THE WEST; SAM HOUSTON AREA                                                                                              1                1
     CROSSROADS OF THE WEST; SAN DIEGO - IMPERIAL COUNCIL                                                                                  1                1
     CROSSROADS OF THE WEST; SOUTH GEORGIA                                                                                                 1                0
     DAN BEARD; DEL-MAR-VA; SIMON KENTON; TECUMSEH                                                                                         1                0
     DAN BEARD; GREAT RIVERS; SOUTH FLORIDA COUNCIL                                                                                        1                0
     DAN BEARD; GREATER LOS ANGELES                                                                                                        1                1
     DAN BEARD; GREATER ST. LOUIS AREA                                                                                                     1                0




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     Unique and Timely Abuse Claim Count by Local Council
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                                                                                                                                 All Unique & All Not-Barred,
                                                                   Local Council                                                    Timely    Unique & Timely
                                                                                                                                    Claims*       Claims*
     DAN BEARD; HOOSIER TRAILS                                                                                                             1                0
     DAN BEARD; LASALLE                                                                                                                    1                0
     DAN BEARD; LAST FRONTIER                                                                                                              1                0
     DAN BEARD; LINCOLN HERITAGE                                                                                                           1                0
     DAN BEARD; PATHWAY TO ADVENTURE                                                                                                       1                0
     DAN BEARD; QUAPAW AREA                                                                                                                1                1
     DAN BEARD; SIMON KENTON; TECUMSEH                                                                                                     1                0
     DANIEL BOONE; MOBILE AREA                                                                                                             1                1
     DANIEL BOONE; PEE DEE AREA                                                                                                            1                1
     DANIEL BOONE; TIDEWATER                                                                                                               1                1
     DANIEL BOONE; WESTERN MASSACHUSETTS                                                                                                   1                1
     DANIEL WEBSTER; MICHIGAN CROSSROADS                                                                                                   1                0
     DANIEL WEBSTER; NARRAGANSETT                                                                                                          1                0
     DANIEL WEBSTER; NORTHERN NEW JERSEY                                                                                                   1                1
     DANIEL WEBSTER; PINE TREE                                                                                                             1                0
     DANIEL WEBSTER; TIDEWATER                                                                                                             1                0
     DE SOTO AREA; THREE HARBORS                                                                                                           1                0
     DE SOTO AREA; WESTARK AREA                                                                                                            1                1
     DEL-MAR-VA; GARDEN STATE                                                                                                              1                1
     DEL-MAR-VA; GREATER LOS ANGELES                                                                                                       1                1
     DEL-MAR-VA; NATIONAL CAPITAL AREA                                                                                                     1                0
     DEL-MAR-VA; WESTERN MASSACHUSETTS                                                                                                     1                0
     DENVER AREA; GREATER ALABAMA                                                                                                          1                0
     DENVER AREA; GREATER NEW YORK                                                                                                         1                1
     DENVER AREA; GREATER ST. LOUIS AREA                                                                                                   1                0
     DENVER AREA; GREATER YOSEMITE                                                                                                         1                1
     DENVER AREA; HEART OF AMERICA                                                                                                         1                0
     DENVER AREA; INDIAN NATIONS                                                                                                           1                0
     DENVER AREA; INLAND NORTHWEST                                                                                                         1                0
     DENVER AREA; MOUNT BAKER                                                                                                              1                1
     DENVER AREA; NATIONAL CAPITAL AREA                                                                                                    1                1
     DENVER AREA; PACIFIC HARBORS                                                                                                          1                0
     DENVER AREA; SIMON KENTON                                                                                                             1                1
     DENVER AREA; THREE FIRES                                                                                                              1                1
     DIRECT SERVICE; GREATER ST. LOUIS AREA                                                                                                1                0
     DIRECT SERVICE; GULF COAST                                                                                                            1                0
     EAST CAROLINA; ERIE SHORES                                                                                                            1                1
     EAST CAROLINA; FAR EAST                                                                                                               1                1
     EAST CAROLINA; GRAND CANYON                                                                                                           1                0
     EAST CAROLINA; MICHIGAN CROSSROADS                                                                                                    1                0
     EAST CAROLINA; NORTH FLORIDA                                                                                                          1                1
     EAST CAROLINA; OLD NORTH STATE                                                                                                        1                1
     EAST CAROLINA; TIDEWATER                                                                                                              1                1
     EAST CAROLINA; TWIN RIVERS                                                                                                            1                1
     EAST TEXAS AREA; GOLDEN EMPIRE                                                                                                        1                1
     EAST TEXAS AREA; LAS VEGAS AREA; NEVADA AREA                                                                                          1                0
     EAST TEXAS AREA; LONGHORN                                                                                                             1                0
     EAST TEXAS AREA; MID-AMERICA; MID-IOWA                                                                                                1                0
     ERIE SHORES; GREAT SOUTHWEST                                                                                                          1                0
     ERIE SHORES; GREAT TRAIL                                                                                                              1                0
     ERIE SHORES; GREATER LOS ANGELES; LAKE ERIE                                                                                           1                1
     ERIE SHORES; GREATER ST. LOUIS AREA                                                                                                   1                0
     ERIE SHORES; MIAMI VALLEY                                                                                                             1                1
     ERIE SHORES; MICHIGAN CROSSROADS                                                                                                      1                0
     ERIE SHORES; QUAPAW AREA                                                                                                              1                1
     EVANGELINE AREA; GREATER ST. LOUIS AREA; SOUTHEAST LOUISIANA                                                                          1                1
     EVANGELINE AREA; ISTROUMA AREA                                                                                                        1                1
     EVANGELINE AREA; LOUISIANA PURCHASE                                                                                                   1                1
     EVANGELINE AREA; MICHIGAN CROSSROADS                                                                                                  1                0
     EVANGELINE AREA; SAGAMORE                                                                                                             1                0
     FAR EAST; TRANSATLANTIC                                                                                                               1                0
     FIVE RIVERS; LAUREL HIGHLANDS                                                                                                         1                0
     FIVE RIVERS; MICHIGAN CROSSROADS                                                                                                      1                1
     FIVE RIVERS; NORTHEASTERN PENNSYLVANIA                                                                                                1                0
     FIVE RIVERS; PENNSYLVANIA DUTCH                                                                                                       1                0
     FRENCH CREEK; GREATER NIAGARA FRONTIER                                                                                                1                0
     FRENCH CREEK; MID-AMERICA                                                                                                             1                0
     FRENCH CREEK; MORAINE TRAILS                                                                                                          1                0
     GAMEHAVEN; GOLDEN EMPIRE; GOLDEN GATE AREA; MARIN; PACIFIC SKYLINE                                                                    1                0
     GAMEHAVEN; LONGHOUSE                                                                                                                  1                0
     GAMEHAVEN; SENECA WATERWAYS                                                                                                           1                0
     GAMEHAVEN; TWIN VALLEY                                                                                                                1                0
     GARDEN STATE; JERSEY SHORE; WASHINGTON CROSSING                                                                                       1                0
     GARDEN STATE; MONMOUTH                                                                                                                1                0
     GARDEN STATE; MORAINE TRAILS                                                                                                          1                0
     GARDEN STATE; PATRIOTS' PATH                                                                                                          1                0
     GATEWAY AREA; GLACIER'S EDGE; PATHWAY TO ADVENTURE                                                                                    1                0
     GATEWAY AREA; GREATER NEW YORK                                                                                                        1                0
     GEORGIA-CAROLINA; INDIAN WATERS                                                                                                       1                0
     GEORGIA-CAROLINA; MECKLENBURG COUNTY                                                                                                  1                0
     GEORGIA-CAROLINA; NARRAGANSETT                                                                                                        1                0




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                                                                                                                                 All Unique & All Not-Barred,
                                                                   Local Council                                                    Timely    Unique & Timely
                                                                                                                                    Claims*       Claims*
     GEORGIA-CAROLINA; PALMETTO                                                                                                            1                0
     GEORGIA-CAROLINA; PINE TREE                                                                                                           1                0
     GEORGIA-CAROLINA; TIDEWATER; VIRGINIA HEADWATERS                                                                                      1                0
     GLACIER'S EDGE; MICHIGAN CROSSROADS                                                                                                   1                0
     GLACIER'S EDGE; NORTHEAST ILLINOIS                                                                                                    1                0
     GLACIER'S EDGE; SAMOSET COUNCIL                                                                                                       1                0
     GLACIER'S EDGE; SIOUX                                                                                                                 1                0
     GLACIER'S EDGE; THREE HARBORS                                                                                                         1                0
     GLACIER'S EDGE; W.D. BOYCE                                                                                                            1                0
     GOLDEN EMPIRE; GOLDEN GATE AREA; GREATER YOSEMITE                                                                                     1                0
     GOLDEN EMPIRE; GOLDEN GATE AREA; GREATER YOSEMITE; MARIN; PACIFIC SKYLINE; PIEDMONT 042; REDWOOD
     EMPIRE; SEQUOIA; SILICON VALLEY MONTEREY BAY                                                                                          1                0
     GOLDEN EMPIRE; GOLDEN GATE AREA; NATIONAL CAPITAL AREA                                                                                1                0
     GOLDEN EMPIRE; GOLDEN GATE AREA; PACIFIC SKYLINE                                                                                      1                0
     GOLDEN EMPIRE; GOLDEN GATE AREA; REDWOOD EMPIRE                                                                                       1                0
     GOLDEN EMPIRE; GREATER LOS ANGELES; NEVADA AREA; ORANGE COUNTY                                                                        1                0
     GOLDEN EMPIRE; GREATER YOSEMITE; PACIFIC SKYLINE; PIEDMONT 042; REDWOOD EMPIRE; SEQUOIA; SILICON
     VALLEY MONTEREY BAY                                                                                                                   1                0
     GOLDEN EMPIRE; HOOSIER TRAILS                                                                                                         1                0
     GOLDEN EMPIRE; INLAND NORTHWEST                                                                                                       1                0
     GOLDEN EMPIRE; LAKE ERIE; SOUTHWEST FLORIDA                                                                                           1                0
     GOLDEN EMPIRE; LAS VEGAS AREA                                                                                                         1                0
     GOLDEN EMPIRE; MARIN                                                                                                                  1                0
     GOLDEN EMPIRE; MARIN; REDWOOD EMPIRE                                                                                                  1                0
     GOLDEN EMPIRE; MIDDLE TENNESSEE                                                                                                       1                0
     GOLDEN EMPIRE; MORAINE TRAILS                                                                                                         1                0
     GOLDEN EMPIRE; OREGON TRAIL                                                                                                           1                0
     GOLDEN EMPIRE; PACIFIC SKYLINE                                                                                                        1                0
     GOLDEN EMPIRE; REDWOOD EMPIRE                                                                                                         1                0
     GOLDEN EMPIRE; SAN DIEGO - IMPERIAL COUNCIL                                                                                           1                0
     GOLDEN EMPIRE; SEQUOIA; SOUTHERN SIERRA                                                                                               1                0
     GOLDEN EMPIRE; SIMON KENTON                                                                                                           1                0
     GOLDEN EMPIRE; SOUTHERN SIERRA                                                                                                        1                0
     GOLDEN EMPIRE; SOUTHWEST FLORIDA                                                                                                      1                0
     GOLDEN EMPIRE; VENTURA COUNTY                                                                                                         1                0
     GOLDEN EMPIRE; WESTERN LOS ANGELES COUNTY                                                                                             1                0
     GOLDEN GATE AREA; GREAT RIVERS                                                                                                        1                0
     GOLDEN GATE AREA; GREAT SOUTHWEST                                                                                                     1                0
     GOLDEN GATE AREA; GREATER LOS ANGELES                                                                                                 1                0
     GOLDEN GATE AREA; GREATER LOS ANGELES; GREATER YOSEMITE                                                                               1                0
     GOLDEN GATE AREA; GREATER LOS ANGELES; WESTERN LOS ANGELES COUNTY                                                                     1                0
     GOLDEN GATE AREA; GREATER YOSEMITE; SENECA WATERWAYS                                                                                  1                0
     GOLDEN GATE AREA; GREEN MOUNTAIN                                                                                                      1                0
     GOLDEN GATE AREA; INLAND NORTHWEST                                                                                                    1                0
     GOLDEN GATE AREA; MARIN; SILICON VALLEY MONTEREY BAY                                                                                  1                0
     GOLDEN GATE AREA; MONTANA                                                                                                             1                0
     GOLDEN GATE AREA; NORTHERN NEW JERSEY                                                                                                 1                0
     GOLDEN GATE AREA; ORANGE COUNTY                                                                                                       1                0
     GOLDEN GATE AREA; ORANGE COUNTY; SILICON VALLEY MONTEREY BAY                                                                          1                0
     GOLDEN GATE AREA; SAN DIEGO - IMPERIAL COUNCIL                                                                                        1                0
     GOLDEN GATE AREA; SANTA FE TRAIL                                                                                                      1                0
     GOLDEN GATE AREA; SEQUOIA                                                                                                             1                0
     GOLDEN GATE AREA; SOUTHERN SIERRA                                                                                                     1                0
     GOLDEN GATE AREA; WASHINGTON CROSSING                                                                                                 1                0
     GOLDEN SPREAD; GREAT SOUTHWEST                                                                                                        1                0
     GOLDEN SPREAD; GULF COAST; SOUTH TEXAS                                                                                                1                0
     GOLDEN SPREAD; ISTROUMA AREA                                                                                                          1                0
     GOLDEN SPREAD; SOUTH FLORIDA COUNCIL                                                                                                  1                0
     GRAND CANYON; GREATER LOS ANGELES                                                                                                     1                0
     GRAND CANYON; LAS VEGAS AREA                                                                                                          1                0
     GRAND CANYON; LAUREL HIGHLANDS                                                                                                        1                0
     GRAND CANYON; LONGHORN                                                                                                                1                0
     GRAND CANYON; MICHIGAN CROSSROADS                                                                                                     1                0
     GRAND CANYON; SAN DIEGO - IMPERIAL COUNCIL                                                                                            1                0
     GRAND CANYON; TIDEWATER                                                                                                               1                0
     GRAND COLUMBIA; LONG BEACH AREA                                                                                                       1                0
     GRAND COLUMBIA; PACIFIC HARBORS                                                                                                       1                0
     GRAND COLUMBIA; PIKES PEAK                                                                                                            1                0
     GRAND TETON; MONTANA                                                                                                                  1                0
     GRAND TETON; ORANGE COUNTY                                                                                                            1                0
     GREAT ALASKA; MIDNIGHT SUN; NORTHERN LIGHTS                                                                                           1                0
     GREAT ALASKA; MIDNIGHT SUN; ORANGE COUNTY                                                                                             1                0
     GREAT RIVERS; INDIAN WATERS                                                                                                           1                0
     GREAT RIVERS; MICHIGAN CROSSROADS                                                                                                     1                0
     GREAT RIVERS; PACIFIC HARBORS                                                                                                         1                0
     GREAT RIVERS; PUSHMATAHA AREA                                                                                                         1                0
     GREAT SMOKY MOUNTAIN; INDIAN WATERS                                                                                                   1                0
     GREAT SMOKY MOUNTAIN; LAKE ERIE                                                                                                       1                0
     GREAT SMOKY MOUNTAIN; PALMETTO                                                                                                        1                0
     GREAT SMOKY MOUNTAIN; SAMOSET COUNCIL                                                                                                 1                0
     GREAT SMOKY MOUNTAIN; SEQUOYAH                                                                                                        1                0




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                                                                                                                                 All Unique & All Not-Barred,
                                                                   Local Council                                                    Timely    Unique & Timely
                                                                                                                                    Claims*       Claims*
     GREAT SMOKY MOUNTAIN; VENTURA COUNTY                                                                                                  1                0
     GREAT SOUTHWEST; LOS PADRES                                                                                                           1                0
     GREAT SOUTHWEST; MICHIGAN CROSSROADS                                                                                                  1                0
     GREAT SOUTHWEST; NORTHERN STAR                                                                                                        1                0
     GREAT SOUTHWEST; OLD HICKORY; SEQUOYAH                                                                                                1                0
     GREAT SOUTHWEST; SEQUOYAH                                                                                                             1                0
     GREAT SOUTHWEST; SOUTH PLAINS                                                                                                         1                0
     GREAT TRAIL; LAKE ERIE; THREE FIRES; WESTERN MASSACHUSETTS                                                                            1                0
     GREAT TRAIL; LAKE ERIE; WESTERN MASSACHUSETTS                                                                                         1                0
     GREAT TRAIL; MIAMI VALLEY                                                                                                             1                0
     GREAT TRAIL; MONMOUTH; NORTHERN NEW JERSEY                                                                                            1                0
     GREAT TRAIL; SIMON KENTON                                                                                                             1                0
     GREAT TRAIL; THREE FIRES                                                                                                              1                0
     GREAT TRAIL; WESTERN MASSACHUSETTS                                                                                                    1                0
     GREATER ALABAMA; GREATER TAMPA BAY AREA                                                                                               1                0
     GREATER ALABAMA; KATAHDIN AREA                                                                                                        1                0
     GREATER ALABAMA; MOBILE AREA; PUSHMATAHA AREA                                                                                         1                0
     GREATER ALABAMA; NATIONAL CAPITAL AREA                                                                                                1                0
     GREATER ALABAMA; NORTH FLORIDA                                                                                                        1                0
     GREATER ALABAMA; SEQUOIA                                                                                                              1                0
     GREATER ALABAMA; SOUTH GEORGIA                                                                                                        1                0
     GREATER ALABAMA; WASHINGTON CROSSING                                                                                                  1                0
     GREATER LOS ANGELES; GREATER TAMPA BAY AREA                                                                                           1                0
     GREATER LOS ANGELES; LAKE ERIE                                                                                                        1                0
     GREATER LOS ANGELES; LINCOLN HERITAGE                                                                                                 1                0
     GREATER LOS ANGELES; LONG BEACH AREA; ORANGE COUNTY                                                                                   1                0

     GREATER LOS ANGELES; LONG BEACH AREA; ORANGE COUNTY; SAN DIEGO - IMPERIAL COUNCIL; VERDUGO HILLS                                      1                0
     GREATER LOS ANGELES; LOS PADRES                                                                                                       1                0
     GREATER LOS ANGELES; MICHIGAN CROSSROADS                                                                                              1                0
     GREATER LOS ANGELES; MIDDLE TENNESSEE                                                                                                 1                0
     GREATER LOS ANGELES; MOBILE AREA                                                                                                      1                0
     GREATER LOS ANGELES; MONTANA                                                                                                          1                0
     GREATER LOS ANGELES; PACIFIC SKYLINE                                                                                                  1                0
     GREATER LOS ANGELES; PATRIOTS' PATH                                                                                                   1                0
     GREATER LOS ANGELES; SIOUX                                                                                                            1                0
     GREATER LOS ANGELES; SOUTHERN SIERRA                                                                                                  1                0
     GREATER NEW YORK; INLAND NORTHWEST                                                                                                    1                0
     GREATER NEW YORK; JERSEY SHORE                                                                                                        1                0
     GREATER NEW YORK; LAKE ERIE                                                                                                           1                0
     GREATER NEW YORK; LEATHERSTOCKING                                                                                                     1                0
     GREATER NEW YORK; MAYFLOWER; TWIN RIVERS; WESTCHESTER-PUTNAM                                                                          1                0
     GREATER NEW YORK; MICHIGAN CROSSROADS                                                                                                 1                0
     GREATER NEW YORK; MONTANA                                                                                                             1                0
     GREATER NEW YORK; NARRAGANSETT                                                                                                        1                0
     GREATER NEW YORK; NEW BIRTH OF FREEDOM                                                                                                1                0
     GREATER NEW YORK; NORTHERN STAR                                                                                                       1                0
     GREATER NEW YORK; PATHWAY TO ADVENTURE                                                                                                1                0
     GREATER NEW YORK; PATHWAY TO ADVENTURE; THREE HARBORS                                                                                 1                0
     GREATER NEW YORK; SOUTH FLORIDA COUNCIL                                                                                               1                0
     GREATER NEW YORK; WESTARK AREA                                                                                                        1                0
     GREATER NIAGARA FRONTIER; IROQUOIS TRAIL; TWIN RIVERS                                                                                 1                0
     GREATER NIAGARA FRONTIER; LONGHOUSE                                                                                                   1                0
     GREATER NIAGARA FRONTIER; NORTHERN LIGHTS                                                                                             1                0
     GREATER NIAGARA FRONTIER; THREE FIRES                                                                                                 1                0
     GREATER ST. LOUIS AREA; INDIAN WATERS                                                                                                 1                0
     GREATER ST. LOUIS AREA; LINCOLN HERITAGE                                                                                              1                0
     GREATER ST. LOUIS AREA; MICHIGAN CROSSROADS                                                                                           1                0
     GREATER ST. LOUIS AREA; NATIONAL CAPITAL AREA                                                                                         1                0
     GREATER ST. LOUIS AREA; OREGON TRAIL; PALMETTO                                                                                        1                0
     GREATER ST. LOUIS AREA; OZARK TRAILS                                                                                                  1                0
     GREATER ST. LOUIS AREA; SAM HOUSTON AREA                                                                                              1                0
     GREATER ST. LOUIS AREA; SIMON KENTON                                                                                                  1                0
     GREATER ST. LOUIS AREA; THREE FIRES                                                                                                   1                0
     GREATER ST. LOUIS AREA; VOYAGEURS AREA                                                                                                1                0
     GREATER ST. LOUIS AREA; W.D. BOYCE                                                                                                    1                0
     GREATER TAMPA BAY AREA; GREEN MOUNTAIN                                                                                                1                0
     GREATER TAMPA BAY AREA; GULF COAST; LONGHORN                                                                                          1                0
     GREATER TAMPA BAY AREA; GULF STREAM                                                                                                   1                0
     GREATER TAMPA BAY AREA; LEATHERSTOCKING                                                                                               1                0
     GREATER TAMPA BAY AREA; QUAPAW AREA                                                                                                   1                0
     GREATER TAMPA BAY AREA; SOUTHWEST FLORIDA                                                                                             1                0
     GREATER TAMPA BAY AREA; SUWANNEE RIVER AREA                                                                                           1                0
     GREATER TAMPA BAY AREA; TWIN RIVERS                                                                                                   1                0
     GREATER WYOMING; LONGS PEAK COUNCIL                                                                                                   1                0
     GREATER WYOMING; OZARK TRAILS                                                                                                         1                0
     GREATER YOSEMITE; PACIFIC SKYLINE                                                                                                     1                0
     GREATER YOSEMITE; WESTERN MASSACHUSETTS                                                                                               1                0
     GREEN MOUNTAIN; HEART OF NEW ENGLAND                                                                                                  1                0
     GREEN MOUNTAIN; NARRAGANSETT                                                                                                          1                0
     GREEN MOUNTAIN; NORTHERN NEW JERSEY                                                                                                   1                0




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     Unique and Timely Abuse Claim Count by Local Council
     Rows in white list Abuse claims against individual Local Councils. Rows in blue (with the exception of "UNKNOWN" and "MISSING") list Abuse claims
     against more than one Local Council.

                                                                                                                                 All Unique & All Not-Barred,
                                                                   Local Council                                                    Timely    Unique & Timely
                                                                                                                                    Claims*       Claims*
     GREEN MOUNTAIN; TWIN RIVERS                                                                                                           1                0
     GULF COAST; LAST FRONTIER                                                                                                             1                0
     GULF COAST; LONGHORN                                                                                                                  1                0
     GULF COAST; NORTH FLORIDA                                                                                                             1                0
     GULF COAST; NORTHERN STAR                                                                                                             1                0
     GULF COAST; PINE BURR AREA                                                                                                            1                0
     GULF COAST; SOUTH FLORIDA COUNCIL                                                                                                     1                0
     GULF COAST; SOUTH TEXAS; YUCCA                                                                                                        1                0
     GULF STREAM; MECKLENBURG COUNTY                                                                                                       1                0
     GULF STREAM; MOUNTAINEER AREA                                                                                                         1                0
     GULF STREAM; SAN DIEGO - IMPERIAL COUNCIL                                                                                             1                0
     GULF STREAM; TRANSATLANTIC                                                                                                            1                0
     HAWK MOUNTAIN; MINSI TRAILS                                                                                                           1                0
     HAWK MOUNTAIN; NEW BIRTH OF FREEDOM                                                                                                   1                0
     HAWK MOUNTAIN; NORTHEASTERN PENNSYLVANIA                                                                                              1                0
     HAWK MOUNTAIN; PENNSYLVANIA DUTCH                                                                                                     1                0
     HAWK MOUNTAIN; SHENANDOAH AREA                                                                                                        1                0
     HAWK MOUNTAIN; WASHINGTON CROSSING                                                                                                    1                0
     HAWKEYE AREA; MID-AMERICA                                                                                                             1                0
     HAWKEYE AREA; MID-IOWA                                                                                                                1                0
     HEART OF AMERICA; HEART OF VIRGINIA                                                                                                   1                0
     HEART OF AMERICA; LAKE ERIE                                                                                                           1                0
     HEART OF AMERICA; LAUREL HIGHLANDS                                                                                                    1                0
     HEART OF AMERICA; ORANGE COUNTY                                                                                                       1                0
     HEART OF AMERICA; OREGON TRAIL                                                                                                        1                0
     HEART OF AMERICA; PATHWAY TO ADVENTURE                                                                                                1                0
     HEART OF AMERICA; PATRIOTS' PATH; WINNEBAGO                                                                                           1                0
     HEART OF AMERICA; PONY EXPRESS                                                                                                        1                0
     HEART OF AMERICA; RIO GRANDE                                                                                                          1                0
     HEART OF AMERICA; SOUTH TEXAS                                                                                                         1                0
     HEART OF AMERICA; SOUTHEAST LOUISIANA                                                                                                 1                0
     HEART OF AMERICA; TWIN VALLEY                                                                                                         1                0
     HEART OF NEW ENGLAND; MAYFLOWER; SPIRIT OF ADVENTURE                                                                                  1                0
     HEART OF NEW ENGLAND; NARRAGANSETT                                                                                                    1                0
     HEART OF NEW ENGLAND; SPIRIT OF ADVENTURE                                                                                             1                0
     HEART OF NEW ENGLAND; TRANSATLANTIC                                                                                                   1                0
     HEART OF NEW ENGLAND; TWIN RIVERS                                                                                                     1                0
     HEART OF VIRGINIA; NATIONAL CAPITAL AREA                                                                                              1                0
     HEART OF VIRGINIA; PIKES PEAK                                                                                                         1                0
     HEART OF VIRGINIA; VIRGINIA HEADWATERS                                                                                                1                0
     HOOSIER TRAILS; LASALLE                                                                                                               1                0
     HUDSON VALLEY; LEATHERSTOCKING                                                                                                        1                0
     HUDSON VALLEY; MAYFLOWER                                                                                                              1                0
     HUDSON VALLEY; NEW BIRTH OF FREEDOM                                                                                                   1                0
     HUDSON VALLEY; NEW BIRTH OF FREEDOM; SUSQUEHANNA                                                                                      1                0
     HUDSON VALLEY; NORTHERN NEW JERSEY                                                                                                    1                0
     HUDSON VALLEY; THEODORE ROOSEVELT                                                                                                     1                0
     ILLOWA; MID-AMERICA                                                                                                                   1                0
     ILLOWA; MISSISSIPPI VALLEY; SPIRIT OF ADVENTURE                                                                                       1                0
     ILLOWA; NORTHEAST ILLINOIS                                                                                                            1                0
     ILLOWA; NORTHEAST IOWA COUNCIL                                                                                                        1                0
     ILLOWA; THREE FIRES                                                                                                                   1                0
     ILLOWA; WINNEBAGO                                                                                                                     1                0
     INDIAN NATIONS; SAGAMORE                                                                                                              1                0
     INDIAN WATERS; MICHIGAN CROSSROADS                                                                                                    1                0
     INDIAN WATERS; PEE DEE AREA                                                                                                           1                0
     INDIAN WATERS; PIKES PEAK                                                                                                             1                0
     INDIAN WATERS; TIDEWATER                                                                                                              1                0
     INLAND NORTHWEST; MOUNT BAKER                                                                                                         1                0
     INLAND NORTHWEST; MOUNTAIN WEST                                                                                                       1                0
     INLAND NORTHWEST; NORTHERN STAR                                                                                                       1                0
     INLAND NORTHWEST; OREGON TRAIL                                                                                                        1                0
     INLAND NORTHWEST; POTAWATOMI AREA                                                                                                     1                0
     IROQUOIS TRAIL; MICHIGAN CROSSROADS                                                                                                   1                0
     IROQUOIS TRAIL; PATHWAY TO ADVENTURE                                                                                                  1                0
     IROQUOIS TRAIL; SENECA WATERWAYS                                                                                                      1                0
     IROQUOIS TRAIL; SOUTHEAST LOUISIANA                                                                                                   1                0
     ISTROUMA AREA; NATIONAL CAPITAL AREA                                                                                                  1                0
     JAYHAWK AREA; MID-IOWA                                                                                                                1                0
     JAYHAWK AREA; NORTHERN LIGHTS                                                                                                         1                0
     JAYHAWK AREA; OVERLAND TRAILS                                                                                                         1                0
     JAYHAWK AREA; QUIVIRA                                                                                                                 1                0
     JERSEY SHORE; MINSI TRAILS                                                                                                            1                0
     JERSEY SHORE; MONMOUTH                                                                                                                1                0
     JERSEY SHORE; PATRIOTS' PATH                                                                                                          1                0
     JERSEY SHORE; SOUTH FLORIDA COUNCIL                                                                                                   1                0
     JERSEY SHORE; WASHINGTON CROSSING                                                                                                     1                0
     LAKE ERIE; LAUREL HIGHLANDS                                                                                                           1                0
     LAKE ERIE; MIAMI VALLEY                                                                                                               1                0
     LAKE ERIE; MUSKINGUM VALLEY                                                                                                           1                0
     LAKE ERIE; NORTHEAST ILLINOIS                                                                                                         1                0




Analysis based on manually-reviewed POC data received as of 7/2/2021                                                                                            17
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                                                                                                                                 All Unique & All Not-Barred,
                                                                   Local Council                                                    Timely    Unique & Timely
                                                                                                                                    Claims*       Claims*
     LAKE ERIE; PATRIOTS' PATH                                                                                                             1                0
     LAKE ERIE; QUIVIRA                                                                                                                    1                0
     LAKE ERIE; WESTERN MASSACHUSETTS                                                                                                      1                0
     LAS VEGAS AREA; MOUNTAIN WEST; NEVADA AREA                                                                                            1                0
     LAS VEGAS AREA; PIKES PEAK                                                                                                            1                0
     LAS VEGAS AREA; SUFFOLK COUNTY                                                                                                        1                0
     LASALLE; MIAMI VALLEY                                                                                                                 1                0
     LASALLE; MICHIGAN CROSSROADS                                                                                                          1                0
     LASALLE; NARRAGANSETT                                                                                                                 1                0
     LASALLE; OREGON TRAIL                                                                                                                 1                0
     LASALLE; THREE HARBORS                                                                                                                1                0
     LAST FRONTIER; LONG BEACH AREA                                                                                                        1                0
     LAST FRONTIER; SAGAMORE                                                                                                               1                0
     LAST FRONTIER; TEXAS TRAILS                                                                                                           1                0
     LAUREL HIGHLANDS; LINCOLN HERITAGE                                                                                                    1                0
     LAUREL HIGHLANDS; MORAINE TRAILS; WESTMORELAND-FAYETTE                                                                                1                0
     LAUREL HIGHLANDS; MOUNTAINEER AREA                                                                                                    1                0
     LAUREL HIGHLANDS; WESTERN MASSACHUSETTS                                                                                               1                0
     LEATHERSTOCKING; LINCOLN HERITAGE                                                                                                     1                0
     LEATHERSTOCKING; NARRAGANSETT                                                                                                         1                0
     LEATHERSTOCKING; RIP VAN WINKLE; TWIN RIVERS                                                                                          1                0
     LEATHERSTOCKING; SENECA WATERWAYS                                                                                                     1                0
     LEATHERSTOCKING; THEODORE ROOSEVELT                                                                                                   1                0
     LEATHERSTOCKING; WESTCHESTER-PUTNAM                                                                                                   1                0
     LINCOLN HERITAGE; SAGAMORE                                                                                                            1                0
     LINCOLN HERITAGE; SAN DIEGO - IMPERIAL COUNCIL                                                                                        1                0
     LONG BEACH AREA; LOS PADRES; ORANGE COUNTY; VENTURA COUNTY; VERDUGO HILLS; WESTERN LOS ANGELES
     COUNTY                                                                                                                                1                0
     LONG BEACH AREA; OVERLAND TRAILS                                                                                                      1                0
     LONG BEACH AREA; PACIFIC SKYLINE                                                                                                      1                0
     LONG BEACH AREA; SAN DIEGO - IMPERIAL COUNCIL                                                                                         1                0
     LONG BEACH AREA; TRANSATLANTIC                                                                                                        1                0
     LONG BEACH AREA; WESTERN LOS ANGELES COUNTY                                                                                           1                0
     LONGHORN; LOUISIANA PURCHASE                                                                                                          1                0
     LONGHORN; NATIONAL CAPITAL AREA                                                                                                       1                0
     LONGHORN; OZARK TRAILS                                                                                                                1                0
     LONGHORN; PACIFIC SKYLINE                                                                                                             1                0
     LONGHORN; SOUTH FLORIDA COUNCIL                                                                                                       1                0
     LONGHORN; SOUTH TEXAS; TEXAS SOUTHWEST                                                                                                1                0
     LONGHORN; TEXAS TRAILS; THREE RIVERS                                                                                                  1                0
     LONGHORN; TRANSATLANTIC                                                                                                               1                0
     LONGHORN; WINNEBAGO                                                                                                                   1                0
     LONGHOUSE; TWIN RIVERS                                                                                                                1                0
     LONGS PEAK COUNCIL; NORTHEAST ILLINOIS                                                                                                1                0
     LONGS PEAK COUNCIL; OVERLAND TRAILS                                                                                                   1                0
     LONGS PEAK COUNCIL; SAM HOUSTON AREA                                                                                                  1                0
     LONGS PEAK COUNCIL; SOUTHWEST FLORIDA                                                                                                 1                0
     LOS PADRES; VENTURA COUNTY                                                                                                            1                0
     MARIN; REDWOOD EMPIRE                                                                                                                 1                0
     MARIN; SAN DIEGO - IMPERIAL COUNCIL                                                                                                   1                0
     MASON-DIXON; PEE DEE AREA                                                                                                             1                0
     MAYFLOWER; NARRAGANSETT; SPIRIT OF ADVENTURE                                                                                          1                0
     MAYFLOWER; QUAPAW AREA                                                                                                                1                0
     MECKLENBURG COUNTY; OLD NORTH STATE                                                                                                   1                0
     MIAMI VALLEY; MICHIGAN CROSSROADS; TECUMSEH                                                                                           1                0
     MIAMI VALLEY; SOUTH FLORIDA COUNCIL                                                                                                   1                0
     MICHIGAN CROSSROADS; MID-AMERICA                                                                                                      1                0
     MICHIGAN CROSSROADS; NARRAGANSETT                                                                                                     1                0
     MICHIGAN CROSSROADS; NORTH FLORIDA                                                                                                    1                0
     MICHIGAN CROSSROADS; ORANGE COUNTY                                                                                                    1                0
     MICHIGAN CROSSROADS; OVERLAND TRAILS                                                                                                  1                0
     MICHIGAN CROSSROADS; PACIFIC HARBORS                                                                                                  1                0
     MICHIGAN CROSSROADS; PINE BURR AREA                                                                                                   1                0
     MICHIGAN CROSSROADS; QUAPAW AREA                                                                                                      1                0
     MICHIGAN CROSSROADS; RIO GRANDE                                                                                                       1                0
     MICHIGAN CROSSROADS; THREE FIRES                                                                                                      1                0
     MICHIGAN CROSSROADS; THREE FIRES; THREE HARBORS; THREE RIVERS                                                                         1                0
     MICHIGAN CROSSROADS; VERDUGO HILLS                                                                                                    1                0
     MICHIGAN CROSSROADS; WESTCHESTER-PUTNAM                                                                                               1                0
     MICHIGAN CROSSROADS; WESTERN LOS ANGELES COUNTY                                                                                       1                0
     MICHIGAN CROSSROADS; YOCONA AREA                                                                                                      1                0
     MID-AMERICA; OLD NORTH STATE                                                                                                          1                0
     MID-AMERICA; SIOUX                                                                                                                    1                0
     MID-AMERICA; TWIN RIVERS                                                                                                              1                0
     MID-IOWA; MISSISSIPPI VALLEY                                                                                                          1                0
     MID-IOWA; NORTHEAST IOWA COUNCIL                                                                                                      1                0
     MID-IOWA; W.D. BOYCE                                                                                                                  1                0
     MID-IOWA; WINNEBAGO                                                                                                                   1                0
     MIDDLE TENNESSEE; NATIONAL CAPITAL AREA                                                                                               1                0
     MIDDLE TENNESSEE; NORTH FLORIDA                                                                                                       1                0
     MIDDLE TENNESSEE; QUAPAW AREA                                                                                                         1                0




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                                                                                                                                 All Unique & All Not-Barred,
                                                                   Local Council                                                    Timely    Unique & Timely
                                                                                                                                    Claims*       Claims*
     MIDNIGHT SUN; OREGON TRAIL                                                                                                            1                0
     MINSI TRAILS; MORAINE TRAILS                                                                                                          1                0
     MINSI TRAILS; NEW BIRTH OF FREEDOM                                                                                                    1                0
     MINSI TRAILS; NORTHEAST GEORGIA                                                                                                       1                0
     MINSI TRAILS; WASHINGTON CROSSING                                                                                                     1                0
     MISSISSIPPI VALLEY; NORTHERN STAR                                                                                                     1                0
     MISSISSIPPI VALLEY; PATHWAY TO ADVENTURE                                                                                              1                0
     MISSISSIPPI VALLEY; PINE BURR AREA                                                                                                    1                0
     MISSISSIPPI VALLEY; THREE FIRES                                                                                                       1                0
     MOBILE AREA; PINE BURR AREA                                                                                                           1                0
     MONMOUTH; PIKES PEAK                                                                                                                  1                0
     MONTANA; NORTH FLORIDA                                                                                                                1                0
     MONTANA; NORTHEASTERN PENNSYLVANIA                                                                                                    1                0
     MONTANA; NORTHERN LIGHTS                                                                                                              1                0
     MOUNTAIN WEST; NEVADA AREA                                                                                                            1                0
     MOUNTAINEER AREA; SIMON KENTON                                                                                                        1                0
     MUSKINGUM VALLEY; SIMON KENTON                                                                                                        1                0
     MUSKINGUM VALLEY; SPIRIT OF ADVENTURE                                                                                                 1                0
     NARRAGANSETT; NATIONAL CAPITAL AREA                                                                                                   1                0
     NARRAGANSETT; SAM HOUSTON AREA                                                                                                        1                0
     NARRAGANSETT; SPIRIT OF ADVENTURE                                                                                                     1                0
     NARRAGANSETT; THEODORE ROOSEVELT                                                                                                      1                0
     NARRAGANSETT; WESTERN MASSACHUSETTS                                                                                                   1                0
     NATIONAL CAPITAL AREA; ORANGE COUNTY                                                                                                  1                0
     NATIONAL CAPITAL AREA; PACIFIC HARBORS                                                                                                1                0
     NATIONAL CAPITAL AREA; RIP VAN WINKLE                                                                                                 1                0
     NATIONAL CAPITAL AREA; SHENANDOAH AREA                                                                                                1                0
     NATIONAL CAPITAL AREA; SOUTH FLORIDA COUNCIL                                                                                          1                0
     NATIONAL CAPITAL AREA; SOUTH PLAINS                                                                                                   1                0
     NATIONAL CAPITAL AREA; WESTERN LOS ANGELES COUNTY                                                                                     1                0
     NEVADA AREA; OVERLAND TRAILS                                                                                                          1                0
     NEVADA AREA; OZARK TRAILS                                                                                                             1                0
     NEVADA AREA; PATHWAY TO ADVENTURE                                                                                                     1                0
     NEVADA AREA; SEQUOIA; SILICON VALLEY MONTEREY BAY                                                                                     1                0
     NEVADA AREA; SPIRIT OF ADVENTURE                                                                                                      1                0
     NEVADA AREA; WESTERN LOS ANGELES COUNTY                                                                                               1                0
     NEW BIRTH OF FREEDOM; TECUMSEH                                                                                                        1                0
     NEW BIRTH OF FREEDOM; TRANSATLANTIC                                                                                                   1                0
     NEW BIRTH OF FREEDOM; WASHINGTON CROSSING                                                                                             1                0
     NORTH FLORIDA; SOUTHWEST FLORIDA                                                                                                      1                0
     NORTH FLORIDA; SPIRIT OF ADVENTURE                                                                                                    1                0
     NORTH FLORIDA; THREE FIRES                                                                                                            1                0
     NORTH FLORIDA; YUCCA                                                                                                                  1                0
     NORTHEAST ILLINOIS; PACIFIC HARBORS                                                                                                   1                0
     NORTHEAST ILLINOIS; RAINBOW; THREE FIRES                                                                                              1                0
     NORTHEAST ILLINOIS; W.D. BOYCE                                                                                                        1                0
     NORTHEASTERN PENNSYLVANIA; NORTHERN NEW JERSEY                                                                                        1                0
     NORTHEASTERN PENNSYLVANIA; SUSQUEHANNA                                                                                                1                0
     NORTHERN NEW JERSEY; PATHWAY TO ADVENTURE                                                                                             1                0
     NORTHERN NEW JERSEY; QUIVIRA                                                                                                          1                0
     NORTHERN NEW JERSEY; SOUTHWEST FLORIDA                                                                                                1                0
     NORTHERN NEW JERSEY; THREE RIVERS                                                                                                     1                0
     NORTHERN NEW JERSEY; TUSCARORA                                                                                                        1                0
     NORTHERN NEW JERSEY; TWIN RIVERS                                                                                                      1                0
     NORTHERN STAR; PIKES PEAK                                                                                                             1                0
     NORTHERN STAR; PRAIRIELANDS                                                                                                           1                0
     NORTHWEST GEORGIA; OCCONEECHEE                                                                                                        1                0
     NORTHWEST TEXAS; QUIVIRA                                                                                                              1                0
     NORTHWEST TEXAS; SAM HOUSTON AREA                                                                                                     1                0
     OCCONEECHEE; TRANSATLANTIC                                                                                                            1                0
     OCCONEECHEE; TUSCARORA                                                                                                                1                0
     OHIO RIVER VALLEY; PATHWAY TO ADVENTURE                                                                                               1                0
     OHIO RIVER VALLEY; SIMON KENTON                                                                                                       1                0
     OLD HICKORY; SEQUOYAH                                                                                                                 1                0
     OLD HICKORY; TIDEWATER                                                                                                                1                0
     OLD NORTH STATE; SEQUOIA                                                                                                              1                0
     OLD NORTH STATE; WESTCHESTER-PUTNAM                                                                                                   1                0
     OLD NORTH STATE; WESTERN MASSACHUSETTS                                                                                                1                0
     ORANGE COUNTY; PACIFIC SKYLINE                                                                                                        1                0
     ORANGE COUNTY; SEQUOIA                                                                                                                1                0
     ORANGE COUNTY; VENTURA COUNTY                                                                                                         1                0
     OREGON TRAIL; OVERLAND TRAILS                                                                                                         1                0
     OREGON TRAIL; QUIVIRA                                                                                                                 1                0
     OREGON TRAIL; SHENANDOAH AREA                                                                                                         1                0
     OZARK TRAILS; THREE FIRES                                                                                                             1                0
     PACIFIC HARBORS; SAN DIEGO - IMPERIAL COUNCIL                                                                                         1                0
     PACIFIC HARBORS; WESTERN MASSACHUSETTS                                                                                                1                0
     PACIFIC SKYLINE; SEQUOIA; SILICON VALLEY MONTEREY BAY                                                                                 1                0
     PATHWAY TO ADVENTURE; PRAIRIELANDS                                                                                                    1                0
     PATHWAY TO ADVENTURE; RIP VAN WINKLE                                                                                                  1                0
     PATHWAY TO ADVENTURE; SAGAMORE                                                                                                        1                0




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                                                                                                                                          All Unique & All Not-Barred,
                                                                   Local Council                                                             Timely    Unique & Timely
                                                                                                                                             Claims*       Claims*
     PATHWAY TO ADVENTURE; SENECA WATERWAYS                                                                                                           1                  0
     PATHWAY TO ADVENTURE; THREE FIRES; THREE HARBORS                                                                                                 1                  0
     PATHWAY TO ADVENTURE; TWIN RIVERS                                                                                                                1                  0
     PATHWAY TO ADVENTURE; WESTERN LOS ANGELES COUNTY                                                                                                 1                  0
     PATRIOTS' PATH; VIRGINIA HEADWATERS                                                                                                              1                  0
     PATRIOTS' PATH; WINNEBAGO                                                                                                                        1                  0
     PENNSYLVANIA DUTCH; SAM HOUSTON AREA                                                                                                             1                  0
     PIEDMONT 420; SENECA WATERWAYS                                                                                                                   1                  0
     PONY EXPRESS; QUIVIRA                                                                                                                            1                  0
     PRAIRIELANDS; THREE FIRES                                                                                                                        1                  0
     PRAIRIELANDS; W.D. BOYCE                                                                                                                         1                  0
     PUSHMATAHA AREA; YOCONA AREA                                                                                                                     1                  0
     QUAPAW AREA; SEQUOYAH                                                                                                                            1                  0
     QUIVIRA; SANTA FE TRAIL                                                                                                                          1                  0
     QUIVIRA; TEXAS TRAILS                                                                                                                            1                  0
     RAINBOW; SAGAMORE                                                                                                                                1                  0
     RAINBOW; SOUTH FLORIDA COUNCIL                                                                                                                   1                  0
     REDWOOD EMPIRE; TRANSATLANTIC                                                                                                                    1                  0
     RIO GRANDE; SOUTH TEXAS                                                                                                                          1                  0
     RIO GRANDE; TEXAS SOUTHWEST                                                                                                                      1                  0
     SAGAMORE; SPIRIT OF ADVENTURE                                                                                                                    1                  0
     SAGAMORE; THREE FIRES                                                                                                                            1                  0
     SAGAMORE; TWIN RIVERS                                                                                                                            1                  0
     SAM HOUSTON AREA; TEXAS SOUTHWEST                                                                                                                1                  0
     SAM HOUSTON AREA; TEXAS TRAILS                                                                                                                   1                  0
     SAM HOUSTON AREA; TIDEWATER                                                                                                                      1                  0
     SAM HOUSTON AREA; VOYAGEURS AREA                                                                                                                 1                  0
     SAM HOUSTON AREA; YUCCA                                                                                                                          1                  0
     SAN DIEGO - IMPERIAL COUNCIL; SEQUOIA                                                                                                            1                  0
     SAN DIEGO - IMPERIAL COUNCIL; TIDEWATER                                                                                                          1                  0
     SANTA FE TRAIL; SOUTHEAST LOUISIANA                                                                                                              1                  0
     SENECA WATERWAYS; SUFFOLK COUNTY                                                                                                                 1                  0
     SENECA WATERWAYS; THEODORE ROOSEVELT                                                                                                             1                  0
     SENECA WATERWAYS; WESTCHESTER-PUTNAM                                                                                                             1                  0
     SENECA WATERWAYS; WESTMORELAND-FAYETTE                                                                                                           1                  0
     SEQUOIA; WESTERN LOS ANGELES COUNTY                                                                                                              1                  0
     SILICON VALLEY MONTEREY BAY; WESTERN LOS ANGELES COUNTY                                                                                          1                  0
     SIMON KENTON; TECUMSEH                                                                                                                           1                  0
     SOUTH FLORIDA COUNCIL; SOUTH GEORGIA                                                                                                             1                  0
     SOUTH FLORIDA COUNCIL; SOUTHWEST FLORIDA                                                                                                         1                  0
     SOUTH PLAINS; TEXAS SOUTHWEST                                                                                                                    1                  0
     SOUTHEAST LOUISIANA; WEST TENNESSEE AREA                                                                                                         1                  0
     SOUTHERN SIERRA; VENTURA COUNTY                                                                                                                  1                  0
     SOUTHERN SIERRA; VERDUGO HILLS                                                                                                                   1                  0
     SPIRIT OF ADVENTURE; TRANSATLANTIC                                                                                                               1                  0
     SPIRIT OF ADVENTURE; TWIN RIVERS                                                                                                                 1                  0
     SPIRIT OF ADVENTURE; YOCONA AREA                                                                                                                 1                  0
     SUFFOLK COUNTY; TWIN RIVERS                                                                                                                      1                  0
     SUSQUEHANNA; WESTERN MASSACHUSETTS                                                                                                               1                  0
     THEODORE ROOSEVELT; WASHINGTON CROSSING                                                                                                          1                  0
     THREE FIRES; TWIN RIVERS                                                                                                                         1                  0
     THREE HARBORS; THREE RIVERS                                                                                                                      1                  0
     THREE HARBORS; YUCCA                                                                                                                             1                  0
     TUKABATCHEE AREA; WESTMORELAND-FAYETTE                                                                                                           1                  0
     WEST TENNESSEE AREA; YOCONA AREA                                                                                                                 1                  0
     Total                                                                                                                                       82,209             27,987

     * The abuse claim count listed in these columns is based on the claimants’ responses to Part 4.I. on the Sexual Abuse Proof of Claim Form and does not account for
     references to the Local Council that may be located elsewhere in the proof of claim. The abuse claim count listed above also does not reflect any other analysis
     conducted by the Debtors to approximate the total number of abuse claims that implicate the Local Council.




Analysis based on manually-reviewed POC data received as of 7/2/2021                                                                                                         20
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     Unique and Timely Abuse Claim Count by Local Council & Allegation
     Rows in white list Abuse claims against individual Local Councils. Rows in blue (with the exception of "UNKNOWN" and "MISSING") list Abuse claims against more than one Local Council.



                                                                                                                                                      Touching-   Touching- Unknown/
                                                  Local Council                                   Penetration    Oral Sex   Masturbation   Groping                                     Missing        Total*
                                                                                                                                                      Unclothed    Clothed Unconfirmed

     UNKNOWN                                                                                             5,639     4,494           2,887      4,101         538       406         1,004          87   19,156
     MISSING                                                                                             1,910     1,807           1,025      2,011         334       161         1,631       1,479   10,358
     MICHIGAN CROSSROADS                                                                                   551       416             277        385          38        25            39           5    1,736
     GREATER NEW YORK                                                                                      512       357             275        356          39        25            36           0    1,600
     PATHWAY TO ADVENTURE                                                                                  431       386             248        378          31        16            26           3    1,519
     GREATER LOS ANGELES                                                                                   474       304             208        281          21        19            20           1    1,328
     GREATER ST. LOUIS AREA                                                                                277       237             161        186          22        19            17           2      921
     SAM HOUSTON AREA                                                                                      252       186             136        199          15        14            22           2      826
     GOLDEN GATE AREA                                                                                      223       177             132        179          18        11            17           2      759
     SPIRIT OF ADVENTURE                                                                                   184       190             129        155          18        10            23           0      709
     CROSSROADS OF THE WEST                                                                                255       132             137        129           8        13            11           1      686
     HEART OF AMERICA                                                                                      248       146             105        132           9        11            14           0      665
     NATIONAL CAPITAL AREA                                                                                 192       149             103        160           8         5            11           2      630
     CRADLE OF LIBERTY                                                                                     167       171              96        126          11        12            15           1      599
     CIRCLE TEN                                                                                            206       160              78        106           6         9            21           0      586
     CASCADE PACIFIC                                                                                       182       123             109        125           7         5            12           2      565
     SOUTH FLORIDA COUNCIL                                                                                 158       157             100        116           4         9             8           1      553
     GRAND CANYON                                                                                          181       131              92        110           6         8            14           2      544
     NORTHERN NEW JERSEY                                                                                   141       127             103        118          13        13            10           0      525
     CALIFORNIA INLAND EMPIRE                                                                              191        99              79        115           7         8             9           0      508
     LAKE ERIE                                                                                             139       124              95        103          10         4            17           2      494
     BALTIMORE AREA                                                                                        159       124              64        108           7         8            18           0      488
     GREATER TAMPA BAY AREA                                                                                160       122              95         85          14         5             6           0      487
     ATLANTA AREA                                                                                          164       104              81         96          12         6             7           0      470
     GOLDEN EMPIRE                                                                                         153       105              81         95          13         8            10           2      467
     GREATER ALABAMA                                                                                       134       111              74        100          10         4            10           2      445
     SAN DIEGO - IMPERIAL COUNCIL                                                                          144       101              92         79          11         7             6           3      443
     CROSSROADS OF AMERICA                                                                                 136       111              70         99           7        11             8           0      442
     LINCOLN HERITAGE                                                                                      141       103              72         95           5         3            10           0      429
     LONGHORN                                                                                              151        92              76         82           8         8            12           0      429
     NARRAGANSETT                                                                                          117        97              82         85           8         6             6           1      402
     ORANGE COUNTY                                                                                         130        85              83         76           9         7            12           0      402
     QUAPAW AREA                                                                                           130        96              57         81           8        11             8           1      392
     SIMON KENTON                                                                                          139        86              66         78           6         5             9           1      390
     LAUREL HIGHLANDS                                                                                      105       110              64         82          10         4             7           1      383
     DAN BEARD                                                                                             125        89              70         70          13         6             4           4      381
     CHICKASAW                                                                                             124        80              62         90           7         6             7           1      377
     DENVER AREA                                                                                           120        78              81         68           9         4             7           3      370
     SOUTHEAST LOUISIANA                                                                                   116       104              52         75          12         5             6           0      370
     CHIEF SEATTLE                                                                                         112        95              67         65           5         3             8           1      356
     NORTHERN STAR                                                                                         108        72              66         81           9         5             9           2      352
     LAST FRONTIER                                                                                         109        72              59         67           3         3            13           0      326
     CENTRAL FLORIDA                                                                                        83        75              57         76           9        11            10           0      321
     SILICON VALLEY MONTEREY BAY                                                                           114        67              67         58           4         3             7           1      321
     ALAMO AREA                                                                                             98        71              57         68           4         4             7           0      309
     CONNECTICUT RIVERS                                                                                     86        77              57         68           4         3            11           1      307
     NORTH FLORIDA                                                                                         112        68              42         68           8         4             5           0      307
     BUCKSKIN                                                                                              100        67              37         62           6         7             3           2      284
     QUIVIRA                                                                                                85        62              57         48           6         4            13           0      275
     THREE HARBORS                                                                                          85        65              45         70           3         4             3           0      275
     WESTERN LOS ANGELES COUNTY                                                                            105        52              46         58           3         2             6           1      273
     MID-AMERICA                                                                                            86        56              51         57           5         2            13           2      272
     MIDDLE TENNESSEE                                                                                       74        81              43         69           2         1             1           1      272
     GREAT SOUTHWEST                                                                                       105        42              50         49           2         7             9           1      265
     GARDEN STATE                                                                                           85        71              50         49           2         2             4           0      263
     SEQUOIA                                                                                               100        56              34         55           6         2             7           0      260
     GREAT TRAIL                                                                                            78        63              38         60           6         5             5           0      255
     GREATER NIAGARA FRONTIER                                                                               67        63              47         58           8         2             5           0      250
     CONNECTICUT YANKEE                                                                                     75        63              29         61           4         7            10           0      249
     PACIFIC HARBORS                                                                                        77        49              54         53           1         1             6           0      241
     MAYFLOWER                                                                                              64        60              45         47           5         2            14           1      238
     SENECA WATERWAYS                                                                                       75        58              37         53           3         3             6           0      235
     TIDEWATER                                                                                              75        56              45         45           3         2             4           2      232
     PATRIOTS' PATH                                                                                         68        60              40         55           2         1             3           0      229
     TWIN RIVERS                                                                                            68        65              40         37           4         2            10           1      227
     CATALINA                                                                                               79        54              28         41           4         3             9           0      218
     GREATER YOSEMITE                                                                                       82        45              36         44           3         4             1           0      215
     INDIAN NATIONS                                                                                         78        69              30         30           1         2             5           0      215
     OCCONEECHEE                                                                                            65        52              40         46           7         2             2           0      214
     WESTCHESTER-PUTNAM                                                                                     54        48              43         54           7         5             3           0      214
     ANDREW JACKSON                                                                                         70        47              29         51           5         0             4           1      207
     BLUE GRASS                                                                                             78        62              24         33           2         4             4           0      207
     WESTERN MASSACHUSETTS                                                                                  54        51              30         51           3         3             8           0      200
     ALOHA                                                                                                  70        53              32         33           5         1             2           0      196
     LAS VEGAS AREA                                                                                         64        45              28         45           5         4             5           0      196
     SUFFOLK COUNTY                                                                                         53        46              32         52           6         3             4           0      196
     LONGHOUSE                                                                                              58        40              39         47           3         3             4           0      194
     THEODORE ROOSEVELT                                                                                     50        38              41         48           8         4             5           0      194
     PINE TREE                                                                                              58        60              34         29           2         2             6           1      192
     GULF COAST                                                                                             70        45              31         40           0         0             4           1      191
     DANIEL WEBSTER                                                                                         73        49              33         24           1         2             8           0      190
     GREAT SMOKY MOUNTAIN                                                                                   74        39              30         36           1         0             5           0      185
     HEART OF NEW ENGLAND                                                                                   50        60              32         35           2         1             3           0      183
     YUCCA                                                                                                  65        39              28         36           4         1             9           0      182
     OZARK TRAILS                                                                                           65        40              23         39           4         3             7           0      181
     PINE BURR AREA                                                                                         62        46              23         42           5         0             2           1      181
     BUCKEYE                                                                                                51        44              35         33           7         1             8           0      179
     EAST CAROLINA                                                                                          62        51              30         27           3         4             2           0      179
     NEW BIRTH OF FREEDOM                                                                                   36        59              37         36           3         2             5           1      179
     GULF STREAM                                                                                            49        61              24         33           2         1             7           0      177
     OLD NORTH STATE                                                                                        64        33              30         37           4         2             6           1      177
     ERIE SHORES                                                                                            44        53              32         39           3         5             0           0      176
     TRANSATLANTIC                                                                                          52        39              45         32           3         2             2           1      176
     INLAND NORTHWEST                                                                                       63        32              32         37           2         2             5           1      174
     BAY-LAKES                                                                                              42        39              38         44           2         1             4           1      171
     LONG BEACH AREA                                                                                        48        40              29         44           1         2             1           0      165
     OREGON TRAIL                                                                                           66        36              25         31           0         2             4           0      164
     COASTAL CAROLINA                                                                                       57        29              33         29           3         3             8           0      162




Analysis based on manually-reviewed POC data received as of 7/2/2021                                                                                                                                           1
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     Unique and Timely Abuse Claim Count by Local Council & Allegation
     Rows in white list Abuse claims against individual Local Councils. Rows in blue (with the exception of "UNKNOWN" and "MISSING") list Abuse claims against more than one Local Council.



                                                                                                                                                     Touching-    Touching- Unknown/
                                                  Local Council                                   Penetration    Oral Sex   Masturbation   Groping                                     Missing    Total*
                                                                                                                                                     Unclothed     Clothed Unconfirmed

     HEART OF VIRGINIA                                                                                      55        41              30        30            1         3             1       0      161
     MID-IOWA                                                                                               46        42              28        28            3         5             7       0      159
     ISTROUMA AREA                                                                                          44        44              34        27            5         3             1       0      158
     SOUTHERN SIERRA                                                                                        56        35              23        34            3         2             3       0      156
     BLACKHAWK AREA                                                                                         42        44              19        42            5         1             2       0      155
     BLUE RIDGE                                                                                             50        41              26        26            5         2             2       1      153
     MIAMI VALLEY                                                                                           48        37              24        40            2         1             0       1      153
     MOUNT BAKER                                                                                            52        30              32        32            2         1             1       1      151
     W.D. BOYCE                                                                                             56        31              25        30            3         3             3       0      151
     THREE FIRES                                                                                            45        35              25        31            6         4             3       0      149
     PIEDMONT 420                                                                                           55        34              21        30            3         0             1       0      144
     THREE RIVERS                                                                                           63        26              23        23            2         1             5       1      144
     INDIAN WATERS                                                                                          53        33              22        30            2         1             2       0      143
     MONTANA                                                                                                46        32              28        29            3         1             4       0      143
     MOUNTAIN WEST                                                                                          55        34              17        32            2         1             2       0      143
     DEL-MAR-VA                                                                                             39        44              16        31            1         3             6       0      140
     CRATER LAKE COUNCIL                                                                                    50        31              22        22            3         1             9       0      138
     CAPITOL AREA                                                                                           43        22              29        33            4         2             1       1      135
     SOUTH TEXAS                                                                                            61        30              21        16            1         3             3       0      135
     HUDSON VALLEY                                                                                          32        30              27        33            2         3             4       1      132
     MOBILE AREA                                                                                            55        31              21        24            0         0             1       0      132
     LASALLE                                                                                                37        37              19        31            2         2             2       0      130
     COASTAL GEORGIA                                                                                        50        29              23        20            2         2             2       0      128
     GOLDEN SPREAD                                                                                          42        32              21        27            2         1             3       0      128
     CHATTAHOOCHEE                                                                                          33        38              19        30            2         1             2       1      126
     ILLOWA                                                                                                 45        33              23        18            3         1             3       0      126
     SOUTHWEST FLORIDA                                                                                      39        37              25        21            2         0             1       0      125
     LONGS PEAK COUNCIL                                                                                     54        21              27        17            2         2             1       0      124
     TUKABATCHEE AREA                                                                                       31        24              23        37            5         2             2       0      124
     LOUISIANA PURCHASE                                                                                     44        26              23        28            0         0             1       0      122
     NEVADA AREA                                                                                            42        30              17        27            1         2             3       0      122
     EAST TEXAS AREA                                                                                        41        29              20        24            3         1             1       1      120
     NORTHEAST GEORGIA                                                                                      46        25              19        21            4         1             3       0      119
     OLD HICKORY                                                                                            38        33              20        22            3         1             2       0      119
     SAGAMORE                                                                                               42        36              11        23            2         1             2       0      117
     WESTARK AREA                                                                                           35        32              20        20            4         2             2       0      115
     MINSI TRAILS                                                                                           34        30              19        24            4         2             1       0      114
     BUFFALO TRACE                                                                                          37        26              27        18            1         1             3       0      113
     BLUE RIDGE MOUNTAINS                                                                                   45        22              11        26            3         2             2       0      111
     JERSEY SHORE                                                                                           40        23              16        25            4         1             0       0      109
     MONMOUTH                                                                                               27        27              26        24            3         1             0       1      109
     PACIFIC SKYLINE                                                                                        29        26              18        27            3         3             3       0      109
     NORTHEAST ILLINOIS                                                                                     33        22              20        24            0         4             4       1      108
     NORTHERN LIGHTS                                                                                        29        28              22        22            5         1             1       0      108
     COLONIAL VIRGINIA                                                                                      25        30              19        26            0         4             1       0      105
     GLACIER'S EDGE                                                                                         23        20              28        25            3         3             3       0      105
     BADEN POWELL                                                                                           27        30              21        23            1         0             2       0      104
     NORWELA                                                                                                34        27               9        29            3         1             1       0      104
     ANTHONY WAYNE AREA                                                                                     39        24              18        14            3         1             4       0      103
     FRENCH CREEK                                                                                           20        31              22        20            4         0             5       0      102
     GREEN MOUNTAIN                                                                                         23        24              28        24            0         0             2       0      101
     PIKES PEAK                                                                                             31        24              18        21            3         1             2       1      101
     CAPE FEAR                                                                                              37        22              13        21            1         2             4       0      100
     CHEROKEE AREA 556                                                                                      28        25              20        17            3         4             2       0       99
     BAY AREA                                                                                               30        23              14        28            1         1             1       0       98
     GREAT ALASKA                                                                                           39        26              12        15            1         2             3       0       98
     SOUTH PLAINS                                                                                           34        17              17        23            1         3             3       0       98
     MECKLENBURG COUNTY                                                                                     28        22              16        23            1         5             2       0       97
     VENTURA COUNTY                                                                                         31        19              19        23            3         0             1       1       97
     RIO GRANDE                                                                                             32        16              18        19            3         4             4       0       96
     BUFFALO TRAIL                                                                                          34        19              22        18            1         0             1       0       95
     CENTRAL GEORGIA                                                                                        26        24              21        15            2         3             3       0       94
     CENTRAL NORTH CAROLINA                                                                                 27        19              20        21            2         2             3       0       94
     GRAND COLUMBIA                                                                                         37        19              18        16            2         0             2       0       94
     LEATHERSTOCKING                                                                                        32        27              14        14            1         2             2       0       92
     LOS PADRES                                                                                             33        22              14        20            0         1             1       0       91
     SOUTH GEORGIA                                                                                          22        20              15        30            1         0             2       0       90
     GEORGIA-CAROLINA                                                                                       26        13              15        29            3         1             2       0       89
     PEE DEE AREA                                                                                           20        24              12        23            6         2             1       1       89
     RAINBOW                                                                                                29        23              13        19            1         0             2       0       87
     EVANGELINE AREA                                                                                        33        18               9        20            3         0             3       0       86
     CALCASIEU                                                                                              34        18              12        13            3         1             4       0       85
     PALMETTO                                                                                               25        22               7        26            5         0             0       0       85
     GRAND TETON                                                                                            29        11              15        20            5         3             1       0       84
     PRAIRIELANDS                                                                                           27        20              14        19            0         2             1       0       83
     ROCKY MOUNTAIN                                                                                         24        24              14        15            0         1             4       1       83
     HAWK MOUNTAIN                                                                                          22        30              12        16            0         1             1       0       82
     PUERTO RICO                                                                                            35        16              16        11            2         0             1       0       81
     HOOSIER TRAILS                                                                                         29        18              14        16            1         0             1       0       79
     TECUMSEH                                                                                               28        20              11        16            1         1             1       1       79
     WASHINGTON CROSSING                                                                                    23        16              21        16            0         2             1       0       79
     BLACK SWAMP AREA                                                                                       16        28               9        19            2         0             4       0       78
     PENNSYLVANIA DUTCH                                                                                     21        15              19        16            6         1             0       0       78
     FIVE RIVERS                                                                                            27        17              13        15            0         2             1       2       77
     SEQUOYAH                                                                                               28        24              11        11            1         0             2       0       77
     VERDUGO HILLS                                                                                          19        24              13        15            0         2             2       0       75
     NORTHWEST TEXAS                                                                                        17        15              20        17            0         1             3       1       74
     TEXAS TRAILS                                                                                           29        14              11        16            1         0             3       0       74
     BLACK WARRIOR                                                                                          17        15              17        21            0         2             0       1       73
     GREAT RIVERS                                                                                           25        17              19         7            2         0             3       0       73
     NORTHEASTERN PENNSYLVANIA                                                                              20        22              13        16            1         0             1       0       73
     FLINT RIVER                                                                                            15        14              18        22            1         1             1       0       72
     WESTMORELAND-FAYETTE                                                                                   18        19              20        10            1         0             3       0       71
     ALLEGHENY HIGHLANDS                                                                                    21        11              19        15            1         0             0       1       68
     BLUE MOUNTAIN                                                                                          24        11              13        14            2         0             3       0       67
     CORONADO AREA                                                                                          22        19               8        15            1         0             1       1       67
     REDWOOD EMPIRE                                                                                         22        17              13        10            2         1             1       0       66
     ALABAMA-FLORIDA                                                                                        24        13              11        15            0         1             1       0       65




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                                                                                                                                                     Touching-    Touching- Unknown/
                                                  Local Council                                   Penetration    Oral Sex   Masturbation   Groping                                     Missing    Total*
                                                                                                                                                     Unclothed     Clothed Unconfirmed

     CONQUISTADOR                                                                                           25        20               7        11            1         0             1       0       65
     WEST TENNESSEE AREA                                                                                    20        18               6        15            1         2             2       0       64
     PONY EXPRESS                                                                                           17        10               8        23            1         1             2       0       62
     YOCONA AREA                                                                                            25        11               9        13            1         2             1       0       62
     CADDO AREA                                                                                             14        19              12        12            1         1             2       0       61
     CIMARRON                                                                                               17        16              10        12            2         2             1       1       61
     DANIEL BOONE                                                                                           16        14              13        16            1         1             0       0       61
     WINNEBAGO                                                                                              17        12              15        15            1         1             0       0       61
     GAMEHAVEN                                                                                              15        14              13        15            1         1             1       0       60
     HAWKEYE AREA                                                                                           17        14              13        11            1         2             1       0       59
     FAR EAST                                                                                               23        15              10         5            2         0             2       1       58
     CORNHUSKER                                                                                             23         9               6        10            3         1             5       0       57
     CHIPPEWA VALLEY                                                                                        12         8              16        14            2         1             2       0       55
     KATAHDIN AREA                                                                                          13        14              15        10            1         0             2       0       55
     OHIO RIVER VALLEY                                                                                      20         8              11        15            1         0             0       0       55
     MORAINE TRAILS                                                                                         24        11               9         7            2         1             0       0       54
     PUSHMATAHA AREA                                                                                        20         7               8        10            4         3             1       1       54
     ABRAHAM LINCOLN                                                                                        20        17               5         9            1         1             0       0       53
     SUWANNEE RIVER AREA                                                                                    12         9              13        15            1         2             1       0       53
     OVERLAND TRAILS                                                                                        19        12              10         9            2         0             0       0       52
     TEXAS SOUTHWEST                                                                                        17        12              12         9            1         0             0       0       51
     CHESTER COUNTY                                                                                         22        11               8         9            0         0             0       0       50
     SUSQUEHANNA                                                                                            16         9              12        10            1         0             1       0       49
     SIOUX                                                                                                  13        11               9         8            4         1             2       0       48
     TWIN VALLEY                                                                                            12        10              15         7            1         2             1       0       48
     MUSKINGUM VALLEY                                                                                       18        11               7         9            1         0             1       0       47
     NORTHWEST GEORGIA                                                                                      18         6              10         8            0         0             2       0       44
     VOYAGEURS AREA                                                                                         16         6              12         9            0         1             0       0       44
     IROQUOIS TRAIL                                                                                         13        10               8         8            0         0             3       0       42
     TUSCARORA                                                                                              11        13               8         8            1         0             1       0       42
     CHOCTAW AREA                                                                                           15        11               9         4            1         0             1       0       41
     JAYHAWK AREA                                                                                           13        10               6        11            0         0             1       0       41
     MOUNTAINEER AREA                                                                                       15        11               4        10            0         1             0       0       41
     MISSISSIPPI VALLEY                                                                                     13        11              10         6            0         0             0       0       40
     CAPE COD & ISLANDS                                                                                     14        10               6         6            1         0             2       0       39
     VIRGINIA HEADWATERS                                                                                    10        10               8         9            0         2             0       0       39
     MASON-DIXON                                                                                            14         8               5         8            1         2             0       0       38
     ARBUCKLE AREA                                                                                          13         7               1        14            0         0             0       0       35
     BLACK HILLS AREA                                                                                       11         7              11         4            0         0             2       0       35
     MARIN                                                                                                   9        14               8         4            0         0             0       0       35
     CENTRAL NEW JERSEY                                                                                      9         4               7         9            1         0             4       0       34
     POTAWATOMI AREA                                                                                         6        12               5         5            0         1             3       0       32
     SAMOSET COUNCIL                                                                                        10        10               6         5            0         1             0       0       32
     CENTRAL MINNESOTA                                                                                       5         3              10         8            2         2             1       0       31
     CHEROKEE AREA 469                                                                                      14         6               5         4            0         0             2       0       31
     GREATER WYOMING                                                                                        10         7               6         5            0         1             2       0       31
     DE SOTO AREA                                                                                           12         6               4         8            0         0             0       0       30
     GATEWAY AREA                                                                                            7         7               7         5            1         0             2       0       29
     NORTHEAST IOWA COUNCIL                                                                                  5         9               7         6            1         0             0       0       28
     SHENANDOAH AREA                                                                                         7         8               1         9            0         1             2       0       28
     JUNIATA VALLEY                                                                                          6         6               7         4            1         2             0       0       26
     RIP VAN WINKLE                                                                                          6         7               2         6            3         0             1       1       26
     MIDNIGHT SUN                                                                                            8         8               4         2            1         1             0       0       24
     BUCKTAIL                                                                                                7         7               2         7            0         0             0       0       23
     SANTA FE TRAIL                                                                                          8         3               2         4            0         1             1       0       19
     DIRECT SERVICE                                                                                          2         5               2         2            2         0             0       0       13
     HOUSATONIC                                                                                              1         4               0         3            1         0             1       0       10
     CHIEF CORNPLANTER                                                                                       3         2               1         1            0         1             0       0        8
     COLUMBIA-MONTOUR                                                                                        4         1               0         1            0         0             2       0        8
     PIEDMONT 042                                                                                            2         2               1         2            0         0             0       0        7
     GREENWICH                                                                                               1         2               0         1            0         0             0       0        4
     CENTRAL ESCARPMENT                                                                                      0         0               0         0            0         0             1       0        1
     GREATER TORONTO                                                                                         0         1               0         0            0         0             0       0        1
     CENTRAL NEW JERSEY; WASHINGTON CROSSING                                                                19        11              10        12            0         0             2       0       54
     CALIFORNIA INLAND EMPIRE; GREATER LOS ANGELES                                                          20         9               8         6            0         1             2       0       46
     NORTHERN NEW JERSEY; PATRIOTS' PATH                                                                     7        31               5         2            0         0             0       0       45
     GREATER LOS ANGELES; WESTERN LOS ANGELES COUNTY                                                         9         6              13         7            0         0             0       0       35
     CENTRAL NEW JERSEY; PATRIOTS' PATH                                                                      9         6               6         9            1         1             0       1       33
     NORTHERN LIGHTS; NORTHERN STAR                                                                          9         7               6         4            1         0             5       0       32
     ALOHA; DIRECT SERVICE                                                                                  10         7               7         3            1         0             0       0       28
     COLONIAL VIRGINIA; TIDEWATER                                                                            7        11               3         4            0         0             2       0       27
     GOLDEN EMPIRE; GOLDEN GATE AREA                                                                         9         4               6         6            1         0             0       0       26
     GREATER NEW YORK; NORTHERN NEW JERSEY                                                                  10         3               5         6            0         1             0       0       25
     GREATER NIAGARA FRONTIER; IROQUOIS TRAIL                                                               14         4               5         2            0         0             0       0       25
     DANIEL WEBSTER; SPIRIT OF ADVENTURE                                                                    10         4               8         2            0         0             0       0       24
     CIRCLE TEN; LONGHORN                                                                                   13         5               3         1            1         0             0       0       23
     CONNECTICUT RIVERS; CONNECTICUT YANKEE                                                                 10         5               5         3            0         0             0       0       23
     GREAT TRAIL; NORTHERN NEW JERSEY                                                                        8         3               6         3            0         0             2       1       23
     GREATER ALABAMA; MOBILE AREA                                                                            5         7               3         3            0         0             3       0       21
     GREATER LOS ANGELES; ORANGE COUNTY                                                                      8         5               4         4            0         0             0       0       21
     BALTIMORE AREA; NATIONAL CAPITAL AREA                                                                   6         2               6         6            0         0             0       0       20
     NORTHEAST ILLINOIS; PATHWAY TO ADVENTURE                                                                5         7               5         2            0         1             0       0       20
     CHIPPEWA VALLEY; NORTHERN STAR                                                                          5         4               4         3            1         1             1       0       19
     GOLDEN GATE AREA; GREATER YOSEMITE                                                                      7         6               0         3            1         0             2       0       19
     GREATER NEW YORK; THEODORE ROOSEVELT                                                                    6         6               2         3            0         1             1       0       19
     SUFFOLK COUNTY; THEODORE ROOSEVELT                                                                      6         5               2         4            1         0             1       0       19
     BUCKEYE; LAKE ERIE                                                                                      8         3               3         0            0         0             3       0       17
     CIRCLE TEN; WESTERN LOS ANGELES COUNTY                                                                  8         2               2         2            2         1             0       0       17
     CROSSROADS OF AMERICA; DEL-MAR-VA                                                                       6         8               1         2            0         0             0       0       17
     GREATER NEW YORK; HUDSON VALLEY                                                                         3         5               4         4            0         0             1       0       17
     MAYFLOWER; SPIRIT OF ADVENTURE                                                                          6         5               3         3            0         0             0       0       17
     ATLANTA AREA; NORTHEAST GEORGIA                                                                         5         5               2         2            1         0             1       0       16
     PACIFIC SKYLINE; SILICON VALLEY MONTEREY BAY                                                            1         5               5         5            0         0             0       0       16
     CENTRAL NEW JERSEY; MONMOUTH                                                                            4         4               2         4            1         0             0       0       15
     GREATER ALABAMA; TUKABATCHEE AREA                                                                       8         4               1         2            0         0             0       0       15
     ALAMO AREA; SAM HOUSTON AREA                                                                            6         3               3         2            0         0             0       0       14
     CROSSROADS OF AMERICA; HOOSIER TRAILS                                                                   7         3               2         2            0         0             0       0       14
     LAS VEGAS AREA; NEVADA AREA                                                                             6         2               3         1            1         0             1       0       14




Analysis based on manually-reviewed POC data received as of 7/2/2021                                                                                                                                       3
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     Unique and Timely Abuse Claim Count by Local Council & Allegation
     Rows in white list Abuse claims against individual Local Councils. Rows in blue (with the exception of "UNKNOWN" and "MISSING") list Abuse claims against more than one Local Council.



                                                                                                                                                     Touching-    Touching- Unknown/
                                                  Local Council                                   Penetration    Oral Sex   Masturbation   Groping                                     Missing    Total*
                                                                                                                                                     Unclothed     Clothed Unconfirmed

     CHIEF SEATTLE; PACIFIC HARBORS                                                                          8         3               2         0            0         0             0       0       13
     GREATER LOS ANGELES; LONG BEACH AREA                                                                    2         3               3         3            0         1             1       0       13
     CONNECTICUT YANKEE; GREENWICH                                                                           3         3               3         2            1         0             0       0       12
     GOLDEN EMPIRE; GREATER YOSEMITE                                                                         3         0               5         2            2         0             0       0       12
     NORTHERN STAR; VOYAGEURS AREA                                                                           3         2               2         5            0         0             0       0       12
     CENTRAL MINNESOTA; NORTHERN STAR                                                                        3         4               2         2            0         0             0       0       11
     CRATER LAKE COUNCIL; LOS PADRES                                                                         5         3               1         1            1         0             0       0       11
     JUNIATA VALLEY; LAUREL HIGHLANDS                                                                        8         1               1         1            0         0             0       0       11
     LASALLE; PATHWAY TO ADVENTURE                                                                           3         0               2         4            2         0             0       0       11
     MAYFLOWER; NARRAGANSETT                                                                                 5         3               1         1            1         0             0       0       11
     BAY-LAKES; MICHIGAN CROSSROADS                                                                          1         3               0         6            0         0             0       0       10
     CATALINA; GRAND CANYON                                                                                  3         2               3         2            0         0             0       0       10
     CENTRAL FLORIDA; NORTH FLORIDA                                                                          1         2               2         4            0         0             1       0       10
     GOLDEN GATE AREA; PACIFIC SKYLINE                                                                       5         4               1         0            0         0             0       0       10
     GREAT TRAIL; LAKE ERIE                                                                                  1         3               2         3            0         1             0       0       10
     GULF COAST; SOUTH TEXAS                                                                                 3         1               5         1            0         0             0       0       10
     IROQUOIS TRAIL; LEATHERSTOCKING                                                                         3         1               3         3            0         0             0       0       10
     CROSSROADS OF AMERICA; SAGAMORE                                                                         3         1               4         1            0         0             0       0        9
     MICHIGAN CROSSROADS; PATHWAY TO ADVENTURE                                                               3         4               2         0            0         0             0       0        9
     NORTH FLORIDA; SUWANNEE RIVER AREA                                                                      4         0               2         3            0         0             0       0        9
     SOUTHERN SIERRA; WESTERN LOS ANGELES COUNTY                                                             5         0               1         2            0         0             1       0        9
     BLACK WARRIOR; GREATER ALABAMA                                                                          0         7               0         1            0         0             0       0        8
     GOLDEN GATE AREA; REDWOOD EMPIRE                                                                        1         4               2         1            0         0             0       0        8
     GREAT RIVERS; HEART OF AMERICA                                                                          3         2               1         1            0         1             0       0        8
     LONGHORN; SAM HOUSTON AREA                                                                              0         3               4         0            0         0             1       0        8
     MECKLENBURG COUNTY; PIEDMONT 420                                                                        3         1               0         4            0         0             0       0        8
     PATHWAY TO ADVENTURE; RAINBOW                                                                           1         3               3         1            0         0             0       0        8
     PATHWAY TO ADVENTURE; THREE FIRES                                                                       3         3               1         0            0         0             1       0        8
     BALTIMORE AREA; DEL-MAR-VA                                                                              2         3               2         0            0         0             0       0        7
     BLUE GRASS; LINCOLN HERITAGE                                                                            4         1               1         1            0         0             0       0        7
     CIRCLE TEN; SAM HOUSTON AREA                                                                            2         0               2         2            1         0             0       0        7
     CRATER LAKE COUNCIL; REDWOOD EMPIRE                                                                     4         1               0         1            0         1             0       0        7
     GOLDEN EMPIRE; NEVADA AREA                                                                              3         2               1         0            1         0             0       0        7
     GOLDEN GATE AREA; NEVADA AREA                                                                           2         2               0         1            1         0             1       0        7
     LONG BEACH AREA; ORANGE COUNTY                                                                          5         1               0         1            0         0             0       0        7
     MIAMI VALLEY; TECUMSEH                                                                                  3         1               0         3            0         0             0       0        7
     POTAWATOMI AREA; THREE HARBORS                                                                          3         1               1         2            0         0             0       0        7
     ATLANTA AREA; COASTAL GEORGIA                                                                           5         0               0         1            0         0             0       0        6
     CENTRAL NORTH CAROLINA; MECKLENBURG COUNTY                                                              2         2               1         0            0         0             1       0        6
     CRADLE OF LIBERTY; WASHINGTON CROSSING                                                                  3         0               1         2            0         0             0       0        6
     DENVER AREA; LONGS PEAK COUNCIL                                                                         4         0               2         0            0         0             0       0        6
     FIVE RIVERS; SENECA WATERWAYS                                                                           0         3               0         2            1         0             0       0        6
     GARDEN STATE; JERSEY SHORE                                                                              0         3               1         2            0         0             0       0        6
     GARDEN STATE; NORTHERN NEW JERSEY                                                                       3         0               1         2            0         0             0       0        6
     GREATER NEW YORK; SUFFOLK COUNTY                                                                        5         0               1         0            0         0             0       0        6
     HEART OF AMERICA; QUIVIRA                                                                               1         2               2         1            0         0             0       0        6
     HEART OF VIRGINIA; TIDEWATER                                                                            3         1               1         0            0         1             0       0        6
     ISTROUMA AREA; SOUTHEAST LOUISIANA                                                                      2         1               0         2            1         0             0       0        6
     KATAHDIN AREA; PINE TREE                                                                                1         4               1         0            0         0             0       0        6
     MISSISSIPPI VALLEY; SPIRIT OF ADVENTURE                                                                 1         2               1         2            0         0             0       0        6
     SAM HOUSTON AREA; THREE RIVERS                                                                          1         1               1         3            0         0             0       0        6
     ALAMO AREA; CAPITOL AREA                                                                                2         2               0         1            0         0             0       0        5
     ALLEGHENY HIGHLANDS; SENECA WATERWAYS                                                                   1         3               1         0            0         0             0       0        5
     ANDREW JACKSON; PINE BURR AREA                                                                          1         2               0         1            0         0             1       0        5
     BAY AREA; SAM HOUSTON AREA                                                                              1         1               1         2            0         0             0       0        5
     BAY-LAKES; PATHWAY TO ADVENTURE                                                                         4         0               0         1            0         0             0       0        5
     CHEROKEE AREA 469; QUAPAW AREA                                                                          5         0               0         0            0         0             0       0        5
     CHIEF SEATTLE; MOUNT BAKER                                                                              3         0               2         0            0         0             0       0        5
     DANIEL BOONE; PIEDMONT 420                                                                              2         2               0         1            0         0             0       0        5
     DANIEL WEBSTER; HEART OF NEW ENGLAND                                                                    1         2               1         1            0         0             0       0        5
     ERIE SHORES; LAKE ERIE                                                                                  2         1               1         1            0         0             0       0        5
     GOLDEN EMPIRE; GREATER LOS ANGELES                                                                      1         1               3         0            0         0             0       0        5
     GREAT RIVERS; GREATER ST. LOUIS AREA                                                                    1         1               1         1            1         0             0       0        5
     GREAT SOUTHWEST; SAM HOUSTON AREA                                                                       1         1               0         2            1         0             0       0        5
     GREATER LOS ANGELES; SAM HOUSTON AREA                                                                   2         0               2         1            0         0             0       0        5
     GREATER LOS ANGELES; VERDUGO HILLS                                                                      2         0               1         2            0         0             0       0        5
     GREATER TAMPA BAY AREA; GULF COAST                                                                      0         2               1         1            0         0             1       0        5
     GREATER TAMPA BAY AREA; SOUTH FLORIDA COUNCIL                                                           2         1               1         1            0         0             0       0        5
     GULF STREAM; SOUTH FLORIDA COUNCIL                                                                      1         1               1         2            0         0             0       0        5
     HEART OF AMERICA; MID-AMERICA                                                                           2         1               0         0            2         0             0       0        5
     HEART OF NEW ENGLAND; MAYFLOWER                                                                         3         1               0         1            0         0             0       0        5
     LAUREL HIGHLANDS; MORAINE TRAILS                                                                        2         1               0         1            0         0             1       0        5
     LEATHERSTOCKING; LONGHOUSE                                                                              2         0               2         1            0         0             0       0        5
     NATIONAL CAPITAL AREA; TIDEWATER                                                                        2         2               0         1            0         0             0       0        5
     ALAMO AREA; TEXAS SOUTHWEST                                                                             1         1               1         1            0         0             0       0        4
     ANDREW JACKSON; PUSHMATAHA AREA                                                                         2         0               1         0            1         0             0       0        4
     ATLANTA AREA; FLINT RIVER                                                                               1         2               1         0            0         0             0       0        4
     BLUE RIDGE MOUNTAINS; TIDEWATER                                                                         0         1               2         1            0         0             0       0        4
     BUCKEYE; GREAT TRAIL                                                                                    0         3               0         1            0         0             0       0        4
     BUCKSKIN; MOUNTAINEER AREA                                                                              1         1               0         1            0         1             0       0        4
     CALCASIEU; LOUISIANA PURCHASE                                                                           1         0               2         0            0         0             1       0        4
     CALIFORNIA INLAND EMPIRE; WESTERN LOS ANGELES COUNTY                                                    0         3               0         1            0         0             0       0        4
     CAPE FEAR; DEL-MAR-VA                                                                                   3         0               0         1            0         0             0       0        4
     CAPITOL AREA; SAM HOUSTON AREA                                                                          2         0               0         1            1         0             0       0        4
     CASCADE PACIFIC; PINE TREE                                                                              1         1               2         0            0         0             0       0        4
     CHESTER COUNTY; CRADLE OF LIBERTY                                                                       2         1               1         0            0         0             0       0        4
     CHESTER COUNTY; WESTCHESTER-PUTNAM                                                                      0         1               2         1            0         0             0       0        4
     CORONADO AREA; JAYHAWK AREA                                                                             0         2               1         1            0         0             0       0        4
     CRADLE OF LIBERTY; MINSI TRAILS                                                                         1         1               1         1            0         0             0       0        4
     CROSSROADS OF AMERICA; CROSSROADS OF THE WEST                                                           2         0               1         1            0         0             0       0        4
     DAN BEARD; MIAMI VALLEY                                                                                 3         1               0         0            0         0             0       0        4
     DANIEL BOONE; MECKLENBURG COUNTY                                                                        2         0               2         0            0         0             0       0        4
     DENVER AREA; PIKES PEAK                                                                                 1         2               1         0            0         0             0       0        4
     GOLDEN EMPIRE; SILICON VALLEY MONTEREY BAY                                                              4         0               0         0            0         0             0       0        4
     GOLDEN GATE AREA; SILICON VALLEY MONTEREY BAY                                                           1         3               0         0            0         0             0       0        4
     GREAT ALASKA; MIDNIGHT SUN                                                                              0         2               0         2            0         0             0       0        4
     GREAT RIVERS; OZARK TRAILS                                                                              1         1               0         2            0         0             0       0        4
     GREATER ST. LOUIS AREA; HEART OF AMERICA                                                                2         1               1         0            0         0             0       0        4




Analysis based on manually-reviewed POC data received as of 7/2/2021                                                                                                                                       4
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     Unique and Timely Abuse Claim Count by Local Council & Allegation
     Rows in white list Abuse claims against individual Local Councils. Rows in blue (with the exception of "UNKNOWN" and "MISSING") list Abuse claims against more than one Local Council.



                                                                                                                                                     Touching-    Touching- Unknown/
                                                  Local Council                                   Penetration    Oral Sex   Masturbation   Groping                                     Missing    Total*
                                                                                                                                                     Unclothed     Clothed Unconfirmed

     GREATER ST. LOUIS AREA; MISSISSIPPI VALLEY                                                              0         2               0         2            0         0             0       0        4
     GREATER ST. LOUIS AREA; PRAIRIELANDS                                                                    1         1               0         2            0         0             0       0        4
     GREATER YOSEMITE; SILICON VALLEY MONTEREY BAY                                                           1         0               1         2            0         0             0       0        4
     HEART OF AMERICA; OZARK TRAILS                                                                          2         2               0         0            0         0             0       0        4
     HEART OF NEW ENGLAND; HUDSON VALLEY                                                                     2         1               0         0            0         0             0       1        4
     ISTROUMA AREA; LOUISIANA PURCHASE                                                                       3         1               0         0            0         0             0       0        4
     LAUREL HIGHLANDS; WESTMORELAND-FAYETTE                                                                  2         0               0         2            0         0             0       0        4
     LONG BEACH AREA; SILICON VALLEY MONTEREY BAY                                                            1         0               0         2            1         0             0       0        4
     LONGHORN; TEXAS TRAILS                                                                                  1         1               1         1            0         0             0       0        4
     MECKLENBURG COUNTY; PALMETTO                                                                            4         0               0         0            0         0             0       0        4
     MID-AMERICA; MID-IOWA                                                                                   0         1               1         2            0         0             0       0        4
     MINSI TRAILS; NORTHEASTERN PENNSYLVANIA                                                                 0         1               1         2            0         0             0       0        4
     MINSI TRAILS; NORTHERN NEW JERSEY                                                                       1         1               2         0            0         0             0       0        4
     NORTHEAST ILLINOIS; SAMOSET COUNCIL                                                                     1         1               2         0            0         0             0       0        4
     OLD HICKORY; OLD NORTH STATE                                                                            2         0               1         1            0         0             0       0        4
     PATHWAY TO ADVENTURE; THREE HARBORS                                                                     2         1               1         0            0         0             0       0        4
     RAINBOW; THREE FIRES                                                                                    0         0               1         3            0         0             0       0        4
     VERDUGO HILLS; WESTERN LOS ANGELES COUNTY                                                               1         1               1         0            1         0             0       0        4
     ALABAMA-FLORIDA; GREATER ALABAMA                                                                        1         0               2         0            0         0             0       0        3
     ATLANTA AREA; CENTRAL GEORGIA                                                                           0         0               1         2            0         0             0       0        3
     ATLANTA AREA; CHATTAHOOCHEE                                                                             1         1               0         1            0         0             0       0        3
     ATLANTA AREA; SOUTH GEORGIA                                                                             0         2               0         1            0         0             0       0        3
     BADEN POWELL; CRADLE OF LIBERTY                                                                         1         1               0         1            0         0             0       0        3
     BADEN POWELL; SUSQUEHANNA                                                                               0         1               0         2            0         0             0       0        3
     BADEN POWELL; TUSCARORA                                                                                 0         0               1         2            0         0             0       0        3
     BLACKHAWK AREA; RAINBOW                                                                                 2         1               0         0            0         0             0       0        3
     BLUE GRASS; SEQUOYAH                                                                                    2         1               0         0            0         0             0       0        3
     BLUE RIDGE; PALMETTO                                                                                    0         1               1         1            0         0             0       0        3
     BUCKEYE; SIMON KENTON                                                                                   1         2               0         0            0         0             0       0        3
     BUFFALO TRACE; LINCOLN HERITAGE                                                                         1         2               0         0            0         0             0       0        3
     CADDO AREA; QUAPAW AREA                                                                                 1         1               1         0            0         0             0       0        3
     CALIFORNIA INLAND EMPIRE; ORANGE COUNTY                                                                 1         0               1         1            0         0             0       0        3
     CAPITOL AREA; NATIONAL CAPITAL AREA                                                                     0         1               1         0            0         0             1       0        3
     CASCADE PACIFIC; CRATER LAKE COUNCIL                                                                    0         0               1         2            0         0             0       0        3
     CASCADE PACIFIC; PACIFIC HARBORS                                                                        2         0               0         1            0         0             0       0        3
     CENTRAL MINNESOTA; VOYAGEURS AREA                                                                       1         1               0         1            0         0             0       0        3
     CENTRAL NEW JERSEY; MINSI TRAILS                                                                        0         0               2         0            0         0             1       0        3
     CENTRAL NORTH CAROLINA; OCCONEECHEE                                                                     1         1               0         1            0         0             0       0        3
     CHATTAHOOCHEE; FLINT RIVER                                                                              0         1               1         1            0         0             0       0        3
     CHATTAHOOCHEE; GREATER ALABAMA                                                                          1         1               1         0            0         0             0       0        3
     CONNECTICUT RIVERS; HEART OF NEW ENGLAND                                                                1         1               0         1            0         0             0       0        3
     CONNECTICUT YANKEE; HOUSATONIC                                                                          2         1               0         0            0         0             0       0        3
     CONQUISTADOR; GREAT SOUTHWEST                                                                           1         2               0         0            0         0             0       0        3
     CRATER LAKE COUNCIL; OREGON TRAIL                                                                       1         1               1         0            0         0             0       0        3
     CROSSROADS OF AMERICA; MIAMI VALLEY                                                                     0         0               1         1            1         0             0       0        3
     CROSSROADS OF AMERICA; SIMON KENTON                                                                     1         0               1         0            0         0             1       0        3
     CROSSROADS OF THE WEST; GRAND TETON                                                                     0         0               2         1            0         0             0       0        3
     CROSSROADS OF THE WEST; MOUNTAIN WEST                                                                   1         1               0         0            0         0             1       0        3
     DAN BEARD; SIMON KENTON                                                                                 1         0               1         0            0         0             1       0        3
     DANIEL WEBSTER; GREATER ST. LOUIS AREA                                                                  1         1               0         1            0         0             0       0        3
     EAST CAROLINA; OCCONEECHEE                                                                              2         0               0         1            0         0             0       0        3
     EAST TEXAS AREA; THREE RIVERS                                                                           1         0               0         2            0         0             0       0        3
     GARDEN STATE; THEODORE ROOSEVELT                                                                        2         0               1         0            0         0             0       0        3
     GOLDEN GATE AREA; MARIN                                                                                 2         0               0         1            0         0             0       0        3
     GRAND COLUMBIA; INLAND NORTHWEST                                                                        1         2               0         0            0         0             0       0        3
     GRAND TETON; MOUNTAIN WEST                                                                              2         1               0         0            0         0             0       0        3
     GREAT SMOKY MOUNTAIN; MIDDLE TENNESSEE                                                                  2         0               0         1            0         0             0       0        3
     GREATER LOS ANGELES; GREATER YOSEMITE                                                                   1         0               0         2            0         0             0       0        3
     GREATER NEW YORK; GREATER NIAGARA FRONTIER                                                              0         0               1         2            0         0             0       0        3
     GREATER NEW YORK; SENECA WATERWAYS                                                                      2         0               1         0            0         0             0       0        3
     GREATER NEW YORK; WESTCHESTER-PUTNAM                                                                    1         1               0         1            0         0             0       0        3
     GREATER NIAGARA FRONTIER; SENECA WATERWAYS                                                              1         0               0         2            0         0             0       0        3
     GREATER ST. LOUIS AREA; NORTHEAST ILLINOIS                                                              0         1               0         2            0         0             0       0        3
     GREATER YOSEMITE; SOUTHERN SIERRA                                                                       1         0               2         0            0         0             0       0        3
     HEART OF AMERICA; JAYHAWK AREA                                                                          1         1               1         0            0         0             0       0        3
     HEART OF NEW ENGLAND; WESTCHESTER-PUTNAM                                                                1         2               0         0            0         0             0       0        3
     HUDSON VALLEY; WESTCHESTER-PUTNAM                                                                       1         1               1         0            0         0             0       0        3
     INLAND NORTHWEST; PACIFIC HARBORS                                                                       0         0               1         1            0         0             1       0        3
     LAUREL HIGHLANDS; NATIONAL CAPITAL AREA                                                                 1         1               0         0            1         0             0       0        3
     LONGHORN; NORTHWEST TEXAS                                                                               2         1               0         0            0         0             0       0        3
     LOS PADRES; SEQUOIA                                                                                     0         1               1         1            0         0             0       0        3
     LOS PADRES; SOUTHERN SIERRA                                                                             1         1               0         1            0         0             0       0        3
     MAYFLOWER; WESTCHESTER-PUTNAM                                                                           0         0               2         1            0         0             0       0        3
     MICHIGAN CROSSROADS; NORTHEAST ILLINOIS                                                                 0         0               1         2            0         0             0       0        3
     MID-AMERICA; OVERLAND TRAILS                                                                            2         0               0         1            0         0             0       0        3
     NEVADA AREA; PACIFIC SKYLINE                                                                            2         0               1         0            0         0             0       0        3
     NEW BIRTH OF FREEDOM; PENNSYLVANIA DUTCH                                                                1         1               0         1            0         0             0       0        3
     NORTHEAST GEORGIA; NORTHWEST GEORGIA                                                                    1         0               0         1            1         0             0       0        3
     NORTHEAST ILLINOIS; THREE FIRES                                                                         0         1               0         2            0         0             0       0        3
     NORTHERN NEW JERSEY; WASHINGTON CROSSING                                                                1         1               1         0            0         0             0       0        3
     NORTHERN STAR; TWIN VALLEY                                                                              1         1               1         0            0         0             0       0        3
     OCCONEECHEE; OLD HICKORY                                                                                1         1               0         1            0         0             0       0        3
     ORANGE COUNTY; SAN DIEGO - IMPERIAL COUNCIL                                                             0         0               0         3            0         0             0       0        3
     QUAPAW AREA; WESTARK AREA                                                                               1         0               2         0            0         0             0       0        3
     SENECA WATERWAYS; TWIN RIVERS                                                                           1         0               0         1            0         0             1       0        3
     SEQUOIA; SOUTHERN SIERRA                                                                                1         1               1         0            0         0             0       0        3
     TIDEWATER; VIRGINIA HEADWATERS                                                                          1         0               1         1            0         0             0       0        3
     VENTURA COUNTY; WESTERN LOS ANGELES COUNTY                                                              3         0               0         0            0         0             0       0        3
     ABRAHAM LINCOLN; GREATER ST. LOUIS AREA                                                                 0         1               0         1            0         0             0       0        2
     ABRAHAM LINCOLN; PATHWAY TO ADVENTURE                                                                   1         0               0         1            0         0             0       0        2
     ABRAHAM LINCOLN; W.D. BOYCE                                                                             1         1               0         0            0         0             0       0        2
     ALLEGHENY HIGHLANDS; BALTIMORE AREA                                                                     1         0               1         0            0         0             0       0        2
     ALLEGHENY HIGHLANDS; BUCKSKIN                                                                           0         2               0         0            0         0             0       0        2
     ALLEGHENY HIGHLANDS; GREAT TRAIL                                                                        1         0               0         1            0         0             0       0        2
     ALLEGHENY HIGHLANDS; GREATER NIAGARA FRONTIER                                                           0         0               0         1            0         0             1       0        2
     ALLEGHENY HIGHLANDS; LAUREL HIGHLANDS                                                                   1         0               1         0            0         0             0       0        2
     ALOHA; FAR EAST                                                                                         1         0               1         0            0         0             0       0        2
     ANDREW JACKSON; CHICKASAW                                                                               1         0               1         0            0         0             0       0        2




Analysis based on manually-reviewed POC data received as of 7/2/2021                                                                                                                                       5
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     Unique and Timely Abuse Claim Count by Local Council & Allegation
     Rows in white list Abuse claims against individual Local Councils. Rows in blue (with the exception of "UNKNOWN" and "MISSING") list Abuse claims against more than one Local Council.



                                                                                                                                                     Touching-    Touching- Unknown/
                                                  Local Council                                   Penetration    Oral Sex   Masturbation   Groping                                     Missing    Total*
                                                                                                                                                     Unclothed     Clothed Unconfirmed

     ANTHONY WAYNE AREA; CROSSROADS OF AMERICA                                                               2         0               0         0            0         0             0       0        2
     ARBUCKLE AREA; LAST FRONTIER                                                                            1         1               0         0            0         0             0       0        2
     ATLANTA AREA; JERSEY SHORE                                                                              1         0               1         0            0         0             0       0        2
     ATLANTA AREA; NORTHWEST GEORGIA                                                                         2         0               0         0            0         0             0       0        2
     ATLANTA AREA; PATHWAY TO ADVENTURE                                                                      1         0               0         1            0         0             0       0        2
     BADEN POWELL; CROSSROADS OF AMERICA; DEL-MAR-VA                                                         0         2               0         0            0         0             0       0        2
     BADEN POWELL; JUNIATA VALLEY                                                                            2         0               0         0            0         0             0       0        2
     BADEN POWELL; TWIN RIVERS                                                                               1         1               0         0            0         0             0       0        2
     BAY-LAKES; GLACIER'S EDGE                                                                               1         0               0         1            0         0             0       0        2
     BAY-LAKES; NORTHEAST ILLINOIS                                                                           0         2               0         0            0         0             0       0        2
     BAY-LAKES; SAMOSET COUNCIL                                                                              0         1               1         0            0         0             0       0        2
     BLACK SWAMP AREA; BUCKEYE                                                                               1         0               1         0            0         0             0       0        2
     BLACK SWAMP AREA; ERIE SHORES                                                                           0         1               1         0            0         0             0       0        2
     BLACK SWAMP AREA; SIMON KENTON                                                                          0         2               0         0            0         0             0       0        2
     BLACKHAWK AREA; NORTHEAST ILLINOIS                                                                      0         1               1         0            0         0             0       0        2
     BLACKHAWK AREA; PATHWAY TO ADVENTURE                                                                    1         0               1         0            0         0             0       0        2
     BLUE GRASS; LAUREL HIGHLANDS                                                                            1         1               0         0            0         0             0       0        2
     BLUE GRASS; SIMON KENTON                                                                                0         1               0         1            0         0             0       0        2
     BLUE MOUNTAIN; CASCADE PACIFIC                                                                          1         0               1         0            0         0             0       0        2
     BLUE MOUNTAIN; INLAND NORTHWEST                                                                         0         0               2         0            0         0             0       0        2
     BLUE RIDGE MOUNTAINS; HEART OF VIRGINIA                                                                 0         0               1         0            0         0             1       0        2
     BLUE RIDGE; DANIEL BOONE                                                                                1         0               1         0            0         0             0       0        2
     BLUE RIDGE; OCCONEECHEE                                                                                 1         1               0         0            0         0             0       0        2
     BUCKEYE; GREAT TRAIL; LAKE ERIE                                                                         1         1               0         0            0         0             0       0        2
     BUCKSKIN; SIMON KENTON                                                                                  1         1               0         0            0         0             0       0        2
     BUFFALO TRAIL; TEXAS TRAILS                                                                             2         0               0         0            0         0             0       0        2
     CALIFORNIA INLAND EMPIRE; GOLDEN EMPIRE                                                                 1         0               1         0            0         0             0       0        2
     CALIFORNIA INLAND EMPIRE; LONG BEACH AREA                                                               1         1               0         0            0         0             0       0        2
     CALIFORNIA INLAND EMPIRE; SAN DIEGO - IMPERIAL COUNCIL                                                  1         1               0         0            0         0             0       0        2
     CASCADE PACIFIC; MOUNT BAKER                                                                            1         1               0         0            0         0             0       0        2
     CASCADE PACIFIC; SAN DIEGO - IMPERIAL COUNCIL                                                           1         1               0         0            0         0             0       0        2
     CENTRAL FLORIDA; GREATER TAMPA BAY AREA                                                                 0         0               1         0            0         1             0       0        2
     CENTRAL FLORIDA; ORANGE COUNTY                                                                          1         0               1         0            0         0             0       0        2
     CENTRAL GEORGIA; COASTAL GEORGIA                                                                        2         0               0         0            0         0             0       0        2
     CENTRAL GEORGIA; SOUTH GEORGIA                                                                          1         0               1         0            0         0             0       0        2
     CENTRAL NORTH CAROLINA; OLD NORTH STATE                                                                 0         2               0         0            0         0             0       0        2
     CHEROKEE AREA 469; INDIAN NATIONS                                                                       1         1               0         0            0         0             0       0        2
     CHEROKEE AREA 556; GREAT SMOKY MOUNTAIN                                                                 1         0               1         0            0         0             0       0        2
     CHEROKEE AREA 556; NORTHWEST GEORGIA                                                                    2         0               0         0            0         0             0       0        2
     CHIEF SEATTLE; INLAND NORTHWEST                                                                         0         0               0         2            0         0             0       0        2
     CIRCLE TEN; EAST TEXAS AREA                                                                             2         0               0         0            0         0             0       0        2
     CIRCLE TEN; GREATER LOS ANGELES; WESTERN LOS ANGELES COUNTY                                             1         1               0         0            0         0             0       0        2
     CIRCLE TEN; VENTURA COUNTY; WESTERN LOS ANGELES COUNTY                                                  1         0               0         1            0         0             0       0        2
     COASTAL CAROLINA; PEE DEE AREA                                                                          0         1               0         1            0         0             0       0        2
     CONNECTICUT RIVERS; NARRAGANSETT                                                                        1         1               0         0            0         0             0       0        2
     CONNECTICUT RIVERS; SENECA WATERWAYS                                                                    0         1               0         1            0         0             0       0        2
     CRADLE OF LIBERTY; LAUREL HIGHLANDS                                                                     0         0               1         0            1         0             0       0        2
     CRADLE OF LIBERTY; SUSQUEHANNA                                                                          2         0               0         0            0         0             0       0        2
     CRATER LAKE COUNCIL; GOLDEN EMPIRE                                                                      0         1               0         1            0         0             0       0        2
     CROSSROADS OF AMERICA; GREATER ST. LOUIS AREA                                                           1         0               0         0            0         0             1       0        2
     CROSSROADS OF AMERICA; MICHIGAN CROSSROADS                                                              0         1               1         0            0         0             0       0        2
     CROSSROADS OF AMERICA; MINSI TRAILS                                                                     1         0               1         0            0         0             0       0        2
     CROSSROADS OF THE WEST; LAS VEGAS AREA                                                                  1         1               0         0            0         0             0       0        2
     DANIEL BOONE; EAST CAROLINA                                                                             0         1               0         0            0         0             1       0        2
     DANIEL WEBSTER; GREEN MOUNTAIN                                                                          1         0               0         1            0         0             0       0        2
     DANIEL WEBSTER; MAYFLOWER                                                                               0         0               0         2            0         0             0       0        2
     DENVER AREA; GREAT SOUTHWEST                                                                            1         0               0         1            0         0             0       0        2
     DIRECT SERVICE; NATIONAL CAPITAL AREA                                                                   1         0               1         0            0         0             0       0        2
     EAST CAROLINA; INDIAN WATERS                                                                            0         0               0         2            0         0             0       0        2
     EAST CAROLINA; MECKLENBURG COUNTY                                                                       1         0               0         1            0         0             0       0        2
     EAST CAROLINA; PIEDMONT 420                                                                             0         0               1         1            0         0             0       0        2
     EAST CAROLINA; TUSCARORA                                                                                2         0               0         0            0         0             0       0        2
     EAST TEXAS AREA; SAM HOUSTON AREA                                                                       0         0               2         0            0         0             0       0        2
     EVANGELINE AREA; SOUTHEAST LOUISIANA                                                                    1         1               0         0            0         0             0       0        2
     FIVE RIVERS; GREATER NEW YORK                                                                           2         0               0         0            0         0             0       0        2
     FIVE RIVERS; IROQUOIS TRAIL; SENECA WATERWAYS                                                           0         0               2         0            0         0             0       0        2
     FIVE RIVERS; OHIO RIVER VALLEY                                                                          1         1               0         0            0         0             0       0        2
     FRENCH CREEK; LAUREL HIGHLANDS                                                                          0         2               0         0            0         0             0       0        2
     GAMEHAVEN; NORTHERN STAR                                                                                0         0               1         0            0         1             0       0        2
     GARDEN EMPIRE;
     GOLDEN   STATE; WASHINGTON   CROSSING
                      GREATER YOSEMITE;  REDWOOD EMPIRE; SILICON VALLEY MONTEREY                             1         0               0         1            0         0             0       0        2
     BAY                                                                                                     1         1               0         0            0         0             0       0        2
     GOLDEN EMPIRE; NARRAGANSETT                                                                             1         0               0         1            0         0             0       0        2
     GOLDEN EMPIRE; NORTHERN STAR                                                                            1         1               0         0            0         0             0       0        2
     GOLDEN EMPIRE; SEQUOIA                                                                                  0         1               0         1            0         0             0       0        2
     GOLDEN GATE AREA; PATRIOTS' PATH                                                                        1         0               1         0            0         0             0       0        2
     GOLDEN GATE AREA; PIEDMONT 042                                                                          0         0               1         0            1         0             0       0        2
     GOLDEN SPREAD; LAST FRONTIER                                                                            0         2               0         0            0         0             0       0        2
     GOLDEN SPREAD; SAM HOUSTON AREA                                                                         0         1               0         1            0         0             0       0        2
     GRAND CANYON; GREAT SOUTHWEST                                                                           1         0               0         1            0         0             0       0        2
     GRAND COLUMBIA; MOUNT BAKER                                                                             0         0               0         2            0         0             0       0        2
     GREAT RIVERS; PONY EXPRESS                                                                              0         1               0         1            0         0             0       0        2
     GREATER ALABAMA; GULF COAST                                                                             1         1               0         0            0         0             0       0        2
     GREATER LOS ANGELES; LONG BEACH AREA; WESTERN LOS ANGELES COUNTY                                        1         1               0         0            0         0             0       0        2
     GREATER LOS ANGELES; PATHWAY TO ADVENTURE                                                               1         1               0         0            0         0             0       0        2
     GREATER LOS ANGELES; SAN DIEGO - IMPERIAL COUNCIL                                                       1         0               1         0            0         0             0       0        2
     GREATER NEW YORK; IROQUOIS TRAIL                                                                        1         0               1         0            0         0             0       0        2
     GREATER NEW YORK; RIP VAN WINKLE                                                                        1         0               1         0            0         0             0       0        2
     GREATER ST. LOUIS AREA; ILLOWA                                                                          0         0               1         1            0         0             0       0        2
     GREATER YOSEMITE; SEQUOIA                                                                               0         1               1         0            0         0             0       0        2
     GREEN MOUNTAIN; WESTERN MASSACHUSETTS                                                                   0         1               1         0            0         0             0       0        2
     HAWK MOUNTAIN; MASON-DIXON                                                                              1         1               0         0            0         0             0       0        2
     HAWKEYE AREA; WINNEBAGO                                                                                 0         1               0         1            0         0             0       0        2
     HEART OF AMERICA; TWIN RIVERS                                                                           2         0               0         0            0         0             0       0        2
     HEART OF NEW ENGLAND; WESTERN MASSACHUSETTS                                                             1         0               0         1            0         0             0       0        2
     HOOSIER TRAILS; MUSKINGUM VALLEY                                                                        0         1               0         1            0         0             0       0        2
     HOOSIER TRAILS; QUAPAW AREA                                                                             1         0               0         0            1         0             0       0        2
     ILLOWA; MISSISSIPPI VALLEY                                                                              0         1               0         1            0         0             0       0        2
     ILLOWA; PRAIRIELANDS                                                                                    0         0               1         1            0         0             0       0        2




Analysis based on manually-reviewed POC data received as of 7/2/2021                                                                                                                                       6
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     Unique and Timely Abuse Claim Count by Local Council & Allegation
     Rows in white list Abuse claims against individual Local Councils. Rows in blue (with the exception of "UNKNOWN" and "MISSING") list Abuse claims against more than one Local Council.



                                                                                                                                                     Touching-    Touching- Unknown/
                                                  Local Council                                   Penetration    Oral Sex   Masturbation   Groping                                     Missing    Total*
                                                                                                                                                     Unclothed     Clothed Unconfirmed

     INDIAN NATIONS; LAST FRONTIER                                                                           1         1               0         0            0         0             0       0        2
     INDIAN WATERS; PALMETTO                                                                                 1         0               0         1            0         0             0       0        2
     INLAND NORTHWEST; MONTANA                                                                               1         0               0         1            0         0             0       0        2
     ISTROUMA AREA; NORWELA                                                                                  1         0               0         1            0         0             0       0        2
     LAKE ERIE; SIMON KENTON                                                                                 0         1               0         1            0         0             0       0        2
     LASALLE; SAGAMORE                                                                                       2         0               0         0            0         0             0       0        2
     LAUREL HIGHLANDS; OHIO RIVER VALLEY                                                                     2         0               0         0            0         0             0       0        2
     LAUREL HIGHLANDS; SUSQUEHANNA                                                                           1         1               0         0            0         0             0       0        2
     LEATHERSTOCKING; TWIN RIVERS                                                                            0         0               0         1            0         0             1       0        2
     LONG BEACH AREA; VERDUGO HILLS                                                                          0         1               1         0            0         0             0       0        2
     LONGHORN; PACIFIC HARBORS                                                                               2         0               0         0            0         0             0       0        2
     LONGHOUSE; PATRIOTS' PATH                                                                               1         0               0         1            0         0             0       0        2
     LONGHOUSE; SENECA WATERWAYS                                                                             0         2               0         0            0         0             0       0        2
     LONGS PEAK COUNCIL; PIKES PEAK                                                                          0         0               1         1            0         0             0       0        2
     LOS PADRES; SILICON VALLEY MONTEREY BAY                                                                 0         1               0         1            0         0             0       0        2
     LOS PADRES; WESTERN LOS ANGELES COUNTY                                                                  1         0               1         0            0         0             0       0        2
     MARIN; PACIFIC SKYLINE                                                                                  0         1               1         0            0         0             0       0        2
     MARIN; WESTERN LOS ANGELES COUNTY                                                                       2         0               0         0            0         0             0       0        2
     MAYFLOWER; TRANSATLANTIC                                                                                1         0               1         0            0         0             0       0        2
     MECKLENBURG COUNTY; NATIONAL CAPITAL AREA                                                               1         0               0         1            0         0             0       0        2
     MECKLENBURG COUNTY; OCCONEECHEE                                                                         0         0               2         0            0         0             0       0        2
     MECKLENBURG COUNTY; OLD HICKORY                                                                         1         0               0         1            0         0             0       0        2
     MIAMI VALLEY; SIMON KENTON                                                                              1         1               0         0            0         0             0       0        2
     MICHIGAN CROSSROADS; NORTHERN LIGHTS                                                                    1         1               0         0            0         0             0       0        2
     MICHIGAN CROSSROADS; SENECA WATERWAYS                                                                   1         1               0         0            0         0             0       0        2
     MID-AMERICA; NATIONAL CAPITAL AREA                                                                      1         1               0         0            0         0             0       0        2
     MID-AMERICA; NORTHERN STAR                                                                              0         0               1         1            0         0             0       0        2
     MID-IOWA; TWIN RIVERS                                                                                   0         1               0         1            0         0             0       0        2
     MIDDLE TENNESSEE; WEST TENNESSEE AREA                                                                   2         0               0         0            0         0             0       0        2
     MINSI TRAILS; PATRIOTS' PATH                                                                            0         0               0         2            0         0             0       0        2
     MONMOUTH; NORTHERN NEW JERSEY                                                                           0         2               0         0            0         0             0       0        2
     MONMOUTH; PATRIOTS' PATH                                                                                2         0               0         0            0         0             0       0        2
     NARRAGANSETT; SUFFOLK COUNTY                                                                            1         0               0         0            0         0             1       0        2
     NATIONAL CAPITAL AREA; VIRGINIA HEADWATERS                                                              0         1               0         1            0         0             0       0        2
     NEW BIRTH OF FREEDOM; NORTHEASTERN PENNSYLVANIA                                                         1         1               0         0            0         0             0       0        2
     NEW BIRTH OF FREEDOM; SUSQUEHANNA                                                                       0         0               1         1            0         0             0       0        2
     NORTH FLORIDA; SOUTH FLORIDA COUNCIL                                                                    0         0               1         1            0         0             0       0        2
     NORTHEAST ILLINOIS; POTAWATOMI AREA                                                                     1         1               0         0            0         0             0       0        2
     NORTHEAST IOWA COUNCIL; WINNEBAGO                                                                       0         0               1         1            0         0             0       0        2
     NORTHERN NEW JERSEY; PINE BURR AREA                                                                     0         0               0         2            0         0             0       0        2
     NORTHERN NEW JERSEY; SAM HOUSTON AREA                                                                   2         0               0         0            0         0             0       0        2
     NORTHERN NEW JERSEY; SPIRIT OF ADVENTURE                                                                0         0               1         0            0         1             0       0        2
     OCCONEECHEE; OLD NORTH STATE                                                                            1         0               0         1            0         0             0       0        2
     OLD HICKORY; PIEDMONT 420                                                                               0         1               0         1            0         0             0       0        2
     OLD NORTH STATE; PIEDMONT 420                                                                           0         1               0         1            0         0             0       0        2
     ORANGE COUNTY; WESTERN LOS ANGELES COUNTY                                                               1         0               1         0            0         0             0       0        2
     OZARK TRAILS; QUIVIRA                                                                                   1         1               0         0            0         0             0       0        2
     PACIFIC HARBORS; TRANSATLANTIC                                                                          1         0               0         1            0         0             0       0        2
     PACIFIC SKYLINE; REDWOOD EMPIRE                                                                         1         0               0         1            0         0             0       0        2
     PALMETTO; PIEDMONT 420                                                                                  0         1               0         1            0         0             0       0        2
     PATHWAY TO ADVENTURE; SAMOSET COUNCIL                                                                   1         1               0         0            0         0             0       0        2
     SAM HOUSTON AREA; SOUTH TEXAS                                                                           0         0               0         1            0         1             0       0        2
     SEQUOIA; SEQUOYAH                                                                                       1         0               0         0            1         0             0       0        2
     SHENANDOAH AREA; TIDEWATER                                                                              0         1               1         0            0         0             0       0        2
     SILICON VALLEY MONTEREY BAY; TWIN RIVERS                                                                1         0               0         1            0         0             0       0        2
     SOUTH GEORGIA; SUWANNEE RIVER AREA                                                                      1         1               0         0            0         0             0       0        2
     ABRAHAM LINCOLN; BAY-LAKES; GREATER ST. LOUIS AREA; VOYAGEURS AREA                                      1         0               0         0            0         0             0       0        1
     ABRAHAM LINCOLN; DAN BEARD                                                                              1         0               0         0            0         0             0       0        1
     ABRAHAM LINCOLN; RAINBOW                                                                                1         0               0         0            0         0             0       0        1
     ABRAHAM LINCOLN; THREE FIRES                                                                            0         1               0         0            0         0             0       0        1
     ALABAMA-FLORIDA; GULF COAST                                                                             1         0               0         0            0         0             0       0        1
     ALABAMA-FLORIDA; TRANSATLANTIC                                                                          0         0               1         0            0         0             0       0        1
     ALABAMA-FLORIDA; TUKABATCHEE AREA                                                                       1         0               0         0            0         0             0       0        1
     ALAMO AREA; BAY AREA; CIRCLE TEN; LONGHORN                                                              0         1               0         0            0         0             0       0        1
     ALAMO AREA; CAPITOL AREA; SAM HOUSTON AREA                                                              0         0               0         1            0         0             0       0        1
     ALAMO AREA; FAR EAST                                                                                    1         0               0         0            0         0             0       0        1
     ALAMO AREA; GREATER NEW YORK                                                                            0         1               0         0            0         0             0       0        1
     ALAMO AREA; GREATER TAMPA BAY AREA                                                                      0         0               0         1            0         0             0       0        1
     ALAMO AREA; LONGHORN                                                                                    0         0               1         0            0         0             0       0        1
     ALAMO AREA; PINE BURR AREA                                                                              0         1               0         0            0         0             0       0        1
     ALAMO AREA; RIO GRANDE                                                                                  1         0               0         0            0         0             0       0        1
     ALAMO AREA; SIMON KENTON                                                                                1         0               0         0            0         0             0       0        1
     ALAMO AREA; SOUTH FLORIDA COUNCIL                                                                       1         0               0         0            0         0             0       0        1
     ALAMO AREA; SOUTH TEXAS                                                                                 0         0               1         0            0         0             0       0        1
     ALAMO AREA; SPIRIT OF ADVENTURE                                                                         0         1               0         0            0         0             0       0        1
     ALAMO AREA; WESTARK AREA                                                                                0         0               0         1            0         0             0       0        1
     ALLEGHENY HIGHLANDS; BADEN POWELL                                                                       1         0               0         0            0         0             0       0        1
     ALLEGHENY HIGHLANDS; BLACK SWAMP AREA                                                                   0         0               0         0            1         0             0       0        1
     ALLEGHENY HIGHLANDS; BUCKTAIL                                                                           0         1               0         0            0         0             0       0        1
     ALLEGHENY HIGHLANDS; CHICKASAW                                                                          1         0               0         0            0         0             0       0        1
     ALLEGHENY HIGHLANDS; GREATER NIAGARA FRONTIER; IROQUOIS TRAIL                                           0         1               0         0            0         0             0       0        1
     ALLEGHENY HIGHLANDS; LEATHERSTOCKING                                                                    1         0               0         0            0         0             0       0        1
     ALLEGHENY HIGHLANDS; LOS PADRES; VENTURA COUNTY                                                         1         0               0         0            0         0             0       0        1
     ALOHA; CROSSROADS OF THE WEST                                                                           1         0               0         0            0         0             0       0        1
     ALOHA; GOLDEN GATE AREA                                                                                 0         0               1         0            0         0             0       0        1
     ALOHA; MICHIGAN CROSSROADS; NORTHEAST ILLINOIS; THREE HARBORS                                           1         0               0         0            0         0             0       0        1
     ALOHA; PACIFIC SKYLINE                                                                                  1         0               0         0            0         0             0       0        1
     ALOHA; TEXAS SOUTHWEST; TRANSATLANTIC                                                                   0         1               0         0            0         0             0       0        1
     ALOHA; WESTERN LOS ANGELES COUNTY                                                                       0         0               1         0            0         0             0       0        1
     ANDREW JACKSON; GREATER LOS ANGELES                                                                     1         0               0         0            0         0             0       0        1
     ANDREW JACKSON; ISTROUMA AREA                                                                           0         0               0         0            1         0             0       0        1
     ANDREW JACKSON; LAST FRONTIER                                                                           1         0               0         0            0         0             0       0        1
     ANDREW JACKSON; MICHIGAN CROSSROADS                                                                     1         0               0         0            0         0             0       0        1
     ANDREW JACKSON; PEE DEE AREA                                                                            1         0               0         0            0         0             0       0        1
     ANTHONY WAYNE AREA; ERIE SHORES                                                                         0         0               1         0            0         0             0       0        1
     ANTHONY WAYNE AREA; LASALLE                                                                             0         1               0         0            0         0             0       0        1
     ANTHONY WAYNE AREA; LONGS PEAK COUNCIL                                                                  0         0               1         0            0         0             0       0        1
     ANTHONY WAYNE AREA; MICHIGAN CROSSROADS                                                                 1         0               0         0            0         0             0       0        1




Analysis based on manually-reviewed POC data received as of 7/2/2021                                                                                                                                       7
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     Unique and Timely Abuse Claim Count by Local Council & Allegation
     Rows in white list Abuse claims against individual Local Councils. Rows in blue (with the exception of "UNKNOWN" and "MISSING") list Abuse claims against more than one Local Council.



                                                                                                                                                     Touching-    Touching- Unknown/
                                                  Local Council                                   Penetration    Oral Sex   Masturbation   Groping                                     Missing    Total*
                                                                                                                                                     Unclothed     Clothed Unconfirmed

     ANTHONY WAYNE AREA; PATHWAY TO ADVENTURE                                                                0         0               1         0            0         0             0       0        1
     ANTHONY WAYNE AREA; SAGAMORE                                                                            0         1               0         0            0         0             0       0        1
     ATLANTA AREA; BLUE GRASS                                                                                0         0               0         1            0         0             0       0        1
     ATLANTA AREA; CENTRAL GEORGIA; JERSEY SHORE; TRANSATLANTIC                                              1         0               0         0            0         0             0       0        1
     ATLANTA AREA; COASTAL CAROLINA; SOUTH GEORGIA                                                           1         0               0         0            0         0             0       0        1
     ATLANTA AREA; DAN BEARD; GULF COAST; NORTH FLORIDA                                                      1         0               0         0            0         0             0       0        1
     ATLANTA AREA; DANIEL BOONE                                                                              1         0               0         0            0         0             0       0        1
     ATLANTA AREA; GEORGIA-CAROLINA                                                                          0         1               0         0            0         0             0       0        1
     ATLANTA AREA; GREAT SOUTHWEST                                                                           1         0               0         0            0         0             0       0        1
     ATLANTA AREA; GREAT TRAIL                                                                               0         1               0         0            0         0             0       0        1
     ATLANTA AREA; GREATER ALABAMA                                                                           0         0               0         1            0         0             0       0        1
     ATLANTA AREA; GREATER ST. LOUIS AREA                                                                    0         0               0         0            0         0             1       0        1
     ATLANTA AREA; LAKE ERIE                                                                                 1         0               0         0            0         0             0       0        1
     ATLANTA AREA; NEVADA AREA                                                                               1         0               0         0            0         0             0       0        1
     ATLANTA AREA; NORTH FLORIDA                                                                             1         0               0         0            0         0             0       0        1
     ATLANTA AREA; SAN DIEGO - IMPERIAL COUNCIL                                                              0         1               0         0            0         0             0       0        1
     ATLANTA AREA; SUWANNEE RIVER AREA                                                                       0         1               0         0            0         0             0       0        1
     ATLANTA AREA; THREE FIRES                                                                               1         0               0         0            0         0             0       0        1
     ATLANTA AREA; TUKABATCHEE AREA                                                                          1         0               0         0            0         0             0       0        1
     BADEN POWELL; CONNECTICUT RIVERS; GREATER NEW YORK; PATRIOTS' PATH                                      1         0               0         0            0         0             0       0        1
     BADEN POWELL; CRADLE OF LIBERTY; CROSSROADS OF AMERICA                                                  0         1               0         0            0         0             0       0        1
     BADEN POWELL; DEL-MAR-VA                                                                                0         0               0         1            0         0             0       0        1
     BADEN POWELL; GARDEN STATE                                                                              1         0               0         0            0         0             0       0        1
     BADEN POWELL; GREATER NEW YORK                                                                          0         1               0         0            0         0             0       0        1
     BADEN POWELL; IROQUOIS TRAIL; LEATHERSTOCKING                                                           1         0               0         0            0         0             0       0        1
     BADEN POWELL; LAST FRONTIER                                                                             0         1               0         0            0         0             0       0        1
     BADEN POWELL; LAUREL HIGHLANDS                                                                          1         0               0         0            0         0             0       0        1
     BADEN POWELL; LONGHOUSE; THREE FIRES                                                                    0         0               0         1            0         0             0       0        1
     BADEN POWELL; MAYFLOWER; SPIRIT OF ADVENTURE                                                            1         0               0         0            0         0             0       0        1
     BADEN POWELL; NATIONAL CAPITAL AREA                                                                     0         1               0         0            0         0             0       0        1
     BADEN POWELL; SOUTH FLORIDA COUNCIL                                                                     0         1               0         0            0         0             0       0        1
     BALTIMORE AREA; CHESTER COUNTY                                                                          0         1               0         0            0         0             0       0        1
     BALTIMORE AREA; CHIEF SEATTLE; NATIONAL CAPITAL AREA                                                    1         0               0         0            0         0             0       0        1
     BALTIMORE AREA; COLONIAL VIRGINIA                                                                       0         0               1         0            0         0             0       0        1
     BALTIMORE AREA; DE SOTO AREA                                                                            1         0               0         0            0         0             0       0        1
     BALTIMORE AREA; GRAND CANYON                                                                            1         0               0         0            0         0             0       0        1
     BALTIMORE AREA; GREATER ST. LOUIS AREA                                                                  0         0               0         1            0         0             0       0        1
     BALTIMORE AREA; LAUREL HIGHLANDS                                                                        0         1               0         0            0         0             0       0        1
     BALTIMORE AREA; LINCOLN HERITAGE                                                                        0         0               1         0            0         0             0       0        1
     BALTIMORE AREA; MASON-DIXON                                                                             0         0               0         0            1         0             0       0        1
     BALTIMORE AREA; MID-AMERICA                                                                             0         1               0         0            0         0             0       0        1
     BALTIMORE AREA; NATIONAL CAPITAL AREA; PATRIOTS' PATH                                                   0         0               0         1            0         0             0       0        1
     BAY-LAKES; CASCADE PACIFIC                                                                              0         1               0         0            0         0             0       0        1
     BAY-LAKES; CROSSROADS OF AMERICA; HOOSIER TRAILS                                                        0         1               0         0            0         0             0       0        1
     BAY-LAKES; GATEWAY AREA; PATHWAY TO ADVENTURE                                                           0         1               0         0            0         0             0       0        1
     BAY-LAKES; LAUREL HIGHLANDS                                                                             0         1               0         0            0         0             0       0        1
     BAY-LAKES; NORTHERN STAR                                                                                0         0               1         0            0         0             0       0        1
     BAY-LAKES; OREGON TRAIL                                                                                 0         0               0         1            0         0             0       0        1
     BAY-LAKES; PACIFIC HARBORS                                                                              0         0               0         1            0         0             0       0        1
     BAY-LAKES; POTAWATOMI AREA                                                                              0         1               0         0            0         0             0       0        1
     BAY-LAKES; RAINBOW                                                                                      0         0               0         0            0         0             1       0        1
     BAY-LAKES; REDWOOD EMPIRE                                                                               0         0               0         1            0         0             0       0        1
     BAY-LAKES; THREE FIRES                                                                                  1         0               0         0            0         0             0       0        1
     BAY-LAKES; THREE HARBORS                                                                                0         1               0         0            0         0             0       0        1
     BAY-LAKES; TWIN RIVERS                                                                                  0         1               0         0            0         0             0       0        1
     BLACK HILLS AREA; CIRCLE TEN                                                                            1         0               0         0            0         0             0       0        1
     BLACK HILLS AREA; GREATER ALABAMA                                                                       1         0               0         0            0         0             0       0        1
     BLACK HILLS AREA; MONTANA                                                                               1         0               0         0            0         0             0       0        1
     BLACK HILLS AREA; SIOUX                                                                                 1         0               0         0            0         0             0       0        1
     BLACK SWAMP AREA; GREATER ST. LOUIS AREA                                                                0         1               0         0            0         0             0       0        1
     BLACK SWAMP AREA; JAYHAWK AREA                                                                          0         0               1         0            0         0             0       0        1
     BLACK SWAMP AREA; WESTERN LOS ANGELES COUNTY                                                            0         0               1         0            0         0             0       0        1
     BLACK WARRIOR; TUKABATCHEE AREA                                                                         0         0               1         0            0         0             0       0        1
     BLACKHAWK AREA; BUCKEYE                                                                                 1         0               0         0            0         0             0       0        1
     BLACKHAWK AREA; CASCADE PACIFIC                                                                         1         0               0         0            0         0             0       0        1
     BLACKHAWK AREA; CONNECTICUT RIVERS; CONNECTICUT YANKEE                                                  1         0               0         0            0         0             0       0        1
     BLACKHAWK AREA; CROSSROADS OF AMERICA                                                                   0         1               0         0            0         0             0       0        1
     BLACKHAWK AREA; THREE FIRES                                                                             0         0               0         1            0         0             0       0        1
     BLACKHAWK AREA; THREE RIVERS                                                                            0         1               0         0            0         0             0       0        1
     BLACKHAWK AREA; W.D. BOYCE                                                                              1         0               0         0            0         0             0       0        1
     BLUE GRASS; BUCKEYE                                                                                     0         0               0         0            0         1             0       0        1
     BLUE GRASS; DAN BEARD                                                                                   0         0               1         0            0         0             0       0        1
     BLUE GRASS; OCCONEECHEE                                                                                 0         0               1         0            0         0             0       0        1
     BLUE MOUNTAIN; PATRIOTS' PATH                                                                           1         0               0         0            0         0             0       0        1
     BLUE MOUNTAIN; SOUTHEAST LOUISIANA                                                                      1         0               0         0            0         0             0       0        1
     BLUE RIDGE MOUNTAINS; CASCADE PACIFIC                                                                   1         0               0         0            0         0             0       0        1
     BLUE RIDGE MOUNTAINS; CROSSROADS OF AMERICA                                                             0         1               0         0            0         0             0       0        1
     BLUE RIDGE MOUNTAINS; MOUNTAINEER AREA                                                                  1         0               0         0            0         0             0       0        1
     BLUE RIDGE MOUNTAINS; NEW BIRTH OF FREEDOM                                                              0         0               1         0            0         0             0       0        1
     BLUE RIDGE MOUNTAINS; OLD NORTH STATE                                                                   0         1               0         0            0         0             0       0        1
     BLUE RIDGE MOUNTAINS; SHENANDOAH AREA                                                                   0         1               0         0            0         0             0       0        1
     BLUE RIDGE; BLUE RIDGE MOUNTAINS                                                                        0         1               0         0            0         0             0       0        1
     BLUE RIDGE; CENTRAL FLORIDA; DANIEL BOONE; PIEDMONT 420                                                 1         0               0         0            0         0             0       0        1
     BLUE RIDGE; CHICKASAW                                                                                   0         1               0         0            0         0             0       0        1
     BLUE RIDGE; CIMARRON                                                                                    1         0               0         0            0         0             0       0        1
     BLUE RIDGE; EAST CAROLINA                                                                               0         0               1         0            0         0             0       0        1
     BLUE RIDGE; INDIAN WATERS                                                                               0         0               0         1            0         0             0       0        1
     BLUE RIDGE; MOUNTAINEER AREA                                                                            0         0               0         1            0         0             0       0        1
     BLUE RIDGE; SAMOSET COUNCIL                                                                             0         0               1         0            0         0             0       0        1
     BUCKEYE; GREEN MOUNTAIN                                                                                 0         0               0         1            0         0             0       0        1
     BUCKEYE; HEART OF AMERICA                                                                               0         1               0         0            0         0             0       0        1
     BUCKEYE; LAKE ERIE; MAYFLOWER; NARRAGANSETT                                                             1         0               0         0            0         0             0       0        1
     BUCKEYE; LAKE ERIE; NORTHEAST GEORGIA                                                                   0         0               0         1            0         0             0       0        1
     BUCKEYE; MUSKINGUM VALLEY                                                                               0         0               1         0            0         0             0       0        1
     BUCKEYE; TUSCARORA                                                                                      0         0               0         0            1         0             0       0        1
     BUCKSKIN; COASTAL GEORGIA                                                                               1         0               0         0            0         0             0       0        1
     BUCKSKIN; DAN BEARD                                                                                     1         0               0         0            0         0             0       0        1
     BUCKSKIN; DENVER AREA; PIKES PEAK                                                                       1         0               0         0            0         0             0       0        1




Analysis based on manually-reviewed POC data received as of 7/2/2021                                                                                                                                       8
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                                                                                                                                                     Touching-    Touching- Unknown/
                                                  Local Council                                   Penetration    Oral Sex   Masturbation   Groping                                     Missing    Total*
                                                                                                                                                     Unclothed     Clothed Unconfirmed

     BUCKSKIN; GREATER ALABAMA                                                                               1         0               0         0            0         0             0       0        1
     BUCKSKIN; HAWK MOUNTAIN                                                                                 0         1               0         0            0         0             0       0        1
     BUCKSKIN; MECKLENBURG COUNTY                                                                            1         0               0         0            0         0             0       0        1
     BUCKSKIN; NATIONAL CAPITAL AREA                                                                         0         1               0         0            0         0             0       0        1
     BUCKSKIN; PACIFIC SKYLINE                                                                               1         0               0         0            0         0             0       0        1
     BUCKSKIN; SENECA WATERWAYS                                                                              1         0               0         0            0         0             0       0        1
     BUCKTAIL; EAST TEXAS AREA; NORWELA                                                                      1         0               0         0            0         0             0       0        1
     BUCKTAIL; GEORGIA-CAROLINA                                                                              1         0               0         0            0         0             0       0        1
     BUCKTAIL; LAUREL HIGHLANDS                                                                              0         0               1         0            0         0             0       0        1
     BUFFALO TRACE; BUFFALO TRAIL                                                                            1         0               0         0            0         0             0       0        1
     BUFFALO TRACE; CROSSROADS OF AMERICA                                                                    1         0               0         0            0         0             0       0        1
     BUFFALO TRACE; GREATER ST. LOUIS AREA                                                                   1         0               0         0            0         0             0       0        1
     BUFFALO TRACE; MICHIGAN CROSSROADS                                                                      1         0               0         0            0         0             0       0        1
     BUFFALO TRACE; SAGAMORE                                                                                 1         0               0         0            0         0             0       0        1
     BUFFALO TRAIL; DIRECT SERVICE                                                                           0         0               1         0            0         0             0       0        1
     BUFFALO TRAIL; LONGHORN                                                                                 0         1               0         0            0         0             0       0        1
     BUFFALO TRAIL; SOUTH PLAINS                                                                             1         0               0         0            0         0             0       0        1
     CADDO AREA; CHICKASAW; DE SOTO AREA; QUAPAW AREA; WESTARK AREA                                          1         0               0         0            0         0             0       0        1
     CADDO AREA; CIRCLE TEN                                                                                  1         0               0         0            0         0             0       0        1
     CADDO AREA; CIRCLE TEN; EAST TEXAS AREA; RIO GRANDE                                                     0         1               0         0            0         0             0       0        1
     CADDO AREA; DE SOTO AREA                                                                                0         1               0         0            0         0             0       0        1
     CADDO AREA; EAST TEXAS AREA                                                                             1         0               0         0            0         0             0       0        1
     CADDO AREA; NORWELA                                                                                     1         0               0         0            0         0             0       0        1
     CALCASIEU; EVANGELINE AREA                                                                              0         0               0         1            0         0             0       0        1
     CALCASIEU; GOLDEN GATE AREA                                                                             1         0               0         0            0         0             0       0        1
     CALCASIEU; INDIAN NATIONS                                                                               0         1               0         0            0         0             0       0        1
     CALCASIEU; NORWELA                                                                                      1         0               0         0            0         0             0       0        1
     CALCASIEU; SOUTHEAST LOUISIANA                                                                          0         0               0         1            0         0             0       0        1
     CALIFORNIA INLAND EMPIRE; CATALINA                                                                      1         0               0         0            0         0             0       0        1
     CALIFORNIA INLAND EMPIRE; CENTRAL FLORIDA                                                               0         0               0         0            0         1             0       0        1
     CALIFORNIA INLAND EMPIRE; CROSSROADS OF THE WEST                                                        0         1               0         0            0         0             0       0        1
     CALIFORNIA INLAND EMPIRE; DANIEL WEBSTER                                                                1         0               0         0            0         0             0       0        1
     CALIFORNIA INLAND EMPIRE; DENVER AREA                                                                   1         0               0         0            0         0             0       0        1
     CALIFORNIA INLAND EMPIRE; GREATER LOS ANGELES; ORANGE COUNTY                                            0         1               0         0            0         0             0       0        1
     CALIFORNIA INLAND EMPIRE; GREATER LOS ANGELES; SPIRIT OF ADVENTURE                                      0         0               0         1            0         0             0       0        1
                               LAS VEGAS
     CALIFORNIA INLAND EMPIRE; LONG      AREA
                                     BEACH  AREA; ORANGE COUNTY; SAN DIEGO -                                 0         0               0         1            0         0             0       0        1
     IMPERIAL COUNCIL; VENTURA COUNTY; VERDUGO HILLS; WESTERN LOS ANGELES
     COUNTY                                                                                                  1         0               0         0            0         0             0       0        1
     CALIFORNIA INLAND EMPIRE; LONG BEACH AREA; ORANGE COUNTY; SOUTHERN SIERRA;
     VENTURA COUNTY; VERDUGO HILLS; WESTERN LOS ANGELES COUNTY                                               0         0               0         1            0         0             0       0        1
     CALIFORNIA INLAND EMPIRE; LONGS PEAK COUNCIL                                                            1         0               0         0            0         0             0       0        1
     CALIFORNIA INLAND EMPIRE; RIO GRANDE                                                                    1         0               0         0            0         0             0       0        1
     CALIFORNIA INLAND EMPIRE; SOUTHERN SIERRA                                                               0         0               0         1            0         0             0       0        1
     CALIFORNIA INLAND EMPIRE; TEXAS SOUTHWEST                                                               1         0               0         0            0         0             0       0        1
     CALIFORNIA INLAND EMPIRE; VENTURA COUNTY                                                                1         0               0         0            0         0             0       0        1
     CALIFORNIA INLAND EMPIRE; VERDUGO HILLS                                                                 1         0               0         0            0         0             0       0        1
     CALIFORNIA INLAND EMPIRE; YUCCA                                                                         1         0               0         0            0         0             0       0        1
     CAPE COD & ISLANDS; FAR EAST                                                                            0         0               0         1            0         0             0       0        1
     CAPE COD & ISLANDS; FAR EAST; LAS VEGAS AREA                                                            0         0               0         1            0         0             0       0        1
     CAPE COD & ISLANDS; GREATER NEW YORK                                                                    1         0               0         0            0         0             0       0        1
     CAPE COD & ISLANDS; HEART OF NEW ENGLAND                                                                0         1               0         0            0         0             0       0        1
     CAPE COD & ISLANDS; HEART OF NEW ENGLAND; MAYFLOWER                                                     1         0               0         0            0         0             0       0        1
     CAPE COD & ISLANDS; MAYFLOWER                                                                           0         1               0         0            0         0             0       0        1
     CAPE COD & ISLANDS; MAYFLOWER; NARRAGANSETT                                                             1         0               0         0            0         0             0       0        1
     CAPE COD & ISLANDS; NARRAGANSETT                                                                        1         0               0         0            0         0             0       0        1
     CAPE COD & ISLANDS; NATIONAL CAPITAL AREA                                                               1         0               0         0            0         0             0       0        1
     CAPE COD & ISLANDS; SAGAMORE                                                                            0         0               0         0            0         0             1       0        1
     CAPE COD & ISLANDS; SPIRIT OF ADVENTURE                                                                 0         1               0         0            0         0             0       0        1
     CAPE COD & ISLANDS; TWIN RIVERS                                                                         0         0               1         0            0         0             0       0        1
     CAPE FEAR; CENTRAL NORTH CAROLINA; EAST CAROLINA                                                        0         1               0         0            0         0             0       0        1
     CAPE FEAR; DANIEL BOONE                                                                                 0         0               0         1            0         0             0       0        1
     CAPE FEAR; EAST CAROLINA                                                                                1         0               0         0            0         0             0       0        1
     CAPE FEAR; EAST CAROLINA; NATIONAL CAPITAL AREA                                                         1         0               0         0            0         0             0       0        1
     CAPE FEAR; MECKLENBURG COUNTY                                                                           0         1               0         0            0         0             0       0        1
     CAPE FEAR; OCCONEECHEE                                                                                  1         0               0         0            0         0             0       0        1
     CAPE FEAR; OLD HICKORY                                                                                  0         0               1         0            0         0             0       0        1
     CAPE FEAR; PIEDMONT 420                                                                                 1         0               0         0            0         0             0       0        1
     CAPITOL AREA; CENTRAL NORTH CAROLINA; SAM HOUSTON AREA                                                  1         0               0         0            0         0             0       0        1
     CAPITOL AREA; CIRCLE TEN; LONGHORN                                                                      1         0               0         0            0         0             0       0        1
     CAPITOL AREA; DENVER AREA                                                                               1         0               0         0            0         0             0       0        1
     CAPITOL AREA; GREATER LOS ANGELES; GREATER NEW YORK                                                     1         0               0         0            0         0             0       0        1
     CAPITOL AREA; LONGHORN                                                                                  0         0               0         1            0         0             0       0        1
     CAPITOL AREA; TEXAS TRAILS                                                                              0         0               0         0            0         0             1       0        1
     CAPITOL AREA; THREE RIVERS                                                                              1         0               0         0            0         0             0       0        1
     CASCADE PACIFIC; CHIEF SEATTLE; PACIFIC HARBORS                                                         0         1               0         0            0         0             0       0        1
     CASCADE PACIFIC; GOLDEN EMPIRE                                                                          1         0               0         0            0         0             0       0        1
     CASCADE PACIFIC; GRAND COLUMBIA                                                                         0         0               1         0            0         0             0       0        1
     CASCADE PACIFIC; GREATER NEW YORK                                                                       1         0               0         0            0         0             0       0        1
     CASCADE PACIFIC; GREATER ST. LOUIS AREA                                                                 0         0               0         1            0         0             0       0        1
     CASCADE PACIFIC; GREEN MOUNTAIN                                                                         0         1               0         0            0         0             0       0        1
     CASCADE PACIFIC; INDIAN NATIONS                                                                         1         0               0         0            0         0             0       0        1
     CASCADE PACIFIC; LONGHORN                                                                               1         0               0         0            0         0             0       0        1
     CASCADE PACIFIC; MID-AMERICA                                                                            0         0               0         1            0         0             0       0        1
     CASCADE PACIFIC; MONTANA                                                                                1         0               0         0            0         0             0       0        1
     CASCADE PACIFIC; MOUNT BAKER; PACIFIC HARBORS                                                           1         0               0         0            0         0             0       0        1
     CASCADE PACIFIC; OREGON TRAIL                                                                           0         1               0         0            0         0             0       0        1
     CASCADE PACIFIC; PEE DEE AREA                                                                           1         0               0         0            0         0             0       0        1
     CASCADE PACIFIC; PENNSYLVANIA DUTCH                                                                     1         0               0         0            0         0             0       0        1
     CATALINA; GREATER LOS ANGELES                                                                           0         0               0         1            0         0             0       0        1
     CATALINA; HEART OF AMERICA                                                                              0         0               0         1            0         0             0       0        1
     CATALINA; LAS VEGAS AREA                                                                                0         0               0         1            0         0             0       0        1
     CATALINA; LONGHORN                                                                                      0         0               1         0            0         0             0       0        1
     CATALINA; LONGHORN; PACIFIC HARBORS                                                                     1         0               0         0            0         0             0       0        1
     CATALINA; LONGS PEAK COUNCIL                                                                            0         1               0         0            0         0             0       0        1
     CATALINA; ORANGE COUNTY                                                                                 0         0               0         1            0         0             0       0        1
     CATALINA; SAN DIEGO - IMPERIAL COUNCIL                                                                  1         0               0         0            0         0             0       0        1
     CENTRAL FLORIDA; GREATER NEW YORK                                                                       0         0               1         0            0         0             0       0        1
     CENTRAL FLORIDA; GREATER TAMPA BAY AREA; NORTH FLORIDA                                                  0         1               0         0            0         0             0       0        1




Analysis based on manually-reviewed POC data received as of 7/2/2021                                                                                                                                       9
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     Unique and Timely Abuse Claim Count by Local Council & Allegation
     Rows in white list Abuse claims against individual Local Councils. Rows in blue (with the exception of "UNKNOWN" and "MISSING") list Abuse claims against more than one Local Council.



                                                                                                                                                     Touching-    Touching- Unknown/
                                                  Local Council                                   Penetration    Oral Sex   Masturbation   Groping                                     Missing    Total*
                                                                                                                                                     Unclothed     Clothed Unconfirmed

     CENTRAL FLORIDA; GULF COAST                                                                             1         0               0         0            0         0             0       0        1
     CENTRAL FLORIDA; GULF STREAM                                                                            1         0               0         0            0         0             0       0        1
     CENTRAL FLORIDA; NORTH FLORIDA; PIEDMONT 420                                                            1         0               0         0            0         0             0       0        1
     CENTRAL FLORIDA; NORTHERN STAR                                                                          1         0               0         0            0         0             0       0        1
     CENTRAL FLORIDA; SIMON KENTON                                                                           0         0               0         1            0         0             0       0        1
     CENTRAL FLORIDA; SOUTH FLORIDA COUNCIL                                                                  0         0               1         0            0         0             0       0        1
     CENTRAL FLORIDA; SOUTHWEST FLORIDA                                                                      0         0               1         0            0         0             0       0        1
     CENTRAL GEORGIA; GEORGIA-CAROLINA                                                                       0         0               0         1            0         0             0       0        1
     CENTRAL GEORGIA; NORTHEAST GEORGIA                                                                      1         0               0         0            0         0             0       0        1
     CENTRAL GEORGIA; ORANGE COUNTY                                                                          1         0               0         0            0         0             0       0        1
     CENTRAL MINNESOTA; GAMEHAVEN; NORTHERN STAR                                                             0         0               0         0            0         1             0       0        1
     CENTRAL MINNESOTA; GATEWAY AREA                                                                         0         0               1         0            0         0             0       0        1
     CENTRAL MINNESOTA; GREATER NEW YORK; NORTHERN STAR                                                      1         0               0         0            0         0             0       0        1
     CENTRAL MINNESOTA; NORTHERN LIGHTS                                                                      1         0               0         0            0         0             0       0        1
     CENTRAL MINNESOTA; NORTHERN STAR; VOYAGEURS AREA                                                        0         1               0         0            0         0             0       0        1
     CENTRAL MINNESOTA; SIOUX                                                                                0         1               0         0            0         0             0       0        1
     CENTRAL NEW JERSEY; DANIEL BOONE; PATRIOTS' PATH                                                        1         0               0         0            0         0             0       0        1
     CENTRAL NEW JERSEY; GARDEN STATE; WASHINGTON CROSSING                                                   0         0               0         1            0         0             0       0        1
     CENTRAL NEW JERSEY; MONMOUTH; WASHINGTON CROSSING                                                       0         0               0         1            0         0             0       0        1
     CENTRAL NEW JERSEY; NORTHERN NEW JERSEY; WASHINGTON CROSSING                                            1         0               0         0            0         0             0       0        1
     CENTRAL NORTH CAROLINA; PATRIOTS' PATH                                                                  0         0               1         0            0         0             0       0        1
     CENTRAL NORTH CAROLINA; PIEDMONT 420                                                                    1         0               0         0            0         0             0       0        1
     CHATTAHOOCHEE; COASTAL GEORGIA                                                                          0         1               0         0            0         0             0       0        1
     CHATTAHOOCHEE; NORTHEAST GEORGIA                                                                        1         0               0         0            0         0             0       0        1
     CHATTAHOOCHEE; SIMON KENTON                                                                             0         0               0         0            1         0             0       0        1
     CHATTAHOOCHEE; SUWANNEE RIVER AREA                                                                      0         1               0         0            0         0             0       0        1
     CHEROKEE AREA 469; CIMARRON                                                                             1         0               0         0            0         0             0       0        1
     CHEROKEE AREA 556; GREAT RIVERS                                                                         0         0               0         1            0         0             0       0        1
     CHEROKEE AREA 556; MIDDLE TENNESSEE; NORTH FLORIDA                                                      1         0               0         0            0         0             0       0        1
     CHEROKEE AREA 556; NATIONAL CAPITAL AREA                                                                0         1               0         0            0         0             0       0        1
     CHEROKEE AREA 556; NORTH FLORIDA                                                                        0         0               0         0            1         0             0       0        1
     CHEROKEE AREA 556; SAM HOUSTON AREA                                                                     0         0               1         0            0         0             0       0        1
     CHESTER COUNTY; CRADLE OF LIBERTY; WESTCHESTER-PUTNAM                                                   1         0               0         0            0         0             0       0        1
     CHESTER COUNTY; DEL-MAR-VA                                                                              0         1               0         0            0         0             0       0        1
     CHESTER COUNTY; FRENCH CREEK                                                                            0         0               1         0            0         0             0       0        1
     CHESTER COUNTY; GREATER ST. LOUIS AREA                                                                  0         0               1         0            0         0             0       0        1
     CHESTER COUNTY; HEART OF VIRGINIA                                                                       0         0               0         1            0         0             0       0        1
     CHESTER COUNTY; MINSI TRAILS; NEW BIRTH OF FREEDOM; PENNSYLVANIA DUTCH;
     REDWOOD EMPIRE; WASHINGTON CROSSING                                                                     0         0               0         1            0         0             0       0        1
     CHESTER COUNTY; NORTHEASTERN PENNSYLVANIA                                                               0         0               0         1            0         0             0       0        1
     CHICKASAW; CHOCTAW AREA                                                                                 0         0               1         0            0         0             0       0        1
     CHICKASAW; GREATER ALABAMA                                                                              1         0               0         0            0         0             0       0        1
     CHICKASAW; GREATER NEW YORK                                                                             1         0               0         0            0         0             0       0        1
     CHICKASAW; HEART OF AMERICA                                                                             1         0               0         0            0         0             0       0        1
     CHICKASAW; MIDDLE TENNESSEE                                                                             0         0               1         0            0         0             0       0        1
     CHICKASAW; MOBILE AREA                                                                                  1         0               0         0            0         0             0       0        1
     CHICKASAW; NATIONAL CAPITAL AREA                                                                        1         0               0         0            0         0             0       0        1
     CHICKASAW; NEW BIRTH OF FREEDOM                                                                         1         0               0         0            0         0             0       0        1
     CHICKASAW; PINE BURR AREA; PUSHMATAHA AREA; YOCONA AREA                                                 1         0               0         0            0         0             0       0        1
     CHICKASAW; SAN DIEGO - IMPERIAL COUNCIL                                                                 1         0               0         0            0         0             0       0        1
     CHICKASAW; WEST TENNESSEE AREA                                                                          0         1               0         0            0         0             0       0        1
     CHICKASAW; YOCONA AREA                                                                                  0         1               0         0            0         0             0       0        1
     CHIEF CORNPLANTER; GREAT TRAIL                                                                          0         1               0         0            0         0             0       0        1
     CHIEF SEATTLE; CROSSROADS OF THE WEST                                                                   1         0               0         0            0         0             0       0        1
     CHIEF SEATTLE; GRAND COLUMBIA; PACIFIC HARBORS                                                          0         0               1         0            0         0             0       0        1
     CHIEF SEATTLE; GREATER YOSEMITE                                                                         1         0               0         0            0         0             0       0        1
     CHIEF SEATTLE; INDIAN NATIONS                                                                           0         1               0         0            0         0             0       0        1
     CHIEF SEATTLE; OREGON TRAIL                                                                             0         0               1         0            0         0             0       0        1
     CHIEF SEATTLE; SAM HOUSTON AREA                                                                         1         0               0         0            0         0             0       0        1
     CHIEF SEATTLE; SILICON VALLEY MONTEREY BAY                                                              0         0               1         0            0         0             0       0        1
     CHIPPEWA VALLEY; MID-AMERICA; NORTHERN STAR                                                             0         1               0         0            0         0             0       0        1
     CHIPPEWA VALLEY; VOYAGEURS AREA                                                                         1         0               0         0            0         0             0       0        1
     CHOCTAW AREA; PINE BURR AREA                                                                            1         0               0         0            0         0             0       0        1
     CIMARRON; INDIAN NATIONS                                                                                1         0               0         0            0         0             0       0        1
     CIMARRON; QUIVIRA                                                                                       0         0               0         1            0         0             0       0        1
     CIMARRON; SOUTH PLAINS                                                                                  1         0               0         0            0         0             0       0        1
     CIMARRON; TWIN RIVERS                                                                                   0         0               1         0            0         0             0       0        1
     CIRCLE TEN; CROSSROADS OF THE WEST                                                                      0         0               1         0            0         0             0       0        1
     CIRCLE TEN; EAST TEXAS AREA; LONGHORN                                                                   0         1               0         0            0         0             0       0        1
     CIRCLE TEN; GREAT TRAIL                                                                                 0         0               0         0            1         0             0       0        1
     CIRCLE TEN; HEART OF VIRGINIA; TRANSATLANTIC                                                            1         0               0         0            0         0             0       0        1
     CIRCLE TEN; NARRAGANSETT                                                                                1         0               0         0            0         0             0       0        1
     CIRCLE TEN; ORANGE COUNTY; WESTERN LOS ANGELES COUNTY                                                   1         0               0         0            0         0             0       0        1
     CIRCLE TEN; SEQUOIA                                                                                     1         0               0         0            0         0             0       0        1
     CIRCLE TEN; THREE RIVERS                                                                                1         0               0         0            0         0             0       0        1
     CIRCLE TEN; TUKABATCHEE AREA                                                                            1         0               0         0            0         0             0       0        1
     COASTAL CAROLINA; COASTAL GEORGIA                                                                       1         0               0         0            0         0             0       0        1
     COASTAL CAROLINA; EAST TEXAS AREA                                                                       1         0               0         0            0         0             0       0        1
     COASTAL CAROLINA; ERIE SHORES                                                                           0         0               0         1            0         0             0       0        1
     COASTAL CAROLINA; GOLDEN SPREAD                                                                         0         0               0         1            0         0             0       0        1
     COASTAL CAROLINA; PALMETTO                                                                              0         0               1         0            0         0             0       0        1
     COASTAL CAROLINA; PIEDMONT 420                                                                          0         0               0         0            0         1             0       0        1
     COASTAL GEORGIA; GREATER TAMPA BAY AREA                                                                 0         0               1         0            0         0             0       0        1
     COASTAL GEORGIA; GREATER YOSEMITE                                                                       0         0               0         1            0         0             0       0        1
     COASTAL GEORGIA; MIDDLE TENNESSEE                                                                       0         0               1         0            0         0             0       0        1
     COASTAL GEORGIA; NORTH FLORIDA                                                                          1         0               0         0            0         0             0       0        1
     COASTAL GEORGIA; NORTHEAST GEORGIA                                                                      0         1               0         0            0         0             0       0        1
     COASTAL GEORGIA; PACIFIC HARBORS                                                                        0         0               0         1            0         0             0       0        1
     COASTAL GEORGIA; SHENANDOAH AREA                                                                        0         1               0         0            0         0             0       0        1
     COASTAL GEORGIA; SOUTH GEORGIA                                                                          1         0               0         0            0         0             0       0        1
     COASTAL GEORGIA; TUSCARORA                                                                              1         0               0         0            0         0             0       0        1
     COLONIAL VIRGINIA; ERIE SHORES                                                                          1         0               0         0            0         0             0       0        1
     COLONIAL VIRGINIA; HEART OF VIRGINIA                                                                    0         0               1         0            0         0             0       0        1
     COLONIAL VIRGINIA; HEART OF VIRGINIA; TIDEWATER                                                         0         0               0         1            0         0             0       0        1
     COLONIAL VIRGINIA; NATIONAL CAPITAL AREA                                                                0         0               0         1            0         0             0       0        1
     COLONIAL VIRGINIA; PINE BURR AREA                                                                       1         0               0         0            0         0             0       0        1
     COLUMBIA-MONTOUR; LEATHERSTOCKING                                                                       1         0               0         0            0         0             0       0        1
     COLUMBIA-MONTOUR; LINCOLN HERITAGE                                                                      0         0               1         0            0         0             0       0        1




Analysis based on manually-reviewed POC data received as of 7/2/2021                                                                                                                                       10
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     Unique and Timely Abuse Claim Count by Local Council & Allegation
     Rows in white list Abuse claims against individual Local Councils. Rows in blue (with the exception of "UNKNOWN" and "MISSING") list Abuse claims against more than one Local Council.



                                                                                                                                                     Touching-    Touching- Unknown/
                                                  Local Council                                   Penetration    Oral Sex   Masturbation   Groping                                     Missing    Total*
                                                                                                                                                     Unclothed     Clothed Unconfirmed

     CONNECTICUT RIVERS; DAN BEARD; HEART OF NEW ENGLAND; OREGON TRAIL                                       1         0               0         0            0         0             0       0        1
     CONNECTICUT RIVERS; DANIEL WEBSTER                                                                      0         0               1         0            0         0             0       0        1
     CONNECTICUT RIVERS; DANIEL WEBSTER; NARRAGANSETT                                                        1         0               0         0            0         0             0       0        1
     CONNECTICUT RIVERS; GREENWICH                                                                           0         1               0         0            0         0             0       0        1
     CONNECTICUT RIVERS; HEART OF AMERICA                                                                    0         0               0         1            0         0             0       0        1
     CONNECTICUT RIVERS; HOUSATONIC                                                                          1         0               0         0            0         0             0       0        1
     CONNECTICUT RIVERS; HUDSON VALLEY                                                                       1         0               0         0            0         0             0       0        1
     CONNECTICUT RIVERS; LONGHORN                                                                            0         0               0         1            0         0             0       0        1
     CONNECTICUT RIVERS; MAYFLOWER; WESTCHESTER-PUTNAM                                                       1         0               0         0            0         0             0       0        1
     CONNECTICUT RIVERS; MONMOUTH                                                                            0         0               1         0            0         0             0       0        1
     CONNECTICUT RIVERS; SEQUOYAH                                                                            1         0               0         0            0         0             0       0        1
     CONNECTICUT RIVERS; SUFFOLK COUNTY                                                                      1         0               0         0            0         0             0       0        1
     CONNECTICUT RIVERS; THEODORE ROOSEVELT                                                                  0         1               0         0            0         0             0       0        1
     CONNECTICUT RIVERS; TRANSATLANTIC                                                                       1         0               0         0            0         0             0       0        1
     CONNECTICUT RIVERS; WASHINGTON CROSSING                                                                 0         0               1         0            0         0             0       0        1
     CONNECTICUT RIVERS; WESTCHESTER-PUTNAM                                                                  1         0               0         0            0         0             0       0        1
     CONNECTICUT RIVERS; WESTERN MASSACHUSETTS                                                               0         1               0         0            0         0             0       0        1
     CONNECTICUT YANKEE; HEART OF NEW ENGLAND                                                                1         0               0         0            0         0             0       0        1
     CONNECTICUT YANKEE; HUDSON VALLEY                                                                       0         1               0         0            0         0             0       0        1
     CONNECTICUT YANKEE; MIAMI VALLEY; SIMON KENTON                                                          0         0               0         1            0         0             0       0        1
     CONNECTICUT YANKEE; MICHIGAN CROSSROADS                                                                 1         0               0         0            0         0             0       0        1
     CONNECTICUT YANKEE; SUWANNEE RIVER AREA                                                                 0         0               1         0            0         0             0       0        1
     CONQUISTADOR; CROSSROADS OF THE WEST                                                                    0         1               0         0            0         0             0       0        1
     CONQUISTADOR; FAR EAST; YUCCA                                                                           1         0               0         0            0         0             0       0        1
     CONQUISTADOR; YUCCA                                                                                     0         0               1         0            0         0             0       0        1
     CORNHUSKER; GREATER YOSEMITE                                                                            0         0               1         0            0         0             0       0        1
     CORNHUSKER; PRAIRIELANDS                                                                                0         0               1         0            0         0             0       0        1
     CORNHUSKER; QUIVIRA                                                                                     1         0               0         0            0         0             0       0        1
     CORONADO AREA; GREAT SOUTHWEST                                                                          0         0               1         0            0         0             0       0        1
     CORONADO AREA; GREATER NEW YORK                                                                         0         1               0         0            0         0             0       0        1
     CORONADO AREA; MICHIGAN CROSSROADS                                                                      1         0               0         0            0         0             0       0        1
     CRADLE OF LIBERTY; CROSSROADS OF AMERICA; MINSI TRAILS                                                  0         0               1         0            0         0             0       0        1
     CRADLE OF LIBERTY; FRENCH CREEK                                                                         0         0               1         0            0         0             0       0        1
     CRADLE OF LIBERTY; GREAT SOUTHWEST                                                                      0         0               0         1            0         0             0       0        1
     CRADLE OF LIBERTY; HAWK MOUNTAIN; NORTHEASTERN PENNSYLVANIA                                             0         0               1         0            0         0             0       0        1
     CRADLE OF LIBERTY; HUDSON VALLEY; MINSI TRAILS; NORTHEASTERN PENNSYLVANIA                               0         1               0         0            0         0             0       0        1
     CRADLE OF LIBERTY; JERSEY SHORE                                                                         0         1               0         0            0         0             0       0        1
     CRADLE OF LIBERTY; JUNIATA VALLEY                                                                       0         0               0         1            0         0             0       0        1
     CRADLE OF LIBERTY; MINSI TRAILS; NORTHERN NEW JERSEY                                                    0         1               0         0            0         0             0       0        1
     CRADLE OF LIBERTY; NEW BIRTH OF FREEDOM                                                                 1         0               0         0            0         0             0       0        1
     CRADLE OF LIBERTY; NORTHEASTERN PENNSYLVANIA                                                            0         1               0         0            0         0             0       0        1
     CRADLE OF LIBERTY; NORTHERN NEW JERSEY                                                                  0         0               0         1            0         0             0       0        1
     CRADLE OF LIBERTY; PATRIOTS' PATH                                                                       1         0               0         0            0         0             0       0        1
     CRADLE OF LIBERTY; QUIVIRA                                                                              0         1               0         0            0         0             0       0        1
     CRADLE OF LIBERTY; SPIRIT OF ADVENTURE                                                                  1         0               0         0            0         0             0       0        1
     CRATER LAKE COUNCIL; LOS PADRES; VENTURA COUNTY                                                         1         0               0         0            0         0             0       0        1
     CRATER LAKE COUNCIL; MICHIGAN CROSSROADS                                                                1         0               0         0            0         0             0       0        1
     CRATER LAKE COUNCIL; WESTERN LOS ANGELES COUNTY                                                         0         1               0         0            0         0             0       0        1
     CROSSROADS OF AMERICA; DAN BEARD                                                                        0         0               1         0            0         0             0       0        1
     CROSSROADS OF AMERICA; DAN BEARD; HOOSIER TRAILS                                                        0         1               0         0            0         0             0       0        1
     CROSSROADS OF AMERICA; DEL-MAR-VA; NATIONAL CAPITAL AREA                                                1         0               0         0            0         0             0       0        1
     CROSSROADS OF AMERICA; GARDEN STATE                                                                     0         0               1         0            0         0             0       0        1
     CROSSROADS OF AMERICA; GREATER NEW YORK                                                                 1         0               0         0            0         0             0       0        1
     CROSSROADS OF AMERICA; KATAHDIN AREA; NORTHERN NEW JERSEY                                               1         0               0         0            0         0             0       0        1
     CROSSROADS OF AMERICA; NATIONAL CAPITAL AREA                                                            0         1               0         0            0         0             0       0        1
     CROSSROADS OF AMERICA; PATHWAY TO ADVENTURE                                                             0         0               1         0            0         0             0       0        1
     CROSSROADS OF AMERICA; SAN DIEGO - IMPERIAL COUNCIL                                                     0         0               1         0            0         0             0       0        1
     CROSSROADS OF AMERICA; TUKABATCHEE AREA                                                                 0         1               0         0            0         0             0       0        1
     CROSSROADS OF THE WEST; DENVER AREA                                                                     0         1               0         0            0         0             0       0        1
     CROSSROADS OF THE WEST; GREATER WYOMING                                                                 1         0               0         0            0         0             0       0        1
     CROSSROADS OF THE WEST; GREATER WYOMING; NORTHEAST ILLINOIS                                             1         0               0         0            0         0             0       0        1
     CROSSROADS OF THE WEST; INLAND NORTHWEST                                                                0         0               0         1            0         0             0       0        1
     CROSSROADS OF THE WEST; LINCOLN HERITAGE                                                                1         0               0         0            0         0             0       0        1
     CROSSROADS OF THE WEST; MIDDLE TENNESSEE                                                                1         0               0         0            0         0             0       0        1
     CROSSROADS OF THE WEST; MONTANA                                                                         0         0               0         0            0         0             1       0        1
     CROSSROADS OF THE WEST; NORTHERN NEW JERSEY                                                             1         0               0         0            0         0             0       0        1
     CROSSROADS OF THE WEST; SAM HOUSTON AREA                                                                1         0               0         0            0         0             0       0        1
     CROSSROADS OF THE WEST; SAN DIEGO - IMPERIAL COUNCIL                                                    1         0               0         0            0         0             0       0        1
     CROSSROADS OF THE WEST; SOUTH GEORGIA                                                                   0         0               0         1            0         0             0       0        1
     DAN BEARD; DEL-MAR-VA; SIMON KENTON; TECUMSEH                                                           0         1               0         0            0         0             0       0        1
     DAN BEARD; GREAT RIVERS; SOUTH FLORIDA COUNCIL                                                          0         0               0         1            0         0             0       0        1
     DAN BEARD; GREATER LOS ANGELES                                                                          0         1               0         0            0         0             0       0        1
     DAN BEARD; GREATER ST. LOUIS AREA                                                                       0         0               1         0            0         0             0       0        1
     DAN BEARD; HOOSIER TRAILS                                                                               0         1               0         0            0         0             0       0        1
     DAN BEARD; LASALLE                                                                                      1         0               0         0            0         0             0       0        1
     DAN BEARD; LAST FRONTIER                                                                                0         0               0         0            0         0             1       0        1
     DAN BEARD; LINCOLN HERITAGE                                                                             1         0               0         0            0         0             0       0        1
     DAN BEARD; PATHWAY TO ADVENTURE                                                                         0         1               0         0            0         0             0       0        1
     DAN BEARD; QUAPAW AREA                                                                                  1         0               0         0            0         0             0       0        1
     DAN BEARD; SIMON KENTON; TECUMSEH                                                                       1         0               0         0            0         0             0       0        1
     DANIEL BOONE; MOBILE AREA                                                                               1         0               0         0            0         0             0       0        1
     DANIEL BOONE; PEE DEE AREA                                                                              0         0               0         1            0         0             0       0        1
     DANIEL BOONE; TIDEWATER                                                                                 1         0               0         0            0         0             0       0        1
     DANIEL BOONE; WESTERN MASSACHUSETTS                                                                     0         1               0         0            0         0             0       0        1
     DANIEL WEBSTER; MICHIGAN CROSSROADS                                                                     0         0               0         0            0         0             1       0        1
     DANIEL WEBSTER; NARRAGANSETT                                                                            1         0               0         0            0         0             0       0        1
     DANIEL WEBSTER; NORTHERN NEW JERSEY                                                                     0         1               0         0            0         0             0       0        1
     DANIEL WEBSTER; PINE TREE                                                                               1         0               0         0            0         0             0       0        1
     DANIEL WEBSTER; TIDEWATER                                                                               0         0               1         0            0         0             0       0        1
     DE SOTO AREA; THREE HARBORS                                                                             1         0               0         0            0         0             0       0        1
     DE SOTO AREA; WESTARK AREA                                                                              0         1               0         0            0         0             0       0        1
     DEL-MAR-VA; GARDEN STATE                                                                                1         0               0         0            0         0             0       0        1
     DEL-MAR-VA; GREATER LOS ANGELES                                                                         0         1               0         0            0         0             0       0        1
     DEL-MAR-VA; NATIONAL CAPITAL AREA                                                                       0         1               0         0            0         0             0       0        1
     DEL-MAR-VA; WESTERN MASSACHUSETTS                                                                       0         0               0         1            0         0             0       0        1
     DENVER AREA; GREATER ALABAMA                                                                            1         0               0         0            0         0             0       0        1
     DENVER AREA; GREATER NEW YORK                                                                           1         0               0         0            0         0             0       0        1
     DENVER AREA; GREATER ST. LOUIS AREA                                                                     0         0               0         1            0         0             0       0        1




Analysis based on manually-reviewed POC data received as of 7/2/2021                                                                                                                                       11
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     Unique and Timely Abuse Claim Count by Local Council & Allegation
     Rows in white list Abuse claims against individual Local Councils. Rows in blue (with the exception of "UNKNOWN" and "MISSING") list Abuse claims against more than one Local Council.



                                                                                                                                                     Touching-    Touching- Unknown/
                                                  Local Council                                   Penetration    Oral Sex   Masturbation   Groping                                     Missing    Total*
                                                                                                                                                     Unclothed     Clothed Unconfirmed

     DENVER AREA; GREATER YOSEMITE                                                                           1         0               0         0            0         0             0       0        1
     DENVER AREA; HEART OF AMERICA                                                                           0         0               1         0            0         0             0       0        1
     DENVER AREA; INDIAN NATIONS                                                                             0         1               0         0            0         0             0       0        1
     DENVER AREA; INLAND NORTHWEST                                                                           0         0               0         1            0         0             0       0        1
     DENVER AREA; MOUNT BAKER                                                                                0         0               0         1            0         0             0       0        1
     DENVER AREA; NATIONAL CAPITAL AREA                                                                      1         0               0         0            0         0             0       0        1
     DENVER AREA; PACIFIC HARBORS                                                                            0         0               0         1            0         0             0       0        1
     DENVER AREA; SIMON KENTON                                                                               0         0               0         1            0         0             0       0        1
     DENVER AREA; THREE FIRES                                                                                0         1               0         0            0         0             0       0        1
     DIRECT SERVICE; GREATER ST. LOUIS AREA                                                                  0         0               0         1            0         0             0       0        1
     DIRECT SERVICE; GULF COAST                                                                              1         0               0         0            0         0             0       0        1
     EAST CAROLINA; ERIE SHORES                                                                              0         0               0         1            0         0             0       0        1
     EAST CAROLINA; FAR EAST                                                                                 0         0               0         1            0         0             0       0        1
     EAST CAROLINA; GRAND CANYON                                                                             1         0               0         0            0         0             0       0        1
     EAST CAROLINA; MICHIGAN CROSSROADS                                                                      0         1               0         0            0         0             0       0        1
     EAST CAROLINA; NORTH FLORIDA                                                                            1         0               0         0            0         0             0       0        1
     EAST CAROLINA; OLD NORTH STATE                                                                          0         0               1         0            0         0             0       0        1
     EAST CAROLINA; TIDEWATER                                                                                0         1               0         0            0         0             0       0        1
     EAST CAROLINA; TWIN RIVERS                                                                              0         0               1         0            0         0             0       0        1
     EAST TEXAS AREA; GOLDEN EMPIRE                                                                          1         0               0         0            0         0             0       0        1
     EAST TEXAS AREA; LAS VEGAS AREA; NEVADA AREA                                                            1         0               0         0            0         0             0       0        1
     EAST TEXAS AREA; LONGHORN                                                                               1         0               0         0            0         0             0       0        1
     EAST TEXAS AREA; MID-AMERICA; MID-IOWA                                                                  0         1               0         0            0         0             0       0        1
     ERIE SHORES; GREAT SOUTHWEST                                                                            0         0               1         0            0         0             0       0        1
     ERIE SHORES; GREAT TRAIL                                                                                0         0               1         0            0         0             0       0        1
     ERIE SHORES; GREATER LOS ANGELES; LAKE ERIE                                                             1         0               0         0            0         0             0       0        1
     ERIE SHORES; GREATER ST. LOUIS AREA                                                                     1         0               0         0            0         0             0       0        1
     ERIE SHORES; MIAMI VALLEY                                                                               0         1               0         0            0         0             0       0        1
     ERIE SHORES; MICHIGAN CROSSROADS                                                                        1         0               0         0            0         0             0       0        1
     ERIE SHORES; QUAPAW AREA                                                                                0         0               1         0            0         0             0       0        1
     EVANGELINE AREA; GREATER ST. LOUIS AREA; SOUTHEAST LOUISIANA                                            0         1               0         0            0         0             0       0        1
     EVANGELINE AREA; ISTROUMA AREA                                                                          1         0               0         0            0         0             0       0        1
     EVANGELINE AREA; LOUISIANA PURCHASE                                                                     0         0               1         0            0         0             0       0        1
     EVANGELINE AREA; MICHIGAN CROSSROADS                                                                    1         0               0         0            0         0             0       0        1
     EVANGELINE AREA; SAGAMORE                                                                               1         0               0         0            0         0             0       0        1
     FAR EAST; TRANSATLANTIC                                                                                 0         0               0         1            0         0             0       0        1
     FIVE RIVERS; LAUREL HIGHLANDS                                                                           0         0               1         0            0         0             0       0        1
     FIVE RIVERS; MICHIGAN CROSSROADS                                                                        0         0               0         1            0         0             0       0        1
     FIVE RIVERS; NORTHEASTERN PENNSYLVANIA                                                                  0         1               0         0            0         0             0       0        1
     FIVE RIVERS; PENNSYLVANIA DUTCH                                                                         1         0               0         0            0         0             0       0        1
     FRENCH CREEK; GREATER NIAGARA FRONTIER                                                                  0         1               0         0            0         0             0       0        1
     FRENCH CREEK; MID-AMERICA                                                                               1         0               0         0            0         0             0       0        1
     FRENCH CREEK; MORAINE TRAILS                                                                            1         0               0         0            0         0             0       0        1
     GAMEHAVEN; GOLDEN EMPIRE; GOLDEN GATE AREA; MARIN; PACIFIC SKYLINE                                      1         0               0         0            0         0             0       0        1
     GAMEHAVEN; LONGHOUSE                                                                                    0         0               0         1            0         0             0       0        1
     GAMEHAVEN; SENECA WATERWAYS                                                                             0         1               0         0            0         0             0       0        1
     GAMEHAVEN; TWIN VALLEY                                                                                  0         0               1         0            0         0             0       0        1
     GARDEN STATE; JERSEY SHORE; WASHINGTON CROSSING                                                         0         0               0         1            0         0             0       0        1
     GARDEN STATE; MONMOUTH                                                                                  0         0               0         1            0         0             0       0        1
     GARDEN STATE; MORAINE TRAILS                                                                            1         0               0         0            0         0             0       0        1
     GARDEN STATE; PATRIOTS' PATH                                                                            0         0               1         0            0         0             0       0        1
     GATEWAY AREA; GLACIER'S EDGE; PATHWAY TO ADVENTURE                                                      0         0               1         0            0         0             0       0        1
     GATEWAY AREA; GREATER NEW YORK                                                                          0         1               0         0            0         0             0       0        1
     GEORGIA-CAROLINA; INDIAN WATERS                                                                         0         0               1         0            0         0             0       0        1
     GEORGIA-CAROLINA; MECKLENBURG COUNTY                                                                    1         0               0         0            0         0             0       0        1
     GEORGIA-CAROLINA; NARRAGANSETT                                                                          0         0               1         0            0         0             0       0        1
     GEORGIA-CAROLINA; PALMETTO                                                                              0         0               1         0            0         0             0       0        1
     GEORGIA-CAROLINA; PINE TREE                                                                             0         0               0         1            0         0             0       0        1
     GEORGIA-CAROLINA; TIDEWATER; VIRGINIA HEADWATERS                                                        1         0               0         0            0         0             0       0        1
     GLACIER'S EDGE; MICHIGAN CROSSROADS                                                                     0         0               1         0            0         0             0       0        1
     GLACIER'S EDGE; NORTHEAST ILLINOIS                                                                      0         0               0         1            0         0             0       0        1
     GLACIER'S EDGE; SAMOSET COUNCIL                                                                         1         0               0         0            0         0             0       0        1
     GLACIER'S EDGE; SIOUX                                                                                   0         0               0         1            0         0             0       0        1
     GLACIER'S EDGE; THREE HARBORS                                                                           0         1               0         0            0         0             0       0        1
     GLACIER'S EDGE; W.D. BOYCE                                                                              0         1               0         0            0         0             0       0        1
     GOLDEN EMPIRE; GOLDEN GATE AREA; GREATER YOSEMITE                                                       1         0               0         0            0         0             0       0        1
     GOLDEN EMPIRE; GOLDEN GATE AREA; GREATER YOSEMITE; MARIN; PACIFIC SKYLINE;
     PIEDMONT 042; REDWOOD EMPIRE; SEQUOIA; SILICON VALLEY MONTEREY BAY                                      0         0               0         1            0         0             0       0        1
     GOLDEN EMPIRE; GOLDEN GATE AREA; NATIONAL CAPITAL AREA                                                  1         0               0         0            0         0             0       0        1
     GOLDEN EMPIRE; GOLDEN GATE AREA; PACIFIC SKYLINE                                                        0         0               0         0            1         0             0       0        1
     GOLDEN EMPIRE; GOLDEN GATE AREA; REDWOOD EMPIRE                                                         1         0               0         0            0         0             0       0        1
     GOLDEN EMPIRE; GREATER LOS ANGELES; NEVADA AREA; ORANGE COUNTY                                          1         0               0         0            0         0             0       0        1
     GOLDEN EMPIRE; GREATER YOSEMITE; PACIFIC SKYLINE; PIEDMONT 042; REDWOOD
     EMPIRE; SEQUOIA; SILICON VALLEY MONTEREY BAY                                                            0         0               0         1            0         0             0       0        1
     GOLDEN EMPIRE; HOOSIER TRAILS                                                                           1         0               0         0            0         0             0       0        1
     GOLDEN EMPIRE; INLAND NORTHWEST                                                                         0         0               0         1            0         0             0       0        1
     GOLDEN EMPIRE; LAKE ERIE; SOUTHWEST FLORIDA                                                             0         1               0         0            0         0             0       0        1
     GOLDEN EMPIRE; LAS VEGAS AREA                                                                           1         0               0         0            0         0             0       0        1
     GOLDEN EMPIRE; MARIN                                                                                    1         0               0         0            0         0             0       0        1
     GOLDEN EMPIRE; MARIN; REDWOOD EMPIRE                                                                    1         0               0         0            0         0             0       0        1
     GOLDEN EMPIRE; MIDDLE TENNESSEE                                                                         1         0               0         0            0         0             0       0        1
     GOLDEN EMPIRE; MORAINE TRAILS                                                                           0         0               1         0            0         0             0       0        1
     GOLDEN EMPIRE; OREGON TRAIL                                                                             0         0               1         0            0         0             0       0        1
     GOLDEN EMPIRE; PACIFIC SKYLINE                                                                          1         0               0         0            0         0             0       0        1
     GOLDEN EMPIRE; REDWOOD EMPIRE                                                                           0         0               0         1            0         0             0       0        1
     GOLDEN EMPIRE; SAN DIEGO - IMPERIAL COUNCIL                                                             0         0               0         1            0         0             0       0        1
     GOLDEN EMPIRE; SEQUOIA; SOUTHERN SIERRA                                                                 0         0               0         0            0         1             0       0        1
     GOLDEN EMPIRE; SIMON KENTON                                                                             0         0               0         0            0         0             1       0        1
     GOLDEN EMPIRE; SOUTHERN SIERRA                                                                          0         0               1         0            0         0             0       0        1
     GOLDEN EMPIRE; SOUTHWEST FLORIDA                                                                        1         0               0         0            0         0             0       0        1
     GOLDEN EMPIRE; VENTURA COUNTY                                                                           0         1               0         0            0         0             0       0        1
     GOLDEN EMPIRE; WESTERN LOS ANGELES COUNTY                                                               0         0               0         1            0         0             0       0        1
     GOLDEN GATE AREA; GREAT RIVERS                                                                          0         1               0         0            0         0             0       0        1
     GOLDEN GATE AREA; GREAT SOUTHWEST                                                                       0         0               0         1            0         0             0       0        1
     GOLDEN GATE AREA; GREATER LOS ANGELES                                                                   0         0               1         0            0         0             0       0        1
     GOLDEN GATE AREA; GREATER LOS ANGELES; GREATER YOSEMITE                                                 1         0               0         0            0         0             0       0        1
     GOLDEN GATE AREA; GREATER LOS ANGELES; WESTERN LOS ANGELES COUNTY                                       0         0               0         1            0         0             0       0        1
     GOLDEN GATE AREA; GREATER YOSEMITE; SENECA WATERWAYS                                                    1         0               0         0            0         0             0       0        1




Analysis based on manually-reviewed POC data received as of 7/2/2021                                                                                                                                       12
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     Rows in white list Abuse claims against individual Local Councils. Rows in blue (with the exception of "UNKNOWN" and "MISSING") list Abuse claims against more than one Local Council.



                                                                                                                                                     Touching-    Touching- Unknown/
                                                  Local Council                                   Penetration    Oral Sex   Masturbation   Groping                                     Missing    Total*
                                                                                                                                                     Unclothed     Clothed Unconfirmed

     GOLDEN GATE AREA; GREEN MOUNTAIN                                                                        0         0               0         1            0         0             0       0        1
     GOLDEN GATE AREA; INLAND NORTHWEST                                                                      1         0               0         0            0         0             0       0        1
     GOLDEN GATE AREA; MARIN; SILICON VALLEY MONTEREY BAY                                                    1         0               0         0            0         0             0       0        1
     GOLDEN GATE AREA; MONTANA                                                                               0         0               0         1            0         0             0       0        1
     GOLDEN GATE AREA; NORTHERN NEW JERSEY                                                                   0         1               0         0            0         0             0       0        1
     GOLDEN GATE AREA; ORANGE COUNTY                                                                         0         0               0         1            0         0             0       0        1
     GOLDEN GATE AREA; ORANGE COUNTY; SILICON VALLEY MONTEREY BAY                                            1         0               0         0            0         0             0       0        1
     GOLDEN GATE AREA; SAN DIEGO - IMPERIAL COUNCIL                                                          0         0               1         0            0         0             0       0        1
     GOLDEN GATE AREA; SANTA FE TRAIL                                                                        1         0               0         0            0         0             0       0        1
     GOLDEN GATE AREA; SEQUOIA                                                                               0         0               0         0            0         1             0       0        1
     GOLDEN GATE AREA; SOUTHERN SIERRA                                                                       1         0               0         0            0         0             0       0        1
     GOLDEN GATE AREA; WASHINGTON CROSSING                                                                   1         0               0         0            0         0             0       0        1
     GOLDEN SPREAD; GREAT SOUTHWEST                                                                          0         0               1         0            0         0             0       0        1
     GOLDEN SPREAD; GULF COAST; SOUTH TEXAS                                                                  0         1               0         0            0         0             0       0        1
     GOLDEN SPREAD; ISTROUMA AREA                                                                            1         0               0         0            0         0             0       0        1
     GOLDEN SPREAD; SOUTH FLORIDA COUNCIL                                                                    0         1               0         0            0         0             0       0        1
     GRAND CANYON; GREATER LOS ANGELES                                                                       1         0               0         0            0         0             0       0        1
     GRAND CANYON; LAS VEGAS AREA                                                                            1         0               0         0            0         0             0       0        1
     GRAND CANYON; LAUREL HIGHLANDS                                                                          0         1               0         0            0         0             0       0        1
     GRAND CANYON; LONGHORN                                                                                  0         1               0         0            0         0             0       0        1
     GRAND CANYON; MICHIGAN CROSSROADS                                                                       1         0               0         0            0         0             0       0        1
     GRAND CANYON; SAN DIEGO - IMPERIAL COUNCIL                                                              1         0               0         0            0         0             0       0        1
     GRAND CANYON; TIDEWATER                                                                                 0         1               0         0            0         0             0       0        1
     GRAND COLUMBIA; LONG BEACH AREA                                                                         1         0               0         0            0         0             0       0        1
     GRAND COLUMBIA; PACIFIC HARBORS                                                                         0         0               1         0            0         0             0       0        1
     GRAND COLUMBIA; PIKES PEAK                                                                              1         0               0         0            0         0             0       0        1
     GRAND TETON; MONTANA                                                                                    1         0               0         0            0         0             0       0        1
     GRAND TETON; ORANGE COUNTY                                                                              0         0               0         1            0         0             0       0        1
     GREAT ALASKA; MIDNIGHT SUN; NORTHERN LIGHTS                                                             0         0               1         0            0         0             0       0        1
     GREAT ALASKA; MIDNIGHT SUN; ORANGE COUNTY                                                               0         0               1         0            0         0             0       0        1
     GREAT RIVERS; INDIAN WATERS                                                                             1         0               0         0            0         0             0       0        1
     GREAT RIVERS; MICHIGAN CROSSROADS                                                                       0         0               0         1            0         0             0       0        1
     GREAT RIVERS; PACIFIC HARBORS                                                                           1         0               0         0            0         0             0       0        1
     GREAT RIVERS; PUSHMATAHA AREA                                                                           0         0               0         1            0         0             0       0        1
     GREAT SMOKY MOUNTAIN; INDIAN WATERS                                                                     1         0               0         0            0         0             0       0        1
     GREAT SMOKY MOUNTAIN; LAKE ERIE                                                                         0         0               0         1            0         0             0       0        1
     GREAT SMOKY MOUNTAIN; PALMETTO                                                                          1         0               0         0            0         0             0       0        1
     GREAT SMOKY MOUNTAIN; SAMOSET COUNCIL                                                                   0         1               0         0            0         0             0       0        1
     GREAT SMOKY MOUNTAIN; SEQUOYAH                                                                          0         0               0         1            0         0             0       0        1
     GREAT SMOKY MOUNTAIN; VENTURA COUNTY                                                                    0         0               1         0            0         0             0       0        1
     GREAT SOUTHWEST; LOS PADRES                                                                             0         0               1         0            0         0             0       0        1
     GREAT SOUTHWEST; MICHIGAN CROSSROADS                                                                    0         0               1         0            0         0             0       0        1
     GREAT SOUTHWEST; NORTHERN STAR                                                                          1         0               0         0            0         0             0       0        1
     GREAT SOUTHWEST; OLD HICKORY; SEQUOYAH                                                                  0         0               1         0            0         0             0       0        1
     GREAT SOUTHWEST; SEQUOYAH                                                                               0         0               1         0            0         0             0       0        1
     GREAT SOUTHWEST; SOUTH PLAINS                                                                           1         0               0         0            0         0             0       0        1
     GREAT TRAIL; LAKE ERIE; THREE FIRES; WESTERN MASSACHUSETTS                                              1         0               0         0            0         0             0       0        1
     GREAT TRAIL; LAKE ERIE; WESTERN MASSACHUSETTS                                                           0         1               0         0            0         0             0       0        1
     GREAT TRAIL; MIAMI VALLEY                                                                               1         0               0         0            0         0             0       0        1
     GREAT TRAIL; MONMOUTH; NORTHERN NEW JERSEY                                                              1         0               0         0            0         0             0       0        1
     GREAT TRAIL; SIMON KENTON                                                                               1         0               0         0            0         0             0       0        1
     GREAT TRAIL; THREE FIRES                                                                                0         1               0         0            0         0             0       0        1
     GREAT TRAIL; WESTERN MASSACHUSETTS                                                                      1         0               0         0            0         0             0       0        1
     GREATER ALABAMA; GREATER TAMPA BAY AREA                                                                 1         0               0         0            0         0             0       0        1
     GREATER ALABAMA; KATAHDIN AREA                                                                          1         0               0         0            0         0             0       0        1
     GREATER ALABAMA; MOBILE AREA; PUSHMATAHA AREA                                                           1         0               0         0            0         0             0       0        1
     GREATER ALABAMA; NATIONAL CAPITAL AREA                                                                  0         1               0         0            0         0             0       0        1
     GREATER ALABAMA; NORTH FLORIDA                                                                          0         1               0         0            0         0             0       0        1
     GREATER ALABAMA; SEQUOIA                                                                                1         0               0         0            0         0             0       0        1
     GREATER ALABAMA; SOUTH GEORGIA                                                                          0         1               0         0            0         0             0       0        1
     GREATER ALABAMA; WASHINGTON CROSSING                                                                    0         0               1         0            0         0             0       0        1
     GREATER LOS ANGELES; GREATER TAMPA BAY AREA                                                             1         0               0         0            0         0             0       0        1
     GREATER LOS ANGELES; LAKE ERIE                                                                          1         0               0         0            0         0             0       0        1
     GREATER LOS ANGELES; LINCOLN HERITAGE                                                                   1         0               0         0            0         0             0       0        1
     GREATER LOS ANGELES; LONG BEACH AREA; ORANGE COUNTY                                                     1         0               0         0            0         0             0       0        1
     GREATER LOS ANGELES; LONG BEACH AREA; ORANGE COUNTY; SAN DIEGO - IMPERIAL
     COUNCIL; VERDUGO HILLS                                                                                  1         0               0         0            0         0             0       0        1
     GREATER LOS ANGELES; LOS PADRES                                                                         0         0               1         0            0         0             0       0        1
     GREATER LOS ANGELES; MICHIGAN CROSSROADS                                                                0         1               0         0            0         0             0       0        1
     GREATER LOS ANGELES; MIDDLE TENNESSEE                                                                   1         0               0         0            0         0             0       0        1
     GREATER LOS ANGELES; MOBILE AREA                                                                        1         0               0         0            0         0             0       0        1
     GREATER LOS ANGELES; MONTANA                                                                            1         0               0         0            0         0             0       0        1
     GREATER LOS ANGELES; PACIFIC SKYLINE                                                                    0         0               0         1            0         0             0       0        1
     GREATER LOS ANGELES; PATRIOTS' PATH                                                                     0         0               0         0            0         0             1       0        1
     GREATER LOS ANGELES; SIOUX                                                                              1         0               0         0            0         0             0       0        1
     GREATER LOS ANGELES; SOUTHERN SIERRA                                                                    0         0               0         0            0         1             0       0        1
     GREATER NEW YORK; INLAND NORTHWEST                                                                      0         0               1         0            0         0             0       0        1
     GREATER NEW YORK; JERSEY SHORE                                                                          1         0               0         0            0         0             0       0        1
     GREATER NEW YORK; LAKE ERIE                                                                             0         1               0         0            0         0             0       0        1
     GREATER NEW YORK; LEATHERSTOCKING                                                                       0         0               1         0            0         0             0       0        1
     GREATER NEW YORK; MAYFLOWER; TWIN RIVERS; WESTCHESTER-PUTNAM                                            1         0               0         0            0         0             0       0        1
     GREATER NEW YORK; MICHIGAN CROSSROADS                                                                   1         0               0         0            0         0             0       0        1
     GREATER NEW YORK; MONTANA                                                                               0         0               1         0            0         0             0       0        1
     GREATER NEW YORK; NARRAGANSETT                                                                          0         0               0         1            0         0             0       0        1
     GREATER NEW YORK; NEW BIRTH OF FREEDOM                                                                  0         0               0         1            0         0             0       0        1
     GREATER NEW YORK; NORTHERN STAR                                                                         0         1               0         0            0         0             0       0        1
     GREATER NEW YORK; PATHWAY TO ADVENTURE                                                                  0         0               0         1            0         0             0       0        1
     GREATER NEW YORK; PATHWAY TO ADVENTURE; THREE HARBORS                                                   0         1               0         0            0         0             0       0        1
     GREATER NEW YORK; SOUTH FLORIDA COUNCIL                                                                 0         0               0         0            0         1             0       0        1
     GREATER NEW YORK; WESTARK AREA                                                                          0         0               1         0            0         0             0       0        1
     GREATER NIAGARA FRONTIER; IROQUOIS TRAIL; TWIN RIVERS                                                   1         0               0         0            0         0             0       0        1
     GREATER NIAGARA FRONTIER; LONGHOUSE                                                                     0         1               0         0            0         0             0       0        1
     GREATER NIAGARA FRONTIER; NORTHERN LIGHTS                                                               1         0               0         0            0         0             0       0        1
     GREATER NIAGARA FRONTIER; THREE FIRES                                                                   1         0               0         0            0         0             0       0        1
     GREATER ST. LOUIS AREA; INDIAN WATERS                                                                   1         0               0         0            0         0             0       0        1
     GREATER ST. LOUIS AREA; LINCOLN HERITAGE                                                                0         0               1         0            0         0             0       0        1
     GREATER ST. LOUIS AREA; MICHIGAN CROSSROADS                                                             1         0               0         0            0         0             0       0        1
     GREATER ST. LOUIS AREA; NATIONAL CAPITAL AREA                                                           0         0               1         0            0         0             0       0        1




Analysis based on manually-reviewed POC data received as of 7/2/2021                                                                                                                                       13
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     Unique and Timely Abuse Claim Count by Local Council & Allegation
     Rows in white list Abuse claims against individual Local Councils. Rows in blue (with the exception of "UNKNOWN" and "MISSING") list Abuse claims against more than one Local Council.



                                                                                                                                                     Touching-    Touching- Unknown/
                                                  Local Council                                   Penetration    Oral Sex   Masturbation   Groping                                     Missing    Total*
                                                                                                                                                     Unclothed     Clothed Unconfirmed

     GREATER ST. LOUIS AREA; OREGON TRAIL; PALMETTO                                                          0         0               0         0            0         0             1       0        1
     GREATER ST. LOUIS AREA; OZARK TRAILS                                                                    1         0               0         0            0         0             0       0        1
     GREATER ST. LOUIS AREA; SAM HOUSTON AREA                                                                0         0               1         0            0         0             0       0        1
     GREATER ST. LOUIS AREA; SIMON KENTON                                                                    1         0               0         0            0         0             0       0        1
     GREATER ST. LOUIS AREA; THREE FIRES                                                                     1         0               0         0            0         0             0       0        1
     GREATER ST. LOUIS AREA; VOYAGEURS AREA                                                                  1         0               0         0            0         0             0       0        1
     GREATER ST. LOUIS AREA; W.D. BOYCE                                                                      0         0               0         0            0         0             1       0        1
     GREATER TAMPA BAY AREA; GREEN MOUNTAIN                                                                  1         0               0         0            0         0             0       0        1
     GREATER TAMPA BAY AREA; GULF COAST; LONGHORN                                                            1         0               0         0            0         0             0       0        1
     GREATER TAMPA BAY AREA; GULF STREAM                                                                     0         0               0         0            0         0             1       0        1
     GREATER TAMPA BAY AREA; LEATHERSTOCKING                                                                 1         0               0         0            0         0             0       0        1
     GREATER TAMPA BAY AREA; QUAPAW AREA                                                                     1         0               0         0            0         0             0       0        1
     GREATER TAMPA BAY AREA; SOUTHWEST FLORIDA                                                               0         1               0         0            0         0             0       0        1
     GREATER TAMPA BAY AREA; SUWANNEE RIVER AREA                                                             0         1               0         0            0         0             0       0        1
     GREATER TAMPA BAY AREA; TWIN RIVERS                                                                     0         0               0         1            0         0             0       0        1
     GREATER WYOMING; LONGS PEAK COUNCIL                                                                     0         1               0         0            0         0             0       0        1
     GREATER WYOMING; OZARK TRAILS                                                                           1         0               0         0            0         0             0       0        1
     GREATER YOSEMITE; PACIFIC SKYLINE                                                                       1         0               0         0            0         0             0       0        1
     GREATER YOSEMITE; WESTERN MASSACHUSETTS                                                                 0         0               0         1            0         0             0       0        1
     GREEN MOUNTAIN; HEART OF NEW ENGLAND                                                                    0         0               1         0            0         0             0       0        1
     GREEN MOUNTAIN; NARRAGANSETT                                                                            0         0               1         0            0         0             0       0        1
     GREEN MOUNTAIN; NORTHERN NEW JERSEY                                                                     0         0               0         1            0         0             0       0        1
     GREEN MOUNTAIN; TWIN RIVERS                                                                             0         0               0         1            0         0             0       0        1
     GULF COAST; LAST FRONTIER                                                                               0         0               0         1            0         0             0       0        1
     GULF COAST; LONGHORN                                                                                    1         0               0         0            0         0             0       0        1
     GULF COAST; NORTH FLORIDA                                                                               0         0               1         0            0         0             0       0        1
     GULF COAST; NORTHERN STAR                                                                               0         0               1         0            0         0             0       0        1
     GULF COAST; PINE BURR AREA                                                                              1         0               0         0            0         0             0       0        1
     GULF COAST; SOUTH FLORIDA COUNCIL                                                                       1         0               0         0            0         0             0       0        1
     GULF COAST; SOUTH TEXAS; YUCCA                                                                          1         0               0         0            0         0             0       0        1
     GULF STREAM; MECKLENBURG COUNTY                                                                         0         1               0         0            0         0             0       0        1
     GULF STREAM; MOUNTAINEER AREA                                                                           1         0               0         0            0         0             0       0        1
     GULF STREAM; SAN DIEGO - IMPERIAL COUNCIL                                                               1         0               0         0            0         0             0       0        1
     GULF STREAM; TRANSATLANTIC                                                                              0         0               0         0            0         1             0       0        1
     HAWK MOUNTAIN; MINSI TRAILS                                                                             0         0               0         1            0         0             0       0        1
     HAWK MOUNTAIN; NEW BIRTH OF FREEDOM                                                                     0         0               1         0            0         0             0       0        1
     HAWK MOUNTAIN; NORTHEASTERN PENNSYLVANIA                                                                1         0               0         0            0         0             0       0        1
     HAWK MOUNTAIN; PENNSYLVANIA DUTCH                                                                       1         0               0         0            0         0             0       0        1
     HAWK MOUNTAIN; SHENANDOAH AREA                                                                          0         1               0         0            0         0             0       0        1
     HAWK MOUNTAIN; WASHINGTON CROSSING                                                                      0         0               0         1            0         0             0       0        1
     HAWKEYE AREA; MID-AMERICA                                                                               1         0               0         0            0         0             0       0        1
     HAWKEYE AREA; MID-IOWA                                                                                  0         0               1         0            0         0             0       0        1
     HEART OF AMERICA; HEART OF VIRGINIA                                                                     0         1               0         0            0         0             0       0        1
     HEART OF AMERICA; LAKE ERIE                                                                             1         0               0         0            0         0             0       0        1
     HEART OF AMERICA; LAUREL HIGHLANDS                                                                      0         0               1         0            0         0             0       0        1
     HEART OF AMERICA; ORANGE COUNTY                                                                         1         0               0         0            0         0             0       0        1
     HEART OF AMERICA; OREGON TRAIL                                                                          1         0               0         0            0         0             0       0        1
     HEART OF AMERICA; PATHWAY TO ADVENTURE                                                                  0         0               1         0            0         0             0       0        1
     HEART OF AMERICA; PATRIOTS' PATH; WINNEBAGO                                                             0         0               1         0            0         0             0       0        1
     HEART OF AMERICA; PONY EXPRESS                                                                          0         0               1         0            0         0             0       0        1
     HEART OF AMERICA; RIO GRANDE                                                                            0         0               1         0            0         0             0       0        1
     HEART OF AMERICA; SOUTH TEXAS                                                                           1         0               0         0            0         0             0       0        1
     HEART OF AMERICA; SOUTHEAST LOUISIANA                                                                   1         0               0         0            0         0             0       0        1
     HEART OF AMERICA; TWIN VALLEY                                                                           1         0               0         0            0         0             0       0        1
     HEART OF NEW ENGLAND; MAYFLOWER; SPIRIT OF ADVENTURE                                                    1         0               0         0            0         0             0       0        1
     HEART OF NEW ENGLAND; NARRAGANSETT                                                                      0         0               1         0            0         0             0       0        1
     HEART OF NEW ENGLAND; SPIRIT OF ADVENTURE                                                               0         0               1         0            0         0             0       0        1
     HEART OF NEW ENGLAND; TRANSATLANTIC                                                                     0         1               0         0            0         0             0       0        1
     HEART OF NEW ENGLAND; TWIN RIVERS                                                                       1         0               0         0            0         0             0       0        1
     HEART OF VIRGINIA; NATIONAL CAPITAL AREA                                                                0         0               1         0            0         0             0       0        1
     HEART OF VIRGINIA; PIKES PEAK                                                                           1         0               0         0            0         0             0       0        1
     HEART OF VIRGINIA; VIRGINIA HEADWATERS                                                                  0         0               0         0            0         1             0       0        1
     HOOSIER TRAILS; LASALLE                                                                                 0         0               0         1            0         0             0       0        1
     HUDSON VALLEY; LEATHERSTOCKING                                                                          0         0               0         1            0         0             0       0        1
     HUDSON VALLEY; MAYFLOWER                                                                                0         0               1         0            0         0             0       0        1
     HUDSON VALLEY; NEW BIRTH OF FREEDOM                                                                     0         1               0         0            0         0             0       0        1
     HUDSON VALLEY; NEW BIRTH OF FREEDOM; SUSQUEHANNA                                                        0         0               0         1            0         0             0       0        1
     HUDSON VALLEY; NORTHERN NEW JERSEY                                                                      0         0               1         0            0         0             0       0        1
     HUDSON VALLEY; THEODORE ROOSEVELT                                                                       0         0               1         0            0         0             0       0        1
     ILLOWA; MID-AMERICA                                                                                     1         0               0         0            0         0             0       0        1
     ILLOWA; MISSISSIPPI VALLEY; SPIRIT OF ADVENTURE                                                         1         0               0         0            0         0             0       0        1
     ILLOWA; NORTHEAST ILLINOIS                                                                              1         0               0         0            0         0             0       0        1
     ILLOWA; NORTHEAST IOWA COUNCIL                                                                          1         0               0         0            0         0             0       0        1
     ILLOWA; THREE FIRES                                                                                     1         0               0         0            0         0             0       0        1
     ILLOWA; WINNEBAGO                                                                                       0         1               0         0            0         0             0       0        1
     INDIAN NATIONS; SAGAMORE                                                                                0         1               0         0            0         0             0       0        1
     INDIAN WATERS; MICHIGAN CROSSROADS                                                                      0         1               0         0            0         0             0       0        1
     INDIAN WATERS; PEE DEE AREA                                                                             1         0               0         0            0         0             0       0        1
     INDIAN WATERS; PIKES PEAK                                                                               0         0               0         1            0         0             0       0        1
     INDIAN WATERS; TIDEWATER                                                                                0         0               0         1            0         0             0       0        1
     INLAND NORTHWEST; MOUNT BAKER                                                                           0         0               0         1            0         0             0       0        1
     INLAND NORTHWEST; MOUNTAIN WEST                                                                         1         0               0         0            0         0             0       0        1
     INLAND NORTHWEST; NORTHERN STAR                                                                         0         1               0         0            0         0             0       0        1
     INLAND NORTHWEST; OREGON TRAIL                                                                          1         0               0         0            0         0             0       0        1
     INLAND NORTHWEST; POTAWATOMI AREA                                                                       1         0               0         0            0         0             0       0        1
     IROQUOIS TRAIL; MICHIGAN CROSSROADS                                                                     0         1               0         0            0         0             0       0        1
     IROQUOIS TRAIL; PATHWAY TO ADVENTURE                                                                    1         0               0         0            0         0             0       0        1
     IROQUOIS TRAIL; SENECA WATERWAYS                                                                        1         0               0         0            0         0             0       0        1
     IROQUOIS TRAIL; SOUTHEAST LOUISIANA                                                                     1         0               0         0            0         0             0       0        1
     ISTROUMA AREA; NATIONAL CAPITAL AREA                                                                    1         0               0         0            0         0             0       0        1
     JAYHAWK AREA; MID-IOWA                                                                                  0         0               0         1            0         0             0       0        1
     JAYHAWK AREA; NORTHERN LIGHTS                                                                           0         0               1         0            0         0             0       0        1
     JAYHAWK AREA; OVERLAND TRAILS                                                                           1         0               0         0            0         0             0       0        1
     JAYHAWK AREA; QUIVIRA                                                                                   1         0               0         0            0         0             0       0        1
     JERSEY SHORE; MINSI TRAILS                                                                              1         0               0         0            0         0             0       0        1
     JERSEY SHORE; MONMOUTH                                                                                  0         0               1         0            0         0             0       0        1
     JERSEY SHORE; PATRIOTS' PATH                                                                            0         1               0         0            0         0             0       0        1
     JERSEY SHORE; SOUTH FLORIDA COUNCIL                                                                     0         0               0         0            1         0             0       0        1




Analysis based on manually-reviewed POC data received as of 7/2/2021                                                                                                                                       14
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     Unique and Timely Abuse Claim Count by Local Council & Allegation
     Rows in white list Abuse claims against individual Local Councils. Rows in blue (with the exception of "UNKNOWN" and "MISSING") list Abuse claims against more than one Local Council.



                                                                                                                                                     Touching-    Touching- Unknown/
                                                  Local Council                                   Penetration    Oral Sex   Masturbation   Groping                                     Missing    Total*
                                                                                                                                                     Unclothed     Clothed Unconfirmed

     JERSEY SHORE; WASHINGTON CROSSING                                                                       1         0               0         0            0         0             0       0        1
     LAKE ERIE; LAUREL HIGHLANDS                                                                             0         1               0         0            0         0             0       0        1
     LAKE ERIE; MIAMI VALLEY                                                                                 0         0               1         0            0         0             0       0        1
     LAKE ERIE; MUSKINGUM VALLEY                                                                             1         0               0         0            0         0             0       0        1
     LAKE ERIE; NORTHEAST ILLINOIS                                                                           0         0               1         0            0         0             0       0        1
     LAKE ERIE; PATRIOTS' PATH                                                                               0         0               0         1            0         0             0       0        1
     LAKE ERIE; QUIVIRA                                                                                      0         1               0         0            0         0             0       0        1
     LAKE ERIE; WESTERN MASSACHUSETTS                                                                        0         0               0         1            0         0             0       0        1
     LAS VEGAS AREA; MOUNTAIN WEST; NEVADA AREA                                                              1         0               0         0            0         0             0       0        1
     LAS VEGAS AREA; PIKES PEAK                                                                              1         0               0         0            0         0             0       0        1
     LAS VEGAS AREA; SUFFOLK COUNTY                                                                          1         0               0         0            0         0             0       0        1
     LASALLE; MIAMI VALLEY                                                                                   1         0               0         0            0         0             0       0        1
     LASALLE; MICHIGAN CROSSROADS                                                                            0         1               0         0            0         0             0       0        1
     LASALLE; NARRAGANSETT                                                                                   0         1               0         0            0         0             0       0        1
     LASALLE; OREGON TRAIL                                                                                   0         0               0         1            0         0             0       0        1
     LASALLE; THREE HARBORS                                                                                  0         0               0         0            0         0             1       0        1
     LAST FRONTIER; LONG BEACH AREA                                                                          0         1               0         0            0         0             0       0        1
     LAST FRONTIER; SAGAMORE                                                                                 0         1               0         0            0         0             0       0        1
     LAST FRONTIER; TEXAS TRAILS                                                                             0         1               0         0            0         0             0       0        1
     LAUREL HIGHLANDS; LINCOLN HERITAGE                                                                      0         0               0         1            0         0             0       0        1
     LAUREL HIGHLANDS; MORAINE TRAILS; WESTMORELAND-FAYETTE                                                  0         0               1         0            0         0             0       0        1
     LAUREL HIGHLANDS; MOUNTAINEER AREA                                                                      0         1               0         0            0         0             0       0        1
     LAUREL HIGHLANDS; WESTERN MASSACHUSETTS                                                                 0         1               0         0            0         0             0       0        1
     LEATHERSTOCKING; LINCOLN HERITAGE                                                                       0         0               1         0            0         0             0       0        1
     LEATHERSTOCKING; NARRAGANSETT                                                                           0         1               0         0            0         0             0       0        1
     LEATHERSTOCKING; RIP VAN WINKLE; TWIN RIVERS                                                            0         0               0         1            0         0             0       0        1
     LEATHERSTOCKING; SENECA WATERWAYS                                                                       0         0               1         0            0         0             0       0        1
     LEATHERSTOCKING; THEODORE ROOSEVELT                                                                     0         0               0         0            1         0             0       0        1
     LEATHERSTOCKING; WESTCHESTER-PUTNAM                                                                     1         0               0         0            0         0             0       0        1
     LINCOLN HERITAGE; SAGAMORE                                                                              0         1               0         0            0         0             0       0        1
     LINCOLN HERITAGE; SAN DIEGO - IMPERIAL COUNCIL                                                          1         0               0         0            0         0             0       0        1
     LONG BEACH AREA; LOS PADRES; ORANGE COUNTY; VENTURA COUNTY; VERDUGO HILLS;
     WESTERN LOS ANGELES COUNTY                                                                              0         0               0         1            0         0             0       0        1
     LONG BEACH AREA; OVERLAND TRAILS                                                                        1         0               0         0            0         0             0       0        1
     LONG BEACH AREA; PACIFIC SKYLINE                                                                        0         0               0         1            0         0             0       0        1
     LONG BEACH AREA; SAN DIEGO - IMPERIAL COUNCIL                                                           1         0               0         0            0         0             0       0        1
     LONG BEACH AREA; TRANSATLANTIC                                                                          0         1               0         0            0         0             0       0        1
     LONG BEACH AREA; WESTERN LOS ANGELES COUNTY                                                             0         0               0         0            0         0             1       0        1
     LONGHORN; LOUISIANA PURCHASE                                                                            0         0               0         1            0         0             0       0        1
     LONGHORN; NATIONAL CAPITAL AREA                                                                         1         0               0         0            0         0             0       0        1
     LONGHORN; OZARK TRAILS                                                                                  0         0               0         1            0         0             0       0        1
     LONGHORN; PACIFIC SKYLINE                                                                               0         1               0         0            0         0             0       0        1
     LONGHORN; SOUTH FLORIDA COUNCIL                                                                         1         0               0         0            0         0             0       0        1
     LONGHORN; SOUTH TEXAS; TEXAS SOUTHWEST                                                                  1         0               0         0            0         0             0       0        1
     LONGHORN; TEXAS TRAILS; THREE RIVERS                                                                    0         0               1         0            0         0             0       0        1
     LONGHORN; TRANSATLANTIC                                                                                 1         0               0         0            0         0             0       0        1
     LONGHORN; WINNEBAGO                                                                                     0         0               0         1            0         0             0       0        1
     LONGHOUSE; TWIN RIVERS                                                                                  0         1               0         0            0         0             0       0        1
     LONGS PEAK COUNCIL; NORTHEAST ILLINOIS                                                                  1         0               0         0            0         0             0       0        1
     LONGS PEAK COUNCIL; OVERLAND TRAILS                                                                     1         0               0         0            0         0             0       0        1
     LONGS PEAK COUNCIL; SAM HOUSTON AREA                                                                    1         0               0         0            0         0             0       0        1
     LONGS PEAK COUNCIL; SOUTHWEST FLORIDA                                                                   1         0               0         0            0         0             0       0        1
     LOS PADRES; VENTURA COUNTY                                                                              0         1               0         0            0         0             0       0        1
     MARIN; REDWOOD EMPIRE                                                                                   1         0               0         0            0         0             0       0        1
     MARIN; SAN DIEGO - IMPERIAL COUNCIL                                                                     0         0               1         0            0         0             0       0        1
     MASON-DIXON; PEE DEE AREA                                                                               1         0               0         0            0         0             0       0        1
     MAYFLOWER; NARRAGANSETT; SPIRIT OF ADVENTURE                                                            1         0               0         0            0         0             0       0        1
     MAYFLOWER; QUAPAW AREA                                                                                  0         1               0         0            0         0             0       0        1
     MECKLENBURG COUNTY; OLD NORTH STATE                                                                     0         0               0         0            0         1             0       0        1
     MIAMI VALLEY; MICHIGAN CROSSROADS; TECUMSEH                                                             1         0               0         0            0         0             0       0        1
     MIAMI VALLEY; SOUTH FLORIDA COUNCIL                                                                     0         1               0         0            0         0             0       0        1
     MICHIGAN CROSSROADS; MID-AMERICA                                                                        1         0               0         0            0         0             0       0        1
     MICHIGAN CROSSROADS; NARRAGANSETT                                                                       0         0               1         0            0         0             0       0        1
     MICHIGAN CROSSROADS; NORTH FLORIDA                                                                      0         0               0         0            0         0             1       0        1
     MICHIGAN CROSSROADS; ORANGE COUNTY                                                                      1         0               0         0            0         0             0       0        1
     MICHIGAN CROSSROADS; OVERLAND TRAILS                                                                    0         0               0         0            1         0             0       0        1
     MICHIGAN CROSSROADS; PACIFIC HARBORS                                                                    0         0               0         1            0         0             0       0        1
     MICHIGAN CROSSROADS; PINE BURR AREA                                                                     1         0               0         0            0         0             0       0        1
     MICHIGAN CROSSROADS; QUAPAW AREA                                                                        0         0               0         1            0         0             0       0        1
     MICHIGAN CROSSROADS; RIO GRANDE                                                                         0         1               0         0            0         0             0       0        1
     MICHIGAN CROSSROADS; THREE FIRES                                                                        1         0               0         0            0         0             0       0        1
     MICHIGAN CROSSROADS; THREE FIRES; THREE HARBORS; THREE RIVERS                                           1         0               0         0            0         0             0       0        1
     MICHIGAN CROSSROADS; VERDUGO HILLS                                                                      0         1               0         0            0         0             0       0        1
     MICHIGAN CROSSROADS; WESTCHESTER-PUTNAM                                                                 0         0               1         0            0         0             0       0        1
     MICHIGAN CROSSROADS; WESTERN LOS ANGELES COUNTY                                                         0         0               1         0            0         0             0       0        1
     MICHIGAN CROSSROADS; YOCONA AREA                                                                        1         0               0         0            0         0             0       0        1
     MID-AMERICA; OLD NORTH STATE                                                                            0         1               0         0            0         0             0       0        1
     MID-AMERICA; SIOUX                                                                                      1         0               0         0            0         0             0       0        1
     MID-AMERICA; TWIN RIVERS                                                                                1         0               0         0            0         0             0       0        1
     MID-IOWA; MISSISSIPPI VALLEY                                                                            1         0               0         0            0         0             0       0        1
     MID-IOWA; NORTHEAST IOWA COUNCIL                                                                        1         0               0         0            0         0             0       0        1
     MID-IOWA; W.D. BOYCE                                                                                    0         1               0         0            0         0             0       0        1
     MID-IOWA; WINNEBAGO                                                                                     0         1               0         0            0         0             0       0        1
     MIDDLE TENNESSEE; NATIONAL CAPITAL AREA                                                                 0         0               1         0            0         0             0       0        1
     MIDDLE TENNESSEE; NORTH FLORIDA                                                                         0         0               0         1            0         0             0       0        1
     MIDDLE TENNESSEE; QUAPAW AREA                                                                           0         1               0         0            0         0             0       0        1
     MIDNIGHT SUN; OREGON TRAIL                                                                              0         0               1         0            0         0             0       0        1
     MINSI TRAILS; MORAINE TRAILS                                                                            1         0               0         0            0         0             0       0        1
     MINSI TRAILS; NEW BIRTH OF FREEDOM                                                                      1         0               0         0            0         0             0       0        1
     MINSI TRAILS; NORTHEAST GEORGIA                                                                         1         0               0         0            0         0             0       0        1
     MINSI TRAILS; WASHINGTON CROSSING                                                                       0         1               0         0            0         0             0       0        1
     MISSISSIPPI VALLEY; NORTHERN STAR                                                                       0         0               0         0            1         0             0       0        1
     MISSISSIPPI VALLEY; PATHWAY TO ADVENTURE                                                                0         0               0         0            1         0             0       0        1
     MISSISSIPPI VALLEY; PINE BURR AREA                                                                      0         0               1         0            0         0             0       0        1
     MISSISSIPPI VALLEY; THREE FIRES                                                                         0         0               0         1            0         0             0       0        1
     MOBILE AREA; PINE BURR AREA                                                                             0         0               0         1            0         0             0       0        1
     MONMOUTH; PIKES PEAK                                                                                    0         0               0         1            0         0             0       0        1
     MONTANA; NORTH FLORIDA                                                                                  0         1               0         0            0         0             0       0        1




Analysis based on manually-reviewed POC data received as of 7/2/2021                                                                                                                                       15
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     Rows in white list Abuse claims against individual Local Councils. Rows in blue (with the exception of "UNKNOWN" and "MISSING") list Abuse claims against more than one Local Council.



                                                                                                                                                     Touching-    Touching- Unknown/
                                                  Local Council                                   Penetration    Oral Sex   Masturbation   Groping                                     Missing    Total*
                                                                                                                                                     Unclothed     Clothed Unconfirmed

     MONTANA; NORTHEASTERN PENNSYLVANIA                                                                      1         0               0         0            0         0             0       0        1
     MONTANA; NORTHERN LIGHTS                                                                                0         0               1         0            0         0             0       0        1
     MOUNTAIN WEST; NEVADA AREA                                                                              1         0               0         0            0         0             0       0        1
     MOUNTAINEER AREA; SIMON KENTON                                                                          0         0               0         1            0         0             0       0        1
     MUSKINGUM VALLEY; SIMON KENTON                                                                          0         1               0         0            0         0             0       0        1
     MUSKINGUM VALLEY; SPIRIT OF ADVENTURE                                                                   1         0               0         0            0         0             0       0        1
     NARRAGANSETT; NATIONAL CAPITAL AREA                                                                     1         0               0         0            0         0             0       0        1
     NARRAGANSETT; SAM HOUSTON AREA                                                                          0         1               0         0            0         0             0       0        1
     NARRAGANSETT; SPIRIT OF ADVENTURE                                                                       1         0               0         0            0         0             0       0        1
     NARRAGANSETT; THEODORE ROOSEVELT                                                                        1         0               0         0            0         0             0       0        1
     NARRAGANSETT; WESTERN MASSACHUSETTS                                                                     1         0               0         0            0         0             0       0        1
     NATIONAL CAPITAL AREA; ORANGE COUNTY                                                                    1         0               0         0            0         0             0       0        1
     NATIONAL CAPITAL AREA; PACIFIC HARBORS                                                                  0         1               0         0            0         0             0       0        1
     NATIONAL CAPITAL AREA; RIP VAN WINKLE                                                                   0         1               0         0            0         0             0       0        1
     NATIONAL CAPITAL AREA; SHENANDOAH AREA                                                                  0         0               0         1            0         0             0       0        1
     NATIONAL CAPITAL AREA; SOUTH FLORIDA COUNCIL                                                            0         1               0         0            0         0             0       0        1
     NATIONAL CAPITAL AREA; SOUTH PLAINS                                                                     1         0               0         0            0         0             0       0        1
     NATIONAL CAPITAL AREA; WESTERN LOS ANGELES COUNTY                                                       0         0               0         1            0         0             0       0        1
     NEVADA AREA; OVERLAND TRAILS                                                                            1         0               0         0            0         0             0       0        1
     NEVADA AREA; OZARK TRAILS                                                                               1         0               0         0            0         0             0       0        1
     NEVADA AREA; PATHWAY TO ADVENTURE                                                                       1         0               0         0            0         0             0       0        1
     NEVADA AREA; SEQUOIA; SILICON VALLEY MONTEREY BAY                                                       0         0               1         0            0         0             0       0        1
     NEVADA AREA; SPIRIT OF ADVENTURE                                                                        0         0               0         1            0         0             0       0        1
     NEVADA AREA; WESTERN LOS ANGELES COUNTY                                                                 1         0               0         0            0         0             0       0        1
     NEW BIRTH OF FREEDOM; TECUMSEH                                                                          0         0               1         0            0         0             0       0        1
     NEW BIRTH OF FREEDOM; TRANSATLANTIC                                                                     0         0               0         1            0         0             0       0        1
     NEW BIRTH OF FREEDOM; WASHINGTON CROSSING                                                               1         0               0         0            0         0             0       0        1
     NORTH FLORIDA; SOUTHWEST FLORIDA                                                                        0         0               1         0            0         0             0       0        1
     NORTH FLORIDA; SPIRIT OF ADVENTURE                                                                      0         0               1         0            0         0             0       0        1
     NORTH FLORIDA; THREE FIRES                                                                              0         1               0         0            0         0             0       0        1
     NORTH FLORIDA; YUCCA                                                                                    1         0               0         0            0         0             0       0        1
     NORTHEAST ILLINOIS; PACIFIC HARBORS                                                                     1         0               0         0            0         0             0       0        1
     NORTHEAST ILLINOIS; RAINBOW; THREE FIRES                                                                0         0               0         1            0         0             0       0        1
     NORTHEAST ILLINOIS; W.D. BOYCE                                                                          0         0               1         0            0         0             0       0        1
     NORTHEASTERN PENNSYLVANIA; NORTHERN NEW JERSEY                                                          1         0               0         0            0         0             0       0        1
     NORTHEASTERN PENNSYLVANIA; SUSQUEHANNA                                                                  0         0               0         1            0         0             0       0        1
     NORTHERN NEW JERSEY; PATHWAY TO ADVENTURE                                                               0         0               0         0            0         1             0       0        1
     NORTHERN NEW JERSEY; QUIVIRA                                                                            1         0               0         0            0         0             0       0        1
     NORTHERN NEW JERSEY; SOUTHWEST FLORIDA                                                                  0         1               0         0            0         0             0       0        1
     NORTHERN NEW JERSEY; THREE RIVERS                                                                       0         0               0         1            0         0             0       0        1
     NORTHERN NEW JERSEY; TUSCARORA                                                                          0         1               0         0            0         0             0       0        1
     NORTHERN NEW JERSEY; TWIN RIVERS                                                                        0         0               0         1            0         0             0       0        1
     NORTHERN STAR; PIKES PEAK                                                                               0         0               1         0            0         0             0       0        1
     NORTHERN STAR; PRAIRIELANDS                                                                             0         1               0         0            0         0             0       0        1
     NORTHWEST GEORGIA; OCCONEECHEE                                                                          1         0               0         0            0         0             0       0        1
     NORTHWEST TEXAS; QUIVIRA                                                                                1         0               0         0            0         0             0       0        1
     NORTHWEST TEXAS; SAM HOUSTON AREA                                                                       1         0               0         0            0         0             0       0        1
     OCCONEECHEE; TRANSATLANTIC                                                                              1         0               0         0            0         0             0       0        1
     OCCONEECHEE; TUSCARORA                                                                                  1         0               0         0            0         0             0       0        1
     OHIO RIVER VALLEY; PATHWAY TO ADVENTURE                                                                 1         0               0         0            0         0             0       0        1
     OHIO RIVER VALLEY; SIMON KENTON                                                                         1         0               0         0            0         0             0       0        1
     OLD HICKORY; SEQUOYAH                                                                                   0         0               1         0            0         0             0       0        1
     OLD HICKORY; TIDEWATER                                                                                  0         0               0         0            0         0             1       0        1
     OLD NORTH STATE; SEQUOIA                                                                                0         1               0         0            0         0             0       0        1
     OLD NORTH STATE; WESTCHESTER-PUTNAM                                                                     1         0               0         0            0         0             0       0        1
     OLD NORTH STATE; WESTERN MASSACHUSETTS                                                                  1         0               0         0            0         0             0       0        1
     ORANGE COUNTY; PACIFIC SKYLINE                                                                          1         0               0         0            0         0             0       0        1
     ORANGE COUNTY; SEQUOIA                                                                                  1         0               0         0            0         0             0       0        1
     ORANGE COUNTY; VENTURA COUNTY                                                                           1         0               0         0            0         0             0       0        1
     OREGON TRAIL; OVERLAND TRAILS                                                                           1         0               0         0            0         0             0       0        1
     OREGON TRAIL; QUIVIRA                                                                                   0         0               1         0            0         0             0       0        1
     OREGON TRAIL; SHENANDOAH AREA                                                                           1         0               0         0            0         0             0       0        1
     OZARK TRAILS; THREE FIRES                                                                               0         0               0         1            0         0             0       0        1
     PACIFIC HARBORS; SAN DIEGO - IMPERIAL COUNCIL                                                           0         1               0         0            0         0             0       0        1
     PACIFIC HARBORS; WESTERN MASSACHUSETTS                                                                  0         1               0         0            0         0             0       0        1
     PACIFIC SKYLINE; SEQUOIA; SILICON VALLEY MONTEREY BAY                                                   0         0               0         1            0         0             0       0        1
     PATHWAY TO ADVENTURE; PRAIRIELANDS                                                                      0         1               0         0            0         0             0       0        1
     PATHWAY TO ADVENTURE; RIP VAN WINKLE                                                                    0         1               0         0            0         0             0       0        1
     PATHWAY TO ADVENTURE; SAGAMORE                                                                          0         0               0         1            0         0             0       0        1
     PATHWAY TO ADVENTURE; SENECA WATERWAYS                                                                  1         0               0         0            0         0             0       0        1
     PATHWAY TO ADVENTURE; THREE FIRES; THREE HARBORS                                                        0         0               0         1            0         0             0       0        1
     PATHWAY TO ADVENTURE; TWIN RIVERS                                                                       0         0               0         1            0         0             0       0        1
     PATHWAY TO ADVENTURE; WESTERN LOS ANGELES COUNTY                                                        0         0               1         0            0         0             0       0        1
     PATRIOTS' PATH; VIRGINIA HEADWATERS                                                                     0         1               0         0            0         0             0       0        1
     PATRIOTS' PATH; WINNEBAGO                                                                               0         1               0         0            0         0             0       0        1
     PENNSYLVANIA DUTCH; SAM HOUSTON AREA                                                                    0         0               0         1            0         0             0       0        1
     PIEDMONT 420; SENECA WATERWAYS                                                                          0         1               0         0            0         0             0       0        1
     PONY EXPRESS; QUIVIRA                                                                                   0         0               0         1            0         0             0       0        1
     PRAIRIELANDS; THREE FIRES                                                                               0         0               0         0            0         0             1       0        1
     PRAIRIELANDS; W.D. BOYCE                                                                                0         0               0         1            0         0             0       0        1
     PUSHMATAHA AREA; YOCONA AREA                                                                            0         1               0         0            0         0             0       0        1
     QUAPAW AREA; SEQUOYAH                                                                                   0         0               0         1            0         0             0       0        1
     QUIVIRA; SANTA FE TRAIL                                                                                 0         0               0         0            0         1             0       0        1
     QUIVIRA; TEXAS TRAILS                                                                                   0         0               0         0            1         0             0       0        1
     RAINBOW; SAGAMORE                                                                                       0         0               1         0            0         0             0       0        1
     RAINBOW; SOUTH FLORIDA COUNCIL                                                                          0         0               1         0            0         0             0       0        1
     REDWOOD EMPIRE; TRANSATLANTIC                                                                           1         0               0         0            0         0             0       0        1
     RIO GRANDE; SOUTH TEXAS                                                                                 0         1               0         0            0         0             0       0        1
     RIO GRANDE; TEXAS SOUTHWEST                                                                             1         0               0         0            0         0             0       0        1
     SAGAMORE; SPIRIT OF ADVENTURE                                                                           0         0               1         0            0         0             0       0        1
     SAGAMORE; THREE FIRES                                                                                   0         0               0         0            0         0             1       0        1
     SAGAMORE; TWIN RIVERS                                                                                   1         0               0         0            0         0             0       0        1
     SAM HOUSTON AREA; TEXAS SOUTHWEST                                                                       1         0               0         0            0         0             0       0        1
     SAM HOUSTON AREA; TEXAS TRAILS                                                                          0         1               0         0            0         0             0       0        1
     SAM HOUSTON AREA; TIDEWATER                                                                             1         0               0         0            0         0             0       0        1
     SAM HOUSTON AREA; VOYAGEURS AREA                                                                        1         0               0         0            0         0             0       0        1
     SAM HOUSTON AREA; YUCCA                                                                                 1         0               0         0            0         0             0       0        1
     SAN DIEGO - IMPERIAL COUNCIL; SEQUOIA                                                                   1         0               0         0            0         0             0       0        1




Analysis based on manually-reviewed POC data received as of 7/2/2021                                                                                                                                       16
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     Unique and Timely Abuse Claim Count by Local Council & Allegation
     Rows in white list Abuse claims against individual Local Councils. Rows in blue (with the exception of "UNKNOWN" and "MISSING") list Abuse claims against more than one Local Council.



                                                                                                                                                                    Touching-     Touching- Unknown/
                                                  Local Council                                             Penetration     Oral Sex    Masturbation    Groping                                        Missing    Total*
                                                                                                                                                                    Unclothed      Clothed Unconfirmed

     SAN DIEGO - IMPERIAL COUNCIL; TIDEWATER                                                                            0          0                1          0              0           0           0       0        1
     SANTA FE TRAIL; SOUTHEAST LOUISIANA                                                                                0          1                0          0              0           0           0       0        1
     SENECA WATERWAYS; SUFFOLK COUNTY                                                                                   0          1                0          0              0           0           0       0        1
     SENECA WATERWAYS; THEODORE ROOSEVELT                                                                               0          0                1          0              0           0           0       0        1
     SENECA WATERWAYS; WESTCHESTER-PUTNAM                                                                               1          0                0          0              0           0           0       0        1
     SENECA WATERWAYS; WESTMORELAND-FAYETTE                                                                             0          0                0          0              1           0           0       0        1
     SEQUOIA; WESTERN LOS ANGELES COUNTY                                                                                1          0                0          0              0           0           0       0        1
     SILICON VALLEY MONTEREY BAY; WESTERN LOS ANGELES COUNTY                                                            1          0                0          0              0           0           0       0        1
     SIMON KENTON; TECUMSEH                                                                                             0          0                1          0              0           0           0       0        1
     SOUTH FLORIDA COUNCIL; SOUTH GEORGIA                                                                               1          0                0          0              0           0           0       0        1
     SOUTH FLORIDA COUNCIL; SOUTHWEST FLORIDA                                                                           0          0                0          1              0           0           0       0        1
     SOUTH PLAINS; TEXAS SOUTHWEST                                                                                      1          0                0          0              0           0           0       0        1
     SOUTHEAST LOUISIANA; WEST TENNESSEE AREA                                                                           0          0                1          0              0           0           0       0        1
     SOUTHERN SIERRA; VENTURA COUNTY                                                                                    0          1                0          0              0           0           0       0        1
     SOUTHERN SIERRA; VERDUGO HILLS                                                                                     0          1                0          0              0           0           0       0        1
     SPIRIT OF ADVENTURE; TRANSATLANTIC                                                                                 0          0                0          1              0           0           0       0        1
     SPIRIT OF ADVENTURE; TWIN RIVERS                                                                                   1          0                0          0              0           0           0       0        1
     SPIRIT OF ADVENTURE; YOCONA AREA                                                                                   0          1                0          0              0           0           0       0        1
     SUFFOLK COUNTY; TWIN RIVERS                                                                                        1          0                0          0              0           0           0       0        1
     SUSQUEHANNA; WESTERN MASSACHUSETTS                                                                                 1          0                0          0              0           0           0       0        1
     THEODORE ROOSEVELT; WASHINGTON CROSSING                                                                            0          0                0          1              0           0           0       0        1
     THREE FIRES; TWIN RIVERS                                                                                           0          1                0          0              0           0           0       0        1
     THREE HARBORS; THREE RIVERS                                                                                        0          1                0          0              0           0           0       0        1
     THREE HARBORS; YUCCA                                                                                               1          0                0          0              0           0           0       0        1
     TUKABATCHEE AREA; WESTMORELAND-FAYETTE                                                                             1          0                0          0              0           0           0       0        1
     WEST TENNESSEE AREA; YOCONA AREA                                                                                   0          0                1          0              0           0           0       0        1
     Total                                                                                                         24,539     18,856           13,022     17,138          1,879       1,294       3,817   1,664   82,209

     * The abuse claim count listed in this column is based on the claimants’ responses to Part 4.I. on the Sexual Abuse Proof of Claim Form and does not account for references to the Local
     Council that may be located elsewhere in the proof of claim. The abuse claim count listed above also does not reflect any other analysis conducted by the Debtors to approximate the total
     number of abuse claims that implicate the Local Council.




Analysis based on manually-reviewed POC data received as of 7/2/2021                                                                                                                                                       17
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     Unique and Timely Abuse Claim Count* by Top-20
     Most Common Chartered Organizations

                   Chartering Organization Group                          Count**

     METHODIST CHURCH                                                         3,886
     BAPTIST CHURCH                                                           3,274
     CATHOLIC CHURCH                                                          3,213
     CHURCH OF JESUS CHRIST OF LATTER-DAY SAINTS                              2,481
     PRESBYTERIAN CHURCH                                                      1,687
     LUTHERAN CHURCH                                                          1,474
     ARMED FORCES***                                                            704
     EPISCOPAL CHURCH                                                           597
     AMERICAN LEGION                                                            496
     YMCA                                                                       488
     VFW                                                                        410
     SALVATION ARMY                                                             252
     ELKS LODGE                                                                 240
     LIONS CLUB                                                                 224
     BOYS AND GIRLS CLUBS                                                       205
     KNIGHTS OF COLUMBUS                                                        181
     BOYS CLUB                                                                  139
     KIWANIS CLUB                                                               121
     ROTARY CLUB                                                                 95
     MOOSE LODGE                                                                 88
     OTHER                                                                    20,996
     UNKNOWN                                                                  36,378
     MISSING                                                                   4,928
     Total                                                                    82,557

     * The total Abuse Claim count in this table is slightly higher than the total
     count of unique and timely Abuse Claims to account for claimants that
     named multiple organizations.

     ** The abuse claim count listed in this column is based on the claimants’
     responses to Part 4.H. on the Sexual Abuse Proof of Claim Form and does
     not account for references to the Chartered Organization that may be
     located elsewhere in the proof of claim. The abuse claim count listed above
     also does not reflect any other analysis conducted by the Debtors to
     approximate the total number of abuse claims that implicate the Chartered
     Organization.

     *** Abuse Claims flagged as "Armed Forces" named one of the following
     groups: Army, Navy, Marines, Air Force, Coast Guard, National Guard, or
     the generic US Military or US Armed Forces.




Analysis based on manually-reviewed POC data received as of 7/2/2021                                      1
